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.2
tems Inc.
                                                 UNITED STATES BANKRUPTCY COURT
                                                 NEWARK DISTRICT OF NEW JERSEY


         In re:                                                                          §
                                                                                         §
         OMNE STAFFING, INC. CHAPTER 7                                                   §           Case No. 04-22316RG CMG
                                                                                         §
                                                       Debtor(s)                         §

                                                      TRUSTEE’S FINAL REPORT (TFR)

                    The undersigned trustee hereby makes this Final Report and states as follows:

                1. A petition under chapter 11 of the United States Bankruptcy Code was filed on
          08/31/2005 . The case was converted to one under Chapter 7 on 11/09/2007 . The
         undersigned trustee was appointed on 11/09/2007 .

                    2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                 3. All scheduled and known assets of the estate have been reduced to cash, released to
         the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
         pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
         disposition of all property of the estate is attached as Exhibit A.

                    4. The trustee realized gross receipts of                                             $          7,758,199.48

                                           Funds were disbursed in the following amounts:

                                           Payments made under an interim                                                          0.00
                                           disbursement
                                           Administrative expenses                                                   3,959,555.64
                                           Bank service fees                                                            39,375.80
                                           Other payments to creditors                                               2,604,238.08
                                           Non-estate funds paid to 3rd Parties                                              0.00
                                           Exemptions paid to the debtor                                                     0.00
                                           Other payments to the debtor                                                      0.00
                                                                                     1
                                           Leaving a balance on hand of                                   $          1,155,029.96

          The remaining funds are available for distribution.

   ____________________
              1
                 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
   will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
   maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 04/07/2008 and the
      deadline for filing governmental claims was 05/07/2008 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 232,636.86 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 232,636.86 , for a total compensation of $ 232,636.86 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 2,413.46 , for total expenses of $ 2,413.46 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 04/28/2015                                     By:/s/CHARLES M. FORMAN, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                              Page:      1
                                                                    ASSET CASES                                                                           Exhibit A
Case No:             04-22316RG         CMG      Judge: CHRISTINE M. GRAVELLE                     Trustee Name: CHARLES M. FORMAN, TRUSTEE
Case Name:           OMNE STAFFING, INC. CHAPTER 7                                                Date Filed (f) or Converted (c):   11/09/07 (c)
                                                                                                  341(a) Meeting Date:               02/04/08
 For Period Ending: 04/28/15
                                                                                                  Claims Bar Date:                   04/07/08


                                  1                                     2                     3                 4               5                        6
                                                                                     Estimated Net Value
                                                                                      (Value Determined      Property                               Asset Fully
                                                                     Petition/         by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                          Asset Description                         Unscheduled       Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values           and Other Costs)     OA=554(a)        the Estate               Assets

 1. OMNE STAFFING INC. CHAPTER 11 FUNDS (u)                                   0.00         5,823,947.49                      5,823,947.49               FA
 2. Post-Petition Interest Deposits (u)                                       0.00                 0.00                         79,830.73               FA
 3. 316 COMMERCE A/C 7858144780                                               0.00                 0.00                              0.00               FA
 4. 316 FLEET A/C 9417645104                                                  0.00                 0.00                              0.00               FA
 5. 316 FLEET 9417644486                                                      0.00                 0.00                              0.00               FA
 6. 316 FLEET A/C 9417755258                                                  0.00                 0.00                              0.00               FA
 7. 316 FLEET A/C 68884 ZBA                                                   0.00                 0.00                              0.00               FA
 8. 316 FLEET A/C 68881 ZBA                                                   0.00                 0.00                              0.00               FA
 9. 316 FLEET A/C 68883 ZBA                                                   0.00                 0.00                              0.00               FA
 10. 316 PROVIDENT A/C 185001815                                              0.00                 0.00                              0.00               FA
 11. 316 WAMU A/C 923384515 SEIZED                                      500,627.21                 0.00                              0.00               FA
 12. 316 WAMU A/C 978875303                                                   0.00                 0.00                              0.00               FA
 13. 316 WAMU A/C 923384523 ZBA                                               0.00                 0.00                              0.00               FA
 14. 316 WAMU A/C 923384531 ZBA                                               0.00                 0.00                              0.00               FA
 15. 316 WAMU A/C 923384549 ZBA                                               0.00                 0.00                              0.00               FA
 16. 316 WAMU A/C 923384557 ZBA                                               0.00                 0.00                              0.00               FA
 17. 316 WAMU A/C 923384565 ZBA                                               0.00                 0.00                              0.00               FA
 18. 316 WAMU A/C 923384548 ZBA                                               0.00                 0.00                              0.00               FA
 19. 316 OVERDRAWN CASH (-271019.39)                                          0.00                 0.00                              0.00               FA
 20. 316 SECURITY DEPOSIT - 4 COMMERCE ASSOC.                            65,973.00                 0.00        OA                    0.00               FA
    LEASE AND EQUIPMENT, FURNISHINGS AND OTHER
    CONTENTS LIQUIDATED DURING CHAPTER 11 PER
    ORDER 6-25-04
 21. 316 SECURITY DEPOSITS - VAN POOL                                     1,000.00                   0.00                             0.00              FA
 22. 316 SECURITY DEPOSITS - C & C FORD                                     756.76                   0.00                             0.00              FA
 23. 316 SECURITY DEPOSITS - CON BENEFITS                                 1,500.00                   0.00                             0.00              FA
 24. 316 SECURITY DEPOSITS -FLEET CAPITAL                                15,000.00                   0.00                             0.00              FA
 25. 316 SECURITY DEPOSITS - CRANFORD RENTAL                                400.00                   0.00                             0.00              FA
 26. 316 SECURITY DEPOSITS - DELMONTE - KANKAKEE                          1,429.33                   0.00                             0.00              FA
 27. 316 SECURITY DEPOSITS - SPIRO KORPAS                                 1,600.00                   0.00                             0.00              FA
 28. 316 SECURITY DEPOSITS - 727 RARITAN ROAD                             2,475.00                   0.00                             0.00              FA
 29. 316 SECURITY DEPOSITS - FAMILY CAN                                     912.00                   0.00                             0.00              FA
 30. 316 SECURITY DEPOSITS - STROUDSBURG PA                                 325.00                   0.00                             0.00              FA
 31. 316 SECURITY DEPOSITS - UNKNOWN                                     12,341.99                   0.00                             0.00              FA
 32. 316 SECURITY DEPOSITS - F HENRY ASSO. 46                             1,480.50                   0.00                             0.00              FA
 33. 316 SECURITY DEPOSITS - F HENRY ASSOC 46                             2,100.00                   0.00                             0.00              FA
 34. 316 SECURITY DEPOSITS - SCRANTON LIFE                                1,201.00                   0.00                             0.00              FA
 35. 316 SECURITY DEPOSITS - 380 BROADWAY CORP                            4,014.28                   0.00                             0.00              FA
 36. 316 SECURITY DEPOSITS - SUN REALTY COMPANY                           2,600.00                   0.00                             0.00              FA
 37. 316 SECURITY DEPOSITS - MANUEL RODRIGUEZ                             5,600.00                   0.00                             0.00              FA
 38. 316 SECURITY DEPOSITS - LIZARDO DOMINGUEZ                            6,750.00                   0.00                             0.00              FA
 39. 316 SECURITY DEPOSITS - D R G COMPANY                                4,500.00                   0.00                             0.00              FA
 40. 316 SECURITY DEPOSITS - M. MUEHLHAN TRUST                              800.00                   0.00                             0.00              FA
 41. 316 SECURITY DEPOSITS - MARGARET MUEHLHAN                              975.00                   0.00                             0.00              FA




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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                Page:      2
                                                                    ASSET CASES                                                                             Exhibit A
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Case Name:           OMNE STAFFING, INC. CHAPTER 7                                                  Date Filed (f) or Converted (c):   11/09/07 (c)
                                                                                                    341(a) Meeting Date:               02/04/08
                                                                                                    Claims Bar Date:                   04/07/08


                                  1                                     2                       3                 4               5                        6
                                                                                       Estimated Net Value
                                                                                        (Value Determined      Property                               Asset Fully
                                                                     Petition/           by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                          Asset Description                         Unscheduled         Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values             and Other Costs)     OA=554(a)        the Estate               Assets

 42. 316 SECURITY DEPOSITS - J & I NEMETH                                 3,000.00                     0.00                             0.00              FA
 43. 316 SECURITY DEPOSITS - DANCO LEASING                                1,800.00                     0.00                             0.00              FA
 44. 316 SECURITY DEPOSITS - KNIGHT ARNOLD PTN                            2,902.00                     0.00                             0.00              FA
 45. 316 SECURITY DEPOSITS - ASIA GROUP LLC                               4,835.00                     0.00                             0.00              FA
 46. 316 SECURITY DEPOSITS - JOHN THOMAKOS                                  800.00                     0.00                             0.00              FA
 47. 316 SECURITY DEPOSITS - ZR PROPERTIES                                1,533.50                     0.00                             0.00              FA
 48. 316 SECURITY DEPOSITS - TOM BARLETT                                  1,000.00                     0.00                             0.00              FA
 49. 316 SECURITY DEPOSITS - M ADEN- AIRPORTER                            1,352.00                     0.00                             0.00              FA
 50. 316SECURITY DEPOSITS - NICKIE INVESTMENTS                            2,250.40                     0.00                             0.00              FA
 51. 316 SECURITY DEPOSITS - PALISADES POINT                              1,500.00                     0.00                             0.00              FA
 52. 316 SECURITY DEPOSITS - KGK KASSABIAN                                4,200.00                     0.00                             0.00              FA
 53. 316 SECURITY DEPOSITS - TUSTIN LINCOLN                               1,067.53                     0.00                             0.00              FA
 54. 316 SECURITY DEPOSITS - MC STAUSS CO                                 1,710.00                     0.00                             0.00              FA
 55. 316 SECURITY DEPOSITS - LAND TRECK PROPERTY                            990.00                     0.00                             0.00              FA
 56. 316 SECURITY DEPOSITS - EAS, LLC                                     1,622.40                     0.00                             0.00              FA
 57. 316 SECURITY DEPOSITS - SEPULVEDA VILL                               1,192.80                     0.00                             0.00              FA
 58. 316 SECURITY DEPOSITS - JENNIFER DENME                                 400.00                     0.00                             0.00              FA
 59. 316 SECURITY DEPOSITS - HILDE DI FABIO                               2,250.00                     0.00                             0.00              FA
 60. 316 PP INSURANCE TSIL 7-1-03 -- 12-31-03                         1,857,266.56                     0.00                             0.00              FA
 61. 316 PP INSURANCE TSIL 1-1-04 -- 12-31-04                         1,270,032.40                     0.00                             0.00              FA
 62. 316 PP INSURANCE GREAT AM 8-1-00 -- 7-31-01                      2,542,160.00                     0.00                             0.00              FA
    PURSUANT TO CONSENT ORDER ENTERED 10-29-04,
    GREAT AMERICAN SET OFF FUNDS ON DEPOSIT
    AGAINST OBLIGATION OWED.
 63. 316 PP INSURANCE GREAT AM 8-1-01 -- 7-31-02                      1,212,480.00                     0.00                             0.00              FA
    PURSUANT TO CONSENT ORDER ENTERED 10/29/04
    GREAT AMERICAN SET OFF FUNDS ON DEPOSIT
    AGAINST OBLIGATIONS OWED.
 64. 316 PP INSURANCE KEMPER 8-1-02 -- 7-31-03                          780,000.00                     0.00                             0.00              FA
    RESOLVED PER STIPULATION AND ORDER
    ENTERED 4-21-11 $0.00 TO ESTATE
 65. 316 WORKERS COMP COLLATERAL TSIL 7/03-12/03                        858,281.80                     0.00                             0.00              FA
 66. 316 WORKERS COMP COLLATERAL TSIL 1/04-12/04                        274,238.20                     0.00                             0.00              FA
 67. 316 WORKERS COMP CLAIM FUND                                        125,000.00                     0.00                             0.00              FA
 68. 316 STOCK & INTERESTS IN FIDELITY INV -SEIZED                      285,886.86                     0.00                             0.00              FA
 69. 316 STOCK & BUSINESS INTEREST - TSIL                                36,000.00                     0.00                             0.00              FA
 70. 316 TRADE ACCOUNTS RECEIVABLE                                   10,363,008.08                     0.00                             0.00              FA
    SEE ASSET # 158,159,160 SET UP TO RECORD
    RECEIVABLES OF VARIOUS DEBTORS COLLECTED
    DURING CHAPTER 7
 71. 316 DAVID LUBETKIN EMPLOYEE LOAN                                    49,000.00                     0.00                             0.00              FA
    SEE ASSET 159
 72. 316 JESUS COLON EMPLOYEE LOAN                                          1,350.00                   0.00                             0.00              FA
 73. 316 RAYMOND GARCIA EMPLOYEE LOAN                                       4,450.00                   0.00                             0.00              FA




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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                              Page:      3
                                                                    ASSET CASES                                                                           Exhibit A
Case No:             04-22316RG         CMG      Judge: CHRISTINE M. GRAVELLE                     Trustee Name: CHARLES M. FORMAN, TRUSTEE
Case Name:           OMNE STAFFING, INC. CHAPTER 7                                                Date Filed (f) or Converted (c):   11/09/07 (c)
                                                                                                  341(a) Meeting Date:               02/04/08
                                                                                                  Claims Bar Date:                   04/07/08


                                  1                                     2                     3                 4               5                        6
                                                                                     Estimated Net Value
                                                                                      (Value Determined      Property                               Asset Fully
                                                                     Petition/         by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                          Asset Description                         Unscheduled       Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values           and Other Costs)     OA=554(a)        the Estate               Assets

 74. 316 TARA NASO EMPLOYEE LOAN                                          8,050.00                   0.00                             0.00              FA
 75. 316 ALLAN JIMENEZ EMPLOYEE LOAN                                        250.00                   0.00                             0.00              FA
 76. 316 BARRY SININS EMPLOYEE LOAN                                      10,500.00                   0.00                             0.00              FA
 77. 316 DUE FROM WESTCOTT                                            2,438,594.57                   0.00                             0.00              FA
 78. 316 DUE FROM VAN POWER                                           1,810,561.07                   0.00                             0.00              FA
 79. 316 DUE FROM GUARDIAN MEDICAL                                        3,209.42                   0.00                             0.00              FA
 80. 316 DUE FROM KBK FINANCIAL/MARQUETTE                               308,353.23                   0.00                             0.00              FA
    KBK WAS A FACTOR AND ALL FUNDS RECEIVED
    FROM THEM DURING THE CHAPTER 11 WERE
    APPLIED TO CORRESPONDING ACCOUNTS
    RECEIVABLE.
 81. 316 DUE FROM STOCK HOLDER                                          541,322.68                   0.00                             0.00              FA
 82. 316 PREPAID INCOME TAXES                                            51,990.00                   0.00                             0.00              FA
 83. 316 PREPAID INDIVIDUAL INCOME TAXES                                145,000.00                   0.00                             0.00              FA
 84. 316 GOODWILL                                                        75,000.00                   0.00                             0.00              FA
 85. 316 AUTOS AND TRUCKS - NET VALUE                                    38,718.08                   0.00      OA                     0.00              FA
    2003 HUMMER ABANDONED BY ORDER 9-8-05
    DURING CHAPTER 11 - BALANCE OF ASSETS
    DEEMED ABANDONED
 86. 316 FURNITURE                                                      196,082.76                   0.00                             0.00              FA
 87. 316 MACHINERY & EQUIPMENT                                          706,186.53                   0.00                             0.00              FA
 88. 316 LEASEHOLD IMPROVEMENTS                                         101,850.59                   0.00                             0.00              FA
 89. 316 PREPAID EXPENSES                                               111,961.07                   0.00                             0.00              FA
 90. BLANK                                                                    0.00                   0.00                             0.00              FA
 91. 04-22318 OMNE PAYROLL SERVICES INC                                       0.00                   0.00                             0.00              FA
    ASSETS 92 TO 103 REPRESENT ASSETS OF CASE
    04-22318
 92. 318 BANK OF AMERICA 3446924475                                       8,107.85                   0.00                             0.00              FA
 93. 318 BANK OF AMERICA A/C 5481910141                                       0.00                   0.00                             0.00              FA
 94. 318 BANK OF AMERICA A/C 3446924514                                       0.00                   0.00                             0.00              FA
 95. 318 OVERDRAWN CASH (-26154.25)                                           0.00                   0.00                             0.00              FA
 96. 318 PP INSURANCE GREAT AM 8-1-00/7-31-01                           413,840.00                   0.00                             0.00              FA
 97. 318 PP INSURANCE GREAT AM 8-1-01/7-31-02                           471,520.00                   0.00                             0.00              FA
 98. 318 PP INSURANCE KEMPER 8-1-02/7-31-03                           1,320,000.00                   0.00                             0.00              FA
 99. 318 COLLATERAL - TRANSPACIFIC                                      127,250.00                   0.00                             0.00              FA
 100. 318 ACCOUNTS RECEIVABLE - TRADE                                 3,846,886.34                   0.00                             0.00              FA
    ASSETS 158,159,160 SET UP TO RECORD RECEIPTS
    FROM VARIOUS DEBTORS' RECEIVABLES IN
    CHAPTER 7
 101. 318 ACCOUNTS RECEIVABLE - MISCELLANEOUS                           184,562.49                   0.00                             0.00              FA
    ASSET # 158,159,160 SET UP TO RECORD ACCOUNTS
    RECEIVABLE FROM VARIOUS DEBTORS IN
    CHAPTER 7
 102. 318 ACCOUNTS RECIEVIABLE PROVIDENCE                               350,000.00                   0.00                             0.00              FA




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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:      4
                                                                    ASSET CASES                                                                               Exhibit A
Case No:             04-22316RG         CMG      Judge: CHRISTINE M. GRAVELLE                         Trustee Name: CHARLES M. FORMAN, TRUSTEE
Case Name:           OMNE STAFFING, INC. CHAPTER 7                                                    Date Filed (f) or Converted (c):   11/09/07 (c)
                                                                                                      341(a) Meeting Date:               02/04/08
                                                                                                      Claims Bar Date:                   04/07/08


                                  1                                     2                         3                 4               5                        6
                                                                                         Estimated Net Value
                                                                                          (Value Determined      Property                               Asset Fully
                                                                     Petition/             by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                          Asset Description                         Unscheduled           Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values               and Other Costs)     OA=554(a)        the Estate               Assets

   ASSETS 158,159,160 SET UP TO RECORD RECEIPT OF
   ACCOUNTS RECEIVABLE OF VARIOUS DEBTORS
   DURING CHAPTER 7
 103. 318 ACCOUNTS RECEIVABLE EE LOAN D THOMAS                           29,464.36                       0.00                             0.00              FA
   CLAIM OF 29464.36 INCLUDED IN ASSET 160 -
   JUDGMENTS
 104. 02-22319 OMNE STAFFING II INC.                                              0.00                   0.00                             0.00              FA
   ASSETS 105 TO ASSET 112 REPRESENT ASSETS OF
   02-22319
 105. 319 BANK OF AM 3446924352                                          35,218.54                       0.00                             0.00              FA
 106. 319 WAMU #923384755                                                     0.00                       0.00                             0.00              FA
 107. 319 OVERDRAWN CASH - 30687.47                                           0.00                       0.00                             0.00              FA
 108. 319 PREPAID INSURANCE KEMPER 8/02-7/03                            510,000.00                       0.00                             0.00              FA
 109. 319 ACCOUNTS RECEIVABLE TRADE                                   1,341,282.17                       0.00                             0.00              FA
   ASSET # 158,159, 160 SET UP TO RECORD ACCOUNT
   RECEIVABLE RECEIPTS OF VARIOUS
   CONSOLIDATED DEBTORS
 110. 319 ACCOUNTS RECEIVABLE - PROVIDENCE                            1,050,000.00                       0.00                             0.00              FA
   ASSET 158,159,160 SET UP TO RECORD RECEIPT OF
   ACCOUNTS RECEIVABLE OF VARIOUS
   CONSOLIDATED DEBTORS
 111. 319 INS. COLLATERAL TRANSPACIFIC                                  381,750.00                       0.00                             0.00              FA
 112. 319GARNISHMENTS DEDUCTED                                            9,386.30                       0.00                             0.00              FA
 113. 02-22321 OMNE STAFFING III, INC.                                        0.00                       0.00                             0.00              FA
   ASSETS 114 THROUGH 122 REPRESENT ASSETS OF
   CASE 02-22321
 114. 321 FLEET A/C 9420525824                                          125,541.94                       0.00                             0.00              FA
 115. 321 WAMU A/C 923384739                                                  0.00                       0.00                             0.00              FA
 116. 321 OVERDRAWN CASH (-5622.16)                                           0.00                       0.00                             0.00              FA
 117. 321 PP INSURANCE TSIL 7-1-03/12-31-03                             161,501.44                       0.00                             0.00              FA
 118. 321 PP INSURANCE TSIL 1-1-04/12-31-04                             110,437.60                       0.00                             0.00              FA
 119. 321 PP INSURANCE W/C KEMPER 8-1-02/7-31-03                         90,000.00                       0.00                             0.00              FA
 120. 321 PP INSURANCE W/C TSIL 7-1-03/12-31-03                          74,633.20                       0.00                             0.00              FA
 121. 321 PP INSURANCE W/C TSIL 1-1-04/12-31-04                          23,846.80                       0.00                             0.00              FA
 122. 321 ACCOUNTS RECEIVABLE - TRADE                                    46,509.41                       0.00                             0.00              FA
   ASSET 158,159, 160 SET UP TO RECORD RECEIPT OF
   ACCOUNT RECEIVABLE OF VARIOUS DEBTORS
 123. BLANK                                                                       0.00                   0.00                             0.00              FA
 124. 02-22322 OMNE STAFFING IV, INC.                                             0.00                   0.00                             0.00              FA
   ASSETS 132 THROUGH 150 REPRESENT ASSETS OF
   CASE 02-22324
 125. 322 FLEET A/C 9420525816                                                0.00                       0.00                             0.00              FA
 126. 322 WAMU A/C 923384747                                                  0.00                       0.00                             0.00              FA
 127. 322 PP INSURANCE KEMPER 8-1-02/7-31-03                            300,000.00                       0.00                             0.00              FA




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Case Name:           OMNE STAFFING, INC. CHAPTER 7                                                    Date Filed (f) or Converted (c):   11/09/07 (c)
                                                                                                      341(a) Meeting Date:               02/04/08
                                                                                                      Claims Bar Date:                   04/07/08


                                  1                                     2                         3                 4               5                        6
                                                                                         Estimated Net Value
                                                                                          (Value Determined      Property                               Asset Fully
                                                                     Petition/             by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                          Asset Description                         Unscheduled           Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values               and Other Costs)     OA=554(a)        the Estate               Assets

 128. 322 ACCOUNTS RECEIVABLE - PAYPRO                                   63,703.84                       0.00                             0.00              FA
   ASSET 158,159,160 SET UP TO RECORD RECEIPT OF
   VARIOUS DEBTORS' ACCOUNT RECEIVABLE
 129. 322 ACCOUNTS RECEIVABLE TRADE                                     644,939.49                       0.00                             0.00              FA
   ASSET 158,159,160 SET UP TO RECORD RECEIPT OF
   ACCOUNTS RECEIVABLE FROM VARIOUS DEBTORS
 130. BLANK                                                                       0.00                   0.00                             0.00              FA
 131. 02-22324 WESTCOTT II                                                        0.00                   0.00                             0.00              FA
   ASSETS 132 THROUH 150 REPRESENT ASSETS OF
   CASE 02-22324
 132. 324 PETTY CASH                                                      4,555.97                       0.00                             0.00              FA
 133. 324 WAMU A/C 923384797 (OD 7911.17)                                     0.00                       0.00                             0.00              FA
 134. 324 COMMERCE A/C 7858270494                                         7,251.80                       0.00                             0.00              FA
 135. 324 FIRST UNION                                                     7,981.53                       0.00                             0.00              FA
 136. 324 FIDELITY A/C Z75417467                                         31,326.00                       0.00                             0.00              FA
 137. 324 RESTRICTED GREAT AMERICAN                                     420,408.62                       0.00                             0.00              FA
 138. 324 RESTRICTED CHURCHHILL                                         481,381.00                       0.00                             0.00              FA
 139. 324 DEPOSITS                                                       13,255.59                       0.00                             0.00              FA
 140. 324 PP INSURANCE WORKERS COMP TSIL                                548,056.00                       0.00                             0.00              FA
 141. 324 PP WORKERS COMP CHURCHHILL                                    153,099.00                       0.00                             0.00              FA
 142. 324 PP INSURANCE WORK COMP TSIL                                   120,546.00                       0.00                             0.00              FA
 143. 324 STOCK - CHRUCHHILL                                             36,000.00                       0.00                             0.00              FA
 144. 324 ACCOUNTS RECEIVABLE TRADE                                   4,041,863.07                       0.00                             0.00              FA
   ASSET 158,159,160 SET UP TO RECORD ACCOUNTS
   RECEIVABLE OF VARIOUS DEBTORS
 145. 324 ACCOUNTS RECEIVABLE BAD DEBT ALLOW                                      0.00                   0.00                             0.00              FA
   ASSET 158,159,160 SET UP TO RECORD ACCOUNTS
   RECEIVABLE RECEIPTS FOR VARIOUS DEBTORS
 146. 324 EMPLOYEE LOAN RECEIVABLE                                        3,356.22                       0.00                             0.00              FA
 147. 324 ACCOUNT RECEIVALBE DUE FROM PAYPRO                             21,079.82                       0.00                             0.00              FA
 148. 324 ACCOUNT RECEIVABLE IRS REFUND                                 123,696.34                       0.00                             0.00              FA
 149. 324 ACCOUNT RECEIVABLE FBI LEVY                                   309,234.63                       0.00                             0.00              FA
 150. 324 MACHINERY & EQUIPMENT                                          28,741.66                       0.00                             0.00              FA
 151. BLANK                                                                   0.00                       0.00                             0.00              FA
 152. 02-22325 VANPOWER, INC.                                                 0.00                       0.00                             0.00              FA
   ASSETS 153 THROUGH 155 REPRESENTS ASSETS OF
   CASE 02-22325
 153. 325WACHOVIA BANK A/C 2000004726003 OD                                   0.00                      0.00                              0.00              FA
 154. 325 ACCOUNT RECEIVABLE FBI LEVY                                    17,540.03                      0.00                              0.00              FA
 155. 325 ACCOUNT RECEIVABLE FROM WESCOTT 11                             21,772.02                      0.00                              0.00              FA
 156. BLANK                                                                   0.00                      0.00                              0.00              FA
 157. BLANK                                                                   0.00                      0.00                              0.00              FA
 158. COMBINED DEBTORS ACCOUNTS RECEIVABLE                                    0.00                 19,150.00                              0.00              FA
 UNDER 5000k (u)




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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page:      6
                                                                    ASSET CASES                                                                                Exhibit A
Case No:             04-22316RG         CMG      Judge: CHRISTINE M. GRAVELLE                          Trustee Name: CHARLES M. FORMAN, TRUSTEE
Case Name:           OMNE STAFFING, INC. CHAPTER 7                                                     Date Filed (f) or Converted (c):   11/09/07 (c)
                                                                                                       341(a) Meeting Date:               02/04/08
                                                                                                       Claims Bar Date:                   04/07/08


                                  1                                     2                         3                  4               5                        6
                                                                                         Estimated Net Value
                                                                                          (Value Determined       Property                               Asset Fully
                                                                     Petition/             by Trustee, Less       Formally       Sale/Funds          Administered (FA)/
                          Asset Description                         Unscheduled           Liens, Exemptions,     Abandoned       Received by      Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)               Values               and Other Costs)      OA=554(a)        the Estate               Assets

    INDIVIDUAL SCHEDULES FROM VARIOUS DEBTORS
    REFLECTED APPROXIMATELY 200 ACCOUNT
    DEBTORS WITH BALANCES DUE BELOW $5,000.
    TRUSTEE WILL ATTEMPT TO LIQUIDATE SAME AND
    RECORD SAME TO THIS ASSET. REMAINING VALUE
    EATIMATE IS 10 % OF THE BALANCE DUE WILL BE
    RECORDED IN THIS ASSET. PETITION VALUE IS
    $0.00 SO AS NOT TO DUPLICATED INDIVIDUAL
    DEBTOR SCHEDULED AMOUNTS. MINIMAL
    ACCOUNTS TOO SMALL TO TRACK ARE DEEMED
    ABANDONED.
 159. CLAIMS SETTLED W/ BALANCE DUE AT                                            0.00             35,057.73                         31,057.73               FA
 CONVERSION (u)
    AR CLAIMS INCLUDE CHIVIANO 5,000.00, U.S.
    SUPPLY 28,724.40, LUBETKIN 1,333.33 ORIGINALLY
    SCHEDULED ABOVE IN VARIOUS DEBTORS'
    SCHEDULES COLLECTED IN CHAPTER 7
 160. JUDGMENTS OBTAINED IN CHAP 11 (u)                               2,274,381.93               227,438.19                          26,640.65               FA
    JUDGMENTS OF 2,274,391.93 FROM
    APPROXIMATELY 75 ACCOUNT RECEIVABLE
    DEFENDANTS FROM ORIGINAL CONSOLIDATED
    DEBTORS' SCHEDULES - TRUSTEE WILL ATTEMPT
    TO SELL JUDGMENTS. ESTIMATED VALUE TO
    ESTATE IS 10% OF AMOUNT DUE. TRUSTEE VALUE
    IS BASED ON A % OF ORIGINAL SCHEDULED
    VALUES. BALANCE OF 2,006,621.87 OF
    UNCOLLECTIBLE RECEIVABLES WAS ABANDONED
    ON NOTICE TO CREDITORS 10-9-14
 161. FORMAN V. SININS 05-1205 (u)                                    2,000,000.00               400,000.00                         696,579.23               FA
    CLAIM OF APPROXIMATELY 2,000,000 IN
    TRANSFERS AND 68,OOO,OOO IN DAMAGES -
    RECEIPTS FOR SALE OF REAL PROPERTY WILL
    APPLY TO THIS ASSET
 162. FORMAN V CA PERMANENTE MEDICAL 06-1646                                5,000.70                  5,000.70                             0.00              FA
 (u)
    DEFAULT JUDGMENT FOR 5000.70
 163. FORMAN V ALLSTATES EMP 05-1016 (u)                              1,700,000.00                        0.00                      650,000.00               FA
 164. INSURANCE BROKERAGE ANTITRUST LITIGATION                           Unknown                          0.00                        4,246.22               FA
 (u)
 165. FORMAN V. WACHOVIA (CIVIL ACTION) (u)                          26,000,000.00            13,000,000.00                         150,000.00               FA
    BROKER MALPRACTICE CLAIM
 166. NON-COMPENSABLE REFUNDS (u)                                        Unknown                       0.00                           3,637.56               FA
 167. ADMIN. AR FACTORY 2-U STORES POC (u)                              200,884.02               200,000.00                         200,670.18               FA
    PROOF OF CLAIM FILED IN FACTORY BANKRUPTCY




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                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                              Page:      7
                                                                     ASSET CASES                                                                           Exhibit A
Case No:              04-22316RG         CMG      Judge: CHRISTINE M. GRAVELLE                     Trustee Name: CHARLES M. FORMAN, TRUSTEE
Case Name:            OMNE STAFFING, INC. CHAPTER 7                                                Date Filed (f) or Converted (c):   11/09/07 (c)
                                                                                                   341(a) Meeting Date:               02/04/08
                                                                                                   Claims Bar Date:                   04/07/08


                                   1                                     2                     3                 4               5                        6
                                                                                      Estimated Net Value
                                                                                       (Value Determined      Property                               Asset Fully
                                                                      Petition/         by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                           Asset Description                         Unscheduled       Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
                (Scheduled and Unscheduled (u) Property)               Values           and Other Costs)     OA=554(a)        the Estate               Assets

       CASE FOR CHAPTER 11 ADMINISTRATIVE CLAIM
     168. EXCESS LEGAL RETAINER BEDDELL DITTMAR (u)                          577.95                577.95                           577.95               FA
     169. PRE-PETITION TAX REFUNDS (u)                                    62,368.42             62,368.42                        62,368.42               FA
       PRE-PETITION FEDERAL 940 AND 941 TAX REFUNDS
     170. MISCELLANEOUS REFUNDS & CREDITS (u)                             Unknown                     0.00                       28,643.32               FA
       INCLUDING CLAIMS SUBMITTED FOR UNCLAIMED
       PROPERTY SEARCHES

                                                                                                                                             Value of Remaining Assets
     TOTALS (Excluding Unknown Values)                               $77,230,290.69       $19,773,540.48                     $7,758,199.48                        $0.00
                                                                                                                                               (Total Dollar Amount
                                                                                                                                                      in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 OMNE STAFFING, INC. 04-22316 SUBSTANTIVELY CONSOLIDATED WITH THE FOLLOWING RELATED CASES:
 OMNE PAYROLL SERVICES, INC. 04-22318, OMNE STAFFING II, INC. 04-22319, OMNE STAFFING III, INC.
 04-22321, OMNE STAFFING IV, INC. 04-22322, WESTCOTT II, 04-22324, VAN POWER, INC. 04-22325

 ACCOUNTS RECEIVABLE BALANCES NOT PREVIOUSLY LIQUIDATED DURING THE CHAPTER 11 IN ASSET NOS.
 70,100,101,109,122,129,144,154,158,159,160 TO BE LIQUIDATED IN CHAPTER 7 ARE RECORDED IN ASSETS
 #158 #159 AND #160 WHICH WERE SET UP TO RECORD SAME. REGARDING ASSET # 160, TRUSTEE COLLECTED
 26,284.46 OF SETTLEMENTS ON ACCOUNT OF JUDGMENTS AND ABANDONED $2,006,621.87 IN JUDGMENTS ON NOTICE
 TO CREDITORS.

 BANK ACCOUNTS - ASSET NOS. 3 THRU 19, 92 THRU 95, 105 THRU 107, 114 THRU 116, 125 THRU 126, 132
 THRU 136, AND 153 WERE SEIZED AT ONSET OF CASE. ANY POSSIBLE REMAINING BALANCES ARE DEEMED ABANDONED
 IN CHAPTER 7.

 RE ASSETS #86,87,88 MACHINERY, EQUIPMENT, FIXTURES ETC WERE SOLD AT AUCTION OR TURNED OVER TO THE
 SECURED CREDITORS DURING THE CHAPTER 11 - REMAINING EQUIPMENT ETC IS DEEMED ABANDONED.

 .



 HG

 Initial Projected Date of Final Report (TFR): 01/01/10              Current Projected Date of Final Report (TFR): 01/31/15




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                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:                04-22316RG -CMG
                                                                                                                                                                                 Exhibit B
                                                                                                       Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:              OMNE STAFFING, INC. CHAPTER 7                                             Bank Name:                      VIRGINIA HERITAGE BANK
                                                                                                       Account Number / CD #:          *******0842 Checking Account
     Taxpayer ID No:         *******2526
     For Period Ending:      04/28/15                                                                  Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                       Separate Bond (if applicable):



         1              2                                 3                                     4                                            5                   6                      7

 Transaction       Check or                                                                                                Uniform                          Disbursements       Account / CD
    Date           Reference                  Paid To / Received From              Description Of Transaction            Trans. Code    Deposits ($)             ($)             Balance ($)
                                                                        BALANCE FORWARD                                                                                                          0.00
        04/18/12                Trsf In From BANK OF AMERICA            INITIAL WIRE TRANSFER IN                         9999-000                  99.01                                        99.01
        04/18/12                Trsf In From BANK OF AMERICA            INITIAL WIRE TRANSFER IN                         9999-000            27,740.88                                  27,839.89
        04/18/12                Trsf In From BANK OF AMERICA            INITIAL WIRE TRANSFER IN                         9999-000         1,178,693.20                             1,206,533.09
        05/14/12   001001       THE GARDEN CITY GROUP, INC.             CLAIMS AGENT JAN-MAR 2012                        3991-000                                    1,397.96      1,205,135.13
                                                                        INV#12647
        05/14/12   001002       CLERK, US BANKRUPTCY COURT              ADVERSARY FILING FEES                            2700-000                                    9,250.00      1,195,885.13
                                                                        06-1520,1543,1567-1569,1575-1581,1596-1598,
                                                                        1602-1603,1618,1620-1629,
                                                                        1636-1637, 1644-1648, 1663, 2145
 *      05/15/12   001003       JASON WALLACE - 1406                    CLAIM FOR CHILD SUPPORT                          5700-000                                     700.00       1,195,185.13
 *      05/15/12   001003       JASON WALLACE - 1406                    CLAIM FOR CHILD SUPPORT                          5700-000                                    -700.00       1,195,885.13
                                                                        CHECK CANCELLED BEFORE MAILING -
                                                                        WILL REISSUE AT FINAL DISTRIBUTION
                                                                        PER HG.
 *      05/15/12   001004       REGISTRY OF THE COURT                   NOTICE DEPOSITING FUNDS W/COURT                  5300-000                                58,289.17         1,137,595.96
                                                                        FOR RETURNED WAGE CLAIMS
        05/15/12   001005       BEDERSON AND COMPANY LLP                ACCOUNTANT FOR TRUSTEE                                                                       8,943.11      1,128,652.85
                                                                        PER ORDER 5-20-09
                                                                               Fees                 8,836.00             3410-000                                                  1,128,652.85
                                                                               Expenses              107.11              3420-000                                                  1,128,652.85
 *      05/17/12   001004       REGISTRY OF THE COURT                   NOTICE DEPOSITING FUNDS W/COURT                  5300-000                                -58,289.17        1,186,942.02
                                                                        Void and Reissue to " Registry - US Bankruptcy
                                                                        Court" (never mailed)
        05/17/12   001006       REGISTRY - US BANKRUPTCY COURT          NOTICE DEPOSITING FUNDS W/COURT                  5300-000                                58,289.17         1,128,652.85
                                                                        FOR RETURNED WAGE CLAIMS
 *      06/13/12   001007       C. MARINO, INC.                         STORAGE OF RECORDS APRIL-JUNE                    2410-000                                    3,867.75      1,124,785.10
                                                                        INV#7397, 7398, 7399
        08/01/12   001008       C. MARINO, INC.                         STORAGE OF RECORDS APRIL-AUGUST                  2410-000                                    6,446.25      1,118,338.85
                                                                        INV#7397, 7406, 7399, 7524, 7633
        08/10/12                WIRE TRANSFER                           WIRE TRANSFER BOA TO VHB                         9999-000            21,867.71                             1,140,206.56
                                to transfer balance of reversed
                                checks in Bank of America
        08/29/12       164      INSURANCE BROKERAGE ANTITRUST           FULL & FINAL DIVIDEND PAYMENT                    1229-000                 893.07                           1,141,099.63
                                LITIGATION
        10/02/12   001009       C. MARINO, INC.                         STORAGE/DESTRUCTION OF RECORDS                   2410-000                                    4,223.00      1,136,876.63
                                                                        INV#7834      1284.00 SEPT12
                                                                        INV#7895      2568.00
                                                                        INV#7894        14.00
                                                                        INV#7893       357.00 OCT12-DEC16
 *      10/23/12   001007       C. MARINO, INC.                         STORAGE OF RECORDS APRIL-JUNE                    2410-000                                 -3,867.75        1,140,744.38
                                                                        STOP PAY CK LOST
        01/31/13                VIRGINIA HERITAGE BANK                  VIRGINIA HERITAGE SERVICE CHARGE                 2600-000                                    1,211.06      1,139,533.32
        02/14/13   001010       INTERNATIONAL SURETIES, LTD             TRUSTEE BLANKET BOND PREMIUM                     2300-000                                    1,147.18      1,138,386.14
        03/07/13                VIRGINIA HERITAGE BANK                  BANK SERVICE FEE                                 2600-000                                    1,092.91      1,137,293.23
        03/12/13       169      UNITED STATES TREASURY                  TAX REFUND 12/02                                 1224-000            14,680.13                             1,151,973.36
        03/12/13       169      UNITED STATES TREASURY                  TAX REFUND 12/04                                 1224-000                1,249.10                          1,153,222.46
        03/12/13       169      UNITED STATES TREASURY                  TAX REFUND 03/02                                 1224-000            46,439.19                             1,199,661.65
        03/13/13   001011       Xiomara Ceballos                        WAGE CLAIM ORDER 7-11-12                         5300-000                                    1,702.96      1,197,958.69



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                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                          Exhibit B
                                                                                                    Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                            Bank Name:                      VIRGINIA HERITAGE BANK
                                                                                                    Account Number / CD #:          *******0842 Checking Account
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                                 Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                    Separate Bond (if applicable):



         1             2                                3                                     4                                           5               6                      7

 Transaction       Check or                                                                                             Uniform                      Disbursements       Account / CD
    Date           Reference                 Paid To / Received From             Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
                               PO Box 7254                             2,664.00 GROSS (666.00) WT (165.17) SS
                               North Brunswick, NJ 08902               (38.63) MC
                                                                       (66.60) NJIT (24.64) SUI


        03/13/13   001012      UNITED STATES TREASURY                  FEDERAL PAYROLL TAX                            5300-000                                1,073.60      1,196,885.09
                                                                       EIN 223642526 P/E 3/31/13 FORM 941
        03/13/13   001013      STATE OF NEW JERSEY NJ-927              STATE PAYROLL TAX                              5300-000                                  66.60       1,196,818.49
                                                                       EIN 223-642-526 P/E 3/31/13 FORM NJ-927
        03/13/13   001014      NEW JERSEY DEPARTMENT OF LABOR          STATE PAYROLL TAX                              5300-000                                 181.81       1,196,636.68
                                                                       EIN 223-642-526 P/E 3/31/13 FORM WR-30
                                                                       PAYMENT OF WAGE CLAIM
        03/13/13   001015      UNITED STATES TREASURY                  FEDERAL PAYROLL TAX                            5300-000                                  31.96       1,196,604.72
                                                                       EIN XX-XXXXXXX P/E 12/31/13 FORM 940
        04/05/13               VIRGINIA HERITAGE BANK                  BANK SERVICE FEE                               2600-000                                1,244.86      1,195,359.86
        05/07/13               VIRGINIA HERITAGE BANK                  BANK SERVICE FEE                               2600-000                                1,228.51      1,194,131.35
        05/10/13   001016      MICHELE TUCKER                          PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 200.00       1,193,931.35
                                                                       INDIVIDUALS
 *      05/10/13   001017      BRIAN ST. LEGER                         PAYMENT OF DOL CLAIM #1998 TO                  5400-000                                 372.00       1,193,559.35
                                                                       INDIVIDUALS
        05/10/13   001018      PHILLIP S. STENGER, AS RECEIVER FOR     PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 840.00       1,192,719.35
                               U.S.A. v. BREWER ET AL COMBINED         INDIVIDUALS (FOR SONDRA SININS
                               SETTLEMENT FUND                         SHARE)
        05/10/13   001019      ROBIN SININS                            PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 840.00       1,191,879.35
                                                                       INDIVIDUALS
        05/10/13   001020      ELAINE SININS                           PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                1,440.00      1,190,439.35
                                                                       INDIVIDUALS
 *      05/10/13   001021      PHLIP S. STENGER, AS RECEIVER FOR       PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                1,800.00      1,188,639.35
                               U.S.A. v. BREWER ET AL COMBINED         INDIVIDUALS (FOR BARRY SININS
                               SETTLEMENT FUND                         SHARE)
 *      05/10/13   001021      PHLIP S. STENGER, AS RECEIVER FOR       PAYMENT OF DOL CLAIM#1998 TO                   5400-000                             -1,800.00        1,190,439.35
                               U.S.A. v. BREWER ET AL COMBINED         VOID-NEEDS CORRECTION ON PAY TO
                               SETTLEMENT FUND
        05/10/13   001022      PHILLIP S STENGER, AS RECEIVER FOR      PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                1,800.00      1,188,639.35
                               U.S.A. v. BREWER ET AL COMBINED         INDIVIDUALS (FOR BARRY SININS
                               SETTLEMENT FUND                         SHARE)
        05/10/13   001023      ROBERT SEAMAN                           PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 219.70       1,188,419.65
                                                                       INDIVIDUALS
 *      05/10/13   001024      KENNETH P. OLIVA                        PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                4,000.00      1,184,419.65
                                                                       INDIVIDUALS
 *      05/10/13   001024      KENNETH P. OLIVA                        PAYMENT OF DOL CLAIM#1998 TO                   5400-000                             -4,000.00        1,188,419.65
                                                                       VOID-WRONG AMOUNT
        05/10/13   001025      KENNETH P. OLIVA                        PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 400.00       1,188,019.65
                                                                       INDIVIDUALS
        05/10/13   001026      ELLEN SUE MOORE                         PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 150.00       1,187,869.65
                                                                       INDIVIDUALS
        05/10/13   001027      SCOTT MCCULLOCH                         PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 423.08       1,187,446.57
                                                                       INDIVIDUALS
        05/10/13   001028      PAUL MARION                             PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 173.04       1,187,273.53
                                                                       INDIVIDUALS
        05/10/13   001029      HELAINE GUERINO                         PAYMENT OF DOL CLAIM#1998 TO                   5400-000                                 334.56       1,186,938.97


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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:                04-22316RG -CMG
                                                                                                                                                                         Exhibit B
                                                                                                 Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:              OMNE STAFFING, INC. CHAPTER 7                                       Bank Name:                      VIRGINIA HERITAGE BANK
                                                                                                 Account Number / CD #:          *******0842 Checking Account
     Taxpayer ID No:         *******2526
     For Period Ending:      04/28/15                                                            Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                 Separate Bond (if applicable):



         1              2                              3                                   4                                           5                 6                      7

 Transaction       Check or                                                                                          Uniform                        Disbursements       Account / CD
    Date           Reference                Paid To / Received From           Description Of Transaction           Trans. Code    Deposits ($)           ($)             Balance ($)
                                                                      INDIVIDUALS
        05/10/13   001030       RICHARD GALDI                         PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                  2,000.00      1,184,938.97
                                                                      INDIVIDUALS
        05/10/13   001031       JACQUELINE FERRARO                    PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   157.68       1,184,781.29
                                                                      INDIVIDUALS
        05/10/13   001032       COLIN DOWDS                           PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                  2,061.08      1,182,720.21
                                                                      INDIVIDUALS
        05/10/13   001033       JENNIFER DENMEAD                      PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                  4,108.72      1,178,611.49
                                                                      INDIVIDUALS
        05/10/13   001034       MILTON DELGADO                        PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                    43.84       1,178,567.65
                                                                      INDIVIDUALS
 *      05/10/13   001035       VERONICA CORDOVA                      PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                    96.16       1,178,471.49
                                                                      INDIVIDUALS
                                                                      REVERSAL SHOULD BE STOP PAYMENT
        05/10/13   001036       JENNIFER CAMACHO                      PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   160.00       1,178,311.49
                                                                      INDIVIDUALS
        05/10/13   001037       ROBERT BOURDOIN                       PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   135.80       1,178,175.69
                                                                      INDIVIDUALS
        05/10/13   001038       ROSALINA ANTAO                        PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   165.36       1,178,010.33
                                                                      INDIVIDUALS
        05/10/13   001039       TRACEY ALBANKIS                       PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   250.00       1,177,760.33
                                                                      INDIVIDUALS
        05/10/13   001040       JIE ZHANG                             PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   376.98       1,177,383.35
                                                                      INDIVIDUALS
 *      05/10/13   001041       KRISHANG SANGHAVI                     PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   514.17       1,176,869.18
                                                                      INDIVIDUALS
        05/10/13   001042       JOSE RODRIGUEZ                        PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                  2,414.21      1,174,454.97
                                                                      INDIVIDUALS
        05/10/13   001043       RACHEL MATHEWS                        PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                   712.70       1,173,742.27
                                                                      INDIVIDUALS
        05/10/13   001044       ALBERT MASETTI                        PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                  1,299.02      1,172,443.25
                                                                      INDIVIDUALS
        05/28/13   001045       THE GARDEN CITY GROUP, INC.           CLAIMS AGENT 7/1/12>4/15/13                  3991-000                                  3,667.15      1,168,776.10
                                                                      INV#14565
        06/07/13                VIRGINIA HERITAGE BANK                BANK SERVICE FEE                             2600-000                                  1,261.06      1,167,515.04
        07/08/13                VIRGINIA HERITAGE BANK                BANK SERVICE FEE                             2600-000                                  1,202.24      1,166,312.80
        08/06/13   001046       THE GARDEN CITY GROUP, INC.           CLAIMS AGENT 4/16/13>6/30/13                 3991-000                                   830.00       1,165,482.80
                                                                      INV#14938, 14939
        08/07/13                VIRGINIA HERITAGE BANK                BANK SERVICE FEE                             2600-000                                  1,239.72      1,164,243.08
        09/09/13                VIRGINIA HERITAGE BANK                BANK SERVICE FEE                             2600-000                                  1,237.92      1,163,005.16
        10/07/13                VIRGINIA HERITAGE BANK                BANK SERVICE FEE                             2600-000                                  1,196.39      1,161,808.77
        10/15/13       160      MARCIA T. DUNN, TRUSTEE FOR           SETTLEMENT CASE#09-31349                     1249-000                356.19                          1,162,164.96
                                ANTHONY B.
                                WILSON ROOFING INC.
        11/07/13                VIRGINIA HERITAGE BANK                BANK SERVICE FEE                             2600-000                                  1,235.08      1,160,929.88
 *      11/19/13   001035       VERONICA CORDOVA                      PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                    -96.16      1,161,026.04
 *      12/02/13   001017       BRIAN ST. LEGER                       PAYMENT OF DOL CLAIM #1998 TO                5400-000                                  -372.00       1,161,398.04
 *      12/02/13   001041       KRISHANG SANGHAVI                     PAYMENT OF DOL CLAIM#1998 TO                 5400-000                                  -514.17       1,161,912.21
        12/06/13                VIRGINIA HERITAGE BANK                BANK SERVICE FEE                             2600-000                                  1,194.00      1,160,718.21



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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:                04-22316RG -CMG
                                                                                                                                                                                   Exhibit B
                                                                                                    Trustee Name:                    CHARLES M. FORMAN, TRUSTEE
  Case Name:              OMNE STAFFING, INC. CHAPTER 7                                             Bank Name:                       VIRGINIA HERITAGE BANK
                                                                                                    Account Number / CD #:           *******0842 Checking Account
  Taxpayer ID No:         *******2526
  For Period Ending:      04/28/15                                                                  Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                    Separate Bond (if applicable):



      1              2                               3                                     4                                               5                    6                       7

 Transaction    Check or                                                                                                 Uniform                           Disbursements           Account / CD
    Date        Reference                 Paid To / Received From             Description Of Transaction               Trans. Code    Deposits ($)              ($)                 Balance ($)
     01/08/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,232.47         1,159,485.74
     02/07/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,231.26         1,158,254.48
     03/05/14   001047       INTERNATIONAL SURETIES, LTD               TRUSTEE BOND PREMIUM                             2300-000                                    1,001.40         1,157,253.08
     03/07/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,110.91         1,156,142.17
     04/07/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,227.95         1,154,914.22
     05/08/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,186.81         1,153,727.41
     06/06/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,185.61         1,152,541.80
     06/10/14       170      STATE OF FLORIDA/DEPT OF FINANCIAL        REFUND UNCLAIMED PROPERTY                        1229-000               3,535.16                              1,156,076.96
                             SERVICES
     07/07/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,186.74         1,154,890.22
     07/08/14       170      STATE OF NEW JERSEY/UNCLAIMED             UNCLAIMED PROPERTY CLAIM                         1229-000           11,353.63                                 1,166,243.85
                             PERSONAL
                             PROP TR FD
     08/07/14                VIRGINIA HERITAGE BANK                    BANK SERVICE FEE                                 2600-000                                    1,235.27         1,165,008.58
     08/08/14                Trsf To UNION BANK                        FINAL TRANSFER                                   9999-000                              1,165,008.58                      0.00




                                                         Account                Balance Forward                          0.00
                                                                              7 Deposits                            78,506.47                  55 Checks                              118,957.92
                                                         *******0842
                                                                              0 Interest Postings                        0.00                  19 Adjustments Out                      22,940.77
       Memo Receipts:                     0.00                                                                                                  1 Transfers Out                     1,165,008.58
   Memo Disbursements:                    0.00                                  Subtotal                    $       78,506.47
                                                                                                                                                   Total                       $    1,306,907.27
   Memo Allocation Net:                   0.00                                1 Adjustments In                      21,867.71
                                                                              3 Transfers In                    1,206,533.09

                                                                                Total                      $    1,306,907.27




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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:                04-22316RG -CMG
                                                                                                                                                                                   Exhibit B
                                                                                                      Trustee Name:                       CHARLES M. FORMAN, TRUSTEE
     Case Name:              OMNE STAFFING, INC. CHAPTER 7                                            Bank Name:                          UNION BANK
                                                                                                      Account Number / CD #:              *******0921 Checking Account
     Taxpayer ID No:         *******2526
     For Period Ending:      04/28/15                                                                 Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                      Separate Bond (if applicable):



         1              2                             3                                       4                                                 5                  6                       7

 Transaction       Check or                                                                                                   Uniform                         Disbursements       Account / CD
    Date           Reference               Paid To / Received From               Description Of Transaction                 Trans. Code    Deposits ($)            ($)             Balance ($)
                                                                        BALANCE FORWARD                                                                                                            0.00
        08/08/14                Trsf In From VIRGINIA HERITAGE BANK     INITIAL WIRE TRANSFER IN                             9999-000        1,165,008.58                             1,165,008.58
        08/14/14   100001       THE GARDEN CITY GROUP, INC.             CLAIMS AGENT SERVICE 7/1/13-6/30/14                  3991-000                                  2,111.60       1,162,896.98
                                                                        INV#15544, 15595, 16707
        08/26/14       170      STATE OF CONNECTICUT                    UNCLAIMED PROPERTY                                   1229-000               142.72                            1,163,039.70
        09/25/14                UNION BANK                              BANK SERVICE FEE                                     2600-000                                  1,340.58       1,161,699.12
        10/21/14   100002       CLERK, UNITED STATES BANKRUPTCY         DEPOSIT UNCLAIMED FUNDS                              5400-000                                   982.33        1,160,716.79
                                COURT                                   CLAIM#1998
                                                                        372.00 BRIAN ST. LEGER
                                                                        514.17 KRISHANG SANGHAVI
                                                                        96.16 VERONICA CORDOVA
        10/27/14                UNION BANK                              BANK SERVICE FEE                                     2600-000                                  1,672.78       1,159,044.01
        11/25/14                UNION BANK                              BANK SERVICE FEE                                     2600-000                                  1,726.00       1,157,318.01
        12/26/14                UNION BANK                              BANK SERVICE FEE                                     2600-000                                  1,666.62       1,155,651.39
 *      02/25/15   100003       INTERNATIONAL SURETIES LTD              TRUSTEE BLANKET BOND PREMIUM                         2300-000                                   994.28        1,154,657.11
 *      02/25/15   100003       INTERNATIONAL SURETIES LTD              TRUSTEE BLANKET BOND PREMIUM                         2300-000                                  -994.28        1,155,651.39
        02/25/15   100004       INTERNATIONAL SURETIES LTD              TRUSTEE BLANKET BOND PREMIUM                         2300-000                                   621.43        1,155,029.96




                                                          Account                 Balance Forward                            0.00
                                                                                1 Deposits                                 142.72                   5 Checks                               3,715.36
                                                          *******0921
                                                                                0 Interest Postings                          0.00                   4 Adjustments Out                      6,405.98
          Memo Receipts:                   0.00                                                                                                     0 Transfers Out                            0.00
      Memo Disbursements:                  0.00                                    Subtotal                       $        142.72
                                                                                                                                                      Total                       $       10,121.34
      Memo Allocation Net:                 0.00                                 0 Adjustments In                             0.00
                                                                                1 Transfers In                        1,165,008.58

                                                                                   Total                      $       1,165,151.30




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                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:                04-22316RG -CMG
                                                                                                                                                                                   Exhibit B
                                                                                                         Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:              OMNE STAFFING, INC. CHAPTER 7                                               Bank Name:                      BANK OF AMERICA
                                                                                                         Account Number / CD #:          *******9414 Money Market Account (Interest Earn
     Taxpayer ID No:         *******2526
     For Period Ending:      04/28/15                                                                    Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                         Separate Bond (if applicable):



         1              2                               3                                        4                                             5                   6                      7

 Transaction       Check or                                                                                                  Uniform                          Disbursements       Account / CD
    Date           Reference                 Paid To / Received From             Description Of Transaction                Trans. Code    Deposits ($)             ($)             Balance ($)
                                                                       BALANCE FORWARD                                                                                                            0.00
        12/28/07                CHARLES FORMAN CHAPTER 11              TRANSFER FROM CHAPTER 11                            9999-000         5,815,450.27                             5,815,450.27
                                TRUSTEE
        12/28/07                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                    2,840.15      5,812,610.12
        12/31/07        2       BANK OF AMERICA                        Interest Rate 2.500                                 1270-000                6,420.89                          5,819,031.01
        01/10/08       166      LIBERTY MUTUAL INSURANCE               WORKERS COMPENSATION REFUND                         1290-002                  93.00                           5,819,124.01
        01/10/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                    3,865.50      5,815,258.51
        01/14/08       159      US SUPPLY COMPANY                      SETTLEMENT FUNDS                                    1221-000                7,181.10                          5,822,439.61
        01/14/08       163      NORRIS MC LAUGHLIN & MARCUS            ALLSTATE & PROVIDENCE SETTLEMENT 1241-000                              650,000.00                             6,472,439.61
                                                                       ION ADV#05-1016
        01/15/08       159      DAVID LUBETKIN                         FINAL SETTLEMENT INSTALLMENT                        1221-000                1,333.33                          6,473,772.94
        01/21/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                     522.00       6,473,250.94
        01/22/08       159      HOROZONTAL SUBSURFACE SYSTEMS          SETTLEMENT FUNDS                                    1221-000                1,000.00                          6,474,250.94
        01/22/08       164      ZB COMPANY INC                         FINAL DISTRIBUTION CLASS 8 B CLAIM                  1290-000                 482.00                           6,474,732.94
        01/22/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                               108,902.70         6,365,830.24
        01/24/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                      80.00       6,365,750.24
        01/25/08       159      US SUPPLY COMPANY                      SETTLEMENT FUNDS                                    1221-000                7,181.10                          6,372,931.34
        01/28/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                    5,402.72      6,367,528.62
        01/31/08        2       BANK OF AMERICA                        Interest Rate 1.590                                 1270-000            12,672.89                             6,380,201.51
 *      01/31/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                               503,735.70         5,876,465.81
 *      01/31/08                Reverses Transfer on 01/31/08          TRANSFER TO WRITE CHECKS                            9999-000                              -503,735.70         6,380,201.51
        01/31/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                               504,106.94         5,876,094.57
        02/11/08                CHARLES FORMAN TRUSTEE FOR OMNE        TRANSFER FROM CHAPTER 11                                                    8,497.22                          5,884,591.79
                                (7)
                        1       CHARLES FORMAN TRUSTEE FOR OMNE           Memo Amount:                 8,497.22            1229-000
                                (7)                                    TRANSFER FROM CHAPTER 11
                        1                                                 Memo Amount:               5,815,450.27          1229-000
                                                                       TRANSFER FROM CHAPTER 11 12-28-07
                                                                       TO ADJUST FOR ENTRY 12/28/07 "ADJ IN"
                                                                       NOT APPLIED TO ASSET
                                                                          Memo Amount:       (       5,815,450.27 )        9999-000
                                                                       TRANSFER FROM CHAPTER 11 12-28-07
                                                                       TO ADJUST FOR ENTRY 12/28/07 "ADJ IN"
                                                                       NOT APPLIED TO ASSET
        02/11/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                     735.00       5,883,856.79
        02/27/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                10,089.89         5,873,766.90
        02/29/08        2       BANK OF AMERICA                        Interest Rate 1.590                                 1270-000                7,406.42                          5,881,173.32
        03/18/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                67,526.73         5,813,646.59
        03/19/08       159      US SUPPLY                              ACCOUNTS RECEIVABLE                                 1221-000                7,181.10                          5,820,827.69
        03/25/08       170      WLPS LITIGATION                        MISCELLANEOUS REFUND                                1290-002                   5.03                           5,820,832.72
        03/31/08       159      US SUPPLY                              SETTLEMENT FUNDS                                    1221-000                7,181.10                          5,828,013.82
        03/31/08       161      YAIR BENDORY - BANK OF AMERICA         DEPOSIT ON SALE OF 35 SINCLAIR TERR                 1241-000           151,100.00                             5,979,113.82
                                                                       ADV#05-1205
        03/31/08        2       BANK OF AMERICA                        Interest Rate 1.190                                 1270-000                6,995.72                          5,986,109.54
        04/03/08   001001       INTERNATIONAL SURETIES LTD             TRUSTEE BLANKET BOND PREMIUM                        2300-000                                    4,188.62      5,981,920.92
                                701 POYDRAS STREET
                                NEW ORLEANS, LA 70139
        04/07/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                            9999-000                                    7,500.00      5,974,420.92



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                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:                04-22316RG -CMG
                                                                                                                                                                              Exhibit B
                                                                                                    Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:              OMNE STAFFING, INC. CHAPTER 7                                          Bank Name:                      BANK OF AMERICA
                                                                                                    Account Number / CD #:          *******9414 Money Market Account (Interest Earn
     Taxpayer ID No:         *******2526
     For Period Ending:      04/28/15                                                               Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                    Separate Bond (if applicable):



         1              2                               3                                     4                                           5                   6                      7

 Transaction       Check or                                                                                             Uniform                          Disbursements       Account / CD
    Date           Reference                 Paid To / Received From             Description Of Transaction           Trans. Code    Deposits ($)             ($)             Balance ($)
        04/09/08       166      LIBERTY MUTUAL INSURANCE               MISCELLANEOUS                                  1290-002                   6.00                           5,974,426.92
                                                                       REFUNDS\COMMISSIONS
        04/11/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                               211,528.36         5,762,898.56
        04/14/08                Transfer from Acct #*******9621        Bank Funds Transfer                            9999-000                2,864.80                          5,765,763.36
                                                                       RE: VOIDED CHECK
        04/23/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                10,700.00         5,755,063.36
 *      04/28/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                    1,461.25      5,753,602.11
 *      04/28/08                Reverses Transfer on 04/28/08          TRANSFER TO WRITE CHECKS                       9999-000                                 -1,461.25        5,755,063.36
                                                                       REVERSE
        04/28/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                14,018.96         5,741,044.40
        04/30/08        2       BANK OF AMERICA                        Interest Rate 1.190                            1270-000                5,685.07                          5,746,729.47
        05/20/08       161      LAW OFFICE OF MARK TOLSTOI             SALE OF 35 SINCLAIR TERRACE RE SETT            1241-000           545,479.23                             6,292,208.70
                                                                       LEMENT OF CLAIM V SININS
                                                                       ADV#05-1205
        05/23/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                10,545.75         6,281,662.95
        05/30/08        2       BANK OF AMERICA                        Interest Rate 1.060                            1270-000                5,234.78                          6,286,897.73
        06/02/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                      27.21       6,286,870.52
        06/11/08       166      FIRSTENERGY CORP                       REFUND OF DEPOSIT PAID 35 SINCLAIR             1290-002                 457.14                           6,287,327.66
                                                                       PROPERTY
        06/18/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                11,835.26         6,275,492.40
        06/30/08        2       BANK OF AMERICA                        Interest Rate 1.060                            1270-000                5,458.11                          6,280,950.51
        07/02/08       160      D. JENSEN TRUSTEE FOR                  SETTLEMENT FUNDS ADV 06-1663 DWC               1249-000                 921.01                           6,281,871.52
                                WEINACHT/WALLER                        TRANSPORT
        07/10/08       166      PSE&G                                  REFUND 35 SINCLAIR TERR SHORT HILLS 1290-002                            229.14                           6,282,100.66
        07/22/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                83,618.74         6,198,481.92
        07/24/08       160      STEVEN KARTZMAN TRUSTEE FOR            SETTLEMENT OF ACCOUNT RECEIVALBE 1221-000                          25,363.45                             6,223,845.37
                                KARL HORVATH                           ADV 04-3077 V MONTVILLE/
        07/24/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                    2,578.50      6,221,266.87
        07/31/08        2       BANK OF AMERICA                        Interest Rate 1.060                            1270-000                5,618.17                          6,226,885.04
        08/01/08       166      NJ CASUALTY INSURANCE CO               REFUND OF INSURANCE PREMIUMS                   1290-002                 316.20                           6,227,201.24
        08/05/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                21,168.24         6,206,033.00
        08/18/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                               120,146.32         6,085,886.68
        08/26/08       166      UNITED STATES TREASURY                 REFUND OF VCP PAYMENT RE 401k PLAN 1290-002                            2,500.00                          6,088,386.68
        08/29/08        2       BANK OF AMERICA                        Interest Rate 1.060                            1270-000                5,525.83                          6,093,912.51
        09/10/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                26,500.00         6,067,412.51
        09/19/08       170      GLOBAL SURETY LLC                      REFUND OF CHAPTER 11 BOND PREMIUM 1290-000                         13,338.00                             6,080,750.51
        09/29/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                               218,813.33         5,861,937.18
        09/30/08        2       BANK OF AMERICA                        Interest Rate 1.060                            1270-000                5,268.21                          5,867,205.39
        10/29/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                              1,999,974.60        3,867,230.79
        10/31/08        2       BANK OF AMERICA                        Interest Rate 0.800                            1270-000                4,136.20                          3,871,366.99
        11/06/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                    6,000.00      3,865,366.99
        11/28/08        2       BANK OF AMERICA                        Interest Rate 0.530                            1270-000                1,737.11                          3,867,104.10
        12/10/08                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                    2,572.50      3,864,531.60
        12/31/08        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                1,143.86                          3,865,675.46
        01/15/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                    5,107.80      3,860,567.66
        01/30/09        2       BANK OF AMERICA                        Interest Rate 0.100                            1270-000                 347.09                           3,860,914.75
        01/30/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                13,567.47         3,847,347.28




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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:                04-22316RG -CMG
                                                                                                                                                                         Exhibit B
                                                                                                 Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
  Case Name:              OMNE STAFFING, INC. CHAPTER 7                                          Bank Name:                      BANK OF AMERICA
                                                                                                 Account Number / CD #:          *******9414 Money Market Account (Interest Earn
  Taxpayer ID No:         *******2526
  For Period Ending:      04/28/15                                                               Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                 Separate Bond (if applicable):



      1              2                               3                                     4                                           5                 6                      7

 Transaction    Check or                                                                                             Uniform                        Disbursements       Account / CD
    Date        Reference                 Paid To / Received From             Description Of Transaction           Trans. Code    Deposits ($)           ($)             Balance ($)
     02/12/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  2,578.50      3,844,768.78
     02/27/09        2       BANK OF AMERICA                        Interest Rate 0.100                            1270-000                295.02                          3,845,063.80
     03/11/09                INTERNATIONAL SURETIES LTD             TRUSTEE BLANKET BOND PREMIUM                   2300-000                                  3,764.69      3,841,299.11
                             CHARLES M FORMAN TRUSTEE BOND
                             ACCOUNT
     03/16/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                   135.00       3,841,164.11
     03/26/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                             217,800.00         3,623,364.11
     03/30/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                              10,709.52         3,612,654.59
     03/31/09        2       BANK OF AMERICA                        Interest Rate 0.100                            1270-000                322.76                          3,612,977.35
     04/08/09       170      PATTERSON BELKNAP WEBB & TYLER         RETURN OF UNUSED RETAINER                      1290-000                 50.00                          3,613,027.35
                                                                    MEDIATOR
     04/20/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  4,152.75      3,608,874.60
     04/23/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                             244,000.00         3,364,874.60
     04/30/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                378.96                          3,365,253.56
     05/11/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  5,852.60      3,359,400.96
     05/22/09       170      TRAVELERS -CNA INSURANCE               REFUND - RETURN PREMIUM #3422B764              1290-000                 22.00                          3,359,422.96
     05/29/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                371.12                          3,359,794.08
     06/11/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  6,181.51      3,353,612.57
     06/12/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  2,578.50      3,351,034.07
     06/30/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                358.43                          3,351,392.50
     07/14/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                             250,000.00         3,101,392.50
     07/21/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  2,123.03      3,099,269.47
     07/31/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                354.82                          3,099,624.29
     08/18/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  4,985.00      3,094,639.29
     08/31/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                341.98                          3,094,981.27
     09/09/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  8,047.05      3,086,934.22
     09/30/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                330.07                          3,087,264.29
     10/13/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  7,155.77      3,080,108.52
     10/30/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                340.41                          3,080,448.93
     11/03/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  4,578.50      3,075,870.43
     11/30/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                328.69                          3,076,199.12
     12/15/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  2,427.82      3,073,771.30
     12/28/09                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                             295,787.96         2,777,983.34
     12/31/09        2       BANK OF AMERICA                        Interest Rate 0.130                            1270-000                335.31                          2,778,318.65
     01/27/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                              68,018.98         2,710,299.67
     01/29/10        2       BANK OF AMERICA                        Interest Rate 0.110                            1270-000                263.30                          2,710,562.97
     02/24/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  8,291.25      2,702,271.72
     02/26/10        2       BANK OF AMERICA                        Interest Rate 0.110                            1270-000                228.60                          2,702,500.32
     03/24/10                Transfer to Acct #*******3323          Bank Funds Transfer                            9999-000                             536,153.81         2,166,346.51
     03/31/10        2       BANK OF AMERICA                        Interest Rate 0.110                            1270-000                239.56                          2,166,586.07
     04/01/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                                  1,289.25      2,165,296.82
     04/30/10        2       BANK OF AMERICA                        Interest Rate 0.110                            1270-000                195.77                          2,165,492.59
     05/11/10                INTERNATIONAL SURETIES LTD             TRUSTEE BOND PREMIUM                           2300-000                                  2,003.33      2,163,489.26
     05/17/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                             226,051.70         1,937,437.56
     05/28/10        2       BANK OF AMERICA                        Interest Rate 0.110                            1270-000                191.96                          1,937,629.52
     06/11/10                Transfer to Acct #*******3323          TRANSFER TO WRITE CHECKS                       9999-000                              12,000.00         1,925,629.52
     06/11/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                       9999-000                              15,500.00         1,910,129.52



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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:                04-22316RG -CMG
                                                                                                                                                                            Exhibit B
                                                                                                  Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
  Case Name:              OMNE STAFFING, INC. CHAPTER 7                                           Bank Name:                      BANK OF AMERICA
                                                                                                  Account Number / CD #:          *******9414 Money Market Account (Interest Earn
  Taxpayer ID No:         *******2526
  For Period Ending:      04/28/15                                                                Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                  Separate Bond (if applicable):



      1              2                               3                                      4                                           5                   6                      7

 Transaction    Check or                                                                                              Uniform                          Disbursements       Account / CD
    Date        Reference                 Paid To / Received From              Description Of Transaction           Trans. Code    Deposits ($)             ($)             Balance ($)
     06/30/10        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 173.78                           1,910,303.30
     07/30/10        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 178.50                           1,910,481.80
     07/30/10                Transfer from Acct #*******9621        Bank Funds Transfer                             9999-000                7,000.00                          1,917,481.80
     08/02/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    6,500.00      1,910,981.80
     08/31/10        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 178.58                           1,911,160.38
     09/13/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                33,500.00         1,877,660.38
     09/29/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    2,500.00      1,875,160.38
     09/30/10        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 170.96                           1,875,331.34
     10/26/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                               315,000.00         1,560,331.34
     10/29/10        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 170.45                           1,560,501.79
     11/22/10                Transfer to Acct #*******9621          TRANSFER FROM SAVINGS                           9999-000                                    2,100.00      1,558,401.79
     11/30/10        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 141.05                           1,558,542.84
     12/10/10                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    6,000.00      1,552,542.84
     12/31/10        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 145.21                           1,552,688.05
     01/17/11       164      INSURANCE BROKERAGE ANTITRUST          MISC RECIPTS - CLASS ACTION PROCEED 1229-000                               4.10                           1,552,692.15
                             LITIGATION                             S
     01/24/11       164      INSURANCE BROKERAGE ANTITRUST          DIVIDEND FROM CLASS ACTION                      1229-000                2,620.50                          1,555,312.65
                             LITIGATION                             LITIGATI
                                                                    ON
     01/24/11       164      INSURANCE BROKERAGE ANTITRUST          DIVIDEND FROM ANTITRUST                         1229-000                 246.55                           1,555,559.20
                             LITIGATION                             LITIGATION
     01/31/11        2       BANK OF AMERICA                        Interest Rate 0.110                             1270-000                 145.09                           1,555,704.29
     02/08/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    1,000.00      1,554,704.29
     02/28/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    6,000.00      1,548,704.29
     04/09/11       165      WELLS FARGO BANK                       SETTLEMENT FUNDS                                1249-000           150,000.00                             1,698,704.29
     05/26/11       167      J.L. BURTCH, TRUSTEE FOR FACTORY       SETTLEMENT OF CLAIM RE FACTORY 2-U 1241-000                        200,670.18                             1,899,374.47
                             2-U
     05/31/11       170      PSE&G                                  REFUND CREDIT BALANCE ACCOUNT                   1229-000                 196.78                           1,899,571.25
                                                                    66064
                                                                    79118
     08/25/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    6,000.00      1,893,571.25
     09/15/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                30,000.00         1,863,571.25
     09/22/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                               137,602.44         1,725,968.81
     09/27/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                      28.00       1,725,940.81
     10/06/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                               275,000.00         1,450,940.81
     10/27/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                79,166.60         1,371,774.21
     10/31/11                BANK OF AMERICA                        BANK SERVICE FEE                                2600-000                                    1,891.95      1,369,882.26
     11/02/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    2,000.00      1,367,882.26
     11/15/11       168      BEDELL DITTMAR DEVAULT PILLANS         REFUND TRUST ACCOUNT                            1229-000                 577.95                           1,368,460.21
     11/30/11                BANK OF AMERICA                        BANK SERVICE FEE                                2600-000                                    1,686.93      1,366,773.28
     12/07/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                               168,446.77         1,198,326.51
     12/14/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    5,000.00      1,193,326.51
     12/15/11                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    1,454.11      1,191,872.40
     12/30/11                BANK OF AMERICA                        BANK SERVICE FEE                                2600-000                                    1,521.66      1,190,350.74
     01/03/12                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                      30.46       1,190,320.28
     01/04/12                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    1,289.25      1,189,031.03
     01/17/12                Transfer to Acct #*******9621          TRANSFER TO WRITE CHECKS                        9999-000                                    1,163.00      1,187,868.03



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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              04-22316RG -CMG
                                                                                                                                                                                 Exhibit B
                                                                                                    Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
  Case Name:            OMNE STAFFING, INC. CHAPTER 7                                               Bank Name:                      BANK OF AMERICA
                                                                                                    Account Number / CD #:          *******9414 Money Market Account (Interest Earn
  Taxpayer ID No:       *******2526
  For Period Ending:    04/28/15                                                                    Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                    Separate Bond (if applicable):



      1             2                                3                                      4                                             5                   6                       7

 Transaction    Check or                                                                                                Uniform                          Disbursements           Account / CD
    Date        Reference                 Paid To / Received From             Description Of Transaction              Trans. Code    Deposits ($)             ($)                 Balance ($)
     01/31/12               BANK OF AMERICA                            BANK SERVICE FEE                                2600-000                                   1,558.89         1,186,309.14
     02/01/12               Transfer to Acct #*******9621              TRANSFER TO WRITE CHECKS                        9999-000                                      1.29          1,186,307.85
     02/02/12               Transfer to Acct #*******9621              TRANSFER TO WRITE CHECKS                        9999-000                                   1,289.25         1,185,018.60
     02/22/12               Transfer to Acct #*******9621              TRANSFER TO WRITE CHECKS                        9999-000                                    882.46          1,184,136.14
     02/29/12               BANK OF AMERICA                            BANK SERVICE FEE                                2600-000                                   1,408.19         1,182,727.95
     03/01/12               Transfer to Acct #*******9621              TRANSFER TO WRITE CHECKS                        9999-000                                      0.50          1,182,727.45
     03/01/12               Transfer to Acct #*******9621              TRANSFER TO WRITE CHECKS                        9999-000                                   1,289.25         1,181,438.20
     03/30/12               BANK OF AMERICA                            BANK SERVICE FEE                                2600-000                                   1,452.59         1,179,985.61
     04/02/12               Transfer to Acct #*******9621              TRANSFER TO COVER B/S/C                         9999-000                                    100.00          1,179,885.61
     04/12/12               INTERNATIONAL SURETIES LTD                 BLANKET BOND PREMIUM                            2300-000                                   1,192.41         1,178,693.20
     04/18/12               Trsf To VIRGINIA HERITAGE BANK             FINAL TRANSFER                                  9999-000                             1,178,693.20                       0.00




                                                         Account                Balance Forward                        0.00
                                                                             30 Deposits                       1,784,233.21                    1 Checks                               4,188.62
                                                         *******9414
                                                                             38 Interest Postings                 79,830.73                    9 Adjustments Out                     16,480.64
       Memo Receipts:              5,823,947.49                                                                                               84 Transfers Out                    7,668,709.75
   Memo Disbursements:             5,815,450.27                                  Subtotal                  $   1,864,063.94
                                                                                                                                                 Total                       $    7,689,379.01
   Memo Allocation Net:               8,497.22                                1 Adjustments In                 5,815,450.27
                                                                              2 Transfers In                        9,864.80

                                                                                 Total                     $   7,689,379.01




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                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                            Exhibit B
                                                                                                  Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                          Bank Name:                      BANK OF AMERICA
                                                                                                  Account Number / CD #:          *******9621 Checking Account (Non-Interest Earn
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                               Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                  Separate Bond (if applicable):



         1             2                               3                                    4                                           5                   6                       7

 Transaction       Check or                                                                                           Uniform                          Disbursements       Account / CD
    Date           Reference                Paid To / Received From            Description Of Transaction           Trans. Code    Deposits ($)             ($)             Balance ($)
                                                                      BALANCE FORWARD                                                                                                        0.00
        12/28/07               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                2,840.15                                 2,840.15
        12/28/07   001001      JONES VARGAS PA                        SPECIAL COUNSEL PER ORDER 12-13-07                                                        2,840.15                     0.00
                                                                      FEES 2819.00 EXPENSES 21.15
                                                                             Fees                2,819.00           6700-000                                                                 0.00
                                                                             Expenses             21.15             6710-000                                                                 0.00
        01/10/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                3,865.50                                 3,865.50
        01/10/08   001002      C. MARINO                              STORAGE OF RECORDS NOV - JAN                  2410-000                                    3,865.50                     0.00
        01/21/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                 522.00                                     522.00
        01/21/08   001003      FIRST ENERGY                           DEPOSIT - ELECTRIC SERVICE                    2990-000                                     522.00                      0.00
                                                                      ACCT 100073674150 35 SINCLAIR TERR
                                                                      SHORT HILLS NJ
        01/22/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000           108,902.70                                  108,902.70
        01/22/08   001004      GARDEN CITY GROUP                      CLAIMS AGENT NOV 10 TO NOV 30                 3991-000                                    4,197.04           104,705.66
        01/22/08   001005      BEDERSON & COMPANY                     ACCOUNTING FEES PER ORDER 12-18-07                                                   104,705.66                        0.00
                                                                      FEES 103000.00 EXPENSES 1705.66
                                                                             Fees               103,000.00          6410-000                                                                 0.00
                                                                             Expenses            1,705.66           6420-000                                                                 0.00
        01/24/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                  80.00                                      80.00
        01/24/08   001006      REGISTER ESSEX COUNTY                  RECORDING FEE DEED SININS TO                  2990-000                                      80.00                      0.00
                                                                      FORMAN
        01/28/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                5,402.72                                 5,402.72
 *      01/28/08   001007      COMMERCE BANK                          SUBPOENA RE ANTHONY NATALE                    2990-000                                     123.00              5,279.72
 *      01/28/08   001007      COMMERCE BANK                          SUBPOENA RE ANTHONY NATALE                    2990-000                                    -123.00              5,402.72
                                                                      VOID
        01/28/08   001008      HUDSON COUNTY REGISTERS OFFICE         DISCHARGE OF LIS PENDENS RE SININS            2990-000                                      50.00              5,352.72
 *      01/28/08   001009      CLARK COUNTY RECORDER'S OFFICE         DISCHARGE OF LIS PENDENS RE SININS            2990-000                                      15.00              5,337.72
 *      01/28/08   001010      ESSEX COUNTY REGISTERS OFFICE          DISCHARGE OF LIS PENDENS SININS               2990-000                                      30.00              5,307.72
        01/28/08   001011      WELLS FARGO HOME MORTGAGE              MORTGAGE 4332982 - JANUARY                    4110-000                                    5,307.72                     0.00
                                                                      35 SINCLAIR TERRACE
 *      01/31/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000           503,735.70                                  503,735.70
 *      01/31/08               Reverses Transfer on 01/31/08          TRANSFER TO WRITE CHECKS                      9999-000          -503,735.70                                            0.00
        01/31/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000           504,106.94                                  504,106.94
        01/31/08   001012      FORMAN HOLT ELIADES & RAVIN            ATTORNEY FOR TRUSTEE ORDER 1-30-08                                                   503,735.70                   371.24
                                                                      FEES 492600.00 EXP 11135.70
                                                                             Fees               492,600.00          6110-000                                                            371.24
                                                                             Expenses           11,135.70           6120-000                                                            371.24
        01/31/08   001013      NETWORK TECHNOLOGIES                   COMPUTER SERVICE & CARTRIDGE INV              2990-000                                     371.24                      0.00
                                                                      23
        02/11/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                 735.00                                     735.00
        02/11/08   001014      LOUIS R PUOPOLO III LAND SURVEYOR      35 SINCLAIR TERR SHORT HILLS SURVEY 2990-000                                               735.00                      0.00
        02/27/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000            10,089.89                                   10,089.89
        02/27/08   001015      FERRY JOSEPH & PEARCE PA               SPECIAL COUNSEL FEES ORDER 12-13-07                                                       4,612.17             5,477.72
                                                                             Fees                4,010.00           3210-000                                                         5,477.72
                                                                             Expenses             602.17            3220-000                                                         5,477.72
        02/27/08   001016      BOB SSHOTKIN                           LOCKSMITH - 35 SINCLAIR TERRACE               2420-000                                     170.00              5,307.72
        02/27/08   001017      WELLS FARGO HOME MORTGAGE              35 SINCLAIR TERRACE, SHORT HILLS 43           4110-000                                    5,307.72                     0.00




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                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:                04-22316RG -CMG
                                                                                                                                                                               Exhibit B
                                                                                                     Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:              OMNE STAFFING, INC. CHAPTER 7                                           Bank Name:                      BANK OF AMERICA
                                                                                                     Account Number / CD #:          *******9621 Checking Account (Non-Interest Earn
     Taxpayer ID No:         *******2526
     For Period Ending:      04/28/15                                                                Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                     Separate Bond (if applicable):



         1              2                               3                                      4                                           5                   6                       7

 Transaction       Check or                                                                                              Uniform                          Disbursements       Account / CD
    Date           Reference                 Paid To / Received From              Description Of Transaction           Trans. Code    Deposits ($)             ($)             Balance ($)
        03/18/08                Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                        9999-000            67,526.73                                   67,526.73
        03/18/08   001018       FOX ROTHSCHILD LLP                     ATTY FOR CREDITORS COMMITTEE                                                            67,526.73                        0.00
                                                                       PER ORDER 2-4-08 66800.50 + 726.23
                                                                              Fees                 66,800.50           3991-000                                                                 0.00
                                                                              Expenses              726.23             3992-000                                                                 0.00
        03/20/08       166      NJ CASUALTY INSURANCE                  WORKERS COMPENSATION INSURANCE                  1290-002                   4.68                                          4.68
                                                                       REFU
                                                                       ND
        04/07/08                Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                        9999-000                7,500.00                                 7,504.68
        04/07/08   001019       LOBOSCO INSURANCE GROUP LLC            POL CMM00233 & NPP1139400                       2420-000                                    5,604.60             1,900.08
                                                                       RE 35 SINCLAIR TERR.
        04/11/08                Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                        9999-000           211,528.36                                  213,428.44
 *      04/11/08   001009       CLARK COUNTY RECORDER'S OFFICE         Stop Payment Reversal                           2990-000                                      -15.00           213,443.44
                                                                       STOP PAY ADD SUCCESSFUL
 *      04/11/08   001010       ESSEX COUNTY REGISTERS OFFICE          Stop Payment Reversal                           2990-000                                      -30.00           213,473.44
                                                                       STOP PAY ADD SUCCESSFUL
        04/11/08   001020       C. MARINO                              STORAGE OF RECORDS FEB - APR                    2410-000                                    3,865.50           209,607.94
        04/11/08   001021       CLARK COUNTY RECORDER'S OFFICE         DISCHARGE OF LIS PENDENS                        2990-000                                      41.00            209,566.94
                                                                       RE: FORMAN VS. SININS
        04/11/08   001022       JCP & L                                RE: 35 SINCLAIR TERR.                           2990-000                                     277.19            209,289.75
                                                                       (A/C# 100073674150)
 *      04/11/08   001023       LOBOSCO INCURANCE GROUP, LLC           RE: 35 SINCLAIR TERR.                           2420-000                                    2,864.80           206,424.95
                                                                       GEN LIABILITY & DWELLING
                                                                       INSURANCE
        04/11/08   001024       CHARLES HENDERSON                      RE: 35 SINCLAIR TERRACE                         2420-000                                     135.00            206,289.95
                                                                       INSTALL SMOKE DETECTORS
        04/11/08   001025       HENDERSON & SON HANDYMAN               RE: 35 SINCLAIR TER (SAFETY ISSUES)             2420-000                                     385.00            205,904.95
                                SERVICE
        04/11/08   001026       TAX COLLECTOR, TWP. OF MILLBURN        RE: 35 SINCLAIR TERRACE                         2820-000                                13,905.21              191,999.74
                                                                       TAXES - 1ST & 2ND QTR. 2008
        04/11/08   001027       NJ AMERICAN WATER                      RE: 35 SINCLAIR TERR WATER BILL                 2990-000                                      36.13            191,963.61
                                                                       (A/C# XX-XXXXXXX-8)
        04/11/08   001028       TOWNSHIP OF MILLBURN                   RE: 35 SINCLAIR TERR                            2820-000                                     118.00            191,845.61
                                                                       ANNUAL SEWER USE CHARGE (A/C
                                                                       4140000)
        04/11/08   001029       WELLS FARGO HOME MORTGAGE              RE: 35 SINCLAIR TER (LOAN #4332982)             4110-000                                    5,307.72           186,537.89
        04/11/08   001030       THELEN REID BROWN RAYSMAN &            SPECIAL COUNSEL - ORDER 2-11-08                                                         79,579.35              106,958.54
                                STEINER, LLP
                                                                              Fees                 74,952.50           3210-000                                                       106,958.54
                                                                              Expenses             4,626.85            3220-000                                                       106,958.54
        04/11/08   001031       GARDEN CITY GROUP                      CLAIMS AGENT SERVICES DEC-JAN                   3991-000                               106,913.54                    45.00
 *      04/14/08   001023       LOBOSCO INCURANCE GROUP, LLC           RE: 35 SINCLAIR TERR.                           2420-000                                 -2,864.80               2,909.80
                                                                       CHECK VOIDED - PAID WITH 4-07 CHECK
        04/14/08                Transfer to Acct #*******9414          Bank Funds Transfer                             9999-000                                    2,864.80                 45.00
                                                                       RE: VOIDED CHECK
        04/23/08                Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                        9999-000            10,700.00                                   10,745.00
        04/23/08   001032       WELLS FARGO HOME MORTGAGE              35 SINCLAIR MORTGAGE A/C 4332982                4110-000                                10,615.44                   129.56
        04/23/08   001033       NJ AMERICAN WATER                      35 SINCLAIR A/C 1816016628                      2990-000                                      21.25                 108.31
 *      04/28/08                Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                        9999-000                1,461.25                                 1,569.56


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                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                             Exhibit B
                                                                                                   Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                           Bank Name:                      BANK OF AMERICA
                                                                                                   Account Number / CD #:          *******9621 Checking Account (Non-Interest Earn
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                                Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                   Separate Bond (if applicable):



         1             2                               3                                     4                                           5                   6                       7

 Transaction       Check or                                                                                            Uniform                          Disbursements       Account / CD
    Date           Reference                Paid To / Received From            Description Of Transaction            Trans. Code    Deposits ($)             ($)             Balance ($)
 *      04/28/08               Reverses Transfer on 04/28/08          TRANSFER TO WRITE CHECKS                       9999-000             -1,461.25                                      108.31
                                                                      REVERSE
        04/28/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000            14,018.96                                   14,127.27
        04/28/08   001034      PSE&G CO.                              UTILITY SERVICE RE: 35 SINCLAIR                2990-000                                    1,569.56            12,557.71
                                                                      (A/C# 12-004-360-24)
        04/28/08   001035      NET TECH                               PREPARE DEBTORS SERVERS FOR                    2990-000                                     702.19             11,855.52
                                                                      TRANSFER TO BEDERSON & CO.
        04/28/08   001036      GARDEN CITY GROUP                      CLAIMS AGENT SERVICES FEB. 2008                3991-000                                11,855.52                        0.00
        05/23/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000            10,545.75                                   10,545.75
        05/23/08   001037      C. MARINO                              STORAGE OF RECORDS - MAY 2008                  2410-000                                    1,259.25             9,286.50
        05/23/08   001038      GARDEN CITY GROUP, INC.                CLAIMS AGENT - MARCH 2008                      3991-000                                    8,545.66                740.84
        05/23/08   001039      JCP&L                                  ELECTRIC SERVICE RE: 35 SINCLAIR               2990-000                                     373.56                 367.28
                                                                      A/C# 100073674150
        05/23/08   001040      PSE&G                                  GAS BILL RE: 35 SINCLAIR                       2990-000                                     196.78                 170.50
                                                                      A/C# 1200436024
        05/23/08   001041      J&J COURT TRANSCRIBERS, INC.           FEE APP TRANSCRIPTION                          2990-000                                     170.50                      0.00
                                                                      INV.# 2008-00934
        06/02/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000                  27.21                                      27.21
        06/02/08   001042      ELAINE SININS                          TRANSFER OF 35 SINCLAIR TO ESTATE              2990-000                                       1.00                  26.21
        06/02/08   001043      NJ AMERICAN WATER                      RE: 35 SINCLAIR - FINAL WATER BILL             2990-000                                      26.21                      0.00
                                                                      (A/C# XX-XXXXXXX-8)
        06/18/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000            11,835.26                                   11,835.26
        06/18/08   001044      GARDEN CITY GROUP                      CLAIMS AGENT - APRIL 2008                      3991-000                                10,546.01                1,289.25
        06/18/08   001045      C. MARINO                              STORAGE OF RECORDS - JUNE 2008                 2410-000                                    1,289.25                     0.00
        07/22/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000            83,618.74                                   83,618.74
        07/22/08   001046      FORMAN HOLT ELIADES & RAVIN            ATTORNEY FOR TRUSTEE FEES PER                                                          83,618.74                        0.00
                                                                      ORDER
                                                                      DATED 7-8-08 81330.00 + 2288.74
                                                                             Fees                81,330.00           3110-000                                                                 0.00
                                                                             Expenses             2,288.74           3120-000                                                                 0.00
        07/24/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000                2,578.50                                 2,578.50
        07/24/08   001047      C. MARINO                              STORAGE OF RECORDS - JULY-AUG 2008             2410-000                                    2,578.50                     0.00
        08/05/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000            21,168.24                                   21,168.24
        08/05/08   001048      GARDEN CITY GROUP, INC.                CLAIMS AGENT SERVICES MAY 2008                 3991-000                                21,168.24                        0.00
        08/18/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000           120,146.32                                  120,146.32
        08/18/08   001049      THELEN REID BROWN RAYSMAN &            SPECIAL COUNSEL ORDER 8/4/08                                                          120,146.32                        0.00
                               STEINER, LLP                           (FINAL FEE APP)
                                                                             Fees                111,460.50          3210-000                                                                 0.00
                                                                             Expenses             8,685.82           3220-000                                                                 0.00
        09/10/08               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                       9999-000            26,500.00                                   26,500.00
        09/10/08   001050      BEDERSON & COMPANY                     ACCOUNTING FEES PER ORDER 7-22-08                                                      18,633.28                7,866.72
                                                                      FEES 18367.00 EXPENSES 266.28
                                                                             Fees                18,367.00           3410-000                                                         7,866.72
                                                                             Expenses              266.28            3420-000                                                         7,866.72
        09/10/08   001051      BLUE DOG GRAPHICS                      INVOICE 30442 CLAIMS REGISTER                  2990-000                                      92.74              7,773.98
        09/10/08   001052      YAIR BENDDORY                          35 SINCLAIR TERR REIMBURSEMENT                 2820-000                                     496.75              7,277.23
                                                                      UNPAID TAXES AT CLOSING
        09/10/08   001053      GARDEN CITY GROUP                      CLAIMS AGENT SERVICES - JUNE 08                3991-000                                    6,870.72                406.51



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                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:                04-22316RG -CMG
                                                                                                                                                                               Exhibit B
                                                                                                     Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:              OMNE STAFFING, INC. CHAPTER 7                                           Bank Name:                      BANK OF AMERICA
                                                                                                     Account Number / CD #:          *******9621 Checking Account (Non-Interest Earn
     Taxpayer ID No:         *******2526
     For Period Ending:      04/28/15                                                                Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                     Separate Bond (if applicable):



         1              2                              3                                       4                                           5                   6                       7

 Transaction       Check or                                                                                              Uniform                          Disbursements       Account / CD
    Date           Reference                Paid To / Received From            Description Of Transaction              Trans. Code    Deposits ($)             ($)             Balance ($)
        09/29/08                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000           218,813.33                                  219,219.84
        09/29/08   001054       C. MARINO                             STORAGE OF RECORDS - SEPT-OCT 2008               2410-000                                    2,578.50           216,641.34
        09/29/08   001055       PATTERSON, BELKNAP, WEBB & TYLER      ALLOWANCES GRANTED BY COURT                                                             209,546.78                7,094.56
                                                                      SPECIAL COUNSEL ORDER DATED 9/17/08
                                                                      (CHAPTER 7 FEES)
                                                                            Fees                   199,760.50          3210-000                                                         7,094.56
                                                                            Expenses                9,786.28           3220-000                                                         7,094.56
        09/29/08   001056       BLUE DOG GRAPHICS                     COPIES-PROOFS OF CLAIM                           2990-000                                     570.10              6,524.46
                                                                      INV# 30560
        09/29/08   001057       GARDEN CITY GROUP                     CLAIMS AGENT SERVICES - JULY 2008                3991-000                                    6,524.46                     0.00
        10/03/08       166      NJ CASUALTY INSURANCE                 REFUND OF WORKERS COMP PREMIUM                   1290-002                  25.40                                      25.40
        10/29/08                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000         1,999,974.60                             2,000,000.00
        10/29/08   001058       PHILLIP S. STENGER, RECEIVER          PER ORDER DATED 10/27/08                         5800-000                              2,000,000.00                       0.00
                                                                      INTERIM DISTRIBUTION UNDER
                                                                      SETTLEMENT WITH USA
        11/06/08                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000                6,000.00                                 6,000.00
        11/06/08   001059       SAIBER LLC (TIN XX-XXXXXXX)           PER AGREEMENT DATED 11/3/08                      3721-000                                    6,000.00                     0.00
                                                                      MEDIATION RETAINED TO A. WOLIN FOR
                                                                      WACHOVIA ACTION
 *      12/04/08   001060       GARDEN CITY GROUP, INC.               CLAIMS SERVICES SEPT-OCT 2008                                                                8,363.81            -8,363.81
                                                                      INV. #6084, 6278 & 6337
                                                                            Fees                    8,316.49           3991-000                                                        -8,363.81
                                                                            Expenses                 47.32             3992-000                                                        -8,363.81
 *      12/04/08   001060       GARDEN CITY GROUP, INC.               CLAIMS SERVICES SEPT-OCT 2008                                                             -8,363.81                       0.00
                                                                      CHECK VOIDED
                                                                            Fees           (        8,316.49 )         3991-000                                                                 0.00
                                                                            Expenses       (          47.32 )          3992-000                                                                 0.00
        12/08/08       166      NEW JERSEY CASUALTY INSURANCE CO. REFUND OF WORKERS COMP PREMIUM                       1290-002                   6.00                                          6.00
        12/10/08                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000                2,572.50                                 2,578.50
        12/10/08   001061       C. MARINO                             STORAGE OF RECORDS - NOV-DEC 2008                2410-000                                    2,578.50                     0.00
        01/15/09                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000                5,107.80                                 5,107.80
        01/15/09   001062       NANCY GERMOND                         EXPERT FEES AND EXPENSES                                                                     2,652.80             2,455.00
                                                                      PER ORDER DATED 1/6/09
                                                                            Fees                    2,535.00           3991-000                                                         2,455.00
                                                                            Expenses                 117.80            3992-000                                                         2,455.00
        01/15/09   001063       NANCY BRENNAN RAFFERTY                EXPERT FEES PER ORDER DATED 1/6/09               3991-000                                    2,085.00                370.00
        01/15/09   001064       EDWARD J. PRIZ, CPCU, APA             FEES-EXPERT IN WACHOVIA LITIGATION 3991-000                                                   370.00                      0.00
                                                                      PER ORDER DATED 12/23/08
        01/30/09                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000            13,567.47                                   13,567.47
        01/30/09   001065       GARDEN CITY GROUP, INC                CLAIMS AGENT SERVICES AUG-NOV 2008 3991-000                                              13,567.47                        0.00
        02/12/09                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000                2,578.50                                 2,578.50
        02/12/09   001066       C. MARINO                             STORAGE OF RECORDS - JAN-FEB 2009                2410-000                                    2,578.50                     0.00
        03/16/09                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000                 135.00                                     135.00
        03/16/09   001067       TREASURER, STATE OF NEW JERSEY        ANSWER TO FORECLOSURE COMPLAINT                  2990-000                                     135.00                      0.00
                                                                      RE: TIM CARNEY CONSTRUCTION
        03/26/09                Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                         9999-000           217,800.00                                  217,800.00
        03/26/09   001068       PATTERSON BELKNAP WEBB & TYLER        SPECIAL COUNSEL ORDER 2-3-09 FEES                3210-000                               205,901.50               11,898.50
        03/26/09   001069       PATTERSON BELKNAP WEBB & TYLER        SPECIAL COUNSEL EXPENSES                         3220-000                                11,789.44                   109.06



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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                             Exhibit B
                                                                                                   Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                           Bank Name:                      BANK OF AMERICA
                                                                                                   Account Number / CD #:          *******9621 Checking Account (Non-Interest Earn
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                                Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                   Separate Bond (if applicable):



         1             2                              3                                      4                                           5                   6                       7

 Transaction       Check or                                                                                            Uniform                          Disbursements       Account / CD
    Date           Reference               Paid To / Received From              Description Of Transaction           Trans. Code    Deposits ($)             ($)             Balance ($)
                                                                     ORDER DATED2-3-09
        03/30/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000            10,709.52                                   10,818.58
        03/30/09   001070      GARDEN CITY GROUP, INC.               CLAIMS AGENT - DEC 2008 & JAN 2009              3991-000                                10,818.58                        0.00
                                                                     INV# 6669 & 6735
        04/20/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                4,152.75                                 4,152.75
        04/20/09   001071      C. MARINO                             STORAGE OF RECORDS - MAR-APR 2009               2410-000                                    2,578.50             1,574.25
        04/20/09   001072      GARDEN CITY GROUP, INC.               CLAIMS AGENT - FEB 2009                         3991-000                                    1,574.25                     0.00
        04/23/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000           244,000.00                                  244,000.00
        04/23/09   001073      FORMAN HOLT ELIADES & RAVIN           ATTORNEY FOR TRUSTEE FEES &                                                            243,324.45                   675.55
                                                                     EXPENSE
                                                                     PER ORDER DATED 4-22-09
                                                                              Fees               238,449.00          3110-000                                                            675.55
                                                                              Expenses            4,875.45           3120-000                                                            675.55
        05/11/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                5,852.60                                 6,528.15
        05/11/09   001074      GARDEN CITY GROUP, INC.               CLAIMS AGENT MARCH 2009                         3991-000                                    6,528.15                     0.00
        06/11/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                6,181.51                                 6,181.51
        06/11/09   001075      GARDEN CITY GROUP, INC.               CLAIMS AGENT APRIL 2009                         3991-000                                    6,181.51                     0.00
        06/12/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                2,578.50                                 2,578.50
        06/12/09   001076      C. MARINO                             STORAGE OF RECORDS - MAY-JUNE 2009              2410-000                                    2,578.50                     0.00
        07/14/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000           250,000.00                                  250,000.00
        07/14/09   001077      PATTERSON BELKNOP WEBB & TYLER        THIRD INTERIM FEE APPLICATION - FEE             3210-000                               228,313.50               21,686.50
                                                                     ORDER 7-8-09
        07/14/09   001078      PATTERSON BELKNOP WEBB & TYLER        THIRD INTERIM FEE APP. EXPENSES                 3220-000                                21,231.03                   455.47
                                                                     ORDER 7-8-09
        07/21/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                2,123.03                                 2,578.50
        07/21/09   001079      C. MARINO                             STORAGE OF RECORDS - JUL-AUG 2009               2410-000                                    2,578.50                     0.00
        08/18/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                4,985.00                                 4,985.00
        08/18/09   001080      GARDEN CITY GROUP, INC.               CLAIMS AGENT - MAY 2009                         3991-000                                    3,436.00             1,549.00
                                                                     INV# 07358
        08/18/09   001081      GARDEN CITY GROUP, INC.               CLAIMS AGENT - JUNE 2009                        3991-000                                    1,549.00                     0.00
                                                                     INV# 07397
        09/09/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                8,047.05                                 8,047.05
        09/09/09   001082      NANCY GERMOND                         EXPERT FOR TRUSTEE FEES                         3991-000                                    6,988.50             1,058.55
                                                                     RE: WACHOVIA LIT PER ORDER DATED
                                                                     8/5/09
        09/09/09   001083      NANCY GERMOND                         EXPERT FOR TRUSTEE EXPENSES                     3992-000                                    1,058.55                     0.00
                                                                     RE: WACHOVIA LIT PER ORDER DATED
                                                                     8/5/09
        10/13/09               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                        9999-000                7,155.77                                 7,155.77
        10/13/09   001084      EDWARD J. PRIZ                        FEES-EXPERT IN WACHOVIA LITIGATION 3991-000                                                 2,650.00             4,505.77
                                                                     PER ORDER DATED 9/22/09
 *      10/13/09   001085      EDWARD J. PRIZ                        FEES-EXPERT IN WACHOVIA LITIGATION 3992-000                                                  628.13              3,877.64
 *      10/13/09   001085      EDWARD J. PRIZ                        FEES-EXPERT IN WACHOVIA LITIGATION 3992-000                                                 -628.13              4,505.77
                                                                     INCORRECT DESCRIPTION
        10/13/09   001086      GARDEN CITY GROUP, INC.               CLAIMS AGENT JULY-AUG 2009                      3991-000                                    3,877.64                628.13
                                                                     INV# 7704 & 7578
        10/13/09   001087      EDWARD J. PRIZ                        EXPENSES-EXPERT IN WACHOVIA LIT                 3992-000                                     628.13                      0.00
                                                                     PER ORDER DATED 9/22/09



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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                            Exhibit B
                                                                                                  Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                          Bank Name:                      BANK OF AMERICA
                                                                                                  Account Number / CD #:          *******9621 Checking Account (Non-Interest Earn
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                               Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                  Separate Bond (if applicable):



         1             2                               3                                    4                                           5                   6                       7

 Transaction       Check or                                                                                           Uniform                          Disbursements       Account / CD
    Date           Reference                Paid To / Received From            Description Of Transaction           Trans. Code    Deposits ($)             ($)             Balance ($)
        11/02/09   001088      C. MARINO                              STORAGE OF RECORDS SEPT-OCT 2009              2410-000                                    2,578.50            -2,578.50
        11/03/09               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                4,578.50                                 2,000.00
        11/30/09   001089      THE GARDEN CITY GROUP, INC.            CLAIMS AGENT SEPT. 2009                       3991-000                                    1,849.32                150.68
                                                                      INV# 07878
        12/15/09               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                2,427.82                                 2,578.50
        12/15/09   001090      C. MARINO                              STORAGE OF RECORDS NOV-DEC 2009               2410-000                                    2,578.50                     0.00
        12/28/09               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000           295,787.96                                  295,787.96
        12/28/09   001091      PATTERSON BELKNAP WEBB & TYLER         SPECIAL COUNSEL FEE ORDER 12-8-09             3210-000                               279,819.00               15,968.96
        12/28/09   001092      PATTERSON BELKNAP WEBB & TYLER         SPECIAL COUNSEL EXPENSES ORDER                3220-000                                15,968.96                        0.00
                                                                      12-8
        01/27/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000            68,018.98                                   68,018.98
        01/27/10   001093      FORMAN HOLT ELIADES & RAVIN LLC        ATTORNEY FOR TRUSTEE ORDER 10-7-09            3110-000                                66,665.00                1,353.98
        01/27/10   001094      FORMAN HOLT ELIADES & RAVIN LLC        ATTORNEY FOR TRUSTEE ORDER 10-7-09            3120-000                                    1,353.98                     0.00
                                                                      (EXPENSES)
        02/24/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                8,291.25                                 8,291.25
        02/24/10   001095      C. MARINO                              STORAGE OF RECORDS - JAN-MAR 2010             2410-000                                    3,867.75             4,423.50
        02/24/10   001096      GARDEN CITY GROUP, INC.                CLAIMS AGENT OCT-DEC 2009                     3991-000                                    4,423.50                     0.00
        04/01/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                1,289.25                                 1,289.25
        04/01/10   001097      C. MARINO                              STORAGE OF RECORDS - APR 2010                 2410-000                                    1,289.25                     0.00
        05/17/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000           226,051.70                                  226,051.70
        05/17/10   001098      C. MARINO                              STORAGE OF RECORDS - MAY 2010                 2410-000                                    1,289.25           224,762.45
        05/17/10   001099      PATTERSON BELKNAP WEBB & TYLER         PAYMENT OF FEES                               3210-000                               211,248.00               13,514.45
                                                                      PER ORDER DATED 4/6/10
        05/17/10   001100      PATTERSON BELKNAP WEBB & TYLER         PAYMENT OF EXPENSES                           3220-000                                13,514.45                        0.00
                                                                      PER ODER DATED 4/6/10
        06/11/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000            15,500.00                                   15,500.00
        06/11/10   001101      C. MARINO                              STORAGE OF RECORDS JUNE                       2410-000                                    1,289.25            14,210.75
 *      06/11/10   001102      YANN GERON, CHAPTER 7 TRUSTEE          RETRIEVAL OF CLIENT FILES                     2990-000                                    3,825.18            10,385.57
                               FOR THELEN LLP                         INVOICE BU442-1483
 *      06/30/10   001102      YANN GERON, CHAPTER 7 TRUSTEE          RETRIEVAL OF CLIENT FILES                     2990-000                                 -3,825.18              14,210.75
                               FOR THELEN LLP                         CHECK VOIDED AND RETURNED
        07/30/10   001103      C. MARINO                              STORAGE OF RECORDS JULY & AUGUST              2410-000                                    2,578.50            11,632.25
        07/30/10               Transfer to Acct #*******9414          Bank Funds Transfer                           9999-000                                    7,000.00             4,632.25
        08/02/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                6,500.00                                11,132.25
        08/02/10   001104      GARDEN CITY GROUP                      INV 8937 CLAIMS ADMINISTRATION>3-10 3991-000                                              9,751.44             1,380.81
                                                                      FEES THROUGH 3-31-10
        09/13/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000            33,500.00                                   34,880.81
        09/13/10   001105      WILLIAM F. CLAIR ESQ.                  EXPERTS FEES PER ORDER 7-20-10                                                        34,075.88                   804.93
                                                                             Fees               33,772.50           3991-000                                                            804.93
                                                                             Expenses            303.38             3992-000                                                            804.93
        09/29/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000                2,500.00                                 3,304.93
        09/29/10   001106      C. MARINO                              STORAGE OF RECORDS SEPT/OCT                   2410-000                                    2,578.50                726.43
        10/26/10               Transfer from Acct #*******9414        TRANSFER TO WRITE CHECKS                      9999-000           315,000.00                                  315,726.43
        10/26/10   001107      PATTERSON BELKNAP WEBB & TYLER         SPECIAL COUNSEL FEES ORDER 10-5-10            3210-000                               295,536.00               20,190.43
        10/26/10   001108      PATTERSON BELKNAP WEBB & TYLER         SPECIAL COUNSEL EXPENES ORDER 10-5            3220-000                                19,316.32                   874.11
        11/19/10   001109      C. MARINO                              STORAGE OF RECORDS NOV DEC                    2410-000                                    2,578.50            -1,704.39
        11/22/10               Transfer from Acct #*******9414        TRANSFER FROM SAVINGS                         9999-000                2,100.00                                    395.61




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                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

  Case No:              04-22316RG -CMG
                                                                                                                                                                        Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
  Case Name:            OMNE STAFFING, INC. CHAPTER 7                                         Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******9621 Checking Account (Non-Interest Earn
  Taxpayer ID No:       *******2526
  For Period Ending:    04/28/15                                                              Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



      1             2                              3                                    4                                           5                   6                       7

 Transaction    Check or                                                                                          Uniform                          Disbursements       Account / CD
    Date        Reference               Paid To / Received From            Description Of Transaction           Trans. Code    Deposits ($)             ($)             Balance ($)
     12/10/10               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                6,000.00                                 6,395.61
     12/10/10   001110      FERRY JOSEPH & PEARCE PA              SPECIAL COUNSEL FEES ORDER 11-15-10                                                       5,624.28                771.33
                                                                         Fees               5,594.50            3210-000                                                            771.33
                                                                         Expenses             29.78             3220-000                                                            771.33
     02/08/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                1,000.00                                 1,771.33
     02/08/11   001111      C. MARINO                             STORAGE OF RECORDS                            2410-000                                    1,289.25                482.08
     02/28/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                6,000.00                                 6,482.08
     02/28/11   001112      C. MARINO                             STORAGE OF RECORDS FEB, MAR                   2410-000                                    2,578.50             3,903.58
     04/10/11   001113      C. MARINO WAREHOUSE                   STORAGE OF RECORDS APRIL                      2410-000                                    1,289.25             2,614.33
                            72 Second Avenue
                            Paterson, NJ 07524
     05/03/11   001114      C. MARINO WAREHOUSE                   STORAGE OF RECORDS MAY                        2410-000                                    1,289.25             1,325.08
                            72 Second Avenue
                            Paterson, NJ 07524
     08/25/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                6,000.00                                 7,325.08
     08/25/11   001115      C. MARINO                             STORAGE OF RECORDS JUNE > SEPT                2410-000                                    5,157.00             2,168.08
     09/15/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000            30,000.00                                   32,168.08
     09/15/11   001116      GARDEN CITY GROUP                     INV 8937 CLAIMS ADMINISTRATION                3991-000                                23,063.66                9,104.42
                                                                  FEES 4-10 THROUGH 6-30-11
     09/22/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000           137,602.44                                  146,706.86
     09/22/11   001117      PATTERSON BELKNAP WEBB & TYLER        SPECIAL COUNSEL FEES ORDER 9-19-11            3210-000                               128,748.00               17,958.86
     09/22/11   001118      PATTERSON BELKNAP WEBB & TYLER        SPECIAL COUNSEL EXPENSES ORDER                3220-000                                17,958.86                        0.00
                                                                  9-19
     09/27/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                  28.00                                      28.00
     09/27/11   001119      STATE CAPITAL TITLE & ABSTRACT CO.    CERT OF INC. FEE                              2990-000                                      28.00                      0.00
                            830 BEAR TAVERN ROAD                  RE: 1-8121 OMNE STAFFING SERVICES,
                            TRENTON, NJ 08628                     INC.
     10/04/11   001120      FORMAN HOLT ELIADES & RAVIN           ATTORNEY FOR TRUSTEE FEE OR 8-17-11           3110-000                               248,625.00          -248,625.00
     10/04/11   001121      FORMAN HOLT ELIADES & RAVIN           ATTORNEY FOR TRUSTEE EX ORD 8-17-1            3120-000                                    5,541.60       -254,166.60
     10/06/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000           275,000.00                                   20,833.40
     10/27/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000            79,166.60                                  100,000.00
     10/27/11   001122      BROADSPIRE SERVICES, INC.             SETTMENT OF ADMIN CLAIM (2306&2349) 6700-000                                         100,000.00                        0.00
                                                                  IN FULL PER ORDER DATED 10/24/11 (2349
                                                                  DUPLICATE OF 2306)
     10/31/11               BANK OF AMERICA                       BANK SERVICE FEE                              2600-000                                      35.31                  -35.31
     11/02/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                2,000.00                                 1,964.69
     11/02/11   001123      C. MARINO WAREHOUSE                   STORAGE OF RECORDS OCT                        2410-000                                    1,289.25                675.44
                            72 Second Avenue
                            Paterson, NJ 07524
     11/30/11               BANK OF AMERICA                       BANK SERVICE FEE                              2600-000                                       9.05                 666.39
     12/07/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000           168,446.77                                  169,113.16
     12/07/11   001124      BEDERSON & COMPANY                    ACCOUNTING FEES PER ORDER 10-5-11             3410-000                               167,564.25                1,548.91
     12/07/11   001125      BEDERSON & COMPANY                    ACCOUNTING EXP. PER ORDER 10-5-11             3420-000                                     882.52                 666.39
     12/14/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                5,000.00                                 5,666.39
     12/14/11   001126      THE GARDEN CITY GROUP, INC.           CLAIMS AGENT JULY-OCT 2011                    3991-000                                    4,542.00             1,124.39
                                                                  INV#11778,11727,11726,11307
     12/15/11               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                      9999-000                1,454.11                                 2,578.50
     12/15/11   001127      C. MARINO, INC.                       STORAGE OF RECORDS NOV-DEC                    2410-000                                    2,578.50                     0.00



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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                                      Exhibit B
                                                                                                       Trustee Name:                    CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                               Bank Name:                       BANK OF AMERICA
                                                                                                       Account Number / CD #:           *******9621 Checking Account (Non-Interest Earn
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                                    Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                       Separate Bond (if applicable):



         1             2                              3                                         4                                             5                    6                       7

 Transaction       Check or                                                                                                 Uniform                           Disbursements           Account / CD
    Date           Reference               Paid To / Received From                 Description Of Transaction             Trans. Code    Deposits ($)              ($)                 Balance ($)
                                                                        INV#6118, 6291
        12/30/11               BANK OF AMERICA                          BANK SERVICE FEE                                   2600-000                                      30.46                  -30.46
        01/03/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000                 30.46                                           0.00
        01/04/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000               1,289.25                                  1,289.25
        01/04/12   001128      C. MARINO, INC.                          STORAGE OF RECORDS JAN                             2410-000                                    1,289.25                     0.00
                                                                        INV#6476
        01/17/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000               1,163.00                                  1,163.00
        01/17/12   001129      FERRY JOSEPH & PEARCE PA                 SPECIAL COUNSEL FEES ORDER 1-11-12                 3210-000                                    1,163.00                     0.00
        01/31/12               BANK OF AMERICA                          BANK SERVICE FEE                                   2600-000                                       1.29                      -1.29
        02/01/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000                  1.29                                           0.00
        02/02/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000               1,289.25                                  1,289.25
        02/02/12   001130      C. MARINO, INC.                          STORAGE OF RECORDS FEB.                            2410-000                                    1,289.25                     0.00
                                                                        INV#6653
        02/22/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000                882.46                                      882.46
        02/22/12   001131      THE GARDEN CITY GROUP, INC.              CLAIMS AGENT NOV-DEC 2011                          3991-000                                     882.46                      0.00
                                                                        INV#12160
        02/29/12               BANK OF AMERICA                          BANK SERVICE FEE                                   2600-000                                       0.50                      -0.50
        03/01/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000                  0.50                                           0.00
        03/01/12               Transfer from Acct #*******9414          TRANSFER TO WRITE CHECKS                           9999-000               1,289.25                                  1,289.25
 *      03/01/12   001132      C. MARINO, INC.                          STORAGE OF RECORDS MARCH                           2410-000                                    1,289.25                     0.00
                                                                        INV#6839
 *      03/14/12   001132      C. MARINO, INC.                          STORAGE OF RECORDS MARCH                           2410-000                                 -1,289.25               1,289.25
                                                                        check returned damaged - reissued
        03/14/12   001133      C. MARINO, INC.                          STORAGE OF RECORDS MARCH                           2410-000                                    1,289.25                     0.00
                               72 2ND AVENUE                            INV#6839
                               PATERSON, NJ 07514
        03/30/12               BANK OF AMERICA                          BANK SERVICE FEE                                   2600-000                                       0.99                      -0.99
        04/02/12               Transfer from Acct #*******9414          TRANSFER TO COVER B/S/C                            9999-000                100.00                                       99.01
        04/18/12               Trsf To VIRGINIA HERITAGE BANK           FINAL TRANSFER                                     9999-000                                      99.01                      0.00




                                                          Account                  Balance Forward                         0.00
                                                                                 3 Deposits                               36.08                141 Checks                              5,931,857.41
                                                          *******9621
                                                                                 0 Interest Postings                       0.00                  6 Adjustments Out                            77.60
          Memo Receipts:                    0.00                                                                                                 3 Transfers Out                           9,963.81
      Memo Disbursements:                   0.00                                     Subtotal                       $     36.08
                                                                                                                                                      Total                       $    5,941,898.82
      Memo Allocation Net:                  0.00                                 0 Adjustments In                          0.00
                                                                                81 Transfers In                     5,941,862.74

                                                                                     Total                      $   5,941,898.82




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                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                           Exhibit B
                                                                                                    Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                            Bank Name:                      BANK OF AMERICA
                                                                                                    Account Number / CD #:          *******3310 Checking Account - CLOSED
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                                 Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                    Separate Bond (if applicable):



         1             2                            3                                      4                                              5                  6                    7

 Transaction       Check or                                                                                             Uniform                         Disbursements     Account / CD
    Date           Reference             Paid To / Received From              Description Of Transaction              Trans. Code    Deposits ($)            ($)           Balance ($)
                                                                      BALANCE FORWARD                                                                                                      0.00
 *      02/18/10   001001      SAMPLE CHECK                           WAGE CLAIM                                      5300-000                                    0.01                     -0.01
 *      02/18/10   001001      SAMPLE CHECK                           WAGE CLAIM                                      5300-000                                    -0.01                    0.00
                                                                      VOIDED - CHECK NUMBER SEQUENCE
                                                                      ERROR




                                                        Account                 Balance Forward                        0.00
                                                                              0 Deposits                               0.00                   2 Checks                                     0.00
                                                        *******3310
                                                                              0 Interest Postings                      0.00                   0 Adjustments Out                            0.00
          Memo Receipts:                 0.00                                                                                                 0 Transfers Out                              0.00
      Memo Disbursements:                0.00                                   Subtotal                      $        0.00
                                                                                                                                                Total                       $              0.00
      Memo Allocation Net:               0.00                                 0 Adjustments In                         0.00
                                                                              0 Transfers In                           0.00

                                                                                Total                         $        0.00




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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                        Exhibit B
                                                                                                 Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                         Bank Name:                      BANK OF AMERICA
                                                                                                 Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                              Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                 Separate Bond (if applicable):



         1             2                               3                                   4                                           5                6                       7

 Transaction       Check or                                                                                          Uniform                       Disbursements       Account / CD
    Date           Reference               Paid To / Received From            Description Of Transaction           Trans. Code    Deposits ($)          ($)             Balance ($)
                                                                     BALANCE FORWARD                                                                                                     0.00
 *      02/18/10   004000      SAMPLE CHECK                          WAGE CLAIM                                    5300-000                                    0.01                      -0.01
 *      02/18/10   004000      SAMPLE CHECK                          WAGE CLAIM                                    5300-000                                    -0.01                     0.00
                                                                     VOIDED - CHECK USED FOR SAMPLE
                                                                     ONLY
        03/24/10               Transfer from Acct #*******9414       Bank Funds Transfer                           9999-000           536,153.81                               536,153.81
 *      03/25/10   004001      MARIA ABULL HAY - 734                 PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  227.68            535,926.13
        03/25/10   004002      ROSALINO ADAME - 441                  PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  325.19            535,600.94
        03/25/10   004003      FREN AGUDELO - 1913                   PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,886.33           533,714.61
 *      03/25/10   004004      MAURO AGUILAR - 76                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                   87.96            533,626.65
 *      03/25/10   004005      ISMAEL AGUIRRE - 750                  PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  234.94            533,391.71
        03/25/10   004006      LAURIE ALBANESE - 1803                PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,652.41           531,739.30
        03/25/10   004007      ALFREDO ALCALA - 440                  PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  300.93            531,438.37
        03/25/10   004008      EDDIE ALDAVE - 1877                   PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  885.32            530,553.05
        03/25/10   004009      GABRIEL ALEXANDER - 2170              PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  461.75            530,091.30
 *      03/25/10   004010      KIMBERLY A ALLEN - 1103               PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  985.60            529,105.70
        03/25/10   004011      LESLIE ALLEN - 1520                   PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,534.46           527,571.24
 *      03/25/10   004012      JEREMIAH ALVAREZ - 1885               PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  945.03            526,626.21
        03/25/10   004013      MARIA ALVAREZ - 724                   PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  248.75            526,377.46
 *      03/25/10   004014      EMMA AMADOR - 776                     PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  334.45            526,043.01
        03/25/10   004015      IRMA AMADOR - 4015                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  229.62            525,813.39
        03/25/10   004016      ALEJANDRO ANDINO - 1312               PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 2,132.20           523,681.19
        03/25/10   004017      ROSALINA G. ANTAO - 2023              PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 3,710.91           519,970.28
 *      03/25/10   004018      ANDRES ARANDA - 475                   PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  651.29            519,318.99
 *      03/25/10   004019      JOSE ARANDA - 474                     PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  396.77            518,922.22
        03/25/10   004020      DONALD ARENBURG - 2146                PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  446.00            518,476.22
        03/25/10   004021      GABRIEL ARENIVAR                      PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  197.96            518,278.26
        03/25/10   004022      DENISE ARMAND - 4022                  PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 3,027.37           515,250.89
 *      03/25/10   004023      MERRIT ARVAY - 619                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 2,537.59           512,713.30
        03/25/10   004024      LISA AVILES - 1830                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,210.56           511,502.74
        03/25/10   004025      SAMUEL AYALA - 2286                   PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  321.12            511,181.62
        03/25/10   004026      ROLANDO BALL - 288                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  786.94            510,394.68
        03/25/10   004027      BELINDA BALSANO - 1133                PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 3,909.69           506,484.99
        03/25/10   004028      MATILDE BARRON - 194                  PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  356.22            506,128.77
        03/25/10   004029      DAWN BEATTY - 1274                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  310.88            505,817.89
        03/25/10   004030      VANESSA BENECIUK - 390                PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,681.15           504,136.74
 *      03/25/10   004031      ALEXANDER BETANCUR - 1471             PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 2,342.10           501,794.64
        03/25/10   004032      MARCOS BLANDINO - 613                 PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,043.97           500,750.67
        03/25/10   004033      KEVIN M BLOCHOWSKI - 970              PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,790.50           498,960.17
        03/25/10   004034      ANDREW J. BOLAND - 403                PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 3,215.76           495,744.41
 *      03/25/10   004035      PAUL L BOYD JR - 195                  PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  188.73            495,555.68
        03/25/10   004036      KIEREN L. BRIGHT - 1216               PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 4,316.92           491,238.76
        03/25/10   004037      JAY J. BROWN - 522                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 1,611.88           489,626.88
        03/25/10   004038      BYRON A BUITENDORP - 1126             PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  327.34            489,299.54
        03/25/10   004039      OMAR BUSTILLOS - 1910                 PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 4,494.06           484,805.48
        03/25/10   004040      JUAN CABRERA - 600                    PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  182.62            484,622.86
        03/25/10   004041      LUIS E. CADILLO - 627                 PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                  351.55            484,271.31


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                Case 04-22316-CMG                         Doc 4381 Filed 05/01/15 Entered 05/01/15 14:22:53                                         Desc Main
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                    Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                      Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                           Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



         1             2                              3                                 4                                           5               6                       7

 Transaction       Check or                                                                                       Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
        03/25/10   004042      JOHN CALDERON - 791                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,847.00           482,424.31
        03/25/10   004043      MARIA CAMPANELLA - 2325              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,321.93           481,102.38
        03/25/10   004044      MICHELE CAPALDO - 165                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,469.60           479,632.78
 *      03/25/10   004045      MARIA CARBAJAL - 379                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 222.78            479,410.00
        03/25/10   004046      CARMELO CARDENAS - 472               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 315.30            479,094.70
        03/25/10   004047      SHANE CARR - 1582                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,157.51           477,937.19
        03/25/10   004048      KARLA M CARTER - 967                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 891.28            477,045.91
        03/25/10   004049      PHILIP CASS - 1846                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,846.32           474,199.59
        03/25/10   004050      WILLIAM J CERRA JUR - 169            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 517.36            473,682.23
 *      03/25/10   004051      JAMIE CERVANTES - 548                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 340.90            473,341.33
        03/25/10   004052      SALVADOR CHAVEZ - 471                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 343.85            472,997.48
        03/25/10   004053      DERYA CHURNEY                        PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 933.97            472,063.51
 *      03/25/10   004054      RAFAEL CLASS - 1586                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,727.04           469,336.47
        03/25/10   004055      GILBERT COLON #1153                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,294.27           465,042.20
        03/25/10   004056      JUSUS COLON - 432                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           460,619.31
        03/25/10   004057      PAMELA M. COOPER - 1195              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 285.44            460,333.87
 *      03/25/10   004058      ELSA P CORONADO - 145                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 299.08            460,034.79
 *      03/25/10   004059      JUAN CORTES - 373                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 617.24            459,417.55
 *      03/25/10   004060      IRENE CORTEZ - 1724                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 290.11            459,127.44
        03/25/10   004061      JESUS CORTEZ - 586                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 260.30            458,867.14
 *      03/25/10   004062      TAYDE CORTEZ - 625                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 183.54            458,683.60
        03/25/10   004063      JENNY CRUZ - 1941                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 206.02            458,477.58
 *      03/25/10   004064      JOSE CRUZ - 469                      PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 307.61            458,169.97
        03/25/10   004065      MAUREEN E. CRUZ - 1325               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,393.10           453,776.87
 *      03/25/10   004066      VERONICA CUEVAS - 1215               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 193.23            453,583.64
        03/25/10   004067      KATHY A CUSTER - 447                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 583.02            453,000.62
        03/25/10   004068      MARIA CUYA - 1208                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 628.63            452,371.99
        03/25/10   004069      MINDY DANIELS - 1914                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,097.16           451,274.83
        03/25/10   004070      DEBRA A DAVIS - 1320                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,618.22           448,656.61
        03/25/10   004071      CECILIA DE LA ROSA - 296             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 143.53            448,513.08
        03/25/10   004072      SERGIA DELCID - 2202                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 257.18            448,255.90
        03/25/10   004073      MILTON L DELGADO - 573               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,595.68           446,660.22
        03/25/10   004074      JUDY DELIGNE RAMOS - 1801            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,590.98           443,069.24
        03/25/10   004075      JENNIFER DENMEAD - 394               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,494.06           438,575.18
        03/25/10   004076      DEREK M DENOYER - 1127               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,400.49           434,174.69
        03/25/10   004077      OSNEL DESINA - 1377                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                  60.31            434,114.38
        03/25/10   004078      JAMIE DOLE - 1120                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 178.86            433,935.52
 *      03/25/10   004079      ARIAS DORALKIS - 690                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 176.61            433,758.91
        03/25/10   004080      COLIN DOWDS - 1                      PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           429,336.02
        03/25/10   004081      DEANE J DRABIK - 936                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,041.58           427,294.44
        03/25/10   004082      DANI EICK - 1122                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,858.96           425,435.48
        03/25/10   004083      RICARDO ELIZONDO - 419               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 203.57            425,231.91
        03/25/10   004084      AURELIA ELLIS - 792                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 248.78            424,983.13
        03/25/10   004085      LIDUVINA ESCOBEDO - 1507             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 168.91            424,814.22
        03/25/10   004086      AMILKAR L ESQUERRA BORRELL - 606     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 220.87            424,593.35
 *      03/25/10   004087      YELER ESTEBAN - 745                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 200.25            424,393.10




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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                    Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                      Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                           Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



         1             2                             3                                  4                                           5               6                       7

 Transaction       Check or                                                                                       Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
        03/25/10   004088      OMAR ESTRADA - 1489                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 822.38            423,570.72
        03/25/10   004089      MARY EVANS - 384                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,013.00           422,557.72
        03/25/10   004090      MARIBEL FELICIANO - 425              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,123.92           421,433.80
        03/25/10   004091      ILIANA FERNANDEZ - 1794              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,064.41           420,369.39
        03/25/10   004092      YULISSA FERNANDEZ - 656              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 143.75            420,225.64
        03/25/10   004093      SILVIA FERREIRA - 375                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 390.46            419,835.18
        03/25/10   004094      LAUREN R FICHTNER - 162              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 429.37            419,405.81
        03/25/10   004095      SHARON FINAZZO - 1843                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,429.22           416,976.59
 *      03/25/10   004096      PABLO FONT - 610                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 294.36            416,682.23
 *      03/25/10   004097      OLIVER FORD - 186                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,177.46           415,504.77
        03/25/10   004098      VICTOR FRANCO - 706                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,226.40           414,278.37
 *      03/25/10   004099      LAWRENCE L FROST - 2096              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,269.64           413,008.73
        03/25/10   004100      MERRILYN H GALANTE - 129             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,885.61           410,123.12
 *      03/25/10   004101      GLADYS GALARZA - 439                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                  17.84            410,105.28
 *      03/25/10   004102      LIZ YADIRA GAMBOA - 361              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 197.79            409,907.49
        03/25/10   004103      ALBA GARCIA - 705                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 942.80            408,964.69
        03/25/10   004104      BERENICE GARCIA - 741                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 180.17            408,784.52
 *      03/25/10   004105      DANIEL GARCIA - 466                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 414.22            408,370.30
        03/25/10   004106      JOSE GARDIA - 596                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 207.09            408,163.21
        03/25/10   004107      MONICA GARCIA - 553                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,128.15           404,035.06
        03/25/10   004108      GARDEN STATE CHECK CASHING           PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,768.38           401,266.68
                               SERVICE - 433
        03/25/10   004109      WALTER I GIBSON - 1309               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                  56.68            401,210.00
        03/25/10   004110      DASHA GINZBURG - 722                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,056.76           398,153.24
        03/25/10   004111      ALICE GONZALEZ - 2247                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 449.22            397,704.02
        03/25/10   004112      LUZ ELENA GONZALEZ - 1496            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 569.35            397,134.67
        03/25/10   004113      MARIA GONZALEZ - 1917                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,233.71           395,900.96
        03/25/10   004114      SONIA GONZALEZ - 1902                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,202.80           394,698.16
        03/25/10   004115      VIRGINIA GONZALEZ - 571              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 362.70            394,335.46
        03/25/10   004116      GENERO GONZALEZ APARICIA - 493       PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 414.22            393,921.24
 *      03/25/10   004117      AMBER R GOOSTREE - 1132              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 901.80            393,019.44
        03/25/10   004118      DIANE GORCZYK - 1939                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 262.81            392,756.63
        03/25/10   004119      WILSON GRANDA - 1739                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,039.00           389,717.63
 *      03/25/10   004120      ROLDAN GUADALUPE - 1589              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 239.16            389,478.47
 *      03/25/10   004121      ANTONIA GUTIERREZ - 582              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 224.61            389,253.86
 *      03/25/10   004122      EUGENIA GUTIERREZ - 529              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                  28.28            389,225.58
        03/25/10   004123      BARABBAS HALL - 1351                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 280.73            388,944.85
        03/25/10   004124      SUSAN D. HALL - 989                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,545.11           386,399.74
        03/25/10   004125      MARGARET J HANCOCK - 429             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,548.24           381,851.50
        03/25/10   004126      ROBIN HARRISON - 2263                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,133.80           379,717.70
        03/25/10   004127      KRIS HARVEY - 1230                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 131.13            379,586.57
        03/25/10   004128      ALEXIS HERNANDEZ - 1832              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,675.76           377,910.81
 *      03/25/10   004129      JAVIER HERNANDEZ - 465               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 179.69            377,731.12
        03/25/10   004130      TERESA HERNANDEZ - 1371              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 224.61            377,506.51
        03/25/10   004131      ZAINAT HERNENDEZ - 1316              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 294.36            377,212.15
        03/25/10   004132      CAROLYN HIGGERSON - 420              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,167.70           375,044.45
 *      03/25/10   004133      ARNETTE HOLMES - 793                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 356.80            374,687.65


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                Case 04-22316-CMG                         Doc 4381 Filed 05/01/15 Entered 05/01/15 14:22:53                                         Desc Main
                                                                Document FORM  2 32 of 696
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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                    Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                      Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                           Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



         1             2                              3                                 4                                           5               6                       7

 Transaction       Check or                                                                                       Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
        03/25/10   004134      MICHAEL HOWIE - 1018                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,499.49           370,188.16
        03/25/10   004135      HUGO HUERECA - 350                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 369.29            369,818.87
 *      03/25/10   004136      SPC WILSON JACOB - 1352              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 554.10            369,264.77
        03/25/10   004137      CURTIS L JACOBS - 2155               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,463.12           365,801.65
        03/25/10   004138      PATRICIA L JARRETT - 133             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,667.89           363,133.76
        03/25/10   004139      MARY JEFFRIES - 369                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 967.96            362,165.80
        03/25/10   004140      ANA ROSA JIMINEZ - 272               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 244.87            361,920.93
        03/25/10   004141      JORGE JIMENEZ - 2188                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,618.65           359,302.28
        03/25/10   004142      JOHATHAN JOHNS - 742                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,409.93           357,892.35
        03/25/10   004143      HAROLD JOHNSON - 751                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 192.04            357,700.31
 *      03/25/10   004144      ELIZABETH JUAREZ - 646               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 182.95            357,517.36
        03/25/10   004145      KRIS KAMATH - 569                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,509.43           355,007.93
        03/25/10   004146      VISHAKHA KAMATH - 538                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,155.79           353,852.14
        03/25/10   004147      SHERRY ANN KNELLER - 360             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 332.46            353,519.68
        03/25/10   004148      SCOTT W KNISLEY - 1210               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 525.10            352,994.58
        03/25/10   004149      TAMMY J KROUSE - 16                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,509.74           348,484.84
        03/25/10   004150      THADDEUS KUCHARYK - 435              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           344,061.95
        03/25/10   004151      JYOTI KUMAR AGRAWAL - 605            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,276.53           339,785.42
        03/25/10   004152      MONICA LAZORCHAK - 382               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,416.18           338,369.24
        03/25/10   004153      PHILIP LEMBO - 393                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,494.06           333,875.18
        03/25/10   004154      JINFAR LIU - 1398                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,387.64           332,487.54
        03/25/10   004155      VIRGINIA LODOS - 602                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 114.01            332,373.53
        03/25/10   004156      AIDALIS LOPEZ - 1326                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,798.55           330,574.98
        03/25/10   004157      ARTURO LOPEZ - 464                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 343.42            330,231.56
 *      03/25/10   004158      ASTRID LOPEZ - 354                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 942.80            329,288.76
        03/25/10   004159      NAYRI KIOEZ -463                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 463.58            328,825.18
        03/25/10   004160      SONIA LOPEZ SIMPSON                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           324,402.29
 *      03/25/10   004161      EMMA LORES - 345                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 368.15            324,034.14
 *      03/25/10   004162      DAMAI LOZANO - 197                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 193.42            323,840.72
 *      03/25/10   004163      ALBERTO LUNA - 462                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 212.98            323,627.74
 *      03/25/10   004164      CHRIS LUTZ - 1337                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 470.47            323,157.27
        03/25/10   004165      LAWRENCE J. MACARO - 552             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,432.24           318,725.03
        03/25/10   004166      THOMAS MACHAEL - 1175                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 288.29            318,436.74
        03/25/10   004167      JORGE MAGNA - 461                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 601.59            317,835.15
        03/25/10   004168      ALAN MARCOS MARTINEZ - 591           PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,084.96           315,750.19
        03/25/10   004169      ANETTE M. MARINO - 669               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 459.00            315,291.19
        03/25/10   004170      PAUL MARION - 442                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,125.56           311,165.63
 *      03/25/10   004171      AIDA MARTINEZ                        PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 713.60            310,452.03
 *      03/25/10   004172      AMANDA MARTINEZ - 1197               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 171.32            310,280.71
        03/25/10   004173      GRACIELA MARTINEZ - 1260             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,000.72           309,279.99
 *      03/25/10   004174      JENRY MARTINEZ - 344                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 385.99            308,894.00
 *      03/25/10   004175      JOSE MARTINEZ - 189                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 200.86            308,693.14
        03/25/10   004176      SALVADOR MARTINEZ - 1814             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,533.00           307,160.14
        03/25/10   004177      SCOTT MCCULLOCH - 2                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,717.55           305,442.59
        03/25/10   004178      LANCE MCHUGH - 2197                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,712.64           303,729.95
        03/25/10   004179      JOSE FRANCISCO MELENDEZ - 1849       PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,548.24           299,181.71




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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                    Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                      Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                           Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



         1             2                             3                                  4                                           5               6                       7

 Transaction       Check or                                                                                       Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
        03/25/10   004180      MATILDE MENDEZ - 1373                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 267.58            298,914.13
        03/25/10   004181      MARTIN MENDOZA - 460                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 224.61            298,689.52
        03/25/10   004182      MAURA MESSINA - 1124                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,336.02           297,353.50
 *      03/25/10   004183      NAVAREZ MIGUEL - 1799                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,138.79           296,214.71
 *      03/25/10   004184      AUDLEY D MILLS - 343                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 740.25            295,474.46
        03/25/10   004185      ISHMAEL MOHAMMAD - 1537              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 189.09            295,285.37
 *      03/25/10   004186      ERNESTO MOLORA - 2221                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 179.45            295,105.92
        03/25/10   004187      WILSON MONTIERO - 1792               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,842.81           293,263.11
 *      03/25/10   004188      IRMA MORALES - 362                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 197.79            293,065.32
 *      03/25/10   004189      LILIA LORENA MORALES - 347           PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 197.79            292,867.53
        03/25/10   004190      MAGGIE MORONEY - 1135                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,331.97           291,535.56
 *      03/25/10   004191      AMANDA MOZO - 49                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,825.00           289,710.56
 *      03/25/10   004192      ANDREA MURRAY - 537                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,836.40           285,874.16
 *      03/25/10   004193      NELSON NAVAREZ - 598                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 270.98            285,603.18
        03/25/10   004194      FRANCISCA NAZARIO - 1401             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 185.41            285,417.77
        03/25/10   004195      MANDI NOEL - 1840                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,600.96           283,816.81
        03/25/10   004196      MIRNA NUNEZ PARAMO - 1383            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 216.71            283,600.10
        03/25/10   004197      STAN OLASKOWITZ - 2215               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,485.73           282,114.37
        03/25/10   004198      KENNETH P OLIVIA                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           277,691.48
        03/25/10   004199      RUTH N OLMO - 1236                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,132.20           275,559.28
        03/25/10   004200      JOSE OREJEL - 459                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 301.35            275,257.93
        03/25/10   004201      SERGIO OREJEL - 458                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 220.95            275,036.98
        03/25/10   004202      JUAN ORIHUELA - 1296                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 356.62            274,680.36
        03/25/10   004203      ALEJO OROSCO - 457                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 212.10            274,468.26
        03/25/10   004204      ALFONSO ORTIZ - 2029                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 742.47            273,725.79
 *      03/25/10   004205      WILMER J ORTIZ - 1851                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 231.92            273,493.87
        03/25/10   004206      MARCUS PACHECO SANCHEZ - 773         PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,712.64           271,781.23
        03/25/10   004207      NORMA PADUA - 2021                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,017.45           268,763.78
        03/25/10   004208      DULAL PAL - 402                      PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,114.63           265,649.15
        03/25/10   004209      ANNETTE PALMATEER - 1307             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,802.78           263,846.37
        03/25/10   004210      CARLOS PAREDES - 1809                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,143.17           260,703.20
 *      03/25/10   004211      SANDEEP PATEL - 567                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,535.66           259,167.54
        03/25/10   004212      KATHLEEN PATERSOHN - 2134            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 330.66            258,836.88
 *      03/25/10   004213      JUAN MANUEL PAZ - 455                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 320.29            258,516.59
        03/25/10   004214      JUAN PERALTA - 454                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 195.04            258,321.55
        03/25/10   004215      KAREN C PEREIRA - 46                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,895.39           254,426.16
 *      03/25/10   004216      CARMELO PEREZ - 1251                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,424.73           252,001.43
        03/25/10   004217      EPIGMENIO PEREZ - 196                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 624.15            251,377.28
        03/25/10   004218      GLADYS PEREZ - 568                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 409.52            250,967.76
 *      03/25/10   004219      MARIA PEREZ - 337                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 228.74            250,739.02
 *      03/25/10   004220      OSCAR PEREZ - 453                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 313.60            250,425.42
 *      03/25/10   004221      MARIA PLATA - 1200                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 141.90            250,283.52
 *      03/25/10   004222      RICARDO POBLANO - 368                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 405.29            249,878.23
        03/25/10   004223      REBECCA PORTER - 1921                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,889.63           246,988.60
        03/25/10   004224      CARRIE A PORVALZNIK - 444            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,927.62           245,060.98
        03/25/10   004225      PAUL PRAIRIE - 957                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,405.83           243,655.15




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                                                                              Page                                                                                 Page:        25
                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                    Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                      Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                           Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



         1             2                               3                                4                                           5               6                       7

 Transaction       Check or                                                                                       Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
        03/25/10   004226      SCOTT E PRAIRIE - 971                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,514.24           242,140.91
 *      03/25/10   004227      MARTIN D PRICE - 712                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 367.68            241,773.23
 *      03/25/10   004228      YUNEIDY PULIDO - 1293                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 164.12            241,609.11
 *      03/25/10   004229      MARICRUZ QUINTANA - 660              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 275.73            241,333.38
        03/25/10   004230      ANABELA RAMIREZ - 1557               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 604.83            240,728.55
        03/25/10   004231      CAROLINA RAMIREZ - 572               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 369.79            240,358.76
        03/25/10   004232      JUAN RAMIREZ - 513                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 132.97            240,225.79
 *      03/25/10   004233      JULIO RAMIREZ - 796                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 249.11            239,976.68
 *      03/25/10   004234      OSCAR RAMIREZ - 504                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 359.96            239,616.72
 *      03/25/10   004235      STORM RAMIREZ - 1652                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,294.27           235,322.45
        03/25/10   004236      FELIZ RAMOS JR - 79                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 740.36            234,582.09
 *      03/25/10   004237      DEANNA K RENNINGER - 532             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,914.41           231,667.68
 *      03/25/10   004238      THOMAS REOME - 593                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 129.80            231,537.88
        03/25/10   004239      DORIS N REYES - 594                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 752.34            230,785.54
 *      03/25/10   004240      DELORIS RICHARDSON - 752             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 179.59            230,605.95
 *      03/25/10   004241      EMERITA RIVERA - 1529                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 858.10            229,747.85
 *      03/25/10   004242      HEUBERT RIVERA - 535                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,679.01           228,068.84
 *      03/25/10   004243      ROSA RIVERA - 1265                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 175.53            227,893.31
 *      03/25/10   004244      WILFREDO RIVERA - 620                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 526.57            227,366.74
        03/25/10   004245      MUNIR A RIZWANI - 396                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 796.61            226,570.13
        03/25/10   004246      R. LEE RIZZOLO - 1178                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,698.62           224,871.51
        03/25/10   004247      GAIL R ROBB - 1130                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,600.89           222,270.62
        03/25/10   004248      DIANA ROBY - 539                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,589.97           219,680.65
 *      03/25/10   004249      CARLOS R RODRIGUEZ - 1581            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 207.65            219,473.00
 *      03/25/10   004250      ESPERANZA RODRIGUEZ - 234            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 412.56            219,060.44
        03/25/10   004251      GILBERTO RODRIGUEZ - 77              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 680.81            218,379.63
 *      03/25/10   004252      JACLYN RODRIGUEZ - 1883              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,571.28           216,808.35
        03/25/10   004253      MAXIEL RODRIGUEZ - 1171              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 359.22            216,449.13
 *      03/25/10   004254      REINALDO RODRIGUEZ - 533             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,322.64           215,126.49
 *      03/25/10   004255      REINALDO ROSA - 341                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 176.61            214,949.88
 *      03/25/10   004256      MARGOT ROSEBERRY - 2290              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,604.61           213,345.27
        03/25/10   004257      BETTY ROSENBLATT - 1839              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,436.88           211,908.39
 *      03/25/10   004258      MARIA RUIZ - 187                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 277.49            211,630.90
        03/25/10   004259      MARGARET ANN RUSH - 418              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,381.64           209,249.26
        03/25/10   004260      MELISSA RUSSITANO - 389              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 107.77            209,141.49
 *      03/25/10   004261      ISAIAS SACRISTAN - 501               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 642.98            208,498.51
        03/25/10   004262      JESSIE B SAEN - 1503                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 602.72            207,895.79
 *      03/25/10   004263      JOEL SALINAS - 1405                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 435.16            207,460.63
        03/25/10   004264      JOSE LUIS SALINAS - 1382             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 482.96            206,977.67
        03/25/10   004265      ISIDRO SAMIA - 523                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,097.42           205,880.25
 *      03/25/10   004266      JOSE SANCHEZ CRUZ - 468              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 343.91            205,536.34
 *      03/25/10   004267      CARMEN SANCHEZ SAUCEDA - 2074        PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,978.29           203,558.05
 *      03/25/10   004268      MIGUEL SANDOVAL - 1196               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                  41.25            203,516.80
 *      03/25/10   004269      JORGE SANTIAGO - 762                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 180.70            203,336.10
        03/25/10   004270      MICHAEL R SAVINELLI - 2240           PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 428.16            202,907.94
 *      03/25/10   004271      ROCIO SCHULT - 543                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,606.00           201,301.94




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                Case 04-22316-CMG                        Doc 4381 Filed 05/01/15 Entered 05/01/15 14:22:53                                          Desc Main
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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                    Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                      Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                           Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



         1             2                             3                                  4                                           5               6                       7

 Transaction       Check or                                                                                       Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
        03/25/10   004272      MICHAEL SCHWED - 1888                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,334.92           198,967.02
        03/25/10   004273      SUSAN L SCRUDATO - 391               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,279.17           196,687.85
        03/25/10   004274      RAYMOND J SCUDIERI SR - 136          PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,586.41           195,101.44
        03/25/10   004275      ROBERT SEAMAN - 478                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,548.21           192,553.23
        03/25/10   004276      MARK SEATON - 1797                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,027.25           191,525.98
        03/25/10   004277      PAULA J SENESOC - 958                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,215.09           188,310.89
 *      03/25/10   004278      CLARIBEL SERRANO - 185               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 217.12            188,093.77
        03/25/10   004279      JOSEPH SHELTON - 2278                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 738.80            187,354.97
        03/25/10   004280      GARRY SCHENEBERGER - 248             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 440.64            186,914.33
        03/25/10   004281      RENE SHERMAN - 1869                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 591.04            186,323.29
        03/25/10   004282      ALMA SHEROUSE - 1893                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,491.48           182,831.81
        03/25/10   004283      ALEXANDRA SHIPTAL - 540              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,569.08           181,262.73
        03/25/10   004284      PATRICIA SIGNORILE - 1850            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           176,839.84
 *      03/25/10   004285      CLAUDIA SILVA - 1299                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 572.57            176,267.27
 *      03/25/10   004286      HUMBERTO J SILVA - 500               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,252.19           175,015.08
        03/25/10   004287      RONALD L SIMMONS - 1534              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 267.60            174,747.48
        03/25/10   004288      TODD SKLAR - 1867                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                3,232.25           171,515.23
 *      03/25/10   004289      LEEANNEE SLOAN - 1895                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,863.44           169,651.79
 *      03/25/10   004290      CYNTHIA SMITH - 1402                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 293.81            169,357.98
        03/25/10   004291      HERNANDO SOTO - 423                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 383.40            168,974.58
        03/25/10   004292      DELORES SPAULDING - 1865             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,396.34           167,578.24
 *      03/25/10   004293      ALAN SPENCE - 1511                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 323.03            167,255.21
        03/25/10   004294      BRIAN ST LEDGER -1907                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           162,832.32
        03/25/10   004295      JIARO SUAREZ - 498                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 326.71            162,505.61
        03/25/10   004296      FRANCES ANTHONY SUMMEY - 1123        PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                2,136.02           160,369.59
        03/25/10   004297      HEIDI J SUROCK - 1234                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,548.24           155,821.35
        03/25/10   004298      HOLT TACIANA - 1796                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,483.00           154,338.35
 *      03/25/10   004299      CARMEN TAPIA - 731                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 207.99            154,130.36
        03/25/10   004300      MARIA TAPIA - 732                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 207.99            153,922.37
        03/25/10   004301      JOE TAVARES - 1905                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,422.89           149,499.48
        03/25/10   004302      SHANA K THOM - 514                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,494.06           145,005.42
        03/25/10   004303      DERRICK THOMAS # 92                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 969.67            144,035.75
        03/25/10   004304      CHRISTOPHER THORSON - 2287           PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 250.10            143,785.65
 *      03/25/10   004305      BENJAMIN J TIBERGHIEN - 933          PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                  86.70            143,698.95
        03/25/10   004306      ANA TORRADO NGUYEN -542              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,706.27           141,992.68
        03/25/10   004307      ALICIA TORRES - 579                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 425.71            141,566.97
        03/25/10   004308      CARMEN E TORRES - 125                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 230.88            141,336.09
        03/25/10   004309      LUIS TORRES MARTINEZ - 2035          PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 238.91            141,097.18
        03/25/10   004310      MARCY L TSCHIDA - 21                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 886.56            140,210.62
        03/25/10   004311      MICHELE TUCKER - 2326                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,165.86           139,044.76
 *      03/25/10   004312      ORLANDO URIBE - 104                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 224.56            138,820.20
        03/25/10   004313      JENNIFER M VALDEZ - 896              PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                4,219.00           134,601.20
        03/25/10   004314      ROSA VALLECILLO - 2180               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 335.00            134,266.20
        03/25/10   004315      ISRAEL VALLEJO SOSA                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 383.57            133,882.63
 *      03/25/10   004316      JOSE VARGAS - 496                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 583.94            133,298.69
        03/25/10   004317      URSULA VARGAS - 755                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                1,233.19           132,065.50




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     Case No:              04-22316RG -CMG
                                                                                                                                                                       Exhibit B
                                                                                                 Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                         Bank Name:                      BANK OF AMERICA
                                                                                                 Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                              Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                 Separate Bond (if applicable):



         1             2                             3                                      4                                          5               6                       7

 Transaction       Check or                                                                                          Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From             Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
 *      03/25/10   004318      MABEL VEGA - 1418                    PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 184.64            131,880.86
        03/25/10   004319      MIGDALIA VEGA - 404                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,067.78           130,813.08
        03/25/10   004320      SYLVIA VEGA - 1295                   PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                2,132.20           128,680.88
        03/25/10   004321      VICTOR M VELAZQUEZ - 2237            PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 328.30            128,352.58
 *      03/25/10   004322      JASON VERDON - 1233                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,052.41           127,300.17
        03/25/10   004323      JERRY VILLAHERMOSA - 1155            PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 230.04            127,070.13
        03/25/10   004324      ANA ROSA VIQUES - 2098               PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  84.79            126,985.34
        03/25/10   004325      HUEY P WALKER JR - 956               PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,329.84           125,655.50
 *      03/25/10   004326      BRENT WANDLING - 1288                PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 305.18            125,350.32
        03/25/10   004327      LATOYA WASHINGTON - 1916             PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,152.52           124,197.80
 *      03/25/10   004328      NICOLE WELLINGS - 1835               PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,279.55           122,918.25
        03/25/10   004329      JEFFREY S WHITE - 990                PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                4,432.24           118,486.01
        03/25/10   004330      KEVIN E WILKINSON - 1934             PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 404.38            118,081.63
        03/25/10   004331      BETH WILKLOW - 536                   PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,774.55           116,307.08
 *      03/25/10   004332      DAMEON WILLIAMS - 757                PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  66.52            116,240.56
        03/25/10   004333      LORI BETH WILLIAMS - 427             PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 159.17            116,081.39
        03/25/10   004334      ROSALINA U WILSON - 1207             PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 414.78            115,666.61
        03/25/10   004335      JEFFREY WINDERS - 295                PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                4,518.24           111,148.37
        03/25/10   004336      JERRI T WISE - 22                    PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,598.35           109,550.02
        03/25/10   004337      ALFREDO YAGUALCA -1390               PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                2,639.22           106,910.80
 *      03/25/10   004338      WILLIE L YOR - 1452                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 160.56            106,750.24
        03/25/10   004339      JESSICA M ZAYAS - 223                PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                1,666.35           105,083.89
        03/25/10   004340      LEONA ZIENKIEWICZ - 1884             PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                3,430.48           101,653.41
 *      03/25/10   004341      JUSUS ZURITA - 1221                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 588.72            101,064.69
        03/25/10               BANK OF AMERICA                      ELECTRONIC TAX PAYMENTS                        5300-000                            99,709.90                1,354.79
                                                                    PAYMENT OF TAXES VIA ELECTRONIC
                                                                    PAYMENTS TO IRS AND VARIOUS
                                                                    STATES - AMOUNT INCLUDES ALL
                                                                    TAXES DUE WITH EXCEPTION OF 1354.79
                                                                    WHICH INCLUDES VARIOUS
                                                                    ADDITIONAL AMOUNTS DUE TO
                                                                    CERTAIN STATES - WILL BE PAID VIA
                                                                    CHECKS.
 *      04/26/10   004192      ANDREA MURRAY - 537                  Stop Payment Reversal                          5300-000                             -3,836.40               5,191.19
                                                                    STOP PAY ADD SUCCESSFUL
 *      04/26/10   004299      CARMEN TAPIA - 731                   Stop Payment Reversal                          5300-000                                -207.99              5,399.18
                                                                    STOP PAY ADD SUCCESSFUL
        04/27/10   004342      ANDREA MURRAY - 537                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                3,836.40             1,562.78
                                                                    REPLACE LOST CHECK 4192
        05/17/10   004343      CARMEN TAPIA - 731                   PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                 207.99              1,354.79
                                                                    REPLACE ORIGINAL CHECK - PAYMENT
                                                                    STOPPED
                                                                    STOP PAYMENT ON ORIGINAL CHECK
        05/18/10               PAYCHEX                              PAYCHEX TAX PAYMENT 5-18                       5300-000                                  14.30              1,340.49
        05/18/10               PAYCHEX                              PAYCHEX INVOICES 3-29 37.51, 37.51             2990-000                                  75.02              1,265.47
        05/18/10               PAYCHEX                              PAYCHEX - PAYROLL PREPARATION                  2990-000                                1,862.45                -596.98
                                                                    FEES - APRIL
 *      05/21/10   004242      HEUBERT RIVERA - 535                 Stop Payment Reversal                          5300-000                             -1,679.01               1,082.03



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                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                      Exhibit B
                                                                                               Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                       Bank Name:                      BANK OF AMERICA
                                                                                               Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                            Blanket Bond (per case limit): $ 66,440,697.00
                                                                                               Separate Bond (if applicable):



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 Transaction       Check or                                                                                        Uniform                       Disbursements       Account / CD
    Date           Reference               Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)          ($)             Balance ($)
                                                                     STOP PAY ADD SUCCESSFUL
        06/11/10               Transfer from Acct #*******9414       TRANSFER TO WRITE CHECKS                    9999-000            12,000.00                               13,082.03
        06/11/10   004344      THE PORT AUTHORITY OF NY & NJ         PRIORITY WAGE CLAIM ORDER 4-19-10           5300-000                             12,539.91                  542.12
        06/14/10   004345      HEUBERT RIVERA - 535                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 1,679.01           -1,136.89
                                                                     REPLACES CHECK #4242
 *      06/27/10   004001      MARIA ABULL HAY - 734                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -227.68                -909.21
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004005      ISMAEL AGUIRRE - 750                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -234.94                -674.27
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004010      KIMBERLY A ALLEN - 1103               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -985.60                311.33
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004012      JEREMIAH ALVAREZ - 1885               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -945.03             1,256.36
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004014      EMMA AMADOR - 776                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -334.45             1,590.81
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004018      ANDRES ARANDA - 475                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -651.29             2,242.10
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004019      JOSE ARANDA - 474                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -396.77             2,638.87
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004023      MERRIT ARVAY - 619                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                              -2,537.59              5,176.46
                                                                     VOIDED - CHECK RETURNED
 *      06/27/10   004035      PAUL L BOYD JR - 195                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -188.73             5,365.19
                                                                     VOIDED - CHECK RETURNED
 *      06/27/10   004054      RAFAEL CLASS - 1586                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                              -2,727.04              8,092.23
                                                                     VOIDED - CHECK RETURNED
 *      06/27/10   004058      ELSA P CORONADO - 145                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -299.08             8,391.31
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004062      TAYDE CORTEZ - 625                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -183.54             8,574.85
                                                                     VOIDED - CHECK RETURNED
 *      06/27/10   004064      JOSE CRUZ - 469                       PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -307.61             8,882.46
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004079      ARIAS DORALKIS - 690                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -176.61             9,059.07
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004096      PABLO FONT - 610                      PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -294.36             9,353.43
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004097      OLIVER FORD - 186                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                              -1,177.46             10,530.89
                                                                     VOIDED - STALE DATE
 *      06/27/10   004099      LAWRENCE L FROST - 2096               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                              -1,269.64             11,800.53
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004117      AMBER R GOOSTREE - 1132               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -901.80            12,702.33
                                                                     VOIDED - CHEDK RETURNED
 *      06/27/10   004120      ROLDAN GUADALUPE - 1589               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -239.16            12,941.49
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004122      EUGENIA GUTIERREZ - 529               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                   -28.28           12,969.77
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004136      SPC WILSON JACOB - 1352               PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -554.10            13,523.87
                                                                     VOIDED - STALE ADDRESS
 *      06/27/10   004158      ASTRID LOPEZ - 354                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                 -942.80            14,466.67
                                                                     VOIDED - CHECK RETURNED



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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                   Exhibit B
                                                                                              Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                      Bank Name:                      BANK OF AMERICA
                                                                                              Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                           Blanket Bond (per case limit): $ 66,440,697.00
                                                                                              Separate Bond (if applicable):



         1             2                              3                                 4                                           5               6                     7

 Transaction       Check or                                                                                       Uniform                      Disbursements      Account / CD
    Date           Reference              Paid To / Received From          Description Of Transaction           Trans. Code    Deposits ($)         ($)            Balance ($)
 *      06/27/10   004161      EMMA LORES - 345                     PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -368.15           14,834.82
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004162      DAMAI LOZANO - 197                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -193.42           15,028.24
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004164      CHRIS LUTZ - 1337                    PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -470.47           15,498.71
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004171      AIDA MARTINEZ                        PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -713.60           16,212.31
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004174      JENRY MARTINEZ - 344                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -385.99           16,598.30
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004175      JOSE MARTINEZ - 189                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -200.86           16,799.16
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004183      NAVAREZ MIGUEL - 1799                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                             -1,138.79            17,937.95
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004184      AUDLEY D MILLS - 343                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -740.25           18,678.20
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004186      ERNESTO MOLORA - 2221                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -179.45           18,857.65
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004205      WILMER J ORTIZ - 1851                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -231.92           19,089.57
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004213      JUAN MANUEL PAZ - 455                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -320.29           19,409.86
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004216      CARMELO PEREZ - 1251                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                             -2,424.73            21,834.59
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004221      MARIA PLATA - 1200                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -141.90           21,976.49
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004222      RICARDO POBLANO - 368                PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -405.29           22,381.78
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004227      MARTIN D PRICE - 712                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -367.68           22,749.46
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004233      JULIO RAMIREZ - 796                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -249.11           22,998.57
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004234      OSCAR RAMIREZ - 504                  PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -359.96           23,358.53
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004235      STORM RAMIREZ - 1652                 PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                             -4,294.27            27,652.80
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004237      DEANNA K RENNINGER - 532             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                             -2,914.41            30,567.21
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004238      THOMAS REOME - 593                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -129.80           30,697.01
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004240      DELORIS RICHARDSON - 752             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -179.59           30,876.60
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004243      ROSA RIVERA - 1265                   PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -175.53           31,052.13
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004249      CARLOS R RODRIGUEZ - 1581            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -207.65           31,259.78
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004250      ESPERANZA RODRIGUEZ - 234            PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                                -412.56           31,672.34
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004254      REINALDO RODRIGUEZ - 533             PRIORITY WAGE CLAIM - NET AMOUNT            5300-000                             -1,322.64            32,994.98



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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                         Exhibit B
                                                                                                 Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                         Bank Name:                      BANK OF AMERICA
                                                                                                 Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                              Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                 Separate Bond (if applicable):



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 Transaction       Check or                                                                                          Uniform                        Disbursements       Account / CD
    Date           Reference              Paid To / Received From             Description Of Transaction           Trans. Code    Deposits ($)           ($)             Balance ($)
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004255      REINALDO ROSA - 341                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  -176.61            33,171.59
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004256      MARGOT ROSEBERRY - 2290              PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                               -1,604.61             34,776.20
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004258      MARIA RUIZ - 187                     PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  -277.49            35,053.69
                                                                    VOIDED - STALE DATED
 *      06/27/10   004267      CARMEN SANCHEZ SAUCEDA - 2074        PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                               -1,978.29             37,031.98
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004268      MIGUEL SANDOVAL - 1196               PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                    -41.25           37,073.23
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004285      CLAUDIA SILVA - 1299                 PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  -572.57            37,645.80
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004286      HUMBERTO J SILVA - 500               PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                               -1,252.19             38,897.99
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004289      LEEANNEE SLOAN - 1895                PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                               -1,863.44             40,761.43
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004290      CYNTHIA SMITH - 1402                 PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  -293.81            41,055.24
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004305      BENJAMIN J TIBERGHIEN - 933          PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                    -86.70           41,141.94
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004312      ORLANDO URIBE - 104                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  -224.56            41,366.50
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004318      MABEL VEGA - 1418                    PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  -184.64            41,551.14
                                                                    VOIDED - STALE ADDRESS
 *      06/27/10   004328      NICOLE WELLINGS - 1835               PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                               -1,279.55             42,830.69
                                                                    VOIDED - CHECK RETURNED
 *      06/27/10   004341      JUSUS ZURITA - 1221                  PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  -588.72            43,419.41
                                                                    VOIDED - STALE ADDRESS
        06/28/10               PAYCHEX TAX PAY SERVICE              TAX CREDIT ADJUSTMENT                          5300-000                517.20                               43,936.61
 *      06/28/10   004004      MAURO AGUILAR - 76                   Stop Payment Reversal                          5300-000                                    -87.96           44,024.57
                                                                    STOP PAY ADD SUCCESSFUL
        06/28/10               PAYCHEX                              PAYCHEX INVOICE                                2990-000                                    39.00            43,985.57
        07/30/10   004346      MERRIT ARVAY - 619                   PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  2,537.59           41,447.98
                                                                    REPLACES STOP PAY CHECK 4023 DATED
                                                                    3-25-10
        01/31/11   004347      LEEANNEE SLOAN - 1895                PRIORITY WAGE CLAIM - NET AMOUNT               5300-000                                  1,863.44           39,584.54
                                                                    replace check 4289
        04/14/11               PAYCHEX                              REPORT - RE WAGE CLAIMS                        2990-000                                    14.00            39,570.54
 *      05/16/11   004031      ALEXANDER BETANCUR - 1471            Stop Payment Reversal                          5300-000                               -2,342.10             41,912.64
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004045      MARIA CARBAJAL - 379                 Stop Payment Reversal                          5300-000                                  -222.78            42,135.42
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004051      JAMIE CERVANTES - 548                Stop Payment Reversal                          5300-000                                  -340.90            42,476.32
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004059      JUAN CORTES - 373                    Stop Payment Reversal                          5300-000                                  -617.24            43,093.56
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004060      IRENE CORTEZ - 1724                  Stop Payment Reversal                          5300-000                                  -290.11            43,383.67
                                                                    STOP PAY ADD SUCCESSFUL



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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                     Exhibit B
                                                                                                Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                        Bank Name:                      BANK OF AMERICA
                                                                                                Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                             Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                Separate Bond (if applicable):



         1             2                             3                                      4                                         5               6                     7

 Transaction       Check or                                                                                         Uniform                      Disbursements      Account / CD
    Date           Reference              Paid To / Received From            Description Of Transaction           Trans. Code    Deposits ($)         ($)            Balance ($)
 *      05/16/11   004066      VERONICA CUEVAS - 1215               Stop Payment Reversal                         5300-000                                -193.23           43,576.90
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004087      YELER ESTEBAN - 745                  Stop Payment Reversal                         5300-000                                -200.25           43,777.15
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004101      GLADYS GALARZA - 439                 Stop Payment Reversal                         5300-000                                 -17.84           43,794.99
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004102      LIZ YADIRA GAMBOA - 361              Stop Payment Reversal                         5300-000                                -197.79           43,992.78
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004105      DANIEL GARCIA - 466                  Stop Payment Reversal                         5300-000                                -414.22           44,407.00
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004121      ANTONIA GUTIERREZ - 582              Stop Payment Reversal                         5300-000                                -224.61           44,631.61
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004129      JAVIER HERNANDEZ - 465               Stop Payment Reversal                         5300-000                                -179.69           44,811.30
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004133      ARNETTE HOLMES - 793                 Stop Payment Reversal                         5300-000                                -356.80           45,168.10
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004144      ELIZABETH JUAREZ - 646               Stop Payment Reversal                         5300-000                                -182.95           45,351.05
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004163      ALBERTO LUNA - 462                   Stop Payment Reversal                         5300-000                                -212.98           45,564.03
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004191      AMANDA MOZO - 49                     Stop Payment Reversal                         5300-000                             -1,825.00            47,389.03
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/16/11   004193      NELSON NAVAREZ - 598                 Stop Payment Reversal                         5300-000                                -270.98           47,660.01
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004172      AMANDA MARTINEZ - 1197               Stop Payment Reversal                         5300-000                                -171.32           47,831.33
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004188      IRMA MORALES - 362                   Stop Payment Reversal                         5300-000                                -197.79           48,029.12
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004189      LILIA LORENA MORALES - 347           Stop Payment Reversal                         5300-000                                -197.79           48,226.91
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004211      SANDEEP PATEL - 567                  Stop Payment Reversal                         5300-000                             -1,535.66            49,762.57
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004219      MARIA PEREZ - 337                    Stop Payment Reversal                         5300-000                                -228.74           49,991.31
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004220      OSCAR PEREZ - 453                    Stop Payment Reversal                         5300-000                                -313.60           50,304.91
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004228      YUNEIDY PULIDO - 1293                Stop Payment Reversal                         5300-000                                -164.12           50,469.03
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004229      MARICRUZ QUINTANA - 660              Stop Payment Reversal                         5300-000                                -275.73           50,744.76
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004241      EMERITA RIVERA - 1529                Stop Payment Reversal                         5300-000                                -858.10           51,602.86
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004244      WILFREDO RIVERA - 620                Stop Payment Reversal                         5300-000                                -526.57           52,129.43
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004252      JACLYN RODRIGUEZ - 1883              Stop Payment Reversal                         5300-000                             -1,571.28            53,700.71
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004261      ISAIAS SACRISTAN - 501               Stop Payment Reversal                         5300-000                                -642.98           54,343.69
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004263      JOEL SALINAS - 1405                  Stop Payment Reversal                         5300-000                                -435.16           54,778.85



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                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                      Exhibit B
                                                                                                Trustee Name:                   CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                        Bank Name:                      BANK OF AMERICA
                                                                                                Account Number / CD #:          *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                             Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                Separate Bond (if applicable):



         1             2                             3                                      4                                         5               6                      7

 Transaction       Check or                                                                                         Uniform                      Disbursements       Account / CD
    Date           Reference              Paid To / Received From            Description Of Transaction           Trans. Code    Deposits ($)         ($)             Balance ($)
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004266      JOSE SANCHEZ CRUZ - 468              Stop Payment Reversal                         5300-000                                -343.91            55,122.76
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004269      JORGE SANTIAGO - 762                 Stop Payment Reversal                         5300-000                                -180.70            55,303.46
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004271      ROCIO SCHULT - 543                   Stop Payment Reversal                         5300-000                             -1,606.00             56,909.46
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004278      CLARIBEL SERRANO - 185               Stop Payment Reversal                         5300-000                                -217.12            57,126.58
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004293      ALAN SPENCE - 1511                   Stop Payment Reversal                         5300-000                                -323.03            57,449.61
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004316      JOSE VARGAS - 496                    Stop Payment Reversal                         5300-000                                -583.94            58,033.55
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004322      JASON VERDON - 1233                  Stop Payment Reversal                         5300-000                             -1,052.41             59,085.96
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004326      BRENT WANDLING - 1288                Stop Payment Reversal                         5300-000                                -305.18            59,391.14
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004332      DAMEON WILLIAMS - 757                Stop Payment Reversal                         5300-000                                  -66.52           59,457.66
                                                                    STOP PAY ADD SUCCESSFUL
 *      05/17/11   004338      WILLIE L YOR - 1452                  Stop Payment Reversal                         5300-000                                -160.56            59,618.22
                                                                    STOP PAY ADD SUCCESSFUL
        10/31/11               BANK OF AMERICA                      BANK SERVICE FEE                              2600-000                                  75.95            59,542.27
        11/23/11   004348      NICOLE WELLINGS - 1835               PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                1,279.55           58,262.72
                                                                    (REPLACEMENT OF CK#4328)
        11/30/11               BANK OF AMERICA                      BANK SERVICE FEE                              2600-000                                  73.41            58,189.31
        12/19/11   004349      AMBER R. GOOSTREE-SALES              REPLACEMENT CK#4117 PRIORITY WAGE 5300-000                                             901.80            57,287.51
                                                                    C
        12/30/11               BANK OF AMERICA                      BANK SERVICE FEE                              2600-000                                  71.91            57,215.60
        01/31/12               BANK OF AMERICA                      BANK SERVICE FEE                              2600-000                                  75.04            57,140.56
        02/22/12   004350      LAUDERDALE LIQUOR STORE - 102        PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 589.74            56,550.82
        02/22/12   004351      KATHERINE HEMINGWAY - 421            PRIORITY EMPLOYEE BENEFITS CLAIM              5400-000                                 264.25            56,286.57
        02/22/12   004352      JAMES KEITH ANDERSON - 424           PRIORITY SUPPORT CLAIM                        5700-000                                 690.00            55,596.57
 *      02/22/12   004353      US DEPARTMENT OF LABOR - 1998        PRIORITY EMPLOYEE BENEFITS CLAIM              5400-000                            21,688.10              33,908.47
        02/22/12   004354      BALJEET BINDRA - 1223                PRIORITY EMPLOYEE BENEFITS CLAIM              5400-000                                 948.20            32,960.27
        02/22/12   004355      L & J ORDONEZ BROS. INC. - 1403      PRIORITY WAGE CLAIM - NET AMOUNT              5300-000                                 875.74            32,084.53
        02/22/12   004356      JOSEPH J. RUBIO - 1540               PRIORITY SUPPORT CLAIM                        5700-000                                 509.55            31,574.98
        02/29/12               BANK OF AMERICA                      BANK SERVICE FEE                              2600-000                                  67.91            31,507.07
        03/30/12               BANK OF AMERICA                      BANK SERVICE FEE                              2600-000                                  67.02            31,440.05
        04/09/12   004357      UNITED STATES TREASURY               PAYROLL TAXES Q1 2012                         2690-000                                1,262.01           30,178.04
                                                                    EIN XX-XXXXXXX P/E 3/31/12 FORM 941
        04/09/12   004358      NEW JERSEY DEPARTMENT OF LABOR       PAYROLL TAXES Q1 2012                         2690-000                                  87.90            30,090.14
                                                                    EIN 223-642-526 P/E 3/31/12 FORM WR-30 -
                                                                    PAYMENT OF WAGE CLAIM
        04/09/12   004359      NYS EMPLOYMENT TAXES                 PAYROLL TAXES Q1 2012                         2690-000                                  71.67            30,018.47
                                                                    EIN 22-364526 P/E 3/31/12 FORM NYS-45
        04/09/12   004360      GA DEPT OF LABOR                     PAYROLL TAXES Q1 2012                         2690-000                                   7.00            30,011.47
                                                                    EIN XX-XXXXXXX P/E 3/31/12 FORM DOL-4N
        04/09/12   004361      UNITED STATES TREASURY               PAYROLL TAXES Q1 2012                         2690-000                                  29.65            29,981.82
                                                                    EIN XX-XXXXXXX P/E 12/31/12 FORM 940


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                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

     Case No:              04-22316RG -CMG
                                                                                                                                                                                               Exhibit B
                                                                                                                 Trustee Name:                     CHARLES M. FORMAN, TRUSTEE
     Case Name:            OMNE STAFFING, INC. CHAPTER 7                                                         Bank Name:                        BANK OF AMERICA
                                                                                                                 Account Number / CD #:            *******3323 CLAIMS - CHECKING ACCOUNT
     Taxpayer ID No:       *******2526
     For Period Ending:    04/28/15                                                                              Blanket Bond (per case limit): $ 66,440,697.00
                                                                                                                 Separate Bond (if applicable):



         1             2                                  3                                             4                                                  5                6                       7

 Transaction       Check or                                                                                                            Uniform                         Disbursements           Account / CD
    Date           Reference                 Paid To / Received From                       Description Of Transaction                Trans. Code    Deposits ($)            ($)                 Balance ($)
 *      04/11/12   004362      LILLY LAWRENCE - 2381                          PRIORITY WAGE CLAIM - NET AMOUNT                        5300-000                                   179.61             29,802.21
        04/11/12   004363      KATHERINE HEMINGWAY - 534                      PRIORITY WAGE CLAIM - NET AMOUNT                        5300-000                                  1,212.23            28,589.98
        04/11/12   004364      DANIEL AHERN - 693                             PRIORITY WAGE CLAIM - NET AMOUNT                        5300-000                                   849.10             27,740.88
        04/18/12               Trsf To VIRGINIA HERITAGE BANK                 FINAL TRANSFER                                          9999-000                              27,740.88                        0.00
 *      05/29/12   004353      US DEPARTMENT OF LABOR - 1998                  PRIORITY EMPLOYEE BENEFITS CLAIM                        5400-000                              -21,688.10              21,688.10
                                                                              Void - Check returned.
 *      05/29/12   004362      LILLY LAWRENCE - 2381                          PRIORITY WAGE CLAIM - NET AMOUNT                        5300-000                                   -179.61            21,867.71
                                                                              CHECK RETURNED - VOID - SUBMITTED
                                                                              TO REGISTRY
 *      08/01/12   004365      CHARLES FORMAN TRUSTEE FOR OMNE                TRANSFER TO VIRGINIA HERITAGE                           9999-000                              21,867.71                        0.00
                               STAFFING                                       BANK
 *      08/07/12   004365      CHARLES FORMAN TRUSTEE FOR OMNE                TRANSFER TO VIRGINIA HERITAGE                           9999-000                              -21,867.71              21,867.71
                               STAFFING                                       BANK
                                                                              VOIDED - TRANSFER VIA WIRE
        08/10/12               WIRE TRANSFER                                  WIRE TRANSFER FROM BOA TO VHB                           9999-000                              21,867.71                        0.00
                               to transfer balance of reversed checks
                               to Viriginia Heritage Bank




                                                              Account                        Balance Forward                           0.00
                                                                                           0 Deposits                                  0.00                475 Checks                             396,916.51
                                                              *******3323
                                                                                           0 Interest Postings                         0.00                 13 Adjustments Out                    124,013.62
          Memo Receipts:                      0.00                                                                                                           1 Transfers Out                       27,740.88
      Memo Disbursements:                     0.00                                           Subtotal                        $         0.00
                                                                                                                                                               Total                       $      548,671.01
      Memo Allocation Net:                    0.00                                         1 Adjustments In                         517.20
                                                                                           2 Transfers In                        548,153.81

                                                                                             Total                       $       548,671.01




 Report Totals                                                                 Balance Forward                           0.00
                                                                            41 Deposits                          1,862,918.48                 679 Checks                          6,455,635.82
                                                                            38 Interest Postings                    79,830.73                  51 Adjustments Out                   169,918.61
            Total Memo Receipts:           5,823,947.49
      Total Memo Disbursements:                                                                                                                89 Transfers Out                   8,871,423.02
                                           5,815,450.27
                                                                                Subtotal                    $    1,942,749.21
      Total Memo Allocation Net:                                                                                                                   Total                    $ 15,496,977.45
                                               8,497.22
                                                                             3 Adjustments In                    5,837,835.18
                                                                            89 Transfers In                      8,871,423.02

                                                                                Total                       $ 16,652,007.41                        Net Total Balance         $    1,155,029.96




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                                                                        EXHIBIT C
 Page 1                                                                                                                                     Date: April 28, 2015
                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                             Scheduled                Claimed             Allowed
                FORMAN HOLT ELIADES &                Administrative                                             $0.00         $755,771.00            $755,771.00
 001            YOUNGMAN                              ATTORNEY FOR TRUSTEE FEES/EXP
 3110-00        80 ROUTE 4 EAST                       FEES:
                SUITE 290
                                                         81,330.00 per order 7-8-08
                PARAMUS, NJ 07652
                                                       238,449.00 per order 4-22-09
                                                         66,665.00 per order 10-7-09
                                                        248,625.00 per order 8-17-11
                                                        120,702.00 pending order
                                                      --------------------
                                                        775,771.00

                                                      EXPENSES:
                                                          2,288.74 per order 7-8-08
                                                          4,875.45 per order 4-22-09
                                                          1,353.98 per order 10-7-09
                                                           5,541.60 per order 8-17-11
                                                           3,141.53 pending order
                                                      --------------------
                                                         17,201.30


                                                                                        4429299621   04/23/09   1073           243,324.45
                                                                                        4429299621   01/27/10   1093            66,665.00
                                                                                        4429299621   01/27/10   1094             1,353.98
                                                                                        4429299621   10/04/11   1120           248,625.00
                                                                                        4429299621   10/04/11   1121             5,541.60
                BEDERSON & COMPANY                   Administrative                                             $0.00         $221,108.75            $221,108.75
 001            405 NORTHFIELD AVENUE                 ACCOUNTANT FOR TRUSTEE
 3410-00        WEST ORANGE, NJ 07052                 FEES/EXPENSES
                                                      FEES:
                                                        18,367.00 per orders 7-22-08,
                                                          8,836.00 per order 5-20-09
                                                       167,564.25 per order 10-5-11
                                                         26.341.50 pending order (filed 5-16-12)
                                                       ------------------
                                                       221,108.75

                                                      EXPENSES:
                                                             266.28 per order 7-22-08
                                                             107.11 per order 5-20-09
                                                             882.52 per order 10-5-11
                                                             280.64 pending order (filed 5-16-12)
                                                        ----------------
                                                          1,536.55


                                                                                        4429299621   09/10/08   1050            18,633.28
                                                                                        4429299621   12/07/11   1124           167,564.25
                                                                                        4429299621   12/07/11   1125               882.52
                                                                                        2040000842   05/15/12   1005             8,943.11



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                                                                        EXHIBIT C
 Page 2                                                                                                                                    Date: April 28, 2015
                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                            Scheduled                Claimed             Allowed
                CLERK, US BANKRTUPCY COURT Administrative                                       $0.00             $9,250.00                           $9,250.00
 001                                        ADVERSARY FILING FEES
 2700-00                                    ADV#06-1520,1543,1567-1569,1575-1581,1596-1598,1602-1603,1618,1620-1629,
                                            1636-1637, 1644-1648, 1663, 2145


                                                                                     2040000842     05/14/12   1002             9,250.00
                BEDERSON & COMPANY                   Administrative                                            $0.00           $1,536.55              $1,536.55
 001            405 NORTHFIELD AVENUE                 ACCOUNTANT FOR TRUSTEE
 3420-00        WEST ORANGE, NJ 07052                 FEES/EXPENSES
                                                      FEES:
                                                        18,367.00 per orders 7-22-08,
                                                          8,836.00 per order 5-20-09
                                                       167,564.25 per order 10-5-11
                                                         26.341.50 pending order (filed 5-16-12)
                                                       ------------------
                                                       221,108.75

                                                      EXPENSES:
                                                             266.28 per order 7-22-08
                                                             107.11 per order 5-20-09
                                                             882.52 per order 10-5-11
                                                             280.64 pending order (filed 5-16-12)
                                                        ----------------
                                                          1,536.55


                CHARLES M FORMAN, CHAPTER 7 Administrative                                                     $0.00         $232,636.86            $232,636.86
 001            TRUSTEE                      CHAPTER 7 TRUSTEE FEE
 2100-00        80 ROUTE 4 EAST - SUITE 290
                PARAMUS NJ 07652

                CHARLES M FORMAN, CHAPTER 7 Administrative                                   $0.00           $2,413.46                                $2,413.46
 001            TRUSTEE                      CHAPTER 7 TRUSTEE EXPENSES
 2200-00        80 ROUTE 4 EAST - SUITE 290  PHOTOCOPIES 912.00 - POSTAGE & FedX 130.00 TRUSTEE BOND 2011 1338.66 NJ
                PARAMUS NJ 07652
                                             DMV 33.20


                FORMAN HOLT ELIADES &                Administrative                                            $0.00          $17,201.30             $17,201.30
 001            YOUNGMAN                              ATTORNEY FOR TRUSTEE FEES/EXP
 3120-00        80 ROUTE 4 EAST                       FEES:
                SUITE 290
                                                        2288.74 per order 7-8-08
                PARAMUS, NJ 07652
                                                        4875.45 per order 4-22-09
                                                        1353.98 per order 10-7-09
                                                        5541.60 per order 8-17-11
                                                        3141.53 pending order
                                                      --------------------
                                                       17,201.30

                                                      EXPENSES:
                                                        2,288.74 per order 7-8-08



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                                                                            EXHIBIT C
 Page 3                                                                                                                                                Date: April 28, 2015
                                                                     ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                      Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class     Notes                              Scheduled                      Claimed               Allowed
                                                              4,875.45 per order 4-22-09
                                                              1,353.98 per order 10-7-09
                                                               5,541.60 per order 8-17-11
                                                               3,141.53 pending order
                                                          --------------------
                                                             17,201.30

                             Subtotal for Priority 001                                                               $0.00             $1,239,917.92            $1,239,917.92
                FORMAN HOLT ELIADES & RAVIN Administrative                                                           $0.00               $492,600.00             $492,600.00
 002            LLC                          CH 11 ATTORNEY FOR TRUSTEE FEES
 6110-00                                                  PER ORDER 1-30-08


                                                                                            4429299621   01/31/08    1012                 503,735.70
                                                                                            4429299621   07/22/08    1046                  83,618.74
                CHARLES M FORMAN, CHAPTER                Administrative                                              $0.00               $267,063.66             $267,063.66
 002            11 TRUSTEE                                Interim payment on 3-9-07 in the amount of 169,980.00 per order 3-8-07
 6101-00        80 ROUTE 4 EAST - SUITE 290
                PARAMUS NJ 07652

                CHARLES M FORMAN, CHAPTER                Administrative                                              $0.00                   $423.00                 $423.00
 002            11 TRUSTEE                                343.00 Photocopies
 6102-00        80 ROUTE 4 EAST - SUITE 290                80.00 Postage
                PARAMUS NJ 07652

                FORMAN HOLT ELIADES & RAVIN Administrative                                                           $0.00                $11,135.70              $11,135.70
 002            LLC                          CH 11 ATTORNEY FOR TRUSTEE FEES
 6120-00                                                  PER ORDER 1-30-08


 002349         BROADSPIRE SERVICES INC   Administrative    Filed 04/04/08                                           $0.00               $832,873.00                   $0.00
 002            C/O WILDMAN HARROLD ALLEN  Resolved by Order Dated 10/24/11 (Dkt. 4224)
 6700-00        & DIXON LLP
                JEFFERY CHANG JEFFREY L
                GANSBERG
                225 WEST WACKER DRIVE
                CHICAGO, IL 60606

                             Subtotal for Priority 002                                                               $0.00             $1,604,095.36             $771,222.36
 000015         BIGONGER & BIGONGER                      Secured          Filed 08/25/04                           $0.00                 $250,000.00                   $0.00
 050            ATTN: JEFFREY R. BIGONGER,                Amended by Claim #27. Expunged per Order dated 01/10/12 (Dkt #4267)
 4220-00        ESQ.
                4897 MAIN STREET
                YORBA LINDA, CA 92886

 000027         BIGONGER & BIGONGER AND                  Secured         Filed 09/10/04                            $0.00                 $250,000.00                   $0.00
 050            TERRY FORNEY                              Amends Claim #15. Expunged per Order dated 01/10/12 (Dkt #4267)
 4220-00        BIGONGER & BIGONGER
                JEFFREY R BIGONGER ESQ
                4897 MAIN ST
                YORBA LINDA, CA 92886




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000064         SAMUEL, MONI                         Secured           Filed 09/10/04                             $0.00             $706.82                  $0.00
 050            248-23-89-AVE                         Disallowed Per Order Dated 9/16/08 (Dkt # 1781)
 4220-00        BELLROSE, NY 11426

 000076-B       AGUILAR, MAURILIO                    Secured           Filed 10/05/04                            $0.00               $95.77                  $0.00
 050            530 NORTH STREET                      Reduced and Reclassified Per Order Dated 8/25/08 ( Dkt # 1632 )
 4220-00        MIDDLETOWN, NY 10940

 000077-A       RODRIGUEZ, GILBERTO                  Secured            Filed 10/05/04                            $0.00               $5.00                  $0.00
 050            1616 1/2 E. SAN VICENTE               Reclassified Per Order Dated 8/13/08 (Docket #1521)
 4220-00        COMPTON, CA 90221

 000127         TN DEPT OF LABOR &      Secured          Filed 09/27/04                           $0.00           $20,379.54                                 $0.00
 050            WORKFORCE                Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 4800-00        DEVELOPMENT-UNEMPLOYMEN
                T INS
                A/O TN ATTY GENERAL,
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 000137-B       CASWELL JR, HARRY                    Secured           Filed 10/04/04                             $0.00             $230.80                  $0.00
 050            621 R ALDER STREET                    Disallowed Per Order dated 4/21/09 (Docket #3168)
 4220-00        SCRANTON, PA 18505

 000140         EUSEBIO VILLETA                      Secured           Filed 09/30/04                             $0.00             $251.27                  $0.00
 050            1345 S. PAXON ST.                     Disallowed per Order Dated 10/7/08 (Docket #2000)
 4220-00        PHILADELPHIA, PA 19143                (ca)


 000145-B       CORONADO, ELSA P.                    Secured            Filed 10/04/04                            $0.00               $5.00                  $0.00
 050            4114 CAMINO DEL PLAZA #25             Reclassified per Order Dated 9/16/08 (Docket #1779)
 4220-00        SAN YSIDRO, CA 92173

 000148-A       GUZMAN, OSCAR                        Secured           Filed 10/05/04                             $0.00           $3,500.00                  $0.00
 050            5 FAIRFIELD CIRCLE                    Disallowed per Order dated 1/12/10 (Docket No. 3719)
 4220-00        APT 1A
                BRENTWOOD, NY 11717

 000156-A       NORTHBAY OCCUPATIONAL                Secured          Filed 10/05/04                              $0.00           $1,219.70                  $0.00
 050            HEALTH                                Expunged per Order dated 01/10/12 (Dkt #4264)
 4220-00        PO BOX 39000
                DEPT 33404
                SAN FRANCISCO, CA 94139

 000157-C       RUVALCABA, JOSE                      Secured           Filed 10/05/04                             $0.00             $800.00                  $0.00
 050            1725 BON AIR                          Disallowed Per Order Dated 10/21/08 (Docket #2135)
 4220-00        STOCKTON, CA 95210

 000161         SAMUEL, MONI                         Secured           Filed 10/04/04                             $0.00             $706.82                  $0.00
 050            248-23-89-AVE                         Disallowed Per Order Dated 9/16/08 (Dkt # 1781)
 4220-00        BELLROSE, NY 11426




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled                   Claimed             Allowed
 000169-A       CERRA JR., WILLIAM J.                Secured            Filed 09/29/04                            $0.00                 $580.00                  $0.00
 050            400 BEDFORD ST, APT 507               Reclassified Per Order Dated 10/3/08 (Dkt # 169)
 4220-00        CLARKS SUMMIT, PA 18411               (ca)


 000176-B       NYS DEPT OF LABOR                    Secured           Filed 10/01/04                             $0.00              $28,793.42                  $0.00
 050            UNEMPLOYMENT INSURANCE                Allowed per Order dated 11/17/2011 (Dkt #4227)
 4800-00        DIV
                HARRIMAN STATE OFC BLDG
                CAMPUS
                BLDG 12, RM 256
                ALBANY, NY 12240

 000184         SANTOS-SILVA, ANA PAULA              Secured           Filed 10/07/04                             $0.00                 $232.13                  $0.00
 050            317 15TH STREET                       Disallowed per Order Dated 9/16/08 (Docket #1797)
 4220-00        #1
                SCRANTON, PA 18504

 000189-A       MARTINEZ, JOSE                       Secured            Filed 10/08/04                            $0.00                 $220.12                  $0.00
 050            12530 ROSCOE BLVD.                    Reclassified Per Order Dated 10/7/08 (Docket #2002)
 4220-00        APT. # 11
                SUN VALLEY, CA 91352

 000208-B       SANDERS, LAMONT                      Secured           Filed 10/08/04                             $0.00                 $384.00                  $0.00
 050            1310 E. 32ND STREET                   Disallowed Per Order dated 4/21/09 (Docket #3171)
 4220-00        SAVANNAH, GA 31404

 000246         PITTMAN, SHANNON                     Secured           Filed 10/12/04                             $0.00               $3,000.00                  $0.00
 050            116 FOUNTAIN OAKS CIRCLE              Disallowed per Order Dated 2/9/10 (Docket #3738)
 4220-00        APT 219                               (ca)
                SACRAMENTO, CA 94831

 000251-B       PHILLIPS, JUSTIN                     Secured            Filed 10/12/04                          $0.00                   $200.00                  $0.00
 050            4425 RODNEY                           Reclassified and Allowed Per Order Dated 10/21/08 (Docket#2102)
 4220-00        MEMPHIS, TN 38116

 000285-B       INDIANA DEPT OF REVENUE              Secured          Filed 10/12/04                              $0.00                 $495.01                  $0.00
 050            BANKRUPTCY SECTION ROOM               Expunged per Order dated 4/12/2011 (Dkt #4050)
 4800-00        N-203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 000296-B       CECILIA DE LA ROSA                   Secured           Filed 10/12/04                            $0.00                  $339.66                  $0.00
 050            2003 NEW YORK AVE.                    Reduced and Reclassified per Order Dated 10/21/08 (Docket #2096) (ac)
 4220-00        APT. 1B
                UNION CITY, NJ 07087

 000304-A       CALIF LATINO CLINIC                  Secured            Filed 10/12/04                            $0.00              $19,689.00                  $0.00
 050            2700 N MAIN ST                        Reclassified per Order dated 01/10/12 (Dkt #4260)
 4220-00        STE 1060
                SANTA ANA, CA 92705

 000305-A       CHIRAG N AMIN MD                     Secured            Filed 10/12/04                            $0.00              $14,984.40                  $0.00
 050            6820 INDIANA AVE                      Reclassified per Order dated 01/30/2012 (Dkt #4287)
 4220-00        SUITE 100



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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                               Scheduled                    Claimed               Allowed
                RIVERSIDE, CA 92506




 000315-A       SHEIN, U                             Secured           Filed 10/12/04                              $0.00               $1,500.00                   $0.00
 050            3245 EAST CALLE BAJA                  Disallowed Per Order Dated 9/23/08 (Dkt # 1886)
 4220-00        AVENUE
                WEST COVINA, CA 91792

 000347-A       MORALES, LILIA LORENA                Secured            Filed 10/18/04                             $0.00                 $221.36                   $0.00
 050            933 SUPERIOR ST                       Reclassified Per Order Dated 9/9/08 (Docket #1717)
 4220-00        AURORA, IL 60505

 000361-A       GAMBOA, LIZ YADIRA                   Secured             Filed 10/18/04                            $0.00                 $221.36                   $0.00
 050            933 SUPERIOR                          Reclassified per order dated 9/16/08 (Dkt # 1801)
 4220-00        AURORA, IL 60505

 000362-A       MORALES, IRMA                        Secured            Filed 10/18/04                             $0.00                 $221.36                   $0.00
 050            933 SUPERIOR                          Reclassified Per Order Dated 10/21/08 (Docket #2109)
 4220-00        AURORA, IL 60505

 000445-B       ELSA CORONADO PLACENCIZ       Secured           Filed 06/07/04                                     $0.00                   $5.00                   $0.00
 050            4114 CZIMINO DE LA PLAZA #25-1 Disallowed per Order Dated 9/16/08 (Docket #1779)
 4220-00        SAN YSIDRO, CA 92173

 000483         General Electric Capital Corp.       Secured            Filed 08/09/04                          $0.00                    $577.16                   $0.00
 050            1010 Thomas Edison Blvd. S.W.         (170-1) Claim sent to claims agent
 4220-00        Cedar Rapids, IA 52404                Duplicated by Claim #747. Expunged per Order dated 04/19/2011 (Dkt #4070)


 000492-A       Great American Insurance Company     Secured            Filed 08/10/04                           $0.00            $1,193,760.00                    $0.00
 050            Michael J. Conolly Esq                (180-1) Claim sent to claims agent
 4220-00        PO Box 1980                           Reduced and Reclassified per Order dated 02/27/2012 (Dkt #4292).
                Morristown, NJ 07962

 000505         General Electric Capital Corp.       Secured            Filed 08/09/04                             $0.00               $1,445.47                   $0.00
 050            1010 Thomas Edison Blvd. S.W.         (188-1) Claim sent to claims agent
 4220-00        Cedar Rapids, IA 52404                Expunged per order 4-19-11 (Dkt#4070)
                                                      amended by claim#763


 000509-A       State of New Jersey                  Secured              Filed 07/09/04                              $0.00         $1,390,727.42                  $0.00
 050            Division of Employer Accounts         (142-1) Claim sent to claims agent
 4220-00        PO Box 379                            Orilginal claim filed as secured and priority (priority as unknown amount) and reclassified
                Trenton, NJ 08625-0379
                                                      and Allowed per Order dated 09/13/2011 as part priority and part GUS (Dkt #4206) see
                                                      509 B & C


 000511-B       NYS DEPT OF TAXATION &               Secured          Filed 05/20/04                          $0.00                      $266.01                   $0.00
 050            FINANCE                               Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 4800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 5300
                ALBANY, NY 12205




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                Claim Class     Notes                                 Scheduled               Claimed              Allowed
 000525-B       SADITH ZAVALA                          Secured           Filed 05/06/04                              $0.00             $800.00                   $0.00
 050            55 NEWPORT AVE                          Disallowed Per Order Dated 10/21/08 (Dkt # 2099) (ac)
 4220-00        SOMERSET, NJ 08873

 000530-B       JORGE HERNANDEZ JR                     Secured           Filed 05/05/04                              $0.00           $2,293.20                   $0.00
 050            26 BERGEN ST                            Disallowed Per Order Dated 8/26/08 (Docket #1651)
 4220-00        GARFIELD, NJ 07026

 000556         Lumbermens Mutual Casualty Co          Secured             Filed 08/10/04                           $0.00                 $0.00                  $0.00
 050            & affiliates American Protection Ins    (185-1) Claim sent to claims agent Unliquidated Secured Claim In An Amount Likely
 4220-00        Cole, Schotz, Meisel, Forman &          Greater Than $3M
                Leonard
                                                        (185-1) Unliquidated Secured Claim In An Amount Likely Greater Than $3M
                Crt Plz N, 25 Main Street
                                                        amended by claim#1527
                P.O. Box 800
                Hackensack, NJ 07602-0800               disallowed per stip & order 4-21-11


 000557-C       NYS DEPT OF TAXATION &                 Secured          Filed 10/21/04                          $0.00                  $266.01                   $0.00
 050            FINANCE                                 Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 4800-00        ATTN: BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 000563-C       NYS DEPT OF TAXATION &                 Secured          Filed 04/26/04                          $0.00                  $266.01                   $0.00
 050            FINANCE                                 Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 4800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 5300
                ALBANY, NY 12205

 000568-C       GLADYS PEREZ                           Secured           Filed 04/27/04                            $0.00               $456.00                   $0.00
 050            32 PARK PLACE                           Reduced and Reclassified Per Order Dated 10/21/08 (Docket #2103)
 4220-00        NORTH PLAINFIELD, NJ 07060

 000573-C       MILTON L DELGADO                       Secured            Filed 04/29/04                             $0.00           $3,132.23                   $0.00
 050            RR6 BOX 6066A                           Reclassified Per Order Dated 8/25/08 (Dkt # 1630)
 4220-00        MOSCOW, PA 18444

 000579-A       TORRES, ALICIA                         Secured            Filed 10/15/04                             $0.00             $468.58                   $0.00
 050            107 PAULISON AVENUE                     Reclassified per Order dated 1/12/10 (Docket No. 3720)
 4220-00        PASSAIC, NJ 07055

 000580-B       CARTER, TONY                           Secured           Filed 10/18/04                              $0.00             $672.00                   $0.00
 050            914 ARMSTRONG BLVD. NORTH               Disallowed Per Order Dated 12/2/08 (Dkt # 2598) (ac)
 4220-00        APT 2
                ST JAMES, MN 56081

 000582-A       GUTIERREZ, ANTONIA                     Secured            Filed 10/19/04                             $0.00             $270.00                   $0.00
 050            3860 CHEROKEE AVE. #6                   Disallowed per order 9-16-08
 4220-00        SAN DIEGO, CA 92104

 000593-A       REOME, THOMAS W.                       Secured            Filed 10/15/04                             $0.00             $145.52                   $0.00
 050            1025 GREGORY PLACE #3                   Reclassified Per Order Dated 9/16/08 (Dkt # 1798) (ac)
 4220-00        SCRANTON, PA 18504




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                              Scheduled                   Claimed             Allowed
 000613-C       BLANDINO, MARCOS                     Secured           Filed 10/21/04                            $0.00              $1,937.00                  $0.00
 050            PO BOX 1260                           Reduced and Reclassified Per Order Dated 9/23/08 (Dkt # 1879) (ca)
 4220-00        PATERSON, NJ 07509

 000623         MEDICIA CORPORATION                  Secured           Filed 10/21/04                            $0.00             $26,936.05                  $0.00
 050            POST OFFICE BOX 1015                  Claim withdrawn per document dated 2/23/06
 4220-00        DAYTON, NJ 08810

 000626-B       POLANCO-VALDEZ, ELSA                 Secured            Filed 10/21/04                           $0.00                 $41.20                  $0.00
 050            1700 NEW YORK AVENUE                  Reclassifed per Order Dated 9/9/08 (Docket #1705)
 4220-00        APARTMENT 1
                UNION CITY, NJ 07087

 000656-A       FERNANDEZ, YULISSA                   Secured            Filed 10/19/04                           $0.00                $160.06                  $0.00
 050            583 CHARLES ST                        Reclassified per Order dated 1/12/10 (Docket No. 3717)
 4220-00        PERTH AMBOY, NJ 08861

 000660-B       QUINTANA, MARICRUZ                   Secured           Filed 10/19/04                            $0.00                $310.16                  $0.00
 050            813 EAST ELM STREET                   Reduced and Reclassified Per Order Dated 9/9/08 ( Dkt # 1712)
 4220-00        COMPTON, CA 90221

 000662-A       GEORGIA DEPT OF LABOR      Secured          Filed 10/19/04                           $0.00                          $1,800.71                  $0.00
 050            148 ANDREW YOUNG INTL BLVD  Reduced & Allowed per Order dated 04/19/2011 (Dkt #4069)
 4800-00        STE 826
                ATLANTA, GA 30303

 000672-B       SUAREZ, FELIX                        Secured            Filed 10/14/04                           $0.00                $360.00                  $0.00
 050            609 LIBERTY AVENUE                    Reclassified per Order Dated 11/18/08 (Docket #2412)
 4220-00        APT #1
                NORTH BERGEN, NJ 07047

 000673-A       PATINO, EFREN                        Secured           Filed 10/14/04                            $0.00                $810.00                  $0.00
 050            4 WESTERN AVE                         Disallowed per Order Dated 10/21/08 (Docket #2094) (ac)
 4220-00        APT. 5
                HIGHTSTOWN, NJ 08520

 000686-B       IRBY, CLEOPHAS                       Secured           Filed 10/19/04                            $0.00              $2,300.00                  $0.00
 050            3566 ROYAL ARMS DRIVE                 Disallowed per Order Dated 10/21/08 (Docket #2097) (ac)
 4220-00        MEMPHIS, TN 38115

 000704-A       NYS Dept of Taxation & Finance       Secured            Filed 10/25/04                        $0.00                   $266.01                  $0.00
 050            Attn: Bankruptcy Section              (199-1) Claim sent to claims agent
 4800-00        PO Box 5300                           Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
                Albany NY 12205-0300

 000747-A       GENERAL ELECTRIC CAPITAL             Secured            Filed 10/25/04                            $0.00               $577.16                  $0.00
 050            CORP                                  Duplicates Claim #483. Reclassified per Order dated 04/19/2011 (Dkt #4070)
 4220-00        1010 THOMAS EDISON BLVD SW
                CEDAR RAPIDS, IA 52404

 000757-B       WILLIAMS, DAMEON                     Secured          Filed 10/25/04                            $0.00                  $72.03                  $0.00
 050            2358 LAROSE                           Reduced & Reclassified per Order Dated 9/23/08 (Docket #1892)
 4220-00        MEMPHIS, TN 38114




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  Case Number: 04-22316RG                                                Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000763         GENERAL ELECTRIC CAPITAL             Secured          Filed 10/25/04                          $0.00               $1,445.47                  $0.00
 050            CORP                                  Expunged per Order dated 04/19/2011 (Dkt #4070) Amends Claim#505
 4220-00        1010 THOMAS EDISON BLVD SW
                CEDAR RAPIDS, IA 52404

 000770-B       ORR, PAUL                            Secured           Filed 10/25/04                             $0.00              $64.37                  $0.00
 050            302 10TH AVE                          Disallowed Per Order Dated 8/25/08 ( Dkt # 1629)
 4220-00        SCRANTON, PA 18504

 000776-B       AMADOR, EMMA                         Secured           Filed 10/25/04                            $0.00              $553.90                  $0.00
 050            328 DEL RIO WAY                       Reduced and Reclassified per Order Dated 10/7/08 (Docket #1989)
 4220-00        VISTA, CA 92083

 000778-B       BRACY, TIMONTHY                      Secured           Filed 10/25/04                            $0.00               $68.00                  $0.00
 050            637 MAGONILA AVE                      Reduced and Reclassified per Order Dated 8/18/08 (Docket #1580)
 4220-00        ELIZABETH, NJ 07206

 000784-A       CRUZADO, HIPOLITO                    Secured            Filed 10/22/04                            $0.00             $640.00                  $0.00
 050            138 PORT AVENUE                       Reclassified Per Order Dated 10/7/08 (Docket #1992)
 4220-00        ELIZABETH, NJ 07206

 000796-B       RAMIREZ, JULIO                       Secured            Filed 10/25/04                          $0.00               $273.00                  $0.00
 050            13177 1/2 BROWONT                     Reclassified and Allowed Per Order Dated 10/21/08 (Docket#2101)
 4220-00        SYLMAR, CA 91342

 000912-C       INDIANA DEPT OF REVENUE              Secured          Filed 10/12/04                              $0.00             $192.22                  $0.00
 050            ATTN BANKRUPTCY SECTION               Expunged per Order dated 4/12/2011 (Dkt #4050)
 4800-00        ROOM N203
                100 N SENATE AVE
                INDIANAPOLIS, IN 46204

 001036-C       PENNSYLVANIA DEPT OF                 Secured           Filed 08/03/04                             $0.00         $122,062.83                  $0.00
 050            REVENUE                               Allowed per Order dated 06/29/2011 (Dkt #4171)
 4800-00        COMMONWEALTH OF
                PENNSYLVANIA
                BANKRUPTCY DIVISION
                DEPARTMENT 280946
                HARRISBURG, PA 17128

 001146         ELAINE M SININS                      Secured          Filed 10/26/04                              $0.00           $1,655.54                  $0.00
 050            35 SINCLAIR TER                       Expunged per Order dated 01/10/12 (Dkt #4261)
 4220-00        SHORT HILLS, NJ 07078

 001155-A       VILLAHERMOSA, JERRY                  Secured            Filed 10/27/04                            $0.00             $257.90                  $0.00
 050            1740 BRILL ST                         Reclassified Per Order Dated 10/27/08 (Docket #2206)
 4220-00        PHILADELPHIA, PA 19124

 001156         DYNAMIC IMPROVEMENT INC              Secured           Filed 10/27/04                             $0.00          $16,415.36                  $0.00
 050            1305 SIMPSON WAY SUITE K              Disallowed per Order dated 11/17/2011 (Dkt #4230)
 4220-00        ESCONDIDO, CA 92029

 001201         AEROSOL SERVICES INC.       Secured          Filed 10/28/04                                       $0.00          $50,459.68                  $0.00
 050            C/O PAUL HASTINGS JANOFSKY & Expunged per Order dated 01/10/12 (Dkt #4258)
 4220-00        WALKER LLP
                ATTN: AYESHA KHAN & LESLIE
                PLASKON ESQS



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  Case Number: 04-22316RG                                                Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class    Notes                                Scheduled               Claimed             Allowed
                1055 WASHINGTON BLVD
                STAMFORD, CT 06901


 001202         ACUPAC PACKAGING, INC.      Secured          Filed 10/28/04                                      $0.00          $20,131.66                  $0.00
 050            C/O PAUL HASTINGS JANOFSKY & Expunged per Order dated 01/10/12 (Dkt #4256)
 4220-00        WALKER LLP
                ATTN: AYESHA KHAN & LESLIE
                PLASKON ESQS
                1055 WASHINGTON BLVD
                STAMFORD, CT 06901

 001203         KOLMAR LABORATORIES, INC.   Secured          Filed 10/28/04                                      $0.00          $77,064.00                  $0.00
 050            C/O PAUL HASTINGS JANOFSKY & Expunged per Order dated 01/10/12 (Dkt #4257)
 4220-00        WALKER LLP
                ATTN: AYESHA KHAN & LESLIE
                PLASKON, ESQS
                1055 WASHINGTON BLVD
                STAMFORD, CT 06901

 001215-B       CUEVAS, VERONICA                     Secured           Filed 10/28/04                            $0.00             $294.95                  $0.00
 050            678 DEL ROSA PL                       Reduced Per Order Dated 9/9/08 (Dkt # 1706)
 4220-00        APT. D
                POMONA, CA 91768

 001219         OUTSOURCING SERVICES GROUP Secured           Filed 10/28/04                                      $0.00         $147,655.71                  $0.00
 050            INC                          Expunged per Order dated 01/10/12 (Dkt #4255).
 4220-00        C/O PAUL HASTINGS JANOFSKY &
                WALKER LLP
                ATTN AYESHA KHAN & LESLIE
                PLASKON ESQS
                1055 WASHINGTON BLVD
                STAMFORD, CT 06901

 001231         SORIDFORCE TRANSPORTATION            Secured          Filed 10/28/04                             $0.00          $25,000.00                  $0.00
 050            INC                                   Expunged per Order dated 01/24/2012 (Dkt #4285).
 4220-00        444 W 55TH
                PLAINFIELD, NJ 07060

 001291         ERNESTO SOCARRAS                     Secured           Filed 10/28/04                            $0.00           $3,153.00                  $0.00
 050            1350 NW 28TH                          Disallowed per Order Dated 10/21/08 (Docket #2098)
 4220-00        MIAMI, FL 33142

 001298-C       TOLEDO, EDWIN D                      Secured           Filed 11/01/04                            $0.00           $1,578.73                  $0.00
 050            41 1D CROWN CIRCLE                    Disallowed Per Order Dated 12/31/08 (Docket #2816) (ac)
 4220-00        SCRANTON, PA 18550

 001382-B       SALINAS, JOSE LUIS                   Secured           Filed 10/29/04                            $0.00             $597.02                  $0.00
 050            3333 MARINE AVENUE                    Reduced and Reclassified Per Order Dated 11/18/08 (Docket #2424)
 4220-00        APARTMENT # 7
                GARDENA, CA 90249

 001383-B       NUNEZ PARAMO, MIRNA                  Secured           Filed 10/29/04                            $0.00             $237.48                  $0.00
 050            3333 MARINNE                          Reduced Per Order Dated 11/12/08 (Dkt # 2351)
 4220-00        APARTMENT #7
                GARDENA, CA 90247


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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                Claim Class     Notes                               Scheduled                   Claimed               Allowed
 001405-B       SALINAS, JOEL                         Secured            Filed 10/29/04                             $0.00                 $476.90                   $0.00
 050            3333 MARINE AVENUE                     Reclassified Per Order Dated 11/18/08 (Docket #2423)
 4220-00        APARTMENT # 7
                GARDENA, CA 90249

 001433-A       URZUA, MARILU                         Secured           Filed 10/29/04                              $0.00               $5,050.00                   $0.00
 050            2532 L ST                              Disallowed per Order Dated 1/12/10 (Docket No. 3715)
 4220-00        SAN DIEGO, CA 92102

 001434-B       URZUA MARILU                          Secured           Filed 10/29/04                            $0.00                   $250.00                   $0.00
 050            2532 L ST                              Modified and Reclassified per Order Dated 1/12/10 (Docket No. 3715)
 4220-00        SAN DIEGO, CA 92102

 001481-C       STREBLOW, HEINZ                       Secured           Filed 10/29/04                              $0.00               $1,070.70                   $0.00
 050            3022 WELLINGTON DRIVE                  Disallowed Per Order Dated 10/21/08 (Docket #2122)
 4220-00        PALMDALE, CA 93551

 001496-B       GONZALEZ, LUZ ELENA                   Secured           Filed 11/01/04                            $0.00                   $623.94                   $0.00
 050            13632 SOUTH BERENDO                    Reduced and Reclassified Per Order Dated 9/16/08 (Dkt # 1777)
 4220-00        GARDENA, CA 90247

 001527-A       Lumbermens Mutual Casualty Co & its Secured                Filed 10/29/04                             $0.00          $3,000,000.00                  $0.00
 050            affiliates incl American Protection Ins (204-1) Amended Claim / Claim sent to claims agent
 4220-00        c/o Cole Schotz et al Attn:Gerald Gline allowed per stip & order 4-21-11 Amends Claim #556, Dkt 4104 * Secured claim to extent
                Court Plz N, 25 Main Street
                                                        of 3 million and unsecured for balance. Claim paid out of Cash Payment held by AMPICO
                P.O. Box 800
                                                        as an offset.
                Hackensack, NJ 07602-0800


 001557-A       ANABELA I RAMIREZ                     Secured           Filed 11/05/04                            $0.00                 $1,312.00                   $0.00
 050            17 MARVIN AVE                          Reduced and Reclassified per Order Dated 9/9/08 (Docket #1703)
 4220-00        UNIONDALE, NY 11553

 001566         GUTIERREZ ANTONIA                     Secured            Filed 10/15/04                             $0.00                 $270.00                   $0.00
 050            3860 CHEROKEE AVE #6                   Disallowed per order 9-16-08
 4220-00        SAN DIEGO, CA 92104

 001576-B       MC GAVOC, PAMELA                      Secured           Filed 11/02/04                              $0.00               $6,000.00                   $0.00
 050            29009 DIXON ST 10                      Disallowed Per Order Dated 9/9/08 (Dkt # 1715)
 4220-00        HAYWARD, CA 94544

 001580-A       HERRERA, MARIA F                      Secured           Filed 11/03/04                              $0.00                  $10.00                   $0.00
 050            1207 W RICHMOND AVE.                   Disallowed Per Order Dated 9/23/08 (Dkt # 1876)
 4220-00        FORTWORTH, TX 76110

 001619-C       OMNIGEN                               Secured            Filed 10/29/04                             $0.00               $2,923.98                   $0.00
 050            1740 W.KATELLA AVENUE                  Disallowed per order 6-22-09
 4220-00        STE G
                ORANGE, CA 92867

 001645-A       PASTOR, MARIA G.                      Secured            Filed 11/04/04                             $0.00                 $500.00                   $0.00
 050            2706 PARKWAY DR                        Reclassified Per Order Dated 12/9/08 ( Dkt # 2657)
 4220-00        EL MONTE, CA 91732




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                              Scheduled                     Claimed             Allowed
 001649-B       ROSE, MARJORIE                       Secured           Filed 11/15/04                            $0.00               $11,500.00                  $0.00
 050            5739 ENGLE RD APT D                   Disallowed Per Order Dated 10/27/08 (Dkt # 2195)
 4220-00        CARMICHAEL, CA 95608

 001654         COLORADO DEPT OF REVENUE             Secured          Filed 11/09/04                           $0.00                  $6,666.99                  $0.00
 050            BANKRUPTCY UNIT                       Expunged per Order dated 03/28/2011 (Dkt #3998) See Claim #1747
 4800-00        1375 SHERMAN ST
                ATTN: NOEL D HASSELGREN
                BKCY SUPERVISOR
                DENVER, CO 80261

 001673-B       MENDEZ, MATILDE              Secured           Filed 10/12/04                            $0.00                          $334.30                  $0.00
 050            460 N TWIN OAKS VALLEY R APT  Reduced and Reclassified Per Order Dated 11/12/08 ( Dkt #2355)
 4220-00        G
                SAN MARCOS, CA 92069

 001683-A       NEIRA LUZ ESTRELLA                   Secured            Filed 10/25/04                           $0.00                $2,841.00                  $0.00
 050            36 ELLIOT ST                          Reclassified Per Order Dated 8/18/08 (Dkt # 1574)
 4220-00        DOVER, NJ 07801

 001720         NEIRA LUZ ESTELLA                    Secured           Filed 10/25/04                            $0.00                $2,841.00                  $0.00
 050            36 ELLIOT ST                          Disallowed Per Order Dated 8/18/08 (Dkt # 1574)
 4220-00        DOVER, NJ 07801

 001747-A       COLORADO DEPT OF REVENUE             Secured           Filed 12/08/04                            $0.00            $10,758.91                     $0.00
 050            ATTN: BANKRUPTCY UNIT                 Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3998) See Claim #1654
 4800-00        1375 SHERMAN ST RM 504
                DENVER, CO 80261

 001751         NEIRA LUZ ESTELLA                    Secured           Filed 10/25/04                            $0.00                $2,841.00                  $0.00
 050            36 ELLIOT ST                          Disallowed Per Order Dated 8/18/08 (Dkt # 1574)
 4220-00        DOVER, NJ 07801

 001762-B       STATE OF NY DEPT OF LABOR            Secured          Filed 12/20/04                          $0.00                   $4,215.94                  $0.00
 050            UNEMPLOYMENT INS DIVISION             Amends Claim #510. Allowed per Order dated 11/17/2011 (Dkt #4227)
 4800-00        GOV W AVERELL HARRIMAN
                STATE OFF BLDG
                BLDG 12 RM 256
                ALBANY, NY 12240

 001777-A       SHEPARD, NEKIMA                      Secured            Filed 12/20/04                           $0.00                  $620.00                  $0.00
 050            2793 BREWER                           Reclassified Per Order Dated 9/23/08 (Dkt #1885)
 4220-00        MEMPHIS, TN 38114

 001861-A       NATIONS SURGERY CENTERS LP Secured            Filed 01/18/05                                     $0.00               $40,699.29                  $0.00
 050            PO BOX 515338               Reclassified per Order dated 02/06/2012 (Dkt 4289).
 4220-00        LOS ANGELES, CA 90051

 001907-B       ST LEDGER, BRIAN                     Secured           Filed 01/28/05                            $0.00               $86,000.00                  $0.00
 050            113 LIVINGSTON AVE.                   Reduced and Reclassified per Order Dated 12/15/08 (Docket #2696) (ca)
 4220-00        LYNDHURST, NJ 07071

 001912-B       NYS DEPT OF TAXATION &               Secured         Filed 01/27/05                           $0.00              $266.01                         $0.00
 050            FINANCE                               Amended by #2387; Expunged per Order dated 11/17/2011 (Dkt #4227) Amends Claim
 4800-00        ATTN: BANKRUPTCY SECTION              #704
                P O BOX 5300



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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
                ALBANY, NY 12205




 001916-A       WASHINGTON, LATOYA                   Secured            Filed 01/28/05                            $0.00           $1,248.00                  $0.00
 050            12799 S. 177 LANE                     Reclassified Per Order Dated 12/2/08 (Docket #2578) (ca)
 4220-00        GOODYEAR, AZ 85338

 001992-C       INDIANA DEPT OF REVENUE              Secured           Filed 02/06/06                           $0.00               $192.22                  $0.00
 050            BANKRUPTCY SECTION ROOM               Reduced and Reclassified per Order dated 04/12/2011 (Dkt #4050)
 4800-00        N203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 001993-A       INDIANA DEPT OF REVENUE              Secured            Filed 02/06/06                            $0.00             $495.01                  $0.00
 050            BANKRUPTY SECTION ROOM                Reclassified per Order dated 04/12/2011 (Dkt #4050)
 4800-00        N203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 002083-C       ROSALES, RAUL                        Secured           Filed 01/15/08                             $0.00             $350.00                  $0.00
 050            8382 DURRA LANE                       Disallowed Per Order Dated 9/16/08 (Dkt # 1800)
 4220-00        FONTANA, CA 92335

 002097-A       WYOMING UNEMPLOYMENT TAX Secured           Filed 01/07/08                            $0.00                          $997.34                  $0.00
 050            DIVISION                  Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3995)
 4800-00        WY UNEMPLOYMENT TAX DIV
                PO BOX 2760
                CASPER, WY 82602

 002102-A       DEPT OF INDUSTRIAL RELATIONS Secured            Filed 01/15/08                                    $0.00           $2,546.50                  $0.00
 050            STATE OF ALABAMA              Reclassified per Order dated 03/28/2011 (Dkt #3994)
 4800-00        649 MONROE ST
                MONTGOMERY, AL 36131

 002104         GONZALEZ, CARLOS PAZ                 Secured           Filed 01/17/08                             $0.00           $3,150.00                  $0.00
 050            2270 LOGAN ST.                        Disallowed per Order Dated 11/12/08 (Docket #2361)
 4220-00        POMONA, CA 91767

 002107-A       AMBROSE, BRUCE                       Secured           Filed 01/17/08                             $0.00          $50,000.00                  $0.00
 050            720 N. 66TH ST.                       Disallowed per Order Dated 12/2/08 (Docket #2589)
 4220-00        PHILADELPHIA, PA 19151

 002118         PALLADINO, VINCENT                   Secured           Filed 01/14/08                             $0.00             $176.00                  $0.00
 050            1712 N WILLOW                         Disallowed Per Order Dated 4/22/09 (Docket #3177)
 4220-00        ANAHEIM, CA 92807

 002166-C       ELIAS, WILLIAM                       Secured            Filed 02/01/08                            $0.00             $800.00                  $0.00
 050            425 HIGH ST 4                         Reclassified Per Order Dated 9/9/08 (Dkt # 1718)
 4220-00        CHESTERTOWN, MD 21620

 002180-A       VALLECILLO, ROSA                     Secured           Filed 02/05/08                            $0.00              $373.04                  $0.00
 050            1400 NEW YORK AVE.                    Reduced and Reclassified Per Order Dated 11/12/08 (Dkt # 2349)
 4220-00        PAT #1
                UNION CITY, NJ 07087




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  Case Number: 04-22316RG                                                     Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class     Notes                                 Scheduled               Claimed              Allowed
 002221-B       ERNESTO MOLORA                           Secured           Filed 02/04/08                            $0.00                $35.00                   $0.00
 050            683 W FRONT ST                            Reduced and Reclassified per Order Dated 12/2/08 (Docket #2585)
 4220-00        PLAINFIELD, NJ 07060

 002230-A       SC DEPARTMENT OF REVENUE                 Secured            Filed 02/19/08                             $0.00           $1,411.32                   $0.00
 050            PO BOX 12265                              Reclassified per Order dated 03/28/2011 (Dkt #3997)
 4800-00        COLUMBIA, SC 29211

 002246-B       MALDONADO, ALFONSO                       Secured          Filed 03/04/08                               $0.00           $1,780.00                   $0.00
 050            5133 S ARLINGTON                          Expunged per Order dated 03/14/2011 (Dkt #3940)
 4220-00        LOS ANGELES, CA 90043

 002250-A       MIKE HOGAN TAX COLLECTOR                 Secured            Filed 03/11/08                             $0.00             $395.60                   $0.00
 050            C/O EDWARD C TANNEN ASST                  Reclassified per Order dated 01/10/12 (Dkts #4265).
 4800-00        GEN COUNSEL
                117 W DUVAL ST 480 CITY HALL
                JACKSONVILLE, FL 32202

 002307-A       STEVE MANNING                            Secured            Filed 04/04/08                             $0.00           $3,273.75                   $0.00
 050            1308 SE 31ST STREET                       Reclassified per Order dated 01/10/12 (Dkt #4259)
 4220-00        CAPE CORAL, FL 33904

 002340         TN Dept. of Labor & Workforce Dev. Secured             Filed 04/04/08                         $0.00                   $21,395.68                   $0.00
 050            Unemployment Insur.                  (222-1) Claim sent to claims agent
 4800-00        c/o TN Atty General, Bankruptcy Div. AMENDS Claim Filed 09/27/2004
                PO Box 20207
                                                     Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
                Nashville, TN 37207-0207

 002347-A       TN DEPT OF LABOR &                       Secured            Filed 04/09/08                           $0.00             $21,395.68                  $0.00
 050            WORKFORCE DEVELOPMENT                     Reclassified and Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191
 4800-00        C/O TN ATTY GENERAL                       07/28/2011
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002350         STATE OF TENNESSEE                       Secured          Filed 04/04/08                           $0.00              $21,395.68                   $0.00
 050            DEPT OF LABOR & WORKFORCE                 Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 4800-00        DEVELOPMENT
                NASHVILLE, TN 37245

 002387-C       NYS DEPARTMENT OF TAXATION Secured           Filed 09/29/05                            $0.00                $266.01                                $0.00
 050            AND FINANCE                 Amends #s 511, 557, 563, 704, & 1912.Reclassified per Order dated 11/17/2011 (Dkt
 4800-00        BANKRUPTCY SECTION          #4227)
                P O BOX 5300
                ALBANY, NY 12205

                             Subtotal for Priority 050                                                                 $0.00        $7,019,653.14                  $0.00
 000105-A       ATLANTIC SERVICE                         Priority            Filed 10/04/04                            $0.00             $435.66                   $0.00
 052            401 ROUTE 10                               Reclassified per Order dated 04/06/2011 (Dkt #4030)
 5200-00        WHIPPANY, NJ 07054

 000108         HANACARE REHAB SERVICES                  Priority           Filed 10/01/04                             $0.00           $1,349.00                   $0.00
 052            1771 EDGEWOOD AVE. W.                      Disallowed Per Order dated 7/28/09 (Docket#3382)
 5200-00        JACKSONVILLE, FL 32208                     (ac)



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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                 Scheduled               Claimed             Allowed
 000113         RODRIGUEZ, CAROL                     Priority            Filed 10/01/04                            $0.00               $0.00                  $0.00
 052            111 GREEN PLACE                        Disallowed per order 4-6-11
 5200-00        APT 2
                SCRANTON, PA 18509

 000271-A       TRANSPORTATION, T & M                Priority            Filed 10/12/04                            $0.00           $3,850.00                  $0.00
 052            820 WEST 115TH ST.                     Reclassified per Order Dated 1/13/09 (Docket #2854)
 5200-00        LOS ANGELES, CA 90044

 000280-B       CAPITAL CLEANING             Priority            Filed 10/12/04                                    $0.00          $17,659.75                  $0.00
 052            CONTRACTORS INC                Reclassified per Order dated 03/14/2011 (Dkt #3939)
 5200-00        CUST 59650
                PO BOX 3063
                HUNTINGTON STATION, NY 11746

 000286-A       WSA SECURITY INC                     Priority            Filed 10/12/04                            $0.00           $3,500.01                  $0.00
 052            10311 S LA CIENGA BLVD                 Reclassified per Order dated 03/14/2011 (Dkt #3938)
 5200-00        LOS ANGELES, CA 90045

 000290         A AND F TRAILER MFG INC              Priority           Filed 10/12/04                             $0.00             $615.85                  $0.00
 052            1155 BELLS FERRY ROAD                  Disallowed Per Order Dated 7/7/09 (Docket # 3363)
 5200-00        MARETTA, GA 30066

 000297-A       JOHN C CRICK MD                      Priority            Filed 10/12/04                            $0.00           $5,303.00                  $0.00
 052            2549 PARK STREET                       Reclassified per Order dated 03/08/2011 (Dkt #3906)
 5200-00        JACKSONVILLE, FL 32204

 000298-B       JOHN C CRICK MD                      Priority            Filed 10/12/04                            $0.00           $1,300.00                  $0.00
 052            2549 PARK STREET                       Reclassified per Order dated 03/08/2011 (Dkt #3906)
 5200-00        JACKSONVILLE, FL 32204

 000366-A       KDR INC                              Priority            Filed 10/18/04                            $0.00           $2,134.97                  $0.00
 052            559 SOUTH ATCHINSON STREET             Reclassified per Order dated 04/06/2011 (Dkt #4027)
 5200-00        ANAHEIM, CA 92805

 000481         General Electric Capital Corp.       Priority            Filed 08/09/04                            $0.00          $23,083.89                  $0.00
 052            1010 Thomas Edison Blvd. S.W.          (187-1) Claim sent to claims agent
 5200-00        Cedar Rapids, IA 52404                 Expunged per Order dated 04/19/2011 (Dkt #4070)


 000484         General Electric Capital Corp.       Priority            Filed 08/09/04                            $0.00           $1,731.48                  $0.00
 052            1010 Thomas Edison Blvd. S.W.          (171-1) Claim sent to claims agent
 5200-00        Cedar Rapids, IA 52404                 Expunged per Order dated 04/19/2011 (Dkt #4070)
                                                       amended by claim#749


 000512-A       Geoffrey M Stiles, MD                Priority             Filed 07/29/04                           $0.00           $1,476.00                  $0.00
 052            7910 Frost St., Suite 430              (154-1) Claim sent to claims agent
 5200-00        San Diego, CA 92123-2795               Reclassified per order 4-12-11 (Dkt#4046)


 000653         SANDRA L MCAULEY ESQ                 Priority            Filed 10/19/04                            $0.00               $0.00                  $0.00
 052            FINDLER & FINDLER PA                   Disallowed per order 3-14-11
 5200-00        3 HARVARD CIRCLE, STE 100
                WEST PALM BEACH, FL 33409



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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                 Scheduled                Claimed              Allowed
 000748         GENERAL ELECTRIC CAPITAL             Priority            Filed 10/25/04                          $0.00           $23,083.89                     $0.00
 052            CORP                                   Administrative Claim. Expunged per Order dated 04/19/2011 (Dkt #4070) Amends Claim
 5200-00        1010 THOMAS EDISON BLVD SW             #481
                CEDAR RAPIDS, IA 52404

 000749-A       GENERAL ELECTRIC CAPITAL             Priority            Filed 10/25/04                            $0.00             $1,731.48                  $0.00
 052            CORP                                   Administrative Claim. Reclassified per Order dated 04/19/2011 (Dkt #4070) Amends
 5200-00        1010 THOMAS EDISON BLVD SW             Claim #484
                CEDAR RAPIDS, IA 52404

 001144-B       CERTA PRO PAINTERS                   Priority            Filed 10/26/04                            $0.00            $5,483.01                   $0.00
 052            9011 MIRA MESA BOULEVARD               Reclassified per Order dated 03/14/2011 (Dkt #3947)
 5200-00        #203
                SAN DIEGO, CA 92126

 001158-A       VALLEY INDUSTRIAL FAMILY             Priority            Filed 10/27/04                            $0.00              $708.51                   $0.00
 052            MEDICAL                                Reclassified per Order dated 04/06/2011 (Dkt #4029)
 5200-00        6011 N FRESNO ST 115
                FRESNO, CA 93710

 001159-A       MONARCH TREE SERVICE                 Priority            Filed 10/26/04                            $0.00           $27,626.00                   $0.00
 052            7290 EQUUS LANE                        Reclassified per Order dated 03/08/2011 (Dkt #3900)
 5200-00        VACAVILLE, CA 95688

 001186-A       MONARCH TREE SERVICE                 Priority            Filed 10/26/04                            $0.00           $19,743.00                   $0.00
 052            7290 EQUUS LANE                        Reclassified per Order dated 03/08/2011 (Dkt #3900)
 5200-00        VACAVILLE, CA 95688

 001188-A       ST AUGUSTINE ALLIGATOR FARM Priority            Filed 10/27/04                                     $0.00            $5,427.60                   $0.00
 052            INC                           Reclassified per Order dated 04/19/2011 (Dtk #4067)
 5200-00        999 ANATASIA BLVD
                ST AUGUSTINE, FL 32080

 001192-A       CARFRE INC DBA HANDYMAN     Priority           Filed 10/27/04                                      $0.00            $4,680.05                   $0.00
 052            110 S. ROSEMEAD BLVD SUITE G Reclassified per Order dated 04/19/2011 (Dtk #4065)
 5200-00        PASADENA, CA 91107

 001209-B       NAPLES CENTER FOR HAND               Priority            Filed 10/28/04                            $0.00              $646.30                   $0.00
 052            1409 KINGSLEY AVE                      Reclassified per Order dated 03/14/2011 (Dkt #3932)
 5200-00        STE 6B
                ORANGE PARK, FL 32073

 001220-A       CORNERSTONE PLASTERING               Priority           Filed 10/28/04                             $0.00           $16,393.78                   $0.00
 052            4352 CORDERO DRIVE                     Disallowed Per Order Dated 7/7/09 (Docket # 3361)
 5200-00        EL DORADO HILLS, CA 95762

 001226-B       CORNERSTONE PLASTERING               Priority           Filed 10/29/04                             $0.00            $9,976.54                   $0.00
 052            4352 CORDERO DRIVE                     Disallowed per Order Dated 7/7/09 (Docket #3361)
 5200-00        EL DORADOHILLS, CA 95762

 001245-B       DON'S FRAMING                        Priority           Filed 10/13/04                             $0.00           $98,232.47                   $0.00
 052            5814 SUNGLO AVENUE                     Disallowed Per Order dated 6/2/09 (Docket # 3325)
 5200-00        PORT RICHEY, FL 34668




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001266-A       MONARCH TREE SERVICE                 Priority            Filed 10/26/04                            $0.00           $2,062.00                  $0.00
 052            7290 EQUUS LN                          Reclassified per Order dated 03/08/2011 (Dkt #3900)
 5200-00        VACAVILLE, CA 95688

 001292-A       ROBERT DAIGNEAULT MD                 Priority            Filed 10/28/04                            $0.00          $20,407.70                  $0.00
 052            227 N EL CAMINO REAL STE 100           Reclassified per Order dated 03/08/2011 (Dkt #3904)
 5200-00        ENCINITAS, CA 92024

 001297-A       EL CAMINO MED CENTER                 Priority            Filed 10/28/04                            $0.00           $1,342.43                  $0.00
 052            227 N EL CAMINO REAL                   Reclassified per Order dated 03/08/2011 (Dkt #3905)
 5200-00        SUITE 100
                ENCINTIAS, CA 92024

 001305-B       KOLLER COATINGS                      Priority           Filed 10/29/04                             $0.00          $51,724.26                  $0.00
 052            CORPORATION                            Disallowed Per Order dated 7/7/09 (Docket # 3356)
 5200-00        2901 WEST COAST HIGHWAY
                NEWPORT BEACH, CA 92663

 001327-A       EMMONS ROOF SERVICE                  Priority            Filed 10/29/04                            $0.00         $178,193.00                  $0.00
 052            PO BOX 1150                            Reclassified per Order dated 04/26/2011 (Dkt 4105)
 5200-00        POMONA, CA 91769

 001329         VAN DYK OIL COMPANY INC              Priority           Filed 10/28/04                             $0.00          $12,142.44                  $0.00
 052            VAN DYK TANK LINES INC                 Disallowed Per Order Dated 7/7/09 (Docket #3362)
 5200-00        C/O 1405 W RIALTO AVE
                SAN BERNARDINO, CA 92410

 001347         WILLSTAFF WORLDWIDE                  Priority           Filed 10/29/04                             $0.00         $840,615.71                  $0.00
 052            STAFFING                               Disallowed Per Order Dated 7/7/09 (Docket #3360)
 5200-00        328 DESIARD ST
                MONROE, LA 71201

 001355-B       SUTTON TREE SERVICE                  Priority          Filed 10/29/04                              $0.00          $23,093.40                  $0.00
 052            2236 SOUTH SANTA FE                    Expunged per Order dated 03/14/2011 (Dkt #3937)
 5200-00        VISTA, CA 92084

 001416         PRATT INDUSTRIES (USA)               Priority           Filed 10/28/04                             $0.00         $600,000.00                  $0.00
 052            ATTN: JERRY SEVY ESQ                   Disallowed Per Order Dated 7/7/09 (Docket #3359)
 5200-00        1800 C SARASOTA PARKWAY
                CONYERS, GA 30013

 001548         RONALD FOWLER                        Priority            Filed 11/01/04                            $0.00               $0.00                  $0.00
 052            7808 TWIN LAKES ROAD                   Disallowed per order 3-8-11
 5200-00        KEYSTONE HEIGHTS, FL 32656

 001618-A       OMNIGEN                     Priority            Filed 10/29/04                                     $0.00           $3,483.15                  $0.00
 052            1740 W.KATELLA AVENUE STE G   Disallowed per order 6-22-09
 5200-00        ORANGE, CA 92867

 001619-B       OMNIGEN                              Priority            Filed 10/29/04                            $0.00             $559.17                  $0.00
 052            1740 W.KATELLA AVENUE                  Disallowed per order 6-22-09
 5200-00        STE G
                ORANGE, CA 92867




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                 Scheduled               Claimed             Allowed
 002080-A       PACIFIC SOUTH MEDICAL GROUP Priority            Filed 01/15/08                                     $0.00           $6,282.77                  $0.00
 052            5211 E WASHINGTON BLVD        Reclassified per Order dated 03/08/2011 (Dkt #3885)
 5200-00        LOS ANGELES, CA 90040

 002184-B       WILLIAM WU CHIROPRACTIC              Priority           Filed 02/05/08                             $0.00         $500,000.00                  $0.00
 052            1666 GARNET AVENUE                     Disallowed per Order dated 1/12/10 (Docket No. 3721)
 5200-00        PMB 220
                SAN DIEGO, CA 92109

 002232-B       MALIBU BILLING SERVICESINC           Priority            Filed 02/27/08                            $0.00           $8,012.75                  $0.00
 052            23852 PACIFIC COAST HIGHWAY            Reclassified per Order dated 03/08/2011 (Dkt #3888)
 5200-00        MALIBU, CA 90265

 002233-A       STAR SKY PT                          Priority            Filed 02/27/08                            $0.00           $5,144.60                  $0.00
 052            23852 PACIFIC COAST HWY 310            Reclassified per Order dated 03/08/2011 (Dkt #3889)
 5200-00        MALIBU, CA 90265

 002234-B       ATAMIAN CHIROPRACTIC                 Priority            Filed 02/27/08                            $0.00           $2,515.10                  $0.00
 052            23852 PACIFIC COAST HWY                Reclassified per Order dated 03/08/2011 (Dkt #3907)
 5200-00        MALIBU, CA 90265

 002235-A       ORTHOPEDIC MEDICAL GROUP             Priority            Filed 02/27/08                            $0.00           $3,882.29                  $0.00
 052            23852 PACIFIC COAST HWY 310            Reclassified per Order dated 03/08/2011 (Dkt #3892)
 5200-00        MALIBU, CA 90265

 002252-B       KOLLER COATINGS                      Priority            Filed 03/04/08                            $0.00          $51,724.26                  $0.00
 052            CORPORATION                            Reclassified per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002253-A       KOLLER COATINGS                      Priority          Filed 03/04/08                              $0.00          $51,724.26                  $0.00
 052            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002254-B       KOLLER COATINGS                      Priority          Filed 03/04/08                              $0.00          $51,724.26                  $0.00
 052            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAY 2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002255-A       KOLLER COATINGS                      Priority          Filed 03/04/08                              $0.00          $51,724.26                  $0.00
 052            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002256-B       KOLLER COATINGS                      Priority          Filed 03/04/08                              $0.00          $51,724.26                  $0.00
 052            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663




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  Case Number: 04-22316RG                                                     Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class     Notes                                 Scheduled               Claimed             Allowed
 002257-A       KOLLER COATINGS                          Priority          Filed 03/04/08                              $0.00          $51,724.26                  $0.00
 052            CORPORATION                                Expunged per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAY
                NEWPORT BEACH, CA 92663

 002258-B       KOLLER COATINGS                          Priority          Filed 03/04/08                              $0.00          $51,724.26                  $0.00
 052            CORPORATION                                Expunged per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAYS2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002259-A       KOLLER COATINGS             Priority          Filed 03/04/08                                           $0.00          $51,724.26                  $0.00
 052            CORPORATION                   Expunged per Order dated 10/07/2008 (Dkt #2005)
 5200-00        2901 WEST COAST HIGHWAY STE
                200
                NEWPORT BEACH, CA 92663

 002309-A       BRINKWORTH, CHRIS M                      Priority          Filed 03/31/08                              $0.00          $76,710.32                  $0.00
 052            179 FLORY AVE                              Expunged per Order dated 03/14/2011 (Dkt #3941)
 5200-00        MOORPARK, CA 93021

 002310-B       BRINKWORTH CHRIS M                       Priority          Filed 03/31/08                              $0.00          $76,710.32                  $0.00
 052            179 FLORY AVE                              Expunged per Order dated 03/14/2011 (Dkt #3941)
 5200-00        MOORPARK, CA 93021

                             Subtotal for Priority 052                                                                 $0.00       $3,102,847.73                  $0.00
 000001-B       COLIN DOWDS                              Priority            Filed 08/10/04                            $0.00           $4,925.00             $4,925.00
 053            80 SUSAN STREET                            Reclassified per Order Dated 11/25/08 (Docket#2521)
 5300-00        TOMS RIVER, NJ 08753                       (ac)


                                                                                         4437123323        03/25/10     4080            4,422.89
 000002         SCOTT MCCULLOCH                          Priority           Filed 08/10/04                             $0.00           $4,925.00             $1,912.54
 053            226 TIMBER DR                              Reduced Per Order Dated 11/25/08 (Dkt # 2533)
 5300-00        BERKLEY HEIGHTS, NJ 07922

                                                                                         4437123323        03/25/10     4177            1,717.55
 000016-A       TAMMY J. KROUSE                          Priority            Filed 08/16/04                            $0.00          $22,733.67             $4,925.00
 053            1512 WATERSIDE DR. N                       Reclassified Per Order Dated 11/25/08 (Dkt # 2534)
 5300-00        CHESAPEAKE, VA 23320

                                                                                         4437123323        03/25/10     4149            4,509.74
 000021-B       MARCY L TSCHIDA                          Priority          Filed 08/11/04                            $0.00             $2,760.00               $960.00
 053            5127 PRAIRIE GRASS LN                      Reduced & Reclassified per Order Dated 10/7/08 (Docket #1993)
 5300-00        COLORADO SPRINGS, CO 80922                 (ca)


                                                                                         4437123323        03/25/10     4310              886.56
 000022-A       JERRI T WISE                             Priority           Filed 08/11/04                            $0.00            $3,530.76             $1,730.76
 053            882 CRYSTAL WATER COURT                    Reduced and Reclassified Per Order Dated 10/27/08 (Docket # 2201)
 5300-00        LAWRENCEVILLE, GA 30045

                                                                                         4437123323        03/25/10     4336            1,598.35




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                               Scheduled                Claimed             Allowed
 000046         KAREN C PERIERA                      Priority            Filed 08/24/04                            $0.00           $4,337.60             $4,337.60
 053            1284 WHITE ST
 5300-00        HILLSIDE, NJ 07205

                                                                                      4437123323        03/25/10   4215             3,895.39
 000049         MOZO, AMANDA                         Priority             Filed 08/16/04                           $0.00           $2,000.00             $2,000.00
 053            4736 32nd ST #D                        Paid to Registry 5-17-12 $1,825.00 less taxes
 5300-00        SAN DIEGO, CA 92116

 000050         TRACEY ALBANKIS                      Priority           Filed 08/10/04                             $0.00           $5,964.00                  $0.00
 053            146 W 9TH ST                           Disallowed per Order Dated 11/25/08 (Docket #2525)
 5300-00        ROSELLE, NJ 07203                      Amended by Claim #1899


 000060         VIQUES, ANA ROSA                     Priority           Filed 10/06/04                             $0.00             $104.42                  $0.00
 053            155 BROADWAY STREET                    Disallowed per Order Dated 10/21/08 (Docket #2121)
 5300-00        ELIZABETH, NJ 07206

 000066-A       SAM, RIJU                            Priority           Filed 10/06/04                             $0.00             $200.00                  $0.00
 053            248-23, 89th AVE                       Disallowed Per Order Dated 12/2/08 (Dkt # 2588)
 5300-00        BELLEROSE, NY 11426

 000069-A       WILLIAMS, DEIDRA                     Priority            Filed 10/06/04                            $0.00             $300.00                  $0.00
 053            4876 APPLESTONE                        Reclassified per Order Dated 11/25/08 (Docket #2516)
 5300-00        MEMPHIS, TN 38109

 000071-A       VERGARA, ROSA                        Priority            Filed 10/07/04                            $0.00             $272.33                  $0.00
 053            POST OFFICE BOX 86                     Reclassified Per Order Dated 12/2/08 (Dkt # 2594)
 5300-00        STANHOPE, NJ 07874

 000073         PANUSKY, PAUL                        Priority           Filed 09/30/04                             $0.00           $1,400.00                  $0.00
 053            249 S. KEYSER AVE. #R                  Disallowed Per Order Dated 12/9/08 (Dkt #2652)
 5300-00        OLD FORGE, PA 18518-1150               (ca)


 000076-A       AGUILAR, MAURILIO                    Priority             Filed 10/05/04                          $0.00               $95.77                $95.77
 053            530 NORTH STREET                       Reduced and Reclassified Per Order Dated 8/25/08 ( Dkt # 1632 )
 5300-00        MIDDLETOWN, NY 10940                   Paid to Registry 5-17-12 $87.96 less taxes


 000077-B       RODRIGUEZ, GILBERTO                  Priority             Filed 05/26/04                           $0.00             $741.10               $746.10
 053            1616 1/2 E San Vicente St              (82-1) Claim sent to claims agent
 5300-00        Compton, CA 90221                      allowed per order 8-13-08


                                                                                      4437123323        03/25/10   4251               680.81
 000079         RAMOS JR, FELIX                      Priority            Filed 10/05/04                            $0.00             $830.00               $830.00
 053            4 FROGTOWN ROAD
 5300-00        PEQUEA, PA 17545

                                                                                      4437123323        03/25/10   4236               740.36
 000084-B       CLINTON, V. NANCY                    Priority           Filed 10/05/04                             $0.00              $66.00                  $0.00
 053            1915 ALFA DRIVE                        Disallowed Per Order Dated 9/9/08 (Dkt # 1702)
 5300-00        LANCASTER, PA 17601




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled               Claimed             Allowed
 000091-A       TURLEY, JEROME                       Priority            Filed 10/05/04                            $0.00           $2,500.00                  $0.00
 053            4389 39TH ST. #7                       Reclassified Per Order Dated 11/25/08 (Docket #2515)
 5300-00        SAN DIEGO, CA 92105

 000092         THOMAS, DERRICK                      Priority           Filed 10/04/04                             $0.00           $1,050.00             $1,050.00
 053            1961 NEPTUNE DR                        Allowed per Order Dated 11/25/08 (Docket #2510)
 5300-00        AUGUSTA, GA 30906                      (ac)


                                                                                      4437123323      03/25/10      4303              969.67
 000099-B       BRIONES, MARLENE                     Priority           Filed 10/04/04                             $0.00             $200.00                  $0.00
 053            21 AMITY ST                            Disallowed Per Order Dated 9/23/08 (Dkt # 1880)
 5300-00        ELIZABETH, NJ 07202

 000104-A       URIBE, ORLANDO                       Priority             Filed 10/04/04                           $0.00             $246.15               $246.15
 053            24969 WALNUT ST.#106                   Paid to Registry 5-17-12 $224.56 less taxes
 5300-00        NEWHALL, CA 91321

 000110         RODRIGUEZ ESPINAL, JOSE J            Priority           Filed 10/01/04                             $0.00           $3,517.03                  $0.00
 053            35-61 92ND STREET                      Disallowed Per Order Dated 11/25/08 (Docket #2528)
 5300-00        APARTMENT 2G
                JACKSON HEIGHTS, NY 11372

 000111         ROBIN HARRISON             Priority           Filed 10/01/04                                       $0.00           $2,338.41                  $0.00
 053            9203 ESTACIA STREET          Disallowed per Order Dated 11/12/08 (Docket #2359)
 5300-00        RANCHO CUCAMONGA, CA 91730

 000112-A       PABRINKIS LYNNE                      Priority            Filed 10/01/04                            $0.00             $832.00                  $0.00
 053            58 MARLBANK DRIVE                      Reclassified Per Order Dated 11/25/08 (Dkt #2530)
 5300-00        ROCHESTER, NY 14612

 000115-A       HARDY, CHARLIE                       Priority            Filed 10/01/04                            $0.00             $420.00                  $0.00
 053            195W. MARKET ST #4F                    Reclassified per Order Dated 9/23/08 (Docket #1889)
 5300-00        NEWARK, NJ 07103

 000116         PATEL, SANDEEP                       Priority           Filed 09/29/04                             $0.00           $2,510.00                  $0.00
 053            789 WEST SIDE AVENUE                   Disallowed Per Order Dated 11/3/08 (Dkt # 2281)
 5300-00        JERSEY CITY, NJ 07306

 000119-B       DE LA CRUZ, ERIN                     Priority           Filed 09/29/04                             $0.00           $4,719.69                  $0.00
 053            185 OLD TURNPIKE ROAD                  Disallowed per Order Dated 10/7/08 (Docket #2001)
 5300-00        PORT MURRAY, NJ 07865

 000125         TORRES, CARMEN E                     Priority            Filed 09/28/04                            $0.00             $258.84               $258.84
 053            407 EAST NEW STREET
 5300-00        MOUNTVILLE, PA 17554

                                                                                      4437123323      03/25/10      4308              230.88
 000126-A       BLOEM, RANDALL                       Priority            Filed 09/27/04                            $0.00             $660.00                  $0.00
 053            251 SIMMELL ROAD                       Reclassified per Order Dated 11-12-08
 5300-00        CLARKS SUMMIT, PA 18411

 000129-B       MERRILYN H GALANTE                   Priority          Filed 09/21/04                            $0.00             $3,162.81             $3,162.81
 053            3999 OLD TOWN AVE D#1                  Reduced & Reclassified per Order Dated 9/18/08 (Docket #1778)
 5300-00        SAN DIEGO, CA 92110



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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                 Scheduled               Claimed             Allowed


                                                                                     4437123323       03/25/10      4100            2,885.61
 000133-A       PATRICIA L JARRETT                   Priority            Filed 09/27/04                            $0.00           $4,965.85             $2,888.89
 053            608 SE SHILOH DR                       Reclassified Per Order Dated 11/25/08 (Dkt # 2529)
 5300-00        LEES SUMMET, MO 64063

                                                                                     4437123323       03/25/10      4138            2,667.89
 000135-B       BRIONES, MARLENE                     Priority           Filed 10/04/04                             $0.00             $200.00                  $0.00
 053            21 AMITY ST                            Disallowed Per Order Dated 9/23/08 (Dkt # 1880)
 5300-00        ELIZABETH, NJ 07202

 000136         SCUDIERI SR, RAYMOND J               Priority            Filed 10/04/04                            $0.00               $0.00             $1,766.50
 053            120 ORCHARD ROAD                       Allowed per order 11-30-09
 5300-00        SIDE DOOR
                MAPLEWOOD, NJ 07040
                                                                                     4437123323       03/25/10      4274            1,586.41
 000137-A       CASWELL JR, HARRY                    Priority           Filed 10/04/04                             $0.00             $178.34                  $0.00
 053            621 R ALDER STREET                     Disallowed Per Order dated 4/21/09 (Docket #3168)
 5300-00        SCRANTON, PA 18505

 000139         WOJCIECHOWSKI, WILLIAM J             Priority           Filed 09/27/04                             $0.00             $144.00                  $0.00
 053            983 MOESSNER AVENUE                    Disallowed Per Order Dated 11/25/08 (Dkt # 2518)
 5300-00        UNION, NJ 07083

 000143         LEWEY, GREGG                         Priority           Filed 10/04/04                             $0.00             $320.00                  $0.00
 053            16444 GERMAIN STREET                   Disallowed Per Order Dated 11/25/08 (Docket #2526)
 5300-00        GRANADA HILLS, CA 91344

 000145-C       CORONADO, ELSA P.                    Priority             Filed 10/04/04                           $0.00               $0.00               $327.76
 053            4114 CAMINO DEL PLAZA #25              Reclassified per Order Dated 9/16/08 (Docket #1779)
 5300-00        SAN YSIDROS, CA 92173                  Paid to Registry 5-17-12 $299.08 less taxes


 000150-A       AGUILA RAM, ROBERTO                  Priority            Filed 10/05/04                            $0.00           $1,080.00                  $0.00
 053            457 S CHATERTON AVENUE                 Reclassified Per Order Dated 11/12/08 (Dkt # 2381)
 5300-00        LA PUENTA, CA 91744

 000151         YOUNG, BARBARA                       Priority            Filed 10/08/04                            $0.00               $0.00                  $0.00
 053            804 W ALLEGHENY AVE                    Disallowed per order 10-21-08
 5300-00        PHILADELPHIA, PA 19133

 000152         GATTIS, CRYSTAL                      Priority            Filed 10/05/04                            $0.00               $0.00                  $0.00
 053            4220 6TH ST                            Disallowed per order 11-18-08
 5300-00        BALTIMORE, MD 21220

 000157-B       RUVALCABA, JOSE                      Priority           Filed 10/05/04                             $0.00             $500.00                  $0.00
 053            1725 BON AIR                           Disallowed Per Order Dated 10/21/08 (Docket #2135)
 5300-00        STOCKTON, CA 95210

 000162         FICHTNER, LAURIE R                   Priority           Filed 10/04/04                             $0.00             $481.36               $481.36
 053            1313 FRONT STREET
 5300-00        LITITZ, PA 17543

                                                                                     4437123323       03/25/10      4094              429.37




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                 Scheduled                Claimed             Allowed
 000164         WILLIAMS, DENISE                     Priority            Filed 10/04/04                              $0.00               $0.00                  $0.00
 053            427 E. WASHINGTON LANE                 Disallowed per order 12-22-08
 5300-00        #102                                   (ca)
                PHILADELPHIA, PA 19144

 000165         CAPALDO, MICHELE                     Priority            Filed 10/04/04                              $0.00           $1,600.00             $1,600.00
 053            566 GENESEE AVENUE
 5300-00        STATEN ISLAND, NY 10312

                                                                                      4437123323          03/25/10   4044             1,469.60
 000166-A       CHAROWSKY, RICHARD M                 Priority           Filed 09/30/04                               $0.00           $5,000.00                  $0.00
 053            512 SOUTH MILL STREET                  Disallowed Per Order Dated 11/3/08 (Dkt # 2308)
 5300-00        SAINT CLAIR, PA 17970

 000167         JEFFREY L FIELDS                     Priority           Filed 09/30/04                               $0.00           $2,400.00                  $0.00
 053            35 S FRANKLIN ST                       Disallowed Per Order Dated 11/18/08 (Docket #2420)
 5300-00        WILKES-BARRE, PA 18701

 000168         WHITE, VALERY                        Priority            Filed 09/30/04                              $0.00               $0.00                  $0.00
 053            3557 S HANNON                          Disallowed per order 11-25-08
 5300-00        BALTIMORE, MD 21213

 000169-B       CERRA JR., WILLIAM J.                Priority            Filed 09/29/04                              $0.00               $0.00               $580.00
 053            400 BEDFORD ST, APT 507                Reclassified Per Order Dated 10/3/08 (Dkt # 169)
 5300-00        CLARKS SUMMIT, PA 18411                (ca)


                                                                                      4437123323          03/25/10   4050               517.36
 000172-A       COGDELL, DARYLL                      Priority            Filed 09/29/04                              $0.00              $40.00                  $0.00
 053            510 BROAD ST                           Reclassified per Order Dated 11/12/08 (Docket #2363)
 5300-00        NEWARK, NJ 07102

 000185-B       SERRANO, CLARIBEL                    Priority             Filed 10/08/04                             $0.00               $0.00               $243.40
 053            3502 N PHILIP ST                       Reclassified per Order Dated 11/12/08 (Docket #2362)
 5300-00        PHILADELPHIA PA 19140                  Paid to Registry 5-17-12 $217.12 less taxes


 000186         FORD, OLIVER                         Priority             Filed 10/08/04                             $0.00           $1,275.00             $1,275.00
 053            3532 LARKIN ROAD                       Paid to Registry 5-17-12 $1,177.46 less taxes
 5300-00        DEARING, GA 30808

 000187         RUIZ, MARIA                          Priority             Filed 10/08/04                             $0.00             $309.00               $309.00
 053            400 RIVER DRIVE, APT 2L                Paid to Registry $277.49 less taxes
 5300-00        PASSAIC, NJ 07055

 000189-B       MARTINEZ, JOSE                       Priority             Filed 10/08/04                             $0.00             $220.12               $220.12
 053            12530 ROSCOE BLVD.                     Reclassified Per Order Dated 10/7/08 (Docket #2002)
 5300-00        APT. #11                               Paid to Registry 5-17-12 $200.86 less taxes
                SUN VALLEY, CA 91352

 000194         BARRON, MATILDE                      Priority            Filed 10/06/04                              $0.00             $398.68               $398.68
 053            202 WOODLAWN
 5300-00        AURORA, IL 60505

                                                                                      4437123323          03/25/10   4028               356.22



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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled               Claimed             Allowed
 000195         BOYD JR, PAUL L                      Priority             Filed 10/06/04                           $0.00             $211.59               $211.59
 053            12 STRASBURG PIKE APT E                Paid to Registry 5-17-12 $188.73 less taxes
 5300-00        LANCASTER, PA 17602

 000196-B       PEREZ, EPIGMENIO                     Priority            Filed 10/06/04                            $0.00               $0.00               $684.00
 053            1496 MARGUERITE AVENUE                 Reclassified per Order Dated 11/3/08 (Docket #2307)
 5300-00        CORNING, CA 96021

                                                                                      4437123323      03/25/10      4217              624.15
 000197-B       LOZANO, DAMARI                       Priority             Filed 10/06/04                           $0.00               $0.00               $216.83
 053            107 WEST KING STREET                   Reclassified Per Order Dated 4/22/09 (Docket #3198)
 5300-00        LANCASTER, PA 17603                    Paid to Registry 5-17-12 $193.42 less taxes


 000203         CALDERON, DEBBIE                     Priority            Filed 10/08/04                            $0.00               $0.00                  $0.00
 053            307 ELIZABETH AVE                      Disallowed per order 3-10-09
 5300-00        ELIZABETH, NJ 07206

 000208-C       SANDERS, LAMONT                      Priority           Filed 10/08/04                             $0.00             $384.00                  $0.00
 053            1310 E. 32ND STREET                    Disallowed Per Order dated 4/21/09 (Docket #3171)
 5300-00        SAVANNAH, GA 31404

 000209         DAVIS, SHARICA                       Priority            Filed 10/06/04                            $0.00               $0.00                  $0.00
 053            1861 BENNING                           Disallowed per order 3-10-09
 5300-00        MEMPHIS, TN 38106

 000210-A       KELLOUGH, REGINALD                   Priority           Filed 10/06/04                             $0.00           $2,500.00                  $0.00
 053            4389 39TH ST. #7                       Disallowed per Order dated 1/12/10 (Docket No. 3716)
 5300-00        SAN DIEGO, CA 92105

 000214-B       GEIGER, LEO V                        Priority           Filed 10/06/04                             $0.00             $720.00                  $0.00
 053            204 FAIRFAX DRIVE                      Disallowed Per Order Dated 4/22/09 (Docket #3173)
 5300-00        LANCASTER, PA 17603

 000218         YOUNG, YOLANDA                       Priority            Filed 10/11/04                            $0.00               $0.00                  $0.00
 053            739 GARLAND ST                         Disallowed per order 9-16-08
 5300-00        PHILADELPHIA, PA 19124                 (ca)


 000219-B       ALEXANDER, GABRIEL                   Priority           Filed 10/07/04                             $0.00             $800.00                  $0.00
 053            3557 SHANNON DR                        Disallowed per Order Dated 8/18/08 (Docket #1573)
 5300-00        BALTIMORE, MD 21213

 000220         CALDERON, HAROLD                     Priority            Filed 10/07/04                            $0.00               $0.00                  $0.00
 053            307 ELIZABETH AVENUE                   Disallowed per order 3-10-09
 5300-00        ELIZABETH, NJ 07206

 000221         GARCIA, MARILYN                      Priority            Filed 10/07/04                            $0.00               $0.00                  $0.00
 053            554A. E. JERSEY ST.                    Disallowed per order 4-7-09
 5300-00        ELIZABETHPORT, NJ 07206

 000223-B       JESSICA M ZAYAS                      Priority           Filed 10/04/04                            $0.00            $1,855.52             $1,855.52
 053            126 MADISON AVE                        Reduced and Reclassified Per Order Dated 4/22/09 (Docket #3175)
 5300-00        PERTH AMBOY, NJ 08861

                                                                                      4437123323      03/25/10      4339            1,666.35



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 Code #           Creditor Name & Address              Claim Class      Notes                              Scheduled                 Claimed              Allowed
 000230-B       SKELTON, RICHARD                     Priority           Filed 10/04/04                           $0.00             $1,118.26                   $0.00
 053            1936 SR 16 WEST                        Disallowed Per Order Dated 5/20/09 (Docket# 3264)
 5300-00        GREEN COVE SPRINGS, FL 32043

 000233         SANCHEZ, AMERICA                     Priority           Filed 10/04/04                           $0.00               $107.03                   $0.00
 053            127 FRENCH ST.                         Disallowed per Order Dated 12/9/08 (Docket #2656)
 5300-00        NEW BRUNSWICK, NJ 08901

 000234         RODRIGUEZ, ESPERANZA                 Priority             Filed 10/04/04                         $0.00               $452.12                $452.12
 053            10380 VERNON AVENUE                    Paid to Registry 5-17-12 $412.56 less taxes
 5300-00        APARTMENT #2
                MONTCLAIR, CA 91763

 000237-B       BONHAM, BRIAN                        Priority           Filed 09/30/04                           $0.00               $271.12                   $0.00
 053            2625 S WEST ST #72                     Disallowed per Order Dated 11/18/08 (Dkt #2418)
 5300-00        WICHITA, KS 67217

 000240         SALVATIERRA, SALVADOR JR.            Priority            Filed 10/12/04                          $0.00                 $0.00                   $0.00
 053            715 3RD ST.                            Disallowed per order 3-10-09
 5300-00        SAN FERNANDO, CA 91340

 000248         SHENEBERGER, GARRY                   Priority            Filed 10/12/04                          $0.00               $494.00                $494.00
 053            218 SOUTH THIRD STREET
 5300-00        COLUMBIA, PA 17512

                                                                                      4437123323     03/25/10     4280                440.64
 000251-A       PHILLIPS, JUSTIN                     Priority            Filed 10/12/04                          $0.00               $225.00                   $0.00
 053            4425 RODNEY                            Reclassified and Allowed Per Order Dated 10/21/08 (Docket#2102)
 5300-00        MEMPHIS, TN 38116

 000262         FOK, HENRY                           Priority           Filed 10/12/04                           $0.00               $917.96                   $0.00
 053            5515 SPRINGHOUSE DRIVE                 Disallowed Per Order Dated 12/22/08 (Docket # 2740)
 5300-00        #34
                PLEASONTON, CA 94588

 000264         A AND F TRAILER MFG INC              Priority           Filed 10/12/04                           $0.00               $618.73                   $0.00
 053            1155 BELLS FERRY ROAD                  Disallowed Per Order Dated 7/7/09 (Docket # 3363)
 5300-00        MARIETTA, GA 30066

 000266-B       SANGHAVI, KRISHANG                   Priority           Filed 10/12/04                           $0.00                $648.60                  $0.00
 053            76 JEFFERSON STREET                    Disallowed Per Order Dated 9/16/08 (Docket #1794) and 10/14/08 (Docket # 2051)
 5300-00        METUCHEN, NJ 08840

 000270         MARTINEZ, SALVADOR                   Priority           Filed 10/08/04                           $0.00             $5,280.00                   $0.00
 053            1310 JEFFERSON ST                      Disallowed per Order Dated 8/26/08 (Docket #1650)
 5300-00        CALEXICO, CA 92231

 000272         JIMENEZ, ANA ROSA                    Priority            Filed 10/12/04                          $0.00               $272.66                $272.66
 053            909 MAIN STREET
 5300-00        PATERSON, NJ 07503

                                                                                      4437123323     03/25/10     4140                244.87
 000288         BALL, ROLANDO                        Priority            Filed 10/12/04                          $0.00               $852.13                $852.13
 053            59 WEST RED FOX CT
 5300-00        MIDWAY, GA 31320




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 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled                   Claimed             Allowed


                                                                                      4437123323      03/25/10      4026                  786.94
 000296-C       CECILIA DE LA ROSA                   Priority           Filed 10/12/04                            $0.00                  $159.83               $159.83
 053            2003 NEW YORK AVE.                     Reduced and Reclassified per Order Dated 10/21/08 (Docket #2096) (ac)
 5300-00        APT. 1B
                UNION CITY, NJ 07087
                                                                                      4437123323      03/25/10      4071                  143.53
 000315-B       SHEIN, U                             Priority           Filed 10/12/04                             $0.00               $1,500.00                  $0.00
 053            3245 EAST CALLE BAJA                   Disallowed Per Order Dated 9/23/08 (Dkt # 1886)
 5300-00        AVENUE
                WEST COVINA, CA 91792

 000337-B       PEREZ, MARIA                         Priority             Filed 10/18/04                           $0.00                   $0.00               $256.00
 053            443 S. 4TH                             Reclassified Per Order Dated 4/22/09 (Docket #3187)
 5300-00        KANKAKEE, IL 60901                     Paid to Registry 5-17-12 $228..74 less taxes


 000339         WASHINGTON, GARRY                    Priority           Filed 10/18/04                             $0.00               $1,620.00                  $0.00
 053            6604 ENGLISH OAKS RD                   Disallowed per Order Dated 10/27/08 (Docket #2190)
 5300-00        APT B
                PARKVILLE, MD 21234

 000341         ROSA, REINALDO                       Priority             Filed 10/18/04                           $0.00                 $198.00               $198.00
 053            713 WEST GORDON STREET                 Paid to Registry 5-17-12 $176.61 less taxes
 5300-00        ALLENTOWN, PA 18102

 000343-B       MILLS, AUDLEY D                      Priority             Filed 10/18/04                         $0.00                 $1,205.10               $801.57
 053            14604 KINDERHOOK TERRACE               Reduce and Reclassify per Order Dated 9/9/08 (Docket #1704)
 5300-00        BURTONSVILLE, MD 20866                 Paid to Registry 5-17-12 $740.25 less taxes


 000344         MARTINEZ, JENRY                      Priority             Filed 10/15/04                           $0.00                 $432.72               $432.72
 053            335 SOUTH PRINCE STREET                Paid to Registry 5-17-12 $385.99 less taxes
 5300-00        APARTMENT 3
                LANCASTER, PA 17603

 000345         LORES, EMMA                          Priority             Filed 10/15/04                           $0.00                 $412.72               $412.72
 053            335 SOUTH PRINCE STREET                Paid to Registry 5-17-12 $368.15 less taxes
 5300-00        APARTMENT 3
                LANCASTER, PA 17603

 000346-A       MATTHEWS, RACHEL                     Priority          Filed 10/15/04                            $0.00                 $2,428.80                  $0.00
 053            18 MASSA LANE                          Reduced & Reclassified per Order Dated 9/9/08 (Docket #1719)
 5300-00        APARTMENT C7
                EDGEWATER, NJ 07020

 000347-B       MORALES, LILIA LORENA                Priority             Filed 10/18/04                           $0.00                 $221.36               $221.36
 053            933 SUPERIOR ST                        Reclassified Per Order Dated 9/9/08 (Docket #1717)
 5300-00        AURORA, IL 60505                       Paid to Registry 5-17-12 $197.79 less taxes


 000350         HUERECA, HUGO                        Priority            Filed 10/18/04                            $0.00                 $404.70               $404.70
 053            15018 GREVILLEA STREET
 5300-00        LAWNDALE, CA 90260



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 Code #           Creditor Name & Address              Claim Class      Notes                                  Scheduled                Claimed             Allowed


                                                                                      4437123323           03/25/10   4135               369.29
 000351         CHAPMAN, DARRYL                      Priority           Filed 10/18/04                                $0.00           $1,220.00                  $0.00
 053            471 EDGEWOOD                           Disallowed per Order Dated 12/1/08 (Docket #2605)
 5300-00        AKRON, OH 44307

 000354         LOPEZ, ASTRID                        Priority             Filed 10/15/04                              $0.00           $1,020.90             $1,020.90
 053            4760 N WEST 24 COURT                   Paid to Registry 5-17-12 $942.80 less taxes
 5300-00        APARTMENT B 216
                LAUDERDALE LAJES, FL 33313

 000358         NEWSON, SIDNEY                       Priority           Filed 10/18/04                                $0.00               $4.16                  $0.00
 053            793 NANCY LANE                         Disallowed Per Order Dated 8/18/08 (Dkt # 1582)
 5300-00        LANCASTER, PA 17602

 000360         KNELLER, SHERRY ANN                  Priority            Filed 10/18/04                               $0.00             $372.71               $372.71
 053            138 HOWARD STREET
 5300-00        OLD FORGE, PA 18518

                                                                                      4437123323           03/25/10   4147               332.46
 000361-B       GAMBOA, LIZ YADIRA                   Priority             Filed 10/18/04                              $0.00               $0.00               $221.36
 053            933 SUPERIOR                           Reclassified per order dated 9/16/08 (Dkt # 1801)
 5300-00        AURORA, IL 60505                       Paid to Registry 5-17-12 $197.79 less taxes


 000362-B       MORALES, IRMA                        Priority             Filed 10/18/04                              $0.00               $0.00               $221.36
 053            933 SUPERIOR                           Reclassified Per Order Dated 10/21/08 (Docket #2109)
 5300-00        AURORA, IL 60505                       Paid to Registry 5-17-12 $197.79 less taxes


 000367         GONZALEZ, GISELA                     Priority           Filed 10/13/04                                $0.00             $516.16                  $0.00
 053            7 UNION HILL LINE                      Disallowed Per Order Dated 12/22/08 (Docket # 2743)
 5300-00        CARSON, CA 90745                       (ca)


 000368         POBLANO, RICARDO                     Priority             Filed 10/18/04                              $0.00               $0.00               $444.16
 053            4112 E FIGUEROA ST                     Allowed per order 11-30-09
 5300-00        APT #1                                 Paid to Registry 5-17-12 $405.29 less taxes
                LOS ANGELES, CA 90037

 000369         JEFFRIES, MARY                       Priority            Filed 10/18/04                               $0.00           $1,048.14             $1,048.14
 053            PO BOX 1028                            (ac)
 5300-00        MEMPHIS, TN 38101

                                                                                      4437123323           03/25/10   4139               967.96
 000370         PATEL, SHIVENDRA                     Priority            Filed 10/15/04                               $0.00               $0.00                  $0.00
 053            145 W LAFAYETTE RD                     Disallowed per order 3-10-09
 5300-00        APT 6
                MEDINA, OH 44256

 000373         CORTES, JUAN                         Priority             Filed 10/18/04                              $0.00             $676.43               $676.43
 053            2914 E ST.                             Paid to Registry 5-17-12 $617.24 less taxes
 5300-00        SAN DIEGO, CA 92102




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                              Scheduled                  Claimed             Allowed
 000374-A       SALAS, MANUEL                        Priority            Filed 10/18/04                          $0.00                $575.00                  $0.00
 053            3734 EAST 52ND STREET                  Reclassified Per Order Dated 12/22/08 (Docket #2766)
 5300-00        APARTMENT #B
                MAYWOOD, CA 90270

 000375-A       FERREIRA, SILVIA                     Priority           Filed 10/18/04                            $0.00               $688.00               $438.96
 053            233 FAIRVIEW LANE                      Reduced and Reclassified Per Order Dated 7/7/09 (Docket #3357)
 5300-00        SCHERERVILLE, IN 46375

                                                                                      4437123323      03/25/10    4093                 390.46
 000377-B       RODRIGUEZ, AMARIS I                  Priority           Filed 10/18/04                           $0.00                $230.99                  $0.00
 053            35 PARK VIEW DRIVE                     Disallowed Per Order Dated 4/24/09 (Docket #3240)
 5300-00        WILLOW STREET, PA 17584

 000379         CARBAJAL, MARIA                      Priority             Filed 10/18/04                         $0.00                  $0.00               $244.15
 053            4139 DWIGHT AVE                        Allowed per order 11-30-09
 5300-00        RIVERSIDE, CA 92507                    Paid to Registry 5-17-12 $222.78 less taxes


 000382-A       Monica H Lazorchak                   Priority            Filed 06/18/04                           $0.00             $2,313.34             $1,576.95
 053            270 McFarlane Rd. Apt 159              (132-1) Claim sent to claims agent
 5300-00        Colonia , NJ 07067                     Reduced and Reclassified Per Order Dated 10/14/08 (Dkt # 2050)


                                                                                      4437123323      03/25/10    4152               1,416.18
 000384         Mary Evans                           Priority             Filed 05/05/04                         $0.00              $1,128.00             $1,128.00
 053            210 E. Elm Street                      (32-1) Claim sent to claims agent
 5300-00        1st Floor
                Linden, NJ 07036
                                                                                      4437123323      03/25/10    4089               1,013.00
 000385         Helaine Guerino                      Priority             Filed 05/04/04                         $0.00              $5,515.00                  $0.00
 053            12 Trenton Place                       (33-1) Claim sent to claims agent
 5300-00        Newton, NJ 07860                       disallowed per order 12-9-08 (Dkt #2662)


 000386         Denise Armand                        Priority             Filed 05/05/04                         $0.00              $4,087.01                  $0.00
 053            180 Robert Pl.                         (34-1) Claim sent to claims agent
 5300-00        South Plainfield, NJ 07080             disallowed per order 12-2-08 (Dkt #2590)
                                                       amended by claim#1854


 000387-A       Sonia Lopez Simpson                  Priority             Filed 05/06/04                        $0.00                   $0.00             $4,925.00
 053            707 Hory St.                           (36-1) Claim sent to claims agent
 5300-00        Cranford, NJ 07016                     Modified and Allowed per Consent Order Dated 1/6/09 (Docket #2827)


                                                                                      4437123323      03/25/10    4160               4,422.89
 000388         Francisca Nazario                    Priority             Filed 05/06/04                         $0.00                  $0.00                  $0.00
 053            18 Remsen Ave.                         (37-1) Claim sent to claims agent
 5300-00        New Brunswick, NJ 08901                disallowed per order 12-9-08
                                                       amended by claim#1401




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                               Scheduled               Claimed             Allowed
 000389         Melissa Russitano                    Priority             Filed 05/05/04                          $0.00             $120.00               $120.00
 053            18 No. Wickom Dr                       (44-1) Claim sent to claims agent
 5300-00        Westfeild NJ 07090

                                                                                      4437123323       03/25/10    4260              107.77
 000390-A       Vanessa Beneciuk                     Priority             Filed 05/10/04                          $0.00               $0.00             $1,872.00
 053            1511 Winans Ave                        (46-1) Claim sent to claims agent
 5300-00        Linden, NJ 07036                       Reclassified per order 4-22-09 (Docket #3188)


                                                                                      4437123323       03/25/10    4030            1,681.15
 000391         Susan L. Scrudato                    Priority             Filed 05/10/04                          $0.00           $2,537.92             $2,537.92
 053            178 Raab Ave.                          (49-1) Claim sent to claims agent
 5300-00        Bloomfield, NJ 07003

                                                                                      4437123323       03/25/10    4273            2,279.17
 000393-A       Philip Lembo                         Priority             Filed 05/07/04                          $0.00           $4,925.00             $4,925.00
 053            8165 E. Hayden Court                   (52-1) Claim sent to claims agent
 5300-00        Anaheim Hills, CA 92808

                                                                                      4437123323       03/25/10    4153            4,494.06
 000394-A       Jennifer Denmead                     Priority            Filed 06/01/04                           $0.00           $4,925.00             $4,925.00
 053            12753 Indian Trail Rd.                 (118-1) Claim sent to claims agent
 5300-00        Poway, CA 92064

                                                                                      4437123323       03/25/10    4075            4,494.06
 000395-A       Jeffrey Winders                      Priority            Filed 05/27/04                           $0.00           $4,925.00             $4,925.00
 053            370 W. 33rd Ave.                       (119-1) Claim sent to claims agent
 5300-00        Marion,IA 52302

                                                                                      4437123323       03/25/10    4335            4,518.24
 000396-A       Munir A Rizwani                      Priority             Filed 04/29/04                          $0.00           $1,512.00               $887.05
 053            2200 N. Central Road                   (14-1) Claim sent to claims agent
 5300-00        Apt. 15N                               Reduced Per Order Dated 11/12/08 (Dkt # 2358)
                Fort Lee, NJ 07024

                                                                                      4437123323       03/25/10    4245              796.61
 000398         Kris Kamath                          Priority             Filed 04/28/04                          $0.00           $3,714.31                  $0.00
 053            1188 Rahway Avenue                     (16-1) Claim sent to claims agent
 5300-00        Avenel, NJ 07001                       Dissallowed Per Order Dated 12/2/08 (Docket #2587)


 000399-B       ANDREA WEBB                          Priority           Filed 04/27/04                            $0.00          $27,000.00                  $0.00
 053            828 WINDSOR PERRINEVILLE               Reduced and Reclassified per Order Dated 10/21/08 (Docket #2115)
 5300-00        E WINDSOR, NJ 08520

 000400-B       ROSALINA G ANTAO                     Priority           Filed 04/27/04                            $0.00           $5,662.96                  $0.00
 053            422 CHESTNUT ST                        Disallowed per Order Dated 8/18/08 (Docket #1568)
 5300-00        KEARNY, NJ 07032                       Amended by Claim #1853




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled               Claimed             Allowed
 000402         Dulal Pal                            Priority             Filed 04/30/04                           $0.00           $3,391.00             $3,391.00
 053            680 Lakeside Dr                        (21-1) Claim sent to claims agent
 5300-00        Baldwin, NY 11510                      Allowed Per Order Dated 11/3/08 (Dkt # 2284)


                                                                                      4437123323       03/25/10     4208            3,114.63
 000403         Andrew J. Boland                     Priority             Filed 04/30/04                           $0.00           $3,580.82             $3,580.82
 053            111 Bentley Avenue                     (22-1) Claim sent to claims agent
 5300-00        Old Bridge, NJ 08857                   allowed per order 12-2-08 (Docket#2591)


                                                                                      4437123323       03/25/10     4034            3,215.76
 000404         Migdalia Vega                        Priority             Filed 05/04/04                           $0.00           $1,160.00             $1,160.00
 053            2 Calle Arenas                         (25-1) Claim sent to claims agent
 5300-00        Vega Baja, PR 00693-6102               allowed per order 11-25-08 (Dkt#2513)


                                                                                      4437123323       03/25/10     4319            1,067.78
 000413         Xiomara Ceballos                     Priority            Filed 07/30/04                            $0.00           $2,664.00                  $0.00
 053            PO Box 7254                            (163-1) Claim sent to claims agent
 5300-00        North Brunswick, NJ 08902              Disallowed Per Order Dated 11/25/08 (Dkt # 2512)
                                                       (ac)


 000418-A       Anne Rush                            Priority            Filed 06/24/04                            $0.00           $5,304.00             $2,652.00
 053            115 Gales Drive                        (134-1) Claim sent to claims agent
 5300-00        Apt. D4                                Reclassified per Order Dated 12/2/08 (Docket #2601)
                New Providence, NJ 07974

                                                                                      4437123323       03/25/10     4259            2,381.64
 000419         Ricardo Elizondo                     Priority            Filed 06/28/04                            $0.00             $223.08               $223.08
 053            3770 Sunset Lane                       (138-1) Claim sent to claims agent
 5300-00        San Ysidro, CA 92173

                                                                                      4437123323       03/25/10     4083              203.57
 000420         Carolyn Higgerson                    Priority            Filed 07/01/04                            $0.00           $3,173.28             $2,375.57
 053            2223 Del Mar Scenic Parkway            (139-1) Claim sent to claims agent
 5300-00        Del Mar, CA 92014                      Reduced per Order Dated 11/3/08 (Docket #2299)


                                                                                      4437123323       03/25/10     4132            2,167.70
 000422-A       Paul Marion                          Priority            Filed 07/16/04                           $0.00           $29,228.86             $4,625.06
 053            2618 Lloyd Lane                        (145-1) Claim sent to claims agent
 5300-00        Norristown, PA 19403                   Reduced and Reclassified Per Order Dated 12/2/08 (Dkt # 2596)


                                                                                      4437123323       03/25/10     4170            4,125.56
 000423-A       Hernando Soto                        Priority            Filed 07/19/04                            $0.00               $0.00               $426.92
 053            54 Dekart Pl                           (146-1) Claim sent to claims agent
 5300-00        Elizabeth, NJ 07202                    Reclassified Per Order Dated 5/20/09 ( Docket # 3271)
                                                       (ca)


                                                                                      4437123323       03/25/10     4291              383.40



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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled               Claimed             Allowed
 000425-B       MARIBEL FELICIANO                     Priority            Filed 07/21/04                            $0.00               $0.00             $1,260.00
 053            PO BOX 4056                             Reclassified Per Order Dated 5/20/09 (Docket #3265)
 5300-00        SCRANTON, PA 18505                      (ca)


                                                                                       4437123323       03/25/10     4090            1,123.92
 000426         Select Personnel Services             Priority            Filed 07/19/04                            $0.00           $2,230.47                  $0.00
 053            Attn Stephanie Schaefer                 (149-1) Claim sent to claims agent
 5300-00        3820 State Street                       Reclassified Per Order Dated 7/28/09 (Docket #3383)
                Santa Barbara, Ca. 93105
                                                        (ca)


 000427         Lori-Beth Williams                    Priority            Filed 07/23/04                            $0.00               $0.00               $173.29
 053            169 Youngs Ave.                         (150-1) Claim sent to claims agent
 5300-00        Rochester, NY 14606-3845                Allowed per order 11-25-08


                                                                                       4437123323       03/25/10     4333              159.17
 000429-A       Margaret J Hancock                    Priority             Filed 07/27/04                           $0.00           $6,715.86             $4,925.00
 053            1052 Cherbourg Ave E                    (152-1) Claim sent to claims agent
 5300-00        Jacksonville FL 32205                   Reclassified per order 11-3-08 (Docket#2302)


                                                                                       4437123323       03/25/10     4125            4,548.24
 000430         Alan Martinez                         Priority             Filed 05/12/04                           $0.00           $1,646.59                  $0.00
 053            67 Revere Ave                           (55-1) Claim sent to claims agent
 5300-00        Union, NJ 07083-4236                    Disallowed Per Order Dated 12/22/08 (Docket #2733)
                                                        Amended by Claim #591 (ca)


 000432-B       Jesus Colon                           Priority             Filed 05/12/04                           $0.00           $4,925.00             $4,925.00
 053            136 Giles Ave.                          (60-1) Claim sent to claims agent
 5300-00        Middlesex, NJ 08846

                                                                                       4437123323       03/25/10     4056            4,422.89
 000433         Garden State Check Cashing Service,   Priority             Filed 05/17/04                           $0.00           $2,768.38             $2,768.38
 053            Inc.                                    (62-1) Claim sent to claims agent
 5300-00        359 Long Ave.
                Hillside, NJ 07205
                                                                                       4437123323       03/25/10     4108            2,768.38
 000435-A       Thaddeus Kucharyk                     Priority             Filed 05/17/04                           $0.00           $7,100.00             $4,925.00
 053            1 Michael Ct.                           (64-1) Claim sent to claims agent
 5300-00        Pompton Plains, NJ 07444                Reclassified Per Order Dated 12/2/08 (Dkt # 2597)


                                                                                       4437123323       03/25/10     4150            4,422.89
 000437-A       John Sherwood                         Priority             Filed 05/14/04                           $0.00           $1,233.49                  $0.00
 053            Lowenstein Sandler                      (66-1) Claim sent to claims agent
 5300-00        65 Livington Ave.                       Disallowed Per Order Dated 4/22/09 (Docket #3176)
                Roseland NJ 07068




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                              Scheduled                    Claimed             Allowed
 000439-A       Gladys Galarza                       Priority             Filed 05/19/04                          $0.00                  $20.00                $20.00
 053            1316 N. Randolph St.                   (70-1) Claim sent to claims agent
 5300-00        Philadelphia. PA 19122                 Paid to Registry 5-17-12 $17.84 less taxes


 000440         Alfredo Alcala                       Priority             Filed 05/26/04                          $0.00                 $329.79               $329.79
 053            9716 Cedar St                          (110-1) Claim sent to claims agent
 5300-00        Bellflower, CA 90706-6620              allowed per order 8-13-08 (Docket#1531)


                                                                                      4437123323       03/25/10   4007                   300.93
 000441         Rosalino Adame                       Priority            Filed 05/26/04                           $0.00                 $356.37               $356.37
 053            1467 E Elma- #B                        (111-1) Claim sent to claims agent
 5300-00        Ontario, CA 91764                      Allowed Per Order Dated 10/27/08 (Dkt # 2199)


                                                                                      4437123323       03/25/10   4002                   325.19
 000444-A       Carrie Porvaznik                     Priority            Filed 05/27/04                           $0.00               $3,604.00             $2,161.00
 053            103 Crown Ave                          (114-1) Claim sent to claims agent
 5300-00        Scranton, PA 18505-2002                Reduced and Reclassified per Order Dated 12/2/08 (Docket #2582) (ca)


                                                                                      4437123323       03/25/10   4224                 1,927.62
 000447         Kathy A. Custer                      Priority            Filed 06/09/04                           $0.00                 $649.21               $649.21
 053            13 Maplewood Ave.                      (123-1) Claim sent to claims agent
 5300-00        Fairfield, NJ 07004

                                                                                      4437123323       03/25/10   4067                   583.02
 000452         Hipolito Ramirez                     Priority             Filed 05/26/04                          $0.00                 $331.02                  $0.00
 053            1467 E Elma Ct                         (85-1) Claim sent to claims agent
 5300-00        Ontario, CA 91764                      disallowed per order 9-16-08 (Docket#1765)


 000453         Oscar Perez                          Priority             Filed 05/26/04                          $0.00                 $343.67               $343.67
 053            1031 1/2 Pacific Avenue                (86-1) Claim sent to claims agent
 5300-00        Long Beach, CA 90813                   allowed per order 11-3-08 (Dkt#2294)
                                                       Paid to Registry 5-17-12 $313.60 less taxes


 000454         Juan Peralta                         Priority             Filed 05/26/04                          $0.00                 $213.74               $213.74
 053            9973 Central Ave.                      (87-1) Claim sent to claims agent
 5300-00        Montclair, CA 91763-3202               allowed per order 12-2-08 (Docket#2579)


                                                                                      4437123323       03/25/10   4214                   195.04
 000455         Juan Manuel Paz                      Priority             Filed 05/26/04                          $0.00                 $351.00               $351.00
 053            6746 Gage Avenue                       (88-1) Claim sent to claims agent
 5300-00        Bell Gardens, CA 90201                 allowed per order 11-18-08 (Docket#2422)
                                                       Paid to Registry 5-17-12 $320.29 less taxes




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled               Claimed             Allowed
 000456         Alfonso Ortiz                        Priority             Filed 05/26/04                           $0.00             $392.61                  $0.00
 053            2209 E El Segundo, # 7                 (89-1) Claim sent to claims agent
 5300-00        Compton, CA 90222                      disallowed per order 8-13-08 (Docket#1530)


 000457         Alejo Orosco                         Priority             Filed 05/26/04                           $0.00             $232.44               $232.44
 053            12424 Breezewood Dr, Apt 11            (90-1) Claim sent to claims agent
 5300-00        Whittier, CA 90604                     allowed per order 8-13-08 (Docket#1532)


                                                                                      4437123323     03/25/10       4203              212.10
 000458-A       Sergio Orejel                        Priority             Filed 05/26/04                          $0.00              $252.13               $242.13
 053            9222 Dorothy Avenue                    (91-1) Claim sent to claims agent
 5300-00        South Gate, CA 90280                   Reduced and Reclassified per Order Dated 11/3/08 (Docket #2310)


                                                                                      4437123323     03/25/10       4201              220.95
 000459         Jose Orejel                          Priority             Filed 05/26/04                          $0.00              $330.25               $330.25
 053            9222 Dorothy Avenue                    (92-1) Claim sent to claims agent
 5300-00        South Gate, CA 90280                   Reduced and Reclassified per Order Dated 11/3/08 (Docket #2310)


                                                                                      4437123323     03/25/10       4200              301.35
 000460         Martin Mendoza                       Priority             Filed 05/26/04                           $0.00             $246.15               $246.15
 053            15704 Orange Avenue, Apt 142           (93-1) Claim sent to claims agent
 5300-00        Paramount, CA 90723                    allowed per order 11-18-08 (Docket#2410)


                                                                                      4437123323     03/25/10       4181              224.61
 000461-A       Jorge Magana                         Priority             Filed 05/26/04                        $0.00                $664.27               $659.27
 053            1718 E Flora St, # B                   (94-1) Claim sent to claims agent
 5300-00        Ontario, CA 91764                      Modified and Allowed Per Order Dated 11/18/08 (Docket #2407)


                                                                                      4437123323     03/25/10       4167              601.59
 000462         ALberto Luna                         Priority             Filed 05/26/04                           $0.00             $233.40               $233.40
 053            1432 Nocta St, # C                     (95-1) Claim sent to claims agent
 5300-00        Ontario, CA 91764                      allowed per order 8-13-08 (Docket#1528)
                                                       Paid to Registry 5-17-12 $212.98 less taxes


 000463         Mauro Lopez                          Priority             Filed 05/26/04                           $0.00             $508.04               $508.04
 053            3238 Pontiac Ave                       (96-1) Claim sent to claims agent
 5300-00        Riverside, CA 92509                    allowed per order 11-18-08 (Docket#2427)


                                                                                      4437123323     03/25/10       4159              463.58
 000464         Arturo Lopez                         Priority             Filed 05/26/04                           $0.00             $376.35               $376.35
 053            1016 E. Deodar St, Apt. 5              (97-1) Claim sent to claims agent
 5300-00        Ontario, CA 91764                      Allowed per Order Dated 8/13/08 (Docket #1529) (ca)


                                                                                      4437123323     03/25/10       4157              343.42




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled               Claimed             Allowed
 000465         Javier Hernandez                     Priority             Filed 05/26/04                           $0.00             $196.93               $196.93
 053            7622 9th St, Apt B                     (98-1) Claim sent to claims agent
 5300-00        Evena Park, CA 90621                   Reclassified Per Order Dated 8/13/08 (Docket #1522)
                                                       Paid to Registry 5-17-12 $179.69 less taxes


 000466         Daniel Garcia                        Priority             Filed 05/26/04                         $0.00               $453.93               $453.93
 053            417 E 118th St                         (99-1) Claim sent to claims agent
 5300-00        Los Angeles, CA 90061                  allowed per order 8-13-08 and amended order 10-2-08 (Docket#1960)
                                                       Paid to Registry 5-17-12 $414.22 less taxes


 000467         Jose Godinez                         Priority            Filed 05/26/04                            $0.00             $393.78                  $0.00
 053            1900 Campus Ave                        (100-1) Claim sent to claims agent
 5300-00        Ontario, CA 91761                      disallowed per order 11-18-08 (Docket#2416)


 000468         Jose Sanchez Cruz                    Priority             Filed 05/26/04                           $0.00             $376.89               $376.89
 053            7005 Watcher St                        (101-1) Claim sent to claims agent
 5300-00        Commerce, CA 90040                     allowed per order 11-3-08 (Docket#2297)
                                                       Paid to Registry 5-17-12 $343.91 less taxes


 000469         Jose Cruz                            Priority             Filed 05/26/04                           $0.00             $337.11               $337.11
 053            14632 San Jose Ave                     (102-1) Claim sent to claims agent
 5300-00        Paramount, CA 90723                    allowed per order 8-13-08 (Docket#2001)
                                                       Paid to Registry 5-17-12 $307.61 less taxes


 000470         Enrique Colin                        Priority            Filed 05/26/04                            $0.00             $411.47                  $0.00
 053            6840 Bear Ave                          (103-1) Claim sent to claims agent
 5300-00        Bell, CA 90201                         disallowed per order 9-16-08 (Docket#1775)


 000471         Salvador Chavez                      Priority            Filed 05/26/04                            $0.00             $376.81               $376.81
 053            1267 N Marin Avenue                    (104-1) Claim sent to claims agent
 5300-00        Wilmington, CA 90744                   allwed per order 11-18-08 (Dkt#2417)


                                                                                      4437123323      03/25/10      4052              343.85
 000472         Carmelo Cardenas                     Priority             Filed 05/26/04                           $0.00             $345.53               $345.53
 053            8550 Rose St                           (105-1) Claim sent to claims agent
 5300-00        Bell Flower, CA 90706                  allowed per order 8-13-08 (Docket#1535)


                                                                                      4437123323      03/25/10      4046              315.30
 000473         Gabriel Arenivar                     Priority             Filed 05/26/04                           $0.00             $216.95               $216.95
 053            627 W 5th Street                       (106-1) Claim sent to claims agent
 5300-00        Long Beach, CA 90813                   allowed per order 8-13-08 (Docket#1519)


                                                                                      4437123323      03/25/10      4021              197.96




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                             Scheduled                   Claimed             Allowed
 000474         Jose Aranda                          Priority             Filed 05/26/04                          $0.00               $434.81               $434.81
 053            6746 Gage Avenue                       (107-1) Claim sent to claims agent
 5300-00        Bell Gardens, CA 90201                 allowed per order 11-18-08 (Docket#2411)
                                                       Paid to Registry $396.77 less taxes


 000475         Andres Aranda                        Priority             Filed 05/26/04                          $0.00               $713.74               $713.74
 053            6746 Gage Ave                          (108-1) Claim sent to claims agent
 5300-00        Bell Gardens, CA 90201                 allowed per order 8-13-08 (Docket#1520)
                                                       Paid to Registry 5-17-12 $651.29 less taxes


 000478-A       Robert Seaman                        Priority            Filed 08/09/04                           $0.00            $14,961.74             $2,856.74
 053            P.O. Box 2107                          (183-1) Claim sent to claims agent
 5300-00        Pocono Summit, PA 18346                Reduced and Reclassified Per Order Dated 12/2/08 (Dkt # 2603)


                                                                                      4437123323      03/25/10    4275               2,548.21
 000493         Genaro Gonzalez Aparicia             Priority            Filed 05/26/04                           $0.00               $453.93               $453.93
 053            625 N Island                           (109-1) Claim sent to claims agent
 5300-00        Wilmington, CA 90745                   allowed per order 11-18-08 (Docket#2413)


                                                                                      4437123323      03/25/10    4116                 414.22
 000494         JIMENEZ, JORGE                       Priority             Filed 05/24/04                          $0.00             $3,446.16                  $0.00
 053            620 N Church Ave.                      (73-1) Claim sent to claims agent
 5300-00        Rialto, CA 92376                       disallowed per order 11-18-08 (Docket#2426)


 000495         Eucario Velasquez                    Priority             Filed 05/26/04                          $0.00               $573.25                  $0.00
 053            4200 Sunnyview Rd.                     (75-1) Claim sent to claims agent
 5300-00        NE Apt. 224                            disallowed per order 9-16-08 (ac)
                Salem, OR 97305-2576

 000496         Jose Vargas                          Priority             Filed 05/26/04                          $0.00               $639.94               $639.94
 053            10740 Fracar                           (76-1) Claim sent to claims agent
 5300-00        Lynwood, CA 90262                      allowed per order 11-3-08 (Docket#2306)
                                                       Paid to Registry 5-17-12 $583.94 less taxes


 000497         Antonio Torres                       Priority             Filed 05/26/04                          $0.00               $319.97                  $0.00
 053            1245 Daisy St, # 1                     (77-1) Claim sent to claims agent
 5300-00        Long Beach, CA 90806                   disallowed per order 9-18-08 (Docket#1774)


 000498         Jiaro Suarez                         Priority             Filed 05/26/04                           $0.00              $358.04               $358.04
 053            1345 Cedar Ave                         (78-1) Claim sent to claims agent
 5300-00        Long Beach, CA 90813                   allowed per order 11-3-08 and revised order 11-12-08 (Docket#2347)


                                                                                      4437123323      03/25/10    4295                 326.71




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                              Scheduled               Claimed             Allowed
 000499         Israel Vallejo Sosa                  Priority             Filed 05/26/04                         $0.00             $420.35               $420.35
 053            543 W Maitland St                      (79-1) Claim sent to claims agent
 5300-00        Ontario, CA 91762                      allowed per order 8-13-08 (Docket#1527)


                                                                                      4437123323      03/25/10    4315              383.57
 000500         Humberto J Silva                     Priority             Filed 05/26/04                         $0.00           $1,372.26             $1,372.26
 053            1437 S Mc Donnell ave                  (80-1) Claim sent to claims agent
 5300-00        Commerce, CA 90040                     allowed per order 8-13-08 (Docket#1533)
                                                       Paid to Registry 5-17-12 $1252.19 less taxes


 000501         Isaias Sacristan                     Priority             Filed 05/26/04                         $0.00             $704.64               $704.64
 053            1869 Harbor Avenue, # 3                (81-1) Claim sent to claims agent
 5300-00        Long Beach, CA 90810                   allowed per order 8-13-08 (Docket#1526)
                                                       Paid to Registry 5-17-11 $642.98 less taxes


 000502         GILBERTO RODRIGUEZ                   Priority           Filed 10/21/04                           $0.00             $746.10                  $0.00
 053            1616 1/2 E SAN VINCENTS ST             Disallowed Per Order Dated 8/13/08 (Docket #1521)
 5300-00        COMPTON, CA 90221

 000503         Florencio Rivera                     Priority             Filed 05/26/04                         $0.00             $356.87                  $0.00
 053            1519 E 10th St, # 5                    (83-1) Claim sent to claims agent
 5300-00        Long Beach, CA 90805                   disallowed per order 9-16-08 (Docket#1773)


 000504         Oscar Ramirez                        Priority             Filed 05/26/04                         $0.00             $394.48               $394.48
 053            1467 E Elm Court, # B                  (84-1) Claim sent to claims agent
 5300-00        Ontario, CA 91761                      allowed per order 11-3-08 (Docket#2286)
                                                       Paid to Registry 5-17-12 $359.96 less taxes


 000513         Juan Ramirez                         Priority             Filed 05/11/04                         $0.00             $148.07               $148.07
 053            372 1st Avenue                         (51-1) Claim sent to claims agent
 5300-00        Elizabeth, New Jersey 07206

                                                                                      4437123323      03/25/10    4232              132.97
 000514-B       Shana K Thom                         Priority             Filed 04/26/04                         $0.00           $5,301.80             $4,925.00
 053            11715 Goshen Ave                       (3-1) Claim sent to claims agent
 5300-00        Los Angeles CA 90049-6101              Reduced and reclassified per order 10-21-08 (Docket#2524)
                                                                                      4437123323      03/25/10    4302            4,494.06
 000520         Kenneth P. Oliva                     Priority             Filed 04/28/04                         $0.00           $6,498.83                  $0.00
 053            8 Hale Court                           (17-1) Claim sent to claims agent
 5300-00        Basking Ridge, NJ 07920                disallowed per order 9-9-08 (Docket#1701)


 000521         KENNETH P OLIVA                      Priority           Filed 04/28/04                           $0.00           $6,498.83                  $0.00
 053            8 HALE COURT                           Disallowed Per Order Dated 9/9/08 (Docket #1701)
 5300-00        BASKING RIDGE, NJ 07920




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                 Scheduled                Claimed               Allowed
 000522-A       Jay J. Brown                         Priority             Filed 04/30/04                            $0.00                 $0.00              $1,794.87
 053            528 Cook Avenue                        (23-1) Claim sent to claims agent
 5300-00        Middlesex, NJ 08846                    Reclassified Per Order Dated 4/22/09 (Docket # 3196)


                                                                                      4437123323       03/25/10      4037              1,611.88
 000523         Isidro Samia                         Priority             Filed 05/03/04                            $0.00             $1,222.00              $1,222.00
 053            57 Fulton St                           (29-1) Claim sent to claims agent
 5300-00        East Orange,NJ 07017

                                                                                      4437123323       03/25/10      4265              1,097.42
 000524         Galina Tilipman                      Priority             Filed 05/04/04                            $0.00             $8,228.80                   $0.00
 053            3 Beacon Avenue                        (31-1) Claim sent to claims agent
 5300-00        Livingston, NJ 07039                   disallowed per order 12-2-08 (Docket#2593)


 000525-A       Sadith Zavala                        Priority             Filed 05/06/04                            $0.00               $800.00                   $0.00
 053            55 Newport Ave.                        (35-1) Claim sent to claims agent
 5300-00        Somerset, NJ 08873                     disallowed per order 10-21-08 (Docket#2099) (ac)


 000529         Eugenia Gutierrez                    Priority             Filed 05/05/04                            $0.00                $31.49                 $31.49
 053            211 Westfield Ave., 3rd Fl.            (41-1) Claim sent to claims agent
 5300-00        Elizabeth,NJ 07208                     Paid to Registry 5-17-12 $28.28 less taxes


 000532-A       Deanna K. Renninger                  Priority             Filed 05/07/04                            $0.00             $3,267.28              $3,267.28
 053            246 E North St                         (48-1) Claim sent to claims agent
 5300-00        Bethlehem, PA 18018                    Reduced and reclassified per order 4-21-09 (Docket#3172)
                                                       Paid to Registry 5-17-12 $2914.41 less taxes


 000533         Reinaldo Rodriguez                   Priority             Filed 05/12/04                            $0.00             $1,440.00              $1,440.00
 053            1308 E. Main St. Apt. 3                (53-1) Claim sent to claims agent
 5300-00        Rochester, NY 14609                    Paid to Registry 5-17-12 $1,322.64 less taxes


 000534         Katherine Hemingway                  Priority             Filed 05/12/04                           $0.00               $1,748.00             $1,748.00
 053            1892 Saint Paul Street                 (54-1) Claim sent to claims agent
 5300-00        Rochester, NY 14621                    Reclass.11/18/08 (Dkt #2429); Order of 11/18/08 vacated and Allowed as priority (Dkt
                                                       4193) 08/01/11


                                                                                      4437123323       04/11/12      4363              1,212.23
 000535-A       Heubert Rivera                       Priority             Filed 05/12/04                            $0.00                 $0.00              $1,828.00
 053            6 Amfen Ct.                            (56-1) Claim sent to claims agent
 5300-00        Bay Shore, NY 11706-3313               Reclassified per order 5-20-09 (Docket#3272) (ac)


                                                                                      4437123323       06/14/10      4345              1,679.01
 000536         Beth Wilklow                         Priority             Filed 05/12/04                            $0.00             $1,932.00              $1,932.00
 053            152 English Rd.                        (58-1) Claim sent to claims agent
 5300-00        Rochester, NY 14619




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled                Claimed             Allowed


                                                                                      4437123323         03/25/10   4331             1,774.55
 000537         Andrea Murray                        Priority             Filed 05/12/04                            $0.00           $4,176.80             $4,176.80
 053            192 Drum Cliff Way                     (59-1) Claim sent to claims agent (ac)
 5300-00        Rochester, NY 14612

                                                                                      4437123323         04/27/10   4342             3,836.40
 000538         Vishakha Kamath                      Priority             Filed 05/13/04                            $0.00           $1,287.00             $1,287.00
 053            PO Box 7942                            (61-1) Claim sent to claims agent (ac)
 5300-00        Princeton, NJ 08543

                                                                                      4437123323         03/25/10   4146             1,155.79
 000539-A       Diana Roby                           Priority             Filed 05/17/04                            $0.00           $2,884.00             $2,884.00
 053            1110 Columbus Ave.                     (67-1) Claim sent to claims agent
 5300-00        Westfield,NJ 07090                     Reduced and reclassified per order 4-21-09 (Docket#3162)


                                                                                      4437123323         03/25/10   4248             2,589.97
 000540         SHPITAL, ALEXANDRA                   Priority             Filed 05/19/04                            $0.00           $1,747.20             $1,747.20
 053            3206 Appleton Way                      (69-1) Claim sent to claims agent
 5300-00        Whippany, NJ 07981                     allowed per order 11-12-08 (Docket#2382)


                                                                                      4437123323         03/25/10   4283             1,569.08
 000542-A       Ana Torrado Nguyen                   Priority             Filed 05/25/04                            $0.00           $1,899.98             $1,899.98
 053            33 Milton Rd.                          (74-1) Claim sent to claims agent
 5300-00        Sparta, NJ 07871                       Reduced and reclassified per order 4-21-09 (Docket#3163)


                                                                                      4437123323         03/25/10   4306             1,706.27
 000543-A       Rocio Schult                         Priority             Filed 06/01/04                            $0.00               $0.00             $1,760.00
 053            10651 Oakbend                          (115-1) Claim sent to claims agent
 5300-00        San Diego, CA 92131                    Reclassified per order 11-18-08 (Dkt#2428) (ac)
                                                       Paid to Registry 5-17-12 $1606.00 less taxes


 000544         Lisa Aviles                          Priority            Filed 05/28/04                             $0.00           $2,785.44                  $0.00
 053            153 Race Street                        (117-1) Claim sent to claims agent
 5300-00        Elizabeth, NJ 07202                    disallowed per order 8-18-08 (Docket#1566)


 000545-B       VEYSMAN, MARINA                      Priority            Filed 06/03/04                             $0.00           $3,334.88                  $0.00
 053            45 MEDICI DR                           Reclassified Per Order Dated 12/15/08 (Dkt # 2707)
 5300-00        SOMERSET, NJ 08873

 000546         Judy Deligne-Ramos                   Priority            Filed 06/14/04                             $0.00           $3,998.64                  $0.00
 053            411 Brennan Ct.                        (126-1) Claim sent to claims agent
 5300-00        S. Plainfield, NJ 07080                disallowed per order 11-25-08 (Docket#2514) (ac)




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled                  Claimed             Allowed
 000548-A       Jaime Cervantes                      Priority             Filed 06/25/04                           $0.00                  $0.00               $373.59
 053            6323 Clyde Street                      (135-1) Claim sent to claims agent
 5300-00        San Diego, CA 92139                    Reclassified per order 4-22-09 (Docket#3197)
                                                       Paid to Registry 5-17-12 $340.90 less taxes


 000550-B       CAROLYN SORGE                        Priority           Filed 06/28/04                            $0.00               $2,500.00                  $0.00
 053            3626 HAMPTON GLEN PLACE                Reduced and Reclassified per Order Dated 11/3/08 (Docket #2300)
 5300-00        JACKSONVILLE, FL 32257

 000552-A       Lawrence J. Macaro                   Priority            Filed 07/15/04                            $0.00              $5,000.00             $4,925.00
 053            35 Ackerman Ave.                       (143-1) Claim sent to claims agent
 5300-00        Milltown, NJ 08850                     Modified and allowed pursuant to order dated 9/26/2008 (docket #1905). (ac)


                                                                                      4437123323       03/25/10     4165               4,432.24
 000553         Monica Garcia                        Priority            Filed 07/28/04                            $0.00              $4,524.00             $4,524.00
 053            140 Palm Ave                           (155-1) Claim sent to claims agent
 5300-00        National City CA 91950

                                                                                      4437123323       03/25/10     4107               4,128.15
 000564-A       SHANA K THOM                         Priority           Filed 04/26/04                             $0.00              $4,925.00                  $0.00
 053            11715 GOSHEN AVE                       Disallowed per Order Dated 10/21/08 (Docket #2524) (ac)
 5300-00        LOS ANGELES, CA 90094

 000566-A       Derya Churney                        Priority             Filed 04/28/04                          $0.00               $1,040.00             $1,040.00
 053            20 Goodwin Drive                       (5-1) Claim sent to claims agent
 5300-00        North Brunswick, NJ 08902              Reduced and Reclassified per Order Dated 12/2/08 (Docket #2581)


                                                                                      4437123323       03/25/10     4053                 933.97
 000567-A       PATEL, SANDEEP                       Priority             Filed 04/28/04                           $0.00              $2,510.00             $1,710.00
 053            789 West Side Ave                      (6-1) Claim sent to claims agent
 5300-00        Jersey City, NJ 07306                  Reclassified per order 11-3-08 (Docket#2281)
                                                       Paid to Registry 5-17-12 $1535.66 less taxes


 000568-A       Gladys Perez                         Priority             Filed 04/27/04                          $0.00                   $0.00               $456.00
 053            32 Park Place                          (7-1) Claim sent to claims agent
 5300-00        North Plainfield, NJ 07060             Reduced and Reclassified Per Order Dated 10/21/08 (Docket #2103)


                                                                                      4437123323       03/25/10     4218                 409.52
 000569-A       Kris Kamath                          Priority             Filed 04/28/04                           $0.00              $3,714.31             $2,794.31
 053            1188 Rahway Avenue                     (8-1) Claim sent to claims agent
 5300-00        Avenel, NJ 07001                       Reclassified Per Order Dated 12/2/08 (Docket #2587)


                                                                                      4437123323       03/25/10     4145               2,509.43
 000570         LISA AVILES                          Priority            Filed 04/28/04                            $0.00                  $0.00                  $0.00
 053            153 RACE ST                            Disallowed per order 8-18-08
 5300-00        ELIZABETH, NJ 07206




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                 Scheduled                   Claimed             Allowed
 000571-B       VIRGINIA GONZALEZ                    Priority           Filed 04/29/04                            $0.00                     $0.00               $403.78
 053            20 BETHANY ST                          Reduced and Reclassified Per Order Dated 9/16/08 (Dkt # 1805)
 5300-00        NEW BRUNSWICK, NJ 08901

                                                                                      4437123323       03/25/10      4115                  362.70
 000572-A       Carolina Ramirez                     Priority             Filed 04/28/04                            $0.00                   $0.00               $411.78
 053            267 Handy Street                       (12-1) Claim sent to claims agent
 5300-00        New Brunswick, NJ 08901                Reclassified Per Order Dated 4/22/09 (Docket # 3199)


                                                                                      4437123323       03/25/10      4231                  369.79
 000573-A       Milton L. Delgado                    Priority             Filed 04/29/04                           $0.00                    $0.00             $1,788.88
 053            RR6 Box 6066A                          (13-1) Claim sent to claims agent
 5300-00        Moscow, PA 18444                       Reclassified from secured to wage Per Order Dated 8/25/08 (Dkt # 1630)


                                                                                      4437123323       03/25/10      4073                1,595.68
 000579-C       TORRES, ALICIA                       Priority            Filed 10/15/04                             $0.00                   $0.00               $468.58
 053            107 PAULISON AVENUE                    Reclassified per Order dated 1/12/10 (Docket No. 3720)
 5300-00        PASSAIC, NJ 07055

                                                                                      4437123323       03/25/10      4307                  425.71
 000580-C       CARTER, TONY                         Priority           Filed 10/18/04                              $0.00               $1,351.00                  $0.00
 053            914 ARMSTRONG BLVD. NORTH              Disallowed Per Order Dated 12/2/08 (Dkt # 2598) (ac)
 5300-00        APT 2
                ST JAMES, MN 56081

 000582-B       GUTIERREZ, ANTONIA                   Priority             Filed 10/19/04                            $0.00                   $0.00               $246.15
 053            3860 CHEROKEE AVE. #6                  Allowed per order 9-16-08
 5300-00        SAN DIEGO, CA 92104                    Paid to Registry 5-17-12 $224.61 less taxes


 000585         NASH, YVETTE                         Priority            Filed 10/15/04                             $0.00                   $0.00                  $0.00
 053            253 MAGNOLIA AVE                       Disallowed per order 9-16-08
 5300-00        ELIZABETH, NJ 07206

 000586-B       CORTEZ, JESUS                        Priority            Filed 10/19/04                             $0.00                   $0.00               $283.40
 053            145 BERGOLD ST                         Reclassified Per Order Dated 11/18/08 (Docket #2415)
 5300-00        BRENTWOOD, NY 11717

                                                                                      4437123323       03/25/10      4061                  260.30
 000591-A       MARTINEZ, ALAN MARCOS                Priority            Filed 10/14/04                           $0.00                 $3,272.52             $2,321.64
 053            67 REVERE AVE                          Reclassified Per Order Dated 12/22/08 (Docket # 2733) (ac)
 5300-00        UNION NJ 07083

                                                                                      4437123323       03/25/10      4168                2,084.96
 000592-A       KAUFMANN, JOSEPH                     Priority            Filed 10/15/04                             $0.00                 $421.08                  $0.00
 053            51 SIMONSON AVENUE                     Reclassified Per Order Dated 12/2/08 (Docket #2599)
 5300-00        STATEN ISLAND, NY 10303

 000593-B       REOME, THOMAS W.                     Priority             Filed 10/15/04                            $0.00                   $0.00               $145.52
 053            1025 GREGORY PLACE #3                  Reclassified Per Order Dated 9/16/08 (Dkt # 1798)
 5300-00        SCRANTON, PA 18504                     Paid to Registry 5-17-12 $129.80 less taxes




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled                Claimed              Allowed
 000594         REYES, DORIS N                       Priority            Filed 10/18/04                            $0.00              $843.42                $843.42
 053            117 N THIRD STREET
 5300-00        COLUMBIA, PA 17512

                                                                                      4437123323      03/25/10      4239               752.34
 000596         GARCIA, JOSE                         Priority            Filed 10/19/04                            $0.00              $226.95                $226.95
 053            702 EAST COCOA STREET
 5300-00        COMPTON, CA 90221

                                                                                      4437123323      03/25/10      4106               207.09
 000597         NARVAEZ, VIVIANA                     Priority            Filed 10/19/04                           $0.00                $672.75                  $0.00
 053            8215 SHADOW OAKS DR                    Order dated 12/31/08 vacated; Disallowed Per Order Dated 9/03/09 (Docket #3392)
 5300-00        APT 42123
                CHARLOTTE, NC 28269

 000598         NARVAEZ, NELSON                      Priority             Filed 10/19/04                           $0.00              $293.42                $293.42
 053            8215 SHADOW OAKS DR                    Paid to Registry 5-17-12 $270.98 less taxes
 5300-00        APT 421
                CHARLOTTE, NC 28269

 000599-A       TORRES-MARTINEZ, LUIS                Priority           Filed 10/19/04                             $0.00              $589.82                   $0.00
 053            25 GARDEN COURT APT 4                  Disallowed per Order Dated 10/27/08 (Docket #2207)
 5300-00        LANCASTER, PA 17602

 000600         CABRERA, JUAN                        Priority            Filed 10/19/04                            $0.00              $200.13                $200.13
 053            19126 DELIGHT STREET
 5300-00        CANYON COUNTRY, CA 91351

                                                                                      4437123323      03/25/10      4040               182.62
 000601         CARTER, GEORGIA                      Priority           Filed 10/14/04                             $0.00            $1,662.60                   $0.00
 053            1608 GABAY                             Disallowed Per Order Dated 12/9/08 (Docket #2659)
 5300-00        MEMPHIS, TN 38106                      Amended by Claim #1665


 000602         LODOS, VIRGINIA                      Priority            Filed 10/14/04                            $0.00              $126.95                $126.95
 053            2118 INGALLS AVE
 5300-00        LINDEN, NJ 07036

                                                                                      4437123323      03/25/10      4155               114.01
 000603-A       BONE, STEPHEN A.                     Priority           Filed 10/14/04                             $0.00              $114.05                   $0.00
 053            1729 SW 45TH STREET                    Disallowed per Order dated 1/12/10 (Docket No.3714)
 5300-00        CAPE CORAL, FL 33914

 000605-B       AGRAWAL, JYOTI KUMAR                 Priority            Filed 10/14/04                            $0.00            $4,762.00              $4,762.00
 053            63 BULGER AVENUE                       Reclassified Per Order Dated 8/26/08 (Docket #1652)
 5300-00        NEW MILFORD, NJ 07646

                                                                                      4437123323      03/25/10      4151             4,276.53
 000606         ESQUERRA-BORRELL, AMILKAR            Priority            Filed 10/14/04                            $0.00              $247.61                $247.61
 053            L                                      (ac)
 5300-00        737 E MADISON ST
                LANCASTER, PA 17602
                                                                                      4437123323      03/25/10      4086               220.87




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled               Claimed             Allowed
 000610         FONT, PABLO                          Priority             Filed 10/15/04                           $0.00             $330.00               $330.00
 053            412 MANOR STREET                       Paid to Registry 5-17-12 $294.36 less taxes
 5300-00        LANCASTER, PA 17603

 000613-B       BLANDINO, MARCOS                     Priority           Filed 10/21/04                            $0.00            $1,937.00             $1,162.50
 053            PO BOX 1260                            Reduced and Reclassified Per Order Dated 9/23/08 (Dkt # 1879)
 5300-00        PATERSON, NJ 07509

                                                                                      4437123323       03/25/10     4032            1,043.97
 000619-B       ARVAY, MERRIT                        Priority            Filed 10/21/04                            $0.00               $0.00             $2,762.75
 053            65-12 FLEET ST                         Reclassified Per Order Dated 8/18/08 ( Dkt # 1578)
 5300-00        FOREST HILLS, NY 11375

                                                                                      4437123323       07/30/10     4346            2,537.59
 000620-B       RIVERA, WILFREDO                     Priority             Filed 10/21/04                           $0.00             $267.82               $590.32
 053            531 DAUPHIN STREET                     Reclassified Per Order Dated 4/22/09 (Docket #3186)
 5300-00        LANCASTER, PA 17602                    Paid to Registry 5-17-12 $526.57 less taxes


 000622-B       SANTOS, ANTONIO                      Priority           Filed 10/20/04                             $0.00           $2,622.60                  $0.00
 053            14 BRISTOL COOURT                      Disallowed per Order Dated 12/2/08 (Docket #2602)
 5300-00        LIVINGSTON, NJ 07039

 000625-A       CORTEZ, TAYDE                        Priority             Filed 10/21/04                           $0.00               $0.00               $204.38
 053            50 VAN WINKLE AVENUE                   Reclassified Per Order Dated 11/18/08 (Dkt # 2414 )
 5300-00        APARTMENT #3                           Paid to Registry 5-17-12 $183.54 less taxes
                PASSAIC, NJ 07055

 000626-C       POLANCO-VALDEZ, ELSA                 Priority            Filed 10/21/04                            $0.00              $82.40                  $0.00
 053            1700 NEW YORK AVENUE                   Reclassifed per Order Dated 9/9/08 (Docket #1705)
 5300-00        APARTMENT 1
                UNION CITY, NJ 07087

 000627         CADILLO, LUIS E                      Priority            Filed 10/14/04                            $0.00             $394.12               $394.12
 053            556 EAST FREDERICK STREET
 5300-00        LANCASTER, PA 17602

                                                                                      4437123323       03/25/10     4041              351.55
 000632-B       MORGAN, DENNIS A                     Priority           Filed 10/15/04                             $0.00             $656.10                  $0.00
 053            3A FOAL COURT                          Disallowed Per Order dated 4/21/09 (Docket #3170)
 5300-00        LANCASTER, PA 17602

 000645-A       SMITH, TYRONE                        Priority            Filed 10/19/04                            $0.00             $350.00                  $0.00
 053            1209 NW 63 ST                          Reclassified Per Order Dated 12/22/08 (Docket #2768)
 5300-00        MIAMI, FL 33147

 000646         JUAREZ, ELIZABETH                    Priority             Filed 10/19/04                           $0.00             $204.76               $204.76
 053            1970 E. HICKORY                        Paid to Registry 5-17-12 $182.95 less taxes
 5300-00        KANKAKEE, IL 60901

 000656-B       FERNANDEZ, YULISSA                   Priority            Filed 10/19/04                            $0.00               $0.00               $160.06
 053            583 CHARLES ST                         Reclassified per Order dated 1/12/10 (Docket No. 3717)
 5300-00        PERTH AMBOY, NJ 08861

                                                                                      4437123323       03/25/10     4092              143.75



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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled                 Claimed               Allowed
 000660-C       QUINTANA, MARICRUZ                   Priority             Filed 10/19/04                          $0.00                  $500.00               $302.16
 053            813 EAST ELM STREET                    Reduced and Reclassified Per Order Dated 9/9/08 ( Dkt # 1712) Paid to Registry 5-17-12
 5300-00        COMPTON, CA 90221                      $275.73 less taxes


 000669         MARINO, ANETTE M.                    Priority            Filed 10/14/04                            $0.00                $511.12                $511.12
 053            1202 BERGENLINE AVE.
 5300-00        APARTMENT 9
                UNION CITY, NJ 07087
                                                                                      4437123323       03/25/10     4169                 459.00
 000672-A       SUAREZ, FELIX                        Priority            Filed 10/14/04                            $0.00                $480.00                   $0.00
 053            609 LIBERTY AVENUE                     Reclassified per Order Dated 11/18/08 (Docket #2412)
 5300-00        APT #1
                NORTH BERGEN, NJ 07047

 000673-B       PATINO, EFRREN                       Priority           Filed 10/14/04                             $0.00                $810.00                   $0.00
 053            4 WESTERN AVE.                         Disallowed per Order Dated 10/21/08 (Docket #2094) (ac)
 5300-00        APT. 5
                HIGHTSTOWN, NJ 08520

 000682-A       HURTADO, PEDRO                       Priority            Filed 10/15/04                            $0.00              $1,600.00                   $0.00
 053            PO. BOX.1002                           Reclassified Per Order Dated 12/22/08 (Docket #2752)
 5300-00        HOLBROOK, NY 11741

 000686-A       IRBY, CLEOPHAS                       Priority           Filed 10/19/04                             $0.00              $2,300.00                   $0.00
 053            3566 ROYAL ARMS DRIVE                  Disallowed per Order Dated 10/21/08 (Docket #2097) (ac)
 5300-00        MEMPHIS, TN 38115

 000689-A       MANNING, HUBERT                      Priority            Filed 10/21/04                            $0.00              $3,980.00                   $0.00
 053            4628 EAGLEWAY                          Reclassified Per Order Dated 12/22/08 (Docket #2761)
 5300-00        CRESTVIEW, FL 32539

 000690         DORALKIS, ARIAS                      Priority             Filed 10/20/04                           $0.00                $198.00                $198.00
 053            414 MANOR STREET                       Paid to Registry 5-17-12 $176.61 less taxes
 5300-00        LANCASTER, PA 17602

 000693-B       AHERN, DANIEL                        Priority           Filed 10/21/04                             $0.00              $1,288.00              $1,288.00
 053            425 AVENUE A                           Allowed per Order dated 9/11/2008 (Dkt #1723)
 5300-00        BAYONNE, NJ 07002

                                                                                      4437123323       04/11/12     4364                 849.10
 000705         GARCIA, ALBA                         Priority            Filed 10/12/04                            $0.00              $1,020.90              $1,020.90
 053            2070 SW 68TH WAY
 5300-00        MIRAMAR, FL 33023

                                                                                      4437123323       03/25/10     4103                 942.80
 000706         FRANCO, VICTOR                       Priority            Filed 10/12/04                            $0.00              $1,328.00              $1,328.00
 053            2070 SW 68TH WAY
 5300-00        MIRAMAR, FL 33023

                                                                                      4437123323       03/25/10     4098               1,226.40
 000710-A       CASTILLO, FRANSISCO E.               Priority            Filed 10/22/04                            $0.00              $2,123.00                   $0.00
 053            229 EAST 24 TH STREET                  Reclassified per Order Dated 9/16/08 (Docket #1803)
 5300-00        PATERSON, NJ 07514




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                               Scheduled                    Claimed             Allowed
 000712         PRICE, MARTIN D.                     Priority             Filed 10/22/04                          $0.00                  $412.20               $412.20
 053            909 R ALBRIGHT AVE                     Paid to Registry 5-17-12 $367.78 less taxes
 5300-00        SCRANTON, PA 18508

 000722-A       GINZBURG, DASHA                      Priority           Filed 10/26/04                            $0.00                $3,328.00             $3,328.00
 053            4525 HENRY HUDSON PKWY                 Reduced and Reclassified Per Order dated 4/21/09 (Docket #3165)
 5300-00        APT 612
                RIVERDALE, NY 10471
                                                                                      4437123323       03/25/10    4110                 3,056.76
 000724         ALVAREZ, MARIA                       Priority            Filed 10/22/04                           $0.00                    $0.00               $277.00
 053            367 WASHINGTON ST                      Allowed per order 11-30-09 (ac)
 5300-00        PERTH AMBOY, NJ 08861

                                                                                      4437123323       03/25/10    4013                   248.75
 000728-B       HUTCHINSON, ALBERT                   Priority            Filed 10/22/04                           $0.00                  $231.00                  $0.00
 053            3944 UNIVERSITY ST.                    Reclassified per Order Dated 9/23/08 (Docket #1567) (ac)
 5300-00        MEMPHIS, TN 38127

 000729-A       PURISCH JONAS                        Priority           Filed 10/25/04                            $0.00                $4,650.00                  $0.00
 053            8415 BELLONA LN APT 913                Disallowed Per Order Dated 9/9/08 (Docket #1713)
 5300-00        BALTIMORE, MD 21204

 000731         TAPIA, CARMEN                        Priority            Filed 10/25/04                           $0.00                  $233.18               $233.18
 053            301 HEIGHTS LANE                       (ac)
 5300-00        APT 3C
                SISTERVILLE, PA 19053
                                                                                      4437123323       05/17/10    4343                   207.99
 000732         TAPIA, MARIA                         Priority            Filed 10/25/04                           $0.00                  $233.18               $233.18
 053            2709 N. MASCHER ST.
 5300-00        PHILADELPHIA, PA 19133

                                                                                      4437123323       03/25/10    4300                   207.99
 000734-B       ABULL HAY MARIA                      Priority             Filed 10/25/04                          $0.00                  $506.50               $255.24
 053            504 N QUEEN ST                         Reclassified Per Order Dated 9/23/08 (Dkt # 1878)
 5300-00        APT 2                                  Paid to Registry 5-17-12 $227.68 less taxes
                LANCASTER, PA 17603

 000735         THORSON, CHRISTOPHER                 Priority           Filed 10/25/04                            $0.00                  $270.82                  $0.00
 053            100 S.WATER STREET                     Disallowed per Order Dated 10/27/08 (Docket #2191)
 5300-00        QUASQUETON, IA 52326

 000741         GARCIA, BERENICE                     Priority            Filed 10/25/04                           $0.00                  $197.44               $197.44
 053            11138 CITRUS AVENUE
 5300-00        FONTANA, CA 92337

                                                                                      4437123323       03/25/10    4104                   180.17
 000742-B       JOHNS, JONATHAN                      Priority            Filed 10/25/04                           $0.00                    $0.00             $1,570.00
 053            4657 FILLMORE AVENUE                   Reclassified Per Order Dated 11/18/08 (Docket #2425)
 5300-00        MILVILLE, NJ 08332

                                                                                      4437123323       03/25/10    4142                 1,409.93
 000745         ESTEBAN, YEYLER                      Priority             Filed 10/25/04                          $0.00                  $610.00               $216.83
 053            3213 LEMMAN DR.                        Reduced and Reclassified Per Order Dated 12/31/08 (Docket #2813) (ac)
 5300-00        LOUISVILLE, KY 40216-1223              Paid to Registry 5-17-12 $200.25 less taxes




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                                Scheduled               Claimed             Allowed
 000750         AGUIRRE, ISMAEL                      Priority             Filed 10/25/04                           $0.00             $262.94               $262.94
 053            417 LIBERTS                            Paid to Registry 5-17-12 $234.94 less taxes
 5300-00        AURORA, IL 60505

 000751         JOHNSON, HAROLD L.                   Priority            Filed 10/25/04                            $0.00             $210.46               $210.46
 053            P O BOX 3582
 5300-00        EL CENTRO, CA 92244

                                                                                      4437123323       03/25/10     4143              192.04
 000752         RICHARDSON, DELORIS                  Priority             Filed 10/25/04                           $0.00             $201.33               $201.33
 053            264 ACADEMY STREET                     Paid to Registry 5-17-12 $179.59 less taxes
 5300-00        WILKES BARRE, PA 18702

 000755-B       VARGAS, URSULA                       Priority            Filed 10/25/04                            $0.00               $0.00             $1,342.61
 053            150 WEST 176TH ST, APT 1               Reclassified Per Order Dated 12/31/08 (Docket #2814) (ac)
 5300-00        BRONX, NY 10453

                                                                                      4437123323       03/25/10     4317            1,233.19
 000757-C       WILLIAMS, DAMEON                     Priority             Filed 10/25/04                         $0.00                 $0.00                $72.03
 053            2358 LAROSE                            Reduced & Reclassified per Order Dated 9/23/08 (Docket #1892)
 5300-00        MEMPHIS, TN 38114                      Paid to Registry 5-17-12 $66.52 less taxes


 000762         SANTIAGO, JORGE                      Priority             Filed 10/25/04                           $0.00               $0.00               $202.24
 053            837 SUPERIOR ST                        Allowed per order 11-30-09
 5300-00        AURORA, IL 60505                       Paid to Registry 5-17-12 $180.70 less taxes


 000766-B       LUSK, GLEN T.                        Priority           Filed 10/25/04                            $0.00            $2,600.00                  $0.00
 053            4464 CASTLE HEIGHTS                    Reduced and Reclassified Per Order Dated 4/22/09 (Docket #3174)
 5300-00        MEMPHIS, TN 38141

 000767         MARTINEZ, AIDA                       Priority             Filed 10/25/04                           $0.00             $800.00               $800.00
 053            722 DONNELLY ST                        Paid to Registry 5-17-12 $713.60 less taxes
 5300-00        DURYEA, PA 18642

 000769-B       ZAYAS, ZULEIMA                       Priority           Filed 10/25/04                             $0.00             $261.00                  $0.00
 053            76 KENNEDY BLVD #76                    Disallowed Per Order Dated 5/20/09 ( Docket # 3263)
 5300-00        SCRANTON, PA 18504

 000770-A       ORR, PAUL                            Priority           Filed 10/25/04                             $0.00              $50.48                  $0.00
 053            302 10TH AVE                           Disallowed Per Order Dated 8/25/08 ( Dkt # 1629)
 5300-00        SCRANTON, PA 18504

 000773-B       PACHECO-SANCHEZ, MARCUS              Priority           Filed 10/25/04                           $0.00             $1,920.00             $1,920.00
 053            1137 CAPOSE AVE                        Reduced and Reclassified Per Oder Dated 12/22/08 (Docket #2731) Amends Claim #527
 5300-00        SCRANTON, PA 18509                     (ac)


                                                                                      4437123323       03/25/10     4206            1,712.64
 000774-A       ARREDONDO, GUADALUPE                 Priority            Filed 10/25/04                            $0.00             $138.53                  $0.00
 053            833 N GLADSTONE AVENUE                 Reclassified per Order Dated 1/27/09 (Docket #2900) (ac)
 5300-00        APT 9
                AURORA, IL 60506




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                               Scheduled               Claimed             Allowed
 000776-A       AMADOR, EMMA                         Priority             Filed 10/25/04                          $0.00             $366.51               $366.51
 053            328 DEL RIO WAY                        Reduced and Reclassified per Order Dated 10/7/08 (Docket #1989)
 5300-00        VISTA, CA 92083                        Paid to Registry 5-17-12 $334.45 less taxes


 000778-C       BRACY, TIMONTHY                      Priority           Filed 10/25/04                            $0.00             $500.00                  $0.00
 053            637 MAGONILA AVE                       Reduced and Reclassified per Order Dated 8/18/08 (Docket #1580)
 5300-00        ELIZABETH, NJ 07206

 000785-A       GATHRIGHT, JEREMAINE                 Priority            Filed 10/22/04                           $0.00             $500.00                  $0.00
 053            4530 ERNIE DRIVE                       Reclassified Per Order Dated 10/7/08 (Docket#2003)
 5300-00        MEMPHIS, TN 38116

 000787-A       TIRADO, WILLIAM                      Priority           Filed 10/25/04                            $0.00           $1,500.00                  $0.00
 053            CARR 341                               Reduced and Reclassified Per Order Dated 8/26/08 (Dkt # 1658)
 5300-00        BUZON 6072
                BARRIO MANI MAYAGUEZ, PR
                00680

 000789-B       ABULL HAY, MARIA                     Priority           Filed 10/25/04                            $0.00             $506.50                  $0.00
 053            504 NORTH QUEEN STREET                 Disallowed Per Order Dated 9/23/08 (Dkt # 1878)
 5300-00        APARTMENT 1
                LANCASTER, PA 17603

 000791         CALDERON, JOHN                       Priority            Filed 10/25/04                           $0.00           $2,000.00             $2,000.00
 053            10656 PEARL BERRY LOOP                 (ac)
 5300-00        LAND O LAKES, FL 34638

                                                                                      4437123323      03/25/10     4042            1,847.00
 000792         ELLIS, AURELIA                       Priority            Filed 10/25/04                           $0.00             $272.63               $272.63
 053            332 SOUTH BACKTON AVENUE
 5300-00        LA PUENTE, CA 91744

                                                                                      4437123323      03/25/10     4084              248.78
 000793         HOLMES, ARNETTE                      Priority             Filed 10/25/04                          $0.00             $400.00               $400.00
 053            525 N. MAIN AVENUE                     Paid to Registry 5-17-12 $356.80 less taxes
 5300-00        2ND FLOOR
                SCRANTON, PA 18504

 000796-A       RAMIREZ, JULIO                       Priority             Filed 10/25/04                         $0.00              $273.00               $273.00
 053            13177 1/2 BROWONT                      Reclassified and Allowed Per Order Dated 10/21/08 (Docket#2101)
 5300-00        SYLMAR, CA 91342                       Paid to Registry 5-17-12 $249.11 less taxes


 000797-A       JACKSON, OLIVIA                      Priority            Filed 10/25/04                           $0.00             $500.00                  $0.00
 053            508 LINCOLN CIRCLE                     Reclassified Per Order Dated 12/22/08 (Docket #2760)
 5300-00        WASHINGTON, GA 30673

 000807         EUCARIO VELASQUEZ                    Priority            Filed 05/26/04                           $0.00             $573.25                  $0.00
 053            4200 SUNNYVIEW RD                      Disallowed per order 9-16-08 (ac)
 5300-00        NE APT 224
                SALEM, OR 97305




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000808         JOSE VARGAS                          Priority           Filed 05/26/04                            $0.00             $639.94                  $0.00
 053            10740 FRACAR                           Disallowed Per Order Dated 11/3/08 (Docket #2306)
 5300-00        LYNWOOD, CA 90262

 000809         ANTONIO TORRES                       Priority           Filed 05/26/04                            $0.00             $319.97                  $0.00
 053            1245 DAISY ST #1                       Disallowed per Order Dated 9/18/08 (Docket #1774)
 5300-00        LONG BEACH, CA 90806

 000810         JIARO SUAREZ                         Priority           Filed 05/26/04                            $0.00             $358.04                  $0.00
 053            1345 CEDAR AVENUE                      Disallowed Per Order Dated 11/12/08 (Docket #2347)
 5300-00        LONG BEACH, CA 90813

 000811         ISRAEL VALLEJO SOSA                  Priority           Filed 05/26/04                            $0.00             $420.35                  $0.00
 053            543 W MAITLAND ST                      Disallowed Per Order Dated 8/13/08 (Docket #1527)
 5300-00        ONTARIO, CA 91762

 000812         HUMBERTO J SILVA                     Priority           Filed 05/26/04                            $0.00           $1,372.26                  $0.00
 053            1437 S MCDONNELL AVE                   Disallowed Per Order Dated 8/13/08 (Docket #1533)
 5300-00        COMMERCE, CA 90040

 000813         ISAIAS SACRISTAN                     Priority           Filed 05/26/04                            $0.00             $704.64                  $0.00
 053            1869 HARBOR AVENUE #3                  Disallowed Per Order Dated 8/13/08 (Docket #1526)
 5300-00        LONG BEACH, CA 90810

 000814         GILBERTO RODRIGUEZ                   Priority           Filed 05/26/04                            $0.00             $746.10                  $0.00
 053            1616 1/2 E SAN VINCENTS ST             Disallowed Per Order Dated 8/13/08 (Docket #1521)
 5300-00        COMPTON, CA 90221

 000815         FLORENCIO RIVERA                     Priority           Filed 05/26/04                            $0.00             $356.87                  $0.00
 053            1519 E 10TH ST #5                      Disallowed per Order Dated 9/16/08 (Docket #1773)
 5300-00        LONG BEACH, CA 90805

 000816         OSCAR RAMIREZ                        Priority           Filed 05/26/04                            $0.00             $394.48                  $0.00
 053            1467 E ELM COURT #B                    Disallowed Per Order Dated 11/3/08 (Dkt # 2286)
 5300-00        ONTARIO, CA 91761

 000817         HIPOLITO RAMIREZ                     Priority           Filed 10/26/04                            $0.00             $331.02                  $0.00
 053            1467 E ELMA CT                         Disallowed Per Order Dated 9/16/08 (Docket #1765)
 5300-00        ONTARIO, CA 91764

 000818         OSCAR PEREZ                          Priority           Filed 10/28/04                            $0.00             $343.67                  $0.00
 053            1031 1/2 PACIFIC AVE                   Disallowed Per Order Dated 11/3/08 (Dkt # 2294)
 5300-00        LONG BEACH, CA 90813

 000819         JUAN PERALTA                         Priority           Filed 10/28/04                            $0.00             $213.74                  $0.00
 053            9973 CENTRAL AVE                       Disallowed Per Order Dated 12/2/08 (Docket #2579) (ca)
 5300-00        MONCLAIR, CA 91763

 000820         JUAN MANUEL PAZ                      Priority           Filed 10/28/04                            $0.00             $351.00                  $0.00
 053            6746 GAGE AVE                          Disallowed Per Order Dated 11/18/08 (Docket #2422)
 5300-00        BELL GARDENS, CA 90201

 000821         ALFONSO ORTIZ                        Priority           Filed 10/28/04                            $0.00             $392.61                  $0.00
 053            2209 E EL SEGUNDO #7                   Disallowed per Order Dated 8/13/08 (Docket #1530)
 5300-00        COMPTON, CA 90222




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000822         ALEJO OROSCO                         Priority           Filed 05/26/04                            $0.00             $232.44                  $0.00
 053            12424 GREENGOOD DR APT #11             Disallowed per Order Dated 8/13/08 (Docket #1532)
 5300-00        WHITTIER, CA 90604

 000823         SERGIO OREJEL                        Priority           Filed 05/26/04                            $0.00             $252.13                  $0.00
 053            9222 DOROTHY AVENUE                    Disallowed per Order Dated 11/3/08 (Docket #2310)
 5300-00        SOUTH GATE, CA 90280

 000824         JOSE OREJEL                          Priority           Filed 05/26/04                            $0.00             $330.25                  $0.00
 053            9222 DOROTHY AVE                       Disallowed Per Order Dated 11/3/08 (Docket #2309)
 5300-00        SOUTH GATE, CA 90280

 000825         MARTIN MENDOZA                       Priority           Filed 05/26/04                            $0.00             $246.15                  $0.00
 053            15704 ORANGE AVE APT 142               Disallowed per Order Dated 11/18/08 (Docket #2410)
 5300-00        PARAMOUNT, CA 90723

 000826         JORGE MAGANA                         Priority           Filed 05/26/04                            $0.00             $664.27                  $0.00
 053            1718 E FLORA ST #B                     Disallowed Per Order Dated 11/18/08 (Docket #2407)
 5300-00        ONTARIO, CA 91764

 000827         ALBERTO LUNA                         Priority           Filed 05/26/04                            $0.00             $233.40                  $0.00
 053            1432 NOCTA ST #C                       Disallowed per Order Dated 8/13/08 (Docket #1528)
 5300-00        ONTARIO, CA 91764

 000828         MAURO LOPEZ                          Priority           Filed 05/26/04                            $0.00             $508.04                  $0.00
 053            3238 PONTIAC AVE                       Disallowed per Order Dated 11/18/08 (Docket #2427)
 5300-00        RIVERSIDE, CA 92509

 000829         ARTURO LOPEZ                         Priority           Filed 05/26/04                            $0.00             $376.35                  $0.00
 053            1811 ROSEWOOD                          Disallowed per Order Dated 8/13/08 (Docket #1529)
 5300-00        ONTARIO, CA 91764

 000830         JAVIER HERNANDEZ                     Priority           Filed 05/26/04                            $0.00             $196.93                  $0.00
 053            7622 9TH ST APT B                      Disallowed Per Order Dated 8/13/08 (Docket #1522)
 5300-00        BUENA PARK, CA 90621

 000831         DANIEL GARCIA                        Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            417 E 118TH ST                         Disallowed per Order Dated 10/2/08 (Docket #1960)
 5300-00        LOS ANGELES, CA 90061

 000832         JOSE GODINEZ                         Priority           Filed 05/26/04                            $0.00             $393.78                  $0.00
 053            1900 CAMPUS AVE                        Disallowed Per Order Dated 11/18/08 (Docket #2416)
 5300-00        ONTARIO, CA 91761

 000833         JOSE SANCHEZ CRUZ                    Priority           Filed 05/26/04                            $0.00             $376.89                  $0.00
 053            7005 WATCHER ST                        Disallowed Per Order Dated 11/3/08 (Docket #2297)
 5300-00        COMMERCE, CA 90040

 000834         JOSE CRUZ                            Priority           Filed 05/26/04                            $0.00             $337.11                  $0.00
 053            14632 SAN JOSE AVE                     Disallowed Per Order Dated 8/13/08 (Docket #2001)
 5300-00        PARAMOUNT, CA 90723

 000835         ENRIQUE COLIN                        Priority           Filed 05/26/04                            $0.00             $411.47                  $0.00
 053            6840 BEAR AVE.                         Disallowed per Order Dated 9/16/08 (Docket #1775) (ac)
 5300-00        BELL GARDENS, CA 90201




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000836         SALVADOR CHAVEZ                      Priority           Filed 05/26/04                            $0.00             $376.81                  $0.00
 053            1267 N MARIN AVENUE                    Disallowed Per Order Dated 11/18/08 (Dkt # 2417)
 5300-00        WILMINGTON, CA 90744

 000837         CARMELO CARDENAS                     Priority           Filed 05/26/04                            $0.00             $345.53                  $0.00
 053            8550 ROSE ST                           Disallowed per Order Dated 8/13/08 (Docket #1535)
 5300-00        BELLFOWER, CA 90706

 000838         GABRIEL ARENIVAR                     Priority           Filed 05/26/04                            $0.00             $216.95                  $0.00
 053            627 W 5TH ST                           Disallowed per Order Dated 8/13/08 (Docket #1519)
 5300-00        LONG BEACH, CA 90813

 000839         JOSE ARANDA                          Priority           Filed 05/26/04                            $0.00             $434.81                  $0.00
 053            6746 GAGE AVE                          Disallowed Per Order Dated 11/18/08 (Docket #2411)
 5300-00        BELL GARDENS, CA 90201

 000840         ANDRES ARANDA                        Priority           Filed 05/26/04                            $0.00             $713.74                  $0.00
 053            6746 GAGE AVE                          Disallowed per Order Dated 8/13/08 (Docket #1520)
 5300-00        BELL GARDENS, CA 90201

 000841         GENARO GONZALEZ APARICIA             Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            625 N ISLAND                           Disallowed Per Order Dated 11/18/08 (Docket #2413)
 5300-00        WILMINGTON, CA 90745

 000842         ALFREDO ALCALA                       Priority           Filed 05/26/04                            $0.00             $329.79                  $0.00
 053            9716 CEDAR ST                          Disallowed per Order Dated 8/13/08 (Docket #1531)
 5300-00        BELLFLOWER, CA 90706

 000843         EUCARIO VELASQUEZ                    Priority            Filed 10/26/04                           $0.00             $573.25                  $0.00
 053            4200 SUNNYVIEW RD.                     Disallowed per order 9-16-08 (ac)
 5300-00        NE APT. 224
                SALEM, OR 97305

 000844         JOSE VARGAS                          Priority           Filed 10/26/04                            $0.00             $639.94                  $0.00
 053            10740 FRACAR                           Disallowed Per Order Dated 11/3/08 (Docket #2306)
 5300-00        LYNWOOD, CA 90262

 000845         ANTONIO TORRES                       Priority           Filed 10/26/04                            $0.00             $319.97                  $0.00
 053            1245 DAISY ST #1                       Disallowed per Order Dated 9/18/08 (Docket #1774)
 5300-00        LONG BEACH, CA 90806

 000846         JIARO SUAREZ                         Priority           Filed 10/26/04                            $0.00             $358.04                  $0.00
 053            1345 CEDAR AVE                         Disallowed Per Order Dated 11/12/08 (Docket #2347)
 5300-00        LONG BEACH, CA 90813

 000847         ISRAEL VALLEJO SOSA                  Priority           Filed 05/26/04                            $0.00             $420.35                  $0.00
 053            543 W MAITLAND ST                      Disallowed Per Order Dated 8/13/08 (Docket #1527)
 5300-00        ONTARIO, CA 91762

 000848         HUMBERTO J SILVA                     Priority           Filed 05/26/04                            $0.00           $1,372.26                  $0.00
 053            1437 S MCDONNELL AVE                   Disallowed Per Order Dated 8/13/08 (Docket #1533)
 5300-00        COMMERCE, CA 90040




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000849         ISAIAS SACRISTAN                     Priority           Filed 05/26/04                            $0.00             $704.64                  $0.00
 053            1869 HARBOR AVE #3                     Disallowed Per Order Dated 8/13/08 (Docket #1526)
 5300-00        LONG BEACH, CA 90810

 000850         GILBERTO RODRIGUEZ                   Priority           Filed 05/26/04                            $0.00             $746.10                  $0.00
 053            1616 1/2 E SAN VINCENTE ST             Disallowed Per Order Dated 8/13/08 (Docket #1521)
 5300-00        COMPTON, CA 90221

 000851         FLORENCIO RIVERA                     Priority           Filed 05/26/04                            $0.00             $356.87                  $0.00
 053            1519 E 10TH ST #5                      Disallowed per Order Dated 9/16/08 (Docket #1773)
 5300-00        LONG BEACH, CA 90805

 000852         OSCAR RAMIREZ                        Priority           Filed 10/28/04                            $0.00             $394.48                  $0.00
 053            1467 E ELM COURT #B                    Disallowed Per Order Dated 11/3/08 (Dkt # 2286)
 5300-00        ONTARIO, CA 91761

 000853         HIPOLITO RAMIREZ                     Priority           Filed 10/28/04                            $0.00             $331.02                  $0.00
 053            1467 E ELMA CT                         Disallowed Per Order Dated 9/16/08 (Docket # 1765)
 5300-00        ONTARIO, CA 91764

 000854         OSCAR PEREZ                          Priority           Filed 10/28/04                            $0.00             $343.67                  $0.00
 053            1031 1/2 PACIFIC AVE                   Disallowed Per Order Dated 11/3/08 (Dkt # 2294)
 5300-00        LONG BEACH, CA 90813

 000855         JUAN PERALTA                         Priority           Filed 10/28/04                            $0.00             $213.74                  $0.00
 053            9973 CENTRAL AVE                       Disallowed Per Order Dated 12/2/08 (Docket 2579) (ca)
 5300-00        MONTCLAIR, CA 91763

 000856         JUAN MANUEL PAZ                      Priority           Filed 10/28/04                            $0.00             $351.00                  $0.00
 053            6746 GAGE AVE                          Disallowed Per Orded Dated 11/18/08 (Docket #2422)
 5300-00        BELL GARDENS, CA 90201

 000857         ALFONSO ORTIZ                        Priority           Filed 05/26/04                            $0.00             $392.61                  $0.00
 053            2209 E EL SEGUNDO #7                   Disallowed per Order Dated 8/13/08 (Docket #1530)
 5300-00        COMPTON, CA 90222

 000858         ALEJO OROSCO                         Priority           Filed 05/26/04                            $0.00             $232.44                  $0.00
 053            12424 GREENGOOD                        Disallowed per Order Dated 8/13/08 (Docket #1532)
 5300-00        WHITTIER, CA 90604

 000859         SERGIO OREJEL                        Priority           Filed 05/26/04                            $0.00             $252.13                  $0.00
 053            9222 DOROTHY AVE                       Disallowed per Order Dated 11/3/08 (Docket #2310)
 5300-00        SOUTH GATE, CA 90280

 000860         JOSE OREJEL                          Priority           Filed 05/26/04                            $0.00             $330.25                  $0.00
 053            9222 DOROTHY AVE                       Disallowed Per Order Dated 11/3/08 (Docket #2309)
 5300-00        SOUTH GATE, CA 90280

 000861         MARTIN MENDOZA                       Priority           Filed 05/26/04                            $0.00             $246.15                  $0.00
 053            15704 ORANGE AVE APT 142               Disallowed per Order Dated 11/18/08 (Docket #2410)
 5300-00        PARAMOUNT, CA 90723

 000862         JORGE MAGANA                         Priority           Filed 10/28/04                            $0.00             $664.27                  $0.00
 053            1718 E FLORA ST #B                     Disallowed Per Order Dated 11/18/08 (Docket #2407)
 5300-00        ONTARIO, CA 91764




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000863         ALBERTO LUNA                         Priority           Filed 10/26/04                            $0.00             $233.40                  $0.00
 053            1432 NOCTA ST #C                       Disallowed per Order Dated 8/13/08 (Docket #1528)
 5300-00        ONTARIO, CA 91764

 000864         MAURO LOPEZ                          Priority           Filed 10/28/04                            $0.00             $508.04                  $0.00
 053            3238 PONTIAC AVE                       Disallowed per Order Dated 11/18/08 (Docket #2427)
 5300-00        RIVERSIDE, CA 92509

 000865         ARTURO LOPEZ                         Priority           Filed 10/28/04                            $0.00             $376.35                  $0.00
 053            1811 ROSEWOOD                          Disallowed per Order Dated 8/13/08 (Docket #1529)
 5300-00        ONTARIO, CA 91764

 000866         JAVIER HERNANDEZ                     Priority           Filed 10/28/04                            $0.00             $196.93                  $0.00
 053            7622 9TH ST APT B                      Disallowed Per Order Dated 8/13/08 (Docket#1522)
 5300-00        BUENA PARK, CA 90621

 000867         DANIEL GARCIA                        Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            417 E 118TH ST                         Disallowed per Order Dated 10/2/08 (Docket #1960)
 5300-00        LOS ANGELES, CA 90061

 000868         JOSE GODINEZ                         Priority           Filed 05/26/04                            $0.00             $393.78                  $0.00
 053            1900 CAMPUS AVE                        Disallowed Per Order Dated 11/18/08 (Docket #2416)
 5300-00        ONTARIO, CA 91761

 000869         JOSE SANCHEZ CRUZ                    Priority           Filed 05/26/04                            $0.00             $376.89                  $0.00
 053            7005 WATCHER ST                        Disallowed Per Order Dated 11/3/08 (Docket #2297)
 5300-00        COMMERCE, CA 90040

 000870         JOSE CRUZ                            Priority           Filed 05/26/04                            $0.00             $337.11                  $0.00
 053            14632 SAN JOSE AVE                     Disallowed Per Order Dated 8/13/08 (Docket #2001)
 5300-00        PARAMOUNT, CA 90723

 000871         ENRIQUE COLIN                        Priority           Filed 05/26/04                            $0.00             $411.47                  $0.00
 053            6840 BEAR AVE.                         Disallowed per Order Dated 9/16/08 (Docket #1775) (ac)
 5300-00        BELL GARDENS, CA 90201

 000872         SALVADOR CHAVEZ                      Priority           Filed 05/26/04                            $0.00             $376.81                  $0.00
 053            1267 N MARIN AVENUE                    Disallowed Per Order Dated 11/18/08 (Dkt # 2417)
 5300-00        WILMINGTON, CA 90744

 000873         CARMELO CARDENAS                     Priority           Filed 05/26/04                            $0.00             $345.53                  $0.00
 053            8550 ROSE ST                           Disallowed per Order Dated 8/13/08 (Docket #1535)
 5300-00        BELLFOWER, CA 90706

 000874         GABRIEL ARENIVAR                     Priority           Filed 05/26/04                            $0.00             $216.95                  $0.00
 053            627 W 5TH ST                           Disallowed per Order Dated 8/13/08 (Docket #1519)
 5300-00        LONG BEACH, CA 90813

 000875         JOSE ARANDA                          Priority           Filed 05/26/04                            $0.00             $434.81                  $0.00
 053            6746 GAGE AVE                          Disallowed Per Order Dated 11/18/08 (Docket #2411)
 5300-00        BELL GARDENS, CA 90201

 000876         ANDRES ARANDA                        Priority           Filed 05/26/04                            $0.00             $713.74                  $0.00
 053            6746 GAGE AVE                          Disallowed per Order Dated 8/13/08 (Docket #1520)
 5300-00        BELL GARDENS, CA 90201




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000877         GENARO GONZALEZ APARICIA             Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            625 N ISLAND                           Disallowed Per Order Dated 11/18/08 (Docket #2413)
 5300-00        WILMINGTON, CA 90745

 000878         ALFREDO ALCALA                       Priority           Filed 05/26/04                            $0.00             $329.79                  $0.00
 053            9716 CEDAR ST                          Disallowed per Order Dated 8/13/08 (Docket #1531)
 5300-00        BELLFLOWER, CA 90706

 000889         ROSALINO ADAME                       Priority           Filed 05/26/04                            $0.00             $356.37                  $0.00
 053            1467 E ELMA #B                         Disallowed Per Order Dated 10/27/08 (Dkt # 2199)
 5300-00        ONTARIO, CA 91764

 000896         JENNIFER M VALDEZ          Priority                     Filed 05/07/04                            $0.00           $4,623.56             $4,623.56
 053            10400 ARROW RTE              (ac)
 5300-00        APT Q-4
                RANCHO CUCAMONGA, CA 91730
                                                                                    4437123323        03/25/10     4313            4,219.00
 000906         ROSALINO ADAME                       Priority           Filed 05/26/04                            $0.00             $356.37                  $0.00
 053            1467 E ELMA #B                         Disallowed Per Order Dated 10/27/08 (Dkt # 2199)
 5300-00        ONTARIO, CA 91764

 000920         ALFREDO ALCALA                       Priority           Filed 10/28/04                            $0.00             $329.79                  $0.00
 053            9716 CEDAR ST.                         Disallowed per Order Dated 8/13/08 (Docket #1531)
 5300-00        BELLFLOWER, CA 90706

 000921         GENARO GONZALEZ APARICIA             Priority           Filed 10/28/04                            $0.00             $453.93                  $0.00
 053            625 N ISLAND                           Disallowed Per Order Dated 11/18/08 (Docket #2413)
 5300-00        WILMINGTON, CA 90745

 000922         ANDRES ARANDA                        Priority           Filed 05/26/04                            $0.00             $713.74                  $0.00
 053            6746 GAGE AVE                          Disallowed per Order Dated 8/13/08 (Docket #1520)
 5300-00        BELL GARDENS, CA 90201

 000923         JOSE ARANDA                          Priority           Filed 05/26/04                            $0.00             $434.81                  $0.00
 053            6746 GAGE AVE                          Disallowed Per Order Dated 11/18/08 (Docket #2411)
 5300-00        BELL GARDENS, CA 90201

 000924         GABRIEL ARENIVAR                     Priority           Filed 05/26/04                            $0.00             $216.95                  $0.00
 053            627 W 5TH ST                           Disallowed per Order Dated 8/13/08 (Docket #1519)
 5300-00        LOMNG BEACH, CA 90813

 000925         CARMELO CARDENAS                     Priority           Filed 05/26/04                            $0.00             $345.53                  $0.00
 053            8550 ROSE ST                           Disallowed per Order Dated 8/13/08 (Docket #1535)
 5300-00        BELL FOWER, CA 90706

 000926         SALVADOR CHAVEZ                      Priority           Filed 05/26/04                            $0.00             $376.81                  $0.00
 053            1267 N MARIN AVENUE                    Disallowed Per Order Dated 11/18/08 (Dkt # 2417)
 5300-00        WILMINGTON, CA 90744

 000927         ENRIQUE COLIN                        Priority           Filed 05/26/04                            $0.00             $411.47                  $0.00
 053            6840 BEAR AVE                          Disallowed per Order Dated 9/16/08 (Docket #1775) (ac)
 5300-00        BELL GARDENS, CA 90201




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class      Notes                               Scheduled               Claimed             Allowed
 000928         JOSE CRUZ                            Priority           Filed 05/26/04                            $0.00             $337.11                  $0.00
 053            14632 SAN JOSE AVE.                    Disallowed Per Order Dated 8/13/08 (Docket #2001)
 5300-00        PARAMOUNT, CA 90723

 000929         JOSE SANCHEZ CRUZ                    Priority           Filed 05/26/04                            $0.00             $376.89                  $0.00
 053            7005 WATCHER ST.                       Disallowed Per Order Dated 11/3/08 (Docket #2297)
 5300-00        COMMERCE, CA 90040

 000930         JOSE GODINEZ                         Priority           Filed 05/26/04                            $0.00             $393.78                  $0.00
 053            1900 CAMPUS AVE.                       Disallowed Per Order Dated 11/18/08 (Docket #2416)
 5300-00        ONTARIO, CA 91761

 000931         DANIEL GARCIA                        Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            417 E 118TH ST.                        Disallowed per Order Dated 10/2/08 (Docket #1960)
 5300-00        LOS ANGELES, CA 90061

 000932         JAVIER HERNANDEZ                     Priority           Filed 05/26/04                            $0.00             $196.93                  $0.00
 053            7622 9THST APT. B                      Disallowed Per Order Dated 8/13/08 (Docket #1522)
 5300-00        BUENA PARK, CA 90821

 000933         BENJAMIN J. TIBERGHIEN               Priority             Filed 08/03/04                          $0.00              $93.88                $93.88
 053            5130 S. CUSTER                         Paid to Registry 5-17-12 $86.70 less taxes
 5300-00        WICHITA, KS 67217

 000935         HUMBERTO J. SILVA                    Priority           Filed 05/26/04                            $0.00           $1,372.26                  $0.00
 053            1437 S. MCDONNELL AVE                  Disallowed Per Order Dated 8/13/08 (Docket #1533)
 5300-00        COMMERCE, CA 90040

 000936-A       MR. DEANE J. DRABIK                  Priority            Filed 10/28/04                           $0.00           $5,346.90             $2,226.08
 053            6844 TOBIK TRL                         Reclassified per Consent Order Dated 9/2/08 (Docket #1689)
 5300-00        PARMA, OH 44130

                                                                                      4437123323     03/25/10      4081            2,041.58
 000938         MAURO LOPEZ                          Priority           Filed 10/28/04                            $0.00             $508.04                  $0.00
 053            3238 PONTIAC AVE                       Disallowed per Order Dated 11/18/08 (Docket #2427)
 5300-00        RIVERSIDE, CA 92509

 000939         ALBERTO LUNA                         Priority           Filed 10/28/04                            $0.00             $233.40                  $0.00
 053            1432 NOCTA ST #C                       Disallowed per Order Dated 8/13/08 (Docket #1528)
 5300-00        ONTARIO, CA 91764

 000940         JORGE MAGANA                         Priority           Filed 10/28/04                            $0.00             $664.27                  $0.00
 053            1718 E FLORA ST #B                     Disallowed Per Order Dated 11/18/08 (Docket #2407)
 5300-00        ONTARIO, CA 91764

 000941         MARTIN MENDOZA                       Priority           Filed 10/28/04                            $0.00             $246.15                  $0.00
 053            15704 ORANGE AVE APT 142               Disallowed per Order Dated 11/18/08 (Docke #24100
 5300-00        PARMOUNT, CA 90723

 000942         JOSE OREJEL                          Priority           Filed 05/26/04                            $0.00             $330.25                  $0.00
 053            9222 DOROTHY AVENUE                    Disallowed Per Order Dated 11/3/08 (Docket #2309)
 5300-00        SOUTH GATE, CA 90280




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                                                                 ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000943         SERGIO OREJEL                        Priority           Filed 05/26/04                            $0.00             $252.13                  $0.00
 053            9222 DOROTHY AVENUE                    Disallowed per Order Dated 11/3/08 (Docket #2310)
 5300-00        SOUTH GATE, CA 90280

 000944         ALEJO OROSCO                         Priority           Filed 05/26/04                            $0.00             $232.44                  $0.00
 053            12424 GREENGOOD, APT#11                Disallowed per Order Dated 8/13/08 (Docket #1532)
 5300-00        WHITTIER, CA 90604

 000945         ALFONSO ORTIZ                        Priority           Filed 05/26/04                            $0.00             $392.61                  $0.00
 053            2209 E. ELSEQUNDO- #7                  Disallowed per Order Dated 8/13/08 (Docket #1530)
 5300-00        COMPTON, CA 90222

 000946         JUAN MANUEL PAZ                      Priority           Filed 05/26/04                            $0.00             $351.00                  $0.00
 053            6746 GAGE AVENUE                       Disallowed Per Order Dated 11/18/08 (Docket #2422)
 5300-00        BELL GARDENS, CA 90201

 000947         JUAN PERALTA                         Priority           Filed 10/28/04                            $0.00             $213.74                  $0.00
 053            9973 CENTRAL AVE.                      Disallowed Per Order Dated 12/2/08 (Docket #2579) (ac)
 5300-00        MONTCLAIR, CA 91763

 000948         OSCAR PEREZ                          Priority           Filed 10/28/04                            $0.00             $343.67                  $0.00
 053            1031 1/2 PACIFIC AVENUE                Disallowed Per Order Dated 11/3/08 (Dkt # 2294)
 5300-00        LONG BEACH, CA 90813

 000949         ROSALINO ADAME                       Priority           Filed 10/28/04                            $0.00             $356.37                  $0.00
 053            1467 E ELMA #B                         Disallowed Per Order Dated 10/27/08 (Dkt # 2199)
 5300-00        ONTARIO, CA 91764

 000950         ISRAEL VALLEJO SOSA                  Priority           Filed 10/28/04                            $0.00             $420.33                  $0.00
 053            543 W MAITLAND ST                      Disallowed Per Order Dated 8/13/08 (Docket #1527)
 5300-00        ONTARIO, CA 91762

 000951         JIARO SUAREZ                         Priority           Filed 10/28/04                            $0.00             $358.04                  $0.00
 053            1345 CEDAR AVE                         Disallowed Per Oder Dated 11/12/08 (Docket #2347)
 5300-00        LONG BEACH, CA 90813

 000952         ANTONIO TORRES                       Priority           Filed 05/26/04                            $0.00             $319.97                  $0.00
 053            1245 DAISY ST. #1                      Disallowed per Order Dated 9/18/08 (Docket #1774)
 5300-00        LONG BEACH, CA 90806

 000953         JOSE VARGAS                          Priority           Filed 05/26/04                            $0.00             $639.94                  $0.00
 053            10740 FRACAR                           Disallowed Per Order Dated 11/3/08 (Docket #2306)
 5300-00        LYNWOOD, CA 90262

 000954         EUCARIO VELASQUEZ                    Priority            Filed 05/26/04                           $0.00             $573.25                  $0.00
 053            4200 SUNNYVIEW ROAD                    Disallowed per order 9-16-08 (ac)
 5300-00        NE APT. 224
                SALEM, OR 97305

 000955         ANNETTE PALMATEER                    Priority           Filed 06/14/04                            $0.00           $3,078.73                  $0.00
 053            130 WATER ST                           Disallowed per Order Dated 12/2/08 (Docket #2595)
 5300-00        WADSWORTH, OH 44281




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled                    Claimed             Allowed
 000956-A       HUEY P. WALKER, JR.                  Priority           Filed 06/07/04                          $0.00                  $6,020.00             $1,440.00
 053            38 SURREY LANE                         Modified and Allowed per Order Dated 1/5/09 (Docket #2830) (ac)
 5300-00        TARRYTOWN, GA 30470

                                                                                     4437123323        03/25/10    4325                 1,329.84
 000957-B       PAUL PRAIRIE                         Priority            Filed 05/17/04                           $0.00                    $0.00             $1,573.39
 053            3618 N VINCENNES TRAIL                 Reclassified per Order Dated 1/5/09 (docket #2829)
 5300-00        MOMENCE, IL 60954                      Amended by Claim #1121


                                                                                     4437123323        03/25/10    4225                 1,405.83
 000958-B       PAULA J SENESOC                      Priority           Filed 05/17/04                            $0.00                $3,598.32             $3,598.32
 053            38 JORDAN DR                           Allowed Per Order Dated 11/18/08 (Dkt # 2419)
 5300-00        BOWRBONNAIS, IL 60914

                                                                                     4437123323        03/25/10    4277                 3,215.09
 000959-A       PAULA J SENESOC                      Priority           Filed 05/17/04                            $0.00                $3,598.32                  $0.00
 053            38 JORDAN DR                           Disallowed Per Order Dated 11/18/08 (Dkt # 2419)
 5300-00        BOWRBONNAIS, IL 60914

 000960         HIPOLITO RAMIREZ                     Priority           Filed 05/26/04                            $0.00                  $331.02                  $0.00
 053            1467 E ELMA CT                         Disallowed Per Order Dated 9/16/08 (Docket #1765)
 5300-00        ONTARIO, CA 91764

 000961         OSCAR RAMIREZ                        Priority           Filed 05/26/04                            $0.00                  $394.48                  $0.00
 053            1467 E ELM CT #B                       Disallowed Per Order Dated 11/3/08 (Dkt # 2286)
 5300-00        ONTARIO, CA 91761

 000962         FLORENCIO RIVERA                     Priority           Filed 10/28/04                            $0.00                  $356.87                  $0.00
 053            1519 E 10TH ST. #5                     Disallowed per Order Dated 9/16/08 (Docket #1773)
 5300-00        LONG BEACH, CA 90805

 000963         GILBERTO RODRIGUEZ                   Priority           Filed 05/26/04                            $0.00                  $746.10                  $0.00
 053            1616 1/2 E. SAN VINCENTS ST.           Disallowed Per Order Dated 8/13/08 (Docket #1521)
 5300-00        COMPTON, CA 90221

 000964         ISAIAS SACRISTAN                     Priority           Filed 05/26/04                            $0.00                  $704.64                  $0.00
 053            1869 HARBOR AVENUE #3                  Disallowed Per Order Dated 8/13/08 (Docket #1526)
 5300-00        LONG BEACH, CA 90810

 000967-B       KARLA M CARTER                       Priority           Filed 06/08/04                            $0.00                $2,505.00             $1,002.00
 053            5505 KELLY ANNE WAY                    Reduced and Reclassified Per Order Dated 12/15/08 (Docket #2697) (ac)
 5300-00        NOBLESVILLE, IN 46062

                                                                                     4437123323        03/25/10    4048                   891.28
 000969-B       DEBRA A DAVIS                        Priority           Filed 05/21/04                            $0.00                $4,153.99                  $0.00
 053            13408 120TH AVE.                       Disallowed per Order Dated 8/26/08 (Docket #1656) (ac)
 5300-00        GRAND HAVEN, MI 49417                  Amended by Claim #1119


 000970         KEVIN M BLOCHOWSKI                   Priority           Filed 05/20/04                            $0.00                $2,003.92             $2,003.92
 053            480 PLUM CREEK COURT #1
 5300-00        BOURBONNAIS, IL 60914

                                                                                     4437123323        03/25/10    4033                 1,790.50



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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                Scheduled               Claimed             Allowed
 000971-A       SCOTT E PRAIRIE                      Priority           Filed 05/17/04                            $0.00          $31,694.40             $1,694.72
 053            3618 N VICENNES TRAIL                  Reduced and Reclassified Per Order Dated 11/12/08 (Dkt # 2348 )
 5300-00        MOMENCE, IL 60954

                                                                                    4437123323        03/25/10     4226            1,514.24
 000972         ROSALINO ADAME                       Priority           Filed 05/26/04                            $0.00             $356.37                  $0.00
 053            1467 E. ELMA #B                        Disallowed Per Order Dated 10/27/08 (Dkt # 2199)
 5300-00        ONTARIO, CA 91764

 000973         ALFREDO ALCALA                       Priority           Filed 05/26/04                            $0.00             $329.79                  $0.00
 053            9716 CEDAR ST.                         Disallowed per Order Dated 8/13/08 (Docket #1531)
 5300-00        BELLFLOWER, CA 90106

 000974         GENARO GONZALEZ ANARICIA             Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            625 N ISLAND                           Disallowed Per Order Dated 11/18/08 (Docket #2413)
 5300-00        WILMINGTON, CA 90745

 000975         ANDRES ARANDA                        Priority           Filed 05/26/04                            $0.00             $713.74                  $0.00
 053            6746 GAGE AVE                          Disallowed per Order Dated 8/13/08 (Docket #1520)
 5300-00        BELL GARDENS, CA 90201

 000976         JOSE ARANDA                          Priority           Filed 05/26/04                            $0.00             $434.81                  $0.00
 053            6746 GAGE AVENUE                       Disallowed Per Order Dated 11/18/08 (Docket #2411)
 5300-00        BELL GARDENS, CA 90201

 000977         GABRIEL ARENIVAR                     Priority           Filed 05/26/04                            $0.00             $216.95                  $0.00
 053            627 W. 5TH STREET                      Disallowed per Order Dated 8/13/08 (Docket #1519)
 5300-00        LONG BEACH, CA 90813

 000978         CARMELO CARDENAS                     Priority           Filed 05/26/04                            $0.00             $345.53                  $0.00
 053            8550 ROSE ST                           Disallowed per Order Dated 8/13/08 (Docket #1535)
 5300-00        BELLFOWER, CA 90706

 000979         SALVADOR CHAVEZ                      Priority           Filed 05/26/04                            $0.00             $376.81                  $0.00
 053            1267 N. MARIN AVE                      Disallowed Per Order Dated 11/18/08 (Dkt # 2417)
 5300-00        WILMINGTON, CA 90744

 000980         ENRIQUE COLIN                        Priority           Filed 05/26/04                            $0.00             $411.47                  $0.00
 053            6840 BEAR AVE.                         Disallowed per Order Dated 9/16/08 (Docket #1775) (ac)
 5300-00        BELL, CA 90201

 000982         JUAN PERALTA                         Priority           Filed 05/26/04                            $0.00             $213.74                  $0.00
 053            9973 CENTRAL AVE.                      Disallowed Per Oder Dated 12/2/08 (Docket #2579) (ac)
 5300-00        MONTCLAIR, CA 91763

 000983         OSCAR PEREZ                          Priority           Filed 05/26/04                            $0.00             $343.67                  $0.00
 053            103 1/2 PACIFIC AVE                    Disallowed Per Order Dated 11/3/08 (Dkt # 2294)
 5300-00        LONG BEACH, CA 90813

 000984         HIPOLITO RAMIREZ                     Priority           Filed 05/26/04                            $0.00             $331.02                  $0.00
 053            1467 E ELMA CT                         Disallowed Per Order Dated 9/16/08 (Docket # 1765)
 5300-00        ONTARIO, CA 91764




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address              Claim Class     Notes                                  Scheduled               Claimed             Allowed
 000985         OSCAR RAMIREZ                        Priority           Filed 05/26/04                              $0.00             $394.48                  $0.00
 053            1467 E ELM CT #B                       Disallowed Per Order Dated 11/3/08 (Dkt # 2286)
 5300-00        ONTARIO, CA 91761

 000986         FLORENCIO RIVERA                     Priority           Filed 05/26/04                              $0.00             $356.87                  $0.00
 053            1519 E 10TH ST #5                      Disallowed per Order Dated 9/16/08 (Docket #1773)
 5300-00        LONG BEACH, CA 90805

 000987         GILBERTO RODRIGUEZ                   Priority           Filed 05/26/04                              $0.00             $746.10                  $0.00
 053            1616 1/2 E. SAN VINCENTS ST            Disallowed Per Order Dated 8/13/08 (Docket #1521)
 5300-00        COMPTON, CA 90221

 000988         ISAIAS SACRISTAN                     Priority           Filed 05/26/04                              $0.00             $704.64                  $0.00
 053            1869 HARBOR AVENUE #3                  Disallowed Per Order Dated 8/13/08 (Docket #1526)
 5300-00        LONG BEACH, CA 90810

 000989-A       SUSAN D. HALL                        Priority            Filed 05/17/04                             $0.00           $6,039.68             $2,861.28
 053            1216 STANLEY STREET                    Reclassified Per Order Dated 8/18/08 (Dkt # 1577) (ac)
 5300-00        BURNS HARBOR, IN 46304

                                                                                     4437123323        03/25/10      4124            2,545.11
 000990-A       JEFFREY S. WHITE                     Priority            Filed 05/13/04                             $0.00           $9,287.58             $4,925.00
 053            226 COUNTRY CLUB DR                    Reclassified Per Order Dated 12/9/08 (Docket # 2663)
 5300-00        DURHAM, NC 27712

                                                                                     4437123323        03/25/10      4329            4,432.24
 000996         JOSE OREJEL                          Priority           Filed 05/26/04                              $0.00             $330.25                  $0.00
 053            9222 DOROTHY AVE                       Disallowed Per Order Dated 11/3/08 (Docket #2309)
 5300-00        SOUTH GATE, CA 90280

 000998         JOSE CRUZ                            Priority           Filed 05/26/04                              $0.00             $337.11                  $0.00
 053            14632 SAN JOSE AVE                     Disallowed Per Order Dated 8/13/08 (Docket #2001)
 5300-00        PARAMOUNT, CA 90723

 000999         JOSE SANCHEZ CRUZ                    Priority           Filed 05/26/04                              $0.00             $376.89                  $0.00
 053            7005 WATCHER ST                        Disallowed Per Order Dated 11/3/08 (Docket #2297)
 5300-00        COMMERCE, CA 90040

 001000         JOSE GODINEZ                         Priority           Filed 05/26/04                              $0.00             $393.78                  $0.00
 053            1900 CAMPUS AVE                        Disallowed Per Order Dated 11/18/08 (Docket #2416)
 5300-00        ONTARIO, CA 91761

 001001         DANIEL GARCIA                        Priority           Filed 05/26/04                              $0.00             $453.93                  $0.00
 053            417 E 118TH ST                         Disallowed per Order Dated 10/2/08 (Docket #1960)
 5300-00        LOS ANGELES, CA 90061

 001002         JAVIER HERNANDEZ                     Priority           Filed 05/26/04                              $0.00             $196.93                  $0.00
 053            7622 9TH ST APT. B                     Disallowed Per Order Dated 8/13/08 (Docket #1522)
 5300-00        BUENA PARK, CA 90621

 001003         ARTURO LOPEZ                         Priority           Filed 05/26/04                              $0.00             $376.35                  $0.00
 053            1811 ROSEWOOD                          Disallowed per Order Dated 8/13/08 (Docket #1529)
 5300-00        ONTARIO, CA 91764




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                               Scheduled               Claimed             Allowed
 001004         MAURO LOPEZ                           Priority           Filed 05/26/04                            $0.00             $508.04                  $0.00
 053            3238 PONTIAC AVE                        Disallowed per Order Dated 11/18/08 (Docket #2427)
 5300-00        RIVERSIDE, CA 92509

 001005         ALBERTO LUNA                          Priority           Filed 05/26/04                            $0.00             $233.40                  $0.00
 053            1432 NOCTA ST. #C                       Disallowed per Order Dated 8/13/08 (Docket #1528)
 5300-00        ONTARIO, CA 91764

 001006         JORGE MAGANA                          Priority           Filed 05/26/04                            $0.00             $664.27                  $0.00
 053            1718 E. FLORA ST. #B                    Disallowed Per Order Dated 11/18/08 (Docket #2407)
 5300-00        ONTARIO, CA 91764

 001007         MARTIN MENDOZA                        Priority           Filed 05/26/04                            $0.00             $246.15                  $0.00
 053            15704 ORANGE AE APT 142                 Disallowed per Order Dated 11/18/08 (Docket #2410)
 5300-00        PARAMOUNT, CA 90723

 001008         SERGIO OREJEL                         Priority           Filed 05/26/04                            $0.00             $252.13                  $0.00
 053            9222 DOROTHY AVENUE                     Disallowed per Order Dated 11/3/08 (Docket #2310)
 5300-00        SOUTH GATE, CA 90280

 001009         ALEJO OROSCO                          Priority           Filed 05/26/04                            $0.00             $232.44                  $0.00
 053            12424 GREENWOOD                         Disallowed per Order Dated 8/13/08 (Docket #1532)
 5300-00        WHITTIER, CA 90604

 001010         ALFONSO ORTIZ                         Priority           Filed 05/26/04                            $0.00             $392.61                  $0.00
 053            2209 E EL SEGUNDO #7                    Disallowed per Order Dated 8/13/08 (Docket #1530)
 5300-00        COMPTON, CA 90222

 001011         JUAN MANUEL PAZ                       Priority           Filed 05/26/04                            $0.00             $351.00                  $0.00
 053            6747 GAGE AVENUE                        Disallowed Per Order Dated 11/18/08 (Docket#2422)
 5300-00        BELL GARDENS, CA 90201

 001012         HUMBERTO J SILVA                      Priority           Filed 05/26/04                            $0.00           $1,372.26                  $0.00
 053            1437 S MCDONNELL AVE                    Disallowed Per Order Dated 8/13/08 (Docket #1533)
 5300-00        COMMERCE, CA 90040

 001013         ISRAEL VALLEJO SOSA                   Priority           Filed 05/26/04                            $0.00             $420.35                  $0.00
 053            543 W MAITLAND ST                       Disallowed Per Order Dated 8/13/08 (Docket #1527)
 5300-00        ONTARIO, CA 91762

 001014         JIARO SUAREZ                          Priority           Filed 05/26/04                            $0.00             $358.04                  $0.00
 053            1345 CEDAR AVE                          Disallowed Per Order Dated 11/3/08 (Docket #2291)
 5300-00        LONG BEACH, CA 90813

 001015         ANTONIO TORRES                        Priority           Filed 05/26/04                            $0.00             $319.97                  $0.00
 053            1245 DAISY ST #1                        Disallowed Per Order Dated 1/5/09 (Docket #2828)
 5300-00        LONG BEACH, CA 90806

 001016         JOSE VARGAS                           Priority           Filed 05/26/04                            $0.00             $639.94                  $0.00
 053            10740 FRACAR                            Disallowed Per Order Dated 11/3/08 (Docket #2306)
 5300-00        LYNWOOD, CA 90262

 001017         EUCARIO VELASQUEZ                     Priority            Filed 05/26/04                           $0.00             $573.23                  $0.00
 053            4200 SUNNYVIEW RD                       Disallowed per order 9/16/08 (ca)
 5300-00        NE APT 224
                SALEM, OR 97305



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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001018-A       MICHAEL HOWIE                         Priority            Filed 05/24/04                           $0.00           $5,580.00             $4,925.00
 053            135 TIFFANY CT                          Reclassified Per Order Dated 12/2/08 ( Dkt # 2586)
 5300-00        LOCUST GROVE, GA 30248

                                                                                      4437123323        03/25/10    4134            4,499.49
 001032         MAURO LOPEZ                           Priority           Filed 05/26/04                            $0.00             $508.04                  $0.00
 053            3238 PONTIAC AVE                        Disallowed per Order Dated 11/18/08 (Docket #2427)
 5300-00        RIVERSIDE, CA 92509

 001033         ALBERTO LUNA                          Priority           Filed 05/26/04                            $0.00             $233.40                  $0.00
 053            1432 NOCTA ST. #C                       Disallowed per Order Dated 8/13/08 (Docket #1528)
 5300-00        ONTARIO, CA 91764

 001034         JORGE MAGANA                          Priority           Filed 05/26/04                            $0.00             $664.27                  $0.00
 053            1718 E. FLORA ST #B                     Disallowed Per Order Dated 11/18/08 (Docket #2407)
 5300-00        ONTARIO, CA 91764

 001038         ALVARO JARA                           Priority            Filed 07/30/04                           $0.00         $500,000.00                  $0.00
 053            ATTN DAVID A SYNDER PA                  Disallowed per order 8-19-08
 5300-00        2340 S DIXIE HIGHWAY
                MIAMI, FL 33133

 001039         ALVARO JARA                           Priority            Filed 10/18/04                           $0.00         $500,000.00                  $0.00
 053            ATTN DAVID A SNYDER PA                  Disallowed per order 8-19-08
 5300-00        2340 S DIXIE HIGHWAY
                MIAMI, FL 33133

 001040         ROSALINO ADAME                        Priority           Filed 05/26/04                            $0.00             $356.37                  $0.00
 053            1467 E ELMA #B                          Disallowed Per Order Dated 10/27/08 (Dkt # 2199)
 5300-00        ONTARIO, CA 91764

 001041         ALFREDO ALCALA                        Priority           Filed 05/26/04                            $0.00             $329.79                  $0.00
 053            9716 CEDAR ST                           Disallowed per Order Dated 8/13/08 (Docket #1531)
 5300-00        BELLFLOWER, CA 90706

 001042         GENARO GONZALEZ APARACIA              Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            625 N ISLAND                            Disallowed Per Order Dated 11/18/08 (Docket #2413)
 5300-00        WILMINGTON, CA 90745

 001043         ANDRES ARANDA                         Priority           Filed 05/26/04                            $0.00             $713.74                  $0.00
 053            6746 GAGE AVE                           Disallowed per Order Dated 8/13/08 (Docket #1520)
 5300-00        BELL GARDENS, CA 90201

 001044         JOSE ARANDA                           Priority           Filed 05/26/04                            $0.00             $434.81                  $0.00
 053            6746 GAGE AVE                           Disallowed Per Order Dated 11/18/08 (Docket #2411)
 5300-00        BELL GARDENS, CA 90201

 001045         GABRIEL ARENIVAR                      Priority           Filed 05/26/04                            $0.00             $216.95                  $0.00
 053            627 W 5TH ST                            Disallowed per Order Dated 8/13/08 (Docket #1519)
 5300-00        LONG BEACH, CA 90813

 001046         CARMELO CARDENAS                      Priority           Filed 05/26/04                            $0.00             $345.53                  $0.00
 053            8550 ROSE ST                            Disallowed per Order Dated 8/13/08 (Docket #1535)
 5300-00        BELLFLOWER, CA 90706




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001047         SALVADOR CHAVEZ                       Priority           Filed 05/26/04                            $0.00             $376.81                  $0.00
 053            1267 N MARIN AVE                        Disallowed Per Order Dated 11/18/08 (Dkt # 2417)
 5300-00        WILMINGTON, CA 90744

 001048         ENRIQUE COLIN                         Priority           Filed 05/26/04                            $0.00             $411.47                  $0.00
 053            6840 BEAR AVE                           Disallowed per Order Dated 9/16/08 (Docket #1775) (ca)
 5300-00        BELL, CA 90201

 001049         JOSE CRUZ                             Priority           Filed 05/26/04                            $0.00             $337.11                  $0.00
 053            14632 SAN JOSE AVE                      Disallowed Per Order Dated 8/13/08 (Docket #2001)
 5300-00        PARAMOUNT, CA 90723

 001050         JOSE SANCHEZ CRUZ                     Priority           Filed 05/26/04                            $0.00             $376.89                  $0.00
 053            7005 WATCHER ST                         Disallowed Per Order Dated 11/3/08 (Docket #2297)
 5300-00        COMMERCE, CA 90040

 001051         JOSE GODINEZ                          Priority           Filed 05/26/04                            $0.00             $393.78                  $0.00
 053            1900 CAMPUS AVE                         Disallowed Per Order Dated 11/18/08 (Docket #2416)
 5300-00        ONTARIO, CA 91761

 001052         DANIEL GARCIA                         Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            417 E 118TH ST                          Disallowed per Order Dated 10/2/08 (Docket #1960)
 5300-00        LOS ANGELES, CA 90061

 001053         JAVIER HERNANDEZ                      Priority           Filed 05/26/04                            $0.00             $196.93                  $0.00
 053            7622 9TH ST. APT. B                     Disallowed Per Order Dated 8/13/09 (Docket #1522)
 5300-00        BUENA PARK, CA 90621

 001054         ARTURO LOPEZ                          Priority           Filed 05/26/04                            $0.00             $376.35                  $0.00
 053            1811 ROSEWOOD                           Disallowed per Order Dated 8/13/08 (Docket #1529)
 5300-00        ONTARIO, CA 91764

 001056         ALFONSO ORTIZ                         Priority           Filed 05/26/04                            $0.00             $392.61                  $0.00
 053            2209 E. EL SEGUNDO #7                   Disallowed per Order Dated 8/13/08 (Docket #1530)
 5300-00        COMPTON, CA 90222

 001057         JUAN MANUEL PAZ                       Priority           Filed 05/26/04                            $0.00             $351.00                  $0.00
 053            6746 GAGE AVENUE                        Disallowed Per Order Dated 11/18/08 (Docket # 2422)
 5300-00        BELL GARDENS, CA 90201

 001058         JUAN PERALTA                          Priority           Filed 05/26/04                            $0.00             $213.74                  $0.00
 053            9973 CENTRAL AVE                        Disallowed Per Order Dated 12/2/08 (Docket #2579) (ca)
 5300-00        MONTCLAIR, CA 91763

 001059         OSCAR PEREZ                           Priority           Filed 05/26/04                            $0.00             $343.67                  $0.00
 053            103 1/2 PACIFIC AVE                     Disallowed Per Order Dated 11/3/08 (Dkt # 2294)
 5300-00        LONG BEACH, CA 90813

 001060         HIPOLITO RAMIREZ                      Priority           Filed 05/26/04                            $0.00             $331.02                  $0.00
 053            1467 E ELMA CT                          Disallowed Per Order Dated 9/16/08 (Docket # 1765)
 5300-00        ONTARIO, CA 91764

 001061         OSCAR RAMIREZ                         Priority           Filed 05/26/04                            $0.00             $394.48                  $0.00
 053            1467 E ELM CT #B                        Disallowed Per Order Dated 11/3/08 (Dkt # 2286)
 5300-00        ONTARIO, CA 91761




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001062         FLORENCIO RIVERA                      Priority           Filed 05/26/04                            $0.00             $356.87                  $0.00
 053            1519 E 10TH ST. #5                      Disallowed per Order Dated 9/16/08 (Docket #1773)
 5300-00        LONG BEACH, CA 90805

 001063         GILBERTO RODRIGUEZ                    Priority           Filed 05/26/04                            $0.00             $746.10                  $0.00
 053            1616 1/2 E VINCENTS ST                  Disallowed Per Order Dated 8/13/08 (Docket #1521)
 5300-00        COMPTON, CA 90221

 001064         ISAIAS SACRISTAN                      Priority           Filed 05/26/04                            $0.00             $704.64                  $0.00
 053            1869 HARBOR AVENUE #3                   Disallowed Per Order Dated 8/13/08 (Docket #1526)
 5300-00        LONG BEACH, CA 90810

 001065         HUMBERTO J. SILVA                     Priority           Filed 05/26/04                            $0.00           $1,372.26                  $0.00
 053            1437 S. MCDONNELL AVE                   Disallowed Per Order Dated 8/13/08 (Docket #1533)
 5300-00        COMMERCE, CA 90040

 001066         ISRAEL VALLEJO SOSA                   Priority           Filed 05/26/04                            $0.00             $420.35                  $0.00
 053            543 W. MAITLAND ST.                     Disallowed Per Order Dated 8/13/08 (Docket # 1527)
 5300-00        ONTARIO, CA 91762

 001067         JIARO SUAREZ                          Priority           Filed 05/26/04                            $0.00             $358.04                  $0.00
 053            1345 CEDAR AVE                          Disallowed Per Oder Dated 11/12/08 (Docket #2347)
 5300-00        LONG BEACH, CA 90813

 001068         ANTONIO TORRES                        Priority           Filed 05/26/04                            $0.00             $319.97                  $0.00
 053            1245 DAISY ST #1                        Disallowed per Order Dated 9/18/08 (Docket #1774)
 5300-00        LONG BEACH, CA 90806

 001069         JOSE VARGAS                           Priority           Filed 05/26/04                            $0.00             $639.94                  $0.00
 053            10740 FRACAR                            Disallowed Per Order Dated 11/3/08 (Docket #2306)
 5300-00        LYNWOOD, CA 90262

 001070         EUCARIO VELASQUEZ                     Priority            Filed 05/26/04                           $0.00             $573.25                  $0.00
 053            4200 SUNNYVIEW RD                       Disallowed per order 9-16-08 (ca)
 5300-00        NE APT 224
                SALEM, OR 97305

 001071         ALFONSO ORTIZ                         Priority           Filed 05/26/04                            $0.00             $392.61                  $0.00
 053            2209 E EL SEGUNDO #7                    Disallowed per Order Dated 8/13/08 (Docket #1530)
 5300-00        COMPTON, CA 90222

 001072         JUAN MANUEL PAZ                       Priority           Filed 05/26/04                            $0.00             $351.00                  $0.00
 053            6746 GAGE AVENUE                        Disallowed Per Order Dated 11/18/08 (Docket #2422)
 5300-00        BELL GARDENS, CA 90201

 001073         JUAN PERALTA                          Priority           Filed 05/26/04                            $0.00             $213.74                  $0.00
 053            9973 CENTRAL AVE                        Disallowed Per Order Dated 12/02/08 (Docket #2579) (ca)
 5300-00        MONTCLAIR, CA 91763

 001074         OSCAR PEREZ                           Priority           Filed 05/26/04                            $0.00             $343.67                  $0.00
 053            1031 1/2 PACIFIC AVE                    Disallowed Per Order Dated 11/3/08 (Dkt # 2294)
 5300-00        LONG BEACH, CA 90813




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001075         HIPOLITO RAMIREZ                      Priority           Filed 05/26/04                            $0.00             $331.02                  $0.00
 053            1467 E. ELMA CT                         Disallowed Per Order Dated 9/16/08 (Docket # 1765)
 5300-00        ONTARIO, CA 91764

 001076         OSCAR RAMIREZ                         Priority           Filed 05/26/04                            $0.00             $394.48                  $0.00
 053            1467 E. ELM COURT #B                    Disallowed Per Order Dated 11/3/08 (Dkt # 2286)
 5300-00        ONTARIO, CA 91761

 001077         FLORENCIO RIVERA                      Priority           Filed 05/26/04                            $0.00             $356.87                  $0.00
 053            1519 E. 10TH ST. #5                     Disallowed per Order Dated 9/16/08 (Docket #1773)
 5300-00        LONG BEACH, CA 90805

 001078         GILBERTO RODRIGUEZ                    Priority           Filed 05/26/04                            $0.00             $746.10                  $0.00
 053            1616 1/2 E. SAN VINCENTS ST.            Disallowed Per Order Dated 8/13/08 (Docket #1521)
 5300-00        COMPTON, CA 90221

 001079         ISAIAS SACRISTAN                      Priority           Filed 05/26/04                            $0.00             $704.64                  $0.00
 053            1869 HARBOR AVE #3                      Disallowed Per Order Dated 8/13/08 (Docket #1526)
 5300-00        LONG BEACH, CA 90810

 001080         HUMBERTO J. SILVA                     Priority           Filed 05/26/04                            $0.00           $1,372.26                  $0.00
 053            1437 S MCDONNELL AVE                    Disallowed Per Order Dated 8/13/08 (Docket #1533)
 5300-00        COMMERCE, CA 90040

 001081         ISRAEL VALLEJO SOSA                   Priority           Filed 05/26/04                            $0.00             $420.35                  $0.00
 053            543 W. MAITLAND ST.                     Disallowed Per Order Dated 8/13/08 (Docket # 1527)
 5300-00        ONTARIO, CA 91762

 001082         MARTIN MENDOZA                        Priority           Filed 05/26/04                            $0.00             $246.15                  $0.00
 053            15704 ORANGE AVE APT 142                Disallowed per Order Dated 11/18/08 (Docket #2410)
 5300-00        PARAMOUNT, CA 90723

 001083         JOSE OREJEL                           Priority           Filed 05/26/04                            $0.00             $330.25                  $0.00
 053            9222 DOROTHY AVE                        Disallowed Per Order Dated 11/3/08 (Docket #2309)
 5300-00        SOUTH GATE, CA 90280

 001084         SERGIO OREJEL                         Priority           Filed 05/26/04                            $0.00             $252.13                  $0.00
 053            9222 DOROTHY AVE                        Disallowed per Order Dated 11/3/08 (Docket #2310)
 5300-00        SOUTH GATE, CA 90280

 001085         ALEJO OROSCO                          Priority           Filed 05/26/04                            $0.00             $232.44                  $0.00
 053            12424 BREEZEWOOD DR APT 11              Disallowed per Order Dated 8/13/08 (Docket #1532)
 5300-00        WHITTIER, CA 90604

 001086         SALVADOR CHAVEZ                       Priority           Filed 05/26/04                            $0.00             $376.81                  $0.00
 053            1267 N MARIN AVENUE                     Disallowed Per Order Dated 11/18/08 (Dkt # 2417)
 5300-00        WILMINGTON, CA 90744

 001087         ENRIQUE COLIN                         Priority           Filed 05/26/04                            $0.00             $411.47                  $0.00
 053            6840 BEAR AVE                           Disallowed per Order Dated 9/16/08 (Docket #1775) (ac)
 5300-00        BELL, CA 90201

 001088         JOSE CRUZ                             Priority           Filed 05/26/04                            $0.00             $337.11                  $0.00
 053            14632 SAN JOSE AVE                      Disallowed Per Order Dated 8/13/08 (Docket #2001)
 5300-00        PARAMOUNT, CA 90723




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                               Scheduled               Claimed             Allowed
 001089         JOSE SANCHEZ CRUZ                     Priority           Filed 05/26/04                            $0.00             $376.89                  $0.00
 053            7005 WATCHER ST                         Disallowed Per Order Dated 11/3/08 (Docket #2297)
 5300-00        COMMERCE, CA 90040

 001090         JOSE GODINEZ                          Priority           Filed 05/26/04                            $0.00             $393.78                  $0.00
 053            1900 CAMPUS AVE                         Disallowed Per Order Dated 11/18/08 (Docket #2416)
 5300-00        ONTARIO, CA 91761

 001091         DANIEL GARCIA                         Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            417 E 118TH STD                         Disallowed per Order Dated 10/2/08 (Docket #1960)
 5300-00        LOS ANGELES, CA 90061

 001092         JAVIER HERNANDEZ                      Priority           Filed 05/26/04                            $0.00             $196.93                  $0.00
 053            7622 9TH ST APT B                       Disallowed Per Order Dated 8/13/08 (Docket #1522)
 5300-00        BUENE PARK, GA 90621

 001093         ARTURO LOPEZ                          Priority           Filed 05/26/04                            $0.00             $376.35                  $0.00
 053            1811 ROSEWOOD                           Disallowed per Order Dated 8/13/08 (Docket #1529)
 5300-00        ONTARIO, CA 91764

 001094         MAURO LOPEZ                           Priority           Filed 10/28/04                            $0.00             $508.04                  $0.00
 053            3238 PONTIAC AVE                        Disallowed per Order Dated 11/18/08 (Docket #2427)
 5300-00        RIVERSIDE, CA 92509

 001095         ALBERTO LUNA                          Priority           Filed 05/26/04                            $0.00             $233.40                  $0.00
 053            1432 NOCTA ST #C                        Disallowed per Order Dated 8/13/08 (Docket #1528)
 5300-00        ONTARIO, CA 91764

 001096         JORGE MAGANA                          Priority           Filed 05/26/04                            $0.00             $664.27                  $0.00
 053            1718 E FLORA ST #B                      Disallowed Per Order Dated 11/18/08 (Docket #2407)
 5300-00        ONTARIO, CA 91764

 001097         MARTIN MENDOZA                        Priority           Filed 05/26/04                            $0.00             $246.15                  $0.00
 053            15704 ORANGE AVE APT 142                Disallowed per Order Dated 11/18/08 (Docket #2410)
 5300-00        PARAMOUNT, CA 90723

 001098         JOSE OREJEL                           Priority           Filed 05/26/04                            $0.00             $330.25                  $0.00
 053            9222 DOROTHY AVENUE                     Disallowed Per Order Dated 11/3/08 (Docket #2309)
 5300-00        SOUTH GATE, CA 90280

 001099         SERGIO OREJEL                         Priority           Filed 05/26/04                            $0.00             $252.13                  $0.00
 053            9222 DOROTHY AVE                        Disallowed per Order Dated 11/3/08 (Docket #2310)
 5300-00        SOUTH GATE, CA 90280

 001100         ALEJO OROSCO                          Priority           Filed 05/26/04                            $0.00             $232.44                  $0.00
 053            12424 BREEZEGOOD DR APT 11              Disallowed per Order Dated 8/13/08 (Docket #1532)
 5300-00        WHITTIER, CA 90604

 001103         KIMBERLY A ALLEN                      Priority             Filed 07/06/04                          $0.00           $1,120.00             $1,120.00
 053            5995 N WILDWOOD #233                    Paid to Registry 5-17-12 $985.60 less taxes
 5300-00        WESTWOOD, MI 48185

 001104         JIARO SUAREZ                          Priority           Filed 05/26/04                            $0.00             $358.04                  $0.00
 053            1345 CEDAR AVE                          Disallowed Per Order Dated 11/12/08 (Docket # 2347)
 5300-00        LONG BEACH, CA 90813




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001105         ANTONIO TORRES                        Priority           Filed 05/26/04                            $0.00             $319.97                  $0.00
 053            1245 DAISY ST #1                        Disallowed per Order Dated 9/18/08 (Docket #1774)
 5300-00        LONG BEACH, CA 90806

 001106         JOSE VARGAS                           Priority           Filed 05/26/04                            $0.00             $639.94                  $0.00
 053            10740 FRACAR                            Disallowed Per Order Dated 11/3/08 (Docket #2306)
 5300-00        LYNWOOD, CA 90262

 001107         EUCARIO VELASQUEZ                     Priority            Filed 05/26/04                           $0.00             $573.25                  $0.00
 053            4200 SUNNYVIEW RD.                      Disallowed per order 9-16-08 (ac)
 5300-00        NE APT. 224
                SALEM, OR 97305

 001110         ROSALINO ADAME                        Priority           Filed 05/26/04                            $0.00             $356.37                  $0.00
 053            1467 E. ELMA #B                         Disallowed Per Order Dated 10/27/08 (Dkt # 2199)
 5300-00        ONTARIO, CA 91764

 001111         ALFREDO ALCALA                        Priority           Filed 05/26/04                            $0.00             $329.79                  $0.00
 053            9716 CEDAR ST                           Disallowed per Order Dated 8/13/08 (Docket #1531)
 5300-00        BELLFLOWER, CA 90706

 001112         GENARO GONZALEZ APARICIA              Priority           Filed 05/26/04                            $0.00             $453.93                  $0.00
 053            625 N ISLAND                            Disallowed Per Order Dated 11/18/08 (Docket #2413)
 5300-00        WILMINGTON, CA 90745

 001113         ANDRES ARANDA                         Priority           Filed 05/26/04                            $0.00             $713.74                  $0.00
 053            6746 GAGE AVE                           Disallowed per Order Dated 8/13/08 (Docket #1520)
 5300-00        BELL GARDENS, CA 90201

 001114         JOSE ARANDA                           Priority           Filed 05/26/04                            $0.00             $434.81                  $0.00
 053            6746 GAGE AVE                           Disallowed Per Order Dated 11/18/08 (Docket #2411)
 5300-00        BELL GARDENS, CA 90201

 001115         GABRIEL ARENIVAR                      Priority           Filed 05/26/04                            $0.00             $216.95                  $0.00
 053            627 W 5TH ST                            Disallowed per Order Dated 8/13/08 (Docket #1519)
 5300-00        LONG BEACH, CA 90813

 001116         CARMELO CARDENAS                      Priority           Filed 05/26/04                            $0.00             $345.53                  $0.00
 053            8550 ROSE ST                            Disallowed per Order Dated 8/13/08 (Docket #1535)
 5300-00        BELLFLOWER, CA 90706

 001117         MICHAEL SCHWED                        Priority           Filed 05/05/04                            $0.00           $3,716.00                  $0.00
 053            901 FRANKLIN AVE                        Disallowed Per Order Dated 12/2/08 (Dkt # 2592)
 5300-00        OCEAN, NJ 07124

 001119-A       DEBRA A DAVIS                         Priority           Filed 06/07/04                            $0.00           $1,427.20                  $0.00
 053            13408 120TH AVE.                        Disallowed per Order Dated 8/26/08 (Docket #1656) (ca)
 5300-00        GRAND HAVEN, MI 49417

 001120         JAMIE DOLE                            Priority            Filed 07/02/04                           $0.00             $193.68               $193.68
 053            513 FAIRVIEW
 5300-00        SALINA, KS 67401

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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                  Scheduled                  Claimed             Allowed
 001121-A       PAUL PRAIRIE                          Priority           Filed 10/14/04                            $0.00           $32,640.78                      $0.00
 053            3618 N VINCENNES TRAIL                  Reduced and Reclassified Per Order Dated 1/5/09 (Docket #2829) Amends Claim #957
 5300-00        MOMENCE, IL 60954

 001122         EICK/SWEENY DANI                      Priority           Filed 10/28/04                            $0.00                $4,760.08             $2,070.00
 053            560 HEMLOCK ST.                         Reduced and Reclassified Per Order Dated 5/26/08 (Docket # 3300) (ac)
 5300-00        RAWAY, NJ 07065

                                                                                      4437123323       03/25/10       4082               1,858.96
 001123         FRANCES ANTHONY SUMMEY                Priority           Filed 05/14/04                              $0.00              $2,312.96             $2,312.96
 053            PO BOX 837
 5300-00        STANLEY, NC 28164

                                                                                      4437123323       03/25/10       4296               2,136.02
 001124-A       MAURA MESSINA                         Priority           Filed 05/13/04                              $0.00              $1,446.70             $1,446.70
 053            291 SEDGEWICK DR.                       Allowed Per Order Dated 5/4/09 [Docket No.3251] (ac)
 5300-00        MAGNOLIA, DE 19962

                                                                                      4437123323       03/25/10       4182               1,336.02
 001126         BYRON A BUITENDORP                    Priority           Filed 05/14/04                              $0.00                $371.97               $371.97
 053            13408 120TH AVE
 5300-00        GRAND HAVEN, MI 49417

                                                                                      4437123323       03/25/10       4038                 327.34
 001127-A       DEREK M. DENOYER                      Priority            Filed 05/17/04                             $0.00              $6,251.43             $4,925.00
 053            1149 COBB BLVD                          Reclassified per Order Dated 12/15/08 (Docket #2701)
 5300-00        KANKAKEE, FL 60901

                                                                                      4437123323       03/25/10       4076               4,400.49
 001128-B       TODD SKLAR                            Priority           Filed 05/17/04                              $0.00              $2,500.00                  $0.00
 053            5790 FOX HOLLOW DR.                     Disallowed Per Order Dated 9/16/08 (Dkt # 1780) (ac)
 5300-00        BOCA RATON, FL 33486

 001129-A       DERRICK THOMAS                        Priority           Filed 05/14/04                              $0.00              $1,632.00                  $0.00
 053            1961 NEPTUNE DRIVE                      Disallowed per Order Dated 11/25/08 (Docket #2510) (ac)
 5300-00        AUGUSTA, GA 30906

 001130-B       ROBB, GAIL R                          Priority            Filed 05/19/04                             $0.00                  $0.00             $2,924.00
 053            1924 LOGAN BELLY LANE                   Reclassified per Order Dated 9/23/08 (Docket #1888)
 5300-00        CROWN POINT, IN 46307

                                                                                      4437123323       03/25/10       4247               2,600.89
 001131-B       DEBRA A DAVIS                         Priority           Filed 05/14/04                         $0.00                   $4,153.99                  $0.00
 053            13408 120TH AVE                         Disallowed per Order Dated 8/26/08 (Docket #1656) Amended by Claim #1320
 5300-00        GRAND HAVEN, MI 49417

 001132         AMBER R GOOSTREE                      Priority           Filed 05/24/04                              $0.00                $976.50               $976.50
 053            10002 LYDIA CT
 5300-00        WICHITA, KS 67209

                                                                                      4437123323       12/19/11       4349                 901.80
 001133-A       BELINDA BALSAUO                       Priority          Filed 05/28/04                            $0.00                 $4,375.70             $4,375.70
 053            935 S 8TH AVENUE                        Reduced & Reclassified per Consent Order Dated 11/17/08 (Docket #2406)
 5300-00        KAUKAKEE, FL 60901




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed


                                                                                      4437123323       03/25/10     4027            3,909.69
 001135         MAGGIE MORONEY                        Priority            Filed 06/21/04                           $0.00           $1,442.30             $1,442.30
 053            2818 190TH ST.                          Reclassifed Per Order Dated 12/31/08 (Docket #2815) (ac)
 5300-00        WINTHROP, IA 50682

                                                                                      4437123323       03/25/10     4190            1,331.97
 001136         NOEL, MANDI                           Priority           Filed 05/17/04                            $0.00           $3,967.44                  $0.00
 053            1212 WILD TURKEY DR                     Disallowed Per Order Dated 8/25/08 (Dkt # 1625)
 5300-00        DERBY, KS 67037

 001153         GILBERT COLON                         Priority           Filed 10/27/04                            $0.00           $4,650.00             $4,650.00
 053            125 S CURLEY ST
 5300-00        BALTIMORE, MD 21224

                                                                                      4437123323       03/25/10     4055            4,294.27
 001155-B       VILLAHERMOSA, JERRY                   Priority            Filed 10/27/04                           $0.00               $0.00               $257.90
 053            1740 BRILL ST                           Reclassified Per Order Dated 10/27/08 (Docket #2206)
 5300-00        PHILADELPHIA, PA 19124

                                                                                      4437123323       03/25/10     4323              230.04
 001161-B       OLASKOWITZ, STAN                      Priority           Filed 10/26/04                            $0.00           $1,654.40                  $0.00
 053            51 LEO AVENUE                           Disallowed Per Order Dated 8/18/08 (Dkt # 1572)
 5300-00        STANHOPE, NJ 07874

 001163         ELAINE M SININS                       Priority           Filed 10/26/04                            $0.00           $2,485.80                  $0.00
 053            35 SINCLAIR TER                         Disallowed per Order Dated 10/21/08 (Docket #2110)
 5300-00        SHORT HILLS, NJ 07078

 001164-A       LUIS J FERNANDEZ                      Priority           Filed 10/26/04                            $0.00          $10,550.86                  $0.00
 053            517 MOUNTAINVIEW AVE.                   Disallowed per Order Dated 1/13/09 (Docket #2853) (ac)
 5300-00        VALLEY COTTAGE, NY 10989

 001171         RODRIGUEZ, MAXIEL                     Priority           Filed 10/27/04                            $0.00             $400.00               $400.00
 053            6408 POLK ST., APT 1                    (ac)
 5300-00        WEST NY, NJ 07093

                                                                                      4437123323       03/25/10     4253              359.22
 001175         MACHAEL, THOMAS                       Priority           Filed 10/27/04                            $0.00             $327.60               $327.60
 053            5132 GLORIA ST
 5300-00        WAYNE, MI 48184

                                                                                      4437123323       03/25/10     4166              288.29
 001178-A       RIZZOLO, R LEE                        Priority           Filed 10/26/04                            $0.00           $1,891.45             $1,891.45
 053            2564 AUDREY TERACE
 5300-00        UNION, NJ 07083

                                                                                      4437123323       03/25/10     4246            1,698.62
 001181         ELAINE M SININS                       Priority           Filed 10/26/04                            $0.00          $26,400.00                  $0.00
 053            35 SINCLAIR TER                         Disallowed per Order Dated 10/21/08 (Docket #2110)
 5300-00        SHORT HILLS, NJ 07078




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled               Claimed             Allowed
 001182         ELAINE M SININS                       Priority           Filed 10/26/04                             $0.00          $21,000.00                  $0.00
 053            35 SINCLAIR TER                         Disallowed per Order Dated 10/21/08 (Docket #2110)
 5300-00        SHORT HILLS, NJ 07078

 001183         BARRY M SININS                        Priority           Filed 10/26/04                             $0.00          $21,000.00                  $0.00
 053            2304 TRIDENT MAPLE ST                   Disallowed Per Order Dated 12/22/08 (Docket #2764)
 5300-00        LAS VEGAS, NV 89117

 001184         BARRY M SININS                        Priority           Filed 10/26/04                             $0.00          $33,000.00                  $0.00
 053            2304 TRIDENT MAPLE ST                   Disallowed Per Order Dated 12/22/08 (Docket #2764)
 5300-00        LAS VEGAS, NV 89117

 001191-A       THOMAS, ELMER L                       Priority            Filed 10/27/04                           $0.00            $2,121.28                  $0.00
 053            POST OFFICE BOX 13                      Reclassified per Consent Order Dated 6/16/09 (Docket #3336)
 5300-00        ATLANTIC, VA 23302

 001195-A       COOPER, PAMELA M                      Priority           Filed 10/26/04                             $0.00             $532.00               $320.00
 053            916 NORTH DUKE ST.                      Reduced Per Order Dated 11/12/08 (Dkt # 2357) (ac)
 5300-00        LANCASTER, PA 17602

                                                                                       4437123323      03/25/10      4057              285.44
 001196         SANDOVAL, MIGUEL                      Priority             Filed 10/25/04                           $0.00              $46.17                $46.17
 053            1355 ARTHUR BURCH DR                    Paid to Registry 5-17-12 $41.25 less taxes
 5300-00        LOT F 5
                BOURBONNAIS, IL 60914

 001197         MARTINEZ, AMANDA                      Priority             Filed 10/26/04                           $0.00             $191.74               $191.74
 053            1070 S. OSBORN                          Paid to Registry 5-17-12 $171.32 less taxes
 5300-00        KANKAKEE, IL 60901

 001200         PLATA, MARIA                          Priority             Filed 10/27/04                           $0.00             $154.49               $154.49
 053            PO BOX 1435                             Paid to Registry 5-17-12 $141.90 less taxes
 5300-00        CENTRAL ISLIP, NY 11722

 001204-A       WILSON, ROSALINA U                    Priority           Filed 10/28/04                             $0.00             $296.25                  $0.00
 053            768 MARIETTA AVE., APT. B               Disallowed Per Order Dated 11/25/08 (Dkt # 2506) (ac)
 5300-00        LANCASTER, PA 17603

 001207-B       WILSON, ROSALINA U                    Priority           Filed 10/28/04                             $0.00             $465.00               $465.00
 053            768 MARIETTA AVE., APT B                Allowed Per Order Dated 11/25/08 (Dkt # 2506) (ac)
 5300-00        LANCASTER, PA 17603

                                                                                       4437123323      03/25/10      4334              414.78
 001208-B       CUYA, MARIA                           Priority            Filed 10/28/04                            $0.00               $0.00               $700.00
 053            42 BANK ST. FIRST FLOOR                 Reclassified per Order Dated 8/25/08 (Docket #1626)
 5300-00        ELIZABETH, NJ 07201

                                                                                       4437123323      03/25/10      4068              628.63
 001210         KNISLEY, SCOTT W                      Priority            Filed 10/28/04                            $0.00             $588.68               $588.68
 053            37 DUFFIELD DRIVE
 5300-00        LITITZ, PA 17543

                                                                                       4437123323      03/25/10      4148              525.10




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                 Scheduled                Claimed              Allowed
 001215-A       CUEVAS, VERONICA                      Priority                                                      $0.00                $294.95               $211.76
 053            678 DEL ROSA PL                         Reduced Per Order Dated 9/9/08 (Dkt # 1706) Paid to Registry 5-17-12 $193.23 less taxes
 5300-00        APT. D
                POMONA, CA 91768

 001216-B       KIEREN L BRIGHT                       Priority           Filed 10/28/04                               $0.00           $4,839.60              $4,839.60
 053            33 VALERIE AVE                          Allowed Per Order Dated 10/27/08 (Docket # 2198)
 5300-00        EPHRATA, PA 17522

                                                                                       4437123323          03/25/10   4036             4,316.92
 001221         ZURITA, JESUS                         Priority             Filed 10/28/04                             $0.00             $660.00                $660.00
 053            430 E. ORANGE ST. APT. 2                Paid to Registry 5-17-12 $588.72 less taxes (ac)
 5300-00        LANCASTER, PA 17602

 001224         SINGH, TAPINDER                       Priority           Filed 10/28/04                               $0.00           $1,375.01                   $0.00
 053            1315 APPLIE AVE                         Disallowed per Order Dated 1/27/09 (Docket #2899) (ca)
 5300-00        #1345
                HAYWARD, CA 94541

 001230         HARVEY, KRIS                          Priority            Filed 10/28/04                              $0.00             $147.00                $147.00
 053            241 MAIN STREET
 5300-00        EYNON, PA 18403

                                                                                       4437123323          03/25/10   4127               131.13
 001233         VERDON, JASON                         Priority             Filed 10/28/04                             $0.00           $1,153.33              $1,153.33
 053            1695 RIVER ST                           Paid to Registry 5-17-12 $1,052.41 less taxes
 5300-00        SANTA CRUZ, CA 95060

 001234-A       HEIDI J SUROCK                        Priority            Filed 10/28/04                              $0.00           $5,827.00              $4,925.00
 053            9303 BELLBECK RD                        Reclassified Per Order Dated 12/22/08 (Docket #2763)
 5300-00        BALTIMORE, MD 21234

                                                                                       4437123323          03/25/10   4297             4,548.24
 001235-A       KEVIN ABERNATHY                       Priority           Filed 10/28/04                               $0.00             $426.00                   $0.00
 053            17 SUSAN CT                             Disallowed Per Order Dated 7/7/09 (Docket # 3358)
 5300-00        AKRON, OH 44307

 001236-B       OLMO RUTH N                           Priority           Filed 10/28/04                               $0.00               $0.00              $2,400.00
 053            P O BOX 2985                            Allowed Per Order Dated 10/27/08 (Dkt # 2197)
 5300-00        CAROLINA, PR 00984

                                                                                       4437123323          03/25/10   4199             2,132.20
 001238-B       HULSEY, MARK                          Priority           Filed 10/28/04                               $0.00           $4,500.00                   $0.00
 053            1265 AVOCADO BLVD.                      Disallowed Per Order Dated 12/15/08 (Dkt # 2698)
 5300-00        EL CAJON, CA 92020

 001246-A       SIMON, DIANE                          Priority            Filed 10/13/04                              $0.00           $1,549.60                   $0.00
 053            5820 SUNGLO AVE                         Reclassified per Order Dated 9/16/08 (Docket #1784)
 5300-00        PORT RICHEY, FL 34653

 001247-B       SIMON, ROBERT                         Priority           Filed 10/13/04                               $0.00          $27,015.76                   $0.00
 053            5814 SUNGLOW AVE                        Disallowed Per Order Dated 11/12/08 (Dkt # 2356)
 5300-00        PORT RICHEY, FL 34668




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                               Scheduled                Claimed             Allowed
 001248-A       SIMON, JAMES T                        Priority           Filed 10/25/04                             $0.00          $22,957.94                  $0.00
 053            5814 SUNGLOW AVE                        Disallowed Per Order Dated 10/21/08 ( Docket# 2133)
 5300-00        PORT RICHEY, FL 34668

 001251         PEREZ, CARMELO                        Priority             Filed 10/29/04                           $0.00           $2,700.00             $2,700.00
 053            136 36TH STREET                         Paid to Registry 5-17-12 $2,424.73 less taxes
 5300-00        APT 2
                UNION CITY, NJ 07087

 001252         LAWRENCE MACARO                       Priority          Filed 10/27/04                              $0.00           $4,850.00                  $0.00
 053            104 PERSIMMON LN                        Expunged pursuant to order dated 9/26/08 (docket #1905).
 5300-00        HAMPSTEAD, NC 28443

 001253         LAWRENCE MACARO                       Priority          Filed 10/27/04                              $0.00           $8,400.00                  $0.00
 053            104 PERSIMMON LN                        Expunged pursuant to order dated 9/26/08 (docket #1905).
 5300-00        ATTN: LAWRENCE MACARO
                HAMPSTEAD, NC 28443

 001254         LAWRENCE MACARO                       Priority          Filed 10/27/04                              $0.00           $3,270.00                  $0.00
 053            104 PERSIMMON LANE                      Expunged pursuant to order dated 9/26/2008 (doc. #1905).
 5300-00        HAMPSTEAD, NC 28443

 001259-A       PETER, ZOLITAN M.                     Priority            Filed 10/26/04                            $0.00             $500.00                  $0.00
 053            80 LAFAYETTE LANE                       Reclassified Per Order Dated 12/22/08 (Docket #2748) (ac)
 5300-00        ELKHORN, WI 53121

 001260-A       GRACIELA MARTINEZ                     Priority            Filed 10/25/04                            $0.00           $2,016.00             $1,120.00
 053            322 1/2 E STATION ST                    Reclassifed Per Order Dated 12/9/08 (Docket #2667)
 5300-00        KANKAKEE, IL 60901

                                                                                       4437123323       03/25/10    4173             1,000.72
 001265-B       RIVERA, ROSA                          Priority             Filed 10/26/04                           $0.00               $0.00               $195.45
 053            324 44TH ST. APT 42                     Relcassified Per Order Dated 4/22/09 (Docket #3183) (ac)
 5300-00        UNION CITY, NJ 07087                    Paid to Registry 5-17-12 $173.53 less taxes


 001274         BEATTY, DAWN                          Priority            Filed 10/26/04                            $0.00             $338.98               $338.98
 053            5556 MANCHESTER RD
 5300-00        AKRON, OH 44319

                                                                                       4437123323       03/25/10    4029               310.88
 001278-B       FRAZIER, WENDY                        Priority           Filed 10/26/04                             $0.00             $986.00                  $0.00
 053            12715 METTETAL STREET                   Disallowed Per Order Dated 11/3/08 (Dkt # 2277)
 5300-00        DETROIT, MI 48227

 001282-B       CHRISTIANSON, JAMES A.                Priority           Filed 10/20/04                             $0.00          $18,000.00                  $0.00
 053            10095 ARROW LEAF                        Disallowed Per Order Dated 10/7/08 (Docket #1986)
 5300-00        MORENO VALLEY, CA 92557

 001286-B       DOUG LAFRANCE                         Priority           Filed 10/28/04                             $0.00           $2,854.08                  $0.00
 053            117 KESTZEL RD.                         Disallowed per Order Dated 12/2/08 (Docket #2580) (ca)
 5300-00        MOUNTAIN TOP, PA 18707




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled               Claimed             Allowed
 001288         WANDLING, BRENT                       Priority             Filed 10/28/04                           $0.00             $341.56               $341.56
 053            1850 W DOWNER PLACE                     Paid to Registry 5-17-12 $305.18 less taxes
 5300-00        AURORA, IL 60506

 001290         BORGE, ARNOLD                         Priority           Filed 10/28/04                             $0.00           $2,118.56                  $0.00
 053            1120 OAKDALE RD.                        Disallowed per Order Dated 1/27/09 (Docket #2898) (ac)
 5300-00        APT 4
                MODESTO, CA 95355

 001293         PULIDO, YUNEIDY                       Priority             Filed 10/28/04                           $0.00             $184.00               $184.00
 053            737 FIRST STREET                        Paid to Registry 5-17-12 $164.12 less taxes
 5300-00        LANCASTER, PA 17603

 001294         GUNAWARDENE, JAYASIN                  Priority           Filed 10/28/04                             $0.00           $1,443.84                  $0.00
 053            3071 ROSE AVE                           Disallowed Per Order Dated 12/22/08 (Docket #2742)
 5300-00        #322
                SAN JOSE, CA 95127

 001295-B       SYLVIA, VEGA                          Priority           Filed 10/28/04                             $0.00               $0.00             $2,400.00
 053            P O BOX 360559                          Allowed Per Order Dated 11/12/08 (Dkt # 2289)
 5300-00        SAN JUAN, PR 00936

                                                                                       4437123323       03/25/10     4320            2,132.20
 001296         ORIHUELA, JUAN                        Priority            Filed 10/28/04                            $0.00             $397.11               $397.11
 053            1631 MILDRED AVE.
 5300-00        LINDEN, NJ 07036

                                                                                       4437123323       03/25/10     4202              356.62
 001298-B       TOLEDO, EDWIN D                       Priority           Filed 11/01/04                             $0.00           $1,578.73                  $0.00
 053            41 1D CROWN CIRCLE                      Disallowed Per Order Dated 12/31/08 (Docket #2816) (ac)
 5300-00        SCRANTON, PA 18505

 001299         CLAUDIA SILVA                         Priority             Filed 11/01/04                           $0.00             $620.00               $620.00
 053            6910 MARSLE DR APT 2C                   Paid to Registry 5-17-12 $572.57 less taxes
 5300-00        BALTIMORE, MD 21215

 001307-A       ANNETTE PALMATEER                     Priority            Filed 10/28/04                            $0.00           $3,078.73             $1,965.69
 053            130 WATER ST.                           Reclassified per Order Dated 12/2/08 (Docket #2595)
 5300-00        WADSWORTH, OH 44281

                                                                                       4437123323       03/25/10     4209            1,802.78
 001309         GIBSON, WALTER I                      Priority            Filed 10/29/04                            $0.00              $63.12                $63.12
 053            32 N. SUSSEX ST.
 5300-00        DOPVER, NJ 07801

                                                                                       4437123323       03/25/10     4109               56.68
 001312-B       ANDINO, ALEJANDRO                     Priority            Filed 10/28/04                            $0.00               $0.00             $2,400.00
 053            323 GUATIER BENITEZ ST                  Reclassified per Order dated 1/12/10 (Docket No. 3718)
 5300-00        SAN JUAN, PR 00915

                                                                                       4437123323       03/25/10     4016            2,132.20
 001316-B       HERNANDEZ, ZAINAT                     Priority            Filed 10/29/04                            $0.00             $330.00               $330.00
 053            101 HAMPDEN DR.                         Reclassified Per Order Dated 5/20/09 (Docket # 3262) (ac)
 5300-00        MOUNTVILLE, PA 17554




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled                Claimed             Allowed


                                                                                       4437123323       03/25/10     4131               294.36
 001319-A       LEWIS, ANDREW                         Priority            Filed 10/29/04                            $0.00              $535.21                  $0.00
 053            3137 GLENDALE ST.                       Disallowed per order 9-9-08
 5300-00        MUSKEGON HTS, MI 49444

 001320-A       DEBRA A DAVIS                         Priority            Filed 10/28/04                          $0.00              $5,278.99             $2,975.25
 053            13408 120TH AVE                         Reclassified per Order Dated 8/26/08 (Docket #1656) Amends Claim #1131
 5300-00        GRAND HAVEN, MI 49417

                                                                                       4437123323       03/25/10     4070             2,618.22
 001325-A       MAUREEN E CRUZ                        Priority            Filed 10/29/04                            $0.00            $5,752.71             $4,925.00
 053            756 W VINE ST                           Reclassified Per Order Dated 12/15/08 (Dkt # 2702 )
 5300-00        LANCASTER, PA 17603

                                                                                       4437123323       03/25/10     4065             4,393.10
 001326-A       AIDALIS LOPEZ                         Priority           Filed 10/29/04                            $0.00             $5,803.75             $2,016.31
 053            1001 AYRES CT.                          Reduced and Reclassified Per Order Dated 12/22/08 (Docket # 2730) (ac)
 5300-00        LANCASTER, PA 17602

                                                                                       4437123323       03/25/10     4156             1,798.55
 001337         LUTZ, CHRIS                           Priority             Filed 10/29/04                           $0.00              $527.43               $527.43
 053            2144 OAK HOLLOW DRIVE                   Paid to Registry 5-17-12 $470.47 less taxes
 5300-00        APT 2
                COLUMBIA, PA 17512

 001339         ESTATE OF MOSTELLER, ROBERT Priority           Filed 10/29/04                                       $0.00          $108,950.46                  $0.00
 053            1823 MOREHEAD AVENUE          Disallowed per Order Dated 1/12/09 (Docket #2852)
 5300-00        ORLANDO, FL 32826

 001340         MRS DEBORAH MOSTELLER     Priority           Filed 10/29/04                                         $0.00          $108,950.46                  $0.00
 053            WIDOW OF ROBERT MOSTELLER   Disallowed per Order Dated 1/12/09 (Docket #2852)
 5300-00        1823 MOREHEAD AVE
                ORLANDO, FL 32826

 001343-A       AYBAR GARAICOA                        Priority            Filed 10/29/04                            $0.00              $360.00                  $0.00
 053            45 ROSSITER AVE                         Reclassified per Order Dated 12/9/08 (Docket #2660)
 5300-00        PATERSON, NJ 07502

 001348         MILLER, BRYCE                         Priority           Filed 10/29/04                             $0.00            $1,589.39                  $0.00
 053            4800 MARCONI AVE                        Disallowed per Order Dated 1/27/09 (Docket #2897) (ac)
 5300-00        APT 287
                CARMICHAEL, CA 95608

 001351         HALL, BARABBAS                        Priority            Filed 10/29/04                            $0.00              $305.64               $305.64
 053            31 ERNST STREET
 5300-00        ROCHESTER, NY 14621

                                                                                       4437123323       03/25/10     4123               280.73
 001352         SPC WILSON JACOB                      Priority             Filed 10/29/04                           $0.00              $600.00               $600.00
 053            420 KAANAPALI                           Paid to Registry 5-17-12 $554.10 less taxes
 5300-00        BASTROP, TX 78602




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001360-B       THE PORT AUTHORITY OF NY    Priority           Filed 10/28/04                           $0.00            $64,975.61                     $12,539.91
 053            AND NJ                        Priority Amount Reduced & Allowed per 4/19/10 Order (Dkt #3756). Unsecured Portion
 5300-00        OFFICE OF DONALD F BURKE ESQ Remains Unliquida
                ATTN: EZRA BIALIK ESQ
                225 PARK AVE S 13TH FL
                NEW YORK, NY 10003                                          4437123323      06/11/10    4344              12,539.91

 001361-A       GONZALES, PASQUAL                     Priority           Filed 10/29/04                            $0.00           $7,920.00                  $0.00
 053            415 DONNAS LANE                         Disallowed Per Order Dated 10/21/08 (Dkt # 2091) (ca)
 5300-00        HOLLISTER, CA 95023

 001369-B       BROWN, SHANE S.                       Priority           Filed 10/29/04                            $0.00             $209.32                  $0.00
 053            128 TILDENVILLE SCH. RD.                Disallowed Per Order Dated 12/22/08 (Docket #2765)
 5300-00        WINTER GARDEN, FL 34787

 001371         HERNANDEZ, TERESA                     Priority           Filed 10/29/04                            $0.00             $246.15               $246.15
 053            6139 OLVERA CT
 5300-00        CHINO, CA 91710

                                                                                     4437123323         03/25/10    4130              224.61
 001374         OBISPO LOURDES                        Priority           Filed 10/29/04                            $0.00             $800.00                  $0.00
 053            190 E FIRST ST F102                     Disallowed per Order Dated 12/9/08 (Docket #2668)
 5300-00        CLIFTON, NJ 07011

 001377         DESINA, OSNEL                         Priority           Filed 10/29/04                            $0.00              $67.61                $67.61
 053            1139 FANSHAWE STREET
 5300-00        PHILADELPHIA, PA 19111

                                                                                     4437123323         03/25/10    4077               60.31
 001380         RICHARD J STEWART                     Priority           Filed 10/29/04                            $0.00           $3,805.78                  $0.00
 053            22185 CENTER ST #39                     Disallowed Per Order Dated 11/3/08 (Dkt # 2305)
 5300-00        CASTRO VALLEY, CA 94546

 001382-A       SALINAS, JOSE LUIS                    Priority           Filed 10/29/04                            $0.00             $597.02               $529.26
 053            3333 MARINE AVENUE                      Reduced and Reclassified Per Order Dated 11/18/08 (Docket #2424)
 5300-00        APARTMENT # 7
                GARDENA, CA 90249
                                                                                     4437123323         03/25/10    4264              482.96
 001383-C       NUNEZ PARAMO, MIRNA                   Priority           Filed 10/29/04                            $0.00             $237.48               $237.48
 053            3333 MARINNE                            Reduced Per Order Dated 11/12/08 (Dkt # 2351)
 5300-00        APARTMENT #7
                GARDENA, CA 90247
                                                                                     4437123323         03/25/10    4196              216.71
 001388         ROMINGER, EDWARD                      Priority           Filed 10/29/04                            $0.00           $2,447.32                  $0.00
 053            1051 NORTH P. ST                        Disallowed Per Order Dated 12/22/08 (Docket #2754)
 5300-00        LIVERMORE, CA 94551

 001390         ALFREDO YAGUALCA                      Priority           Filed 10/28/04                            $0.00           $2,892.30             $2,892.30
 053            9620 KESTER AVE
 5300-00        NORTH HILLS, CA 91343

                                                                                     4437123323         03/25/10    4337            2,639.22




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                 Scheduled                Claimed              Allowed
 001397         ROYSTON, ROSS                         Priority           Filed 10/29/04                               $0.00           $3,205.05                   $0.00
 053            1937 ARDITH DRIVE                       Disallowed Per Order Dated 12/22/08 (Docket #2753)
 5300-00        PLEASANT HILL, CA 94550

 001398         LIU, JINFAR                           Priority           Filed 10/29/04                               $0.00           $1,545.18              $1,545.18
 053            3 TRINITY PLACE                         Allowed Per Order Dated 9/9/08 (Docket #1720)
 5300-00        EAST HANOVER, NJ 07936

                                                                                       4437123323          03/25/10   4154             1,387.64
 001401-B       NAZARIO, FRANCISCO                    Priority            Filed 10/29/04                          $0.00                   $0.00                $206.46
 053            18 REMSEN AVE.                          Reclassified per Order Dated 12/9/08 (Docket #2661) Amends Claim #388
 5300-00        NEW BRUNSWICK, NJ 08901

                                                                                       4437123323          03/25/10   4194               185.41
 001402         SMITH, CYNTHIA                        Priority             Filed 10/29/04                             $0.00             $329.38                $329.38
 053            PO BOX 154                              Paid to Registry 5-17-12 $293.81 less taxes (ca)
 5300-00        PLYMOUTH, PA 19851

 001403         L & J ORDONEZ BROS INC                Priority            Filed 10/29/04                              $0.00               $0.00                $875.74
 053            138 S MAIN ST
 5300-00        HIGHTSTOWN, NJ 08520

                                                                                       4437123323          02/22/12   4355               875.74
 001405-A       SALINAS, JOEL                         Priority            Filed 10/29/04                            $0.00                $476.90               $476.90
 053            3333 MARINE AVENUE                      Reclassified Per Order Dated 11/18/08 (Docket #2423) Paid to Registry 5-17-12 $435.16
 5300-00        APARTMENT # 7                           less taxes
                GARDENA, CA 90249

 001418         MABEL VEGA                            Priority             Filed 10/28/04                             $0.00             $205.60                $205.60
 053            13 FLEMING AVE #3 FL                    Paid to Registry 5-17-12 $184.64 less taxes
 5300-00        NEWARK, NJ 07105

 001424-B       SEARCY, GEORGE                        Priority           Filed 10/29/04                               $0.00           $2,711.09                   $0.00
 053            4479 PHILLIPS HWY. LOT89                Disallowed Per Order Dated 10/21/08 (Docket #2134)
 5300-00        JACKSONVILLE, FL 32207

 001425-A       JOHN L WILLIAMSON                     Priority           Filed 10/29/04                               $0.00           $1,428.50                   $0.00
 053            3034 DELOR DR                           Disallowed Per Order Dated 10/27/08 (Docket #2202)
 5300-00        JACKSONVILLE, FL 32234

 001426-B       JAMES RONALD JONES                    Priority            Filed 10/29/04                              $0.00             $883.77                   $0.00
 053            7202 SILVER LAKE TERRACE                Reclassified Per Order Dated 12/2/08 (Docket #2577) (ca)
 5300-00        JACKSONVILLE, FL 32216

 001427-A       JONES, JAMES                          Priority           Filed 10/29/04                               $0.00           $1,056.33                   $0.00
 053            224 E PISA PLACE                        Disallowed Per Order Dated 10/7/08 (Docket #2007) (ac)
 5300-00        ST. AUGUSTINE, FL 32084

 001428-B       PARRIS, ERNEST                        Priority           Filed 10/29/04                               $0.00           $1,845.04                   $0.00
 053            17347 NEW BRANDY BRANCH                 Disallowed per Order Dated 10/21/08 (Docket #2106)
 5300-00        BALDWIN, FL 32234




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled               Claimed             Allowed
 001429-A       GOOD, WILLIAM                         Priority           Filed 10/29/04                             $0.00             $357.69                  $0.00
 053            4479 PHILIPS HWY. LOT 79                Disallowed Per Order Dated 10/7/08 (Dkt # 1983)
 5300-00        JACKSONVILLE, FL 32207

 001430-B       JONES, JAN                            Priority           Filed 10/29/04                             $0.00           $2,416.27                  $0.00
 053            4440 HEAVEN TREES RD.                   Disallowed Per Order Dated 10/7/08 (Docket #1635)
 5300-00        JACKSONVILLE, FL 32207

 001431-A       CARVEY, ELISA                         Priority           Filed 10/29/04                            $0.00            $2,091.04                  $0.00
 053            4479 PHILLIPS HW.                       Reduced and Reclassified per Order Dated 10/7/08 (Docket #1988)
 5300-00        JACKSONVILLE, FL 32207

 001441-B       HOLDEN, TANYA                         Priority            Filed 10/29/04                            $0.00             $507.00                  $0.00
 053            5848 NTH 7TH ST                         Reclassified Per Order Dated 12/22/08 (Docket #2750)
 5300-00        PHILADELPHIA, 01 19120

 001442-A       BENSON, JOHN                          Priority            Filed 10/29/04                            $0.00           $2,800.00                  $0.00
 053            1541 W. 3RD STREET                      Reclassified Per Order Dated 12/22/08 (Docket #2758)
 5300-00        SANTA ROSA, CA 98525

 001449-B       MARINO LORYN                          Priority           Filed 10/29/04                             $0.00           $3,200.00                  $0.00
 053            2 CHELTENHAM PLACE                      Disallowed per Order Dated 1/13/09 (Docket #2856) (ca)
 5300-00        APT 2
                SAYREVILLE, NJ 08872

 001451-A       WILLIAMSON, GREGORY                   Priority           Filed 10/29/04                             $0.00             $338.00                  $0.00
 053            331 STIPAUL                             Disallowed Per Order Dated 10/27/08 (Docket #2203)
 5300-00        MEMPHIS, TN 38126

 001452         YORK, WILLIE L.                       Priority             Filed 10/29/04                           $0.00             $180.00               $180.00
 053            505 LINDEN ST                           Paid to Registry 5-17-12 $160.56 less taxes
 5300-00        SCRANTON, PA 18509

 001459-A       BARR, ANJEANNETTE                     Priority            Filed 10/29/04                            $0.00             $242.00                  $0.00
 053            5731 DEWEY BLVD                         Reclassified Per Order Dated 12/22/08 (Docket #2759) (ca)
 5300-00        APT G
                SACRAMENTO, CA 95824

 001471         BETANCUR, ALEXANDER                   Priority             Filed 10/29/04                           $0.00           $2,608.00             $2,608.00
 053            319 25TH STREET                         Paid to Registry 5-17-12 $2,342.10 less taxes
 5300-00        APARTMENT 1
                UNION CITY, NJ 07093

 001479-A       MORTENSON, RAYMOND                    Priority            Filed 10/29/04                            $0.00           $3,200.00                  $0.00
 053            9 SENECA STREET                         Reclassified Per Order Dated 12/9/08 (Dkt # 2665)
 5300-00        STATEN ISLAND, NY 10310

 001481-B       STREBLOW, HEINZ                       Priority           Filed 10/29/04                             $0.00           $1,070.70                  $0.00
 053            3022 WELLINGTON DRIVE                   Disallowed Per Order Dated 10/21/08 (Docket #2122)
 5300-00        PALMDALE, CA 93551

 001482-A       JACKSON, FRANCES                      Priority            Filed 10/29/04                            $0.00             $243.02                  $0.00
 053            220 64TH STREET                         Reclassified per Order Dated 12/9/08 (Docket #2655)
 5300-00        APT 12
                WEST NEW YORK, NJ 07093




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                 Scheduled               Claimed             Allowed
 001486-B       NEAL, KENNETH                         Priority           Filed 11/01/04                              $0.00           $3,000.00                  $0.00
 053            255 SAGE STREET                         Disallowed Per Order Dated 8/18/08 (Docket #1576)
 5300-00        VALLEJO, CA 94589

 001489-B       ESTRADA, OMAR                         Priority           Filed 11/08/04                            $0.00               $915.75               $915.75
 053            386 DELAVAN                             Reduced and Reclassified Per Order Dated 4/21/09 (Docket #3164)
 5300-00        NEW BRUNSWICK, NJ 08901

                                                                                       4437123323      03/25/10       4088              822.38
 001492-B       PEAV, SIM                             Priority           Filed 11/01/04                              $0.00           $2,092.00                  $0.00
 053            1608 WEBSTER STREET                     Disallowed Per Order Dated 8/25/08 (Dkt # 1624)
 5300-00        ALAMEDA, CA 94589

 001496-A       GONZALEZ, LUZ ELENA                   Priority           Filed 11/01/04                            $0.00               $627.94               $623.94
 053            13632 SOUTH BERENDO                     Reduced and Reclassified Per Order Dated 9/16/08 (Dkt # 1777)
 5300-00        GARDENA, CA 90247

                                                                                       4437123323      03/25/10       4112              569.35
 001503-B       SAENZ, JESSE B                        Priority            Filed 11/01/04                             $0.00               $0.00               $660.52
 053            1910 EATON AVE                          Reclassified Per Order Dated 4/22/09 (Docket # 3192)
 5300-00        HEMET, CA 92545

                                                                                       4437123323      03/25/10       4262              602.72
 001504-A       BELLIDO, GIOVANNY                     Priority            Filed 11/01/04                             $0.00           $1,355.44                  $0.00
 053            21 SOUTH SPRING ST. APT 1               Reclassified per Order Dated 10/31/08 (Docket #2269) (ac)
 5300-00        ELIZABETH, NJ 07201

 001506-A       MCKENZIE, DEANDRE                     Priority            Filed 11/01/04                             $0.00             $350.00                  $0.00
 053            23 FARLEY AVE                           Reclassified Per Order Dated 12/22/08 (Docket #2736)
 5300-00        NEWARK, NJ 07103

 001507         ESCOBEDO, LIDUVINA                    Priority            Filed 11/01/04                             $0.00               $0.00               $185.11
 053            2727 WHITTER BLVD.                      Allowed per order 11-30-09
 5300-00        LOS ANGELES, CA 90023

                                                                                       4437123323      03/25/10       4085              168.91
 001508-A       PROFITT, SHAUN D.                     Priority            Filed 11/01/04                           $0.00             $4,500.00                  $0.00
 053            9168 WINCHESTER RD                      Reclassified and Allowed Per Order Dated 12/22/08 (Docket # 2737)
 5300-00        CLAY CITY, KY 40312

 001511         SPENCE, ALAN                          Priority             Filed 11/01/04                            $0.00             $349.79               $349.79
 053            534 ST. MARY ST                         Paid to Registry 5-17-12 $323.03 less taxes
 5300-00        BALTIMORE, MD 21201

 001514-A       MCGEE, NIKKIYA                        Priority            Filed 11/01/04                             $0.00             $300.00                  $0.00
 053            23 FARLEY AVE.                          Reclassified Per Order Dated 12/22/08 (Docket # 2735)
 5300-00        NEWARK, NJ 07108

 001520         ALLEN, LESLIE                         Priority            Filed 11/01/04                             $0.00           $1,661.57             $1,661.57
 053            PO BOX 591                              (ac)
 5300-00        MEMPHIS, TN 38101

                                                                                       4437123323      03/25/10       4011            1,534.46




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                               Scheduled                  Claimed              Allowed
 001521         TRUDELL, PAULA                        Priority           Filed 10/27/04                            $0.00              $1,949.59                   $0.00
 053            3767 VINEYARD AVE                       Disallowed Per Order Dated 12/22/08 (Docket #2756)
 5300-00        APT 56
                PLEASANTO, CA 94566

 001522         HAMMONTREE, TINA                      Priority           Filed 10/27/04                            $0.00              $1,310.25                   $0.00
 053            3767 VINEYARD AVE                       Disallowed Per Order Dated 12/22/08 (Docket #2741)
 5300-00        APT 56
                PLEASANTON, CA 94566

 001529         RIVERA, EMERITA                       Priority            Filed 11/01/04                            $0.00                $955.50               $955.50
 053            53 WRIGHT PLACE                         Reclassified Per Order Dated 12/22/08 (Docket #2734) Paid to Registry 5-17-12 $858.10
 5300-00        NEW BRUNSWICK, NJ 08901                 less taxes (ca)


 001534         SIMMONS, RONALD L                     Priority            Filed 11/01/04                           $0.00                $300.00                $300.00
 053            410 CHESTNUT ST
 5300-00        BELLEFONTE, PA 16823

                                                                                       4437123323      03/25/10     4287                 267.60
 001535         KLEINFELD, ANNETT                     Priority           Filed 11/01/04                            $0.00                $416.34                   $0.00
 053            2152 39TH AVE NW                        Disallowed per Order Dated 12/9/08 (Docket #2654)
 5300-00        COCONUT CREEK, FL 33066

 001536         KAHLON, MANJINDER                     Priority           Filed 11/01/04                            $0.00              $3,460.26                   $0.00
 053            P O BOX 1051                            Disallowed Per Order Dated 12/22/08 (Docket # 2739)
 5300-00        PLEASANTON, CA 94566

 001537         MOHAMMAD, ISHMAEL                     Priority            Filed 11/01/04                           $0.00                $204.75                $204.75
 053            6173 BELLE FORREST DR
 5300-00        MEMPHIS, TN 38115

                                                                                       4437123323      03/25/10     4185                 189.09
 001538-A       GONZALEZ, EDDIE A                     Priority           Filed 11/01/04                            $0.00                 $98.67                   $0.00
 053            300 LINDEN STREET                       Disallowed Per Order dated 5/26/09 (Docket # 3298}
 5300-00        COLUMBIA, PA 17512

 001546-B       COVINGTON, CLIFFORD                   Priority           Filed 10/28/04                            $0.00                $943.00                   $0.00
 053            34 SHERWOOD AVE, #1                     Disallowed per Order Dated 11/25/08 (Docket #2504) (ca)
 5300-00        ROCHESTER, NY 14619

 001557-B       ANABELA I RAMIREZ                     Priority           Filed 11/05/04                            $0.00                  $0.00                $658.50
 053            17 MARVIN AVE                           Reduced and Reclassified per Order Dated 9/9/08 (Docket #1703)
 5300-00        UNIONDALE, NY 11553

                                                                                       4437123323      03/25/10     4230                 604.83
 001581         RODRIGUEZ, CARLOS R                   Priority             Filed 11/03/04                          $0.00                $232.80                $232.80
 053            78 COUNTRY DRIVE                        Paid to Registry 5-17-12 $207.65 less taxes
 5300-00        LEOLA, PA 17540

 001582-A       CARR, SHANE                           Priority           Filed 11/03/04                            $0.00              $1,253.39              $1,253.39
 053            6525 W MAGNOLIA ST.                     Reduced and Reclassified Per Order dated 5/20/09 (Docket#3267) (ac)
 5300-00        PHOENEX, AZ 85043

                                                                                       4437123323      03/25/10     4047               1,157.51




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled                 Claimed               Allowed
 001583-B       JIM BROCK                             Priority           Filed 11/01/04                            $0.00               $3,000.00                   $0.00
 053            3312 KEITHSHIRE WAY, APT 2              Reduced and Reclassified per Consent Order Dated 1/6/09 (Docket #2836) (ac)
 5300-00        LEXINGTON, KY 40503

 001586         CLASS, RAFAEL                         Priority             Filed 11/08/04                           $0.00              $3,036.63              $3,036.63
 053            328 LEON AVENUE                         Paid to Registry 5-17-12 $2,727.04 less taxes
 5300-00        1ST FLOOR
                PERTH AMBOY, NJ 08861

 001589-B       ROLDAN, GUADALUPE                     Priority            Filed 11/01/04                           $0.00                    $0.00               $268.11
 053            444 N. IRVING ST.                       Reduced and Reclassified Per Order Dated 4/22/09 (Docket #3180) (ca) Paid to Registry
 5300-00        SCRANTON, PA 18505                      5-17-12 $239.16 less taxes


 001592         GAO, KELLY                            Priority           Filed 11/04/04                             $0.00              $7,720.00                   $0.00
 053            444 HOWE AVE, APT 2                     Disallowed per Order Dated 1/5/09 (Docket #2832) (ac)
 5300-00        PASSAIC, NJ 07055

 001603-B       MURRAY, ODELIER                       Priority           Filed 11/01/04                            $0.00               $1,250.00                   $0.00
 053            5955 LISKA LN, APT 201                  Reduced and Reclassified Per Order Dated 10/7/08 (Dkt # 1985)
 5300-00        SAN JOSE, CA 95119

 001604-A       VALLE, DOMITILIA                      Priority            Filed 11/01/04                            $0.00                $640.00                   $0.00
 053            500 SOUTH EATON ST                      Reclassified per Order Dated 12/15/08 (Docket #2704)
 5300-00        BALTIMORE, MD 21205

 001605-A       VARGAS, MOISES                        Priority            Filed 11/04/04                            $0.00              $3,500.00                   $0.00
 053            19055 ENVOY AVE.                        Reclassified Per Order Dated 12/22/08 (Docket #2762)
 5300-00        CORONA, CA 92881

 001609         ELLIS, GAYLE                          Priority           Filed 11/08/04                             $0.00              $4,650.00                   $0.00
 053            43421 ALEP STREET                       Disallowd per Order Dated 8/26/08 (Docket #1654)
 5300-00        LANCASTER, CA 93536

 001649-A       ROSE, MARJORIE                        Priority           Filed 11/15/04                             $0.00             $52,820.79                   $0.00
 053            5739 ENGLE RD APT D                     Disallowed Per Order Dated 10/27/08 (Dkt # 2195)
 5300-00        CARMICHAEL, CA 95608

 001652         STORM RAMIREZ                         Priority             Filed 11/09/04                           $0.00              $4,650.00              $4,650.00
 053            7905 KREEGER RD #104                    Paid to Registry 5-17-12 $4,294.27 less taxes
 5300-00        ADELFHI, MO 20783

 001653-A       DE LA HOZ, MAYRA                      Priority            Filed 11/10/04                            $0.00                $223.00                   $0.00
 053            8173 ROBINWOOD DR.                      Reclassified per Order Dated 1/5/09 (Docket #2831) (ca)
 5300-00        TOBYHANNA, PA 18466

 001656         RICHARD J STEWART                     Priority           Filed 10/29/04                             $0.00              $3,805.78                   $0.00
 053            22185 CENTER ST #39                     Disallowed Per Order Dated 11/3/08 (Dkt # 2305)
 5300-00        CASTRO VALLEY, CA 94546

 001659-A       JACKSON, CHARLES                      Priority            Filed 11/15/04                            $0.00                $500.00                   $0.00
 053            25 WEST ROLLINS                         Reclassified per Order Dated 9/23/08 (Docket #1890)
 5300-00        MEMPHIS, TN 38115




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled               Claimed             Allowed
 001664         CASTILLO, FRANCISCO                   Priority           Filed 11/12/04                             $0.00           $1,275.00                  $0.00
 053            317 WINDY LN                            Disallowed per Order Dated 9/16/08 (Docket #1804)
 5300-00        VISTA, CA 92083

 001670         MARTINEZ, MARTIN                      Priority           Filed 11/18/04                             $0.00             $423.60                  $0.00
 053            1125 N. BROADWAY                        Disallowed Per Order Dated 11/25/08 (Dkt #2535)
 5300-00        #D206
                ESCONDIDO, CA 92026

 001672         VAN GELDER, CHERYL L.                 Priority           Filed 10/12/04                             $0.00           $1,150.94                  $0.00
 053            760 SW SEVENTH STREET                   Disallowed Per Order Dated 12/22/08 (Docket #2749)
 5300-00        NAPLES, FL 34117

 001673-A       MENDEZ, MATILDE              Priority           Filed 10/12/04                            $0.00                       $334.30               $293.24
 053            460 N TWIN OAKS VALLEY R APT   Reduced and Reclassified Per Order Dated 11/12/08 ( Dkt #2355)
 5300-00        G
                SAN MARCOS, CA 92069
                                                                             4437123323       03/25/10    4180                         267.58
 001700-B       POLANCO VALDEZ ELSA                   Priority           Filed 10/21/04                             $0.00             $164.80                  $0.00
 053            1700 NY AVENUE APT 1                    Disallowed per Order Dated 9/9/08 (Docket #1705)
 5300-00        UNION CITY, NJ 07087

 001705-A       MONSALVE JUAN CARLOS                  Priority            Filed 10/29/04                            $0.00           $1,371.02                  $0.00
 053            74 MYRTLE AVE                           Reclassified Per Order Dated 9/23/08 (Docket #1882)
 5300-00        DOVER, NJ 07801

 001724         CORTEZ, IRENE                         Priority             Filed 11/01/04                           $0.00             $317.93               $317.93
 053            1653 RUSH                               Paid to Registry 5-17-12 $290.11 less taxes
 5300-00        VISTA, CA 92084

 001725         PALMER ARTHUR                         Priority           Filed 11/17/04                             $0.00          $19,000.00                  $0.00
 053            c/o MOSS & MURPHY                       Disallowed per Order Dated 8/25/08 (Docket #1627)
 5300-00        1297 B ST
                HAYWARD, CA 94541

 001730         PALMER, ARTHUR                        Priority           Filed 11/22/04                             $0.00          $19,000.00                  $0.00
 053            C/O MOSS & MURPHY                       Disallowed per Order Dated 8/25/08 (Docket #1627)
 5300-00        1297 B STREET
                HAYWARD, CA 94541

 001737-A       ALCALA, ALFREDO                       Priority           Filed 11/17/04                             $0.00             $324.79                  $0.00
 053            9716 CEDAR ST                           Disallowed per Order Dated 8/13/08 (Docket #1531)
 5300-00        BELLFLOWER, CA 90706

 001739         GRANDA, WILSON                        Priority            Filed 11/16/04                            $0.00           $3,384.00             $3,384.00
 053            85 PEAPACK RD
 5300-00        FAR HILLS, NJ 07931

                                                                                       4437123323      03/25/10      4119            3,039.00
 001740         FRIDAY, CURTIS                        Priority           Filed 11/24/04                             $0.00          $10,000.00                  $0.00
 053            7 MATHIASEN PL                          Disallowed per Order Dated 12/15/08 (Docket #2699)
 5300-00        MATAWAN, NJ 07747




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                 Scheduled                 Claimed             Allowed
 001792         MONTEIRO, WILSON                      Priority            Filed 12/27/04                             $0.00             $2,052.00             $2,052.00
 053            18 3RD ST                               Reclassified Per Order Dated 12/31/08 (Docket #2811) (ac)
 5300-00        SAYREVILLE, NJ 08872

                                                                                       4437123323       03/25/10      4187              1,842.81
 001793         VEGA, MIGDALIA                        Priority           Filed 12/29/04                              $0.00             $1,500.00                  $0.00
 053            12 CALLE ARENAS                         Disallowed Per Order Dated 11/25/08 (Dkt # 2513) (ac)
 5300-00        VEGA BAJA, PR 00693

 001794         FERNANDEZ, ILIANA                     Priority            Filed 12/29/04                             $0.00             $1,185.25             $1,185.25
 053            337 EAST LINCOLN AVENUE                 Reclassified Per Order Dated 10/7/08 (Docket #2004)
 5300-00        ROSELLE, NJ 07204

                                                                                       4437123323       03/25/10      4091              1,064.41
 001796-B       HOLT TACIANA                          Priority            Filed 12/27/04                             $0.00                 $0.00             $1,605.84
 053            2510 AUSTIN SMITH COURT                 Reclassified Per Order Dated 8/18/08 (Docket #1579)
 5300-00        N. FORT MEYERS, FL 33917

                                                                                       4437123323       03/25/10      4298              1,483.00
 001797-A       SEATON, MARK                          Priority             Filed 01/03/05                            $0.00             $3,753.85             $1,149.69
 053            35 MARQUETTE LANE                       Reclassified per order 12-15-08
 5300-00        KANKAKEE, IL 60901

                                                                                       4437123323       03/25/10      4276              1,027.25
 001798         HALL, SUSAN                           Priority           Filed 01/03/05                              $0.00             $6,039.68                  $0.00
 053            1216 STANLEY STREET                     Disallowed Per Order Dated 8/18/08 (Dkt # 1577) (ac)
 5300-00        BURNS HARBOR, IN 46304

 001799         NARVAEZ MIGUEL                        Priority             Filed 01/03/05                            $0.00             $1,248.00             $1,248.00
 053            11450 CALVERT ST                        Paid to Registry 5-17-12 $1,138.79 less taxes
 5300-00        NORTH HOLLYWOOD, CA 91606

 001801-A       DELIGNE, JUDY                         Priority           Filed 12/27/04                              $0.00             $3,998.64             $3,998.64
 053            411 BRENNAN CT.                         Allowed Per Order dated 11/25/08 (Docket # 2514) (ac)
 5300-00        S PLAINFIELD, NJ 07080

                                                                                       4437123323       03/25/10      4074              3,590.98
 001803         ALBANESE, LAURIE                      Priority           Filed 12/23/04                              $0.00             $1,840.00             $1,840.00
 053            77 SPRUCE STREET                        Allowed Per Order Dated 8/18/08 (Docket #1570)
 5300-00        EDISON, NJ 08837

                                                                                       4437123323       03/25/10      4006              1,652.41
 001806-A       SENESAC, PAULA                        Priority           Filed 01/03/05                              $0.00             $3,598.32                  $0.00
 053            38 JORDAN DRIVE                         Disallowed Per Order Dated 11/18/08 (Dkt # 2419)
 5300-00        BOURBONNAIS, IL 60914

 001808-B       PALMERO, SONIA                        Priority           Filed 01/03/05                              $0.00             $1,305.00                  $0.00
 053            345 49TH ST.                            Disallowed Per Order Dated 12/2/08 (Dkt #2583) (ac)
 5300-00        BROOKLYN, NY 11220

 001809-A       PAREDES, CARLOS                       Priority           Filed 01/03/05                            $0.00               $3,500.00             $3,500.00
 053            27 WEST 7TH ST.                         Reduced and Reclassified Per Order Dated 4/21/09 (Docket #3160) (ac)
 5300-00        PLAINFIELD, NJ 07060

                                                                                       4437123323       03/25/10      4210              3,143.17



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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                   Claimed             Allowed
 001811         DENOYER, DEREK                        Priority           Filed 12/27/04                            $0.00              $10,006.69                  $0.00
 053            1149 COBB BLVD                          Disallowed per Order Dated 12/15/08 (Docket #2701)
 5300-00        KANKAKEE, IL 60901

 001812         SHPITAL, ALEXANDRA                    Priority          Filed 12/22/04                             $0.00               $1,747.20                  $0.00
 053            3206 APPLETON WAY                       Expunged per Order dated 11/12/2008 (Dkt #2382)
 5300-00        WHIPPANY, NJ 07891

 001813         HARRISON, ROBIN                       Priority           Filed 01/03/05                            $0.00               $2,338.41                  $0.00
 053            9203 ESTACIA STREET                     Disallowed per Order Dated 11/12/08 (Docket #2359)
 5300-00        RANCHO CUCAMON, CA 91730

 001814         MARTINEZ, SALVADOR                    Priority           Filed 01/03/05                         $0.00                  $5,280.00             $1,680.00
 053            1310 JEFFERSON ST                       Reduced per Order Dated 8/26/08 (Docket #1650) Amends Claim #270
 5300-00        CALEXICO, CA 92231

                                                                                      4437123323       03/25/10     4176                1,533.00
 001830-B       AVILES, LISA                          Priority           Filed 12/30/04                            $0.00                   $0.00             $1,348.00
 053            378 MONMOUTH RD                         Reduced and Reclassified Per Order Dated 8/18/08 (docket #1566) (ac)
 5300-00        ELIZABETH, NJ 07208

                                                                                      4437123323       03/25/10     4024                1,210.56
 001832         ALEXIS HERNANDEZ                      Priority           Filed 01/04/05                            $0.00               $1,866.00             $1,866.00
 053            223 ATLANTIC ST
 5300-00        ELIZABETH, NJ 07206

                                                                                      4437123323       03/25/10     4128                1,675.76
 001835         WELLINGS, NICOLE                      Priority           Filed 01/05/05                            $0.00               $1,424.81             $1,424.81
 053            10 MILL STREET, UNIT G                  (ac)
 5300-00        MEDFORD, NJ 08065

                                                                                      4437123323       11/23/11     4348                1,279.55
 001838-A       PADUA, NORMA                          Priority           Filed 01/18/05                            $0.00               $2,520.00                  $0.00
 053            539 RIDGEWAY AVENUE                     Disallowed per Order Dated 8/26/08 (Docket #2527)
 5300-00        SOUTH AMBOY, NJ 08879

 001839         ROSENBLATT, BETTY                     Priority           Filed 01/03/05                            $0.00               $1,600.00             $1,600.00
 053            82 HERMAN DRIVE                         Allowed per Order Dated 10/27/08 (Docket #2194)
 5300-00        SPOTSWOOD, NJ 08884

                                                                                      4437123323       03/25/10     4257                1,436.88
 001840-A       NOEL, MANDI                           Priority            Filed 01/13/05                           $0.00               $3,967.44             $1,733.58
 053            1212 WILD TURKEY DRIVE                  Reclassified Per Order Dated 8/25/08 (Dkt #1625)
 5300-00        DERBY, KS 67037

                                                                                      4437123323       03/25/10     4195                1,600.96
 001843         FINAZZO, SHARON                       Priority           Filed 01/10/05                            $0.00               $2,705.00             $2,705.00
 053            3 BARLEY SHEAF ROAD
 5300-00        FLEMINGTON, NJ 08822

                                                                                      4437123323       03/25/10     4095                2,429.22
 001846         CASS, PHILIP                          Priority           Filed 01/07/05                            $0.00               $3,119.25             $3,119.25
 053            2626 D NO WHITEWATER CLUB               (ac)
 5300-00        PALM SPRINGS, CA 92262




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled                 Claimed              Allowed


                                                                                      4437123323         03/25/10    4049              2,846.32
 001847         VEYSMAN, MARINA                       Priority           Filed 01/04/05                             $0.00             $3,334.88                   $0.00
 053            45 MEDICI DR.                           Disallowed Per Order Dated 12/15/08 (Dkt # 2707)
 5300-00        SOMERSET, NJ 08873

 001849-B       MELENDEZ, JOSE FRANCISCO              Priority            Filed 01/07/05                            $0.00                 $0.00              $4,925.00
 053            4046 KIMBALL AVENUE                     Reclassified Per Order Dated 4/22/09 (Docket #3181)
 5300-00        MEMPHIS, TN 38111

                                                                                      4437123323         03/25/10    4179              4,548.24
 001850-B       SIGNORILE, PATRICIA                   Priority           Filed 01/06/05                             $0.00             $4,925.00              $4,925.00
 053            18 4TH STREET
 5300-00        SAYERVILLE, NJ 08872

                                                                                      4437123323         03/25/10    4284              4,422.89
 001851-B       ORTIZ, WILMER J.                      Priority            Filed 01/11/05                            $0.00                $260.00               $260.00
 053            1142 ONION STREET                       Reclassified Per Order Dated 4/22/09 (Docket #3194) Paid to Registry 5-17-12 $231.92
 5300-00        ALLENTOWN, PA 18102                     less taxes


 001852-A       OLIVA, KENNETH                        Priority             Filed 04/28/04                           $0.00             $8,581.39              $4,925.00
 053            8 Hale Court                            (9-1) Claim sent to claims agent
 5300-00        Basking Ridge, NJ 07920                 Reclassified Per Order Dated 9/9/08 (Docket # 1701)


                                                                                      4437123323         03/25/10    4198              4,422.89
 001853-A       ANTAO, ROSALINA                       Priority           Filed 01/12/05                          $0.00                $5,662.96                   $0.00
 053            422 CHESTNUT ST 2                       Disallowed per Order Dated 8/18/08 (Docket 31568); Amends Claim #400
 5300-00        KEARNY, NJ 07032

 001854-B       ARMAND, DENISE                        Priority           Filed 01/05/05                         $0.00                 $3,371.05              $3,371.05
 053            180 ROBERT PLACE                        Allowed per Order Dated 12/2/08 (Docket #2590) Amends Claim #386
 5300-00        SO PLAINFIELD, NJ 07080

                                                                                      4437123323         03/25/10    4022              3,027.37
 001865-B       SPAULDING, DELORES                    Priority           Filed 01/14/05                             $0.00                 $0.00              $1,512.00
 053            2428 POWDERLY AVENUE                    Allowed per Order Dated 9/16/08 (Docket $1776)
 5300-00        BIRMINGHAM, AL 35211

                                                                                      4437123323         03/25/10    4292              1,396.34
 001867         SKLAR, TODD                           Priority           Filed 01/18/05                             $0.00             $3,500.00              $3,500.00
 053            5790 FOX HOLLOW DR                      Allowed Per Order Dated 9/16/08 (Dkt # 1780)
 5300-00        BOCA RATON, FL 33486

                                                                                      4437123323         03/25/10    4288              3,232.25
 001869         SHERMAN, RENE                         Priority           Filed 01/18/05                             $0.00               $640.00                $640.00
 053            322 LEOPOLE RD                          (ac)
 5300-00        NASHVILLE, TN 37211

                                                                                      4437123323         03/25/10    4281                591.04




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                               Scheduled                  Claimed              Allowed
 001870         BOLAND, ANDREW                        Priority           Filed 01/19/05                          $0.00                $3,580.82                   $0.00
 053            111 BENTLEY AVENUE                      Disallowed per Order Dated 12/2/08 (Docket #2591) Amends Claim #403
 5300-00        OLD BRIDGE, NJ 08857

 001871-A       BRIGHT, KIEREN                        Priority           Filed 01/10/05                            $0.00              $4,839.60                   $0.00
 053            33 VALERIE AVE                          Disallowed Per Order Dated 10/27/08 (Docket #2198)
 5300-00        EPHRATA, PA 17522

 001874-B       HERNANDEZ, JORGE                      Priority           Filed 01/14/05                            $0.00              $4,000.00                   $0.00
 053            26 BERGEN STREET                        Disallowed Per Order Dated 8/26/08 (Docket #1651)
 5300-00        GARFIELD, NJ 07026

 001877-A       ALDAVE, EDDIE                         Priority           Filed 01/25/05                            $0.00              $5,827.26                $970.21
 053            6072 CRESENT AV                         Reduced and Reclassified per Order Dated 12/15/08 (Docket #2703)
 5300-00        BUENA PARK, CA 90620

                                                                                       4437123323      03/25/10     4008                 885.32
 001880-A       SHELTON, JOSEPH                       Priority           Filed 01/25/05                            $0.00              $8,000.00                   $0.00
 053            721 HONEYSUCKLE LN                      Disallowed Per Order Dated 10/27/08 (Docket #2192)
 5300-00        MIDLAND, NC 28107

 001883-A       RODRIGUEZ, JACLYN                     Priority             Filed 01/24/05                           $0.00              $2,731.92             $1,761.52
 053            4123 TYSON AVE                          Reclassified Per Order Dated 12/15/08 (Docket # 2706) Paid to Registry 5-17-12
 5300-00        PHILADELPHIA, PA 19135                  $1,571.28 less taxes


 001884-A       ZIENKIEWICZ, LEONA                    Priority            Filed 01/24/05                           $0.00              $4,451.52              $3,819.92
 053            460 RIVER RD                            Reclassified and Allowed Per Order Dated 10/21/08 (Docket # 2113)
 5300-00        NUTLEY, NJ 07110

                                                                                       4437123323      03/25/10     4340               3,430.48
 001885         ALVAREZ, JEREMIAH                     Priority             Filed 01/21/05                          $0.00              $1,057.68              $1,057.68
 053            7425 BROOKDALE DR 104                   Paid to Registry 5-17-12 $945.03 less taxes
 5300-00        DARIEN, IL 60561

 001886         JIMENEZ, JORGE                        Priority           Filed 01/27/05                            $0.00              $3,446.16                   $0.00
 053            620 NO CHURCH AVENUE                    Disallowed Per Order Dated 11/18/08 (Docket #2426)
 5300-00        RIALTO, CA 92376

 001888         SCHWED, MICHAEL                       Priority           Filed 01/27/05                            $0.00              $2,600.00              $2,600.00
 053            901 FRANKLIN AVE                        Allowed Per Order Dated 12/2/08 (Dkt # 2592)
 5300-00        ASBURY PARK, NJ 07712

                                                                                       4437123323      03/25/10     4272               2,334.92
 001889-A       MELENDEZ, TANYA                       Priority           Filed 01/21/05                            $0.00              $2,388.32                   $0.00
 053            17 HERITAGE GREEN DR.                   Reduced and Reclassified Per Order Dated 12/9/08 (Dkt # 2650) (ac)
 5300-00        APT 209
                FISKDALE, MA 01518

 001890         EICK/SWEENEY, DANI                    Priority           Filed 01/27/05                            $0.00             $10,869.60                   $0.00
 053            560 HEMLOCK ST.                         Disallowed Per Order Dated 5/26/09 (Docket # 3300) (ac)
 5300-00        RAHWAY, NJ 07065




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled                    Claimed             Allowed
 001891         ERAZO, TABATHA                        Priority           Filed 01/26/05                           $0.00                  $1,924.00                  $0.00
 053            10 HARBOR TER APT 3J                    Disallowed per Order Dated 12/2/08 (Docket #2584) See Claim #1901
 5300-00        PERTH AMBOY, NJ 08861

 001893-B       SHEROUSE, ALMA                        Priority           Filed 01/20/05                             $0.00                $3,807.00             $3,807.00
 053            701 SO STAMFIELD RD APT 168
 5300-00        TROY, OH 45373

                                                                                      4437123323       03/25/10      4282                 3,491.48
 001894         DRABIK, DEANE                         Priority           Filed 01/20/05                          $0.00                   $5,872.33                  $0.00
 053            6844 TOBIK TRAIL                        Disallowed per Consent Order Dated 9/2/08 (Docket #1689)
 5300-00        PARMA HEIGHTS, OH 44130

 001895         SLOAN, LEELANNEE                      Priority           Filed 01/21/05                             $0.00                $2,075.00             $2,075.00
 053            10 OVERLOOK RD                          Allowed Per Oder Dated 10/21/08 (Docket # 2090) (ac)
 5300-00        SUSSEX, NJ 07461

                                                                                      4437123323       01/31/11      4347                 1,863.44
 001896-A       SLOAN, LEELANNEE                      Priority            Filed 01/21/05                           $0.00                 $1,875.00                  $0.00
 053            10 OVERLOOK RD                          Reclassified and Allowed Per Order Dated 10/21/08 (Docket # 2090) (ac)
 5300-00        SUSSEX, NJ 07461

 001899-A       ALBANKIS, TRACEY                      Priority            Filed 01/24/05                          $0.00                  $7,540.60                  $0.00
 053            146 WEST 9TH AVENUE                     Reclassified per Order Dated 11/25/08 (Docket #2525) Amends Claim #50
 5300-00        ROSELLE, NJ 07203

 001900-A       CHURNEY, DERYA                        Priority           Filed 01/24/05                          $0.00                   $1,040.00                  $0.00
 053            20 Goodwin Drive                        Disallowed per Order Dated 12/2/08 (Docket #2581) Amends Claim #566
 5300-00        NORTH BRUNSWICK, NJ 08902

 001901         TABATHA ERAZO                         Priority           Filed 01/26/05                             $0.00                $3,404.00                  $0.00
 053            10 3J HARBOR TERR                       Disallowed per Order Dated 12/2/08 (Docket #2584)
 5300-00        PERTH AMBOY, NJ 08861

 001902         GONZALEZ, SONIA                       Priority           Filed 01/27/05                             $0.00                $1,346.16             $1,346.16
 053            41 ALDON RD
 5300-00        MONTGOMERY, IL 60538

                                                                                      4437123323       03/25/10      4114                 1,202.80
 001905-A       TAVARES, JOE                          Priority            Filed 01/28/05                            $0.00                $9,307.40             $4,925.00
 053            86 HUTCHINSON PLACE                     Reclassified Per Order Dated 12/9/08 (Docket #2658)
 5300-00        CLARK, NJ 07066

                                                                                      4437123323       03/25/10      4301                 4,422.89
 001906-A       ST LEDGER, BRIAN                      Priority           Filed 01/28/05                             $0.00                $4,925.00                  $0.00
 053            113 LIVINGSTON AVE.                     Disallowed per Order Dated 12/15/08 (Docket #2696) (ca)
 5300-00        LYNDHURST, NJ 07071

 001907-A       ST LEDGER, BRIAN                      Priority           Filed 01/28/05                            $0.00                 $4,925.00             $4,925.00
 053            113 LIVINGSTON AVE.                     Reduced and Reclassified per Order Dated 12/15/08 (Docket #2696) (ca)
 5300-00        LYNDHURST, NJ 07071

                                                                                      4437123323       03/25/10      4294                 4,422.89




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                Claimed             Allowed
 001910-B       BUSTILLOS, OMAR                       Priority            Filed 01/28/05                            $0.00               $0.00             $4,925.00
 053            5893 VISTA SAN GUADALUPE                Reclassified Per Order Dated 4/22/09 (Docket # 3190) (ca)
 5300-00        SAN DIEGO, CA 92154

                                                                                      4437123323        03/25/10    4039             4,494.06
 001911         FERRARO, JACQUELINE                   Priority           Filed 01/28/05                             $0.00           $4,925.00                  $0.00
 053            3 SANDRA COURT                          Disallowed Per Order Dated 9/23/08 (Docket #1881) (ca)
 5300-00        FLANDERS, NJ 07836

 001913         AGUDELO, FREN                         Priority            Filed 02/03/05                            $0.00           $2,100.47             $2,100.47
 053            61 NETCONG ROAD
 5300-00        BUDD LAKE, NJ 07828

                                                                                      4437123323        03/25/10    4003             1,886.33
 001914-B       DANIELS, MINDY                        Priority            Filed 01/31/05                            $0.00               $0.00             $1,230.00
 053            919 SHOEMAKER AVE.                      Reclassified Per Order Dated 5/20/09 (Docket # 3268) (ac)
 5300-00        WEST WYOMING, PA 18644

                                                                                      4437123323        03/25/10    4069             1,097.16
 001915         MORONEY, MARGARET                     Priority           Filed 01/31/05                             $0.00           $1,500.00                  $0.00
 053            5818 190TH ST.                          Disallowed Per Order Dated 12/31/08 (Docket #2815) (ac)
 5300-00        WINTHROP, IA 50682

 001916-C       WASHINGTON, LATOYA                    Priority            Filed 01/28/05                            $0.00               $0.00             $1,248.00
 053            12799 S. 177TH LANE                     Reclassified Per Order Dated 12/2/08 (Docket #2578) (ca)
 5300-00        GOODYEAR, AZ 85338

                                                                                      4437123323        03/25/10    4327             1,152.52
 001917-B       GONZALEZ, MARIA                       Priority            Filed 01/28/05                            $0.00               $0.00             $1,352.00
 053            10212 SUSAN AVE.                        Reclassified Per Order Dated 5/20/09 (Docket # 3270) (ca)
 5300-00        HESPERIA, CA 92345

                                                                                      4437123323        03/25/10    4113             1,233.71
 001919-B       ROBB, GAIL                            Priority           Filed 01/31/05                             $0.00           $2,924.00                  $0.00
 053            1924 LOGANBERRY LANE                    Disallowed per Order Dated 9/23/08 (Docket #1888)
 5300-00        CROWN POINT, IN 46307

 001921-A       PORTER, REBECCA                       Priority           Filed 01/28/05                            $0.00            $3,137.67             $3,137.67
 053            133 CLOISTER LN                         Reduced and Reclassified Per Order Dated 10/7/08 (Dkt # 1984)
 5300-00        MOORESVILLE, NC 28117

                                                                                      4437123323        03/25/10    4223             2,889.63
 001923         SHIRCLIFF, SHAWNA                     Priority           Filed 02/08/05                             $0.00             $819.50                  $0.00
 053            11420 RACE RD                           Disallowed Per Order Dated 9/23/08 (Dkt # 1887)
 5300-00        LOUISVILLE, KY 40291

 001926-A       COACHMAN, STEVEN                      Priority            Filed 02/15/05                            $0.00           $8,500.00                  $0.00
 053            215 E. NEW YORK                         Reclassified Per Order Dated 10/21/08 (Dkt # 2088)
 5300-00        AURORA, IL 60505

 001934-A       KEVIN E WILKINSON                     Priority          Filed 03/14/05                           $0.00                $558.00               $453.34
 053            RD 2 P4-15                              Reduced and Allowed Per Order Dated 11/03/08 (Docket #2301)
 5300-00        HAZLETON, PA 18202

                                                                                      4437123323        03/25/10    4330               404.38



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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                               Scheduled                Claimed             Allowed
 001939         GORCZYK, DIANE                        Priority            Filed 02/25/05                            $0.00               $0.00               $294.64
 053            710 STORRS STREET                       Allowed per order 11-30-09
 5300-00        DICKSON CITY, PA 18519

                                                                                       4437123323        03/25/10   4118               262.81
 001941         CRUZ, JENNY                           Priority            Filed 02/22/05                            $0.00             $224.30               $224.30
 053            260 SECOND AVE
 5300-00        BRENTWOOD, NY 11717

                                                                                       4437123323        03/25/10   4063               206.02
 001990         BELLIDO GIOVANNY                      Priority           Filed 02/07/06                             $0.00           $1,335.44                  $0.00
 053            21 S. SPRING ST., APT 1                 Disallowed per Order Dated 10/31/08 (Docket #2269) (ca)
 5300-00        ELIZABETH, NJ 07201

 002000         JOHNS, JONATHAN                       Priority           Filed 01/02/08                             $0.00           $1,600.00                  $0.00
 053            4657 FILLMORE AVENUE                    Disallowed Per Order Dated 11/18/08 (Docket #2425)
 5300-00        MILVILLE, NJ 08332

 002020         MARIN, MARIA                          Priority            Filed 01/04/08                            $0.00               $0.00                  $0.00
 053            25621 HARBOR VILLAGE PL                 Disallowed per order 3-4-09
 5300-00        APT 1
                HARBOR CITY, CA 90710

 002021         PADUA, NORMA                          Priority           Filed 01/07/08                             $0.00           $3,360.00             $3,360.00
 053            539 RIDGEWAY AVENUE                     Allowed per Order Dated 8/26/08 (Docket #2527)
 5300-00        SOUTH AMBOY, NJ 08879

                                                                                       4437123323        03/25/10   4207             3,017.45
 002023         ROSALINA G ANTAO                      Priority           Filed 01/07/08                             $0.00           $6,329.80             $4,132.20
 053            422 CHESTNUT ST                         Reduced per Order Dated 8/18/08 (Docket #1568)
 5300-00        KEARNY, NJ 07032

                                                                                       4437123323        03/25/10   4017             3,710.91
 002024         ANTAO, ROSALINA                       Priority           Filed 01/07/08                             $0.00           $6,329.80                  $0.00
 053            422 CHESTNUT ST 2                       Disallowed per Order Dated 8/18/08 (Docket #1568)
 5300-00        KEARNY, NJ 07032

 002027-B       GALANTE, MERRLLYN                     Priority           Filed 01/08/08                             $0.00           $3,162.31                  $0.00
 053            3999 OLD TOWN AVE APT D1                Disallowed per Order Dated 9/18/08 (Docket #1778)
 5300-00        SAN DIEGO, CA 92110

 002028-A       MERRILYN H GALANTE                    Priority           Filed 01/08/08                             $0.00           $3,162.31                  $0.00
 053            3999 OLD TOWN AVE D#1                   Disallowed per Order Dated 9/18/08 (Docket #1778)
 5300-00        SAN DIEGO, CA 92110

 002029-B       ALFONSO ORTIZ                         Priority             Filed 01/08/08                           $0.00               $0.00               $813.67
 053            2203 E. EL SEGUNDO BLV. #1              Reclassified and allowe per order 8-13-08
 5300-00        COMPTON, CA 90222

                                                                                       4437123323        03/25/10   4204               742.47
 002031         ELDER CRUZ                Priority          Filed 01/08/08                                          $0.00         $100,000.00                  $0.00
 053            ATTORNEY JONATHAN A KELLER Disallowed per Order Dated 10/7/08 (Docket #1990) (ca)
 5300-00        1792 BELL TOWER LANE
                WESTON, FL 33326




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                Scheduled                 Claimed               Allowed
 002035-A       TORRES-MARTINEZ, LUIS                 Priority           Filed 01/09/08                             $0.00                $267.82                $267.82
 053            25 GARDEN COURT APT 4                   Allowed Per Order Dated 10/27/08 (Dkt #2207)
 5300-00        LANCASTER, PA 17602

                                                                                       4437123323        03/25/10    4309                 238.91
 002040-B       FOWLER, RONALD S.                     Priority            Filed 01/09/08                            $0.00              $4,925.00                   $0.00
 053            7808 TWIN LAKES ROAD                    Reclassified Per Order Dated 8/26/08 (Dkt # 1655)
 5300-00        KEYSTONE, FL 32656

 002049         NEAL, HARREL                          Priority           Filed 01/09/08                             $0.00              $1,500.00                   $0.00
 053            22400 SOUR GRASS ROAD                   Disallowed Per Order Dated 11/25/08 (Docket #2505)
 5300-00        CORNING, CA 96021

 002055-A       KIEREN L BRIGHT                       Priority           Filed 01/09/08                             $0.00              $4,839.60                   $0.00
 053            33 VALERIE AVE                          Disallowed Per Order Dated 10/27/08 ( Docket #2198)
 5300-00        EPHARATA, PA 17522

 002056-B       BRIGHT, KIEREN                        Priority           Filed 01/09/08                             $0.00              $4,839.60                   $0.00
 053            33 VALERIE AVE                          Disallowed Per Order Dated 10/27/08 (Docket#2198)
 5300-00        EPHRATA, PA 17522

 002064         BOLAND, ANDREW                        Priority           Filed 01/14/08                             $0.00              $3,580.82                   $0.00
 053            111 BENTLEY AVENUE                      Disallowed per Order Dated 12/2/08 (Docket #2591)
 5300-00        OLD BRIDGE, NJ 08857

 002066-B       ANDREA WEBB                           Priority           Filed 01/14/08                             $0.00             $27,000.00                   $0.00
 053            828 WINDSOR PERRINEVILLE                Disallowed per Order Dated 10/21/08 (Docket #2115)
 5300-00        E WINDSOR, NJ 08520

 002074         SANCHEZ SAUCEDA, CARMEN               Priority             Filed 01/15/08                           $0.00              $2,168.00              $2,168.00
 053            1681 MARION APT C                       Paid per Registry 5-17-12 $1,978.29 less taxes
 5300-00        KINGSBURG, CA 93631

 002083-B       ROSALES, RAUL                         Priority           Filed 01/15/08                             $0.00                $350.00                   $0.00
 053            8382 DURRA LANE                         Disallowed Per Order Dated 9/16/08 (Dkt # 1800)
 5300-00        FONTANA, CA 92335

 002088-B       AMISON, LADELLE                       Priority            Filed 01/16/08                            $0.00              $2,558.00                   $0.00
 053            1136 BEAVER AVE.                        Reclassified Per Order Dated 8/18/08 (Docket #1575)
 5300-00        BIRMINGHAM, AL 35214

 002096-A       FROST, LAWRENCE L.                    Priority            Filed 01/14/08                           $0.00                $1,666.40             $1,391.40
 053            744 W. FALLBROOK, #84                   Reclassified and Allowed Per Order Dated 8/25/08 ( Docket #1628) Paid to Registry
 5300-00        FALLBROOK, CA 92028                     5-17-12 $1,269.64 less taxes


 002098         VIQUES, ANA ROSA                      Priority           Filed 01/17/08                             $0.00                 $94.42                 $94.42
 053            155 BROADWAY STREET                     Allowed per Order Dated 10/21/08 (Docket #2121)
 5300-00        ELIZABETH, NJ 07206

                                                                                       4437123323        03/25/10    4324                  84.79
 002101-B       HENNING, LINDA                        Priority            Filed 01/02/08                            $0.00              $6,100.00                   $0.00
 053            3326 WALL ROAD                          Reclassified Per Order Dated 8/18/08 (Docket# 1564)
 5300-00        GREEN COVE SPRINGS, FL 32043




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 002103         BELL, DAVID                           Priority           Filed 01/14/08                            $0.00           $3,258.50                  $0.00
 053            2340 WOLD DEER CT                       Disallowed Per Order Dated 12/22/08 (Docket #2747)
 5300-00        PASO ROBLES, CA 93446

 002105         PIERSCH, JONAS                        Priority           Filed 01/02/08                            $0.00           $9,000.00                  $0.00
 053            8415 BELLONA LANE                       Disallowed Per Order Dated 3/4/09 (Docket #2950)
 5300-00        APT 918
                BALTIMORE, MD 21204

 002108-B       TOOR, HARDI                           Priority           Filed 01/17/08                            $0.00           $1,000.00                  $0.00
 053            4182 51ST ST.                           Disallowed Per Order Dated 4/24/09 (Docket #3241)
 5300-00        SAN DIEGO, CA 92105

 002111-A       SIMON, DIANE                          Priority           Filed 01/07/08                            $0.00           $1,549.60                  $0.00
 053            5820 SUNGLO AVE                         Disallowed per Order Dated 9/16/08 (Docket #1784)
 5300-00        PORT RICHEY, FL 34653

 002124         PURISH, JONAS                         Priority           Filed 01/17/08                            $0.00           $9,000.00                  $0.00
 053            8415 BELLONA LN 918                     Disallowed Per Order Dated 9/9/08 (Docket #1713)
 5300-00        TOWSON, MD 21204

 002125         PURISCH JONAS                         Priority           Filed 01/17/08                            $0.00           $9,000.00                  $0.00
 053            8415 BELLONA LN APT 913                 Disallowed Per Order Dated 9/9/08 (Docket #1713)
 5300-00        BALTIMORE, MD 21204

 002127-A       CAROLYN HIGGERSON                     Priority           Filed 01/18/08                            $0.00           $2,800.00                  $0.00
 053            2223 DEL MAR SCENIC PKWY                Disallowed per Order Dated 11/3/08 (Docket #2299)
 5300-00        DEL MAR, CA 92014

 002129-B       THOM, SHANA                           Priority           Filed 01/22/08                            $0.00           $5,301.80                  $0.00
 053            11715 GOSHEN AVE                        Disallowed Per Order Dated 11/25/08 (Dkt # 2524 )
 5300-00        LOS ANGELES, CA 90049

 002134         PETERSOHN, KATHLEEN                   Priority           Filed 01/22/08                            $0.00             $360.00               $360.00
 053            95 MAGAW PLACE
 5300-00        W BABYLON, NY 11704

                                                                                     4437123323        03/25/10     4212              330.66
 002136         MR DULAL PAL                          Priority           Filed 01/22/08                            $0.00           $3,391.00                  $0.00
 053            680 LAKESIDE DR                         Disallowed Per Order Dated 11/3/08 (Dkt # 2284 )
 5300-00        BALDWIN, NY 11510

 002146         ARENBURG, DONALD                      Priority           Filed 01/25/08                            $0.00             $500.00               $500.00
 053            52 PROSPECT STREET
 5300-00        HUMMELSTOWN, PA 17036

                                                                                     4437123323        03/25/10     4020              446.00
 002152-B       FERRARO, JACQUELINE                   Priority           Filed 01/28/08                            $0.00           $4,925.00                  $0.00
 053            3 SANCHA COURT                          Disallowed Per Order Dated 9/23/08 (Docket #1881) (ac)
 5300-00        FLANDERS, NJ 07836

 002155         JACOBS, CURTIS L.                     Priority           Filed 01/29/08                            $0.00           $3,750.00             $3,750.00
 053            1735 GREENRIDGE RD
 5300-00        TAMPA, FL 33619

                                                                                     4437123323        03/25/10     4137            3,463.12



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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                                 Scheduled                Claimed             Allowed
 002160         ZIENKIEWICZ, LEONA                    Priority          Filed 01/29/08                                $0.00           $4,451.52                  $0.00
 053            460 RIVER RD                            Expunged pursuant to order dated 10/21/08 (doc. #2113).
 5300-00        NUTLEY, NJ 07110

 002164-B       JORGE HERNANDEZ                       Priority           Filed 01/31/08                               $0.00           $4,000.00                  $0.00
 053            26 BERGEN STREET                        Disallowed Per Order Dated 8/26/08 (Docket #1651)
 5300-00        GARFIELD, NJ 07026

 002165-A       JORGE HERNANDEZ JR                    Priority           Filed 01/31/08                               $0.00           $4,000.00                  $0.00
 053            26 BERGEN ST                            Disallowed Per Order Dated 8/26/08 (Docket #1651)
 5300-00        GARFIELD, NJ 07026

 002166-B       ELIAS, WILLIAM                        Priority            Filed 02/01/08                              $0.00             $800.00                  $0.00
 053            425 HIGH ST 4                           Reclassified Per Order Dated 9/9/08 (Dkt # 1718)
 5300-00        CHESTERTOWN, MD 21620

 002170-B       ALEXANDER, GABRIEL                    Priority             Filed 02/04/08                             $0.00               $0.00               $500.00
 053            3557 SHANNON DR.                        Reclassified and allowed per order 8-18-08 (ca)
 5300-00        BALTIMORE, MD 21213

                                                                                       4437123323          03/25/10   4009               461.75
 002172         THOMAS, ELMER L                       Priority           Filed 02/04/08                          $0.00                $2,121.27                  $0.00
 053            POST OFFICE BOX 13                      Disallowed per Consent Order Dated 06/16/09 (Docket #3336]
 5300-00        ATLANTIC, VA 23303

 002180-B       VALLECILLO, ROSA                      Priority           Filed 02/05/08                            $0.00                  $0.00               $373.04
 053            1400 NEW YORK AVE                       Reduced and Reclassified Per Order Dated 11/12/08 (Dkt # 2349)
 5300-00        PAt #1
                UNION CITY, NJ 07087
                                                                                       4437123323          03/25/10   4314               335.00
 002186-A       SANFORD, DAVID C                      Priority           Filed 02/05/08                               $0.00          $79,953.60                  $0.00
 053            6807 MARISOL DR                         Disallowed per Order Dated 9/23/08 (Docket #1896)
 5300-00        HOUSTON, TX 77083

 002188         JIMENEZ, JORGE                        Priority           Filed 02/06/08                               $0.00           $2,869.76             $2,869.76
 053            620 NO CHURCH AVENUE                    Allowed Per Order Dated 11/18/08 (Docket #2426)
 5300-00        RIALTO, CA 92376

                                                                                       4437123323          03/25/10   4141             2,618.65
 002197-B       MCHUGH LANCE                          Priority            Filed 02/12/08                              $0.00               $0.00             $1,920.00
 053            936 CORTEZ RD                           Reclassified Per Order Dated 9/9/08 (Docket #1717)
 5300-00        LAKE ARIEL, PA 18436

                                                                                       4437123323          03/25/10   4178             1,712.64
 002201         AMADOR, IRMA                          Priority            Filed 01/28/08                              $0.00             $250.00               $250.00
 053            219 MASSACHUSTTS AVE
 5300-00        BAY SHORE, NY 11706

                                                                                       4437123323          03/25/10   4015               229.62
 002202         DELCID, SERGIA                        Priority            Filed 01/28/08                              $0.00             $280.00               $280.00
 053            219 MASSACHUSETTS AVE
 5300-00        BAYSHORE, NY 11706

                                                                                       4437123323          03/25/10   4072               257.18




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                  Claimed              Allowed
 002208-B       SCHREINER, BRADLEY D.                 Priority            Filed 02/20/08                           $0.00              $1,216.00                   $0.00
 053            306 EDGAR ST.                           Reclassified per Order Dated 9/23/08 (Docket #1891) (ac)
 5300-00        OLYPHANT, PA 18447

 002215-B       OLASKOWITZ, STAN                      Priority           Filed 02/20/08                            $0.00                  $0.00              $1,654.40
 053            51 LEO AVENUE                           Allowed Per Order Dated 8/18/08 (Dkt # 1572)
 5300-00        STANHOPE, NJ 07874

                                                                                      4437123323        03/25/10    4197               1,485.73
 002220         LIU, JINFAR                           Priority           Filed 02/08/08                            $0.00             $18,728.55                   $0.00
 053            3 TRINITY PLACE                         Disallowed Per Order Dated 9/9/08 (Docket #1720)
 5300-00        EAST HANOVER, NJ 07936

 002221-A       ERNESTO MOLORA                        Priority            Filed 02/04/08                           $0.00                 $234.82               $199.82
 053            683 W FRONT ST                          Reduced and Reclassified per Order Dated 12/2/08 (Docket #2585) Paid to Registry
 5300-00        PLAINFIELD, NJ 07060                    5-17-12 $179.45 less taxes


 002237-B       VELAZQUEZ, VICTOR M                   Priority            Filed 02/27/08                           $0.00                  $0.00                $359.79
 053            16619 SOUTH MENLO AENUE                 Reclassified Per Order Dated 4/22/09 (Docket#3193)
 5300-00        APARTMENT #111
                GARDENA, CA 90247
                                                                                      4437123323        03/25/10    4321                 328.30
 002240         SAVINELLI, MICHAEL R.                 Priority           Filed 02/29/08                            $0.00                $480.00                $480.00
 053            156 SOUTH HYDE PARK
 5300-00        SCRANTON, PA 18504

                                                                                      4437123323        03/25/10    4270                 428.16
 002242         ALEXANDRA SHPITAL                     Priority          Filed 02/29/08                             $0.00              $1,747.20                   $0.00
 053            3206 APPLEDON WAY                       Expunged per Order dated 11/12/2008 (Dkt #2382)
 5300-00        WHIPPANY, NJ 07981

 002245         FERNANDEZ, ILIANA                     Priority           Filed 02/19/08                            $0.00              $1,185.25                   $0.00
 053            337 EAST LINCOLN AVENUE                 Disallowed Per Order Dated 10/7/08 (Docket #2004)
 5300-00        ROSELLE, NJ 07204

 002246-A       MALDONADO, ALFONSO                    Priority          Filed 03/04/08                             $0.00              $1,800.00                   $0.00
 053            5133 S ARLINGTON                        Expunged per Order dated 03/14/2011 (Dkt #3940)
 5300-00        LOS ANGELES, CA 90043

 002247         GONZALEZ, ALICIA R.                   Priority           Filed 03/10/08                            $0.00                $492.30                $492.30
 053            4370 51ST ST. #2                        Allowed per Order Dated 11/18/08 (Docket #2409)
 5300-00        SAN DIEGO, CA 92115

                                                                                      4437123323        03/25/10    4111                 449.22
 002263         ROBIN HARRISON             Priority           Filed 02/29/08                                       $0.00              $2,338.41              $2,338.41
 053            9203 ESTACIA STREET          Allowed Per Order Dated 11/12/08 (Dkt # 2359)
 5300-00        RANCHO CUCAMONGA, CA 91730

                                                                                      4437123323        03/25/10    4126               2,133.80
 002265-A       PETER GODISH                          Priority          Filed 03/14/08                            $0.00               $2,300.00                   $0.00
 053            430 ORCHARD ST                          Reduced & Reclassified per Order Dated 11/12/08 (Docket #2350)
 5300-00        SCRANTON, PA 18505




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled                 Claimed              Allowed
 002267-A       WILLIAMS, BILL G.                     Priority            Filed 03/18/08                            $0.00             $1,380.00                   $0.00
 053            3200 SYLVANER CIRCLE                    Reclassified per Order dated 03/14/2011 (Dkt #3946)
 5300-00        SANTA CRUZ, CA 95062

 002278-A       SHELTON, JOSEPH                       Priority            Filed 03/19/08                            $0.00             $9,120.00                $800.00
 053            723 HONEYSUCKLE LN                      Reclassified Per Order Dated 10/27/08 (Docket #2192)
 5300-00        MIDLAND, NC 28107

                                                                                      4437123323       03/25/10      4279                738.80
 002279         PEREZ, EPIGMENIO                      Priority           Filed 03/19/08                             $0.00               $684.00                   $0.00
 053            1496 MARGUERITE AVENUE                  Disallowed per Order Dated 11/3/08 (Docket #2307)
 5300-00        CORNING, CA 96021

 002284         VEYSMAN, MARINA                       Priority           Filed 03/26/08                             $0.00             $3,334.88                   $0.00
 053            45 MEDICI DR                            Disallowed Per Order Dated 12/15/08 (Dkt # 2707)
 5300-00        SOMERSET, NJ 08873

 002285         THOMAS, ELMER L                       Priority           Filed 03/26/08                           $0.00               $2,121.27                   $0.00
 053            POST OFFICE BOX 13                      Disallowed per Consent Order Dated 6/16/09 (Docket #3336)
 5300-00        ATLANTIC, VA 23303

 002286         AYALA, SAMUEL                         Priority           Filed 03/28/08                             $0.00               $360.00                $360.00
 053            141 NASSAU RD                           (ac)
 5300-00        APT. 2E
                LANCASTER, PA 17602
                                                                                      4437123323       03/25/10      4025                321.12
 002287-A       THORSON, CHRISTOPHER                  Priority           Filed 04/01/08                            $0.00                $270.82                $270.82
 053            100 S.WATER STREET                      Reduced and Reclassified per Order Dated 10/27/08 (Docket #2191)
 5300-00        QUASQUETON, IA 52326

                                                                                      4437123323       03/25/10      4304                250.10
 002290-A       ROSEBERRY, MARGOT                     Priority             Filed 04/01/08                         $0.00                $4,196.00             $1,796.00
 053            263 BARKSDALE DR.                       Modified and allowed per Order Dated 1/13/09 (Docket #2855) Paid to Registry 5-17-12
 5300-00        CHARLESTOWN, WV 25414                   $1,604.61 less taxes (ac)


 002295-B       ALBANESE, LAURIE                      Priority           Filed 04/03/08                             $0.00             $2,000.00                   $0.00
 053            77 SPRUCE STREET                        Disallowed Per Order Dated 8/18/08 (Docket # 1570)
 5300-00        EDISON, NJ 08837

 002298-B       LEWIS ANDREW                          Priority           Filed 03/17/08                             $0.00               $535.21                   $0.00
 053            3029 GLENDALE ST                        Disallowed per Order Dated 12/9/08 (Docket #2653)
 5300-00        APT 2
                MUSKEGON HTS, MI 49444

 002299         LEWIS, ANDREW                         Priority            Filed 03/17/08                            $0.00               $535.21                   $0.00
 053            3137 GLENDALE ST                        Disallowed per order 9-9-08 (ac)
 5300-00        MUSKEGON, MI 49444

 002308         RHOADES BRENDA                        Priority           Filed 04/04/08                             $0.00           $118,249.88                   $0.00
 053            16234 W. RANCHO VIEJO CT.               Disallowed per Order Dated 11/25/08 (Docket #2511) (ac)
 5300-00        TRACY, CA 95304




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  Case Number: 04-22316RG                                                      Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class      Notes                             Scheduled                  Claimed              Allowed
 002314         MACARO, LARRY                            Priority          Filed 04/04/08                             $0.00           $59,000.00                   $0.00
 053            104 PERSIMMON LANE                         Expunged pursuant to order dated 9/26/2008 (doc. #1905).
 5300-00        HAMPSTEAD, NC 28443

 002315         RHOADES BRENDA                           Priority           Filed 04/04/08                            $0.00          $118,249.88                   $0.00
 053            16234 W. RANCHO VIEJO CT.                  Disallowed per Order Dated 11/25/08 (Docket #2511) (ac)
 5300-00        TRACY, CA 95304

 002316         LAWRENCE J MACARO                        Priority          Filed 04/04/08                             $0.00           $59,000.00                   $0.00
 053            104 PERSIMMON LN                           Expunged pursuant to order dated 9/26/2008 (doc. #1905).
 5300-00        HEMPSTEAD, NC 28443

 002317         LAWRENCE MACARO                          Priority          Filed 04/04/08                             $0.00           $59,000.00                   $0.00
 053            104 PERSIMMON LN                           Expunged pursuant to order dated 9/26/2008 (doc. #1905).
 5300-00        HAMPSTEAD, NC 28443

 002325-B       CAMPANELLA, MARIA                        Priority          Filed 04/07/08                             $0.00            $1,840.00              $1,472.00
 053            432 TOURNAMENT DRIVE #8                    Reduced & Reclassified per Order dated 8/25/08 (Docket #1826)
 5300-00        UNION, NJ 07083

                                                                                          4437123323      03/25/10    4043              1,321.93
 002326-A       TUCKER, MICHELE                          Priority           Filed 04/07/08                            $0.00            $2,955.81              $1,298.21
 053            66 PARKSIDE ROAD                           Reduced and Reclassified Per Order Dated 10/2/08 (Dkt # 1964)
 5300-00        PLAINFIELD, NJ 07060

                                                                                          4437123323      03/25/10    4311              1,165.86
 002381         LAWRENCE, LILLY                          Priority             Filed 07/20/09                          $0.00              $259.00                $259.00
 053            185 W FORREST APT 2D                       Paid to Registry 5-17-12 $179.61 less taxes
 5300-00        HARLEM, GA 30814

 002389-B       MARIAN C ADEN TRUST                      Priority          Filed 07/06/04                             $0.00            $2,225.00                   $0.00
 053            2899 AGOURA ROAD #590                      Expunged per Order dated 06/13/2011 (Dkt #4157)
 5300-00        WESTLAKE VILLAGE, CA 91361

 002399         JENNIFER M CAMACHO         Priority          Filed 05/07/04                                           $0.00            $4,623.56                   $0.00
 053            10400 ARROW RT.              Expunged per Order dated 03/23/2011 (Dkt #3989) (ac)
 5300-00        APT Q-4
                RANCHO CUCAMONGA, CA 91730

 002414         Xiomara Ceballos                         Priority          Filed 07/30/04                $0.00            $2,664.00                           $2,664.00
 053            PO Box 7254                                WAGE CLAIM ORDER 7-11-12
 5300-00        North Brunswick, NJ 08902                  ALLOWED WAGE CLAIM PER ORDER 7-11-12 (Dkt#4303) GROSS 2664.00 - NET
                                                           1702.96 - TAX EXPENSE 392.93
                                                           TAX WITHHELD 961.04


                                                                                          2040000842      03/13/13    1011              1,702.96

                             Subtotal for Priority 053                                                                $0.00        $3,533,204.69            $499,807.62
 000421         Katherine Hemingway                      Priority            Filed 07/06/04                         $0.00                 $264.25               $264.25
 054            1892 Saint Paul Street                     (140-1) Claim sent to claims agent
 5400-00        Rochester, NY 14621                        Disallowed 11/18/08 (Dkt #2429); Order Vacated and Allowed per Order 08/01/11 (Dkt
                                                           4193)




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class     Notes                             Scheduled                 Claimed             Allowed


                                                                                         4437123323      02/22/12    4351               264.25
 001223         BINDRA, BALJEET                          Priority           Filed 10/28/04                           $0.00           $3,349.41               $948.20
 054            1315 APPLE AVE                             Reduced and allowed Per Order Dated 8/4/09 (Docket #3387) (ac)
 5400-00        HAYWARD, CA 94541

                                                                                         4437123323      02/22/12    4354               948.20
 001527-B       Lumbermens Mutual Casualty Co           Priority              Filed 10/29/04                      $0.00          $1,100,000.00                  $0.00
 054            & its affilates American Protection Ins   (204-1) Amended Claim / Claim sent to claims agent
 5400-00        c/o Cole Schotz et al Attn:Gerald Gline disallowed per stip & order 4-21-11 Amends Claim #556, Dkt 4104 * Secured claim to
                Court Plz N, 25 Main Street
                                                          extent of 3 million and unsecured for balance. Secure
                P.O. Box 800
                Hackensack, NJ 07602-0800

 001998-B       Elaine L. Chao, Secretary of Labor   Priority           Filed 10/04/06                         $0.00                $21,688.10            $21,688.10
 054            Patricia M. Rodenhausen Reg Solicitor (201-1) Claim sent to claims agent
 5400-00        U.S. Department of Labor               Allowed per Order dated 06/13/2011 (Dkt #4156)
                201 Varick Street, Room 983
                New York, New York 10014
                                                                                     2040000842       05/10/13 1016                     200.00
                                                                                     2040000842       05/10/13 1018                     840.00
                                                                                     2040000842       05/10/13 1019                     840.00
                                                                                     2040000842       05/10/13 1020                   1,440.00
                                                                                     2040000842       05/10/13 1022                   1,800.00
                                                                                     2040000842       05/10/13 1023                     219.70
                                                                                     2040000842       05/10/13 1025                     400.00
                                                                                     2040000842       05/10/13 1026                     150.00
                                                                                     2040000842       05/10/13 1027                     423.08
                                                                                     2040000842       05/10/13 1028                     173.04
                                                                                     2040000842       05/10/13 1029                     334.56
                                                                                     2040000842       05/10/13 1030                   2,000.00
                                                                                     2040000842       05/10/13 1031                     157.68
                                                                                     2040000842       05/10/13 1032                   2,061.08
                                                                                     2040000842       05/10/13 1033                   4,108.72
                                                                                     2040000842       05/10/13 1034                      43.84
                                                                                     2040000842       05/10/13 1036                     160.00
                                                                                     2040000842       05/10/13 1037                     135.80
                                                                                     2040000842       05/10/13 1038                     165.36
                                                                                     2040000842       05/10/13 1039                     250.00
                                                                                     2040000842       05/10/13 1040                     376.98
                                                                                     2040000842       05/10/13 1042                   2,414.21
                                                                                     2040000842       05/10/13 1043                     712.70
                                                                                     2040000842       05/10/13 1044                   1,299.02
                                                                                    2133280921      10/21/14 100002                     982.33
 002216         HALLBACK, GWENDOLYN G                    Priority            Filed 01/22/08                         $0.00                $0.00                  $0.00
 054            1110 WEST LIME STREET                      Disallowed per order 4-6-11
 5400-00        LAKELAND, FL 33815

                             Subtotal for Priority 054                                                              $0.00        $1,125,301.76            $22,900.55




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  Case Number: 04-22316RG                                                     Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class     Notes                                 Scheduled               Claimed             Allowed
 000148-B       GUZMAN, OSCAR                            Priority           Filed 10/05/04                             $0.00           $4,000.00                  $0.00
 056            5 FAIRFIELD CIRCLE                         Disallowed per Order dated 1/12/10 (Docket No. 3719)
 5600-00        APT 1A
                BRENTWOOD, NY 11717

 000551-B       Airport Gateway Plaza, LLC               Priority            Filed 07/06/04                            $0.00           $2,225.00                  $0.00
 056            (fka Marian C. Aden Trust)                 (141-1) Claim sent to claims agent
 5600-00        638 Lindero Canyon Road, #508              Reclassified per Order dated 04/06/2011 (Dkt #4026)
                Oak Park, CA 91377

 000798         BOUSY, MARIE A.                          Priority           Filed 10/12/04                             $0.00             $234.00                  $0.00
 056            6550 N WOODSTOCK ST                        Disallowed per Order dated 1/26/10 (Docket No. 3735) (ac)
 5600-00        PHILADELPHIA, PA 19138

 001457-B       CORNEJO, SERAFIN                         Priority           Filed 10/29/04                             $0.00           $2,000.00                  $0.00
 056            22190 DEPRAD ST                            Disallowed Per Order dated 4/21/09 (Docket #3167)
 5600-00        PERRIS, CA 92570

 002001-A       AIRPORT GATEWAY PLAZA, LLC               Priority          Filed 01/02/08                              $0.00           $2,225.00                  $0.00
 056            638 LINDERO CANYON ROAD,                   Expunged per Order dated 04/06/2011 (Dkt #4026)
 5600-00        #508
                (fka Marian C. Aden Trust)
                OAK PARK, CA 91377

 002002-B       AIRPORT GATEWAY PLAZA, LLC               Priority          Filed 01/02/08                              $0.00           $2,225.00                  $0.00
 056            638 LINDERO CANYON ROAD,                   Expunged per Order dated 04/06/2011 (Dkt #4026)
 5600-00        #508
                (fka Marian C. Aden Trust)
                OAK PARK, CA 91377

 002003-A       AIRPORT GATEWAY PLAZA, LLC               Priority          Filed 01/02/08                              $0.00           $2,225.00                  $0.00
 056            638 LINDERO CANYON ROAD,                   Expunged per Order dated 04/06/2011 (Dkt #4026)
 5600-00        #508
                (fks Marian C. Aden Trust)
                OAK PARK, CA 91377

 002060         FADIL, SOUHAIL A.                        Priority          Filed 01/14/08                              $0.00           $5,000.00                  $0.00
 056            4020 PITTMAN DRIVE                         Expunged per Order dated 03/08/2011 (Dkt #3893)
 5600-00        JACKSONVILLE, FL 32207

                             Subtotal for Priority 056                                                                 $0.00          $20,134.00                  $0.00
 001406         WALLACE, JASON                           Priority           Filed 10/29/04                             $0.00             $700.00               $700.00
 057            215 WEST MAINT STREET
 5700-00        PORT JERVIS, NY 12771

 001540-A       RUBIO, JOSEPH J.                         Priority           Filed 11/01/04                             $0.00             $509.55               $509.55
 057            1275 W. 26TH
 5700-00        SAN BERNARDINO, CA 92405

                                                                                         4437123323       02/22/12      4356              509.55

                             Subtotal for Priority 057                                                                 $0.00           $1,209.55             $1,209.55




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled                 Claimed               Allowed
 000007-B       PENNSYLVANIA DEPT OF                  Priority          Filed 08/09/04                              $0.00           $152,010.81                    $0.00
 058            REVENUE                                 Expunged per Order dated 06/29/2011 (Dkt #4171)
 5800-00        ATTN BANKRUPTCY DIVISION
                COMMONWEALTH OF
                PENNSYLVANIA
                DEPT 280946
                HARRISBURG, PA 17128

 000008         Maryland Dept. of Labor, Licensing    Priority            Filed 09/28/04                            $0.00              $3,450.57                   $0.00
 058            and Regulation                          (214-1) Claim sent to claims agent
 5800-00        1100 North Eutaw Street                 Expunged per Order dated 6/13/2011 (Dkt 4158)
                Room 401
                Baltimore, MD 21201

 000009         MARYLAND DEPT OF LABOR LIC Priority          Filed 08/05/04                                         $0.00              $2,682.00                   $0.00
 058            & REGULATION                 Expunged per Order dated 06/13/2011 (Dkt 4158)
 5800-00        1100 N EUTAW ST RM 401
                BALTIMORE, MD 21201

 000010         MARYLAND DEPT OF LABOR LIC Priority          Filed 09/28/04                          $0.00                               $860.93                   $0.00
 058            & REGULATION                 Amended by Claim #2403; Expunged per Order dated 06/13/2011 (Dkt 4158)
 5800-00        1100 N EUTAW ST RM 401
                BALTIMORE, MD 21201

 000011-A       MARYLAND DEPT OF LABOR,               Priority            Filed 08/04/04                            $0.00                $391.00                $738.98
 058            LICENSING & REG                         Reclassified per Order dated 06/13/2011 (Dkt #4158)
 5800-00        1100 NORTH EUTAW ST, RM 401
                BALTIMORE, MD 21201

 000012         MARYLAND DEPT OF LABOR,               Priority          Filed 08/09/04                              $0.00             $25,598.54                   $0.00
 058            LICENSING & REG                         Expunged per Order dated 06/13/2011 (Dkt 4158)
 5800-00        1100 NORTH EUTAW ST, RM 401
                BALTIMORE, MD 21201

 000028         SELA INVESTMENTS LTD LLP   Priority           Filed 09/07/04                                        $0.00                  $0.00                   $0.00
 058            C/O HELLMUTH & JOHNSON PLLC disallowed per order 4-19-11
 5800-00        10400 VIKING DR, STE 500
                EDEN PRAIRIE, MN 55344

 000031-B       STATE OF MARYLAND CENTRAL Priority            Filed 08/31/04                                        $0.00                $500.00                $500.00
 058            COLLECTION UNT              Reclassified per Order dated 6/13/2011 (Dkt #4158)
 5800-00        MICHAEL S. FRIEDMAN AAG
                OFFICE OF THE ATTY GENERAL
                OF MARYLAND
                300 W PRESTON ST RM 407
                BALTIMORE, MD 21201

 000051-A       OHIO BUREAU OF WORKERS                Priority             Filed 09/07/04                           $0.00               $1,639.87             $1,381.81
 058            COMPENSATION                            Reclassi. 4/12/11 (Dkt 4048); Order vacated 4/14/11 (Dkt 4062); Reclass. & allowed
 5800-00        LAW SECTION BANKRUPTCY                  5/23/11(Dkt 4141)
                UNIT
                30 W SPRING ST
                PO BOX 15567
                COLUMBUS, OH 43215




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 000053         TEXAS WORKFORCE                       Priority          Filed 08/16/04                            $0.00             $484.14                  $0.00
 058            COMMISSION                              Expunged per Order dated 04/12/2011 (Dkt #4052)
 5800-00        TAX & LABOR LAW DEPT
                ATTN: STEVE WHITE
                TWC BUILDING
                AUSTIN, TX 78778

 000054         STATE OF NEW JERSEY                   Priority           Filed 08/24/04                           $0.00         $154,722.70            $154,722.70
 058            DEPARTMENT OF TREASURY                  Allowed per Order entered 09/07/11 (Docket #4203)
 5800-00        DIVISION OF TAXATION
                PO BOX 245
                TRENTON, NJ 08695

 000055         STATE OF NEW JERSEY                   Priority          Filed 08/24/04                            $0.00           $1,000.00                  $0.00
 058            DEPT OF TREASURY                        Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        DIVISION OF TAXATION                    Amended by Claim #1825
                PO BOX 245
                TRENTON, NJ 08695

 000056         STATE OF NEW JERSEY                   Priority          Filed 08/24/04                            $0.00           $4,000.00                  $0.00
 058            DEPARTMENT OF TREASURY                  Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        DIVISION OF TAXATION                    See Claim #1827
                PO BOX 245
                TRENTON, NJ 08695

 000057         STATE OF NEW JERSEY                   Priority          Filed 08/24/04                            $0.00           $5,000.00                  $0.00
 058            DEPARTMENT OF TREASURY                  Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        DIVISION OF TAXATION
                PO BOX 245
                TRENTON, NJ 08695

 000058-A       STATE OF MARYLAND             Priority           Filed 08/31/04                                   $0.00          $11,161.00             $11,161.00
 058            ATTN: MARY T CARR,              Allowed per Order dated 06/13/2011 (Dkt #4158)
 5800-00        COMPTROLLER OF MD
                RM 409, STATE OFFICE BUILDING
                301 W PRESTON ST
                BALTIMORE, MD 21201

 000059-B       STATE OF MARYLAND             Priority          Filed 08/27/04                                    $0.00           $1,531.88                  $0.00
 058            ATTN: MARY T CARR,              Expunged per Order dated 06/13/2011 (Dkt #4158)
 5800-00        COMPTROLLER OF MD
                RM 409, STATE OFFICE BUILDING
                301 W PRESTON ST
                BALTIMORE, MD 21201

 000061         STATE OF NY DEPT OF LABOR  Priority           Filed 08/06/04                                      $0.00           $2,440.53              $2,440.53
 058            UNEMPLOYMENT INSURANCE       Allowed per Order dated 11/17/2011 (Dkt #4227)
 5800-00        DIV
                HARRIMAN STATE OFFICE BLDG
                CAMPUS
                BUILDING 12, ROOM 256
                ALBANY, NY 12240




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled                   Claimed               Allowed
 000106         STATE BOARD OF EQUALIZATION Priority           Filed 10/04/04                           $0.00                         $11,184.24             $11,184.24
 058            SPECIAL PROCEDURES SECTION,   Allowed per Order dated 05/05/2011 (Dkt 4121) and (Dkt 4114) 5/3/11
 5800-00        MIC 55
                PO BOX 942879
                SACRAMENTO, CA 94279

 000109-A       UTAH STATE TAX COMMISSION             Priority             Filed 10/01/04                            $0.00              $3,540.00             $1,300.00
 058            210 NORTH 1950 WEST                     Partially Administrative Claim. Reduced and Reclassified per Order dated 04/12/2011
 5800-00        SALT LAKE CITY, UT 84134                (Dkt #4049)


 000132-B       PEGNATO & PEGNATO BUILDING Priority          Filed 07/20/04                                        $0.00              $60,414.48                   $0.00
 058            SYSTEMS INC                  Expunged per Order dated 04/19/2011 (Dkt #4071)
 5800-00        ATTN: JEFFREY T BOLSON
                HAHN & BOLSON LLP
                1000 WILSHIRE BLVD, STE 1600
                LOS ANGELES, CA 90017

 000176-A       NYS DEPT OF LABOR                     Priority           Filed 10/01/04                            $0.00                   $0.00             $28,793.62
 058            UNEMPLOYMENT INSURANCE                  Allowed per Order dated 11/17/2011 (Dkt #4227)
 5800-00        DIV
                HARRIMAN STATE OFC BLDG
                CAMPUS
                BLDG 12, RM 256
                ALBANY, NY 12240

 000177         STATE OF NEW JERSEY                   Priority           Filed 09/30/04                           $0.00            $15,708.79                      $0.00
 058            DIVISION OF EMPLOYER                    Administrative Expense Claim; Expunged per Order dated 09/13/2011 (Dkt #4206)
 5800-00        ACCOUNTS
                PO BOX 379
                TRENTON, NJ 08625

 000178-A       STATE OF MISSOURI                     Priority           Filed 10/04/04                           $0.00                $688.57                     $0.00
 058            DEPARTMENT OF REVENUE                   Exp. 03/28/2011 (Dkt #4002); Order Vacated 5/5/11 (Dkt 4122); Exp. 05/05/2011 (Dkt
 5800-00        BOX 475                                 #4122)
                JEFFERSON CITY, MO 65105

 000179         STATE OF MISSOURI                     Priority           Filed 10/04/04                            $0.00               $5,911.06                   $0.00
 058            DEPARTMENT OF REVENUE                   Exp. 03/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Exp. 05/03/11 (Dkt 4122)
 5800-00        BOX 475                                 Amended by Claim #1745
                JEFFERSON CITY, MO 65105

 000180-A       STATE OF MISSOURI                     Priority           Filed 10/04/04                            $0.00              $3,619.19                    $0.00
 058            DEPARTMENT OF REVENUE                   Exp.03/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Exp. 05/03/11 (Dkt 4122)
 5800-00        BOX 475
                JEFFERSON CITY, MO 65105

 000181-B       STATE OF WISCONSIN                    Priority          Filed 10/05/04                             $0.00               $4,950.00                   $0.00
 058            DEPT OF REVENUE                         Expunged per Order dated 05/03/2011 (Dkt #4110)
 5800-00        2135 RIMROCK RD
                MADISON, WI 53713




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled               Claimed             Allowed
 000182-A       STATE OF WISCONSIN                    Priority          Filed 10/05/04                          $0.00           $9,460.50                  $0.00
 058            DEPT OF REVENUE                         Expunged per Order dated 05/03/2011 (Dkt #4110)
 5800-00        2135 RIMROCK RD
                MADISON, WI 53713

 000183-B       STATE OF WISCONSIN                    Priority          Filed 10/05/04                          $0.00           $5,243.19                  $0.00
 058            DEPT OF REVENUE                         Expunged per Order dated 05/03/2011 (Dkt #4110)
 5800-00        2135 RIMROCK RD
                MADISON, WI 53713

 000191         STATE OF HAWAII - DEPT OF             Priority            Filed 10/08/04                        $0.00           $1,723.14             $1,723.14
 058            TAXATION                                Allowed per order 5-24-11
 5800-00        ATTN: HAWAII STATE TAX
                COLLECTOR
                P O BOX 259
                HONOLULU, HI 96809

 000192         STATE OF HAWAII, DEPT OF   Priority            Filed 10/08/04                                   $0.00               $0.00                  $0.00
 058            TAXATION                     Disallowed per order 5-24-11
 5800-00        HAWAII STATE TAX COLLECTOR
                PO BOX 259
                HONOLULU, HI 96809

 000193         STATE OF IOWA                         Priority          Filed 10/05/04                          $0.00             $891.16                  $0.00
 058            IOWA DEPT OF REVENUE                    Expunged per Order dated 03/28/2011 (Dkt #4003)
 5800-00        ACCOUNTS RECEIVABLE
                HOOVER STATE OFFICE
                BUILDING
                DES MOINES, IA 50319

 000226-B       MASSACHUSETTS DEPT OF                 Priority          Filed 10/11/04                          $0.00          $12,847.36                  $0.00
 058            REVENUE                                 Expunged per Order dated 04/12/2011 (Dkt #4051)
 5800-00        LITIGATION BUREAU,                      Amended by Claim#1829
                BANKRUPTCY UNIT
                ATTN ANNE CHAN
                PO BOX 9564
                BOSTON, MA 02114

 000227-A       MASSACHUSETTS DEPT OF                 Priority          Filed 10/11/04                          $0.00             $502.44                  $0.00
 058            REVENUE                                 Expunged per Order dated 04/12/2011 (Dkt #4051)
 5800-00        ATTN: LITIGATION BUREAU,                Amended by Claim #1828
                BANKRUPTCY UNIT
                PO BOX 9564
                BOSTON, MA 02114

 000228-B       MASSACHUSETTS DEPT OF                 Priority          Filed 10/08/04                          $0.00           $3,011.37                  $0.00
 058            REVENUE                                 Expunged per Order dated 04/12/2011 (Dkt #4051)
 5800-00        LITIGATION BUREAU,                      Amended by Claim #1771
                BANKRUPTCY UNIT
                ATTN ANNE CHAN
                PO BOX 9564
                BOSTON, MA 02114




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed              Allowed
 000257         STATE OF HAWAII, DEPT OF              Priority            Filed 10/12/04                         $0.00                  $0.00                   $0.00
 058            TAXATION                                Disallowed per roder 5-24-11
 5800-00        ATTN: HAWAII STATE TAX
                COLLECTOR
                PO BOX 259
                HONOLULU, HI 96809

 000285-C       INDIANA DEPT OF REVENUE               Priority          Filed 10/12/04                           $0.00              $1,403.18                   $0.00
 058            BANKRUPTCY SECTION ROOM                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        N-203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 000300-A       OKLAHOMA TAX COMMISSION               Priority           Filed 10/12/04                          $0.00              $1,061.07              $1,061.07
 058            LEGAL DIVISION                          Allowed per Order dated 04/12/2011 (Dkt #4053)
 5800-00        120 N ROBINSON STE 2000W
                OKLAHOMA CITY, OK 73102

 000301-B       OKLAHOMA TAX COMMISSION               Priority          Filed 10/12/04                           $0.00                $113.22                   $0.00
 058            LEGAL DIVISION                          Expunged per Order dated 04/12/2011 (Dkt #4053)
 5800-00        120 N ROBINSON SUITE 2000W              Amended by Claim#1815
                OKLAHOMA CITY, OK 73152

 000302-A       OKLAHOMA TAX COMMISSION               Priority           Filed 10/12/04                          $0.00              $5,113.42              $5,113.42
 058            LEGAL DIVISION                          Allowed per Order dated 04/12/2011 (Dkt #4053)
 5800-00        120 N ROBINSON SUITE 2000W
                OKLAHOMA CITY, OK 73102

 000325-B       INDIANA DEPT OF REVENUE               Priority           Filed 10/12/04                           $0.00              $1,774.30                  $0.00
 058            BANKRUPTCY SECTION                      Administrative Expense Claim; Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        100 NORTH SENATE AVE
                ROOM N203
                INDIANAPOLIS, IN 46204

 000326         Commonwealth of KY Revenue            Priority            Filed 10/12/04                         $0.00                $872.99                   $0.00
 058            Cabinet                                 (192-1) Claim sent to claims agent
 5800-00        100 Fair Oaks 5th Fl                    Expunged per Order dated 04/12/2011 (Dkt #4047)
                PO Box 491
                Attn: Wendy L. Stephens
                Frankfort ,Kentucky 40602-0491

 000327-A       LOUISIANA DEPT OF REVENUE             Priority          Filed 10/15/04                           $0.00              $3,040.46                   $0.00
 058            ATTN: DANICE SIMS                       Expunged per Order dated 05/03/2011 (Dkt #4119)
 5800-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000328-B       LOUISIANA DEPT OF REVENUE             Priority           Filed 10/15/04                          $0.00                $443.74                $443.74
 058            ATTN: DANICE SIMS                       Allowed per Order dated 05/03/2011 (Dkt #4119)
 5800-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000329-A       STATE OF LOUISIANA                    Priority          Filed 10/15/04                           $0.00              $1,546.67                $783.01
 058            DEPARTMENT OF REVENUE                   Reduced and Allowed per Order dated 05/03/2011 (Dkt #4119)
 5800-00        PO BOX 66658
                BATON ROUGE, LA 70896




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled                    Claimed               Allowed
 000330-B       STATE OF LOUISIANA                    Priority          Filed 10/15/04                           $0.00                  $3,423.13                $191.52
 058            DEPARTMENT OF REVENUE                   Reduced and Allowed per Order dated 05/03/2011 (Dkt #4119)
 5800-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000331-A       STATE OF LOUISIANA                    Priority          Filed 10/15/04                           $0.00                    $302.71                $202.71
 058            DEPARTMENT OF REVENUE                   Reduced and Allowed per Order dated 05/03/2011 (Dkt #4119)
 5800-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000332         LOUISIANA DEPT OF REVENUE             Priority           Filed 10/15/04                           $0.00               $800.00                       $0.00
 058            PO BOX 66658                            Administrative Expense Claim; Expunged per Order dated 05/03/2011 (Dkt #4119)
 5800-00        BATON ROUGE, LA 70896

 000333-A       STATE OF OREGON                       Priority          Filed 10/12/04                              $0.00                 $287.07                   $0.00
 058            DEPARTMENT OF REVENUE                   Expunged per Order dated 03/28/2011 (Dkt #4004)
 5800-00        REVENUE BUILDING
                955 CENTER STREET NE
                SALEM, OR 97301

 000405         Tennessee Department of Revenue       Priority             Filed 04/30/04                        $0.00                  $1,242.38                   $0.00
 058            C/O Attorney General                    (28-1) Claim sent to claims agent
 5800-00        PO Box 20207                            amended by claim#519
                Nashville,TN 37202
                                                        Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011


 000415-A       DEPT OF TREASURY-IRS                  Priority           Filed 08/02/04                           $0.00          $2,095,946.03              $1,728,339.95
 058            PO BOX 9112, JFK BLDG                   Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 5800-00        STOP 20800                              6/10/11 Dkt 4153
                BOSTON, MA 02203

 000416-B       PENNSYLVANIA DEPT OF                  Priority          Filed 08/03/04                           $0.00               $312,665.76              $75,993.78
 058            REVENUE                                 Reduced & Allowed per Order dated 06/29/2011 (Dkt #4171)
 5800-00        COMMONWEALTH OF
                PENNSYLVANIA
                BANKRUPTCY DIVISION
                DEPT 280946
                HAMSBURG, PA 17128

 000508         COMMONWEALTH OF KY                    Priority          Filed 10/12/04                              $0.00                 $872.99                   $0.00
 058            REVENUE CABINET                         Expunged per Order dated 04/12/2011 (Dkt #4047)
 5800-00        100 FAIR OAKS, 5TH FL                   Amended by Claim #1962
                PO BOX 491
                ATTN: WENDY L. STEPHENS
                FRANKFORT, KY 40602

 000509-B       State of New Jersey                   Priority             Filed 07/09/04                           $0.00                    $0.00            $12,774.84
 058            Division of Employer Accounts           (142-1) Claim sent to claims agent
 5800-00        PO Box 379                              Reclassified and Allowed per Order dated 09/13/2011 as part priority 509-B 12-774.84
                Trenton, NJ 08625-0379
                                                        and part general unsecured 1,377,952.58 (Dkt #4206)




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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                Claim Class     Notes                               Scheduled                 Claimed             Allowed
 000510         State of New York-Dept of Labor/UI     Priority            Filed 06/24/04                           $0.00           $52,312.90                  $0.00
 058            Div                                      (133-1) Claim sent to claims agent
 5800-00        Governor W. Averell Harriman State       amended by claim#1762
                Offic
                                                         Expunged per order 11-17-11 (Dkt#4227)
                Building 12 Room 256
                Albany, NY 12240

 000511-A       NYS DEPT OF TAXATION &                 Priority          Filed 05/20/04                          $0.00           $17,897.32                     $0.00
 058            FINANCE                                  Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 5300
                ALBANY, NY 12205

 000519         Tennessee Department of Revenue        Priority            Filed 05/28/04                         $0.00              $1,742.38                  $0.00
 058            C/O Attorney General                     (116-1) Claim sent to claims agent
 5800-00        PO Box 20207                             amends claim#405
                Nashville,TN 37202
                                                         Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011


 000557-A       NYS Dept of Taxation & Finance         Priority            Filed 10/08/04                        $0.00           $17,897.32                     $0.00
 058            Attn: Bankruptcy Section                 (193-1) Claim sent to claims agent
 5800-00        PO BOX 5300                              Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
                Albany, NY 12205-0300

 000558-A       Dept of Revenue, State of Oregon       Priority            Filed 10/18/04                           $0.00              $287.07               $287.07
 058            Attn: Gloria Carter, Bankruptcy Tech     (194-1) Claim sent to claims agent
 5800-00        Revenue Bldg, 955 Center Street NE       allowed per order 3-28-11 (Dkt#4004)
                Salem, OR 87301-2555

 000563-B       NYS Dept ofTaxation & Finance          Priority             Filed 04/26/04                       $0.00               $7,799.02                  $0.00
 058            Attn: Bankruptcy Section                 (2-1) Claim sent to claims agent
 5800-00        PO BOX 5300                              See claim#511
                Albany, NY 12205-0300
                                                         Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)


 000574-A       Ohio Dept of Taxation                  Priority            Filed 10/19/04                         $0.00               $540.80                $540.80
 058            c/o Ohio Attorney General                (195-1) Claim sent to claims agent
 5800-00        Collection Enforcement                   Reduced/Reclass 4/12/11(Dkt 4048);Vacated 4/14/11 (Dkt 4062);Reclass/Allowed
                150 E Gay St, 21st Fl
                                                         5/23/2011 (Dkt 4140)
                Columbus Ohio 43215

 000577-A       UNEMPLOYMENT INSURANCE                 Priority             Filed 10/15/04                           $0.00           $1,271.56             $1,206.56
 058            PO BOX 8914                              Reclassified and allowed per Order dated 05/03/2011 (Dkt #4110)
 5800-00        MADISON, WI 53708

 000578-A       UNEMPLOYMENT INSURANCE                 Priority             Filed 10/15/04                           $0.00             $577.32               $552.32
 058            PO BOX 8914                              Reclassified and allowed per Order dated 05/03/2011 (Dkt #4110)
 5800-00        MADISON, WI 53708

 000607-A       INDIANA DEPT OF REVENUE                Priority          Filed 10/12/04                             $0.00            $1,926.54                  $0.00
 058            BANKRUPTCY SECTION, ROOM                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        N-203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed              Allowed
 000608         STATE OF MINNESOTA, DEPT OF           Priority           Filed 10/12/04                          $0.00             $41,056.44             $41,056.44
 058            REVENUE
 5800-00        COLLECTION DIVISION
                BANKRUPTCY SECTION
                PO BOX 64447
                SAINT PAUL, MN 55164

 000662-B       GEORGIA DEPT OF LABOR      Priority          Filed 10/19/04                           $0.00                             $0.00              $1,112.19
 058            148 ANDREW YOUNG INTL BLVD   Reduced & Allowed per Order dated 04/19/2011 (Dkt #4069)
 5800-00        STE 826
                ATLANTA, GA 30303

 000663         GEORGIA DEPT OF LABOR      Priority          Filed 10/19/04                           $0.00                        $10,873.47                $789.57
 058            148 ANDREW YOUNG INTL BLVD   Reduced & Allowed per Order dated 04/19/2011 (Dkt #4069)
 5800-00        STE 826
                ATLANTA, GA 30303

 000666-B       INDIANA DEPT OF STATE                 Priority           Filed 10/12/04                           $0.00              $1,774.30                  $0.00
 058            REVENUE                                 Administrative Expense Claim; Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN: CAROL LUSHELL
                BANKRUPTCY SECTION
                100 N SENATE AVE RM N203
                INDIANAPOLIS, IN 46204

 000667-A       INDIANA DEPT OF STATE                 Priority           Filed 10/12/04                           $0.00              $1,774.30                  $0.00
 058            REVENUE                                 Administrative Expense Claim; Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN: CAROL LUSHELL
                BANKRUPTCY SECTION
                100 N SENATE AVE RM N203
                INDIANAPOLIS, IN 46204

 000668-B       TAX ADMINISTRATOR - DIV OF            Priority           Filed 10/14/04                           $0.00                $804.67               $804.67
 058            INCOME TAX                              Allowed 4/12/11 (Dkt 4048); Order Vacated 4/14/11 (Dkt 4062); Reclass. & allowed
 5800-00        50 W GAY ST 4TH FL                      5/23/11 (Dkt 4141)
                COLUMBUS, OH 43215

 000699-B       TAX COMMISSIONER - STATE OF Priority           Filed 10/19/04                          $0.00            $24,117.00                        $16,093.60
 058            OHIO                          Reduced & Reclass 4/12/11;(Dkt 4048);Vacated 4/14/11(Dkt 4062);Reduced & Reclass
 5800-00        30 E BROAD ST                 5/23/11 (Dkt 4141)
                COLUMBUS, OH 43215

 000703         State of Louisiana                    Priority            Filed 10/26/04                          $0.00               $200.00                   $0.00
 058            Dept. of Revenue                        (196-1) Claim sent to claims agent
 5800-00        P.O. Box 66658                          Administrative Claim; Expunged per Order dated 05/03/2011 (Dkt #4119)
                Baton Rouge, LA 70896-6658

 000704-B       NYS DEPT OF TAXATION &                Priority          Filed 10/25/04                          $0.00           $17,897.32                      $0.00
 058            FINANCE                                 Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 5300
                ALBANY, NY 12205




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 000717-B       BRUCE TANSEY                          Priority           Filed 10/25/04                          $0.00           $3,124.71                  $0.00
 058            BRUCE TANSEY CUSTOM                     Disallowed per Order Dated 2/9/10 (Docket #3739) (ac)
 5800-00        CARPENTRY                               Amended by Claim #1400
                1635 AVION PLACE
                NAPLES, FL 34104

 000719-B       DEPT. OF LABOR & INDUSTRIAL           Priority          Filed 10/25/04                           $0.00             $622.67                  $0.00
 058            RELATIONS                               Expunged per Order dated 05/24/2011 (Dkt 4138)
 5800-00        PO BOX 700                              Amended by Claim #1773
                HONOLULU, HI 96809

 000738-A       WORKERS COMPENSATION                  Priority          Filed 10/25/04                           $0.00             $127.07                  $0.00
 058            COMMISSION                              Expunged per Order dated 03/28/2011 (Dkt #4000)
 5800-00        ATTN: MARYE L WRIGHT
                WCC LEGAL SERVICES DIV
                P O BOX 2027
                CHARLESTON, WV 25327

 000744-A       VERMONT DEPT OF TAXES                 Priority          Filed 10/25/04                           $0.00             $312.31               $158.89
 058            P O BOX 429                             Reduced & Allowed per Order dated 06/29/2011 (Dkt #4170)
 5800-00        MONTPELIER, VT 05601

 000786-B       MAZZARELLA, LINDA                     Priority           Filed 10/25/04                          $0.00             $772.30                  $0.00
 058            649 BOW LINE DRIVE                      Disallowed per Order dated 1/12/10 (Docket No. 3722)
 5800-00        NAPLES, FL 34103

 000879         STATE OF MICHIGAN DEPT OF   Priority           Filed 10/21/04                          $0.00                       $785.87                  $0.00
 058            TREASURY                      Admin. Expense:; Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        ATTN: STEVEN B FLANCHER AAG
                P O BOX 30754
                LANSING, MI 48909

 000880         STATE OF MICHIGAN DEPT OF   Priority          Filed 10/21/04                                     $0.00           $3,846.02                  $0.00
 058            TREASURY                      Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        P O BOX 30754
                ATTN: STEVEN B FLANCHER AAG
                LANSING, MI 48909

 000882         STATE OF NJ DEPT OF TREASURY Priority          Filed 08/24/04                                    $0.00           $4,000.00                  $0.00
 058            ATTN DIVISION OF TAXATION      Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        PO BOX 245
                TRENTON, NJ 08695

 000883         STATE OF MICHIGAN DEPT OF             Priority          Filed 10/21/04                           $0.00          $38,762.66                  $0.00
 058            TREASURY                                Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        ATTN STEVEN B FLANCHER
                PO BOX 30754
                LANSING, MI 48909

 000884         STATE OF MICHIGAN DEPT OF  Priority          Filed 10/21/04                         $0.00            $22,848.69                             $0.00
 058            TREASURY                     Admin. Expense. Withdrawn 07/14/2011 (Dkt #29_22321); Expunged 10/5/11 Dkt. 4216
 5800-00        ATTN STEVEN B FLANCHER AAG
                PO BOX 30754
                LANSING, MI 48909




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                  Claimed              Allowed
 000886         STATE OF NEW JERSEY                   Priority          Filed 08/24/04                           $0.00               $8,000.00                  $0.00
 058            DEPT OF TREASURY                        Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        DIV OF TAXATION
                P O BOX 245
                TRENTON, NJ 08695

 000888         STATE OF NEW JERSEY                   Priority          Filed 10/28/04                           $0.00               $5,788.75                  $0.00
 058            DEPT OF LABOR - DIV OF                  Expunged per Order dated 09/13/2011 (Dkt #4206)
 5800-00        EMPLOYER ACCTS
                P O BOX 379
                ATTN: STANLEY DAVIS
                TRENTON, NJ 08625

 000890-A       EMPLOYMENT DEVELOPMENT     Priority          Filed 07/26/04                            $0.00                        $21,951.37                  $0.00
 058            DEPT                         Expunged per Order dated 05/05/2011 (Dkt #4121) and (Dkt 4114) 5/3/11
 5800-00        ATTN: BANKRUPTCY GROUP MIC
                92E
                P O BOX 826880
                SACRAMENTO, CA 94280

 000891-B       DEPT OF THE TREASURY IRS              Priority           Filed 08/02/04                           $0.00            $484,646.01            $88,379.17
 058            PO BOX 9112                             Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 5800-00        JFK BLDG STOP 20800                     6/10/11 Dkt 4153
                BOSTON, MA 02203

 000892-A       PENNSYLVANIA DEPT OF                  Priority          Filed 08/03/04                           $0.00               $5,201.10             $2,753.55
 058            REVENUE                                 Reduced & Allowed per Order dated 06/29/2011 (Dkt #4171)
 5800-00        COMMONWEALTH OF PA
                BANKRUPTCY DIV
                DEPT 280946
                HARRISBURG, PA 17128

 000895-B       TENNESSEE DEPT OF REVENUE             Priority          Filed 10/28/04                           $0.00               $1,041.18                  $0.00
 058            ATTN ATTY GENERAL                       Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 5800-00        PO BOX 20207
                NASHVILLE, TN 37202

 000907-A       DEPT OF THE TREASURY IRS              Priority           Filed 08/22/04                           $0.00          $3,561,100.77            $40,928.67
 058            PO BOX 9112 JFK BLDG STOP               Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 5800-00        20800                                   6/10/11 Dkt 4153
                BOSTON, MA 02203

 000908-B       PENNSYLVANIA DEPT OF                  Priority           Filed 08/03/04                          $0.00             $152,010.81           $152,010.81
 058            REVENUE                                 Allowed per Order dated 06/29/2011 (Dkt #4171)
 5800-00        COMMONWEALTH OF PA
                BANKRUPTCY DIV
                DEPT 280946
                HARRISBURG, PA 17128

 000912-B       INDIANA DEPT OF REVENUE               Priority          Filed 10/12/04                           $0.00               $1,256.26                  $0.00
 058            ATTN BANKRUPTCY SECTION                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ROOM N203
                100 N SENATE AVE
                INDIANAPOLIS, IN 46204




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed               Allowed
 000914-A       NYS DEPT OF TAXATION &                Priority          Filed 10/28/04                           $0.00             $145,943.77                  $0.00
 058            FINANCE                                 Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        ATTN BANKRUPTCY SECTION                 Amended by Claim #1929
                PO BOX 5300
                ALBANY, NY 12205

 000915         STATE OF LOUISANA DEPT OF             Priority           Filed 10/26/04                           $0.00               $800.00                   $0.00
 058            REVENUE                                 Administrative Expense; Expunged per Order dated 05/03/2011 (Dkt #4119)
 5800-00        PO BOX 66658
                ATTN: DANICE SIMS, REV
                COLLECTIONS AUDIT
                BATON ROUGE, LA 70896

 000916-A       TAX COMMISSIONER STATE OF             Priority            Filed 10/19/04                          $0.00             $5,602.50                 $729.12
 058            OHIO                                    Reduced & Reclass 4/12/11; (Dkt 4048).Vacated 4/14/11(Dkt 4062); Reduced & Allowed
 5800-00        3O E BROAD ST 23RD FL                   5/23/11 (Dkt 4141
                ATTN: REBECCA L DAUM,
                ATTORNEY
                BANKRUPTCY DIV
                COLUMBUS, OH 43215

 000917-B       NYS DEPT OF TAXATION &                Priority          Filed 10/28/04                           $0.00               $7,273.67                  $0.00
 058            FINANCE                                 Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        ATTN: BANKRUPTCY SECTION                Amends Claim #918
                P O BOX 5300
                ALBANY, NY 12205

 000918-A       NYS DEPT OF TAXATION &                Priority          Filed 04/26/04                           $0.00               $7,329.34                  $0.00
 058            FINANCE                                 Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        ATTN: BANKRUPTCY SECTION                Amended by Claim #917
                P O BOX 5300
                ALBANY, NY 12205

 000993-B       PENNSYLVANIA DEPT OF                  Priority          Filed 08/03/04                           $0.00              $17,505.19                $203.03
 058            REVENUE                                 Reduced & Allowed per Order dated 06/29/2011 (Dkt #4171)
 5800-00        COMMONWEALTH OF
                PENNSYLVANIA
                BANKRUPTCY DIVISION
                DEPARTMENT 280948
                HARRISBURG, PA 17128

 000994         DEPARTMENT OF                         Priority          Filed 08/02/04                           $0.00                $504.01                   $0.00
 058            LABOR-TENNESSEE                         Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 5800-00        ATTN: ANDREW JOHNSON
                TOWER-8TH FLOOR
                710 JAMES ROBERTSON
                PARKWAY
                NASHVILLE, TN 37243

 000995-A       DEPT OF THE TREASURY - IRS            Priority           Filed 08/02/04                           $0.00          $2,048,691.34           $1,722,151.12
 058            PO BOX 9112                             Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 5800-00        JFK BUILDING                            6/10/11 Dkt 4153
                STOP 20800
                BOSTON, MA 02203




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                            Scheduled                   Claimed              Allowed
 000997         TENNESSEE DEPT OF REVENUE             Priority          Filed 04/30/04                           $0.00               $500.00                   $0.00
 058            ATTN ATTY GENERAL                       Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 5800-00        PO BOX 20207
                NASHVILLE, TN 37202

 001020         STATE OF NJ DEPT OF LABOR             Priority          Filed 10/28/04                          $0.00              $13,307.56                  $0.00
 058            ATTN DIVISION OF EMPLOYER               Expunged per Order dated 09/13/2011 (Dkt #4206) Amended by Claim #1943
 5800-00        ACCTS
                PO BOX 379
                TRENTON, NJ 08625

 001021         STATE OF NJ DEPT OF TREASURY Priority          Filed 08/24/04                                   $0.00              $23,275.84                  $0.00
 058            ATTN DIVISION OF TAXATION      Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        PO BOX 245
                TRENTON, NJ 08695

 001023         STATE OF NJ DIVISION OF               Priority           Filed 06/10/04                         $0.00              $14,723.64            $14,723.64
 058            EMPLOYER ACCTS                          Allowed per Order dated 09/13/2011 (Dkt #4206)
 5800-00        PO BOX 379
                TRENTON, NJ 08625

 001024         STATE OF MICHIGAN DEPT OF   Priority           Filed 10/21/04                          $0.00                        $5,186.74                  $0.00
 058            TREASURY                      Admin. Expense. ; Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        PO BOX 30754
                ATTN: STEVEN B FLANCHER AAG
                LANSING, MI 48909

 001026         STATE OF MICHIGAN DEPT OF   Priority          Filed 10/21/04                                    $0.00               $2,298.60                  $0.00
 058            TREASURY                      Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        PO BOX 30754
                ATTN: STEVEN B FLANCHER AAG
                LANSING, MI 48909

 001027         STATE OF MICHIGAN DEPT OF   Priority          Filed 10/21/04                             $0.00             $2,412.67                           $0.00
 058            TREASURY                      Admin. Expense. Withdrawn as per withdrawal dated 4/5/05.; Expunged 10/5/11 Dkt.
 5800-00        PO BOX 30754                  4216
                ATTN: STEVEN B FLANCHER AAG
                LANSING, MI 48909

 001028         STATE OF MICHIGAN DEPT OF   Priority          Filed 10/21/04                                    $0.00               $3,244.64                  $0.00
 058            TREASURY                      Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        PO BOX 30754
                ATTN: STEVEN B FLANCHER AAG
                LANSING, MI 48909

 001031         STATE OF NJ DEPT OF TREASURY Priority          Filed 08/24/04                                   $0.00              $20,000.00                  $0.00
 058            ATTN DIVISION OF TAXATION      Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        PO BOX 245
                TRENTON, NJ 08695

 001036-B       PENNSYLVANIA DEPT OF                  Priority           Filed 08/03/04                         $0.00               $1,039.65             $1,039.65
 058            REVENUE                                 Allowed per Order dated 06/29/2011 (Dkt #4171)
 5800-00        COMMONWEALTH OF
                PENNSYLVANIA
                BANKRUPTCY DIVISION
                DEPARTMENT 280946


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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                            Scheduled                   Claimed               Allowed
                HARRISBURG, PA 17128




 001037-A       Department of the Treasury IRS        Priority             Filed 08/02/04                        $0.00          $2,111,823.47            $1,663,299.64
 058            POB 9112                                (165-1) Claim sent to claims agent
 5800-00        JFK Bldg Stop 20800                     allowed per order 6-10-11
                Boston, MA 02203

 001102         DEPT OF THE TREASURY IRS              Priority           Filed 08/02/04                           $0.00            $325,345.23            $374,910.48
 058            PO BOX 9112 JFK BLDG STOP               Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 5800-00        20800                                   6/10/11 Dkt 4153
                BOSTON, MA 02203

 001109-B       DEPT OF TREASURY-INTERNAL             Priority           Filed 08/02/04                           $0.00              $2,465.42              $2,465.42
 058            REVENUE SVC                             Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 5800-00        PO BOX 9112                             6/10/11 Dkt 4153
                JFK BUILDING
                STOP 20800
                BOSTON, MA 02203

 001137-A       NYS DEPT OF TAXATION &                Priority          Filed 04/26/04                          $0.00                  $16.93                   $0.00
 058            FINANCE                                 Expunged per Order dated 11/17/2011 (Dkt #4227) Amended by Claim #1140
 5800-00        ATTN: BANKRUPTCY SERVICES
                PO BOX 5300
                ALBANY, NY 12205

 001138         THE STATE OF NEW JERSEY               Priority           Filed 06/09/04                           $0.00            $42,057.91              $42,057.91
 058            DIVISION OF EMPLOYER                    Allowed per Order dated 09/13/2011 (Dkt #4206) See Claim #1972
 5800-00        ACCOUNTS
                PO BOX 379
                TRENTON, NJ 08625

 001139         STATE OF NY DEPT OF LABOR             Priority          Filed 10/02/04                          $0.00                  $91.24                   $0.00
 058            ATTN: UNEMPLOYMENT                      Expunged per Order dated 11/17/2011 (Dkt #4227) Amended by Claim #1943
 5800-00        INSURANCE DIVISION
                BUILDING 12, ROOM 256
                ALBANY, NY 12240

 001140-A       NYS DEPT OF TAXATION &                Priority          Filed 07/26/04                          $0.00               $16.93                      $0.00
 058            FINANCE                                 Expunged per Order dated 11/17/2011 (Dkt #4227) Amended by claim #1141 (Amends
 5800-00        ATTN: BANKRUPTCY SECTION                1137)
                PO BOX 5300
                ALBANY, NY 12205

 001141-B       NYS DEPT OF TAXATION &                Priority          Filed 10/28/04                           $0.00               $16.93                    $16.93
 058            FINANCE                                 Reduced and Allowed per Order dated 11/17/2011 (Dkt #4227) Amended by Claim #1290
 5800-00        ATTN: BANKRUPTCY SECTION                (Amends #1140)
                PO BOX 5300
                ALBANY, NY 12205

 001199-B       NEW MEXICO DEPT OF LABOR              Priority          Filed 10/25/04                           $0.00                $705.83                 $705.83
 058            EMPLOYMENT SECURITY                     Amended by Claim #1770
 5800-00        DIVISION
                PO BOX 1928



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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                 Claimed             Allowed
                ALBUQUERQUE, NM 87103




 001211         OFC OF UNEMPLOYMENT                   Priority          Filed 10/28/04                           $0.00              $218.46               $140.26
 058            COMPENSATION TAX SVC                    Reduced & Allowed per Order dated 06/29/2011 (Dkt #4171)
 5800-00        ATTN: HARRISBURG
                COMPLIANCE & BKCY
                COMMONWEALTH OF PA, DEPT
                OF LABOR & IND.
                1171 S. CAMERON ST, RM 312
                HARRISBURG, PA 17104

 001212         OFC OF UNEMPLOYMENT                   Priority          Filed 10/28/04                           $0.00            $6,676.75                  $0.00
 058            COMPENSATION TAX SVC                    Expunged per Order dated 06/29/2011 (Dkt #4171) See Claim #1816
 5800-00        ATTN: HARRISBURG
                COMPLIANCE & BKCY
                COMMONWEALTH OF PA - DEPT
                OF LABOR & IND
                1171 S CAMERON ST RM 312
                HARRISBURG, PA 17104

 001213         OFC OF UNEMPLOYMENT                   Priority          Filed 10/28/04                           $0.00           $88,787.52                  $0.00
 058            COMPENSATION TAX SVC                    Expunged per Order dated 06/29/2011 (Dkt #4171) See Claim #1817
 5800-00        ATTN: HARRISBURG BKCY &
                COMPLIANCE OFC
                COMMONWEALTH OF PA - DEPT
                OF LABOR & IND
                1171 S CAMERON ST RM 312
                HARRISBURG, PA 17104

 001214-A       OFC OF UNEMPLOYMENT                   Priority            Filed 10/28/04                          $0.00           $1,236.86             $1,130.16
 058            COMPENSATION TAX SVC                    Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171)
 5800-00        ATTN: HARRISBURG BKCY &
                COMPLIANCE OFC
                COMMONWEALTH OF PA - DEPT
                OF LABOR & IND
                1171 S CAMERON ST RM 312
                HARRISBURG, PA 17104

 001301         STATE OF MICHIGAN - DEPT OF Priority           Filed 10/21/04                          $0.00                        $785.87                  $0.00
 058            TREASURY                      Admin. Expense; Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        ATTN: STEVEN B FLANCHER AAG
                P O BOX 30754
                LANSING, MI 48909

 001302         STATE OF MICHIGAN - DEPT OF Priority          Filed 10/21/04                          $0.00                       $3,846.02             $3,806.02
 058            TREASURY                      Reduced and Allowed per Order dated 10/05/2011 (Dkt #4216)
 5800-00        REVENUE DIV
                ATTN: STEVEN B FLANCHER AAG
                P O BOX 30754
                LANSING, MI 48909




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                             Scheduled                     Claimed             Allowed
 001313         STATE OF MICHIGAN                     Priority          Filed 10/29/04                          $0.00                  $563.44                  $0.00
 058            UIA TAX OFFICE                          Expunged per Order dated 09/20/2011 (Dkt #4209) Amended by Claim #1820
 5800-00        POC UNIT
                3024 W GRAND BLVD STE 11-500
                DETROIT, MI 48202

 001314         STATE OF MICHIGAN                     Priority          Filed 10/29/04                          $0.00                $1,262.88                  $0.00
 058            UIA TAX OFFICE                          Expunged per Order dated 09/20/2011 (Dkt #4209) Amended by Claim #1821
 5800-00        POC UNIT
                3024 W GRAND BLVD STE 11-500
                DETROIT, MI 48202

 001365         MISSOURI DEPT OF LABOR & IND Priority           Filed 10/28/04                                  $0.00                   $64.17                $64.17
 058            RELATIONS                      Allowed per Order dated 03/28/2011 (Dkt #4002)
 5800-00        ATTN: MISSOURI DIV OF EMP
                SECURITY
                P O BOX 59
                ATTN: LEGAL COUNSEL
                JEFFERSON CITY, MO 65104

 001366-A       MISSOURI DEPT OF LABOR & IND Priority           Filed 10/28/04                                  $0.00                  $702.00               $702.00
 058            RELATIONS                      Allowed per Order dated 03/28/2011 (Dkt #4002)
 5800-00        C/O MISSOURI DIV OF EMP
                SECURITY
                P O BOX 59
                ATTN: LEGAL COUNSEL
                JEFFERSON CITY, MO 65104

 001400-A       TANSEY, BRUCE                         Priority           Filed 10/29/04                          $0.00               $3,124.71                  $0.00
 058            3041 SANDPIPER BAY CIR                  Disallowed per Order Dated 2/9/10 (Docket #3739) Amends Claim #717
 5800-00        NAPLES, FL 34112

 001408         BRADLEY GOLD DESIGNS INC              Priority          Filed 10/28/04                            $0.00            $52,700.00                   $0.00
 058            ATTN: BRADLEY WEINHOLTZ                 Expunged per Order dated 04/19/2011 (Dkt #4081) and (Dkt #4101) 04/22/2011
 5800-00        22142 SALCEDO
                MISSION VIEJO, CA 92691

 001411-B       STATE OF FLORIDA - DEPT OF            Priority          Filed 10/28/04                          $0.00                $1,083.96                  $0.00
 058            REVENUE                                 Expunged per Order dated 05/03/2011 (Dkt 4113)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001412-A       STATE OF FLORIDA - DEPT OF            Priority          Filed 10/28/04                          $0.00                  $124.09                  $0.00
 058            REVENUE                                 Expunged per Order dated 05/03/2011 (Dkt 4113)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001413-B       STATE OF FLORIDA - DEPT OF            Priority          Filed 10/28/04                          $0.00                $3,039.28                  $0.00
 058            REVENUE                                 Expunged per Order dated 05/03/2011 (Dkt 4113)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK


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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
                TALLAHASSEE, FL 32314




 001414-A       STATE OF FLORIDA - DEPT OF            Priority          Filed 10/28/04                              $0.00             $599.28                  $0.00
 058            REVENUE                                 Expunged per Order dated 05/03/2011 (Dkt 4113)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001432-B       SUNTREE MOBILE HOME PARK              Priority            Filed 10/29/04                            $0.00           $6,331.04                  $0.00
 058            4479 PHILLIPS HIGHWAY                   Reclassified per Order dated 04/19/2011 (Dtk #4066)
 5800-00        JACKSONVILLE, FL 32207

 001456         B AND B TOWING                        Priority            Filed 10/29/04                            $0.00               $0.00                  $0.00
 058            3927 ENTERPRISE AVENUE                  Disallowed per order 5-23-11
 5800-00        NAPLES, FL 34104

 001523-B       NEVADA DEPARTMENT OF                  Priority            Filed 10/28/04                    $0.00                $1,147.36                     $0.00
 058            TAXATION                                (200-1) ACCT #006-152-532 & 036-176-544/MBT 21387800 / Claim sent to claims agent
 5800-00        ATTN: BANKRUPTCY SECTION                disallowed per order 3-28-11
                555 E. WASHINGTON AVE #1300
                LAS VEGAS, NV 89101

 001524         ELAINE L CHAO SECRETARY OF            Priority            Filed 10/27/04                            $0.00               $0.00                  $0.00
 058            LABOR                                   Disallowed per order 6-13-11
 5800-00        ATTN: PATRICIAL M
                RODENHAUSEN REG SOL
                US DEPT OF LABOR
                201 VARICK ST RM 983
                NEW YORK, NY 10014

 001530-A       STATE OF FLORIDA - DEPT OF            Priority          Filed 10/28/04                           $0.00                $599.28               $560.28
 058            REVENUE                                 Reduced and Allowed per Order dated 05/03/2011 (Dkt #4113)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001531-B       STATE OF FLORIDA - DEPT OF            Priority           Filed 10/28/04                             $0.00           $1,083.96             $1,083.96
 058            REVENUE                                 Allowed per Order dated 05/03/2011 (Dkt #4113)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001533-B       STATE OF FLORIDA - DEPT OF            Priority          Filed 11/01/04                           $0.00                $124.09               $124.09
 058            REVENUE                                 Reduced and Allowed per Order dated 05/03/2011 (Dkt #4113)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                     Claimed             Allowed
 001539-B       NEVADA DEPT OF TAXATION               Priority           Filed 11/01/04                           $0.00                $1,147.36             $1,147.36
 058            ATTN: BANKRUPTCY SECTION                Allowed per Order dated 03/28/2011 (Dkt #3999)
 5800-00        555 E WASHINGTON AVE STE
                #1300
                LAS VEGAS, NV 89101

 001573-A       Indiana Dept. of Workforce            Priority            Filed 10/25/04                          $0.00                  $692.43               $692.43
 058            Development                             (205-1) Claim sent to claims agent
 5800-00        Worker Training Fund                    Allowed per Order dated 04/12/2011 (Dkt #4050)
                Attn: Beverly Korobkin
                10 North Senate Ave.
                Indianapolis, IN 46204-2277

 001577         STATE OF ILLINOIS DEPT OF             Priority           Filed 10/29/04                           $0.00                $1,552.00             $1,552.00
 058            REVENUE                                 Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        100 W RANDOLPH ST #7-425
                ATTN: BANKRUPTCY UNIT
                JAMES R THOMPSON CENTER
                CHICAGO, IL 60601

 001578-A       ILLINOIS DEPT OF REVENUE              Priority           Filed 10/29/04                           $0.00                $4,876.54             $4,876.54
 058            100 W RANDOLPH ST #7-425                Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        ATTN: BANKRUPTCY UNIT
                JAMES R THOMPSON CENTER
                CHICAGO, IL 60601

 001579         WEST VIRGINIA STATE TAX DIV           Priority          Filed 10/29/04                           $0.00                 $1,100.00                  $0.00
 058            P O BOX 766                             Expunged per Order dated 03/28/2011 (Dkt #4000) See Claim #1769
 5800-00        ATTN: CHRISSY BROWN
                CHARLESTON, WV 25323

 001611         B M LIMITED LIABILITY CO              Priority            Filed 11/03/04                          $0.00                    $0.00                  $0.00
 058            5406 TIMUQUANA ROAD                     Disallowed per order 4-19-11
 5800-00        JACKSONVILLE, FL 32210

 001612         KRSNA CORPORATION                     Priority            Filed 11/03/04                          $0.00                    $0.00                  $0.00
 058            5406 TIMUQUANA ROAD                     Disallowed per order 4-19-11
 5800-00        JACKSONVILLE, FL 32210

 001624-B       STATE OF GEORGIA DEPT OF              Priority           Filed 11/03/04                           $0.00                $5,434.98             $2,551.18
 058            REVENUE                                 Reduced per Order dated 04/19/2011 (Dkt #4069)
 5800-00        PO BOX 161108
                ATLANTA, GA 30321

 001632         STATE OF NY DEPT OF LABOR             Priority          Filed 11/01/04                            $0.00                $1,779.55                  $0.00
 058            ATTN UNEMPLOYMENT                       Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        INSURANCE DIV
                BLDG 12 ROOM 256
                ATTN: LISA PEARSON TAX
                COMPLIANCE
                ALBANY, NY 12240

 001640-B       STATE OF DELAWARE DIVISION Priority          Filed 11/10/04                                       $0.00                  $123.70                  $0.00
 058            OF REVENUE                   Expunged per Order dated 03/28/2011 (Dkt #3996)
 5800-00        ATTN RANDY R WELLER - MS #25
                820 N FRENCH ST 8TH FL


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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled                   Claimed             Allowed
                WILMINGTON, DE 19801




 001662-B       STATE OF FLORIDA - DEPT OF            Priority          Filed 11/01/04                              $0.00               $3,039.28             $3,039.28
 058            REVENUE                                 Allowed per Order dated 05/03/2011 (Dkt #4113)
 5800-00        ATTN: FREDERICK F RUDZIK
                BANKRUPTCY SECTION
                P O BOX 6668
                TALLAHASSEE, FL 32314

 001666         CONNECTICUT DEPT OF                   Priority           Filed 11/12/04                           $0.00                   $455.50               $455.50
 058            REVENUE SVCS                            Allowed per Order dated 05/05/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 5800-00        ATTN: C&E DIV BANKRUPTCY
                SECTION
                25 SIGOURNEY ST
                HARTFORD, CT 06106

 001667         CONNECTICUT DEPT OF                   Priority           Filed 11/12/04                           $0.00                   $873.50               $873.50
 058            REVENUE SERVICES                        Allowed per Order dated 05/05/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 5800-00        ATTN: C&E DIV, BANKRUPTCY
                SECTION
                25 SIGOURNEY ST
                HARTFORD, CT 06106

 001668         CONNECTICUT DEPT OF                   Priority          Filed 11/12/04                            $0.00                   $670.50                  $0.00
 058            REVENUE SERVICES                        Expunged per Order dated 05/05/2011 (Dkt #4118) and (Dkt 4111) 5/3/11
 5800-00        ATTN: C&E DIV BANKRUPTCY
                SECTION
                25 SIGOURNEY ST
                HARTFORD, CT 06106

 001669-A       VIRGINIA DEPT OF TAXATION             Priority           Filed 11/12/04                             $0.00                  $46.77                $46.77
 058            P O BOX 2156                            Allowed per Order dated 06/29/2011 (Dkt #4167)
 5800-00        ATTN: ANGELA THOMPSON
                RICHMOND, VA 23218

 001721-A       STATE OF DELAWARE DIV OF    Priority           Filed 10/21/04                                       $0.00                 $123.70               $123.70
 058            REVENUE                       Allowed per Order dated 03/28/2011 (Dkt #3996)
 5800-00        820 N FRENCH ST 8TH FL
                ATTN: RANDY R WELLER MS #25
                WILMINGTON, DE 19801

 001723-B       MISSISSIPPI STATE TAX                 Priority          Filed 12/02/04                              $0.00                 $137.50                  $0.00
 058            COMMISSION                              Expunged per Order dated 06/29/2011 (Dkt #4169)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 23338
                JACKSON, MS 39225

 001728-A       INDIANA DEPT OF WORKFORCE             Priority            Filed 11/29/04                            $0.00                  $58.06                $33.06
 058            DEVELOPMENT                             Reclassified per Order dated 04/12/2011 (Dkt #4050)
 5800-00        WORKER TRAINING FUND
                ATTN: BEVERLY KOROBKIN
                10 N SENATE AVE #STE200
                INDIANAPOLIS, IN 46204




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed              Allowed
 001729-A       INDIANA DEPT OF WORKFORCE             Priority           Filed 11/29/04                          $0.00                 $71.82                 $71.82
 058            DEV WORKER                              Allowed per Order dated 04/12/2011 (Dkt #4050)
 5800-00        TRAINING FUND
                ATTN: BEVERLY KOROBKIN
                10 N SENATE AVE #SE200
                INDIANAPOLIS, IN 46204

 001732-B       MISSISSIPPI STATE TAX                 Priority           Filed 11/19/04                          $0.00                $137.50                $137.50
 058            COMMISSION                              Allowed per Order dated 06/29/2011 (Dkt #4169)
 5800-00        ATTN: BANKRUPTCY SECTION
                P O BOX 23338
                JACKSON, MS 39225

 001736         BOARD OF CTY COMMISSIONERS Priority                      Filed 12/06/04                          $0.00                $806.17                $806.17
 058            JOHNSON CTY
 5800-00        ATTN: JOHNSON COUNTY LEGAL
                DEPT
                JOHNSON COUNTY ADMIN BLDG
                111 S CHERRY ST STE 3200
                OLATHE, KS 66061

 001744-B       MISSOURI DEPT OF REVENUE              Priority           Filed 12/09/04                           $0.00              $1,499.19             $1,499.19
 058            BOX 475                                 Allowed 03/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Allowed 05/03/11 (Dkt
 5800-00        JEFFERSON CITY, MO 65105                4122)


 001745         MISSOURI DEPT OF REVENUE              Priority           Filed 12/09/04                           $0.00              $2,820.40             $2,820.40
 058            BOX 475                                 Allowed 03/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Allowed 05/03/11 (Dkt
 5800-00        JEFFERSON CITY, MO 65105                4122)


 001746-A       MISSOURI DEPT OF REVENUE              Priority           Filed 12/09/04                          $0.00                $423.35                $423.35
 058            BOX 475                                 Reduced & Allowed 3/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Allowed
 5800-00        JEFFERSON CITY, MO 65105                05/03/11 (Dkt 4122)


 001747-C       COLORADO DEPT OF REVENUE              Priority           Filed 12/08/04                            $0.00                $0.00              $8,575.78
 058            ATTN: BANKRUPTCY UNIT                   Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3998) See Claim #1654
 5800-00        1375 SHERMAN ST RM 504
                DENVER, CO 80261

 001753         ILLINOIS DEPT OF EMPLOYMENT Priority           Filed 11/19/04                          $0.00             $2,520.62                              $0.00
 058            SECURITY                      Administrative Expense; Expunged 05/03/2011 (Dkt #4109); Expunged 5/5/11 (Dkt 4116)
 5800-00        BANKRUPTCY UNIT 10TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001754-A       ILLINOIS DEPT OF EMPLOYMENT Priority           Filed 11/19/04                           $0.00               $5,636.60                      $5,584.58
 058            SECURITY                      Reduced and allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        ATTY GENERAL SECTION 9TH FL
                33 S STATE ST
                CHICAGO, IL 60603




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                            Scheduled                 Claimed             Allowed
 001755-B       ILLINOIS DEPT OF EMPLOYMENT Priority           Filed 11/19/04                           $0.00                     $2,494.69              $2,494.69
 058            SECURITY                      Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        BANKRUPTCY UNIT 10 TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001756-A       ILLINOIS DEPT OF EMPLOYMENT Priority          Filed 11/19/04                           $0.00               $3,012.49                     $2,527.81
 058            SECURITY                      Reduced and Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        BANKRUPTCY UNIT 10TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001757-B       ILLINOIS DEPT OF EMPLOYMENT Priority          Filed 11/19/04                           $0.00               $2,748.58                     $2,616.60
 058            SECURITY                      Reduced and Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        BANKRUPTCY UNIT 10TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001761         STATE OF NY DEPT OF LABOR             Priority           Filed 12/13/04                          $0.00            $5,624.06              $5,624.06
 058            UNEMPLOYMENT INSURANCE                  Allowed per Order dated 11/17/2011 (Dkt #4227)
 5800-00        DIV
                GOV W AVERELL HARRIMAN
                STATE OFF BLDG
                BLDG 12 RM 256
                ALBANY, NY 12240

 001762-A       State of New York-Dept of Labor/UI    Priority             Filed 12/20/04                        $0.00          $147,820.66            $147,820.66
 058            Div                                     (206-1) Claim sent to claims agent
 5800-00        Governor W. Averell Harriman State      amends claim #510
                Offic
                                                        allowed per order 11-17-11
                Building 12 Room 256
                Albany, NY 12240

 001765-B       INDIANA DEPT OF WORKFORCE             Priority          Filed 09/01/04                           $0.00              $277.19                  $0.00
 058            DEVELOPMENT                             Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN BEVERLY KOROBKIN
                10 N SENATE AVE #SE200
                INDIANAPOLIS, IN 46204

 001766-A       INDIANA DEPT OF WORKFORCE             Priority           Filed 09/01/04                          $0.00               $53.80                $53.80
 058            DEV WORKER TRA                          Allowed per Order dated 04/12/2011 (Dkt #4050)
 5800-00        ATTN BEVERLY KOROBKIN
                10 N SENATE AVE #SE200
                INDIANAPOLIS, IN 46204

 001769         WEST VIRGINIA STATE TAX               Priority           Filed 12/13/04                           $0.00             $623.75               $623.75
 058            DIVISION                                Allowed per Order dated 03/28/2011 (Dkt #4000) See Claim #1579
 5800-00        PO BOX 766
                CHARLESTON, WV 25323

 001770-A       NEW MEXICO DEPT OF LABOR              Priority          Filed 12/20/04                           $0.00              $557.36               $557.36
 058            EMPLOYMENT SECURITY                     Amends Claim #1199
 5800-00        DIVISION
                ATTN: JASON LEWIS LEGAL
                SECTION
                PO BOX 1928


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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                  Claimed             Allowed
                ALBUQUERQUE, NM 87103




 001771         MASSACHUSETTS DEPT OF                 Priority           Filed 12/20/04                          $0.00              $2,275.84             $2,275.84
 058            REVENUE                                 Allowed per Order dated 04/12/2011 (Dkt #4051) Amends Claim #228
 5800-00        LITIGATION BUREAU,
                BANKRUPTCY UNIT
                PO BOX 9564
                ATTN: ANNE CHAN
                BOSTON, MA 02114

 001772-A       TEXAS WORKFORCE                       Priority            Filed 12/20/04                           $0.00              $634.63               $540.39
 058            COMMISSION                              Reclassified per Order dated 04/12/2011 (Dkt #4052) See Claim #53
 5800-00        ATTN STEVE WHITE
                TWC BLDG
                AUSTIN, TX 78778

 001773-A       DEPT OF LABOR & INDUSTRIAL            Priority           Filed 12/20/04                          $0.00              $1,325.15             $1,325.15
 058            RELATIONS                               Allowed per Order dated 05/24/2011 (Dkt #4138) Amends Claim #719
 5800-00        PO BOX 700
                HONOLULU, HI 96809

 001774-B       PEGNATO & PEGNATO BLDG                Priority            Filed 12/14/04                          $0.00            $60,414.48                  $0.00
 058            SYSTEMS INC                             Reclassified per Order dated 04/19/2011 (Dkt #4071) Amends Claim #132
 5800-00        C/O HAHN & BOLSON LLP
                1000 WILSHIRE BLVD STE 1600
                LOS ANGELES, CA 90017

 001775         STATE OF IOWA              Priority           Filed 12/10/04                                      $0.00               $581.43               $581.43
 058            IOWA DEPT OF REVENUE ACCTS   Allowed per Order dated 03/28/2011 (Dkt #4003)
 5800-00        RECEIVABLE
                HOOVER STATE OFFICE BLDG
                DES MOINES, IA 50319

 001776-A       STATE OF COLORADO DEPT OF  Priority           Filed 12/10/04                            $0.00                       $1,993.65             $1,105.49
 058            LABOR & EMPLOY               Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3998)
 5800-00        DIVISION OF EMPLOYMENT AND
                TRAINING
                PO BOX 8789
                DENVER, CO 80201

 001779         DEPT OF LABOR & TRAINING              Priority           Filed 12/16/04                           $0.00               $727.51               $727.51
 058            1511 PONTIAC AVE                        Allowed per Order dated 03/28/2011 (Dkt #4001)
 5800-00        CRANSTON, RI 02920

 001780-A       INDIANA DEPT OF WORKFORCE             Priority           Filed 12/17/04                           $0.00                $27.74                $27.74
 058            DEV                                     Allowed per Order dated 04/12/2011 (Dkt #4050)
 5800-00        WORKERS TRAINING FUND
                ATTN BEVERLY KOROBKIN
                10 NORTH SENATE AVE #SE200
                INDIANAPOLIS, IN 46204




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001781         DEPT OF INDUSTRIAL RELATIONS Priority           Filed 12/20/04                                      $0.00             $575.19               $575.19
 058            STATE OF ALABAMA               Allowed per Order dated 03/28/2011 (Dkt #3994)
 5800-00        649 MONROE ST
                MONTGOMERY, AL 36131

 001783-A       SOUTH CAROLINA EMPLOYMENT Priority            Filed 01/03/05                                        $0.00             $189.09               $187.35
 058            SECURITY COMM               Reclassified per Order dated 03/28/2011 (Dkt #3997)
 5800-00        ATTN LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001784         STATE OF NEW HAMPSHIRE DEPT Priority                     Filed 01/03/05                             $0.00             $755.26               $755.26
 058            OF EMP SEC
 5800-00        32 S MAIN ST
                CONCORD, NH 03301

 001786-A       STATE OF DELAWARE DEPT OF             Priority            Filed 12/13/04                            $0.00              $43.02                $25.77
 058            LABOR                                   Reclassified per Order dated 03/28/2011 (Dkt #3996)
 5800-00        ATTN DIV OF UNEMPLOYMENT
                INS
                PO BOX 9953
                WILMINGTON, DE 19809

 001787-A       STATE OF DELAWARE DEPT OF             Priority            Filed 12/13/04                            $0.00              $21.73                  $4.04
 058            LABOR                                   Reclassified per Order dated 03/28/2011 (Dkt #3996)
 5800-00        ATTN DIV OF UNEMPLOYMENT
                INS
                PO BOX 9953
                WILMINGTON, DE 19809

 001788         STATE OF DELAWARE DEPT OF             Priority           Filed 12/13/04                           $0.00                $41.58                  $0.00
 058            LABOR                                   Administrative Expense. Expunged per Order dated 03/28/2011 (Dkt #3996)
 5800-00        ATTN DIV OF UNEMPLOYMENT
                INS
                PO BOX 9953
                WILMINGTON, DE 19809

 001789         STATE OF DELAWARE DEPT OF             Priority           Filed 12/13/04                             $0.00               $5.41                  $5.19
 058            LABOR                                   Reduced per Order dated 03/28/2011 (Dkt #3996)
 5800-00        ATTN TRAINING TAX FUND
                PO BOX 9953
                WILMINGTON, DE 19809

 001790         STATE OF DELAWARE DEPT OF             Priority           Filed 12/13/04                           $0.00                 $3.35                  $0.00
 058            LABOR                                   Administrative Expense. Expunged per Order dated 03/28/2011 (Dkt #3996)
 5800-00        ATTN Division of Unemployment
                Insurance
                Training Tax Fund
                PO BOX 9953
                WILMINGTON, DE 19809

 001791         STATE OF DELAWARE DEPT OF             Priority           Filed 12/13/04                             $0.00              $12.46                $12.46
 058            LABOR                                   Allowed per Order dated 03/28/2011 (Dkt 3996)
 5800-00        DIV OF UNEMPLOYMENT INS
                TRAINING TAX FUN
                PO BOX 9953


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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                             Scheduled                   Claimed             Allowed
                WILMINGTON, DE 19809




 001802-A       SOUTH CAROLINA EMPLOYMENT Priority            Filed 12/20/04                                    $0.00                $124.44               $122.25
 058            SECURITY                    Reclassified per Order dated 03/28/2011 (Dkt #3997)
 5800-00        COMMISSION
                ATTN LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001804-A       SOUTH CAROLINA EMPLOYMENT Priority             Filed 12/20/04                           $0.00                        $760.69               $760.69
 058            SECURITY COMM               Reclassified and allowed per Order dated 03/28/2011 (Dkt #3997)
 5800-00        ATTN LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001805         STATE OF WASHINGTON                   Priority          Filed 12/20/04                          $0.00              $1,150.43             $1,150.43
 058            EMPLOYMENT SEC DEPT
 5800-00        ATTN U1 TAX ADMINISTRATION
                PO BOX 9046
                OLYMPIA, WA 98507

 001815-A       OKLAHOMA TAX COMMISSION               Priority           Filed 12/27/04                          $0.00                $86.22                $86.22
 058            LEGAL DIVISION                          Allowed per Order dated 04/12/2011 (Dkt #4053) Amends Claim #301
 5800-00        120 N ROBINSON SUITE 2000W
                OKLAHOMA CITY, OK 73102

 001816         OFFICE OF UNEMPLOYMENT                Priority          Filed 12/27/04                           $0.00             $4,416.41                  $0.00
 058            COMP TAX SERVICES                       Expunged per Order dated 06/29/2011 (Dkt #4171) See Claim #1212, #1857
 5800-00        HARRISBURG COMPLIANCE &
                BANKRUPTCY
                COMMONWEALTH OF PA, DEPT
                OF LABOR & IND
                1171 S CAMERON ST, RM 312
                HARRISBURG, PA 17104

 001817         OFFICE OF UNEMPLOYMENT                Priority          Filed 12/27/04                           $0.00           $231,117.56                  $0.00
 058            COMP TAX SERVICES                       Expunged per Order dated 06/29/2011 (Dkt #4171) See Claim #1213
 5800-00        COMPLIANCE OFFICE
                COMMONWEALTH OF PA
                DEPT OF LABOR & INDUSTRY
                1171 S CAMERON ST RM 312
                HARRISBURG, PA 17104

 001818         EMPLOYMENT SECURITY                   Priority          Filed 12/21/04                          $0.00                $315.13               $315.13
 058            COMMISSION OF NC
 5800-00        700 WADE AVE
                RALEIGH, NC 27605

 001819         EMPLOYMENT SECURITY                   Priority          Filed 12/20/04                          $0.00             $12,309.86            $12,309.86
 058            COMMISSION OF NC
 5800-00        700 WADE AVE.
                RALEIGH, NC 27605




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001820         STATE OF MICHIGAN                     Priority           Filed 12/27/04                          $0.00                $491.50               $491.50
 058            UIA TAX OFFICE                          Allowed per Order dated 09/20/2011 (Dkt #4209) Amends Claim #1313
 5800-00        POC UNIT STE 11 500
                3024 W GRAND BLVD
                DETROIT, MI 48202

 001821         STATE OF MICHIGAN                     Priority           Filed 12/27/04                          $0.00                $910.84               $910.84
 058            UIA TAX OFFICE                          Allowed per Order dated 09/20/2011 (Dkt #4209) Amends Claim #1314
 5800-00        POC UNIT STE 11 500
                3024 W GRAND BLVD
                DETROIT, MI 48202

 001822         TEXAS WORKFORCE                       Priority           Filed 01/04/05                             $0.00           $2,793.43             $2,793.43
 058            COMMISSION                              Allowed per Order dated 04/12/2011 (Dkt #4052)
 5800-00        ATTN STEVE WHITE
                TWC BLDG
                AUSTIN, TX 78778

 001823-A       COLORADO DEPT OF LABOR &              Priority            Filed 12/14/04                            $0.00           $2,060.00             $2,050.00
 058            EMPLOYMENT                              Reclassified per Order dated 03/28/2011 (Dkt #3998)
 5800-00        UNEMPLOYMENT INSURANCE
                TAX ADMIN
                PO BOX 8789
                DENVER, CO 80201

 001824         STATE OF NEW JERSEY                   Priority            Filed 12/22/04                            $0.00               $0.00                  $0.00
 058            DEPT OF TREASURY                        Disallowed per order 9-7-11
 5800-00        DIVISION OF TAXTION
                PO BOX 245
                TRENTON, NJ 08695

 001825         STATE OF NEW JERSEY         Priority          Filed 12/27/04                                        $0.00               $0.00                  $0.00
 058            DEPT OF TREASURY DIVISION OF See Calim #55, Disallowed per order 9-7-11
 5800-00        TAX
                PO BOX 245
                TRENTON, NJ 08695

 001826         STATE OF NEW JERSEY         Priority         Filed 12/22/04                                         $0.00          $31,951.88                  $0.00
 058            DEPT OF TREASURY DIVISION OF Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        TAXATION
                PO BOX 245
                TRENTON, NJ 08695

 001827         STATE OF NEW JERSEY         Priority         Filed 12/27/04                            $0.00                       $15,491.17                  $0.00
 058            DEPT OF TREASURY DIVISION OF Expunged per Order dated 09/07/11 (Docket #4203) See Claim #56
 5800-00        TAXATION
                PO BOX 245
                TRENTON, NJ 08695

 001828-A       MASSACHUSETTS DEPT OF                 Priority           Filed 12/28/04                          $0.00                $285.86               $285.86
 058            REVENUE                                 Allowed per Order dated 04/12/2011 (Dkt #4051) Amends Claim #227
 5800-00        LITIGATION BUREAU
                BANKRUPTCY UNIT
                P O BOX 9564
                ATTN: ANNE CHAN
                BOSTON, MA 02114


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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed              Allowed
 001829-B       MASSACHUSETTS DEPT OF                 Priority          Filed 12/28/04                          $0.00               $9,819.67                   $0.00
 058            REVENUE                                 Expunged per Order dated 04/12/2011 (Dkt #4051) Amends Claim #226
 5800-00        LITIGATION BUREAU
                BANKRUPTCY UNIT
                P O BOX 9564
                ATTN: ANNE CHAN
                BOSTON, MA 02114

 001842         EMPLOYMENT SECURITY                   Priority           Filed 12/28/04                          $0.00                $223.83                $223.83
 058            COMMISSION OF NC
 5800-00        700 WADE AVE.
                RALEIGH, NC 27605

 001844         DEPT OF INDUSTRIAL RELATIONS Priority          Filed 01/10/05                                    $0.00                $575.19                   $0.00
 058            STATE OF ALABAMA               Expunged per Order dated 03/28/2011 (Dkt #3994)
 5800-00        659 MONROE ST
                MONTGOMERY, AL 36131

 001856-A       Office of Unemployment Comp Tax       Priority            Filed 01/06/05                          $0.00            $231,117.56           $230,617.56
 058            Services                                (167-1) Claim sent to claims agent
 5800-00        Commonwealth of PA                      Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171) See Claim #1817
                Dept of Labor & Industry
                1171 S. Cameron St, Rm 312
                Harrisburg, PA 17104-2513

 001857-A       OFC OF UNEMPLOYMENT                   Priority            Filed 12/27/04                          $0.00              $4,416.41             $3,688.25
 058            COMPENSATION TAX SVC                    Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171) See Claim #1816
 5800-00        ATTN: HARRISBURG
                COMPLIANCE & BANKRUPTCY
                COMMONWEALTH OF PA DEPT
                OF LABOR & IND
                1171 S CAMERON ST RM 312
                HARRISBURG, PA 17104

 001862-A       STATE OF NEVADA DEPT OF     Priority            Filed 01/18/05                                   $0.00                $671.96                $666.66
 058            EMPLOYMENT,                   Reclassified per Order dated 03/28/2011 (Dkt #3999)
 5800-00        TRAINING AND REHABILITATION
                EMPLOYMENT SECURITY DIV
                500 EAST THIRD ST
                CARSON CITY, NV 89713

 001876         KANSAS DEPT OF REVENUE                Priority           Filed 01/26/05                           $0.00               $694.90                $694.00
 058            CIVIL TAX ENFORCEMENT                   Allowed per Order dated 07/21/2011 (Dkt #4183) and Dkt #4186 07/24/2011
 5800-00        PO BOX 12005
                TOPEKA, KS 66612

 001878         IDAHO DEPT OF COMMERCE &              Priority           Filed 01/24/05                          $0.00                $441.90                $441.90
 058            LABOR                                   Allowed per Order datred 03/28/2011 (Dkt #3993)
 5800-00        EMPLOYER ACCTS BUREAU
                317 MAIN ST
                BOISE, ID 83735

 001879-A       GEORGIA DEPT OF LABOR      Priority           Filed 01/24/05                                     $0.00              $5,982.14              $5,949.32
 058            148 ANDREW YOUNG INT'L BLVD Reclassified per Order dated 04/19/2011 (Dtk #4069)
 5800-00        STE 826
                ATLANTA, GA 30303


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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                   Claimed              Allowed
 001881         OKLAHOMA EMPLOYMENT                   Priority           Filed 01/24/05                           $0.00                $128.32                $128.32
 058            SECURITY COMMISSION                     Allowed per Order dated 04/12/2011 (Dkt #4053)
 5800-00        OESC LEGAL DEPT
                PO BOX 53039
                OKLAHOMA CITY, OK 73152

 001882         GEORGIA DEPT OF LABOR      Priority         Filed 01/24/05                                        $0.00              $1,865.45                   $0.00
 058            148 ANDREW YOUNG INT'L BLVD Expunged per Order dated 04/19/2011 (Dkt #4069)
 5800-00        STE 826
                ATLANTA, GA 30303

 001887         VIRGINIA EMPLOYMENT                   Priority           Filed 01/20/05                           $0.00              $2,770.40              $2,770.40
 058            COMMISSION                              Allowed per Order dated 06/29/2011 (Dkt #4167)
 5800-00        COLLECTIONS UNIT RM 344
                PO BOX 1358
                RICHMOND, VA 23218

 001892-A       STATE OF IOWA              Priority          Filed 01/31/05                                       $0.00              $2,808.29                   $0.00
 058            IOWA DEPT OF REVENUE ACCTS   Expunged per Order dated 03/28/2011 (Dkt #4003)
 5800-00        RECEIVABLE
                HOOVER STATE OFFICE BLDG
                DES MOINES, IA 50319

 001897-A       KANSAS DEPT OF REVENUE                Priority            Filed 01/26/05                           $0.00              $1,368.43               $912.31
 058            CIVIL TAX ENFORCEMENT                   Reclassified and Allowed per Order dated 07/21/2011 (Dkt #4183 ) and Dkt #4186
 5800-00        PO BOX 12005                            07/24/2011
                TOPEKA, KS 66612

 001898-A       KANSAS DEPT OF REVENUE                Priority            Filed 01/26/05                           $0.00              $399.05                 $347.00
 058            CIVIL TAX ENFORCEMENT                   Reclassified and Allowed per Order dated 07/21/2011 (Dkt #4183) and Dkt #4186
 5800-00        PO BOX 12005                            07/24/2011
                TOPEKA, KS 66612

 001909-B       STATE OF IOWA                         Priority           Filed 01/19/05                           $0.00              $2,808.29              $2,808.29
 058            IOWA DEPT OF REVENUE                    Allowed per Order dated 03/28/2011 (Dkt #4003)
 5800-00        ATTN: ACCOUNTS RECEIVABLE
                HOOVER STATE OFC BLDG
                DES MOINES, IA 50319

 001912-A       NYS DEPT OF TAXATION &                Priority         Filed 01/27/05                           $0.00           $86,208.39                       $0.00
 058            FINANCE                                 Amended by #2387; Expunged per Order dated 11/17/2011 (Dkt #4227) Amends Claim
 5800-00        ATTN: BANKRUPTCY SECTION                #704
                P O BOX 5300
                ALBANY, NY 12205

 001924-A       LOUISIANA DEPT OF REVENUE             Priority           Filed 02/17/05                           $0.00              $3,089.53              $3,089.53
 058            PO BOX 66658                            Allowed per Order dated 05/03/2011 (Dkt #4119)
 5800-00        BATON ROUGE, LA 70896

 001928-A       NYS DEPT OF TAXATION &                Priority           Filed 02/10/05                           $0.00             $10,513.02             $10,513.02
 058            FINANCE                                 Allowed per Order dated 11/17/2011 (Dkt #4227)
 5800-00        ATTN BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed             Allowed
 001929-B       NYS DEPT OF TAXATION &                Priority          Filed 02/22/05                          $0.00             $145,943.77                  $0.00
 058            FINANCE                                 Expunged per Order dated 11/17/2011 (Dkt #4227) Amends Claim #914
 5800-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001930-A       NYS DEPT OF TAXATION &                Priority           Filed 02/24/05                          $0.00                $464.01               $464.01
 058            FINANCE                                 Allowed per Order dated 11/17/2011 (Dkt #4227) Amends Claim #1141
 5800-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001931         STATE OF NY DEPT OF LABOR  Priority           Filed 02/22/05                                     $0.00                $136.20               $136.20
 058            UNEMPLOYMENT INSURANCE       Allowed per Order dated 11/17/2011 (Dkt #4227)
 5800-00        DIV
                GOV W A HARRIMAN STATE OFC
                BLDG CAMPUS
                BLDG 12 RM 256
                ALBANY, NY 12240

 001933         R I DIVISION OF TAXATION              Priority          Filed 03/07/05                           $0.00                 $87.14                  $0.00
 058            ONE CAPITAL HILL                        Expunged per Order dated 03/28/2011 (Dkt #4001)
 5800-00        PROVIDENCE, RI 02908

 001935         R I DIVISION OF TAXATION              Priority          Filed 03/14/05                           $0.00                $750.00                  $0.00
 058            ONE CAPITAL HILL                        Expunged per Order dated 03/28/2011 (Dkt #4001)
 5800-00        PROVIDENCE, RI 02908

 001936         GEORGIA DEPT OF LABOR      Priority           Filed 03/07/05                                     $0.00             $23,435.46            $23,435.46
 058            148 ANDREW YOUNG INTL BLVD   Allowed per Order dated 04/19/2011 (Dkt #4069)
 5800-00        STE 826
                ATLANTA, GA 30303

 001937-A       GEORGIA DEPT OF LABOR      Priority            Filed 03/22/05                                    $0.00              $1,536.15             $1,512.80
 058            148 ANDREW YOUNG INTL BLVD   Reclassified per Order dated 04/19/2011 (Dtk #4069)
 5800-00        STE 826
                ATLANTA, GA 30303

 001940         NEBRASKA DEPT OF REVENUE              Priority           Filed 02/22/05                          $0.00                $292.32               $292.32
 058            ATTN BANKRUPTCY UNIT                    Allowed per Order dated 06/29/2011 (Dkt #4168)
 5800-00        PO BOX 94818
                LINCOLN, NE 68509

 001942-A       INDIANA DEPT OF WORKFORCE             Priority           Filed 03/14/05                           $0.00               $282.89               $282.89
 058            DEVELOPMENT                             Allowed per Order dated 04/12/2011 (Dkt #4050) See Claim #1765
 5800-00        ATTN BEVERLY KOROBKIN
                10 NORTH SENATE AVENUE #
                SF200
                INDIANAPOLIS, IN 46204

 001943         STATE OF NY DEPT OF LABOR             Priority           Filed 02/24/05                          $0.00              $3,497.76             $3,497.76
 058            UNEMPLOYMENT INSURANCE                  Allowed per Order dated 11/17/2011 (Dkt #4227) Amends Claim #1020 #1139
 5800-00        DIVISION
                GOV W AVERELL HARRIMAN
                STATE OFFICE
                BLDG 12 RM 256


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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed             Allowed
                ALBANY, NY 12240




 001944         DEPARTMENT OF ATTORNEY                Priority           Filed 03/14/05                          $0.00             $10,652.53            $10,652.53
 058            GENERAL                                 Allowed per Order dated 09/20/2011 (Dkt #4209)
 5800-00        UNEMPLOYMENT DIVISION
                3030 W GRAND BLVD STE 9-600
                DETROIT, MI 48202

 001945         STATE OF MICHIGAN DEPT OF   Priority           Filed 03/24/05                                    $0.00             $78,149.22                  $0.00
 058            TREASURY                      Administrative Expense; Expunged 10/5/11 Dkt. 4216
 5800-00        G. MENNEN WILLIAMS BLDG 2nd
                FL
                525 W OTTAWA ST
                LANSING, MI 48933

 001946         COLORADO DEPT OF LABOR AND Priority           Filed 04/11/05                                     $0.00                $894.00               $894.00
 058            EMPLOYMENT                   Allowed per Order dated 03/28/2011 (Dkt #3998)
 5800-00        UNEMPLOYMENT INSURANCE
                TAX ADMIN
                PO BOX 8789
                DENVER, CO 80201

 001948         STATE OF MICHIGAN DEPT OF   Priority           Filed 04/11/05                                    $0.00              $2,175.63                  $0.00
 058            TREASURY                      Expunged 10/5/11 Dkt. 4216
 5800-00        ATTN: STEVEN B. FLANCHER
                G. MENNEN WILLIAMS BLDG 2nd
                FL
                525 W OTTAWA ST
                LANSING, MI 48933

 001950         STATE OF NJ DEPT OF LABOR &           Priority            Filed 04/26/05                          $0.00            $24,932.57                  $0.00
 058            WORKFORCE                               Administrative Claim; Expunged per Order dated 09/13/2011 (Dkt #4206)
 5800-00        DEVELOPMENT
                ATTN DIVISION OF EMPLOYER
                ACCOUNTS
                PO BOX 379
                TRENTON, NJ 08625

 001952-A       THE OHIO DEPT OF JOB & FAMILY Priority            Filed 04/26/05                          $0.00              $1,416.63                    $1,416.63
 058            SERVICES                        Allowed 4/12/11; (Dkt 4048).Vacated 4/14/11(Dkt 4062); Allowed 5/23/11 (Dkt 4141)
 5800-00        PO BOX 182404
                COLUMBUS, OH 43218

 001953-B       STATE OF MARYLAND             Priority           Filed 04/28/05                                  $0.00                $385.00               $385.00
 058            COMPTROLLER OF TREASURY         Allowed per Order dated 06/13/2011 (Dkt #4158)
 5800-00        RM 409, STATE OFFICE BUILDING
                301 WEST PRESTON ST
                BALTIMORE, MD 21201

 001954         STATE OF MARYLAND             Priority           Filed 04/28/05                                  $0.00                $473.00               $473.00
 058            COMPTROLLER OF TREASURY         Allowed per Order dated 06/13/2011 (Dkt #4158)
 5800-00        RM 409, STATE OFFICE BUILDING
                301 WEST PRESTON ST
                BALTIMORE, MD 21201


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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001956         South Carolina Employment Security    Priority            Filed 06/10/05                            $0.00           $2,279.73                  $0.00
 058            Commission                              (208-1) Claim sent to claims agent
 5800-00        Legal Department                        Expunged per Order dated 03/28/2011 (Dkt #3997)
                PO Box 995
                Columbia, South Carolina 29202

 001957         S C EMPLOYMENT SECURITY               Priority          Filed 06/10/05                              $0.00           $2,279.73                  $0.00
 058            COMMISSION                              Expunged per Order dated 03/28/2011 (Dkt #3997)
 5800-00        LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001958-A       S C EMPLOYMENT SECURITY               Priority             Filed 06/10/05                           $0.00           $2,279.73             $2,279.73
 058            COMMISSION                              Reclassified and allowed per Order dated 03/28/2011 (Dkt #3997)
 5800-00        LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001961-A       COLORADO DEPT OF LABOR &              Priority            Filed 05/19/05                            $0.00          $14,143.52            $14,123.52
 058            EMPLOYMENT                              Reclassified per Order dated 03/28/2011 (Dkt #3998)
 5800-00        UNEMPLOYMENT INSURANCE
                TAX ADMINISTRATIO
                PO BOX 8789
                DENVER, CO 80201

 001962-B       Dept of Finance & Admin Cabinet       Priority            Filed 07/01/05                            $0.00          $13,370.10             $3,096.43
 058            Kentucky Revenue Cabinet                (209-1) Claim sent to claims agent
 5800-00        100 Fair Oaks 5th Fl, PO Box 491        Reduced and reclassified per Order dated 04/12/2011 (Dkt #4047)
                Frankfort ,Kentucky 40602-0491

 001963-A       VIRGINIA DEPARTMENT OF                Priority          Filed 07/01/05                           $0.00                 $83.63                $82.27
 058            TAXATION                                Reduced & Allowed per Order dated 06/29/2011 (Dkt #4167)
 5800-00        PO BOX 2156
                ATTN: DONNIE WALKER
                RICHMOND, VA 23218

 001964-A       MISSISSIPPI DEPT OF         Priority            Filed 06/27/05                                      $0.00             $158.86               $135.34
 058            EMPLOYMENT SECURITY           Reclassified per Order dated 06/29/2011 (Dkt #4169)
 5800-00        ATTN CONTRIBUTIONS & STATUS
                DEPT
                PO BOX 22781
                JACKSON, MS 39225

 001965-A       ILLINOIS DEPT OF EMPLOYMENT Priority           Filed 06/13/05                           $0.00               $1,853.21                     $1,853.21
 058            SECURITY                      Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11 See Claim #1756
 5800-00        ATTN: BANKRUPTCY UNIT - 1OTH
                FL
                33 S STATE ST
                CHICAGO, IL 60603

 001966         TEXASWORKFORCE                        Priority           Filed 07/25/05                             $0.00           $3,510.21             $3,510.21
 058            COMMISSION                              Allowed per Order dated 04/12/2011 (Dkt #4052)
 5800-00        ATTN JOHN MOORE, REG
                ENFORCEMENT DIV
                TWC BUILDING
                AUSTIN, TX 78778


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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001967         NJ DEPT OF LABOR &                    Priority           Filed 06/24/05                           $0.00             $4,167.57              $4,167.57
 058            WORKFORCE DEVELOPMENT                   Allowed per Order dated 09/13/2011 (Dkt 4206) See Claim #888
 5800-00        DIVISION OF EMPLOYER
                ACCOUNTS
                PO BOX 379
                TRENTON, NJ 08625

 001968         NJ DEPT OF LABOR &                    Priority           Filed 06/24/05                             $0.00           $7,966.44              $7,966.44
 058            WORKFORCE DEVELOPMENT                   Allowed per Order dated 09/13/2011 (Dkt 4206)
 5800-00        DIVISION OF EMPLOYER
                ACCOUNTS
                PO BOX 379
                TRENTON, NJ 08625

 001969-A       ILLINOIS DEPT OF EMPLOYMENT Priority          Filed 07/11/05                           $0.00             $126,320.62                     $108,274.82
 058            SECURITY                      Reduced and Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        ATTY GENERAL SECTION 9TH
                FLOOR
                33 S STATE ST
                CHICAGO, IL 60603

 001970         ILLINOIS DEPT OF EMPLOYMENT Priority           Filed 07/11/05                          $0.00            $106,425.75                            $0.00
 058            SECURITY                      Administrative Expense; Expunged 05/03/2011 (Dkt #4109); Expunged 5/5/11 (Dkt 4116)
 5800-00        ATTY GENERAL SECTION 9TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001971-A       State of Iowa                         Priority            Filed 01/04/06                            $0.00           $1,522.50                  $0.00
 058            Iowa Dept. of Revenue                   (211-1) Claim sent to claims agent
 5800-00        Accounts Receivable                     Expunged per Order dated 03/28/2011 (Dkt #4003)
                Hoover Stat Office Bldg.
                Des Moines, IA 50319

 001972         NJ DEPT OF LABOR &                    Priority          Filed 10/24/05                           $0.00             $72,414.32                  $0.00
 058            WORKFORCE DEVELOPMENT                   Expunged per Order dated 09/13/2011 (Dkt #4206) See Claim #1138
 5800-00        DIVISION OF EMPLOYER ACCTS
                STATE OF NJ
                PO BOX 379
                TRENTON, NJ 08625

 001974-A       STATE OF NEVADA DEPT OF               Priority            Filed 10/25/05                            $0.00             $212.73               $173.36
 058            EMPLOYMENT                              Reclassified per Order dated 03/28/2011 (Dkt #3999)
 5800-00        TRAINING & REHABILITATION
                EMPLOYMENT
                SECURITY DIVISION
                500 EAST THIRD STREET
                CARSON CITY, NV 89713

 001975-A       STATE OF NEVADA DEPT OF               Priority            Filed 10/25/05                            $0.00              $83.60                $65.58
 058            EMPLOYMENT                              Reclassified per Order dated 03/28/2011 (Dkt #3999)
 5800-00        TRAINING & REHABILITATION
                EMPLOYMENT
                SECURITY DIVISION
                500 EAST THIRD STREET
                CARSON CITY, NV 89713




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                            Scheduled               Claimed             Allowed
 001977         STATE OF WISCONSIN                    Priority           Filed 08/19/05                        $0.00             $867.95               $867.95
 058            DEPT OF WORKFORCE                       Allowed per Order dated 05/03/2011 (Dkt #4110)
 5800-00        DEVELOPMENT
                UNEMPLOYMENT INSURANCE
                DWD-UI COLLECTION SECTION
                PO BOX 8914
                MADISON, WI 53708

 001980         INDIANA DEPT OF STATE                 Priority          Filed 02/06/06                         $0.00             $681.47                  $0.00
 058            REVENUE                                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN CAROL LUSHELL
                BANKRUPTCY SECTION 100
                NORTH SENATE AVE
                ROOM N203
                INDIANAPOLIS, IN 46204

 001981         INDIANA DEPT OF STATE                 Priority          Filed 02/06/06                         $0.00              $70.22                  $0.00
 058            REVENUE                                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN CAROL LUSHELL
                BANKRUPTCY SECTION 100
                NORTH SENATE AVE
                ROOM N203
                INDIANAPOLIS, IN 46204

 001982         INDIANA DEPT OF STATE                 Priority          Filed 02/06/06                         $0.00             $964.19                  $0.00
 058            REVENUE                                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN CAROL LUSHELL
                BANKRUPTCY SECTION 100
                NORTH SENATE AVE
                ROOM N203
                INDIANAPOLIS, IN 46204

 001983         INDIANA DEPT OF STATE                 Priority          Filed 02/06/06                         $0.00           $4,663.55                  $0.00
 058            REVENUE                                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        BANKRUPTCY SECTION 100
                NORTH SENATE AVE
                ROOM N203
                ATTN: CAROL LUSHELL
                INDIANAPOLIS, IN 46204

 001984         INDIANA DEPT OF STATE                 Priority          Filed 02/06/06                         $0.00           $5,556.12                  $0.00
 058            REVENUE                                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN CAROL LUSHELL
                BANKRUPTCY SECTION 100 N
                SENATE AVE
                RM N203
                INDIANAPOLIS, IN 46204

 001985         INDIANA DEPT OF STATE                 Priority          Filed 02/06/06                         $0.00           $5,273.83                  $0.00
 058            REVENUE                                 Expunged per Order dated 4/12/2011 (Dkt #4050)
 5800-00        ATTN CAROL LUSHELL
                BANKRUPTCY SECTION 100 N
                SENATE AVE
                RM N203
                INDIANAPOLIS, IN 46204




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001986         STATE OF MICHIGAN DEPT OF             Priority          Filed 02/21/06                              $0.00             $156.95                  $0.00
 058            TREASURY                                Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        CADILLAC PLACE
                3030 W GRAND BLVD
                DETROIT, MI 48202

 001987         STATE OF NEW JERSEY DEPT OF           Priority          Filed 02/09/06                           $0.00            $205,589.09            $20,006.19
 058            TREASURY                                Reduced & Allowed per Order dated 09/07/11 (Docket #4203)
 5800-00        DIVISION OF TAXATION
                PO BOX 245
                TRENTON, NJ 08695

 001988         STATE OF NEW JERSEY DEPT OF           Priority          Filed 02/09/06                              $0.00         $706,000.00                  $0.00
 058            TREASURY                                Expunged per Order dated 09/07/11 (Docket #4203)
 5800-00        DIVISION OF TAXATION
                PO BOX 245
                TRENTON, NJ 08695

 001991-A       INDIANA DEPT OF REVENUE               Priority           Filed 02/06/06                             $0.00             $687.04               $687.04
 058            BANKRUPTCY SECTION ROOM                 Allowed per Order dated 04/12/2011 (Dkt #4050)
 5800-00        N203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 001992-B       INDIANA DEPT OF REVENUE               Priority           Filed 02/06/06                           $0.00                $15.75               $192.22
 058            BANKRUPTCY SECTION ROOM                 Reduced and Reclassified per Order dated 04/12/2011 (Dkt #4050)
 5800-00        N203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 001993-B       INDIANA DEPT OF REVENUE               Priority            Filed 02/06/06                            $0.00             $163.65               $658.66
 058            BANKRUPTY SECTION ROOM                  Reclassified per Order dated 04/12/2011 (Dkt #4050)
 5800-00        N203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 001994         DEPT OF TREASURY                      Priority           Filed 02/21/06                             $0.00           $1,134.28             $1,134.28
 058            REVENUE/AG                              Allowed per Order dated 10/05/2011 (Dkt #4216)
 5800-00        PO BOX 30456
                LANSING, MI 48909

 001995         Iowa Department of Revenue            Priority            Filed 04/04/06                            $0.00             $809.97               $809.97
 058            Accounts Receivable                     (212-1) Claim sent to claims agent
 5800-00        Hoover State Office Building            Allowed per Order dated 03/28/2011 (Dkt #4003)
                Des Moines, IA 50319

 001996-B       INDIANA DEPT OF REVENUE               Priority           Filed 05/30/06                             $0.00          $17,333.87            $17,333.87
 058            BANKRUPTCY SECTION ROOM                 Allowed per Order dated 04/12/2011 (Dkt #4050)
 5800-00        N-203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 001997         MARYLAND DEPT OF LABOR                Priority          Filed 09/13/06                           $0.00             $25,598.54             $6,471.78
 058            LICENSING & REG                         Reduced and Allowed per Order dated 06/13/2011 (Dkt #4158)
 5800-00        1100 NORTH EUTAW ST RM 401
                BALTIMORE, MD 21201


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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 002005         UNEMPLOYMENT DIVISION       Priority         Filed 01/03/08                                         $0.00              $66.96                  $0.00
 058            420 SOUTH ROOSEVELT BOX 4730 Expunged per Order dated 06/29/2011 (Dkt #4172)
 5800-00        ABERDEEN, SD 57401

 002011         IDAHO COMMERCE AND LABOR Priority          Filed 01/04/08                                           $0.00             $441.90                  $0.00
 058            EMPLOYER ACCOUNTS BUREAU   Expunged per Order dated 03/28/2011 (Dkt #3993)
 5800-00        317 W MAIN ST
                BOISE, ID 83735

 002019         FRIAS, ALBERTO                        Priority            Filed 01/04/08                            $0.00               $0.00                  $0.00
 058            205 E WESTMORELAND ST                   Disallowed per order 4-19-11
 5800-00        PHILADELPHIA, PA 19134

 002030-B       MAZZARELLA, LINDA                     Priority           Filed 01/08/08                             $0.00             $772.30                  $0.00
 058            649 BOW LINE DRIVE                      Disallowed per Order dated 1/12/10 (Docket No. 3722)
 5800-00        NAPLES, FL 34103

 002043         SCHEEL, DANIEL                        Priority            Filed 01/09/08                            $0.00               $0.00                  $0.00
 058            207 ELM AVE WEST                        Disallowed per order 4-19-11
 5800-00        MONTGOMERY, MN 56069

 002044-A       AAL CONSTRUCTION CO., INC.            Priority            Filed 01/09/08                            $0.00           $2,224.74                  $0.00
 058            13252 SERENITY TRAILS                   Reclassified per Order dated 04/19/2011 (Dkt #4074)
 5800-00        CHINO, CA 91710

 002052-B       DEPT. OF REVENUE                      Priority           Filed 01/09/08                             $0.00             $791.81               $791.81
 058            PO BOX 8946                             Allowed per Order dated 05/03/2011 (Dkt #4110)
 5800-00        MILWAUKEE, WI 53293

 002053-A       DEPT. OF REVENUE                      Priority           Filed 01/09/08                             $0.00           $4,510.50             $4,510.50
 058            PO BOX 93208                            Allowed per Order dated 05/03/2011 (Dkt #4110)
 5800-00        MILWAUKEE, WI 53293

 002054-B       DEPT. OF REVENUE                      Priority           Filed 01/09/08                           $0.00             $1,108.83               $817.88
 058            PO BOX 8901                             Reduced and allowed per Order dated 05/03/2011 (Dkt #4110)
 5800-00        MILWAUKEE, WI 53708

 002070-A       DEPT. OF                              Priority           Filed 01/14/08                             $0.00             $169.13               $119.13
 058            LABOR-UNEMPLOYMENT                      Allowed per Order dated 06/29/2011 (Dkt #4168)
 5800-00        NE WORKFORCE
                DEVELOPMENT-LABOR
                OFFICE OF LEGAL COUNSEL
                PO BOX 94600
                LINCOLN, NE 68509

 002079         EVANS, JOHN                           Priority            Filed 01/15/08                            $0.00               $0.00                  $0.00
 058            875 NW 168TH DRIVE                      Disallowed per order 4-19-11
 5800-00        MIAMI, FL 33169

 002092         SAMUEL MONI                           Priority            Filed 01/10/08                            $0.00               $0.00                  $0.00
 058            248-23 89 AVE                           Disallowed per order 4-19-11
 5800-00        BELLEROSE, NY 11426




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 002095         NEBR WORKFORCE                        Priority          Filed 01/14/08                              $0.00             $169.13                  $0.00
 058            DEVELOPMENT DEPT OF LABOR               Expunged per Order dated 06/29/2011 (Dkt #4168)
 5800-00        OFFICE OF LEGAL COUNSEL
                PO BOX 94600
                LINCOLN, NE 68509

 002097-C       WYOMING UNEMPLOYMENT TAX Priority           Filed 01/07/08                            $0.00                             $0.00               $179.30
 058            DIVISION                   Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3995)
 5800-00        WY UNEMPLOYMENT TAX DIV
                PO BOX 2760
                CASPER, WY 82602

 002102-B       DEPT OF INDUSTRIAL RELATIONS Priority            Filed 01/15/08                                     $0.00               $0.00             $2,546.50
 058            STATE OF ALABAMA               Reclassified per Order dated 03/28/2011 (Dkt #3994)
 5800-00        649 MONROE ST
                MONTGOMERY, AL 36131

 002120         ACTION PLUMBING                       Priority            Filed 01/07/08                            $0.00               $0.00                  $0.00
 058            6013 EL CAMINO AVENUE                   Disallowed per order 3-8-11
 5800-00        BAKERSFIELD, CA 93313

 002121         YOHN, JAYME                           Priority            Filed 01/07/08                            $0.00               $0.00                  $0.00
 058            6012 WICKS ST.                          Disallowed per order 3-8-11
 5800-00        BAKERSFIELD, CA 93313

 002122         WOOD, JEANNIE J                       Priority            Filed 01/07/08                            $0.00               $0.00                  $0.00
 058            6013 EL CAMINO                          Disallowed per order 3-8-11
 5800-00        BAKERSFIELD, CA 93313

 002123         WOOD, HERSHALL L                      Priority            Filed 01/07/08                            $0.00               $0.00                  $0.00
 058            6013 EL CAMINO                          Disallowed per order 3-8-11
 5800-00        BAKERSFIELD, CA 93313

 002138         LOUISIANA DEPARTMENT OF               Priority          Filed 01/22/08                           $0.00                $710.75               $234.14
 058            REVENUE                                 Reduced and Allowed per Order dated 05/03/2011 (Dkt #4119)
 5800-00        PO BOX 66658
                BATON ROUGE, LA 70896

 002148-A       Kentucky Department of Revenue        Priority            Filed 01/23/08                            $0.00           $5,074.53             $4,806.04
 058            Legal Branch-Bankruptcy Section         (217-1) Claims sent to claims agent
 5800-00        Attn: Leanne Warren                     Reclassified per Order dated 04/12/2011 (Dkt #4047)
                PO Box 5222
                Frankfort,KY 40602

 002214         R I DIVISION OF TAXATION              Priority           Filed 02/05/08                             $0.00             $113.34               $113.34
 058            ONE CAPITOL HILL                        Allowed per Order dated 03/28/2011 (Dkt #4001)
 5800-00        PROVIDENCE, RI 02908

 002230-B       SC DEPARTMENT OF REVENUE              Priority            Filed 02/19/08                            $0.00           $1,235.45             $1,235.45
 058            PO BOX 12265                            Reclassified per Order dated 03/28/2011 (Dkt #3997)
 5800-00        COLUMBIA, SC 29211

 002236-B       MELISSA MALLOY                        Priority          Filed 02/27/08                              $0.00             $654.86                  $0.00
 058            154 PLUMERIA ST                         Expunged per Order dated 04/06/2011
 5800-00        SANTA RITA, GU 96915




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                      Claimed             Allowed
 002262         R I DIVISION OF TAXATION              Priority           Filed 03/10/08                           $0.00                 $2,500.00             $2,500.00
 058            ONE CAPITOL HILL                        Allowed per Order dated 03/28/2011 (Dkt #4001)
 5800-00        PROVIDENCE, RI 02908

 002269-A       STATE OF CONNECTICUT DEPT             Priority           Filed 03/18/08                            $0.00              $1,997.00                 $330.00
 058            OF REVENUE SVC                          Reduced and Reclassified per Order dated 05/03/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 5800-00        COLLECTION & ENFORCEMENT
                DIVISION
                BANKRUPTCY SECTION
                25 SIGOURNEY STREET
                HARTFORD, CT 06106

 002270-A       STATE OF CONNECTICUT DEPT             Priority           Filed 03/18/08                            $0.00              $1,997.00                 $330.00
 058            OF REVENUE SVC                          Reduced and Reclassified per Order dated 05/03/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 5800-00        COLLECTION & ENFORCEMENT
                DIVISION
                BANKRUPTCY SECTION
                25 SIGOURNEY STREET
                HARTFORD, CT 06106

 002271-A       STATE OF CONNECTICUT DEPT             Priority           Filed 03/18/08                            $0.00              $1,997.00                 $330.00
 058            OF REVENUE SVC                          Reduced and Reclassified per Order dated 05/03/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 5800-00        COLLECTION & ENFORCEMENT
                DIVISION
                BANKRUPTCY SECTION
                25 SIGOURNEY STREET
                HARTFORD, CT 06106

 002273         DEPT OF REVENUE SERVICES              Priority           Filed 03/18/08                           $0.00                 $2,898.50             $2,898.50
 058            C&E DIVISION BANKRUPTCY                 Allowed per Order dated 05/05/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 5800-00        SECTION
                25 SIGOURNEY ST
                HARTFORD, CT 06106

 002300         TENNESSEE DEPARTMENT OF               Priority           Filed 03/24/08                           $0.00                   $636.00               $636.00
 058            REVENUE                                 Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O ATTORNEY GENERAL
                PO BOX 20207
                NASHVILLE, TN 37202

 002301-A       TENNESSEE DEPARTMENT OF               Priority           Filed 03/24/08                           $0.00                 $1,177.18             $1,177.18
 058            REVENUE                                 Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O ATTORNEY GENERAL
                PO BOX 20207
                NASHVILLE, TN 37202

 002302         TENNESSEE DEPARTMENT OF               Priority           Filed 03/24/08                           $0.00                 $2,443.32             $2,443.32
 058            REVENUE                                 Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O ATTORNEY GENERAL
                PO BOX 20207
                NASHVILLE, TN 37202

 002303         TENNESSEE DEPT OF REVENUE             Priority          Filed 03/24/08                           $0.00                  $2,494.10                  $0.00
 058            C/O ATTORNEY GENERAL                    Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 5800-00        PO BOX 20207
                NASHVILLE, TN 37202


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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class      Notes                             Scheduled                     Claimed              Allowed
 002304         TENNESSEE DEPT OF REVENUE             Priority          Filed 03/24/08                           $0.00                  $2,492.28                  $0.00
 058            C/O ATTORNEY GENERAL                    Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 5800-00        PO BOX 20207
                NASHVILLE, TN 37202

 002305         TENNESSEE DEPT OF REVENUE             Priority          Filed 03/24/08                           $0.00           $12,834.25                        $0.00
 058            C/O ATTORNEY GENERAL                    Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 5800-00        PO BOX 20207
                NASHVILLE, TN 37202

 002332-B       NYS DEPT OF TAXATION &                Priority          Filed 01/25/08                            $0.00            $437,344.33                     $0.00
 058            FINANCE                                 Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 002333-A       Indiana Dept. of Workforce Dev.       Priority            Filed 02/27/08                          $0.00                 $7,578.00             $7,578.00
 058            c/o Collection Enforcement Unit         (220-1) Claim sent to claims agent
 5800-00        Attn:Beverly A. Korobkin                Allowed per Order dated 04/12/2011 (Dkt #4050)
                10 N. Senate Ave.
                Indianapolis, IN 46204-2277

 002334-A       Indiana Dept. of Workforce Dev.       Priority             Filed 02/27/08                         $0.00                  $749.30                $749.30
 058            c/o Collection Enforcement Unit         (219-1) Claim sent to claims agent
 5800-00        Attn:Beverly A. Korobkin                allowed per order 4-12-11
                10 N. Senate Ave.
                Indianapolis, IN 46204-2277

 002341         TN DEPT OF LABOR &                    Priority           Filed 04/08/08                           $0.00                  $713.02                $713.02
 058            WORKFORCE DEV UNEMPLO                   Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O TN ATTYGENERAL
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002342-A       TN DEPT OF LABOR &                    Priority          Filed 04/08/08                           $0.00                   $474.01                   $0.00
 058            WORKFORCE DEVELOPMENT                   Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O TN ATTY GENERAL
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002343         TN DEPT OF LABOR &                    Priority           Filed 04/08/08                           $0.00                $35,970.49            $35,970.49
 058            WORKFORCE DEVELOPMENT                   Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O TN ATTY GENERAL
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002347-C       TN DEPT OF LABOR &                    Priority            Filed 04/09/08                           $0.00                    $0.00            $21,375.68
 058            WORKFORCE DEVELOPMENT                   Reclassified and Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191
 5800-00        C/O TN ATTY GENERAL                     07/28/2011
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                    Claimed              Allowed
 002351         TN DEPT OF LABOR &                    Priority          Filed 04/04/08                           $0.00                  $713.02                   $0.00
 058            WORKFORCE DEVELOPMENT                   Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O TN ATTY GENERAL
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002352         DEPT OF LABOR AND                     Priority          Filed 04/04/08                           $0.00                  $713.02                   $0.00
 058            WORKFORCE DEVELOPMENT                   Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        EMPLOYMENT SECURITY
                DIVISION
                BUREAU OF UNEMPLOYMENT
                INSURANCE
                PO BOX 20207
                NASHVILLE TN 37202

 002353         TN DEPT OF LABOR &                    Priority          Filed 04/04/08                           $0.00                  $504.01                   $0.00
 058            WORKFORCE DEVELOPMENT                   Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O TN ATTY GENERAL
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002354-A       DEPT OF LABOR AND                     Priority            Filed 04/04/08                           $0.00                $504.01                $474.01
 058            WORKFORCE DEVELOPMENT                   Reclassified per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        EMPLOYMENT SECURITY
                DIVISION
                BUREAU OF UNEMPLOYMENT
                INSURANCE
                PO BOX 20207
                NASHVILLE, TN 37202

 002355         TN DEPT OF LABOR &                    Priority          Filed 04/04/08                           $0.00                $35,970.49                  $0.00
 058            WORKFORCE DEVELOPMENT                   Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        C/O ATTY GENERAL
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002356         DEPT OF LABOR AND                     Priority          Filed 04/04/08                           $0.00                $35,970.49                  $0.00
 058            WORKFORCE DEVELOPMENT                   Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 5800-00        EMPLOYMENT SECURITY
                DIVISION
                BUREAU OF UNEMPLOYMENT
                INSURANCE
                PO BOX 20207
                NASHVILLE, TN 37202

 002364         STATE OF MICHIGAN DEPT OF             Priority           Filed 04/15/08                           $0.00                $1,147.49             $1,147.49
 058            TREASURY                                Allowed per Order dated 10/05/2011 (Dkt #4216)
 5800-00        ATTN: KATHLEEN A. GARDINER,
                ASST. AG
                CADILLAC PLACE
                3030 W GRAND BLVD,, 10TH FL
                DETROIT, MI 48202




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                  Claimed              Allowed
 002367-A       STATE OF MD, COMPTROLLER OF Priority            Filed 04/25/08                                   $0.00            $36,428.00             $32,768.00
 058            THE TREASURY                  Reclassified per Order dated 06/13/2011 (Dkt #4158)
 5800-00        ATTN MARY T CARR
                ROOM 409, STATE OFFICE
                BUILDING
                301 WEST PRESTON STREET
                BALTIMORE, MD 21201

 002369-A       City of Philadelphia                  Priority            Filed 05/07/08                          $0.00           $59,116.54             $39,241.02
 058            c/o Ashely M. Chan, Esquire             (223-1) Claim sent to claims agent
 5800-00        Hangley Aronchick Segal & Pudlin        Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171)
                One Logan Square, 27th Floor
                Philadelphia, PA 19103

 002373         MICHIGAN DEPT OF TREASURY    Priority          Filed 03/24/05                                    $0.00            $78,149.22                   $0.00
 058            ATTN: STEVEN B. FLANCHER,      Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        ASST. AG
                G. MENNEN WILLIAMS BUILDING,
                SECOND FLOO
                525 WEST OTTOWA STREET
                LANSING, MI 48933

 002374         STATE OF MICHIGAN DEPT OF             Priority           Filed 05/09/08                          $0.00              $2,901.03                  $0.00
 058            TREASURY                                Withdrawn per withdrawal dated 08/01/2011 (Dkt # 36_22324); Expunged 10/5/11 Dkt.
 5800-00        ATTN: KATHLEEN A GARDINER,              4216
                ASST AG
                CADILLAC PLACE, STE 10-200
                3030 W GRAND BLVD
                DETROIT, MI 48202

 002383-A       MISSISSIPPI STATE TAX                 Priority           Filed 07/20/09                          $0.00             $4,590.74              $4,590.74
 058            COMMISSION                              Allowed per Order dated 06/29/2011 (Dkt #4169)
 5800-00        BANKRUPTCY SEC-MISSISSIPPI
                STATE TAX COM
                PO BOX 22808
                JACKSON, MS 39225

 002384-B       MARYLAND DEP OF LABOR,                Priority           Filed 09/08/09                          $0.00             $2,572.01              $2,572.01
 058            LICENSING AND REG                       Allowed per Order dated 06/13/2011 (Dkt 4158)
 5800-00        OFFICE OF UNEMPLOYMENT
                INSURANCE
                1100 NORTH EUTAW ST, RM 401
                BALTIMORE, MD 21201

 002387-B       NYS DEPARTMENT OF TAXATION Priority           Filed 09/29/05                            $0.00             $90,394.39                     $90,660.40
 058            AND FINANCE                  Amends #s 511, 557, 563, 704, & 1912.Reclassified per Order dated 11/17/2011 (Dkt
 5800-00        BANKRUPTCY SECTION           #4227)
                P O BOX 5300
                ALBANY, NY 12205

 002390-B       NYS DEPARTMENT OF TAXATION Priority          Filed 10/25/05                                      $0.00           $215,191.33                   $0.00
 058            AND FINANCE                  Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                     Claimed             Allowed
 002394         NORTH CAROLINA DEPARTMENT Priority                       Filed 04/18/08                           $0.00               $51,852.25            $51,852.25
 058            OF REVENUE
 5800-00        C/O COLLECTIONS EXAMINATION
                DIVISION
                ATTN: ANGELA C FOUNTAIN
                BANKRUPTCY MGR
                PO BOX 1168
                RALEIGH, NC 27602

 002395         KANSAS DEPARTMENT OF                  Priority           Filed 03/17/06                           $0.00                $6,038.52             $6,038.52
 058            REVENUE                                 Allowed per Order dated 07/21/2011 (Dkt #4183) and Dkt #4186 07/24/2011
 5800-00        C/O CIVIL TAX ENFORCEMENT
                PO BOX 12005
                TOPEKA, KS 66612

 002396         STATE OF MICHIGAN                     Priority           Filed 05/09/08                          $0.00             $11,366.11                     $0.00
 058            DEPARTMENT OF TREASURY                  Withdrawn per withdrawal dated 08/01/2011 (Dkt # 36_22324); Expunged 10/5/11 Dkt.
 5800-00        C/O ASSISTANT ATTORNEY                  4216
                GENERAL
                ATTN KATHLEEN A GARDINER
                CADILLAC PLACE, STE 10-200
                3030 W GRAND BLVD
                DETROIT, MI 48202

 002397         MARYLAND DEPT OF LABOR,               Priority           Filed 09/13/06                           $0.00                $3,450.57               $301.64
 058            LICENSING                               Reduced per Order dated 06/13/2011 (Dkt #4158)
 5800-00        AND REGULATION
                1100 NORTH EUTAW STREET,
                ROOM 401
                BALTIMORE, MD 21201

 002400-A       MARYLAND DEPT OF LABOR,               Priority           Filed 09/13/06                            $0.00               $3,450.57               $669.56
 058            LICENSING                               Reduced and Reclassified per Order dated 06/13/2011 (Dkt #4158)
 5800-00        AND REGULATION
                1100 NORTH EUTAW STREET,
                ROOM 401
                BALTIMORE, MD 21201

 002401-A       MASSACHUSETTS DEPARTMENT Priority           Filed 08/31/05                                        $0.00                $6,071.28             $6,039.25
 058            OF REVENUE                 Reduced per Order dated 04/12/2011 (Dkt #4051)
 5800-00        LITIGATION BUREAU,
                BANKRUPTCY UNIT
                100 CAMBRIDGE STREET, 7TH
                FLOOR
                BOSTON, MA 02114

 002402         STATE OF ILLINOIS                     Priority           Filed 01/08/07                           $0.00               $39,367.47            $39,367.47
 058            DEPARTMENT OF REVENUE                   Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 5800-00        100 WEST RANDOLPH STREET
                LEVEL 7-425
                CHICAGO, IL 60601

 002403         MARYLAND DEPT OF LABOR                Priority         Filed 09/13/06                           $0.00                    $860.93               $340.27
 058            LICENSING                               Amends Claim #10; Reduced per Order dated 06/13/2011 (Dkt #4158)
 5800-00        AND REGULATION
                1100 NORTH EUTAW STREET,


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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                              Scheduled               Claimed             Allowed
                ROOM 401
                BALTIMORE, MD 21201


 002404         STATE OF HAWAII DEPARTMENT Priority           Filed 05/19/06                                    $0.00             $554.87               $554.87
 058            OF TAXATION                  Allowed per Order dated 05/24/2011 (Dkt #4138)
 5800-00        HAWAII STATE TAX COLLECTOR
                ATTN: BANKRUPTCY UNIT (EL)
                PO BOX 259
                HONOLULU, HI 96809

 002405         STATE OF CALIFORNIA        Priority          Filed 04/19/11                            $0.00                    $3,949.94                  $0.00
 058            BANKRUPTCY SECTION MS A340   Expunged per Order dated 07/21/2011 (Dkt #4185) and (Dkt 4188 07/24/2011)
 5800-00        FRANCHISE TAX BOARD
                PO BOX 2952
                SACRAMENTO, CA 95812

 002406         STATE OF CALIFORNIA        Priority          Filed 04/19/11                            $0.00                    $3,949.94                  $0.00
 058            BANKRUPTCY SECTION MS A340   Expunged per Order dated 07/21/2011 (Dkt #4185) and (Dkt 4188 07/24/2011)
 5800-00        FRANCHISE TAX BOARD
                PO BOX 2952
                SACRAMENTO, CA 95812

 002407-A       FRANCHISE TAX BOARD        Priority          Filed 05/13/11                           $0.00                     $2,408.03             $2,338.79
 058            BANKRUPTCY SECTION MS A340   Reduced and Allowed per Order dated 07/21/2011 (Dkt #4185) and (Dkt 4188
 5800-00        PO BOX 2952                  07/24/2011)
                SACRAMENTO, CA 95812

 002408         STATE OF NEW YORK DEPT OF     Priority           Filed 02/10/05                                 $0.00          $14,403.43            $14,403.43
 058            LABOR                           Allowed per Order dated 11/17/2011 (Dkt #4227)
 5800-00        UNEMPLOYMENT INSURANCE
                DIVISION
                GOV W AVERELL HARRIMAN
                STATE OFFICE
                BUILDING CAMPUS, BUILDING 12,
                ROOM 256
                ALBANY, NY 12240

 002409         STATE OF NEW YORK             Priority          Filed 11/29/04                                  $0.00         $261,563.11                  $0.00
 058            DEPARTMENT OF LABOR             Expunged per Order dated 11/17/2011 (Dkt #4227)
 5800-00        UNEMPLOYMENT INSURANCE
                DIVISION
                GOV W AVERELL HARRIMAN
                STATE OFFICE
                BUILDING CAMPUS, BUILDING 12,
                ROOM 256
                ALBANY, NY 12240

 002410         STATE OF MICHIGAN                     Priority          Filed 07/14/11                          $0.00          $37,855.46                  $0.00
 058            DEPARTMENT OF TREASURY                  Expunged per Order dated 10/05/2011 (Dkt #4216)
 5800-00        C/O ASSISTANT ATTORNEY
                GENERAL
                ATTN: CHRISTOPHER M
                JACOBSON
                CADILLAC PLACE, SUITE 10-200




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  Case Number: 04-22316RG                                                     Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class     Notes                             Scheduled               Claimed               Allowed
                3030 W GRAND BLVD
                DETROIT, MI 48202


 002411-B       NYS Dept of Taxation & Finance           Priority            Filed 06/13/11                        $0.00         $215,191.33             $215,191.33
 058            Attn: Bankruptcy Section                   (210-1) Claim sent to claims agent
 5800-00        PO Box 5300                                Allowed per Order dated 11/17/2011 (Dkt #4227)
                Albany, NY 12205-0300

 002413         STATE OF MICHIGAN          Priority           Filed 08/17/11                                       $0.00           $4,624.96               $2,891.47
 058            DEPARTMENT OF TREASURY       Allowed per Order dated 10/05/2011 (Dkt #4216)
 5800-00        ATTN: CHRISTOPHER M
                JACOBSON
                ASSISTANT ATTORNEY GENERAL
                CADILLAC PLACE STE 10-200
                3030 W GRAND BLVD
                DETROIT, MI 48202

                             Subtotal for Priority 058                                                             $0.00      $16,766,649.77            $7,546,503.47
 000001-A       COLIN DOWDS                              Unsecured          Filed 08/10/04                         $0.00         $153,142.19             $148,217.19
 070            80 SUSAN ST.                              Reclassified per Order Dated 11/25/08 (Docket #2521)
 7100-00        TOMS RIVER, NJ 08753                      (ac)


 000003         MV Transportation, Inc.                  Unsecured          Filed 08/09/04                         $0.00         $900,000.00             $900,000.00
 070            Attn: Mark Ginalski                       (176-1) Claim sent to claims agent
 7100-00        John Biard & Assoc.
                360 Campus Ln., Ste 201
                Fairfield, CA 94534

 000004         MV TRANSPORTATION INC                    Unsecured          Filed 08/09/04                         $0.00         $900,000.00             $900,000.00
 070            ATTN MARK GINALSKI
 7100-00        JOHN BIARD & ASSOCIATES
                360 CAMPUS LANE STE 201
                FAIRFIELD, CA 94534

 000005         MV TRANSPORTATION INC                    Unsecured          Filed 08/09/04                         $0.00         $900,000.00             $900,000.00
 070            JOHN BIARD & ASSOC
 7100-00        ATTN MARK GINALSKI
                360 CAMPUS LANE STE 201
                FAIRFIELD, CA 94534

 000006         MV TRANSPORTATION INC                    Unsecured          Filed 08/09/04                         $0.00         $900,000.00             $900,000.00
 070            ATTN MARK GINALSKI
 7100-00        JOHN BIARD & ASSOCIATES
                360 CAMPUS LANE STE 201
                FARIFIELD, CA 94534

 000007-A       PENNSYLVANIA DEPT OF                     Unsecured        Filed 08/09/04                           $0.00           $9,022.52                   $0.00
 070            REVENUE                                   Expunged per Order dated 06/29/2011 (Dkt #4171)
 7100-00        ATTN BANKRUPTCY DIVISION
                COMMONWEALTH OF
                PENNSYLVANIA
                DEPT 280946
                HARRISBURG, PA 17128


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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000011-B       MARYLAND DEPT OF LABOR,               Unsecured          Filed 08/04/04                            $0.00             $482.98               $135.00
 070            LICENSING & REG                        Reclassified per Order dated 06/13/2011 (Dkt #4158)
 7100-00        1100 NORTH EUTAW ST, RM 401
                BALTIMORE, MD 21201

 000013         HERIBERTO AVILA                       Unsecured          Filed 08/24/04                            $0.00               $0.00                  $0.00
 070            C/O DON HARVEY ESQ.                    claim in the amount of15,655.13 amended by claim #612
 7100-00        253 N. ORLANDO AVE.                    (ac)
                STE 204
                MAITLAND, FL 32751

 000014         JOHN ZITT                             Unsecured          Filed 08/23/04                            $0.00          $75,000.00             $75,000.00
 070            ATTN: LAW OFFICE OF PEIRRE
 7100-00        VAUGHN
                4817 PALM AVENUE, SUITE I
                LA MESA, CA 91941

 000016-B       TAMMY J. KROUSE                       Unsecured          Filed 08/16/04                            $0.00               $0.00             $17,808.67
 070            1512 WATERSIDE DR. N                   Reclassified Per Order Dated 11/25/08 (Dkt#2534)
 7100-00        CHESAPEAKE, VA 23320

 000017         CA UNINSURED EMP BENEFIT      Unsecured                  Filed 08/15/04                            $0.00          $95,245.00             $95,245.00
 070            TRUST FUND
 7100-00        ATTN: OFFICE OF THE DIRECTOR-
                LEGAL UNIT
                ATTN: BANKRUPTCY UNIT
                320 WEST FOURTH STREET, SUITE
                600
                LOS ANGELES, CA 90013

 000018         MARIA DEL ROCIO GUILLEN               Unsecured          Filed 08/13/04                            $0.00         $300,000.00            $300,000.00
 070            ATTN: LAW OFFICES OF LEO H.
 7100-00        HERNANDEZ
                3330 PICO BLVD., #2308
                SANTA MONICA, CA 90405

 000019         JOSEPH RAY HALL                       Unsecured          Filed 08/12/04                            $0.00          $20,000.00             $20,000.00
 070            3127 ATLANTIC BLVD.
 7100-00        JACKSONVILLE, FL 32207

 000020         RAHAIM, WATSON, DEARING,              Unsecured          Filed 08/12/04                            $0.00           $3,198.42              $3,198.42
 070            BERRY & MOORE,
 7100-00        ATTN: DAVID DEARING
                3127 ATLANTIC BLVD.
                JACKSONVILLE, FL 32207

 000021-A       MARCY L TSCHIDA                       Unsecured        Filed 08/11/04                            $0.00             $2,760.00              $1,800.00
 070            5127 PRAIRIE GRASS LN                  Reduced & Reclassified per Order Dated 10/7/08 (Docket #1993)
 7100-00        COLORADO SPRINGS, CO 80922             (ac)


 000022-B       JERRI T WISE                          Unsecured         Filed 08/11/04                            $0.00            $3,530.76                  $0.00
 070            882 CRYSTAL WATER COURT                Reduced and Reclassified Per Order Dated 10/27/08 (Docket # 2201)
 7100-00        LAWRENCEVILLE, GA 30045




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                                Scheduled               Claimed             Allowed
 000023         EMERITA RIVERA                        Unsecured         Filed 08/11/04                            $0.00             $955.50                  $0.00
 070            53 WRIGHT PLACE                        Disallowed Per Order Dated 12/22/08 (Docket #2734)
 7100-00        NEW BRUNSWICK, NJ 08901

 000024         G J SULLIVAN JR. PA                   Unsecured         Filed 08/10/04                            $0.00           $1,750.00              $1,750.00
 070            SULLIVAN & CO
 7100-00        501 W BAY ST, STE 100
                JACKSONVILLE, FL 32202

 000025         CA UNINSURED EMPLOYERS                Unsecured         Filed 09/28/04                            $0.00         $142,017.75            $142,017.75
 070            BENEFITS TR FUND
 7100-00        OFFICE OF THE DIRECTOR-
                LEGAL UNIT
                ATTN: BANKRUPTCY UNIT
                320 W FOURTH ST, STE 600
                LOS ANGELES, CA 90013

 000026         GANSON ENGINEERING INC                Unsecured         Filed 09/10/04                            $0.00           $8,936.00              $8,936.00
 070            PO BOX 2907
 7100-00        LAKE HAVASU CITY, AZ 86406

 000029         MARIA RIVERA                          Unsecured         Filed 09/02/04                            $0.00             $384.15               $384.15
 070            2302 W CYPRESS ST
 7100-00        COMPTON, CA 90202

 000030         CONCENTRA MEDICAL CENTERS Unsecured                     Filed 09/02/04                            $0.00          $19,163.88             $19,163.88
 070            JJ MAC INTYRE CO
 7100-00        PO BOX 78150
                CORONA, CA 92877

 000031-A       STATE OF MARYLAND CENTRAL Unsecured          Filed 08/31/04                                       $0.00              $85.00                $85.00
 070            COLLECTION UNT             Reclassified per Order dated 06/13/2011 (Dkt #4158)
 7100-00        MICHAEL S. FRIEDMAN AAG
                OFFICE OF THE ATTY GENERAL
                OF MARYLAND
                300 W PRESTON ST RM 407
                BALTIMORE, MD 21201

 000032         CITIBANK USA, N.A.                    Unsecured         Filed 08/30/04                            $0.00           $8,089.61              $8,089.61
 070            DBA: DELL
 7100-00        PO BOX 9025
                DES MOINES, IA 50368

 000033         INFO QUEST, INC.                      Unsecured         Filed 08/27/04                            $0.00          $25,000.00             $25,000.00
 070            SLATER, TENAGLIA, FRITZ &
 7100-00        HUNT, P.A.
                301 THIRD STREET
                OCEAN CITY, NJ 08226

 000034         CA UNINSURED EMP BENEFIT      Unsecured                 Filed 08/27/04                            $0.00         $161,930.00            $161,930.00
 070            TRUST FUND
 7100-00        OFFICE OF THE DIRECTOR-LEGAL
                UNIT
                ATTN: BANKRUPTCY UNIT
                320 WEST FOURTH STREET, SUITE
                600


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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class   Notes                     Scheduled               Claimed               Allowed
                LOS ANGELES, CA 90013-




 000035         JOHN ZITT                   Unsecured                  Filed 08/26/04                 $0.00          $75,000.00              $75,000.00
 070            LAW OFFICE OF PIERRE VAUGHN
 7100-00        4817 PALM AVE. SUITE I
                LA MESA, CA 91941

 000036         DON HARVEY ESQ                        Unsecured        Filed 08/24/04                 $0.00          $28,027.64              $28,027.64
 070            253 N. ORLANDO AVE.                    (ac)
 7100-00        STE 204
                MAITLAND, FL 32751

 000037         G J SULLIVAN JR, PA                   Unsecured        Filed 08/10/04                 $0.00           $4,625.00               $4,625.00
 070            SULLIVAN & COMPANY
 7100-00        501 W BAY ST
                STE 100
                JACKSONVILLE, FL 32202

 000038         AMERICAN HOME ASSURANCE         Unsecured              Filed 08/10/04                 $0.00         $400,000.00             $400,000.00
 070            CO. et al
 7100-00        c/o INT'L MARINE AGENCY OF NY
                McDonough, Korn & Eichorn, P.C.
                959 South Springfield Avenue
                Springfield, NJ 37081

 000039         RED BULL NORTH AMERICA INC            Unsecured        Filed 08/10/04                 $0.00         $318,000.00             $318,000.00
 070            SEYFARTH SHAW LLP
 7100-00        ALLAN S ONO (SBN
                130763)/CAROLYN E SIEVE
                2029 CENTURY PARK EAST, STE
                3300
                LOS ANGELES, CA 90067

 000040         DEL MONTE FRESH PRODUCE               Unsecured        Filed 08/10/04                 $0.00       $1,621,281.08            $1,621,281.08
 070            COMPANY
 7100-00        C/O RUDY PITTALUGA JR
                HOLLAND & KNIGHT LLP
                701 BRICKELL AVE, STE 3000
                MIAMI, FL 33131

 000041         DEL MONTE FRESH PRODUCE               Unsecured        Filed 08/10/04                 $0.00               $0.00                   $0.00
 070            COMPANY
 7100-00        C/O RUDY PITTALUGA JR
                HOLLAND & KNIGHT LLP
                701 BRICKELL AVE, STE 3000
                MIAMI, FL 33131

 000042         DEL MONTE FRESH PRODUCE               Unsecured        Filed 08/10/04                 $0.00               $0.00                   $0.00
 070            COMPANY
 7100-00        C/O RUDY PITTALUGA JR
                HOLLAND & KNIGHT LLP
                701 BRICKELL AVE, STE 3000
                MIAMI, FL 33131




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                   Claimed              Allowed
 000043         DEL MONTE FRESH PRODUCE               Unsecured          Filed 08/10/04                           $0.00                  $0.00                   $0.00
 070            COMPANY
 7100-00        C/O RUDY PITTALUGA JR
                HOLLAND & KNIGHT LLP
                701 BRICKELL AVE, STE 3000
                MIAMI, FL 33131

 000044         DEL MONTE FRESH PRODUCE               Unsecured          Filed 08/10/04                           $0.00                  $0.00                   $0.00
 070            COMPANY
 7100-00        C/O RUDY PITTALUGA JR
                HOLLAND & KNIGHT LLP
                701 BRICKELL AVE, STE 3000
                MIAMI, FL 33131

 000045         DEL MONTE FRESH PRODUCE               Unsecured          Filed 08/10/04                           $0.00                  $0.00                   $0.00
 070            COMPANY
 7100-00        C/O RUDY PITTALUGA JR
                HOLLAND & KNIGHT LLP
                701 BRICKELL AVE, STE 3000
                MIAMI, FL 33131

 000047         JOHN ZITT                   Unsecured                    Filed 08/23/04                           $0.00             $75,000.00             $75,000.00
 070            LAW OFFICE OF PIERRE VAUGHN
 7100-00        4817 PALM AVE, STE 1
                LA MESA, CA 91941

 000048         ANTHONY CRISCIO                       Unsecured          Filed 08/23/04                           $0.00              $2,307.00              $2,307.00
 070            457 WEST AVE
 7100-00        SEWAREN, NJ 07077

 000051-B       OHIO BUREAU OF WORKERS                Unsecured           Filed 09/07/04                           $0.00                  $0.00               $258.06
 070            COMPENSATION                           Reclassi. 4/12/11 (Dkt 4048); Order vacated 4/14/11 (Dkt 4062); Reclass. & allowed
 7100-00        LAW SECTION BANKRUPTCY                 5/23/11(Dkt 4141)
                UNIT
                30 W SPRING ST
                PO BOX 15567
                COLUMBUS, OH 43215

 000052         OHIO BUREAU OF WORKERS                Unsecured          Filed 08/24/04                           $0.00                $551.01                $551.01
 070            COMPENSATION
 7100-00        LAW SECTION OF BANKRUPTCY
                UNIT
                30 W SPRING ST
                PO BOX 15567
                COLUMBUS, OH 43215

 000058-B       STATE OF MARYLAND             Unsecured         Filed 08/31/04                                    $0.00                 $30.00                 $30.00
 070            ATTN: MARY T CARR,             Allowed per Order dated 06/13/2011 (Dkt #4158)
 7100-00        COMPTROLLER OF MD
                RM 409, STATE OFFICE BUILDING
                301 W PRESTON ST
                BALTIMORE, MD 21201




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 000059-A       STATE OF MARYLAND             Unsecured        Filed 08/27/04                                    $0.00             $101.20                  $0.00
 070            ATTN: MARY T CARR,             Expunged per Order dated 06/13/2011 (Dkt #4158)
 7100-00        COMPTROLLER OF MD
                RM 409, STATE OFFICE BUILDING
                301 W PRESTON ST
                BALTIMORE, MD 21201

 000062         QUIROZ MERCEDES                       Unsecured          Filed 10/06/04                          $0.00               $0.00                  $0.00
 070            99 LINCOLN ST
 7100-00        JERSEY CITY, NJ 07307

 000063         QUIROZ, MERCEDES                      Unsecured          Filed 10/04/04                          $0.00               $0.00                  $0.00
 070            99 LINCOLN ST
 7100-00        JERSEY CITY, NJ 07307

 000065         SAMUEL, MONI                          Unsecured          Filed 09/10/04                          $0.00               $0.00                  $0.00
 070            248-23-89-AVE                          Disallowed per order 4-19-11
 7100-00        BELLROSE, NY 11426

 000066-B       SAM, RIJU                             Unsecured         Filed 10/06/04                           $0.00             $200.00                  $0.00
 070            248-23, 89th AVE.                      Disallowed Per Order Dated 12/2/08 (Dkt # 2588)
 7100-00        BELLEROSE, NY 11426

 000067         JACKSON, SHERRY                       Unsecured          Filed 09/28/04                          $0.00               $0.00                  $0.00
 070            2316 BRASHEARS STREET                  Disallowed per order 8-18-08
 7100-00        BATON ROUGE, LA 70807

 000068         CODY, TIMOTHY A.                      Unsecured          Filed 09/27/04                          $0.00               $0.00                  $0.00
 070            116 GRAY STONE WAY                     Disallowed per order 11-25-08
 7100-00        NEWPORT, TN 37821

 000069-B       WILLIAMS, DEIDRA                      Unsecured          Filed 10/06/04                          $0.00               $0.00               $300.00
 070            4876 APPLESTONE                        Reclassified per Order Dated 11/25/08 (Docket #2516)
 7100-00        MEMPHIS, TN 38109

 000070         MARTINEZ, HILDA                       Unsecured          Filed 09/28/04                          $0.00               $0.00                  $0.00
 070            5050 W. 12TH LANE                      Disallowed per order 11-25-08
 7100-00        HIALEAH, FL 33012

 000071-B       VERGARA, ROSA                         Unsecured          Filed 10/07/04                          $0.00               $0.00               $272.33
 070            POST OFFICE BOX 86                     Reclassified Per Order Dated 12/2/08 (Dkt # 2594)
 7100-00        STANHOPE, NJ 07874

 000072         JOSHUA YURFEST                        Unsecured          Filed 10/07/04                          $0.00               $0.00                  $0.00
 070            PO BOX 495
 7100-00        PITTSFIELD MA 01202

 000074         OBENG, ISSAC                          Unsecured          Filed 10/05/04                          $0.00               $0.00                  $0.00
 070            136 N. 18TH ST                         Disallowed per order 10-21-08
 7100-00        WHEATLEY HEIGHTS, NY 11798

 000075         HAMM, EARNEST                         Unsecured          Filed 10/05/04                          $0.00               $0.00                  $0.00
 070            1028 S. GRANDEE AVENUE                 Disallowed per order 11-18-08
 7100-00        APARTMENT #3
                COMPTON, CA 90220




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 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled               Claimed             Allowed
 000078         TAMPA DRIVE SERVICE III               Unsecured          Filed 10/05/04                         $0.00               $0.00                  $0.00
 070            406 RIO STREET SUITE 140
 7100-00        TAMPA, FL 33609

 000080         STEVEN V SOPHER PT                    Unsecured          Filed 10/05/04                         $0.00             $258.00               $258.00
 070            283 LOCKHAVEN
 7100-00        STE 315
                HOUSTON, TX 77073

 000081         GUILEN-MONTANO, MARIA D.              Unsecured          Filed 10/05/04                         $0.00               $0.00                  $0.00
 070            10729 CONDON AVE
 7100-00        APT #209
                INGLEWOOD, CA 90304

 000082         HORSLEY, DENNIS                       Unsecured          Filed 10/05/04                         $0.00         $500,000.00            $500,000.00
 070            5020 76TH STREET
 7100-00        SARCRAMENTO, CA 95823

 000083         PALM BEACH SPORTS MEDICINE Unsecured                     Filed 10/05/04                         $0.00             $107.00               $107.00
 070            4440 BEACON CIRCLE
 7100-00        WEST PALM BEACH, FL 33407

 000084-A       CLINTON, V. NANCY                     Unsecured         Filed 10/05/04                          $0.00              $66.00                  $0.00
 070            1915 ALFA DRIVE                        Disallowed Per Order Dated 9/9/08 (Dkt # 1702)
 7100-00        LANCASTER, PA 17601

 000085         ARBILL INDUSTRIES INC                 Unsecured          Filed 10/05/04                         $0.00             $770.70               $770.70
 070            P O BOX 820542
 7100-00        PHILADELPHIA, PA 19182

 000086         MD MEDICAL CLINICS                    Unsecured          Filed 10/05/04                         $0.00             $161.86               $161.86
 070            PO BOX 66012
 7100-00        AMAHEIM, CA 92816

 000087         MD MEDICAL CLINICS                    Unsecured          Filed 10/05/04                         $0.00             $870.51               $870.51
 070            PO BOX 66012
 7100-00        AMAHEIM, CA 92816

 000088         GUTIERREZ, MARINA                     Unsecured          Filed 10/05/04                         $0.00               $0.00                  $0.00
 070            8613 LOCUST
 7100-00        FONTANA, CA 92335

 000089         DAVID R CHASE PA                      Unsecured          Filed 10/05/04                         $0.00             $467.50               $467.50
 070            1700 E LAS OLAS BLVD PH 2
 7100-00        FORT LAUDERDALE, FL 33301

 000090         TLC CABULANCE INC                     Unsecured          Filed 10/08/04                         $0.00             $450.00               $450.00
 070            PO BOX 110808
 7100-00        NAPLES, FL 34108

 000091-B       TURLEY, JEROME                        Unsecured          Filed 10/05/04                         $0.00               $0.00              $2,500.00
 070            4389 39TH ST. #7                       Reclassified Per Order Dated 11/25/08 (Docket #2515)
 7100-00        SAN DIEGO, CA 92105




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 Code #           Creditor Name & Address               Claim Class    Notes                              Scheduled                     Claimed              Allowed
 000093         PAY PLUS SOFTWARE INC                 Unsecured          Filed 10/04/04                          $0.00                  $510.00                $510.00
 070            751 AVIGNON DRIVE
 7100-00        SUITE D
                RIDGELAND, MS 39157

 000094         STRATEGIC ADVANCEMENT INC Unsecured                      Filed 10/04/04                          $0.00                  $600.00                $600.00
 070            242 OLD NEW BRUNSWICK ROAD
 7100-00        SUITE 100
                PISCATAWAY, NJ 08854

 000095         PAVILION PHARMACY LANE                Unsecured          Filed 10/04/04                          $0.00                 $1,346.92             $1,346.92
 070            1325 SAN MARCO BLVD STE 801
 7100-00        JACKSONVILLE, FL 32207

 000096         DONALD BARTLEY MD                     Unsecured          Filed 10/04/04                          $0.00                  $915.00                $915.00
 070            1801 BARRS STREET
 7100-00        SUITE 610
                JACKSONVILLE, FL 32204

 000097         VALLEY PAIN CARE CENTERS              Unsecured          Filed 10/04/04                          $0.00                 $1,081.89             $1,081.89
 070            LTD
 7100-00        PO BOX 1547
                SEDALIA, MO 65302

 000098         ACCELERATED HAND THERAPY              Unsecured          Filed 10/04/04                          $0.00                  $853.00                $853.00
 070            AND REHAB
 7100-00        199 BALDWIN RD
                SUITE 100
                PARSIPPANY, NJ 07054

 000099-A       BRIONES, MARLENE                      Unsecured         Filed 10/04/04                           $0.00                  $200.00                   $0.00
 070            21 AMITY ST                            Disallowed Per Order Dated 9/23/08 (Dkt # 1880)
 7100-00        ELIZABETH, NJ 07202

 000100         ULINE                                 Unsecured          Filed 10/04/04                          $0.00                  $307.30                $307.30
 070            2200 S LAKESIDE DRIVE
 7100-00        CS 444346
                WAUKEGAN, IL 60085

 000101         INFO QUEST INC                        Unsecured          Filed 10/04/04                          $0.00             $19,124.00               $19,124.00
 070            PO BOX 15521
 7100-00        SURFSIDE BEACH, SC 29587

 000102-B       ALEX'S LIQUOR STORE                   Unsecured          Filed 10/04/04                           $0.00                  $80.00                 $80.00
 070            5939 E. SHEBY DR.                      Reclassified and Allowed per Order dated 07/21/2011 (Dkt #4184) and Dkt #4187
 7100-00        MEMPHIS, TN 38141                      07/24/2011


 000103         QUEST DISCOVERY SERVICES              Unsecured          Filed 10/04/04                          $0.00                  $209.42                $209.42
 070            2025 GATEWAY PLACE
 7100-00        STE 330
                SAN JOSE, CA 95110




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                  Claimed              Allowed
 000104-B       URIBE, ORLANDO                        Unsecured          Filed 10/04/04                            $0.00                $246.15                   $0.00
 070            24969 WALNUT ST. #106
 7100-00        NEWHALL, CA 91321

 000105-B       ATLANTIC SERVICE                      Unsecured          Filed 10/04/04                            $0.00                $435.66                $435.66
 070            401 ROUTE 10                           Reclassified per Order dated 04/06/2011 (Dkt #4030)
 7100-00        WHIPPANY, NJ 07054

 000107         THE NEWS AND OBSERVER                 Unsecured          Filed 10/01/04                            $0.00                 $86.75                 $86.75
 070            PO BOX 2222
 7100-00        RALEIGH, NC 27602

 000109-B       UTAH STATE TAX COMMISSION             Unsecured           Filed 10/01/04                            $0.00                $480.00               $320.00
 070            210 NORTH 1950 WEST                    Partially Administrative Claim. Reduced and Reclassified per Order dated 04/12/2011
 7100-00        SALT LAKE CITY, UT 84134               (Dkt #4049)


 000112-B       PABRINKIS LYNNE                       Unsecured          Filed 10/01/04                            $0.00                  $0.00                $832.00
 070            58 MARLBANK DRIVE                      Reclassified Per Order Dated 11/25/08 (Dkt #2530)
 7100-00        ROCHESTER, NY 14612

 000114         MEDICAL EMERG TREATMENT               Unsecured          Filed 09/30/04                            $0.00              $1,074.00              $1,074.00
 070            441 RT130
 7100-00        HIGHTSTOWN, NJ 08520

 000115-B       HARDY, CHARLIE                        Unsecured          Filed 10/01/04                            $0.00                  $0.00                $420.00
 070            195W. MARKET ST #4F                    Reclassified per Order Dated 9/23/08 (Docket #1889)
 7100-00        NEWARK, NJ 07103

 000117         METRO SOFTWARE                        Unsecured          Filed 09/29/04                            $0.00             $10,700.00             $10,700.00
 070            CONSULTANTS
 7100-00        6001 WEST I20
                SUITE 215
                ARLINGTON, TX 76017

 000118         SALINAS, MARIA E                      Unsecured          Filed 09/29/04                            $0.00                  $0.00                   $0.00
 070            1 HURD STREET
 7100-00        MINE HILL, NJ 07803

 000119-A       DE LA CRUZ, ERIN                      Unsecured         Filed 09/29/04                             $0.00              $4,719.69                   $0.00
 070            185 OLD TURNPIKE ROAD                  Disallowed per Order Dated 10/7/08 (Docket #2001)
 7100-00        PORT MURRAY, NJ 07865

 000120         WARREN, KENNETH A                     Unsecured          Filed 09/29/04                            $0.00                $345.80                $345.80
 070            127 WEIDLER LANE
 7100-00        LITITZ, PA 17543

 000121         S B D INTRPRETING SVCS INC            Unsecured          Filed 09/29/04                            $0.00              $1,894.45              $1,894.45
 070            PO BOX 9033
 7100-00        LA JOLLA, CA 92038

 000122         SBD INTRPRETING SVCS INC              Unsecured          Filed 09/29/04                            $0.00              $1,352.55              $1,352.55
 070            PO BOX 9033
 7100-00        LA JOLLA, CA 92038




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 000123         S B D INTRPRETING SVCS INC            Unsecured          Filed 09/29/04                           $0.00           $1,245.60             $1,245.60
 070            PO BOX 9033
 7100-00        LA JOLLA, CA 92038

 000124         S B D INTRPRETING SVCS INC            Unsecured          Filed 09/29/04                           $0.00             $932.65               $932.65
 070            PO BOX 9033
 7100-00        LA JOLLA, CA 92038

 000126-B       BLOEM, RANDALL                        Unsecured          Filed 09/27/04                           $0.00               $0.00               $760.00
 070            251 SIMMELL ROAD                       Reclassified per Order Dated 11-12-08
 7100-00        CLARKS SUMMIT, PA 18411

 000128         ELAINE L CHAO, SECRETARY OF Unsecured                    Filed 09/24/04                           $0.00           $5,593.95             $5,593.95
 070            LABOR
 7100-00        US DEPT OF LABOR
                OFFICE OF THE SOLICITOR
                61 FORSYTH ST, SW, RM 7T10
                ATLANTA, GA 30303

 000129-A       MERRILYN H GALANTE                    Unsecured        Filed 09/21/04                            $0.00            $3,162.81                  $0.00
 070            3999 OLD TOWN AVE D#1                  Reduced & Reclassified per Order Dated 9/18/08 (Docket #1778)
 7100-00        SAN DIEGO, CA 92110

 000130         COFACE NA INC AS AGENT FOR            Unsecured          Filed 09/20/04                           $0.00           $5,147.10             $5,147.10
 070            PFG VENTURES/
 7100-00        PROFORMA AYR GRAPHICS &
                PRINTING
                ATTN: DENISE FIRELLI
                PO BOX 2102
                CRANBURY, NJ 08512

 000131         CHUBB GROUP INSURANCE                 Unsecured          Filed 09/15/04                           $0.00           $5,193.78             $5,193.78
 070            C/O CISCO INC
 7100-00        1702 TOWNHURST
                HOUSTON, TX 77043

 000132-A       PEGNATO & PEGNATO BUILDING Unsecured         Filed 07/20/04                                       $0.00         $440,880.00                  $0.00
 070            SYSTEMS INC                  Expunged per Order dated 04/19/2011 (Dkt #4071)
 7100-00        ATTN: JEFFREY T BOLSON
                HAHN & BOLSON LLP
                1000 WILSHIRE BLVD, STE 1600
                LOS ANGELES, CA 90017

 000133-B       PATRICIA L JARRETT                    Unsecured          Filed 09/27/04                           $0.00               $0.00             $2,076.96
 070            608 SE SHILOH DR                       Reclassified Per Order Dated 11/25/08 (Dkt # 2529)
 7100-00        LEES SUMMET, MO 64063

 000134         S B D INTRPRETING SVCS INC            Unsecured          Filed 09/29/04                           $0.00           $4,681.02             $4,681.02
 070            PO BOX 9033
 7100-00        LA JOLLA, CA 92036

 000135-A       BRIONES, MARLENE                      Unsecured         Filed 10/04/04                            $0.00             $200.00                  $0.00
 070            21 AMITY ST                            Disallowed Per Order Dated 9/23/08 (Dkt # 1880)
 7100-00        ELIZABETH, NJ 07202




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000138         CENTRAL FLORIDA HAND                  Unsecured          Filed 10/04/04                            $0.00           $1,490.00             $1,490.00
 070            CENTER
 7100-00        200 EAST HIBISCUS BLVD
                MELBOURNE, FL 32901

 000141         WINTERS STAMP MFG CO                  Unsecured          Filed 10/04/04                            $0.00              $91.43                $91.43
 070            PO BOX 003
 7100-00        ELIZABETH, NJ 07207

 000142         WINTERS STAMP MFG CO                  Unsecured          Filed 10/04/04                            $0.00              $56.46                $56.46
 070            PO BOX 003
 7100-00        ELIZABETH, NJ 07207

 000144         FINGER LAKES FAM            Unsecured                    Filed 09/29/04                            $0.00             $284.79               $284.79
 070            CHIROPRACTIC
 7100-00        1625 RTE 332 FRMBRK OFF PRK
                FARMINGTON, NY 14425

 000145-A       CORONADO, ELSA P.                     Unsecured          Filed 10/04/04                            $0.00             $322.76                  $0.00
 070            4114 CAMINO DEL PLAZA #25              Reclassified per Order Dated 9/16/08 (Docket #1779)
 7100-00        SAN YSIDRO, CA 92173

 000146         MOEDANO, PABLO                        Unsecured          Filed 10/05/04                            $0.00               $0.00                  $0.00
 070            219 AVENIDA DE LA PLAZA
 7100-00        VISTA, CA 92083

 000147         REDICARE PHYSICIANS                   Unsecured          Filed 10/04/04                            $0.00               $0.00                  $0.00
 070            2461 NAZARETH ROAD
 7100-00        ESTON, PA 18045

 000149         ARUBA INC                             Unsecured          Filed 10/05/04                            $0.00             $294.22               $294.22
 070            C/O JONATHAN J SEBEL ESQ
 7100-00        1420 WALNUT ST, STE 1420
                PHILADELPHIA, PA 19102

 000150-B       AGUILA RAM, ROBERTO                   Unsecured          Filed 10/05/04                            $0.00               $0.00             $1,080.00
 070            457 S CHATERTON AVENUE                 Reclassified Per Order Dated 11/12/08 (Dkt # 2381)
 7100-00        LA PUENTA, CA 91744

 000153         SMITH, RUBY                           Unsecured          Filed 10/05/04                            $0.00               $0.00                  $0.00
 070            631 E. HICKORY                         Disallowed per order 11-25-08
 7100-00        KANKAKEE, IL 60901

 000154         IRIZARRY, YVETTE                      Unsecured          Filed 10/05/04                            $0.00               $0.00                  $0.00
 070            317 S. PRINCE ST.                      Disallowed per order 12-22-08
 7100-00        LANCASTER, PA 17603                    (ca)


 000155         LYONS, THOMAS G.                      Unsecured          Filed 10/05/04                            $0.00               $0.00                  $0.00
 070            1823 RATTAN PALM DR.                   Disallowed per order 11-25-08
 7100-00        NICEVILLE, FL 32578

 000156-B       NORTHBAY OCCUPATIONAL                 Unsecured        Filed 10/05/04                              $0.00           $1,219.70                  $0.00
 070            HEALTH                                 Expunged per Order dated 01/10/12 (Dkt #4264)
 7100-00        PO BOX 39000
                DEPT 33404


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                SAN FRANCISCO, CA 94139




 000157-A       RUVALCABA, JOSE                       Unsecured         Filed 10/05/04                            $0.00              $500.00                   $0.00
 070            1725 BON AIR                           Disallowed Per Order Dated 10/21/08 (Docket #2135)
 7100-00        STOCKTON, CA 95210

 000158         NICOLETTI, THOMAS                     Unsecured          Filed 10/04/04                           $0.00                $0.00                   $0.00
 070            58 PLEASANT STREET
 7100-00        HUNTINGTON, NY 11743

 000159         RIVERA, LUIS R                        Unsecured          Filed 09/30/04                           $0.00              $760.00                $760.00
 070            740 SOUTH QUEEN STREET
 7100-00        LANCASTER, PA 17603

 000160         RIVERA, LUIS R                        Unsecured          Filed 09/27/04                           $0.00              $760.00                $760.00
 070            740 SOUTH QUEEN STREET
 7100-00        LANCASTER, PA 17603

 000163         MAAX-KSD CORPORATION                  Unsecured          Filed 10/04/04                           $0.00                $0.00                   $0.00
 070            KEYSTONE ROAD
 7100-00        SOUTHAMPTON, PA 18966

 000166-B       CHAROWSKY, RICHARD M                  Unsecured         Filed 09/30/04                            $0.00            $5,000.00                   $0.00
 070            512 SOUTH MILL STREET                  Disallowed Per Order Dated 11/3/08 (Dkt # 2308)
 7100-00        SAINT CLAIR, PA 17970

 000170         RIFE MARKET RESEARCH                  Unsecured          Filed 09/29/04                           $0.00            $2,100.00              $2,100.00
 070            111 PARK CENTER BOULEVARD
 7100-00        MIAMI, FL 33169

 000171         RUIZ, ANA L.                          Unsecured          Filed 09/29/04                           $0.00                $0.00                   $0.00
 070            318 N. SUMNER AVE.                     Disallowed per order 11-25-08
 7100-00        SCRANTON, PA 18504

 000172-B       COGDELL, DARYLL                       Unsecured          Filed 09/29/04                           $0.00                $0.00                 $40.00
 070            510 BROAD STREET                       Reclassified per Order Dated 11/12/08 (Docket #2363)
 7100-00        NEWARK, NJ 07102

 000173         BRAY, CHARLES W.                      Unsecured          Filed 09/29/04                           $0.00              $171.00                $171.00
 070            R. 721 COURT ST.
 7100-00        SCRANTON, PA 18508

 000174         CALDARO, AMANDA                       Unsecured          Filed 10/05/04                           $0.00                $0.00                   $0.00
 070            7726 NAVARRE PKWY APT. 718
 7100-00        NAVARRE, FL 32566

 000175         SMITH, LINDA M                        Unsecured          Filed 09/27/04                           $0.00               $22.35                 $22.35
 070            1623 HERR STREET
 7100-00        HARRISBURG, PA 17103

 000178-B       STATE OF MISSOURI                     Unsecured         Filed 10/04/04                           $0.00                 $19.00                  $0.00
 070            DEPARTMENT OF REVENUE                  Exp. 03/28/2011 (Dkt #4002); Order Vacated 5/3/11 (Dkt 4122); Exp. 05/03/2011 (Dkt
 7100-00        BOX 475                                #4122)
                JEFFERSON CITY, MO 65105



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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                Claimed              Allowed
 000180-B       STATE OF MISSOURI                     Unsecured         Filed 10/04/04                            $0.00                $126.20                  $0.00
 070            DEPARTMENT OF REVENUE                  Exp.03/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Exp. 05/03/11 (Dkt 4122)
 7100-00        BOX 475
                JEFFERSON CITY, MO 65105

 000181-A       STATE OF WISCONSIN                    Unsecured        Filed 10/05/04                              $0.00            $1,603.14                   $0.00
 070            DEPT OF REVENUE                        Expunged per Order dated 05/03/2011 (Dkt #4110)
 7100-00        2135 RIMROCK RD
                MADISON, WI 53713

 000182-B       STATE OF WISCONSIN                    Unsecured        Filed 10/05/04                              $0.00            $3,093.78                   $0.00
 070            DEPT OF REVENUE                        Expunged per Order dated 05/03/2011 (Dkt #4110)
 7100-00        2135 RIMROCK RD
                MADISON, WI 53713

 000183-A       STATE OF WISCONSIN                    Unsecured        Filed 10/05/04                              $0.00            $1,694.60                   $0.00
 070            DEPT OF REVENUE                        Expunged per Order dated 05/03/2011 (Dkt #4110)
 7100-00        2135 RIMROCK RD
                MADISON, WI 53713

 000185-A       SERRANO, CLARIBEL                     Unsecured          Filed 10/08/04                            $0.00              $303.40                 $60.00
 070            3502 N PHILIP ST                       Reclassified per Order Dated 11/12/08 (Docket #2362)
 7100-00        PHILADELPHIA, PA 19140

 000188         VAZQUEZ, RAFEAL                       Unsecured          Filed 10/08/04                            $0.00                $0.00                   $0.00
 070            907 92ND AVENUE                        Disallowed per order 11-25-08
 7100-00        OAKLAND, CA 94109

 000190         CLEVENGER, DAVID                      Unsecured          Filed 10/08/04                            $0.00              $424.19                $424.19
 070            1856 W. STATION ST
 7100-00        KANKAKEE, IL 60901

 000196-A       PEREZ, EPIGMENIO                      Unsecured          Filed 10/06/04                            $0.00              $684.00                   $0.00
 070            1496 MARGUERITE AVENUE                 Reclassified per Order Dated 11/3/08 (Docket #2307)
 7100-00        CORNING, CA 96021

 000197-A       LOZANO, DAMARI                        Unsecured          Filed 10/06/04                            $0.00              $216.83                   $0.00
 070            107 WEST KING STREET                   Reclassified Per Order Dated 4/22/09 (Docket #3198)
 7100-00        LANCASTER, PA 17603

 000198         GONZALEZ, ALICIA R.                   Unsecured         Filed 10/06/04                             $0.00              $502.30                   $0.00
 070            4370 51ST ST. #2                       DIsallowed per Order Dated 11/18/08 (Docket #2409)
 7100-00        SAN DIEGO, CA 92115

 000199         MINUTEMAN PRESS                       Unsecured          Filed 10/11/04                            $0.00              $295.98                $295.98
 070            1577 RIDGE ROAD WEST
 7100-00        ROCHESTER, NY 14615

 000200         MILLER, KENRICK                       Unsecured          Filed 10/07/04                            $0.00              $145.00                $145.00
 070            615 E. THIRD STREET
 7100-00        PLAINFIELD, NJ 07060

 000201         THE EMERALD GARDEN                    Unsecured          Filed 10/07/04                            $0.00              $450.47                $450.47
 070            241 ESSEX STREET
 7100-00        MILLBURN, NJ 07041




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 000202         SCI, GARY                    Unsecured                   Filed 10/07/04                           $0.00               $0.00                  $0.00
 070            C/O ROBERT ELLIS ESQ
 7100-00        ANDERSON & HOWELL
                2029 N THIRD SWT
                JACKSONVILLE BEACH, FL 32250

 000204         DUCLAYAN, MISTY                       Unsecured          Filed 10/08/04                           $0.00               $0.00                  $0.00
 070            91-1029 APAA ST                        Disallowed per order 11-6-09
 7100-00        EWA BEACH, HI 96706

 000205         VILLAPUDUA, BERNARDO                  Unsecured          Filed 10/08/04                           $0.00         $107,000.00            $107,000.00
 070            6804 DANNY DR. APT.110
 7100-00        STOCKTON, CA 95210

 000206         SMITH, CATHERINE                      Unsecured          Filed 10/08/04                           $0.00               $0.00               $900.00
 070            PO BOX 72526                           Allowed per order 9-30-08
 7100-00        LOS ANGELES, CA 90002

 000207         DIAZ, MARIA JOSE                      Unsecured          Filed 10/08/04                           $0.00             $400.00               $400.00
 070            297 LINCOLN AVENUE
 7100-00        APT. 3 B
                ORANGE, NJ 07050

 000208-A       SANDERS, LAMONT                       Unsecured         Filed 10/08/04                            $0.00             $384.00                  $0.00
 070            1310 E. 32ND STREET                    Disallowed Per Order dated 4/21/09 (Docket #3171)
 7100-00        SAVANNAH, GA 31404

 000210-B       KELLOUGH, REGINALD                    Unsecured         Filed 10/06/04                            $0.00           $2,500.00                  $0.00
 070            4389 39TH ST. #7                       Disallowed per Order dated 1/12/10 (Docket No. 3716)
 7100-00        SAN DIEGO, CA 92105

 000211         NEAL, HARREL                          Unsecured         Filed 10/06/04                            $0.00           $1,000.00                  $0.00
 070            22400 SOUR GRASS ROAD                  Disallowed Per Order Dated 11/25/08 (Docket #2505)
 7100-00        CORNING, CA 96021

 000212         COMPARAN, JOSE EVERARDO               Unsecured        Filed 10/06/04                             $0.00              $67.89                  $0.00
 070            18136 COLIMA RD # 3                    Expunged per Order dated 03/14/2011 (Dkt #3942)
 7100-00        ROWLAND HEIGHTS, CA 91748

 000213         COMPARAN, JOSE EVERARDO               Unsecured        Filed 10/11/04                             $0.00              $67.89                  $0.00
 070            18136 COLIMA RD # 3                    Expunged per Order dated 03/14/2011 (Dkt #3942)
 7100-00        ROWLAND HEIGHTS, CA 91748

 000214-A       GEIGER, LEO V                         Unsecured         Filed 10/06/04                            $0.00             $720.00                  $0.00
 070            204 FAIRFAX DRIVE                      Disallowed Per Order Dated 4/22/09 (Docket #3173)
 7100-00        LANCASTER, PA 17603

 000215         RICH, SELINA                          Unsecured          Filed 10/06/04                           $0.00               $0.00                  $0.00
 070            10316 MEDIA STREET                     Disallowed per order 11-6-09
 7100-00        JACKSONVILLE, FL 32219

 000216         HADDON, TAMMY T.                      Unsecured          Filed 10/06/04                           $0.00               $0.00                  $0.00
 070            10316 MEDIA ST.                        Disallowed per order 11-6-09
 7100-00        JACKSONVILLE, FL 32219




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                Claimed             Allowed
 000217         HAND SURGERY REHABILATION Unsecured                      Filed 10/07/04                          $0.00              $750.00               $750.00
 070            301 E HANOVER AVE
 7100-00        MORRISTOWN, NJ 07960

 000219-A       ALEXANDER, GABRIEL                    Unsecured         Filed 10/07/04                           $0.00              $800.00                  $0.00
 070            3557 SHANNON DR                        Disallowed per Order Dated 8/18/08 (Docket #1573)
 7100-00        BALTIMORE, MD 21213

 000222         FRANCO, JOSEPH                        Unsecured          Filed 10/07/04                          $0.00          $200,000.00            $200,000.00
 070            573 CENTRAL AVENUE
 7100-00        APARTMENT 24
                JERSEY CITY, NJ 07307

 000223-A       JESSICA M ZAYAS                       Unsecured         Filed 10/04/04                            $0.00           $1,855.52                  $0.00
 070            126 MADISON AVE                        Reduced and Reclassified Per Order Dated 4/22/09 (Docket #3175)
 7100-00        PERTH AMBOY, NJ 08861

 000224         MEJIA, IVONNE                         Unsecured          Filed 10/08/04                          $0.00              $850.00               $850.00
 070            23 CHESTER STREET
 7100-00        LANCASTER, PA 17602

 000225         CONTRERAS, VICTOR                     Unsecured          Filed 10/06/04                          $0.00                $0.00                  $0.00
 070            209 7TH AVE.                           Disallowed per order 11-30-09
 7100-00        PATERSON, NJ 07514

 000226-A       MASSACHUSETTS DEPT OF                 Unsecured        Filed 10/11/04                            $0.00              $875.68                  $0.00
 070            REVENUE                                Expunged per Order dated 04/12/2011 (Dkt #4051)
 7100-00        LITIGATION BUREAU,                     Amended by Claim #1829
                BANKRUPTCY UNIT
                ATTN ANNE CHAN
                PO BOX 9564
                BOSTON, MA 02114

 000227-B       MASSACHUSETTS DEPT OF                 Unsecured        Filed 10/11/04                            $0.00               $11.25                  $0.00
 070            REVENUE                                Expunged per Order dated 04/12/2011 (Dkt #4051)
 7100-00        ATTN: LITIGATION BUREAU,               Amended by Claim#1828
                BANKRUPTCY UNIT
                PO BOX 9564
                BOSTON, MA 02114

 000228-A       MASSACHUSETTS DEPT OF                 Unsecured        Filed 10/08/04                            $0.00               $45.00                  $0.00
 070            REVENUE                                Expunged per Order dated 04/12/2011 (Dkt #4051)
 7100-00        LITIGATION BUREAU,                     Amended by Claim #1771
                BANKRUPTCY UNIT
                ATTN ANNE CHAN
                PO BOX 9564
                BOSTON, MA 02114

 000229         GUTIERREZ, RAUL                       Unsecured          Filed 10/12/04                          $0.00           $10,543.25             $10,543.25
 070            5318 MAYWOOD AVE.
 7100-00        MAYWOOD, CA 90270

 000230-A       SKELTON, RICHARD                      Unsecured         Filed 10/04/04                           $0.00            $1,118.26                  $0.00
 070            1936 SR 16 WEST                        Disallowed Per Order Dated 5/20/09 (Docket# 3264)
 7100-00        GREEN COVE SPRINGS, FL 32043




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 000231         SHUFF, KIMBERLY                       Unsecured          Filed 10/07/04                        $0.00             $421.99               $421.99
 070            606 DAUPHIN STREET
 7100-00        HARRISBURG, PA 17104

 000232         WILSON, ANTHONY E.                    Unsecured          Filed 10/07/04                        $0.00           $8,006.08             $8,006.08
 070            507 CHAPEL ST
 7100-00        GREEN COVE SPRINGS, FL

 000235         CONKLIN, FAITH                        Unsecured          Filed 10/06/04                        $0.00               $0.00                  $0.00
 070            245 STONY FORD RD                      Disallowed per order 12-7-09
 7100-00        MIDDLETOWN, NY 10941

 000236         OJEDA, JUDITH                         Unsecured          Filed 10/14/04                        $0.00             $131.22               $131.22
 070            185 MC WHORTER
 7100-00        NEWARK, NJ 07105

 000237-A       BONHAM, BRIAN                         Unsecured         Filed 09/30/04                         $0.00             $271.12                  $0.00
 070            2625 S WEST ST #72                     Disallowed per Order Dated 11/18/08 (Dkt #2418)
 7100-00        WICHITA, KS 67217

 000238         DECKER, MARY B.                       Unsecured          Filed 09/28/04                        $0.00               $0.00                  $0.00
 070            17 MINISINK AVE.                       Disallowed per order 12-14-09
 7100-00        PORT JERVIS, NY 12771

 000239         CLEARY, MONA                          Unsecured          Filed 09/28/04                        $0.00               $0.00                  $0.00
 070            17 MINISINK AVE.                       Disallowed per order 11-9-09
 7100-00        APARTMENT 7
                PORT JERVIS, NY 12771

 000241         KITTLES CLEANING CO                   Unsecured          Filed 10/12/04                        $0.00             $545.00               $545.00
 070            2912 NORMANDY DRIVE
 7100-00        ELLICOTT CITY, MD 21043

 000242         RODRIGUEZ, HECTOR                     Unsecured          Filed 10/12/04                        $0.00             $956.00               $956.00
 070            159 N FULTON
 7100-00        BRADLEY, IL 60901

 000243         C. CATHERINE JANNARONE, ESQ. Unsecured                   Filed 10/12/04                        $0.00               $0.00                  $0.00
 070            935 HIGHWAY 34 SUITE 2C
 7100-00        MATAWAN, NJ 07747

 000244         GEMSTONE LLC                          Unsecured          Filed 10/12/04                        $0.00           $8,498.06             $8,498.06
 070            1010 KENNEDY DR #405
 7100-00        KEY WEST, FL 33040

 000245         EVERHART, SHAUNETTE                   Unsecured          Filed 10/12/04                        $0.00               $0.00                  $0.00
 070            647 CREEKSTONE CIRCLE                  Disallowed per order 12-14-09
 7100-00        MEMPHIS, TN 38127

 000247         HALL, DAVID                           Unsecured        Filed 10/12/04                          $0.00           $1,200.00                  $0.00
 070            4380 UPPERDONTON ROAD                  Expunged per Order dated 01/10/12 (Dkt #4263)
 7100-00        WEATHERFORD, TX 76085




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                 Claimed             Allowed
 000249         ERAZO, ENNA                           Unsecured          Filed 10/15/04                          $0.00                $0.00                  $0.00
 070            8912 VAN NUYS BLV.                     Disallowed per order 11-9-09
 7100-00        APT. 10
                PARONAMA CITY, CA 91402

 000250         REYES, JOSE MIGUEL                    Unsecured          Filed 10/12/04                           $0.00             $800.00               $800.00
 070            637 PENN AVE                           Reclassified and Allowed Per Order Dated 10/27/08 (Docket #2196)
 7100-00        AURORA, IL 60505

 000251-C       PHILLIPS, JUSTIN                      Unsecured          Filed 10/12/04                          $0.00                $0.00               $225.00
 070            4425 RODNEY                            Reclassified and Allowed Per Order Dated 10/21/08 (Docket#2102)
 7100-00        MEMPHIS, TN 38116

 000252         REYES, MIGUEL                         Unsecured         Filed 10/12/04                           $0.00              $800.00                  $0.00
 070            637 PENN AVE                           Disallowed Per Order Dated 10/27/08 (Dkt #2196)
 7100-00        AURORA, IL 60505

 000253         KADRIC, AVDO                          Unsecured          Filed 10/12/04                          $0.00            $3,300.00             $3,300.00
 070            6404 LOMAND AVENUE
 7100-00        NEW PORT RICHEY, FL 33653

 000254         ERAZO, ENNA                           Unsecured          Filed 10/12/04                          $0.00                $0.00                  $0.00
 070            8912 VAN NUYS BLVD.
 7100-00        APT. 10
                PARONAMA CITY, CA 91402

 000255         BILBAO, JESUS J.                      Unsecured          Filed 10/12/04                          $0.00                $0.00                  $0.00
 070            PO BOX 1893
 7100-00        NEW BRUNSWICK, NJ 08901

 000256         LA VOZ LATINA MENSUAL                 Unsecured          Filed 10/12/04                          $0.00            $1,965.00             $1,965.00
 070            PO BOX 219
 7100-00        SCRANTON, PA 18504

 000258         MARSHALL, JOHN J.                     Unsecured          Filed 10/12/04                          $0.00           $11,988.49            $11,988.49
 070            L43 LYRA STREET
 7100-00        ORANGE PARK, FL 32073

 000259         CALHOUN, CHARMAGNE                    Unsecured          Filed 10/12/04                          $0.00                $0.00                  $0.00
 070            354 E. CHARLES                         Disallowed per order 9-23-08
 7100-00        KANKAKEE, IL 60901

 000260         GLEN SUMMIT SPRINGS WATER             Unsecured          Filed 10/12/04                          $0.00               $55.20                $55.20
 070            CO INC
 7100-00        PO BOX 129
                MOUNTAINTOP, PA 18707

 000261         GLEN SUMMIT SPRINGS WATER             Unsecured          Filed 10/12/04                          $0.00               $50.70                $50.70
 070            COINC
 7100-00        PO BOX 129
                MOUNTAINTOP, PA 18707

 000263         OLIVERA, SUSANA C.                    Unsecured          Filed 10/12/04                          $0.00                $0.00                  $0.00
 070            22 TERRY LANE
 7100-00        APARTMENT 210
                MONTICELLO, NY 12701



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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000265         ALCAUTER, CRISTINA                    Unsecured          Filed 10/12/04                            $0.00             $225.67               $225.67
 070            210 MILL STREAM DR.
 7100-00        BOLINGBROOK, IL 60440

 000266-A       SANGHAVI, KRISHANG                    Unsecured         Filed 10/12/04                           $0.00               $648.60                  $0.00
 070            76 JEFFERSON STREET                    Disallowed Per Order Dated 9/16/08 (Docket #1794) and 10/14/08 (Docket #2051)
 7100-00        METUCHEN, NJ 08840

 000267         GONZALEZ, JORGE                       Unsecured          Filed 10/12/04                            $0.00         $200,000.00            $200,000.00
 070            11201 SW 55TH STREET
 7100-00        UNIT 66
                MIRAMAR, FL 33025

 000268         QUARTZ HILL INDUSTRIAL MED            Unsecured          Filed 10/08/04                            $0.00             $233.00               $233.00
 070            42357 50T STREET WEST 104
 7100-00        QUARTZ HILL, CA 93536

 000269         QUARTZ HILL INDUSTRIAL MED            Unsecured          Filed 10/08/04                            $0.00             $515.00               $515.00
 070            42357 50T ST, WEST 104
 7100-00        QUARTZ HILL, CA 93536

 000271-B       TRANSPORTATION, T & M                 Unsecured          Filed 10/12/04                            $0.00           $3,850.00              $3,850.00
 070            820 WEST 115TH ST.                     Reclassified per Order Dated 1/13/09 (Docket #2854)
 7100-00        LOS ANGELES, CA 90044

 000273         THOMAS J SERGOTT MD                   Unsecured          Filed 10/12/04                            $0.00           $3,283.50              $3,283.50
 070            11828 BERNARDO PLAZA CT
 7100-00        SAN DIEGO, CA 92128

 000274         CARROLL, REBECCA B.                   Unsecured         Filed 10/12/04                             $0.00           $1,646.55                  $0.00
 070            1100 MISTY PINES CIRCLE, #202          Disallowed Per Order Dated 12/22/08 (Docket #2744)
 7100-00        NAPLES, FL 34105

 000275         BECHT, STARR L.                       Unsecured         Filed 10/12/04                             $0.00           $3,822.50                  $0.00
 070            27978 CARL CIRCLE                      Disallowed Per Order Dated 12/22/08 (Docket #2746)
 7100-00        BONITA SPRINGS, FL 34135

 000276         DIAGNOSTIC IMAGING SERVICES Unsecured                    Filed 10/12/04                            $0.00             $124.00               $124.00
 070            PO BOX 4
 7100-00        STUART, FL 34995

 000277         ROGONZINSKI ORTHOPEDIC                Unsecured          Filed 10/12/04                            $0.00           $2,952.94              $2,952.94
 070            CLINIC PA
 7100-00        3716 UNIVERSITY BLVD S
                SUITE 3
                JACKSONVILLE, FL 32216

 000278         ADKISON TOWING                        Unsecured          Filed 10/12/04                            $0.00          $78,788.12             $78,788.12
 070            COMPANY,INC.
 7100-00        7405 PHILLIPS HIGHWAY
                JACKSONVILLE, FL 32256

 000279         REBOUND REHAB SERVICES INC Unsecured                     Filed 10/12/04                            $0.00           $3,476.69              $3,476.69
 070            105 SOUTHPARK BLVD B201
 7100-00        ST. AUGUSTINE, FL 32086




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000280-A       CAPITAL CLEANING             Unsecured          Filed 10/12/04                                     $0.00          $17,659.75            $17,659.75
 070            CONTRACTORS INC               Reclassified per Order dated 03/14/2011 (Dkt #3939)
 7100-00        CUST 59650
                PO BOX 3063
                HUNTINGTON STATION, NY 11746

 000281         EAST COAST ORTHOPAEDICS               Unsecured          Filed 10/12/04                            $0.00           $7,486.00             $7,486.00
 070            STEVEN NAIDE MD
 7100-00        1201 EAST SAMPLE ROA
                POMPANO BEACH, FL 33064

 000282         SOUTHSIDE MEDICAL IMAGING             Unsecured          Filed 10/12/04                            $0.00           $2,790.00             $2,790.00
 070            PO BOX 691907
 7100-00        CINCINNATI, OH 45269

 000283         SOUTHSIDE MEDICAL IMAGING             Unsecured          Filed 10/12/04                            $0.00             $255.00               $255.00
 070            PO BOX 691907
 7100-00        CINCINNATI, OH 45269

 000284         RHOADS, CHARLES                       Unsecured          Filed 10/12/04                            $0.00             $162.35               $162.35
 070            813 NORTH SHIPPEN STREET
 7100-00        LANCASTER, PA 17602

 000285-A       INDIANA DEPT OF REVENUE               Unsecured        Filed 10/12/04                              $0.00             $123.75                  $0.00
 070            BANKRUPTCY SECTION ROOM                Expunged per Order dated 4/12/2011 (Dkt #4050)
 7100-00        N-203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 000286-B       WSA SECURITY INC                      Unsecured          Filed 10/12/04                            $0.00           $3,500.01             $3,500.01
 070            10311 S LA CIENGA BLVD                 Reclassified per Order dated 03/14/2011 (Dkt #3938)
 7100-00        LOS ANGELES, CA 90045

 000287         ANTONIO, JERRY                        Unsecured          Filed 10/12/04                            $0.00             $500.00               $500.00
 070            301 W JACKSON ST.
 7100-00        STOCKTON, CA 95206

 000289         PAYNE, JOHN                           Unsecured          Filed 10/12/04                            $0.00               $0.00                  $0.00
 070            5155 S.W. SHORES AVENUE                Disallowed per order 10-27-09
 7100-00        ARCADIA, FL 34266

 000291         TREJO, ODILON S.                      Unsecured          Filed 10/12/04                            $0.00           $1,070.90             $1,070.90
 070            1955 BELLS FERR ROAD
 7100-00        APT #4222
                MARIETTA, GA 30066

 000292         DEL VILLAR, HILDA                     Unsecured          Filed 10/12/04                            $0.00             $246.16               $246.16
 070            4424 47ST #8
 7100-00        SAN DIEGO, CA 92115

 000293         TAPIA, HECTOR                         Unsecured          Filed 10/12/04                            $0.00             $300.00               $300.00
 070            275 CHESTNUT ST
 7100-00        APT 404
                SPRINGFIELD, MA 01104




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                   Claimed             Allowed
 000294         QUINTERO, JOEL                        Unsecured          Filed 10/12/04                            $0.00                   $0.00                  $0.00
 070            2055 NORTH F ST
 7100-00        SAN BERNARDINO, CA 92411

 000295         QUINTERO, ALVARO                      Unsecured          Filed 10/12/04                            $0.00                   $0.00                  $0.00
 070            2055 NORTH F STREET                    Disallowed per order 10-27-09
 7100-00        SAN BERNARDINO, CA 92411

 000296-A       CECILIA DE LA ROSA                    Unsecured         Filed 10/12/04                            $0.00                  $159.83                  $0.00
 070            2003 NEW YORK AVE                      Reduced and Reclassified per Order Dated 10/21/08 (Docket #2096) (ac)
 7100-00        APT. 1B
                UNION CITY, NJ 07087

 000297-B       JOHN C CRICK MD                       Unsecured          Filed 10/12/04                            $0.00               $5,303.00             $5,303.00
 070            2549 PARK STREET                       Reclassified per Order dated 03/08/2011 (Dkt #3906)
 7100-00        JACKSONVILLE, FL 32204

 000298-A       JOHN C CRICK MD                       Unsecured          Filed 10/12/04                            $0.00               $1,300.00             $1,300.00
 070            2549 PARK STREET                       Reclassified per Order dated 03/08/2011 (Dkt #3906)
 7100-00        JACKSONVILLE, FL 32204

 000299         HEATHER, BRUCE                        Unsecured          Filed 10/12/04                            $0.00                   $0.00                  $0.00
 070            43348 NORTH
 7100-00        APT 111
                LANCASTER, CA 93534

 000300-B       OKLAHOMA TAX COMMISSION               Unsecured         Filed 10/12/04                             $0.00                  $52.50                $52.50
 070            LEGAL DIVISION                         Allowed per Order dated 04/12/2011 (Dkt #4053)
 7100-00        120 N ROBINSON STE 2000W
                OKLAHOMA CITY, OK 73102

 000301-A       OKLAHOMA TAX COMMISSION               Unsecured        Filed 10/12/04                              $0.00                  $10.95                  $0.00
 070            LEGAL DIVISION                         Expunged per Order dated 04/12/2011 (Dkt #4053)
 7100-00        120 N ROBINSON SUITE 2000W             Amended by Claim #1815
                OKLAHOMA CITY, OK 73152

 000302-B       OKLAHOMA TAX COMMISSION               Unsecured         Filed 10/12/04                             $0.00                 $500.00               $500.00
 070            LEGAL DIVISION                         Allowed per Order dated 04/12/2011 (Dkt #4053)
 7100-00        120 N ROBINSON SUITE 2000W
                OKLAHOMA CITY, OK 73102

 000303         NOFFSINGER, SHAWN E.                  Unsecured          Filed 10/12/04                            $0.00                   $0.00                  $0.00
 070            801 BROADHAG DRIVE
 7100-00        PUNTA GORDA, FL 33950

 000304-B       CALIF LATINO CLINIC                   Unsecured          Filed 10/12/04                            $0.00                   $0.00            $19,689.00
 070            2700 N MAIN ST                         Reclassified per Order dated 01/10/12 (Dkt #4260)
 7100-00        STE 1060
                SANTA ANA, CA 92705

 000305-B       CHIRAG N AMIN MD                      Unsecured          Filed 10/12/04                            $0.00                   $0.00            $14,984.40
 070            6820 INDIANA AVE                       Reclassified per Order dated 01/30/2012 (Dkt #4287)
 7100-00        SUITE 100
                RIVERSIDE, CA 92506




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 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 000306         DIAZ, YIREILY                         Unsecured          Filed 10/13/04                           $0.00             $270.00               $270.00
 070            61 HOWARD
 7100-00        PASSAIC PARK
                PASSAIC, NJ 07055

 000307         AYALA, JOSE                           Unsecured          Filed 10/04/04                           $0.00               $0.00                  $0.00
 070            2256 PARKSIDE AVE. #201                Disallowed per order 3-14-11
 7100-00        LOS ANGELES, CA 90031

 000308         AYALA, JOSE                           Unsecured          Filed 10/18/04                           $0.00               $0.00                  $0.00
 070            2256 PARKSIDE AVE. #201                Disallowed per order 3-14-11
 7100-00        LOS ANGELES, CA 90031

 000309         QUEEN, ROBERT                         Unsecured          Filed 10/12/04                           $0.00               $0.00                  $0.00
 070            3031 GRAYSON ST                        Disallowed per order 9-9-08
 7100-00        BALTIMORE, MD 21216

 000310         QUEEN, ROBERT                         Unsecured          Filed 10/04/04                           $0.00               $0.00                  $0.00
 070            3031 GRAYSON ST
 7100-00        BALTIMORE, MD 21216

 000311         MILLS, STANLEY                        Unsecured          Filed 10/12/04                           $0.00               $0.00                  $0.00
 070            408 RIVER RIDGE CIRCLE
 7100-00        BYHALIA, MS 38611

 000312         WESTBROOK, CHRISTOPHER                Unsecured          Filed 10/12/04                           $0.00               $0.00                  $0.00
 070            4712 CRENSHAW BOULEVARD
 7100-00        LOS ANGELES, CA 90043

 000313         ALDRED, JOHNNY                        Unsecured         Filed 10/12/04                            $0.00             $175.00                  $0.00
 070            4891 HARPER PATTERSO                   Disallowed Per Order Dated 10/7/08 (Docket #1994)
 7100-00        THOMSON, GA 30824

 000314         PENA, JORGE                           Unsecured         Filed 10/12/04                            $0.00             $800.00                  $0.00
 070            637 PENN                               Disallowed Per Order Dated 10/21/08 (Docket #2104)
 7100-00        AURORA, IL 60505

 000316         GOMEZ, JOSE S                         Unsecured          Filed 10/12/04                           $0.00               $0.00                  $0.00
 070            566 WEST 10TH STREET
 7100-00        APARTMENT #21
                SAN PEDRO, CA 90731

 000317         GOMEZ, JOSE S                         Unsecured          Filed 10/12/04                           $0.00               $0.00                  $0.00
 070            566 WEST 10TH STREET
 7100-00        APARTMENT #21
                SAN PEDRO, CA 90731

 000318         GOMEZ, JOSE S                         Unsecured          Filed 10/12/04                           $0.00               $0.00                  $0.00
 070            566 WEST 10TH STREET
 7100-00        APARTMENT #21
                SAN PEDRO, CA 90731

 000319         NEXTEL OF NEW YORK         Unsecured                     Filed 10/07/04                           $0.00          $35,210.37            $35,210.37
 070            NEXTEL COMMUNUCATIONS INC.
 7100-00        ATTN: BANKRUPTCY
                PO BOX 172408



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 Code #           Creditor Name & Address               Claim Class    Notes                             Scheduled                 Claimed              Allowed
                DENVER, CO 80217




 000320         QUARTZ HILL INDUSTRIAL MED            Unsecured         Filed 10/08/04                         $0.00             $1,616.55              $1,616.55
 070            42357 50T STREET WEST 104
 7100-00        QUARTZ HILL, CA 93536

 000321         QUARTZ HILL INDUSTRIAL MED            Unsecured         Filed 10/08/04                         $0.00               $200.00                $200.00
 070            42357 50T STREET WEST 104
 7100-00        QUARTZ HILL, CA 93536

 000322         QUARTZ HILL INDUSTRIAL MED            Unsecured         Filed 10/08/04                         $0.00             $2,424.70              $2,424.70
 070            42357 50T STREET WEST 104
 7100-00        QUARTZ HILL, CA 93536

 000323         BERMUDEZ, ANTONIO                     Unsecured         Filed 10/12/04                         $0.00               $220.21                $220.21
 070            1039 FENTON ST.
 7100-00        AURORA, IL 60505

 000324         FLAGLER COMMUNITY                     Unsecured         Filed 10/12/04                         $0.00             $1,877.08              $1,877.08
 070            PHARMACY
 7100-00        300 HEALTH PARK BLVD S1002
                ST. AUGUSTINE, FL 32086

 000325-A       INDIANA DEPT OF REVENUE               Unsecured         Filed 10/12/04                           $0.00              $176.25                  $0.00
 070            BANKRUPTCY SECTION                     Administrative Expense Claim; Expunged per Order dated 4/12/2011 (Dkt #4050)
 7100-00        100 NORTH SENATE AVE
                ROOM N203
                INDIANAPOLIS, IN 46204

 000327-B       LOUISIANA DEPT OF REVENUE             Unsecured        Filed 10/15/04                          $0.00             $1,490.00                   $0.00
 070            ATTN: DANICE SIMS                      Expunged per Order dated 05/03/2011 (Dkt #4119)
 7100-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000328-A       LOUISIANA DEPT OF REVENUE             Unsecured         Filed 10/15/04                         $0.00                $99.50                 $99.50
 070            ATTN: DANICE SIMS                      Allowed per Order dated 05/03/2011 (Dkt #4119)
 7100-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000329-B       STATE OF LOUISIANA                    Unsecured        Filed 10/15/04                           $0.00              $555.78                $364.86
 070            DEPARTMENT OF REVENUE                  Reduced and Allowed per Order dated 05/03/2011 (Dkt #4119)
 7100-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000330-A       STATE OF LOUISIANA                    Unsecured        Filed 10/15/04                           $0.00            $1,608.01                 $70.22
 070            DEPARTMENT OF REVENUE                  Reduced and Allowed per Order dated 05/03/2011 (Dkt #4119)
 7100-00        PO BOX 66658
                BATON ROUGE, LA 70896

 000331-B       STATE OF LOUISIANA                    Unsecured        Filed 10/15/04                           $0.00               $85.00                 $60.00
 070            DEPARTMENT OF REVENUE                  Reduced and Allowed per Order dated 05/03/2011 (Dkt #4119)
 7100-00        PO BOX 66658
                BATON ROUGE, LA 70896




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000333-B       STATE OF OREGON                       Unsecured        Filed 10/12/04                              $0.00              $14.19                  $0.00
 070            DEPARTMENT OF REVENUE                  Expunged per Order dated 03/28/2011 (Dkt #4004)
 7100-00        REVENUE BUILDING
                955 CENTER STREET NE
                SALEM, OR 97301

 000334         ARTEAGA, DAVID                        Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            16266 VALLEYVALE DRIVE                 Disallowed per order 3-10-09
 7100-00        FONTANA, CA 92337

 000335         ARTEAGA, DAVID                        Unsecured          Filed 10/19/04                            $0.00               $0.00                  $0.00
 070            16266 VALLEYVALE DRIVE
 7100-00        FONTANA, CA 92337

 000336         LOPEZ, SAMUEL 8248                    Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            529 S. CHICAGO                         Disallowed per order 9-9-08
 7100-00        KANKAKEE, IL 60901

 000337-A       PEREZ, MARIA                          Unsecured          Filed 10/18/04                            $0.00             $256.00                  $0.00
 070            443 S. 4TH                             Reclassified Per Order Dated 4/22/09 (Docket #3187)
 7100-00        KANKAKEE, IL 60901

 000338         PORTILLO, SONIA                       Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            19 MECHANIC ST.
 7100-00        PORT JERVIS, NY 12771

 000340         NASSAU COUNTY BOCC                    Unsecured          Filed 10/18/04                            $0.00             $564.50               $564.50
 070            PO BOX 4000AB
 7100-00        FERN BEACH, FL 32035

 000342         HURST, SANDRA M.                      Unsecured          Filed 10/15/04                            $0.00             $523.00               $523.00
 070            POST OFFICE BOX 317
 7100-00        EMLYN, KY 40730

 000343-A       MILLS, AUDLEY D                       Unsecured         Filed 10/18/04                           $0.00             $1,205.10               $403.53
 070            14604 KINDERHOOK TERRACE               Reduce and Reclassify per Order Dated 9/9/08 (Docket #1704)
 7100-00        BURTONSVILLE, MD 20866

 000346-B       MATTHEWS, RACHEL                      Unsecured        Filed 10/15/04                            $0.00             $2,428.80             $2,428.80
 070            18 MASSA LANE                          Reduced & Reclassified per Order Dated 9/9/08 (Docket #1719)
 7100-00        APARTMENT C7
                EDGEWATER, NJ 07020

 000348         JOB SOURCE                            Unsecured          Filed 10/18/04                            $0.00           $3,196.85             $3,196.85
 070            400 CENTRAL AVENUE
 7100-00        SUITE 308
                NORTHFIELD, IL 60093

 000349         CRUZ, SERGIO                          Unsecured          Filed 10/18/04                            $0.00          $70,000.00            $70,000.00
 070            3846 VAN DYKE AVE. #1
 7100-00        SAN DIEGO, CA 92105

 000352         NORTHERN REHABILITATION               Unsecured          Filed 10/18/04                            $0.00           $3,821.00             $3,821.00
 070            PO BOX 423
 7100-00        3266 RESOURCE
                DEKALB, IL 60115



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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000353         MENDOZA, GLADYS                       Unsecured          Filed 10/14/04                            $0.00             $220.00               $220.00
 070            1280 N CITRUS
 7100-00        APT 66
                VISTA, CA 92084

 000355         MARTELL RODRIQUEZ                     Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            C/O 16250 VENTURA BLVD
 7100-00        STE 230
                ENCINO, CA 91436

 000356         MARTELL RODRIGUEZ                     Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            C/O 167250 VENTURA BLVD
 7100-00        STE 230
                ENCINO, CA 91436

 000357         KEESHA NELSON                         Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            584 CAREY AVE. #3
 7100-00        WILKES-BARRE, PA 18702

 000359         PARKER'S TREE SERVICE                 Unsecured          Filed 10/18/04                            $0.00             $232.00               $232.00
 070            4780 11TH AVENUE SW
 7100-00        NAPLES, FL 34116

 000363         JANET L ZEFF DC                       Unsecured          Filed 10/15/04                            $0.00           $1,695.77              $1,695.77
 070            526 SOQUEL AVE
 7100-00        STE A
                SANTA CRUZ, CA 95062

 000364         DOMINGUEZ, CAROLINA                   Unsecured          Filed 10/18/04                            $0.00         $100,000.00            $100,000.00
 070            135 CHRYSTAL W
 7100-00        DOVER, NJ 07801

 000365         GIORDANO, JOSEPH                      Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            703 CENTER ST                          Disallowed per order 11-30-09
 7100-00        DUNMORE, PA 18512

 000366-B       KDR INC                               Unsecured          Filed 10/18/04                            $0.00               $0.00              $2,134.97
 070            559 SOUTH ATCHINSON STREET             Reclassified per Order dated 04/06/2011 (Dkt #4027)
 7100-00        ANAHEIM, CA 92805

 000371         WILLIAM HONEYCUTT                     Unsecured          Filed 10/15/04                            $0.00          $15,000.00             $15,000.00
 070            33 CYPRESS LAKE MHP
 7100-00        STATESBORO, GA 30458

 000372         HURST, SANDRA M                       Unsecured          Filed 10/15/04                            $0.00             $657.25               $657.25
 070            POST OFFICE BOX 317
 7100-00        EMLYN, KY 40730

 000374-B       SALAS, MANUEL                         Unsecured          Filed 10/18/04                            $0.00               $0.00               $575.00
 070            3734 EAST 52ND STREET                  Reclassified Per Order Dated 12/22/08 (Docket #2766)
 7100-00        APARTMENT #B
                MAYWOOD, CA 90270




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  Case Number: 04-22316RG                                                  Priority Sequence
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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                Claimed             Allowed
 000375-B       FERREIRA, SILVIA                      Unsecured         Filed 10/18/04                            $0.00               $688.00                  $0.00
 070            233 FAIRVIEW LANE                      Reduced and Reclassified Per Order Dated 7/7/09 (Docket #3357)
 7100-00        SCHERERVILLE, IN 46375

 000376         JERONIMO, GELVYS                      Unsecured          Filed 10/18/04                            $0.00              $528.00               $528.00
 070            225 E CLAY STREET
 7100-00        LANCASTER, PA 17602

 000377-A       RODRIGUEZ, AMARIS I                   Unsecured         Filed 10/18/04                             $0.00              $230.99                  $0.00
 070            35 PARK VIEW DRIVE                     Disallowed Per Order Dated 4/24/09 (Docket #3240)
 7100-00        WILLOW STREET, PA 17584

 000378         GRIMSLEY, KATHY                       Unsecured          Filed 10/18/04                            $0.00                $0.00                  $0.00
 070            301 SOUTH LOPEZ STREET
 7100-00        CLEWISTON, FL 33440

 000380         MARINA MC BREARTY                     Unsecured          Filed 10/18/04                            $0.00            $4,096.80             $4,096.80
 070            3448 SACRAMENTO ST
 7100-00        SAN FRANCISCO, CA 94118

 000381         GOLEBOCK EISEMAN ASSOR       Unsecured          Filed 07/08/04                                     $0.00            $4,359.43             $4,359.43
 070            BELL & PESKOE LLP             (144-1) Claim sent to claims agent
 7100-00        ATTN: ADAM C SILVERSTEIN ESQ
                437 MADISON AVE
                NEW YORK, NY 10022-7302

 000382-B       MONICA H LAZORCHAK                    Unsecured         Filed 06/18/04                            $0.00             $2,313.34               $736.39
 070            270 MCFARLANE RD, APT 159              Reduced and Reclassified Per Order Dated 10/14/08 (Dkt # 2050)
 7100-00        COLONIA, NJ 07067

 000383         Sinins and Bross PA                   Unsecured          Filed 06/03/04                            $0.00           $67,257.73            $67,257.73
 070            Attn: Rubin M Sinins                   (130-1) Claim sent to claims agent
 7100-00        201 Washington Street
                Newark, NJ 07102

 000387-B       SONIA LOPEZ SIMPSON                   Unsecured         Filed 05/06/04                          $0.00               $5,288.00               $363.00
 070            707 HORY ST                            Modified and Allowed per Consent Order Dated 1/6/09 (Docket #2827)
 7100-00        CRANFORD, NJ 07016

 000390-B       VANESSA BENECIUK                      Unsecured          Filed 05/10/04                            $0.00            $1,872.00                  $0.00
 070            1511 WINANS AVE                        Reclassified Per Order Dated 4/22/09 (Docket #3188)
 7100-00        LINDEN, NJ 07036

 000392         Gul Muhammad                          Unsecured           Filed 05/10/04                           $0.00            $2,080.68             $2,080.68
 070            58-05 Waldron St.                      (50-1) Claim sent to claims agent
 7100-00        Corona,NY 11368                        (ac)


 000393-B       PHILIP LEMBO                          Unsecured          Filed 05/07/04                            $0.00           $54,826.93            $54,826.93
 070            8165 E HAYDEN CT
 7100-00        ANAHEIM HILLS, CA 92808

 000394-B       JENNIFER DENMEAD                      Unsecured          Filed 06/30/04                            $0.00           $82,218.23            $82,218.23
 070            12753 INDIAN TRAIL ROAD
 7100-00        POWAY, CA 92064




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 000395-B       JEFFREY WINDERS                       Unsecured           Filed 05/27/04                          $0.00          $14,969.46            $14,969.46
 070            370 W 33RD AVE
 7100-00        MARION, IA 52302

 000396-B       MUNIR A RIZWANI                       Unsecured         Filed 04/29/04                            $0.00           $1,512.00                  $0.00
 070            2200 N CENTRAL RD                      Reduced Per Order Dated 11/12/08 (Dkt # 2358)
 7100-00        APT 15N
                FORT LEE, NJ 07024

 000397         CompuTrol Technologies                Unsecured           Filed 04/29/04                          $0.00          $98,228.27            $98,221.27
 070            Attn: Ron Weiss                        (15-1) Claim sent to claims agent
 7100-00        2131 Wantagh Avenue
                Wantagh, NY 11793

 000399-A       Andrea Webb                           Unsecured           Filed 04/27/04                          $0.00          $27,000.00            $27,000.00
 070            828 Windsor Perrineville               (18-1) Claim sent to claims agent
 7100-00        E. Windsor NJ 08520                    Reduced and Reclassified per Order Dated 10/21/08 (Docket #2115)


 000400-A       Rosalina G Antao                      Unsecured           Filed 04/27/04                          $0.00           $5,662.96                  $0.00
 070            422 Chestnut St                        (19-1) Claim sent to claims agent
 7100-00        Kearny NJ 07032                        disallowed per order 8-18-08
                                                       amended by claim#1853


 000401         Norma Padua                           Unsecured           Filed 04/30/04                          $0.00           $2,984.00                  $0.00
 070            539 Ridgeway Ave                       (20-1) Claim sent to claims agent
 7100-00        So Amboy, NJ 08879                     Disallowed per Order Dated 11/25/08 (Docket #2527)


 000406         Verizon                               Unsecured          Filed 07/28/04                           $0.00             $792.74               $792.74
 070            3900 Washington Street                 (153-1) Claim sent to claims agent
 7100-00        Wilmington, DE 19802

 000407         OCALA Regional Medical Center         Unsecured          Filed 08/02/04                           $0.00             $159.00               $159.00
 070            c/o Hca PAS Orange Park                (156-1) Claim sent to claims agent
 7100-00        PO Box 1629
                Orange Park, FL 32067

 000408         North Florida Regional Medical Center Unsecured          Filed 08/02/04                           $0.00          $45,995.27            $45,995.27
 070            c/o HCA PAS Orange Park                (157-1) Claim sent to claims agent
 7100-00        PO Box 1629
                Orange Park, FL 32067

 000409         FT Walton Beach Medical Center        Unsecured          Filed 08/02/04                           $0.00           $2,968.50             $2,968.50
 070            Attn HCA PAS Orange Park               (158-1) Claim sent to claims agent
 7100-00        Po Box 1629
                Orange, Park FL 32067

 000410         Orange Park Medical Center            Unsecured          Filed 08/02/04                           $0.00           $5,136.00             $5,136.00
 070            c/o HCA PAS Orange Park                (159-1) Claim sent to claims agent
 7100-00        PO Box 1629
                Orange Park, FL 32067




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                   Claimed               Allowed
 000411         Memorial Hospital Jacksonville        Unsecured          Filed 08/02/04                             $0.00               $1,098.75              $1,098.75
 070            Attn HCA PAS Orange Park               (160-1) Claim sent to claims agent
 7100-00        PO Box 1629
                Orange Park, FL 32067

 000412         NICOR Gas                             Unsecured          Filed 08/02/04                             $0.00               $1,120.98              $1,120.98
 070            PO Box 549                             (162-1) Claim sent to claims agent
 7100-00        Aurora, IL 60807

 000414         InfiNet Marketing Services, Inc.      Unsecured          Filed 10/04/04                             $0.00                    $0.00                  $0.00
 070            Attn: Rachelle Barth                   (190-1) Unsecured - Unliquidated and unknown at this time
 7100-00        8925 Sterling Street, Ste 150          (190-1) Based on indemnity, fraud and breach of contract / Claim sent to claims agent
                Irving, TX 75063
                                                       amended by claim#561


 000415-B       DEPT OF TREASURY-IRS                  Unsecured         Filed 08/02/04                           $0.00            $119,364.89                       $0.00
 070            PO BOX 9112, JFK BLDG                  Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 7100-00        STOP 20800                             6/10/11 Dkt 4153
                BOSTON, MA 02203

 000416-A       PENNSYLVANIA DEPT OF                  Unsecured        Filed 08/03/04                           $0.00                $176,939.54             $101,650.04
 070            REVENUE                                Reduced & Allowed per Order dated 06/29/2011 (Dkt #4171)
 7100-00        COMMONWEALTH OF
                PENNSYLVANIA
                BANKRUPTCY DIVISION
                DEPT 280946
                HAMSBURG, PA 17128

 000417         Kenneth Propst, DBA Propst Buy Rite Unsecured          Filed 08/06/04                               $0.00              $41,052.19             $41,052.19
 070            Buy Rite Service; Propst             (168-1) Claim sent to claims agent
 7100-00        Transportation
                c/o Joseph Toczydlowski Esq.
                392 Main Street
                Archbald, PA 18403

 000418-B       ANNE RUSH                             Unsecured          Filed 06/24/04                             $0.00                   $0.00              $2,652.00
 070            115 GALES DR                           Reclassified per Order Dated 12/2/08 (Docket #2601)
 7100-00        APT D4
                NEW PROVIDENCE, NJ 07974

 000422-B       PAUL MARION                           Unsecured         Filed 07/16/04                            $0.00                     $0.00              $3,603.00
 070            2618 LLOYD LANE                        Reduced and Reclassified Per Order Dated 12/2/08 (Dkt # 2596)
 7100-00        NORRISTOWN, PA 19403

 000423-B       HERNANDO SOTO                         Unsecured          Filed 07/19/04                             $0.00                 $426.92                   $0.00
 070            54 DEHART                              Reclassified Per Order Dated 5/20/09 ( Docket # 3271)
 7100-00        ELIZABETH, NJ 07202                    (ca)


 000425-A       MARIBEL FELICIANO                     Unsecured          Filed 07/21/04                             $0.00               $1,260.00                   $0.00
 070            PO BOX 4056                            Reclassified Per Order Dated 5/20/09 (Docket #3265)
 7100-00        SCRANTON, PA 18505                     (ca)




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                    Claimed             Allowed
 000428         Iris Estevez                          Unsecured          Filed 07/16/04                           $0.00                   $0.00                  $0.00
 070            1404 Summit Place                      (151-1) Claim sent to claims agent
 7100-00        Union, NJ 07083                        disallowed per order 3-10-09


 000429-B       MARGARET J. HANCOCK                   Unsecured          Filed 07/27/04                           $0.00               $6,715.86              $1,790.86
 070            1052 CHERBOURG AVENUE, E.              Reclassified Per Order Dated 11/3/08 (Dkt # 2302)
 7100-00        JACKSONVILLE, FL 32205

 000431         Jyotikumar S. Agrawal                 Unsecured           Filed 05/12/04                          $0.00               $4,762.00                  $0.00
 070            63 Bulger Avenue                       (57-1) Claim sent to claims agent
 7100-00        New Milford, NJ 07646                  disallowed per ordre 9-30-08 (Docket#1652)


 000432-A       Jesus Colon                           Unsecured           Filed 05/12/04                          $0.00               $3,160.80              $3,160.80
 070            136 Giles Ave.                         (60-1) Claim sent to claims agent
 7100-00        Middlesex, NJ 08846

 000434         Madeline Vazquez                      Unsecured           Filed 05/18/04                          $0.00               $1,371.50              $1,371.50
 070            304 Royal Ct                           (63-1) Claim sent to claims agent
 7100-00        Somerset, NJ 08873

 000435-B       THADDEUS KUCHARYK                     Unsecured          Filed 05/17/04                           $0.00                   $0.00              $2,175.00
 070            1 MICHAEL CT                           Reclassified Per Order Dated 12/2/08 (Dkt # 2597)
 7100-00        POMPTON PLAINS, NJ 07444

 000436         Jose Breton                           Unsecured           Filed 05/17/04                          $0.00               $1,055.00              $1,055.00
 070            304 Royal Ct                           (65-1) Claim sent to claims agent
 7100-00        Somerset,NJ 08873

 000437-B       JOHN K SHERWOOD                       Unsecured         Filed 05/14/04                            $0.00               $1,233.42                  $0.00
 070            LOWENSTEIN SANDLER                     Disallowed Per Order Dated 4/22/09 (Docket #3176)
 7100-00        65 LIVINGSTON AVE
                ROSELAND, NJ 07068

 000438         Selis and Associates, PA              Unsecured           Filed 05/17/04                          $0.00             $226,151.92            $226,151.92
 070            475 South Nova Road                    (68-1) Sent to claims agent
 7100-00        Ormond Beach, FL 32174

 000439-B       GLADYS GALARZA                        Unsecured          Filed 05/19/04                           $0.00                 $345.00               $345.00
 070            1316 N RANDOLPH ST
 7100-00        PHILADELPHIA, PA 19122

 000442         Federal Express Corp                  Unsecured          Filed 05/14/04                           $0.00               $2,442.60              $2,442.60
 070            Attn: Revenue Recovery/Bankruptcy      (112-1) Claim sent to claims agent
 7100-00        2005 Corporate Ave 2nd fl
                Memphis TN 38132

 000443         CLAIM NUMBER VOIDED                   Unsecured                                                   $0.00                   $0.00                  $0.00
 070
 7100-00

 000444-B       CARRIE A PORVAZNIK                    Unsecured         Filed 05/27/04                            $0.00               $3,604.00              $1,443.00
 070            103 CROWN AVE                          Reduced and Reclassified per Order Dated 12/2/08 (Docket #2582) (ca)
 7100-00        SCRANTON, PA 18505




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled                      Claimed             Allowed
 000445-A       Elsa Coronado Plascenciz              Unsecured          Filed 06/07/04                            $0.00                   $327.76                  $0.00
 070            4114 Czimino De La Plaza #25-1         (121-1) Claim sent to claims agent
 7100-00        San Yoicho ,CA 92173                   Disallowed per Order Dated 9/16/08 (Docket #1779)


 000446         American Express Travel Related Svcs Unsecured          Filed 06/09/04                             $0.00                $18,347.08             $18,347.08
 070            Co Inc Corp C                         (122-1) Claim sent to claims agent
 7100-00        c/o Becket and Lee, LLP
                P.O. Box 3001
                Malvern, PA 19355-0701

 000448         ARMANDO RAMIREZ                       Unsecured          Filed 06/14/04                            $0.00                   $840.00               $840.00
 070            PO BOX 5161
 7100-00        SANTA ANA, CA 92704

 000449         Feliciano Campos Mejia                Unsecured          Filed 06/14/04                            $0.00                   $374.75               $374.75
 070            PO Box 1287                            (125-1) Claim sent to claims agent
 7100-00        San Marcos, CA 92079

 000450         Rosa Tobar                            Unsecured          Filed 06/14/04                            $0.00                    $84.99                $84.99
 070            PO Box 1287                            (127-1) Claim sent to claims agent
 7100-00        San Marcos, CA 92079

 000451         ARVAY, MERRIT                         Unsecured          Filed 06/14/04                            $0.00                 $3,762.75                  $0.00
 070            63-12 75th Place                       (128-1) Claim sent to claims agent
 7100-00        Middle Village, NY 11379               disallowed per order 8-18-08 (Dkt#1578)


 000458-B       SERGIO OREJEL                         Unsecured         Filed 05/26/04                            $0.00                      $0.00                  $5.00
 070            9222 DOROTHY AVE                       Reduced and Reclassified per Order Dated 11/3/08 (Docket #2310)
 7100-00        SOUTH GATE, CA 90280

 000461-B       JORGE MAGANA                          Unsecured         Filed 05/26/04                          $0.00                        $0.00                  $5.00
 070            1718 E FLORA ST #B                     Modified and Allowed Per Order Dated 11/18/08 (Docket #2407)
 7100-00        ONTARIO, CA 91764

 000476         Labor Connection, Inc.                Unsecured          Filed 08/10/04                            $0.00               $300,000.00            $300,000.00
 070            792 Meridian Way                       (181-1) Claim sent to claims agent
 7100-00        Suite D
                San Jose, CA 95126

 000477         High Employee Services LTD            Unsecured          Filed 08/09/04                            $0.00                $25,000.00             $25,000.00
 070            Attn: Clayon Davidson Esq.             (182-1) Claim sent to claims agent
 7100-00        PO Box 1166
                100 Pine St.
                Harrisburg,PA 17108

 000478-B       ROBERT SEAMAN                         Unsecured         Filed 08/09/04                            $0.00                      $0.00               $105.00
 070            PO BOX 2107                            Reduced and Reclassified Per Order Dated 12/2/08 (Dkt # 2603)
 7100-00        POCONO SUMMIT, PA 18346

 000479         Taylored Services, Inc.               Unsecured          Filed 08/10/04                             $0.00              $130,599.81                  $0.00
 070            Attn: Nisha T. Cordero, Esq.           (184-1) Plus Unliquidated/Contingent Claim / Claim sent to claims agent
 7100-00        Ferro Labella & Zucker L.L.C.          claim withdrawn per document dated 2-16-06
                27 Warren Street



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                                                                   ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                Claim Class     Notes                   Scheduled               Claimed             Allowed
                Hackensack, NJ 07601




 000480         Alberto Gonzalez                       Unsecured          Filed 08/10/04               $0.00          $20,000.00             $20,000.00
 070            1920 N. Orange Avenue                   (186-1) Claim sent to claims agent
 7100-00        Orlando, FL 32804

 000482         California Uninsured Employees         Unsecured          Filed 08/06/04               $0.00         $500,918.98            $500,918.98
 070            Benefit Trust Fund                      (169-1) Claim sent to claims agent
 7100-00        Office of the Director - Legal Unit     Amended by Claim #658
                Attn: Bankruptcy Unit
                320 West Fourth Street Suite 600
                Los Angeles, CA 90013-2344

 000485         High Foods Services, Ltd.              Unsecured          Filed 08/09/04               $0.00             $370.94               $370.94
 070            Attn: Clayton W. Davidson, Esq.         (172-1) Claim sent to claims agent
 7100-00        PO Box 1166
                100 Pine Street
                Harrisburg, PA 17108

 000486         High Employee Services Ltd.            Unsecured          Filed 08/09/04               $0.00           $1,582.54              $1,582.54
 070            Attn: Clayton W.Davidson, Esq.          (173-1) Claim sent to claims agent
 7100-00        Po Box 1166
                100 Pine Street
                Harrisburg, PA 17108

 000487         High Concrete Structures, Inc.         Unsecured          Filed 08/09/04               $0.00          $18,228.30             $18,228.30
 070            Attn: Clayton W. Davidson, Esq.         (174-1) Claim sent to claims agent
 7100-00        PO Box 1166
                100 Pine Street
                Harrisburg, PA 17108

 000488         High Employee Services Ltd.            Unsecured          Filed 08/09/04               $0.00          $23,804.72             $23,804.72
 070            Attn: Clayton W.Davidson, Esq.          (175-1) Claim sent to claims agent
 7100-00        Po Box 1166
                100 Pine Street
                Harrisburg, PA 17108

 000489         Continental Currency Services D/B/A Unsecured         Filed 08/06/04                   $0.00           $9,411.76              $9,411.76
 070            Mobile Money & Pronto Cash Express' (177-1) Claim sent to claims agent
 7100-00        Attn: Nicole Mongeon Esq.
                1108 East 17th St
                Santa Ana, CA 92701

 000490         Clair Odell Group                      Unsecured          Filed 08/04/04               $0.00         $561,358.00            $561,358.00
 070            Attn: Michael Robbinson                 (178-1) Claim sent to claims agent
 7100-00        2 West Lafayette Street
                Suite 400
                Norristown, PA 19401-1758

 000491         California Uninsured Employers         Unsecured          Filed 08/06/04               $0.00         $103,378.00            $103,378.00
 070            Benefit Trust Fund                      (179-1) Claim sent to claims agent
 7100-00        Legal Unit - Bankruptcy Unit
                320 West Fourth Street, Suite 600
                Los Angeles, CA 90013


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  Case Number: 04-22316RG                                                   Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                Claim Class     Notes                                Scheduled                   Claimed              Allowed
 000492-B       GREAT AMERICAN INSURANCE               Unsecured         Filed 10/21/04                            $0.00                     $0.00           $335,760.00
 070            COMPANY                                 Reduced and Reclassified per Order dated 02/27/2012 (Dkt #4292).
 7100-00        MICHAEL J CONOLLY ESQ
                PO BOX 1980
                MORRISTOWN, NJ 07962

 000506         Suburban Plastering, Inc. and Martin   Unsecured          Filed 09/02/04                            $0.00         $10,068,070.00          $10,068,070.00
 070            Bros.                                   (189-1) Claim sent to claims agent
 7100-00        Atkinson, Andelson, Loya, Ruud &
                Romo
                17871 Park Plaza Drive, Suite 200
                Cerritos, CA 90703
                Attn: Helen R. Frazer

 000507         Mandelbaum Salsburg Gold Lazris        Unsecured          Filed 10/06/04                            $0.00               $10,319.95            $10,319.95
 070            Discenza & Steinberg PA                 (191-1) Claim sent to claims agent
 7100-00        155 Prospect Avenue
                West Orange, NJ 07052

 000509-C       STATE OF NEW JERSEY                    Unsecured          Filed 07/09/04                             $0.00                   $0.00          $1,377,952.58
 070            DIV OF EMPLOYER ACCOUNTS                Reclassified and Allowed per Order dated 09/13/2011 to part general unsecured
 7100-00        P O BOX 379                             1,377,952.58 and priority 12,774.84 (Dkt #4206)
                TRENTON, NJ 08625

 000511-C       NYS Dept of Taxation & Finance         Unsecured           Filed 05/20/04                       $0.00           $15,243.24                          $0.00
 070            Attn: Bankruptcy Section                (71-1) Claim sent to claims agent
 7100-00        PO BOX 5300                             Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
                Albany, NY 12205-0300

 000512-B       GEOFFREY M STILES MD                   Unsecured          Filed 07/29/04                            $0.00                    $0.00             $1,476.00
 070            8010 FROST ST                           Reclassified per Order dated 04/12/2011 (Dkt #4046)
 7100-00        #604
                SAN DIEGO, CA 92123

 000514-A       Shana K Thom                           Unsecured           Filed 04/26/04                         $0.00                 $10,671.61             $4,933.03
 070            11715 Goshen Ave                        (3-1) Claim sent to claims agent
 7100-00        Los Angeles, CA 90049-6101              Reduced and reclassified per order 10-21-08 (Docket#2524)


 000515         Jose Daniel Pena                       Unsecured          Filed 06/21/04                            $0.00                $4,928.78             $4,928.78
 070            844 Firethorn St.                       (131-1) Claim sent to claims agent
 7100-00        San Diego, CA 92154

 000516         Saul Velez                             Unsecured           Filed 05/03/04                           $0.00                 $193.57                $193.57
 070            683 W. Front St.                        (30-1) Claim sent to claims agent
 7100-00        Plainfield,NJ 07060

 000517         Salvadore Velez                        Unsecured           Filed 05/03/04                           $0.00                 $180.06                $180.06
 070            683 W. Front St.                        (27-1) Claim sent to claims agent
 7100-00        Plainfield,NJ 09060

 000518         Ernesto Molora                         Unsecured           Filed 05/03/04                           $0.00                 $199.82                   $0.00
 070            683 W. Front St.                        (24-1) Claim sent to claims agent
 7100-00        Plainfield, NJ 07060                    disallowed per order 12-2-08 (Docket#2585)




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 000522-B       JAY J BROWN                           Unsecured          Filed 04/30/04                             $0.00           $1,794.87                  $0.00
 070            528 COOK AVE                           Reclassified Per Order Dated 4/22/09 (Docket # 3196)
 7100-00        MIDDLESEX, NJ 08846

 000526         Tanya Melendez                        Unsecured           Filed 05/07/04                            $0.00           $2,596.00                  $0.00
 070            17 Heritage Green Dr., Apt 209         (38-1) Claim sent to claims agent
 7100-00        Fiskdale, MA 01518-1270                disallowed per order 12-9-08 (dKT#2650) (ac)


 000527         Marcus Pacheco - Sanchez              Unsecured           Filed 05/07/04                            $0.00           $1,440.00                  $0.00
 070            1137 Capote Ave                        (39-1) Claim sent to claims agent
 7100-00        Scranton PA 18509                      amended by claim#773
                                                       disallowed per order 12-22-08 (Docket#2731) (ac)


 000528         Michele Tucker                        Unsecured           Filed 05/07/04                            $0.00               $0.00                  $0.00
 070            66 Parkside Road                       (40-1) Claim sent to claims agent
 7100-00        Plainfield, NJ 07060                   disallowed per order 10-2-08


 000530-A       Jorge Hernandez Jr.                   Unsecured           Filed 05/05/04                            $0.00             $916.80                  $0.00
 070            26 Bergen St.                          (43-1) Claim sent to claims agent
 7100-00        Garfield,NJ 07026                      disallowed per order 8-26-08 (Docket#1651)


 000531         Winifred Roth                         Unsecured           Filed 05/07/04                            $0.00           $1,600.00             $1,600.00
 070            29 Peasley Dr.                         (47-1) Claim sent to claims agent
 7100-00        Marlboro, NJ 07746

 000532-B       DEANNA K RENNIGER                     Unsecured         Filed 05/07/04                            $0.00             $3,267.28                  $0.00
 070            246 E NORTH ST                         Reduced and Reclassified Per Order Dated 4/21/09 (Docket #3172)
 7100-00        BETHLEHEM, PA 18018

 000535-B       HEUBERT RIVERA                        Unsecured          Filed 05/12/04                             $0.00           $1,828.00                  $0.00
 070            6 AMFEN CT                             Reclassified Per Order Dated 5/20/09 (Docket #3272) (ac)
 7100-00        BAY SHORE, NY 11706

 000539-B       DIANA ROBY                            Unsecured         Filed 05/17/04                            $0.00             $2,884.00                  $0.00
 070            1110 COLUMBUS AVE                      Reduced and Reclassified Per Order Dated 4/21/09 (Docket #3162)
 7100-00        WESTFIELD, NJ 07090

 000541         Quest Diagnostics Inc                 Unsecured           Filed 05/17/04                            $0.00          $49,665.05            $49,665.05
 070            Attn: Mail Code CV-2635                (72-1) Claim sent to claims agent
 7100-00        1201 S. Collegeville Rd
                Collegeville PA 19426

 000542-B       ANA TORRADO NGUYEN                    Unsecured         Filed 05/25/04                            $0.00             $1,899.98                  $0.00
 070            33 MILTON RD                           Reduced and Reclassified Per Order Dated 4/21/09 (Docket #3163)
 7100-00        SPARTA, NJ 07871

 000543-B       ROCIO SCHULT                          Unsecured          Filed 06/01/04                             $0.00           $1,760.00                  $0.00
 070            10651 OAKBEND                          Reclassified Per Order Dated 11/18/08 (Dkt # 2428) (ac)
 7100-00        SAN DIEGO, CA 92131




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                  Claimed              Allowed
 000545-A       VEYSMAN, MARINA                       Unsecured           Filed 06/03/04                           $0.00                   $0.00             $3,334.88
 070            45 Medici Dr.                          (120-1) Claim sent to claims agent
 7100-00        Somerset, NJ 08873-6039                Reclassified per order 12-15-08 (Dkt#2707)


 000547         William C. Donadio                    Unsecured           Filed 05/06/04                           $0.00               $3,000.00             $3,000.00
 070            200 Shunpike Rd                        (129-1) Claim sent to claims agent
 7100-00        Springfield NJ 07081                   Reclassified per order 12-22-08 (Docket#2757) (ac)


 000548-B       JAMIE CERVANTES                       Unsecured          Filed 06/25/04                            $0.00                $373.59                   $0.00
 070            6323 CLYDE ST                          Reclassified Per Order Dated 4/22/09 (Docket #3197)
 7100-00        SAN DIEGO, CA 92139

 000549         Cynthia Collier                       Unsecured           Filed 06/28/04                           $0.00               $2,760.00             $2,760.00
 070            1604 South Irving Ave                  (136-1) Claim sent to claims agent
 7100-00        Scranton, PA 18505                     Reclassified per order 12-2-08 (Docket#2600)


 000550-A       Carolyn Sorge                         Unsecured          Filed 06/28/04                           $0.00                $2,500.00             $2,500.00
 070            3626 Hampton Glen Place                (137-1) Claim sent to claims agent
 7100-00        Jacksonville, FL 32257                 Reduced and Reclassified per Order Dated 11/3/08 (Docket #2300)


 000551-A       Airport Gateway Plaza, LLC            Unsecured          Filed 07/06/04                            $0.00              $15,908.69            $18,133.69
 070            (fka Marian C. Aden Trust)             (141-1) Claim sent to claims agent
 7100-00        638 Lindero Canyon Road, #508          Reclassified per Order dated 04/06/2011 (Dkt #4026)
                Oak Park, CA 91377

 000552-B       LAWRENCE J MACARO                     Unsecured         Filed 07/15/04                             $0.00              $19,200.00            $12,551.48
 070            35 ACKERMAN AVE                        Modified and allowed pursuant to order dated 9/26/2008 (docket #1905). (ac)
 7100-00        MILLTOWN, NJ 08850

 000554         Capital Regional Medical Center       Unsecured          Filed 08/02/04                            $0.00              $12,114.25            $12,114.25
 070            Attn HCA PAS Orange Park               (161-1) Claim sent to claims agent
 7100-00        PO Box 1629
                Orange Park, FL 32067

 000555         MV TRANSPORTATION INC                 Unsecured          Filed 08/09/04                            $0.00             $900,000.00           $900,000.00
 070            JOHN BIARD & ASSOCIATES
 7100-00        ATTN: MARK GINALSKI
                360 CAMPUS LN, STE 201
                FAIRFIELD, CA 94534

 000557-B       NYS DEPT OF TAXATION &                Unsecured        Filed 10/21/04                          $0.00           $25,243.24                         $0.00
 070            FINANCE                                Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN: BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 000558-B       DEPT OF REVENUE, STATE OF             Unsecured         Filed 10/18/04                             $0.00                 $14.19                 $14.19
 070            OREGON                                 Allowed per Order dated 03/28/2011 (Dkt #4004)
 7100-00        ATTN: GLORIA CARTER,
                BANKRUPTCY TECH
                REVENUE BLDG, 955 CENTER ST



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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                Claimed              Allowed
                NE
                SALEM, OR 87301


 000559         Yurika La Rosa                        Unsecured           Filed 05/03/04                           $0.00               $92.02                   $0.00
 070            12 Somerset St.                        (26-1) Claim sent to claims agent
 7100-00        Plainfield, NJ 07060                   disallowed per order 9-16-08 (Dkt#1782)


 000560         Freddy Salazar                        Unsecured           Filed 05/05/04                           $0.00              $355.19                $355.19
 070            30 Edgewood Terr                       (42-1) Claim sent to claims agent
 7100-00        South Bound Brook,NJ 08880

 000561         Infinet Marketing Services, Inc.      Unsecured          Filed 08/05/04                            $0.00                 $0.00                  $0.00
 070            8925 Sterling Street, Suite 150        (164-1) Unliguidated and unknown at this time(190-1) Unsecured - Unliquidated and
 7100-00        Attn: Amber Hunter                     unknown at this time
                Irving, TX 75063
                                                       (164-1) Claim sent to claims agent(190-1) Based on indemnity, fraud and breach of
                                                       contract. Amends claim#414.


 000562         Boise Cascade Office Products         Unsecured           Filed 04/19/04                           $0.00           $17,048.44             $17,048.44
 070            150 E. Pierce Road                     (1-1) Claim sent to claims agent
 7100-00        Itasca, IL 60143

 000563-A       NYS DEPT OF TAXATION &                Unsecured        Filed 04/26/04                          $0.00           $11,900.31                       $0.00
 070            FINANCE                                Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 5300
                ALBANY, NY 12205

 000564-B       SHANA K THOM                          Unsecured         Filed 04/26/04                             $0.00            $4,056.23                   $0.00
 070            11715 GOSHEN AVE                       Disallowed per Order Dated 10/21/08 (Docket #2524) (ac)
 7100-00        LOS ANGELES, CA 90094

 000565         Apollo Enterprises                    Unsecured           Filed 04/26/04                           $0.00              $139.72                $139.72
 070            P.O. Box 4739                          (4-1) Claim sent to claims agent
 7100-00        San Dimas, CA 91773-4739

 000566-B       DERYA CHURNEY                         Unsecured         Filed 04/28/04                            $0.00             $1,040.00                   $0.00
 070            20 Goodwin Drive                       Reduced and Reclassified per Order Dated 12/2/08 (Docket #2581)
 7100-00        NORTH BRUNSWICK, NJ 08902

 000567-B       PATEL, SANDEEP                        Unsecured          Filed 04/28/04                            $0.00                $0.00                $800.00
 070            789 WEST SIDE AVE                      Reclassified Per Order Dated 11/3/08 (Dkt # 2281)
 7100-00        JERSEY CITY, NJ 07306

 000568-B       GLADYS PEREZ                          Unsecured         Filed 04/27/04                            $0.00               $456.00                   $0.00
 070            32 PARK PLACE                          Reduced and Reclassified Per Order Dated 10/21/08 (Docket #2103)
 7100-00        NORTH PLAINFIELD, NJ 07060

 000569-B       KRIS KAMATH                           Unsecured          Filed 04/28/04                            $0.00                $0.00                $920.00
 070            1188 RAHWAY AVE                        Reclassified Per Order Dated 12/2/08 (Docket #2587)
 7100-00        AVENEL, NJ 07001




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled                Claimed              Allowed
 000571-A       VIRGINIA GONZALEZ                     Unsecured         Filed 04/29/04                            $0.00                $404.25                   $0.00
 070            20 BETHANY ST                          Reduced and Reclassified Per Order Dated 9/16/08 (Dkt # 1805)
 7100-00        NEW BRUNSWICK, NJ 08901

 000572-B       CAROLINA RAMIREZ                      Unsecured          Filed 04/28/04                             $0.00              $411.78                   $0.00
 070            267 HANDY ST                           Reclassified Per Order Dated 4/22/09 (Docket # 3199)
 7100-00        NEW BRUNSWICK, NJ 08901

 000573-B       Milton L. Delgado                     Unsecured                                                     $0.00             $3,617.04             $4,360.39
 070            RR6 Box 6066A                          (13-1) Claim sent to claims agent
 7100-00        Moscow, PA 18444                       Reclassified Per Order Dated 8/25/08 (Dkt # 1630)


 000574-B       OHIO DEPT OF TAXATION                 Unsecured         Filed 10/19/04                          $0.00                   $77.90                 $77.90
 070            C/O OHIO ATTORNEY GENERAL              Reduced/Reclass 4/12/11(Dkt 4048);Vacated 4/14/11 (Dkt 4062);Reclass/Allowed
 7100-00        COLLECTION ENFORCEMENT                 5/23/2011 (Dkt 4140)
                150 E GAY ST 21ST FL
                COLUMBUS, OH 43215

 000575         4 Commerce Drive Associates LLC       Unsecured          Filed 08/05/04                             $0.00          $78,687.00              $78,687.00
 070            Attn: Larry Graphis                    (166-1) Rental due on lease. See Schedules A and B
 7100-00        20 East Williow Street                 (166-1) Claim sent to claims agent
                Millburn, NJ 07041

 000576         MILLER, DON                           Unsecured          Filed 10/18/04                             $0.00                $0.00                   $0.00
 070            6894 TIKI DR
 7100-00        CYPRESS, CA 90630

 000577-B       UNEMPLOYMENT INSURANCE                Unsecured           Filed 10/15/04                           $0.00                 $0.00                 $65.00
 070            PO BOX 8914                            Reclassified and allowed per Order dated 05/03/2011 (Dkt #4110)
 7100-00        MADISON, WI 53708

 000578-B       UNEMPLOYMENT INSURANCE                Unsecured           Filed 10/15/04                           $0.00                 $0.00                 $25.00
 070            PO BOX 8914                            Reclassified and allowed per Order dated 05/03/2011 (Dkt #4110)
 7100-00        MADISON, WI 53708

 000579-B       TORRES, ALICIA                        Unsecured          Filed 10/15/04                             $0.00              $468.58                   $0.00
 070            107 PAULISON AVENUE                    Reclassified per Order dated 1/12/10 (Docket No. 3720)
 7100-00        PASSAIC, NJ 07055

 000580-A       CARTER, TONY                          Unsecured         Filed 10/18/04                              $0.00              $320.00                   $0.00
 070            914 ARMSTRONG BLVD. NORTH              Disallowed Per Order Dated 12/2/08 (Dkt # 2598) (ac)
 7100-00        APT 2
                ST JAMES, MN 56081

 000581         MANCIAS, ROBERTO C.                   Unsecured          Filed 10/14/04                             $0.00                $0.00                   $0.00
 070            7021 AVENUE E
 7100-00        HOUSTON, TX 77011

 000583         GODISH, PETER                         Unsecured          Filed 10/15/04                             $0.00                $0.00                   $0.00
 070            430 ORCHARD STREET                     Disallowed per order 11-12-08
 7100-00        SCRANTON, PA 18505




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000584         AVILA, JOSE A                         Unsecured          Filed 10/15/04                            $0.00             $356.21               $356.21
 070            716 NORTH 12TH STREET
 7100-00        READING, PA 19604

 000586-A       CORTEZ, JESUS                         Unsecured          Filed 10/19/04                            $0.00             $283.40                  $0.00
 070            145 BERGOLD ST                         Reclassified Per Order Dated 11/18/08 (Docket #2415)
 7100-00        BRENTWOOD, NY 11717

 000587         BROWN, SHARON                         Unsecured          Filed 10/19/04                            $0.00               $0.00                  $0.00
 070            592 WALNUT STREET
 7100-00        ELIZABETH, NJ 07201

 000588         HERNANDEZ, ABIUD                      Unsecured          Filed 10/19/04                            $0.00             $427.73               $427.73
 070            3134 W. 145TH STREET
 7100-00        APARTMENT #6
                GARDENA, CA 90249

 000589         HERNANDEZ, BERENICE                   Unsecured          Filed 10/19/04                            $0.00             $135.00               $135.00
 070            3134 W. 145TH STREET
 7100-00        APARTMENT #6
                GARDENA, CA 90249

 000590         RAMOS, MARIA DE SAL                   Unsecured          Filed 10/19/04                            $0.00         $100,000.00            $100,000.00
 070            4065 W. 104TH ST.                      Duplicated by Claim #709
 7100-00        INGLEWOOD, CA 90304

 000591-B       MARTINEZ, ALAN MARCOS                 Unsecured          Filed 10/14/04                            $0.00               $0.00               $950.88
 070            67 REVERE AVE                          Reclassified Per Order Dated 12/22/08 (Docket # 2733)(ac)
 7100-00        UNION, NJ 07083

 000592-B       KAUFMANN, JOSEPH                      Unsecured          Filed 10/15/04                            $0.00               $0.00               $421.08
 070            51 SIMONSON AVENUE                     Reclassified Per Order Dated 12/2/08 (Docket #2599)
 7100-00        STATEN ISLAND, NY 10303

 000595         VELASQUEZ, EUCARIO                    Unsecured          Filed 10/19/04                            $0.00             $573.25                  $0.00
 070            4200 SUNNYVIEW RD                      Disallowed per order 9-16-08 (ac)
 7100-00        NE APT 224
                SALEM, OR 97305

 000599-B       TORRES-MARTINEZ, LUIS                 Unsecured         Filed 10/19/04                             $0.00             $589.82                  $0.00
 070            25 GARDEN COURT APT 4                  Disallowed per Order Dated 10/27/08 (Docket #2207)
 7100-00        LANCASTER, PA 17602

 000603-B       BONE, STEPHEN A.                      Unsecured         Filed 10/14/04                             $0.00             $114.05                  $0.00
 070            1729 SW 45TH STREET                    Disallowed per Order dated 1/12/10 (Docket No.3714)
 7100-00        CAPE CORAL, FL 33914

 000604         ADVANCED PT REHAB INC                 Unsecured          Filed 10/14/04                            $0.00           $8,835.00              $8,835.00
 070            2337 SOUTH US HWY 1
 7100-00        FORT PIERCE, FL 34982

 000605-A       AGRAWAL, JYOTI KUMAR                  Unsecured          Filed 10/14/04                            $0.00           $4,762.00                  $0.00
 070            63 BULGER AVENUE                       Reclassified Per Order Dated 8/26/08 (Docket #1652)
 7100-00        NEW MILFORD, NJ 07646




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                                                                  ANALYSIS OF CLAIMS REGISTER

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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled                 Claimed             Allowed
 000607-B       INDIANA DEPT OF REVENUE               Unsecured        Filed 10/12/04                             $0.00               $743.18                  $0.00
 070            BANKRUPTCY SECTION, ROOM               Expunged per Order dated 4/12/2011 (Dkt #4050)
 7100-00        N-203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 000609         ARTEAGA, LUIS                         Unsecured          Filed 10/15/04                           $0.00               $468.04               $468.04
 070            3767 1/2 MAPLE AVE.
 7100-00        LOS ANGELES, CA 90011

 000611         BOGUE, ROGER A.                       Unsecured          Filed 10/14/04                           $0.00                 $0.00                  $0.00
 070            735 N. CASWELL
 7100-00        POMONA, CA 91767

 000612         HERIBERTO AVILA                       Unsecured        Filed 10/21/04                             $0.00            $15,655.13            $15,655.13
 070            C/O DON HARVEY ESQ                     Amends Claim#13
 7100-00        253 N. ORLANDO AVE.
                STE 204
                MAITLAND, FL 32751

 000613-A       BLANDINO, MARCOS                      Unsecured         Filed 10/21/04                            $0.00             $1,937.00               $774.50
 070            PO BOX 1260                            Reduced and Reclassified Per Order Dated 9/23/08 (Dkt # 1879) (ca)
 7100-00        PATERSON, NJ 07509

 000614         IDENTIFICATION DATA IMAGING Unsecured                    Filed 10/21/04                           $0.00               $784.50               $784.50
 070            LLC
 7100-00        26 HARBOR PARK DRIVE
                PORT WASHINGTON, NY 11050

 000615         THE KANKAKEE DAILY JOURNAL Unsecured                     Filed 10/20/04                           $0.00               $452.92               $452.92
 070            ATTN: CREDITORS COLLECTION
 7100-00        BUREAU
                P O BOX 63
                KANKAKEE, IL 60901

 000616         WASTE MANAGEMENT- RMC                 Unsecured          Filed 10/20/04                           $0.00               $138.73               $138.73
 070            2421 W PEORIA AVE STE 110
 7100-00        PHOENIX, AZ 85029

 000617         CONSUMERS ENERGY COMPANY Unsecured                       Filed 10/12/04                           $0.00               $355.52               $355.52
 070            ATTN: MICHAEL G WILSON
 7100-00        (P33263)
                ONE ENERGY PLAZA
                JACKSON, MI 49201

 000618         OAKS, ANDREW                          Unsecured          Filed 10/20/04                           $0.00            $35,000.00            $35,000.00
 070            170 JEFFERSON AVE. EAST
 7100-00        ORANGE PARK, FL 32065

 000619-A       ARVAY, MERRIT                         Unsecured          Filed 10/21/04                           $0.00             $3,762.75             $1,000.00
 070            65-12 FLEET ST                         Reclassified Per Order Dated 8/18/08 ( Dkt # 1578) (ca)
 7100-00        FOREST HILLS, NY 11375




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000620-A       RIVERA, WILFREDO                      Unsecured          Filed 10/21/04                            $0.00             $267.82                  $0.00
 070            531 DAUPHIN STREET                     Reclassified Per Order Dated 4/22/09 (Docket #3186)
 7100-00        LANCASTER, PA 17602

 000621         MONTES, LETICIA                       Unsecured          Filed 10/20/04                            $0.00             $239.92               $239.92
 070            8006 CROCKET BLVD
 7100-00        LOS ANGELES, CA 90001

 000622-A       SANTOS, ANTONIO                       Unsecured         Filed 10/20/04                             $0.00           $6,352.36                  $0.00
 070            14 BRISTOL COOURT                      Disallowed per Order Dated 12/2/08 (Docket #2602)
 7100-00        LIVINGSTON, NJ 07039

 000624         NEIRA, LUZ ESTELLA                    Unsecured          Filed 10/18/04                            $0.00             $350.00               $350.00
 070            36 ELLIOT STREET
 7100-00        DOVER, NJ 07801

 000625-B       CORTEZ, TAYDE                         Unsecured          Filed 10/21/04                            $0.00             $204.38                  $0.00
 070            50 VAN WINKLE AVENUE                   Reclassified Per Order Dated 11/18/08 (Dkt # 2414 )
 7100-00        APARTMENT #3
                PASSAIC, NJ 07055

 000626-A       POLANCO-VALDEZ, ELSA                  Unsecured          Filed 10/21/04                            $0.00              $41.20               $164.80
 070            1700 NEW YORK AVENUE                   Reclassifed per Order Dated 9/9/08 (Docket #1705)
 7100-00        APARTMENT 1
                UNION CITY, NJ 07087

 000628         BERG, VALJEAN                         Unsecured          Filed 10/14/04                            $0.00               $0.00                  $0.00
 070            1709 HAMILTON ST SW                    Disallowed per order 9-9-08
 7100-00        CEDAR RAPIDS, IA 52404

 000629         DIAZ, JOSE A                          Unsecured         Filed 10/14/04                             $0.00             $383.33                  $0.00
 070            1025 SOUTH RESERVOIR ST                Disallowed Per Order Dated 4/27/09 (Docket #3243)
 7100-00        POMONA, CA 91766

 000630         SCHULTZ FLORAL SHOP                   Unsecured          Filed 10/15/04                            $0.00             $100.00               $100.00
 070            2204 N CALUMET
 7100-00        VALPARAISO, IN 46383

 000631         LWB ENT INC / DBA POSTAL              Unsecured          Filed 10/15/04                            $0.00             $337.56               $337.56
 070            EMPORIUM
 7100-00        209 S BROADWAY
                BALTIMORE, MD 21231

 000632-A       MORGAN, DENNIS A                      Unsecured         Filed 10/15/04                             $0.00             $656.10                  $0.00
 070            3A FOAL COURT                          Disallowed Per Order dated 4/21/09 (Docket #3170)
 7100-00        LANCASTER, PA 17602

 000633         HOWARD SCHEINER PA                    Unsecured          Filed 10/15/04                            $0.00           $1,625.00             $1,625.00
 070            PMB 109
 7100-00        6671 W INDIANTOWN RD
                JUPITER, FL 33458

 000634         CW SHULTZ SON INC                     Unsecured          Filed 10/15/04                            $0.00             $357.71               $357.71
 070            PO BOX 231
 7100-00        WILKES-BARRE, PA 18703




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 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled               Claimed             Allowed
 000635         SAN JOSE CHIROPRACTIC                 Unsecured          Filed 10/18/04                         $0.00           $5,955.14              $5,955.14
 070            3880 S BASCOM AVENUE
 7100-00        SAN JOSE, CA 95124

 000636         MARTELL RODRIGUEA                     Unsecured          Filed 10/18/04                         $0.00               $0.00                  $0.00
 070            C/O 16250 VENTURA BLVD
 7100-00        STE 230
                ENCINO, CA 91436

 000637         EVANS, MITTIE                         Unsecured          Filed 10/18/04                         $0.00               $0.00                  $0.00
 070            3724 WICHITA WAY                       Disallowed per order 10-27-09
 7100-00        MODESTO, CA 95350

 000638         GONZALES, ALICIA                      Unsecured          Filed 10/18/04                         $0.00               $0.00                  $0.00
 070            PO BOX 44225
 7100-00        LOS ANGELES, CA 90044

 000639         MARTELL RODRIGUEZ                     Unsecured          Filed 10/18/04                         $0.00               $0.00                  $0.00
 070            C/O 16250 VENTURA BLVD
 7100-00        STE 230
                ENCINO, CA 91436

 000640         MARTELL RODRIGUEZ                     Unsecured          Filed 10/18/04                         $0.00               $0.00                  $0.00
 070            C/O 17250 VENTURA BLVD
 7100-00        STE 230
                ENCINO, CA 91436

 000641         MARTELL RODRIGUEZ                     Unsecured          Filed 10/19/04                         $0.00               $0.00                  $0.00
 070            C/O 16250 VENTURA BLVD
 7100-00        STE 230
                ENCINO, CA 91436

 000642         MARTELL RODRIGUEZ                     Unsecured          Filed 10/19/04                         $0.00               $0.00                  $0.00
 070            C/O 16250 VENTURA BLVD
 7100-00        STE 230
                ENCINO, CA 91436

 000643         GARCIA, TELMO                         Unsecured          Filed 10/19/04                         $0.00         $570,000.00            $570,000.00
 070            12107 EMBER LAKE RD
 7100-00        HOUSTON, TX 77066

 000644         BROWN, MICHAEL G.                     Unsecured          Filed 10/18/04                         $0.00               $0.00                  $0.00
 070            17424 MANOR LAND
 7100-00        FOUNTAIN, FL 32438

 000645-B       SMITH, TYRONE                         Unsecured          Filed 10/19/04                         $0.00               $0.00               $350.00
 070            1209 NW 63 ST                          Reclassified Per Order Dated 12/22/08 (Docket #2768)
 7100-00        MIAMI ,FL 33147

 000647         STAR FRAMING INC.                     Unsecured          Filed 10/19/04                         $0.00               $0.00                  $0.00
 070            RE: JORGE GUERRERO
 7100-00        POST OFFICE BOX 626
                BIG BEAR CITY, CA 92314




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 Code #           Creditor Name & Address               Claim Class     Notes                   Scheduled               Claimed             Allowed
 000648         BALDEMAR PEREZ                        Unsecured          Filed 10/19/04               $0.00               $0.00                  $0.00
 070            STAR FRAMING INC
 7100-00        PO BOX 626
                BIG BEAR CITY, CA 92314

 000649         JUAN R GARCIA                         Unsecured          Filed 10/19/04               $0.00               $0.00                  $0.00
 070            STAR FRAMING INC
 7100-00        PO BOX 626
                BIG BEAR CITY, CA 92314

 000650         DELFINO HERNANDEZ                     Unsecured          Filed 10/19/04               $0.00               $0.00                  $0.00
 070            STAR FRAMING INC.
 7100-00        PO BOX 626
                BIG BEAR CITY, CA 92314

 000651         GUADALUPE JACINTO CID                 Unsecured          Filed 10/19/04               $0.00               $0.00                  $0.00
 070            STAR FRAMING INC
 7100-00        PO BOX 626
                BIG BEAR CITY, CA 92314

 000652         DSATHIS WEEK                          Unsecured          Filed 10/19/04               $0.00             $387.60               $387.60
 070            600 MILLER STREET
 7100-00        HICKSVILLE, NY 11801

 000654         JOSEPH TOLER                          Unsecured          Filed 10/19/04               $0.00               $0.00                  $0.00
 070            C/O SANDRA L MCAULEY ESQ               Disallowed per order 10-27-08
 7100-00        FINDLER & FINDLER PA
                3 HARVARD CIRCLE, STE 100
                WEST PALM BEACH, FL 33409

 000655         BELLSOUTH                             Unsecured          Filed 10/19/04               $0.00           $7,641.03             $7,641.03
 070            TELECOMMUNICATIONS INC
 7100-00        REGIONAL BANKRUPTCY
                CENTER
                29EF1-301 W BAY ST
                JACKSONVILLE, FL 32202

 000657         SANTOS, HENRIGUE                      Unsecured          Filed 10/19/04               $0.00             $871.00               $871.00
 070            1401 TOWNHOUSE BLVD
 7100-00        SCRANTON, PA 18508

 000658         CA UNINSURED EMPLOYERS       Unsecured       Filed 10/19/04                           $0.00       $7,480,000.00                  $0.00
 070            BENEFITS TR FUND              Amended by #1393 (See 17, 25, 34, 482, 491)
 7100-00        OFFICE OF THE DIRECTOR-LEGAL
                UNIT
                ATTN: BANKRUPTCY UNIT
                320 WEST FOURTH ST STE 600
                LOS ANGELES, CA 90013

 000659         RAMOS, MIRIAM                         Unsecured          Filed 10/19/04               $0.00             $246.15               $246.15
 070            519 E. FAIRFIELD CT.
 7100-00        ONTARIO, CA 91761




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                  Claimed              Allowed
 000660-A       QUINTANA, MARICRUZ                    Unsecured         Filed 10/19/04                            $0.00              $500.00                   $0.00
 070            813 EAST ELM STREET                    Reduced and Reclassified Per Order Dated 9/9/08 ( Dkt # 1712)
 7100-00        COMPTON, CA 90221

 000661         OSORIO RAMOS, IRINEO ANGEL            Unsecured          Filed 10/19/04                          $0.00                 $0.00                   $0.00
 070            3362 COMER AVE
 7100-00        RIVERSIDE, CA 92507

 000664         NOVATIME TECHNOLOGY INC     Unsecured                    Filed 10/19/04                          $0.00            $30,346.20             $30,346.20
 070            1255 CORPORATE CENTER DRIVE
 7100-00        307
                MONTEREY PARK, CA 91754

 000665         THE COMMERCIAL APPEAL                 Unsecured          Filed 10/19/04                          $0.00               $812.08                $812.08
 070            PO BOX 1729
 7100-00        ATTN: DEBBIE WRIGHT
                495 UNION
                MEMPHIS, TN 38101

 000666-A       INDIANA DEPT OF STATE                 Unsecured         Filed 10/12/04                           $0.00              $176.25                    $0.00
 070            REVENUE                                Administrative Expense Claim; Expunged per Order dated 4/12/2011 (Dkt #4050)
 7100-00        ATTN: CAROL LUSHELL
                BANKRUPTCY SECTION
                100 N SENATE AVE RM N203
                INDIANAPOLIS, IN 46204

 000667-B       INDIANA DEPT OF STATE                 Unsecured         Filed 10/12/04                           $0.00              $176.25                    $0.00
 070            REVENUE                                Administrative Expense Claim; Expunged per Order dated 4/12/2011 (Dkt #4050)
 7100-00        ATTN: CAROL LUSHELL
                BANKRUPTCY SECTION
                100 N SENATE AVE RM N203
                INDIANAPOLIS, IN 46204

 000668-A       TAX ADMINISTRATOR - DIV OF            Unsecured         Filed 10/14/04                           $0.00                $546.63               $546.63
 070            INCOME TAX                             Allowed 4/12/11 (Dkt 4048); Order Vacated 4/14/11 (Dkt 4062); Reclass. & allowed
 7100-00        50 W GAY ST 4TH FL                     5/23/11 (Dkt 4141)
                COLUMBUS, OH 43215

 000670         CALDERON, CARLOS                      Unsecured          Filed 10/14/04                          $0.00                 $0.00                   $0.00
 070            57 SANDFORD AVE                        Disallowed per order 11/9/09
 7100-00        PLAINFIELD, NJ 07060

 000671         RODRIGUEZ, CLAUDIA                    Unsecured          Filed 10/14/04                          $0.00             $1,086.00              $1,086.00
 070            24851 WALNUT STREET
 7100-00        #106
                NEWHALL, CA 91321

 000672-C       SUAREZ, FELIX                         Unsecured          Filed 10/14/04                          $0.00                 $0.00                $840.00
 070            609 LIBERTY AVENUE                     Reclassified per Order Dated 11/18/08 (Docket #2412)
 7100-00        APT #1
                NORTH BERGEN, NJ 07047

 000673-C       PATINO, EFREN                         Unsecured         Filed 10/14/04                           $0.00               $810.00                   $0.00
 070            4 WESTERN AVE.                         Disallowed per Order Dated 10/21/08 (Docket #2094) (ac)
 7100-00        APT. 5
                HIGHTSTOWN, NJ 08520


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 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                Claimed             Allowed
 000674         OLUTOLA, ADEBOLA                      Unsecured          Filed 10/14/04                          $0.00               $0.00                  $0.00
 070            75 LENOX AVE.                          Disallowed per order 4-7-09 (ac)
 7100-00        EAST ORANGE, NJ 07018

 000675         ALONZO, ERNESTO                       Unsecured          Filed 10/14/04                          $0.00              $89.24                $89.24
 070            4270 51ST ST.
 7100-00        SAN DIEGO, CA 92115

 000676         ALONZO, ERNESTO                       Unsecured          Filed 10/04/04                          $0.00              $89.24                $89.24
 070            4270 51ST ST.
 7100-00        SAN DIEGO, CA 92115

 000677         ROMO, WILLIAM E                       Unsecured          Filed 10/14/04                          $0.00               $0.00                  $0.00
 070            3010 MONTEREY HIGHWAY                  Disallowed per oder 12-7-09 (ac)
 7100-00        SPC 33
                SAN JOSE, CA 95111-3214

 000678         SOOKDEO, CHANDRADEO                   Unsecured          Filed 10/14/04                          $0.00               $0.00                  $0.00
 070            385 OAKLAND AVENUE
 7100-00        CENTRAL ISLIP, NY 11722

 000679         DUKES, MARY                           Unsecured          Filed 10/15/04                          $0.00               $0.00                  $0.00
 070            6848 TITIAN DRIVE                      Disallowed per order 11-9-09
 7100-00        APARTMENT #18
                BATON ROUGE, LA 70806

 000680         ROBERTS, MELLIE                       Unsecured          Filed 10/15/04                          $0.00               $0.00                  $0.00
 070            4141 DEEP CREEK ROAD                   Disallowed per order 12-9-08
 7100-00        FREMONT, CA 94555

 000681         LASTER, DENNIS                        Unsecured          Filed 10/15/04                          $0.00               $0.00                  $0.00
 070            631 E. HICKORY                         Disallowed per order 11-9-09
 7100-00        KANKAKEE, IL 60901

 000682-B       HURTADO, PEDRO                        Unsecured          Filed 10/15/04                          $0.00               $0.00             $1,600.00
 070            PO BOX 1002                            Reclassified Per Order Dated 12/22/08 (Docket #2752)
 7100-00        HOLBROOK, NY 11741

 000683         SISTOSO, GEORGE                       Unsecured          Filed 10/19/04                          $0.00               $0.00                  $0.00
 070            3860 SPRINGFIELD CMN                   Disallowed per order 9-16-08
 7100-00        FREMONT, CA 95121

 000684         CHICO, AMANDA                         Unsecured          Filed 10/19/04                          $0.00               $0.00                  $0.00
 070            51 MIDLAND                             Disallowed per order 11-9-09
 7100-00        MUNDELEIN, IL 60060

 000685         JONES, SHANQUWIL                      Unsecured          Filed 10/19/04                          $0.00               $0.00                  $0.00
 070            19 ELMWOOD DR.                         Disallowed per order 8-18-08
 7100-00        KANKAKEE, IL 60901

 000686-C       IRBY, CLEOPHAS                        Unsecured         Filed 10/19/04                           $0.00           $2,300.00                  $0.00
 070            3566 ROYAL ARMS DRIVE                  Disallowed per Order Dated 10/21/08 (Docket #2097) (ac)
 7100-00        MEMPHIS, TN 38115




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled               Claimed             Allowed
 000687         IRBY, CLEOPHAS                        Unsecured          Filed 10/12/04                         $0.00           $2,300.00             $2,300.00
 070            5485 APPLE BLOSSM
 7100-00        MEMPHIS, TN 38115

 000688         ANGELIS, JAMIE N.                     Unsecured          Filed 10/19/04                         $0.00               $0.00                  $0.00
 070            5732 NW 47TH COURT                     Disallowed per order 11-9-09
 7100-00        CORAL SPRINGS, FL 33067

 000689-B       MANNING, HUBERT                       Unsecured          Filed 10/21/04                         $0.00               $0.00             $3,980.00
 070            4628 EAGLEWAY                          Reclassified Per Order Dated 12/22/08 (Docket #2761)
 7100-00        CRESTVIEW, FL 32539

 000691         AMADOU, MASSAOUDU                     Unsecured         Filed 10/20/04                          $0.00           $3,300.00                  $0.00
 070            206 SOULLI 13TH ST                     Disallowed Per Order Dated 9/23/08 (Dkt # 1877)
 7100-00        1ST FL REAR SIDE
                HARRISBURG, PA 17104

 000692         BENNETT, JAMES                        Unsecured          Filed 10/20/04                         $0.00               $0.00                  $0.00
 070            114 BELLES CHASE CT
 7100-00        ST AUGUSTINE, FL 32086

 000693-A       AHERN, DANIEL                         Unsecured         Filed 10/21/04                          $0.00           $1,288.00                  $0.00
 070            425 AVENUE A                           Allowed per Order dated 9/11/2008 (Dkt #1723)
 7100-00        BAYONNE, NJ 07002

 000694         GOLEY, SHAMICA                        Unsecured          Filed 10/20/04                         $0.00               $0.00                  $0.00
 070            26110 W 12 MILE RD                     Disallowed per order 3-30-09
 7100-00        APT 250
                SOUTHFIELD, MI 48034

 000695         BALDEZ, ISABELA                       Unsecured          Filed 09/14/04                         $0.00              $70.00                $70.00
 070            414 N COLLINGTON ST
 7100-00        BALTIMORE, MD 21231

 000696         BALDEZ, ISABELA                       Unsecured          Filed 10/25/04                         $0.00              $70.00                $70.00
 070            414 N COLLINGTON ST
 7100-00        BALTIMORE, MD 21231

 000697         BALDEZ, ISABELA                       Unsecured          Filed 10/22/04                         $0.00               $0.00                  $0.00
 070            414 N COLLINGTON ST
 7100-00        BALTIMORE, MD 21231

 000698         BALDEZ, ISABELA                       Unsecured          Filed 10/22/04                         $0.00               $0.00                  $0.00
 070            414 N COLLINGTON ST
 7100-00        BALTIMORE, MD 21231

 000699-A       TAX COMMISSIONER - STATE OF Unsecured         Filed 10/19/04                          $0.00            $12,000.00                     $8,000.00
 070            OHIO                         Reduced & Reclass 4/12/11;(Dkt 4048);Vacated 4/14/11(Dkt 4062);Reduced & Reclass
 7100-00        30 E BROAD ST                5/23/11 (Dkt 4141)
                COLUMBUS, OH 43215

 000700         ARRIAGA, FERNANDO                     Unsecured          Filed 10/12/04                         $0.00             $282.59               $282.59
 070            32 LETTUCE STREET
 7100-00        HEBER, CA 92249




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000701         Southern California Edison Co.        Unsecured          Filed 10/25/04                            $0.00           $1,539.01              $1,539.01
 070            Attn: Credit & Payment Svcs.           (197-1) Claim sent to claims agent
 7100-00        2131 Walnut Grove Ave.
                Rosemead, CA 91770

 000702         Elizabethtown Gas Co, div of NUI      Unsecured          Filed 10/21/04                            $0.00             $449.22               $449.22
 070            Corp                                   (198-1) Claim sent to claims agent
 7100-00        PO Box 3175
                One Elizabethtown Plaza
                Union NJ 07083-1975

 000704-C       NYS DEPT OF TAXATION &                Unsecured        Filed 10/25/04                          $0.00           $43,345.36                     $0.00
 070            FINANCE                                Amended by Claim #2387; Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 5300
                ALBANY, NY 12205

 000707         GLASS, JOHN                           Unsecured          Filed 10/05/04                            $0.00           $1,162.00              $1,162.00
 070            411 LIBERTY STREET
 7100-00        AURORA, IL 60505

 000708         PUBLIC SERVICE CO OF                  Unsecured          Filed 10/25/04                            $0.00             $271.34               $271.34
 070            COLORADO
 7100-00        ATTN DENNIS A SCHIPPER
                550 15 ST
                DENVER, CO 80202

 000709         RAMOS MARIA DE SAL                    Unsecured          Filed 10/22/04                            $0.00         $100,000.00            $100,000.00
 070            4065 W 104TH ST                        Duplicates Claim #590
 7100-00        INGLEWOOD, CA 90304

 000710-B       CASTILLO, FRANSISCO E.                Unsecured          Filed 10/22/04                            $0.00               $0.00              $2,123.00
 070            229 EAST 24TH STREET                   Reclassified per Order Dated 9/16/08 (Docket #1803)
 7100-00        PATERSON, NJ 07514

 000711         GARCIA, JESUS-MARTIN                  Unsecured          Filed 10/22/04                            $0.00         $250,000.00            $250,000.00
 070            11569 CRANSTON AVE
 7100-00        LAKE VIEW TERR, CA 91342

 000713         SUNSHINE AIR AND ARC INC              Unsecured          Filed 10/22/04                            $0.00               $0.00                  $0.00
 070            PO BOX 245174
 7100-00        PEMBROKE PINES, FL 33024

 000714         RAMIREZ, ARMANDO                      Unsecured          Filed 06/14/04                            $0.00             $840.00               $840.00
 070            2034 E. LINCOLN AVE.                   (124-1) Claim sent to claims agent
 7100-00        ANAHEIM, CA 92806

 000715         RHOADES, BRENDA                       Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            16234 W RANCHO VIEJO COURT             Disallowed per order 11-25-08
 7100-00        TRACY, CA 95304

 000716         STAFFCO INC                           Unsecured          Filed 10/25/04                            $0.00          $37,462.44             $37,462.44
 070            ATTN JACK CURTIS ESQ
 7100-00        1370 ONTARIO ST STE 520
                CLEVELAND, OH 44113




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                Claimed             Allowed
 000717-A       BRUCE TANSEY                          Unsecured         Filed 10/25/04                            $0.00           $3,124.71                  $0.00
 070            BRUCE TANSEY CUSTOM                    Disallowed per Order Dated 2/9/10 (Docket #3739) (ac)
 7100-00        CARPENTRY                              Amended by Claim #1400
                1635 AVION PLACE
                NAPLES, FL 34104

 000718         SOUTHERN CALIFORNIA GAS CO Unsecured                     Filed 10/25/04                           $0.00             $171.50               $171.50
 070            ATTN: CREDIT & REVENUE
 7100-00        COLLECTIONS
                THE GAS CO
                P O BOX 30337
                LOS ANAGELES, CA 90030

 000719-A       DEPT. OF LABOR & INDUSTRIAL           Unsecured        Filed 10/25/04                          $0.00                 $60.73                  $0.00
 070            RELATIONS                              Expunged per Order dated 05/24/2011 (Dkt 4138) Amended by Claim #1773
 7100-00        PO BOX 700
                HONOLULU, HI 96809

 000720         ELDER CRUZ                 Unsecured                     Filed 10/25/04                           $0.00               $0.00                  $0.00
 070            ATTORNEY JONATHAN A KELLER
 7100-00        1011 SOUTH FEDERAL H
                HOLLYWOOD, FL 33020

 000721         JORDAN RICHARD S                      Unsecured        Filed 10/26/04                             $0.00               $0.00                  $0.00
 070            5303 GROVE HILL RD                     Amended by Claim #1973
 7100-00        TAMPA, FL 33617

 000722-B       GINZBURG, DASHA                       Unsecured         Filed 10/26/04                            $0.00           $3,328.00                  $0.00
 070            4525 HENRY HUDSON PKWY                 Reduced and Reclassified Per Order dated 4/21/09 (Docket #3165)
 7100-00        APT 612
                RIVERDALE, NY 10471

 000723         CANALAS, HENRY J.                     Unsecured          Filed 10/26/04                           $0.00               $0.00                  $0.00
 070            15165 WASHINGTON DRIVE
 7100-00        FONTANA, CA 92335

 000725         CT CORPORATION SYSTEM                 Unsecured          Filed 10/22/04                           $0.00           $9,361.25             $9,361.25
 070            PO BOX 4349
 7100-00        CAROL STREAM, IL 60197

 000726         SMITH, RUSSELL                        Unsecured          Filed 10/22/04                           $0.00               $0.00                  $0.00
 070            3105 JACKSON PL                        Disallowed per order 11-9-09
 7100-00        ANTIOCH, CA 94509

 000727         LABWORKS OCCUPATIONAL                 Unsecured          Filed 10/22/04                           $0.00             $357.00               $357.00
 070            11105 MAIN STREET NE
 7100-00        AURORA, CO 97002

 000728-A       HUTCHINSON, ALBERT                    Unsecured          Filed 10/22/04                           $0.00             $231.00               $231.00
 070            3944 UNIVERSITY ST.                    Reclassified per Order Dated 9/23/08 (Docket #1567) (ac)
 7100-00        MEMPHIS, TN 38127

 000729-B       PURISCH JONAS                         Unsecured         Filed 10/25/04                            $0.00           $2,800.00                  $0.00
 070            8415 BELLONA LN APT 913                Disallowed Per Order Dated 9/9/08 (Docket #1713)
 7100-00        BALTIMORE, MD 21204




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 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 000730         CORTEZ, BEATRIZ                       Unsecured         Filed 10/25/04                            $0.00             $149.35                  $0.00
 070            50 VAN WINKLE AVENUE                   Disallowed per Order Dated 10/21/08 (Docket #2093)
 7100-00        APARTMENT #3
                PASSAIC, NJ 07055

 000733         BONATO, LUZIA                         Unsecured          Filed 10/25/04                           $0.00             $332.12               $332.12
 070            1056 PEAR ST #6-A
 7100-00        SCRANTON, PA 18505

 000734-A       ABULL HAY MARIA                       Unsecured          Filed 10/25/04                           $0.00             $361.04               $612.26
 070            504 N QUEEN ST                         Reclassified Per Order Dated 9/23/08 (Dkt # 1878)
 7100-00        APT 2
                LANCASTER, PA 17603

 000736         CAPETILLO, VICTOR                     Unsecured          Filed 10/25/04                           $0.00               $0.00                  $0.00
 070            543 COLONIA DE LOS CEDRO
 7100-00        BLDG 65
                LOS ANGELES, CA 90022

 000737         KB TOYS                               Unsecured          Filed 10/25/04                           $0.00               $0.00                  $0.00
 070            100 WEST ST
 7100-00        ATTN: ACCT PAYABLE
                PITTSFIELD, MA 01201

 000738-B       WORKERS COMPENSATION                  Unsecured        Filed 10/25/04                             $0.00             $150.00                  $0.00
 070            COMMISSION                             Expunged per Order dated 03/28/2011 (Dkt #4000)
 7100-00        ATTN: MARYE L WRIGHT
                WCC LEGAL SERVICES DIV
                P O BOX 2027
                CHARLESTON, WV 25327

 000739         HUDSON, JAMES K                       Unsecured          Filed 10/25/04                           $0.00               $0.00                  $0.00
 070            36024 GODDARD RD                       Disallowed per order 4/22/09 and 12/17/09 (ac)
 7100-00        ROMULUS, MI 48174

 000740         CLARK, JOHN M                         Unsecured          Filed 10/25/04                           $0.00          $85,000.00            $85,000.00
 070            6840 BEAR AVE APT                      (ac)
 7100-00        BELL, CA 90201

 000742-A       JOHNS, JONATHAN                       Unsecured          Filed 10/25/04                           $0.00           $1,570.00                  $0.00
 070            4657 FILLMORE AVENUE                   Reclassified Per Order Dated 11/18/08 (Docket #2425)
 7100-00        MILVILLE, NJ 08332

 000743         SBC COMMUNICATIONS INC                Unsecured          Filed 10/25/04                           $0.00           $2,705.44             $2,705.44
 070            SBC MIDWEST
 7100-00        P O BOX 981268
                WEST SACRAMENTO, CA 95798

 000744-B       VERMONT DEPT OF TAXES                 Unsecured        Filed 10/25/04                           $0.00                 $0.00                  $3.42
 070            PO BOX 429                             Reduced & Allowed per Order dated 06/29/2011 (Dkt #4170)
 7100-00        MONTPELIER, VT 05601

 000746         GOMEZ, MARIA DEL C.                   Unsecured          Filed 10/25/04                           $0.00             $606.61               $606.61
 070            2705 FIGUEROA AVE.
 7100-00        SAN DIEGO, CA 92119




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                   Claimed              Allowed
 000747-B       GENERAL ELECTRIC CAPITAL              Unsecured          Filed 10/25/04                            $0.00                  $0.00               $577.16
 070            CORP                                   Duplicates Claim #483. Reclassified per Order dated 04/19/2011 (Dkt #4070)
 7100-00        1010 THOMAS EDISON BLVD SW
                CEDAR RAPIDS, IA 52404

 000749-B       GENERAL ELECTRIC CAPITAL              Unsecured          Filed 10/25/04                            $0.00                $0.00               $1,731.48
 070            CORP                                   Administrative Claim. Reclassified per Order dated 04/19/2011 (Dkt #4070) Amends
 7100-00        1010 THOMAS EDISON BLVD SW             Claim #484
                CEDAR RAPIDS, IA 52404

 000753         BLANCHARD, RUSSELL S                  Unsecured          Filed 10/25/04                            $0.00                  $0.00                  $0.00
 070            PO BOX 401351                          Disallowed per order 3-4-09
 7100-00        HESPERIA, CA 92340

 000754         AMERISURE INSURANCE                   Unsecured          Filed 10/25/04                            $0.00                  $0.00                  $0.00
 070            ATTN: GREE MARGRE EWQ
 7100-00        1700 PALM BEACH LAKES BLVD
                STE 70
                WEST PALM BEACH, FL 33401

 000755-A       VARGAS, URSULA                        Unsecured          Filed 10/25/04                            $0.00              $2,067.73               $725.12
 070            150 WEST 176TH ST, APT 1               Reclassified Per Order Dated 12/31/08 (Docket #2814) (ac)
 7100-00        BRONX, NY 10453

 000756         GENERAL ELECTRIC CAPITAL              Unsecured        Filed 10/25/04                              $0.00            $104,698.31                  $0.00
 070            CORP                                   Expunged per Order dated 04/19/2011 (Dkt #4070)
 7100-00        1010 THOMAS EDISON BLVD SW
                CEDAR RAPIDS, IA 52404

 000757-A       WILLIAMS, DAMEON                      Unsecured        Filed 10/25/04                            $0.00                  $78.00                   $0.00
 070            2358 LAROSE                            Reduced & Reclassified per Order Dated 9/23/08 (Docket #1892)
 7100-00        MEMPHIS, TN 38114

 000758         LIVERNOIS, MARIANNE                   Unsecured          Filed 10/25/04                            $0.00                  $0.00                  $0.00
 070            408 LAKEHURST ROAD                     Disallowed per order 12-17-09
 7100-00        LAS VEGAS, NV 89145

 000759         MOTES CARR PA                         Unsecured          Filed 10/25/04                            $0.00             $22,191.62            $22,191.62
 070            9951 ATLANTIC BLVD
 7100-00        SUITE 414
                JACKSONVILLE, FL 32225

 000760         GENERAL ELECTRIC CAPITAL              Unsecured          Filed 10/25/04                            $0.00             $13,035.93            $13,035.93
 070            CORP
 7100-00        1010 THOMAS EDISON BLVD SW
                CEDAR RAPIDS, IA 52404

 000761         MORENO, JOSE LUIS                     Unsecured          Filed 10/25/04                            $0.00                  $0.00                  $0.00
 070            4348 W. 179TH ST,
 7100-00        TORRANCE, CA 90504

 000764         WILSON MONTERO JR                     Unsecured          Filed 10/26/04                            $0.00                  $0.00                  $0.00
 070            18 3RD ST                              Disallowed per order 12-31-08
 7100-00        SAYREVILLE, NJ 08872




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 000765         REVELES, IGNACIO                      Unsecured          Filed 10/25/04                            $0.00             $173.87               $173.87
 070            202 WOODLAWN
 7100-00        AURORA, IL 60505

 000766-A       LUSK, GLEN T.                         Unsecured         Filed 10/25/04                            $0.00            $2,600.00             $2,600.00
 070            4464 CASTLE HEIGHTS                    Reduced and Reclassified Per Order Dated 4/22/09 (Docket #3174)
 7100-00        MEMPHIS, TN 38141

 000768         LOPEZ, ENRIQUE                        Unsecured          Filed 10/25/04                            $0.00           $1,000.00             $1,000.00
 070            100 E 67TH WAY                         Reclassified Per Order Dated 12/22/08 (Docket #2738)
 7100-00        LONG BEACH, CA 90805

 000769-A       ZAYAS, ZULEIMA                        Unsecured         Filed 10/25/04                             $0.00             $261.00                  $0.00
 070            76 KENNEDY BLVD #76                    Disallowed Per Order Dated 5/20/09 ( Docket # 3263)
 7100-00        SCRANTON, PA 18504

 000770-C       ORR, PAUL                             Unsecured         Filed 10/25/04                             $0.00              $42.15                  $0.00
 070            302 10TH AVE                           Disallowed Per Order Dated 8/25/08 ( Dkt # 1629)
 7100-00        SCRANTON, PA 18504

 000771         CHILDERS, JOHNNY                      Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            5332 LAKE WORTON RD                    Disallowed per order 4-7-09 (ac)
 7100-00        WO. C2
                GREEN ACRES, FL 33463

 000772         CORREA, FRANK                         Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            7737 ULMERTON ROAD                     Disallowed per order 12-7-09
 7100-00        #101
                LARGO, FL 33771

 000773-A       PACHECO-SANCHEZ, MARCUS               Unsecured         Filed 10/25/04                           $0.00             $1,920.00                  $0.00
 070            1137 CAPOSE AVE                        Reduced and Reclassified Per Oder Dated 12/22/08 (Docket #2731) Amends Claim #527
 7100-00        SCRANTON, PA 18509                     (ac)


 000774-B       ARREDONDO, GUADALUPE                  Unsecured          Filed 10/25/04                            $0.00               $0.00               $138.53
 070            833 N. GLADSTONE AVE                   Reclassified per Order Dated 1/27/09 (Docket #2900) (ac)
 7100-00        APT 9
                AURORA, IL 60506

 000775         GELZIER, DWAYNE                       Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            400 RACE STREET                        Disallowed per order 11-6-09
 7100-00        CHARLESTOWN, SC 29403

 000776-C       AMADOR, EMMA                          Unsecured         Filed 10/25/04                            $0.00              $169.12                  $0.00
 070            328 DEL RIO WAY                        Reduced and Reclassified per Order Dated 10/7/08 (Docket #1989)
 7100-00        VISTA, CA 92083

 000777         AMADOR, EMMA                          Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            328 DEL RIOWAY
 7100-00        VISTA, CA 92083

 000778-A       BRACY, TIMONTHY                       Unsecured         Filed 10/25/04                            $0.00              $500.00               $568.00
 070            637 MAGONILA AVE                       Reduced and Reclassified per Order Dated 8/18/08 (Docket #1580)
 7100-00        ELIZABETH, NJ 07206




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 000779         EGGLESTON, DERRICK                    Unsecured          Filed 10/25/04                            $0.00             $250.00               $250.00
 070            2351 DOUGLAS AVENUE
 7100-00        MEMPHIS, TN 38114

 000780         TOLES, JERALD M.                      Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            4455 LAIRD                             Disallowed per order 3-10-09
 7100-00        MEMPHIS, TN 38141

 000781         ENTERPRISE INTERIORS INC              Unsecured          Filed 10/22/04                            $0.00               $0.00                  $0.00
 070            ATTN: MAURICE WAINER
 7100-00        SNIPPER WAINER & MARKOFF
                270 N CANON DR PENTHOUSE
                BEVERLY HILLS, CA 90210

 000782         CRISP, MARIE                          Unsecured          Filed 10/22/04                            $0.00               $0.00                  $0.00
 070            4064 E DWIGHT WAY #101
 7100-00        FRESNO, CA 93702

 000783         CRISP, MARIE                          Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            4064 E DWIGHT WAY #101
 7100-00        FRESNO, CA 93702

 000784-B       CRUZADO, HIPOLITO                     Unsecured          Filed 10/22/04                            $0.00               $0.00               $640.00
 070            138 PORT AVENUE                        Reclassified Per Order Dated 10/7/08 (Docket #1992)
 7100-00        ELIZABETH, NJ 07206

 000785-B       GATHRIGHT, JEREMAINE                  Unsecured          Filed 10/22/04                            $0.00             $500.00               $500.00
 070            4530 ERNIE DRIVE                       Reclassified Per Order Dated 10/7/08 (Docket#2003)
 7100-00        MEMPHIS, TN 38116

 000786-A       MAZZARELLA, LINDA                     Unsecured         Filed 10/25/04                             $0.00             $772.30                  $0.00
 070            649 BOW LINE DRIVE                     Disallowed per Order dated 1/12/10 (Docket No. 3722)
 7100-00        NAPLES, FL 34103

 000787-B       TIRADO, WILLIAM                       Unsecured         Filed 10/25/04                            $0.00            $1,500.00             $1,500.00
 070            CARR 341                               Reduced and Reclassified Per Order Dated 8/26/08 (Dkt # 1658)
 7100-00        BUZON 6072
                BARRIO MANI MAYAGUEZ, PR
                00680

 000788         TIRADO, WILLIAM                       Unsecured          Filed 10/19/04                            $0.00               $0.00                  $0.00
 070            CARR 341
 7100-00        BUZON 6072
                BARRIO MANI MAYAGUEZ, PR
                00680

 000789-A       ABULL HAY, MARIA                      Unsecured         Filed 10/25/04                             $0.00             $361.04                  $0.00
 070            504 NORTH QUEEN STREET                 Disallowed Per Order Dated 9/23/08 (Dkt # 1878)
 7100-00        APARTMENT 1
                LANCASTER, PA 17603

 000790         MAGERA, JAMES                         Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            315 LONGNECK STREET
 7100-00        BUFFALO, NY 14206




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                Claimed             Allowed
 000794         ROBERTS, ANDREW                       Unsecured          Filed 10/25/04                         $0.00                $0.00                  $0.00
 070            106 STEPHENSON DONALDSON               Disallowed per order 3-10-09
 7100-00        CRAWFORDVILLE, FL 32327

 000795         ROBERTS, ANDREW                       Unsecured          Filed 10/19/04                         $0.00                $0.00                  $0.00
 070            106 STEPHENSON DONALDSON
 7100-00        CRAWFORDVILLE, FL 32327

 000796-C       RAMIREZ, JULIO                        Unsecured          Filed 10/25/04                          $0.00             $273.00                  $0.00
 070            13177 1/2 BROWONT                      Reclassified and Allowed Per Order Dated 10/21/08 (Docket#2101)
 7100-00        SYLMAR, CA 91342

 000797-B       JACKSON, OLIVIA                       Unsecured          Filed 10/25/04                         $0.00                $0.00               $500.00
 070            508 LINCOLN CIRCLE                     Reclassified Per Order Dated 12/22/08 (Docket #2760)
 7100-00        WASHINGTON, GA 30673

 000799         BOUSY, MARIE A.                       Unsecured          Filed 10/27/04                         $0.00              $234.00               $234.00
 070            6550 N. WOODSTOCK ST.
 7100-00        PHILADELPHIA, PA 19138

 000800         MARROQUIN, FANNY                      Unsecured          Filed 10/27/04                         $0.00                $0.00                  $0.00
 070            10460 SULTANA AVE.
 7100-00        FONTANA, CA 92337

 000801         BENNETT JAMES                         Unsecured          Filed 10/20/04                         $0.00                $0.00                  $0.00
 070            114 BELLES CHASE CT
 7100-00        ST AUGUSTINE, FL 32086

 000802         BENNETT JAMES                         Unsecured          Filed 10/20/04                         $0.00                $0.00                  $0.00
 070            114 BELLES CHASE CT
 7100-00        ST AUGUSTINE, FL 32086

 000803         BENNETT JAMES                         Unsecured          Filed 10/20/04                         $0.00                $0.00                  $0.00
 070            114 BELLES CHASE CT
 7100-00        ST AUGUSTINE, FL 32086

 000804         BENNETT JAMES                         Unsecured          Filed 10/20/04                         $0.00                $0.00                  $0.00
 070            114 BELLES CHASE CT
 7100-00        ST AUGUSTINE, FL 32086

 000805         TRI-STATE TREE SERVICE                Unsecured          Filed 10/25/04                         $0.00                $0.00                  $0.00
 070            PO BOX 36220                           Disallowed per order 7-7-09
 7100-00        PENSACOLA, FL 32516

 000806         ENGLAND, BEN D.                       Unsecured          Filed 10/25/04                         $0.00                $0.00                  $0.00
 070            514 BENJULYN RD                        Disallowed per order 1-5-09 (ac)
 7100-00        CANTON MENT, FL 32533

 000881         STATE OF MICHIGAN DEPT OF             Unsecured        Filed 10/21/04                           $0.00              $236.76                  $0.00
 070            TREASURY                               Expunged per Order dated 10/05/2011 (Dkt #4216)
 7100-00        ATTN STEVEN B FLANCHER
                PO BOX 30754
                LANSING, MI 48909




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                             Scheduled                   Claimed              Allowed
 000885         STATE OF MICHIGAN DEPT OF             Unsecured        Filed 10/21/04                           $0.00               $7,109.28                  $0.00
 070            TREASURY                               Expunged per Order dated 10/05/2011 (Dkt #4216)
 7100-00        ATTN STEVEN B FLANCHER
                PO BOX 30754
                LANSING, MI 48909

 000887         STATE OF NEW JERSEY                   Unsecured         Filed 08/24/04                            $0.00             $4,000.00                  $0.00
 070            DEPT OF TREASURY                       Administrative Expense; Expunged per Order dated 09/07/11 (Docket #4203)
 7100-00        DIV OF TAXATION
                P O BOX 245
                TRENTON, NJ 08695

 000890-B       EMPLOYMENT DEVELOPMENT     Unsecured        Filed 07/26/04                            $0.00                         $3,874.08                  $0.00
 070            DEPT                        Expunged per Order dated 05/05/2011 (Dkt #4121) and (Dkt 4114) 5/3/11
 7100-00        ATTN: BANKRUPTCY GROUP MIC
                92E
                P O BOX 826880
                SACRAMENTO, CA 94280

 000891-A       DEPT OF THE TREASURY IRS              Unsecured         Filed 08/02/04                           $0.00             $39,942.70                  $0.00
 070            PO BOX 9112                            Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 7100-00        JFK BLDG STOP 20800                    6/10/11 Dkt 4153
                BOSTON, MA 02203

 000892-B       PENNSYLVANIA DEPT OF                  Unsecured        Filed 08/03/04                           $0.00                   $8.00                  $8.00
 070            REVENUE                                Reduced & Allowed per Order dated 06/29/2011 (Dkt #4171)
 7100-00        COMMONWEALTH OF PA
                BANKRUPTCY DIV
                DEPT 280946
                HARRISBURG, PA 17128

 000893         TAYLORED SERVICES INC                 Unsecured         Filed 10/28/04                          $0.00             $130,599.81                  $0.00
 070            ATTN NISHA T CORDERO ESQ               Claim withdrawn per document dated 2/16/06
 7100-00        FERRO LABELLA & ZUCKER LLC
                27 WARREN ST
                HACKENSACK, NJ 07601

 000894         APOLLO ENTERPRISES                    Unsecured         Filed 04/26/04                          $0.00                $377.65                $377.65
 070            PO BOX 4739
 7100-00        SAN DUMAS, CA 91773

 000895-A       TENNESSEE DEPT OF REVENUE             Unsecured        Filed 10/28/04                           $0.00                $125.00                   $0.00
 070            ATTN ATTY GENERAL                      Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt #4191 07/28/2011
 7100-00        PO BOX 20207
                NASHVILLE, TN 37202

 000897         SELIS & ASSOCIATES PA                 Unsecured         Filed 05/17/04                          $0.00             $226,151.92           $226,151.92
 070            475 SOUTH NOVA RD
 7100-00        ORMOND BEACH, FL 32174

 000898         APOLLO ENTERPRISES                    Unsecured         Filed 04/26/04                          $0.00               $1,265.02             $1,265.02
 070            PO BOX 4739
 7100-00        SAN DUMAS, CA 91773




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                             Scheduled                   Claimed              Allowed
 000899         CLAIM NUMBER VOIDED                   Unsecured                                                 $0.00                  $0.00                   $0.00
 070
 7100-00

 000900         APOLLO ENTERPRISES                    Unsecured         Filed 04/26/04                          $0.00              $1,163.81              $1,163.81
 070            PO BOX 4739
 7100-00        SAN DUMAS, CA 91773

 000901         APOLLO ENTERPRISES                    Unsecured         Filed 04/26/04                          $0.00                 $68.29                 $68.29
 070            PO BOX 4739
 7100-00        SAN DUMAS, CA 91773

 000902         APOLLO ENTERPRISES                    Unsecured         Filed 04/26/04                          $0.00                $723.26                $723.26
 070            PO BOX 4739
 7100-00        SAN DUMAS, CA 91773

 000903         APOLLO ENTERPRISES                    Unsecured         Filed 04/26/04                          $0.00                 $18.99                 $18.99
 070            PO BOX 4739
 7100-00        SAN DUMAS, CA 91773

 000904         APOLLO ENTERPRISES                    Unsecured         Filed 04/26/04                          $0.00                 $36.77                 $36.77
 070            PO BOX 4739
 7100-00        SAN DUMAS, CA 91773

 000905         SELIS & ASSOCIATES PA                 Unsecured         Filed 10/28/04                          $0.00            $226,151.92            $226,151.92
 070            475 SOUTH NOVA RD
 7100-00        ORMOND BEACH, FL 32174

 000907-B       DEPT OF THE TREASURY IRS              Unsecured         Filed 08/22/04                           $0.00            $385,008.86                  $0.00
 070            PO BOX 9112 JFK BLDG STOP              Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 7100-00        20800                                  6/10/11 Dkt 4153
                BOSTON, MA 02203

 000908-A       PENNSYLVANIA DEPT OF                  Unsecured         Filed 08/03/04                          $0.00              $9,022.52              $9,022.52
 070            REVENUE                                Allowed per Order dated 06/29/2011 (Dkt #4171)
 7100-00        COMMONWEALTH OF PA
                BANKRUPTCY DIV
                DEPT 280946
                HARRISBURG, PA 17128

 000909         DEACY & DEACY LLP                     Unsecured         Filed 08/08/04                          $0.00              $4,179.67              $4,179.67
 070            ATTN DANIEL E HAMANN
 7100-00        920 MAIN ST STE 1900
                KANSAS CITY, MO 64105

 000910         CONTINENTAL CURRENCY        Unsecured                   Filed 08/06/04                          $0.00                $229.92                $229.92
 070            SERVICES
 7100-00        D/B/A MOBILE MONEY & PRONTO
                CASH EXPRESS
                ATTN NICOLE MONGEON ESQ
                1108 E 17TH ST
                SANTA ANA, CA 92701




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                             Scheduled                  Claimed              Allowed
 000911         TAYLORED SERVICES INC                 Unsecured         Filed 10/28/04                          $0.00           $130,599.81                   $0.00
 070            ATTN NISHA T CORDERO ESQ               Claim withdrawn per document dated 2/16/06
 7100-00        FERRO LABELLA & ZUCKER LLC
                27 WARREN ST
                HACKENSACK, NJ 07601

 000912-A       INDIANA DEPT OF REVENUE               Unsecured        Filed 10/12/04                           $0.00               $251.89                   $0.00
 070            ATTN BANKRUPTCY SECTION                Expunged per Order dated 4/12/2011 (Dkt #4050)
 7100-00        ROOM N203
                100 N SENATE AVE
                INDIANAPOLIS, IN 46204

 000913         CLAIM NUMBER VOIDED                   Unsecured                                                 $0.00                 $0.00                   $0.00
 070
 7100-00

 000914-B       NYS DEPT OF TAXATION &                Unsecured        Filed 10/28/04                           $0.00            $39,410.15                   $0.00
 070            FINANCE                                Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN BANKRUPTCY SECTION                Amended by Claim#1929
                PO BOX 5300
                ALBANY, NY 12205

 000916-B       TAX COMMISSIONER STATE OF             Unsecured          Filed 10/19/04                          $0.00                 $9.00                  $0.00
 070            OHIO                                   Reduced & Reclass 4/12/11; (Dkt 4048).Vacated 4/14/11(Dkt 4062); Reduced & Allowed
 7100-00        3O E BROAD ST 23RD FL                  5/23/11 (Dkt 4141
                ATTN: REBECCA L DAUM,
                ATTORNEY
                BANKRUPTCY DIV
                COLUMBUS, OH 43215

 000917-A       NYS DEPT OF TAXATION &                Unsecured        Filed 10/28/04                           $0.00             $9,012.22                   $0.00
 070            FINANCE                                Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN: BANKRUPTCY SECTION               Amends Claim #918
                P O BOX 5300
                ALBANY, NY 12205

 000918-B       NYS DEPT OF TAXATION &                Unsecured        Filed 04/26/04                           $0.00             $2,946.09                   $0.00
 070            FINANCE                                Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN: BANKRUPTCY SECTION               Amended by Claim #917
                P O BOX 5300
                ALBANY, NY 12205

 000919         LEWIS BRISBOIS BISGAARD &             Unsecured         Filed 08/09/04                          $0.00           $174,352.78            $174,352.78
 070            SMITH LLP
 7100-00        ATTN: LES SULLIVAN
                221 N FIGUEROA ST STE 1200
                LOS ANGELES, CA 90012

 000934         MV TRANSPORATION, INC.                Unsecured         Filed 05/09/04                          $0.00           $900,000.00            $900,000.00
 070            JOHN BIARD & ASSOCIATES
 7100-00        ATTN: MARK GINALSKI
                360 CAMPUS LANE, SUITE 201
                FAIRFIELD, CA 94534




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled                    Claimed             Allowed
 000936-B       MR. DEANE J. DRABIK                   Unsecured          Filed 10/28/04                           $0.00                    $0.00              $3,120.82
 070            6844 TOBIK TRL                         Reclassified per Consent Order Dated 9/2/08 (Docket #1689)
 7100-00        PARMA, OH 44130

 000937         ARTURO LOPEZ                          Unsecured         Filed 10/28/04                            $0.00                  $376.35                  $0.00
 070            1811 ROSEWOOD                          Disallowed per Order Dated 8/13/08 (Docket #1529)
 7100-00        ONTARIO, CA 91764

 000956-B       HUEY P. WALKER, JR.                   Unsecured         Filed 06/07/04                          $0.00                  $2,475.00              $7,055.00
 070            38 SURREY LANE                         Modified and Allowed per Order Dated 1/5/09 (Docket #2830) (ac)
 7100-00        TARRYTOWN, GA 30470

 000957-A       PAUL PRAIRIE                          Unsecured          Filed 05/17/04                           $0.00                $2,186.39               $613.00
 070            3618 N VINCENNES TRAIL                 Reclassified per Order Dated 1/5/09 (docket #2829)
 7100-00        MOMENCE, IL 60954                      Amended by Claim #1121


 000958-A       PAULA J SENESOC                       Unsecured         Filed 05/17/04                            $0.00                $3,598.32                  $0.00
 070            38 JORDAN DR                           Allowed Per Order Dated 11/18/08 (Dkt # 2419)
 7100-00        BOWRBONNAIS, IL 60914

 000959-B       PAULA J SENESOC                       Unsecured         Filed 05/17/04                            $0.00                $3,598.32                  $0.00
 070            38 JORDAN DR                           Disallowed Per Order Dated 11/18/08 (Dkt # 2419)
 7100-00        BOWRBONNAIS, IL 60914

 000965         ANNA MARIE ALGER                      Unsecured         Filed 05/17/04                            $0.00                $1,670.00                  $0.00
 070            15255 DAVID                            Disallowed per Order Dated 8/26/08 (Docket #1653)
 7100-00        GRAND HAVEN, MI 49417

 000966         HEIDI S. GOMEZ                        Unsecured          Filed 06/07/04                           $0.00                    $0.00                  $0.00
 070            560 S. LASALLE ST                      Disallowed per order 3/4/09
 7100-00        AURORA, IL 60508

 000967-A       KARLA M CARTER                        Unsecured         Filed 06/08/04                            $0.00                $2,505.00              $1,503.00
 070            5505 KELLY ANNE WAY                    Reduced and Reclassified Per Order Dated 12/15/08 (Docket #2697) (ac)
 7100-00        NOBLESVILLE, IN 46062

 000968         WESTCOTT MANAGEMENT LP                Unsecured          Filed 05/27/04                           $0.00              $800,000.00            $800,000.00
 070            ATTN WILLIAM HUNT &
 7100-00        ASSOCIATE
                155 POLIFLY RD STE 200
                HACKENSACK, NJ 07601

 000969-A       DEBRA A DAVIS                         Unsecured         Filed 05/21/04                            $0.00                $4,153.99                  $0.00
 070            13408 120TH AVE.                       Disallowed per Order Dated 8/26/08 (Docket #1656) (ac)
 7100-00        GRAND HAVEN, MI 49417                  Amended by Claim #1119


 000971-B       SCOTT E PRAIRIE                       Unsecured         Filed 05/17/04                            $0.00               $31,694.40             $30,000.00
 070            3618 N VICENNES TRAIL                  Reduced and Reclassified Per Order Dated 11/12/08 (Dkt # 2348 )
 7100-00        MOMENCE, IL 60954

 000981         SALES AND ASSOCIATES, PA              Unsecured          Filed 05/17/04                           $0.00              $226,151.92            $226,151.92
 070            475 SOUTH NOVA RD
 7100-00        ORMOND BEACH, FL 32174




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 000989-B       SUSAN D. HALL                         Unsecured          Filed 05/17/04                             $0.00               $0.00              $3,178.40
 070            1216 STANLEY STREET                    Reclassified Per Order Dated 8/18/08 (Dkt # 1577) (ac)
 7100-00        BURNS HARBOR, IN 46304

 000990-B       JEFFREY S. WHITE                      Unsecured          Filed 05/13/04                             $0.00           $3,755.26              $8,117.84
 070            226 COUNTRY CLUB DR                    Reclassified Per Order Dated 12/9/08 (Docket # 2663)
 7100-00        DURHAM, NC 27712

 000991         THE MCMANIGLE COMPANY                 Unsecured          Filed 04/20/04                             $0.00           $7,680.00              $7,680.00
 070            ATTN: DREW MCMANIGLE
 7100-00        26 OAK KNOLL DRIVE
                MALAWAN, NJ 07747

 000992         TAYLORED SERVICES INC      Unsecured         Filed 10/28/04                                         $0.00         $130,599.81                  $0.00
 070            NISHA T CORDERO, ESQ.       Claim withdrawn per document dated 2/16/06
 7100-00        GERRO LABELLA & ZUCKER LLC
                27 WARREN ST
                HACKENSACK, NJ 07601

 000993-A       PENNSYLVANIA DEPT OF                  Unsecured        Filed 08/03/04                           $0.00               $6,036.92              $5,436.69
 070            REVENUE                                Reduced & Allowed per Order dated 06/29/2011 (Dkt #4171)
 7100-00        COMMONWEALTH OF
                PENNSYLVANIA
                BANKRUPTCY DIVISION
                DEPARTMENT 280948
                HARRISBURG, PA 17128

 000995-B       DEPT OF THE TREASURY - IRS            Unsecured         Filed 08/02/04                           $0.00            $758,063.54                  $0.00
 070            PO BOX 9112                            Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 7100-00        JFK BUILDING                           6/10/11 Dkt 4153
                STOP 20800
                BOSTON, MA 02203

 001018-B       MICHAEL HOWIE                         Unsecured          Filed 05/24/04                             $0.00           $2,000.00              $2,655.00
 070            135 TIFFANY CT                         Reclassified Per Order Dated 12/2/08 ( Dkt # 2586)
 7100-00        LOCUST GROVE, GA 30248

 001019         SELIS & ASSOCIATES PA                 Unsecured          Filed 05/17/04                             $0.00         $226,151.92            $226,151.92
 070            475 SOUTH NOVA RD
 7100-00        ORMOND BEACH, FL 32174

 001022         STATE OF NJ DEPT OF TREASURY Unsecured         Filed 08/24/04                           $0.00            $10,000.00                            $0.00
 070            ATTN DIVISION OF TAXATION     Administrative Expense Claim; Expunged per Order dated 09/07/11 (Docket #4203)
 7100-00        PO BOX 245
                TRENTON, NJ 08695

 001025         STATE OF MICHIGAN DEPT OF   Unsecured        Filed 10/21/04                                         $0.00             $245.27                  $0.00
 070            TREASURY                     Expunged per Order dated 10/05/2011 (Dkt #4216)
 7100-00        PO BOX 30754
                ATTN: STEVEN B FLANCHER AAG
                LANSING, MI 48909

 001029         STATE OF MICHIGAN DEPT OF   Unsecured        Filed 10/21/04                                         $0.00             $148.50                  $0.00
 070            TREASURY                     Expunged per Order dated 10/05/2011 (Dkt #4216)
 7100-00        PO BOX 30754
                ATTN: STEVEN B FLANCHER AAG



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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                   Claimed              Allowed
                LANSING, MI 30754




 001030         STATE OF NJ DEPT OF TREASURY Unsecured         Filed 08/24/04                           $0.00            $10,000.00                             $0.00
 070            ATTN DIVISION OF TAXATION     Administrative Expense Claim; Expunged per Order dated 09/07/11 (Docket #4203)
 7100-00        PO BOX 245
                TRENTON, NJ 08695

 001035         TAYLORED SERVICES, INC                Unsecured         Filed 10/28/04                           $0.00            $130,599.81                   $0.00
 070            ATTN: NISHA T CORDERO, ESQ.            Claim withdrawn per document dated 2/16/06
 7100-00        FERRO LABELLA & ZUCKER LLC
                27 WARREN STREET
                HACKENSACK, NJ 07601

 001036-A       PENNSYLVANIA DEPT OF                  Unsecured         Filed 08/03/04                           $0.00                $108.55                $108.55
 070            REVENUE                                Allowed per Order dated 06/29/2011 (Dkt #4171)
 7100-00        COMMONWEALTH OF
                PENNSYLVANIA
                BANKRUPTCY DIVISION
                DEPARTMENT 280946
                HARRISBURG, PA 17128

 001037-B       DEPT OF THE TREASURY - IRS            Unsecured         Filed 08/02/04                           $0.00            $240,746.54                   $0.00
 070            PO BOX 9112 JFK BLDG STOP              Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 7100-00        20800                                  6/10/11 Dkt 4153
                BOSTON, MA 02203

 001055         SELIS AND ASSOCIATES, PA              Unsecured          Filed 05/17/04                          $0.00            $226,151.92            $226,151.92
 070            475 SOUTH NOVA RD
 7100-00        ORMOND BEACH, NJ 32174

 001101         SELIS AND ASSOCIATES, PA              Unsecured          Filed 05/17/04                          $0.00            $226,151.92            $226,151.92
 070            425 SOUTH NOVA RD
 7100-00        ORMOND BEACH, FL 32174

 001108         MV TRANSPORTATION INC                 Unsecured          Filed 08/09/04                          $0.00            $900,000.00            $900,000.00
 070            ATTN: MARK GINALSKI
 7100-00        JOHN BIARD & ASSOCIATES
                360 CAMPUS LANE, SUITE 201
                FAIRFIELD, CA 94534

 001109-A       DEPT OF TREASURY-INTERNAL             Unsecured         Filed 08/02/04                           $0.00                  $79.61                  $0.00
 070            REVENUE SVC                            Reduced/Reclass.3/28/11 Dkt 3992; Order vacated 4/6/11 Dkt 4035; Allowed/Priority
 7100-00        PO BOX 9112                            6/10/11 Dkt 4153
                JFK BUILDING
                STOP 20800
                BOSTON, MA 02203

 001118         CLAIM NUMBER VOIDED                   Unsecured                                                  $0.00                  $0.00                   $0.00
 070
 7100-00




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001119-B       DEBRA A DAVIS                         Unsecured         Filed 06/07/04                              $0.00           $1,427.20                  $0.00
 070            13408 120TH AVE.                       Disallowed per Order Dated 8/26/08 (Docket #1656) (ca)
 7100-00        GRAND HAVEN, MI 49417

 001121-B       PAUL PRAIRIE                          Unsecured         Filed 10/14/04                            $0.00           $32,640.78             $32,640.78
 070            3618 N VINCENNES TRAIL                 Reduced and Reclassified Per Order Dated 1/5/09 (Docket #2829) Amends Claim #957
 7100-00        MOMENCE, IL 60954

 001124-B       MAURA MESSINA                         Unsecured         Filed 05/13/04                              $0.00           $1,446.70                  $0.00
 070            291 SEDGEWICK DR.                      Allowed Per Order Dated 5/4/09 [Docket No.3251] (ac)
 7100-00        MAGNOLIA, DE 19962

 001125         SPAULDING, DELORES                    Unsecured         Filed 05/17/04                              $0.00           $1,512.00                  $0.00
 070            2428 POWDERLY AVE                      Disallowed per Order Dated 9/16/08 (Docket #1776)
 7100-00        BIRMINGHAM, SC 35211

 001127-B       DEREK M. DENOYER                      Unsecured          Filed 05/17/04                             $0.00           $3,755.26             $5,081.69
 070            1149 COBB BLVD                         Reclassified per Order Dated 12/15/08 (Docket #2701)
 7100-00        KANKAKEE, FL 60901

 001128-A       TODD SKLAR                            Unsecured         Filed 05/17/04                              $0.00           $2,500.00                  $0.00
 070            5790 FOX HOLLOW DR.                    Disallowed Per Order Dated 9/16/08 (Dkt # 1780) (ac)
 7100-00        BOCA RATON, FL 33486

 001129-B       DERRICK THOMAS                        Unsecured         Filed 05/14/04                              $0.00           $1,632.00                  $0.00
 070            1961 NEPTUNE DRIVE                     Disallowed per Order Dated 11/25/08 (Docket #2510) (ac)
 7100-00        AUGUSTA, GA 30906

 001130-A       ROBB, GAIL R                          Unsecured          Filed 05/19/04                             $0.00           $2,924.00                  $0.00
 070            1924 LOGAN BELLY LANE                  Reclassified per Order Dated 9/23/08 (Docket #1888)
 7100-00        CROWN POINT, IN 46307

 001131-A       DEBRA A DAVIS                         Unsecured         Filed 05/14/04                         $0.00                $4,153.99                  $0.00
 070            13408 120TH AVE                        Disallowed per Order Dated 8/26/08 (Docket #1656) Amended by Claim #1320
 7100-00        GRAND HAVEN, MI 49417

 001133-B       BELINDA BALSAUO                       Unsecured        Filed 05/28/04                            $0.00              $4,375.70                  $0.00
 070            935 S 8TH AVENUE                       Reduced & Reclassified per Consent Order Dated 11/17/08 (Docket #2406)
 7100-00        KAUKAKEE, FL 60901

 001134         JAMELLA PALMER                        Unsecured          Filed 06/21/04                             $0.00               $0.00                  $0.00
 070            678 MCKINLEY AVENUE                    Disallowed per order 10-21-08
 7100-00        AKRON, OH 44306

 001137-B       NYS DEPT OF TAXATION &                Unsecured        Filed 04/26/04                          $0.00                  $134.62                  $0.00
 070            FINANCE                                Expunged per Order dated 11/17/2011 (Dkt #4227) Amended by Claim #1140
 7100-00        ATTN: BANKRUPTCY SERVICES
                PO BOX 5300
                ALBANY, NY 12205

 001140-B       NYS DEPT OF TAXATION &                Unsecured        Filed 07/26/04                          $0.00             $1,134.62                     $0.00
 070            FINANCE                                Expunged per Order dated 11/17/2011 (Dkt #4227) Amended by Claim #1141 (Amends
 7100-00        ATTN: BANKRUPTCY SECTION               1137)
                PO BOX 5300
                ALBANY, NY 12205




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001141-A       NYS DEPT OF TAXATION &                Unsecured        Filed 10/28/04                           $0.00             $2,134.62              $1,134.62
 070            FINANCE                                Reduced and Allowed per Order dated 11/17/2011 (Dkt #4227) Amends Claim #1290
 7100-00        ATTN: BANKRUPTCY SECTION               (Amends #1140)
                PO BOX 5300
                ALBANY, NY 12205

 001142         DOUG LAFRANCE                         Unsecured          Filed 07/30/04                            $0.00               $0.00                  $0.00
 070            117 KESTIEL RD                         Disallowed per order 12-2-08 (ac)
 7100-00        MOUNTAIN TOP, PA 18707

 001143         NYS DEPT OF TAXATION &                Unsecured         Filed 07/26/04                             $0.00           $1,000.00             $1,000.00
 070            FINANCE                                Allowed per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001144-A       CERTA PRO PAINTERS                    Unsecured          Filed 10/26/04                            $0.00           $5,483.01             $5,483.01
 070            9011 MIRA MESA BOULEVARD               Reclassified per Order dated 03/14/2011 (Dkt #3947)
 7100-00        #203
                SAN DIEGO, CA 92126

 001145         SONDRA R SININS                       Unsecured          Filed 10/27/04                            $0.00             $402.21               $402.21
 070            39 FARBROOK DRIVE
 7100-00        SHORT HILLS, NJ 07078

 001147         ELAINE M SININS                       Unsecured          Filed 10/26/04                            $0.00           $1,600.00             $1,600.00
 070            35 SINCLAIR TER
 7100-00        SHORT HILLS, NJ 07078

 001148         ELAINE M SININS                       Unsecured          Filed 10/26/04                            $0.00             $735.00               $735.00
 070            35 SINCLAIR TER
 7100-00        SHORT HILLS, NJ 07078

 001149         KAREN A MONTERRO                      Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            18 THIRD ST                            Disallowed per order 4-7-09 (ca)
 7100-00        SAYREVILLE, NJ 08872

 001150         PIONEER PEST SVCS                     Unsecured          Filed 10/26/04                            $0.00          $57,481.40            $57,481.40
 070            C/O RICHARD HALL JR
 7100-00        2270 TROPICAL TERRACE
                DELAND, FL 32724

 001151         HOSKINS, MARILYN                      Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            225 ARCADE BLVD.
 7100-00        SACRAMENTO, CA 95815

 001152         RAMOS, NORMA                          Unsecured          Filed 10/26/04                            $0.00           $4,500.00             $4,500.00
 070            56 JAMES STREET
 7100-00        DOVER, NJ 07801

 001154         EL-HAMADANY, MOHAMED A                Unsecured          Filed 10/27/04                            $0.00             $421.10               $421.10
 070            850 CARSONIA AVENUE
 7100-00        READING, PA 19606




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                     Claimed             Allowed
 001157         DAVILA, MARITZA                       Unsecured          Filed 10/27/04                             $0.00                    $0.00                  $0.00
 070            8936 GUAVA COURT                       Disallowed per order 11-9-09
 7100-00        FONTANA, CA 92335

 001158-B       VALLEY INDUSTRIAL FAMILY              Unsecured          Filed 10/27/04                             $0.00                  $708.51               $708.51
 070            MEDICAL                                Reclassified per Order dated 04/06/2011 (Dkt #4029)
 7100-00        6011 N FRESNO ST 115
                FRESNO, CA 93710

 001159-B       MONARCH TREE SERVICE                  Unsecured          Filed 10/26/04                             $0.00                    $0.00            $27,626.00
 070            7290 EQUUS LANE                        Reclassified per Order dated 03/08/2011 (Dkt #3900)
 7100-00        VACAVILLE, CA 95688

 001160         COASTAL ANESTHESIOLOGY                Unsecured           Filed 10/26/04                            $0.00                $1,190.00             $1,190.00
 070            MEDICAL ASSOC
 7100-00        P O BOX 6406
                SANTA MARIA, CA 93456

 001161-A       OLASKOWITZ, STAN                      Unsecured         Filed 10/26/04                              $0.00                $1,654.40                  $0.00
 070            51 LEO AVENUE                          Disallowed Per Order Dated 8/18/08 (Dkt # 1572)
 7100-00        STANHOPE, NJ 07874

 001162         SONDRA R SININS                       Unsecured           Filed 10/27/04                            $0.00                $1,695.99             $1,695.99
 070            39 FARBROOK DR
 7100-00        SHORT HILLS, NJ 07078

 001164-B       LUIS J FERNANDEZ                      Unsecured         Filed 10/26/04                              $0.00               $41,298.86                  $0.00
 070            517 MOUNTAINVIEW AVE.                  Disallowed per Order Dated 1/13/09 (Docket #2853) )(ac)
 7100-00        VALLEY COTTAGE, N 10989

 001165         LIMA, ANTONIO T.                      Unsecured           Filed 10/27/04                            $0.00                $2,500.00             $2,500.00
 070            36 CROWN CIRCLE
 7100-00        APT # 1A
                SCRANTON, PA 18505

 001166         HAMLIN, GARY L                        Unsecured           Filed 10/26/04                            $0.00               $21,600.00            $21,600.00
 070            P.O. BOX 650
 7100-00        ALTHA, FL 32421

 001167         ALVAREZ, HUGO                         Unsecured           Filed 10/26/04                            $0.00                $1,000.00             $1,000.00
 070            PO BOX 830961
 7100-00        MIAMI, FL 33283

 001168         FIGUEROA, LOURDES                     Unsecured           Filed 10/26/04                            $0.00                  $169.00               $169.00
 070            483 STATE ST
 7100-00        APT 2A
                PERTH AMBOY, NJ 08861

 001169         MASETTI, ALBERT                       Unsecured           Filed 10/26/04                             $0.00                   $0.00                  $0.00
 070            508 BEEBE RD.                          Per consent order 11-9-09 - has until 10-23-09 to file amended POC (ac)
 7100-00        HARRINGTON, DE 19952

 001170         SONDRA R SININS                       Unsecured         Filed 10/22/04                              $0.00               $15,400.00                  $0.00
 070            39 FARBROOK DR                         Disallowed per Order Dated 10/27/08 (Docket #2193)
 7100-00        SHORT HILLS, NJ 07078




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001172         CEPEDA, ELIZABETH                     Unsecured          Filed 10/27/04                            $0.00               $0.00                  $0.00
 070            165 BUTLER STREET                      Disallowed per order 11-6-09
 7100-00        PATERSON, NJ 07524

 001173         CEPEDA, ELIZABETH                     Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            165 BUTLER STREET
 7100-00        PATERSON, NJ 07524

 001174         DAUGHERTY, JOHN                       Unsecured          Filed 10/27/04                            $0.00          $50,000.00            $50,000.00
 070            2537 GROVE STREET
 7100-00        SARASOTA, FL 34239

 001176         GREEN, RENESSA                        Unsecured          Filed 10/27/04                            $0.00               $0.00                  $0.00
 070            PO BOX 6415                            Disallowed per order 11-6-09
 7100-00        SAN PABLO, CA 94610

 001177         GREEN, RENESSA                        Unsecured          Filed 10/25/04                            $0.00               $0.00                  $0.00
 070            PO BOX 6415
 7100-00        SAN PABLO, CA 94610

 001178-B       RIZZOLO, R LEE                        Unsecured          Filed 10/26/04                            $0.00           $4,197.11             $4,197.11
 070            2564 AUDREY TERACE
 7100-00        UNION, NJ 07083

 001179         SONDRA R SININS                       Unsecured         Filed 10/27/04                             $0.00          $15,400.00                  $0.00
 070            39 FARBROOK DR                         Disallowed per Order Dated 10/27/08 (Docket #2193)
 7100-00        SHORT HILLS, NJ 07078

 001180         SONDRA R SININS                       Unsecured         Filed 10/28/04                             $0.00          $18,000.00                  $0.00
 070            39 FARBROOK DR                         Disallowed Per Order Dated 10/27/08 (Dkt # 2193)
 7100-00        SHORT HILLS, NJ 07078

 001185         SANCHEZ, BALVINO                      Unsecured         Filed 10/27/04                             $0.00             $560.00                  $0.00
 070            317 SEAMAN ST.                         Disallowed per Order Dated 11/3/08 (Docket #2303)
 7100-00        APT 2B
                NEW BRUNSWICK, NJ 08901

 001186-B       MONARCH TREE SERVICE                  Unsecured          Filed 10/26/04                            $0.00               $0.00            $19,743.00
 070            7290 EQUUS LANE                        Reclassified per Order dated 03/08/2011 (Dkt #3900)
 7100-00        VACAVILLE, CA 95688

 001187         HEISLER & BRAY ATTORNEYS AT Unsecured          Filed 10/27/04                                      $0.00               $0.00                  $0.00
 070            LAW                          Disallowed per order 7-7-09
 7100-00        6351 OWENSMOUTH AVE STE 100
                WOODLAND HILLS, CA 91367

 001188-B       ST AUGUSTINE ALLIGATOR FARM Unsecured          Filed 10/27/04                                      $0.00               $0.00             $5,427.60
 070            INC                          Reclassified per Order dated 04/19/2011 (Dtk #4067)
 7100-00        999 ANATASIA BLVD
                ST AUGUSTINE, FL 32080

 001189         COMPUTROL TECHNOLOGIES INC Unsecured          Filed 10/27/04                                       $0.00          $98,221.27            $98,221.27
 070            2131 WANTAGH AVENUE         Duplicates Claim #397
 7100-00        WANTAGH, NY 11793




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001190         CHANCELLOR, SANDRA E                  Unsecured          Filed 10/27/04                            $0.00               $0.00                  $0.00
 070            3451 MAIKAI DR                         Disallowed per order 3-4-09
 7100-00        PENSACOLA, FL 32526

 001191-B       THOMAS, ELMER L                       Unsecured          Filed 10/27/04                           $0.00                $0.00             $2,121.28
 070            POST OFFICE BOX 13                     Reclassified per Consent Order Dated 6/16/09 (Docket #3336)
 7100-00        ATLANTIC, VA 23302

 001192-B       CARFE INC DBA HANDYMAN       Unsecured          Filed 10/27/04                                     $0.00               $0.00             $4,680.05
 070            110 S. ROSEMEAD BLVD SUITE G  Reclassified per Order dated 04/19/2011 (Dtk #4065)
 7100-00        PASADENA, CA 91107

 001193         WILLIAMS, DARRELL D.                  Unsecured          Filed 10/27/04                            $0.00               $0.00                  $0.00
 070            413 S MYRTLE AVENUE                    Disallowed per order 11-9-09
 7100-00        SANFORD, FL 32771

 001194         HERNANDEZ, ALMA                       Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            3528 W 57TH PLACE                      Disallowed per order 8-18-08
 7100-00        CHICAGO, IL 60632

 001195-B       COOPER, PAMELA M                      Unsecured         Filed 10/26/04                             $0.00             $532.00               $212.00
 070            916 NORTH DUKE ST.                     Reduced Per Order Dated 11/12/08 (Dkt # 2357) (ac)
 7100-00        LANCASTER, PA 17602

 001198         TIMOTHY W HOOD                        Unsecured         Filed 10/27/04                          $0.00          $2,000,000.00                  $0.00
 070            C/O G J SULLIVAN, JR. P.A.             Withdrawn per withdrawal dated 07/08/2010 (Docket #3766)
 7100-00        501 WEST BAY ST. STE. 100
                JACKSONVILLE, FL 32202

 001199-A       NEW MEXICO DEPT OF LABOR              Unsecured        Filed 10/25/04                              $0.00             $227.44               $227.44
 070            EMPLOYMENT SECURITY                    Amended by Claim #1770
 7100-00        DIVISION
                PO BOX 1928
                ALBUQUERQUE, NM 87103

 001204-B       WILSON, ROSALINA U                    Unsecured         Filed 10/28/04                             $0.00             $296.25                  $0.00
 070            768 MARIETTA AVE., APT. B              Disallowed Per Order Dated 11/25/08 (Dkt # 2506) (ac)
 7100-00        LANCASTER, PA 17603

 001205         BENJAMIN, ADAM                        Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            4153 IDAHO ST
 7100-00        SAN DIEGO, CA 92104

 001206         SEABERRY, MICHAEL                     Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            6300-C SHANDA DR.                      Disallowed per order 11-9-09
 7100-00        RALEIGH, NC 27609

 001207-A       WILSON, ROSALINA U                    Unsecured         Filed 10/28/04                             $0.00             $465.00                  $0.00
 070            768 MARIETTA AVE., APT B               Allowed Per Order Dated 11/25/08 (Dkt # 2506) (ac)
 7100-00        LANCASTER, PA 17603

 001208-A       CUYA, MARIA                           Unsecured          Filed 10/28/04                            $0.00             $700.00                  $0.00
 070            42 BANK ST. FIRST FLOOR                Reclassified per Order Dated 8/25/08 (Docket #1626)
 7100-00        ELIZABETH, NJ 07201




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001209-A       NAPLES CENTER FOR HAND                Unsecured          Filed 10/28/04                            $0.00             $646.30               $646.30
 070            1409 KINGSLEY AVE                      Reclassified per Order dated 03/14/2011 (Dkt #3932)
 7100-00        STE 6B
                ORANGE PARK, FL 32073

 001214-B       OFC OF UNEMPLOYMENT                   Unsecured          Filed 10/28/04                          $0.00                 $0.00               $106.70
 070            COMPENSATION TAX SVC                   Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171)
 7100-00        ATTN: HARRISBURG BKCY &
                COMPLIANCE OFC
                COMMONWEALTH OF PA - DEPT
                OF LABOR & IND
                1171 S CAMERSON ST RM 312
                HARRISBURG, PA 17104

 001215-C       CUEVAS, VERONICA                      Unsecured         Filed 10/28/04                             $0.00             $211.76                  $0.00
 070            678 DEL ROSA PL                        Reduced Per Order Dated 9/9/08 (Dkt # 1706)
 7100-00        APT. D
                POMONA, CA 91768

 001216-A       KIEREN L BRIGHT                       Unsecured         Filed 10/28/04                             $0.00           $1,082.60             $1,082.60
 070            33 VALERIE AVE                         Allowed Per Order Dated 10/27/08 (Docket # 2198)
 7100-00        EPHRATA, PA 17522

 001217         RANERI AND LONG ROOFING INC Unsecured                    Filed 10/28/04                            $0.00           $2,387.50             $2,387.50
 070            13881 HIGHWAY 8 BUSINESS
 7100-00        EL CAJON, CA 92021

 001218         BOYD, WILLIAM                         Unsecured          Filed 10/28/04                            $0.00           $4,461.92             $4,461.92
 070            42119 CLAY GULLEY ROAD
 7100-00        MYAKKA CITY, FL 34251

 001220-B       CORNERSTONE PLASTERING                Unsecured         Filed 10/28/04                             $0.00          $16,393.78                  $0.00
 070            4352 CORDERO DRIVE                     Disallowed Per Order Dated 7/7/09 (Docket # 3361)
 7100-00        EL DORADO HILLS, CA 95762

 001222         MORENO, JOSE LUIS                     Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            4348 W 179 TH ST
 7100-00        TORRANCE, CA 90504

 001225         CRUZ, ASIA                            Unsecured          Filed 10/28/04                            $0.00             $314.23               $314.23
 070            508 EAST 26TH STREET
 7100-00        PATERSON, NJ 07514

 001226-A       CORNERSTONE PLASTERING                Unsecured         Filed 10/29/04                             $0.00           $9,976.54                  $0.00
 070            4352 CORDERO DRIVE                     Disallowed per Order Dated 7/7/09 (Docket #3361)
 7100-00        EL DORADOHILLS, CA 95762

 001227         CHRISTINA COLE TRUCKING INC Unsecured                    Filed 10/28/04                            $0.00           $4,461.92             $4,461.92
 070            6447 33RD STREET EAST
 7100-00        SARASOTA, FL 34243

 001228         MURRAY, MACARTHUR                     Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            3352 NW 53ST                           Disallowed per order 3-10-09
 7100-00        MIAMI, FL 33142




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 001229         MURRAY, MACARTHUR                     Unsecured          Filed 10/22/04                          $0.00               $0.00                  $0.00
 070            3352 NW 53 ST
 7100-00        MIAMI, FL 33142

 001232         AMBROSE, BRUCE                        Unsecured         Filed 10/28/04                           $0.00          $50,000.00                  $0.00
 070            720 N. 66TH ST.                        Disallowed per Order Dated 12/2/08 (Docket #2589)
 7100-00        PHILADELPHIA, PA 19151

 001234-B       HEIDI J SUROCK                        Unsecured          Filed 10/28/04                          $0.00               $0.00               $902.00
 070            9303 BELLBECK RD                       Reclassified Per Order Dated 12/22/08 (Docket #2763)
 7100-00        BALTIMORE, MD 21234

 001235-B       KEVIN ABERNATHY                       Unsecured         Filed 10/28/04                           $0.00             $426.00                  $0.00
 070            17 SUSAN CT                            Disallowed Per Order Dated 7/7/09 (Docket # 3358)
 7100-00        AKRON, OH 44307

 001236-A       OLMO RUTH N                           Unsecured         Filed 10/28/04                           $0.00           $2,400.00                  $0.00
 070            P O BOX 2985                           Allowed Per Order Dated 10/27/08 (Dkt # 2197)
 7100-00        CAROLINA, PR 00984

 001237         VEGA, SYLVIA                          Unsecured         Filed 10/25/04                           $0.00           $2,400.00                  $0.00
 070            POST OFFICE BOX 360559                 Disallowed Per Order Dated 11/12/08 (Dkt # 2289)
 7100-00        SAN JUAN, PR 00936

 001238-A       HULSEY, MARK                          Unsecured         Filed 10/28/04                           $0.00          $20,000.00                  $0.00
 070            1265 AVOCADO BLVD.                     Disallowed Per Order Dated 12/15/08 (Dkt # 2698)
 7100-00        EL CAJON, CA 92020

 001239         VEGA SYLVIA                           Unsecured         Filed 10/26/04                           $0.00           $2,400.00                  $0.00
 070            P O BOX 360559                         Disallowed Per Order Dated 11/12/08 (Dkt # 2289)
 7100-00        SAN JUAN, PR 00936

 001240         HERNANDEZ, CATALINA                   Unsecured          Filed 10/28/04                          $0.00         $120,000.00            $120,000.00
 070            C/O LAW OFFICES OF ODION L
 7100-00        OKOJIE
                880 W 1ST ST STE 313
                LOS ANGELES, CA 90012

 001241         MORRIS, TYRONE                        Unsecured          Filed 10/28/04                          $0.00               $0.00                  $0.00
 070            2833 MARKET STREET                     Disallowed per order 3-10-09
 7100-00        OAKLAND, CA 94602

 001242         ARCINIEGA, HERMELINDA                 Unsecured          Filed 10/26/04                          $0.00               $0.00                  $0.00
 070            471 WEST 21ST STREET                   Disallowed per order 12-23-09
 7100-00        SAN BERNARDINO, CA 92405

 001243         MAGANA, NICOLAS C                     Unsecured          Filed 10/26/04                          $0.00             $260.00               $260.00
 070            205 ROY AVENUE
 7100-00        ROCHELLE, IL 61068

 001244         GILES, DWAYNE                         Unsecured          Filed 10/26/04                          $0.00          $10,000.00             $10,000.00
 070            1119 E 24TH STREET
 7100-00        OAKLAND, CA 94606




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001245-A       DON'S FRAMING                         Unsecured         Filed 10/13/04                             $0.00          $98,232.47                  $0.00
 070            5814 SUNGLO AVENUE                     Disallowed Per Order dated 6/2/09 (Docket # 3325)
 7100-00        PORT RICHEY, FL 34668

 001246-B       SIMON, DIANE                          Unsecured          Filed 10/13/04                            $0.00           $1,549.60             $1,549.60
 070            5820 SUNGLO AVE                        Reclassified per Order Dated 9/16/08 (Docket #1784)
 7100-00        PORT RICHEY, FL 34653

 001247-A       SIMON, ROBERT                         Unsecured         Filed 10/13/04                             $0.00          $27,015.76                  $0.00
 070            5814 SUNGLOW AVE                       Disallowed Per Order Dated 11/12/08 (Dkt # 2356)
 7100-00        PORT RICHEY, FL 34668

 001248-B       SIMON, JAMES T                        Unsecured         Filed 10/25/04                             $0.00          $22,957.94                  $0.00
 070            5814 SUNGLOW AVE                       Disallowed Per Order Dated 10/21/08 ( Docket# 2133)
 7100-00        PORT RICHEY, FL 34668

 001249         NIETO, MARTHA                         Unsecured          Filed 10/27/04                            $0.00               $0.00                  $0.00
 070            240 NEVADA AVE 17
 7100-00        VISTA, CA 92084

 001250         NIETO, MARTHA                         Unsecured          Filed 10/25/04                            $0.00             $450.00               $450.00
 070            240 NEVADA AVE 17
 7100-00        VISTA, CA 92084

 001255         MEJIA, AGUSTINA                       Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            658 1/2 COLUMBIA AVENUE
 7100-00        LANCASTER, PA 17603

 001256         MEJIA, AGUSTINA                       Unsecured          Filed 10/27/04                            $0.00             $265.19               $265.19
 070            658 1/2 COLUMBIA AVENUE
 7100-00        LANCASTER, PA 17603

 001257         HIDALGO, JUAN C                       Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            658 1/2 COLUMBIA AVENUE
 7100-00        LANCASTER, PA 17603

 001258         HIDALGO, JUAN C                       Unsecured          Filed 10/27/04                            $0.00             $530.38               $530.38
 070            658 1/2 COLUMBIA AVENUE
 7100-00        LANCASTER, PA 17603

 001259-B       PETER, ZOLITAN M.                     Unsecured          Filed 10/26/04                            $0.00               $0.00               $500.00
 070            80 LAFAYETTE LANE                      Reclassified Per Order Dated 12/22/08 (Docket #2748) (ac)
 7100-00        ELKHORN, WI 53121

 001260-B       GRACIELA MARTINEZ                     Unsecured          Filed 10/25/04                            $0.00               $0.00               $896.00
 070            322 1/2 E STATION ST                   Reclassifed Per Order Dated 12/9/08 (Docket #2667)
 7100-00        KANDAKEE, IL 60901

 001261         ANDERSON, CHRIS E.                    Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            1041 WALNUT ST.                        Disallowed per order 9-23-08
 7100-00        JACKSONVILLE, FL 32206

 001262         DUMONT, CHRISTOPHER J.                Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            1248 SUNNYVALE SARATOGA                Disallowed per order 11-6-09
 7100-00        APT #2
                SUNNYVALE, CA 94087



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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001263         CANTER, VERONICA                      Unsecured          Filed 10/26/04                            $0.00          $13,000.00            $13,000.00
 070            85 E. SHIELDS
 7100-00        FRESNO, CA 93704

 001264         CONWAY, JOSEPH E.                     Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            5034 SW 8TH PLACE                      Disallowed per order 12-7-09
 7100-00        CAPE CORAL, FL 33901

 001265-A       RIVERA, ROSA                          Unsecured          Filed 10/26/04                            $0.00             $194.00                  $0.00
 070            324 44TH ST. APT 42                    Relcassified Per Order Dated 4/22/09 (Docket #3183) (ca)
 7100-00        UNION CITY, NJ 07087

 001266-B       MONARCH TREE SERVICE                  Unsecured          Filed 10/26/04                            $0.00               $0.00             $2,062.00
 070            7290 EQUUS LN                          Reclassified per Order dated 03/08/2011 (Dkt #3900)
 7100-00        VACAVILLE, CA 95688

 001267         EMERGENCY CARE HEALTH                 Unsecured          Filed 10/26/04                            $0.00           $5,643.00             $5,643.00
 070            ORGANI                                 Reclassified per Order dated 03/14/2011 (Dkt #3933)
 7100-00        6545 RELIABLE PARKWAY
                CHICAGO, IL 60686

 001268         DERRICKS ROOFING                      Unsecured          Filed 10/26/04                            $0.00          $50,739.46            $50,739.46
 070            650 WARD DRIVE #F                      Duplicated by Claim #1269
 7100-00        SANTA BARBARA, CA 93111

 001269         DERRICKS ROOFING                      Unsecured          Filed 10/26/04                            $0.00          $50,739.46            $50,739.46
 070            650 WARD DR #F                         Duplicates Claim #1268
 7100-00        SANTA BARBARA, CA 93111

 001270         SONDRA R SININS                       Unsecured          Filed 10/26/04                            $0.00             $954.00               $954.00
 070            39 FARBROOK DR
 7100-00        SHORT HILLS, NJ 07078

 001271         MANUEL MARTINEZ MEZA dba              Unsecured          Filed 10/25/04                            $0.00          $13,223.20            $13,223.20
 070            ONARGA MARTINEZ
 7100-00        348 E STATION ST
                KANKAKEE, IL 60901

 001272         PIEL, L. REGINALD                     Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            5109 ROWE TRAIL                        Disallowed per order 12-22-08 (Dkt#2755)
 7100-00        PACE, FL 32571

 001273         TAMAYO, CELIA                         Unsecured          Filed 10/25/04                            $0.00             $485.44               $485.44
 070            5915 S MOZART
 7100-00        CHICAGO, IL 60629

 001275         WALDRON, MARION                       Unsecured          Filed 10/26/04                            $0.00           $1,106.35             $1,106.35
 070            33 RIVEREDGE ROAD
 7100-00        LINCOLN PARK, NJ 07035

 001276         CHARLECE CAPLINGER         Unsecured                     Filed 10/26/04                            $0.00          $48,542.30            $48,542.30
 070            DEPENDENT OF DECEASED TROY
 7100-00        CAPLINGER
                57 FALLWOOD LANE
                CRAWFORDVILLE, FL 32327




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001277         HEISLER & BRAY ATTORNEYS AT Unsecured          Filed 10/26/04                                      $0.00               $0.00                  $0.00
 070            LAW                          Disallowed per order 7-7-09
 7100-00        6351 OWENSMOUTH AVE STE 100
                WOODLAND HILLS, CA 91367

 001278-A       FRAZIER, WENDY                        Unsecured         Filed 10/26/04                             $0.00             $986.00                  $0.00
 070            12715 METTETAL STREET                  Disallowed Per Order Dated 11/3/08 (Dkt # 2277)
 7100-00        DETROIT, MI 48227

 001279         BUDDS, JASON                          Unsecured          Filed 10/26/04                            $0.00               $0.00                  $0.00
 070            12376 ANTLER HILL LANE
 7100-00        JACKSONVILLE, FL 32224

 001280         BERMUDE, FRANCISCO                    Unsecured          Filed 10/26/04                            $0.00             $319.30               $319.30
 070            1039 FENTON
 7100-00        AURORA, IL 60505

 001281         MOSS, LOUIS                           Unsecured          Filed 10/18/04                            $0.00               $0.00                  $0.00
 070            1509 RAINBOW RD                        Disallowed per order 11-9-09 (ac)
 7100-00        CHARLESTON, SC 29412

 001282-A       CHRISTIANSON, JAMES A.                Unsecured         Filed 10/20/04                             $0.00          $18,000.00                  $0.00
 070            10095 ARROW LEAF                       Disallowed Per Order Dated 10/7/08 (Docket #1986)
 7100-00        MORENO VALLEY, CA 92557

 001283         ALFRED P LUPPI MD                     Unsecured          Filed 10/28/04                            $0.00             $649.73               $649.73
 070            9903 CAMP ROAD
 7100-00        SPRING VALLEY, CA 91977

 001284         DBA PAUL F PUGSLEY DC                 Unsecured          Filed 10/28/04                            $0.00           $6,308.60             $6,308.60
 070            9901 CAMPO ROAD
 7100-00        SPRING VALLEY, CA 91977

 001285         COLEMAN, JAY C.                       Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            110 NORTON STREET                      Disallowed per order 10-7-08
 7100-00        SAVANNAH, GA 31404

 001286-A       DOUG LAFRANCE                         Unsecured         Filed 10/28/04                             $0.00           $2,854.08                  $0.00
 070            117 KESTZEL RD.                        Disallowed per Order Dated 12/2/08 (Docket #2580) (ac)
 7100-00        MOUNTAIN TOP, PA 18707

 001287         CEGUEDA, MARIO                        Unsecured          Filed 10/28/04                            $0.00             $692.50               $692.50
 070            1139 31ST ST
 7100-00        SAN DIEGO, CA 92102

 001289         SMITH, WILLIAM                        Unsecured          Filed 10/28/04                            $0.00           $1,809.21             $1,809.21
 070            7350 PUTMAN ROAD
 7100-00        VACAVILLE, CA 95688

 001292-B       ROBERT DAIGNEAULT MD                  Unsecured          Filed 10/28/04                            $0.00          $20,407.70            $20,407.70
 070            227 N EL CAMINO REAL STE 100           Reclassified per Order dated 03/08/2011 (Dkt #3904)
 7100-00        ENCINITAS, CA 92024




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001295-A       SYLVIA, VEGA                          Unsecured         Filed 10/28/04                             $0.00           $2,400.00                  $0.00
 070            P O BOX 360559                         Allowed Per Order Dated 11/12/08 (Dkt # 2289)
 7100-00        SAN JUAN, PR 00936

 001297-B       EL CAMINO MED CENTER                  Unsecured          Filed 10/28/04                            $0.00           $1,342.43              $1,342.43
 070            227 N EL CAMINO REAL                   Reclassified per Order dated 03/08/2011 (Dkt #3905)
 7100-00        SUITE 100
                ENCINTIAS, CA 92024

 001298-A       TOLEDO, EDWIN D                       Unsecured         Filed 11/01/04                             $0.00           $1,578.73                  $0.00
 070            41 1D CROWN CIRCLE                     Disallowed Per Order Dated 12/31/08 (Docket #2816) (ac)
 7100-00        SCRANTON, PA 18505

 001300         HENRIQUEZ, PORFIRIO A.                Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            8603 WYSTONE AVE.
 7100-00        NORTHRIDGE, CA 91324

 001303         STATE OF MICHIGAN - DEPT OF Unsecured         Filed 10/21/04                                       $0.00             $236.76               $236.76
 070            TREASURY                     Allowed per Order dated 10/05/2011 (Dkt #4216)
 7100-00        REVENUE DIV
                ATTN: STEVEN B FLANCHER AAG
                P O BOX 30754
                LANSING, MI 48909

 001304         THOMAS GRIFFIN                        Unsecured          Filed 10/29/04                            $0.00          $20,000.00             $20,000.00
 070            C/O PAUL D GOLDSTEIN ESQ
 7100-00        11900 BISCAYNE BLVD STE 501
                MIAMI, FL 33181

 001305-A       KOLLER COATINGS                       Unsecured         Filed 10/29/04                             $0.00          $45,911.87                  $0.00
 070            CORPORATION                            Disallowed Per Order dated 7/7/09 (Docket # 3356)
 7100-00        2901 WEST COAST HIGHWAY
                NEWPORT BEACH, CA 92663

 001306         ZITT, JON R.                          Unsecured          Filed 10/29/04                            $0.00         $100,000.00            $100,000.00
 070            c/o LAW OFFICE OF PIERRE
 7100-00        VAUGHN
                4817 PALM AVE STE I
                LA MESA, CA 91941

 001307-B       ANNETTE PALMATEER                     Unsecured          Filed 10/28/04                            $0.00               $0.00              $1,113.64
 070            130 WATER ST.                          Reclassified per Order Dated 12/2/08 (Docket #2595)
 7100-00        WADSWORTH, OH 44281

 001308         MARTIN                                Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            BROTHERS/MARCOWALL INC                 Disallowed per order 12-22-08
 7100-00        17104 SOUTH FIGEROA STREET
                GARDENA, CA 90248

 001310         MONSALVE, JUAN CARLOS                 Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            74 MYRTLE AVE                          Disallowed per order 9-23-08
 7100-00        DOVER, NJ 07801




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                 Claimed             Allowed
 001311         OLMO, RUTH N                          Unsecured         Filed 10/28/04                             $0.00           $2,400.00                  $0.00
 070            POST OFFICE BOX 2985                   Disallowed Per Order Dated 10/27/08 ( Dkt # 2197)
 7100-00        CAROLINA, PR 00984

 001312-A       ANDINO, ALEJANDRO                     Unsecured          Filed 10/28/04                            $0.00           $2,400.00                  $0.00
 070            323 GUATIER BENITEZ ST                 Reclassified per Order dated 1/12/10 (Docket No. 3718)
 7100-00        SAN JUAN, PR 00915

 001315         NE OCCUPATIONAL MEDICINE              Unsecured          Filed 10/29/04                            $0.00           $4,991.80              $4,991.80
 070            REHAB
 7100-00        769 KEYSTONE INDUST PARK
                DUNMORE, PA 18512

 001316-A       HERNANDEZ, ZAINAT                     Unsecured          Filed 10/29/04                            $0.00             $330.00                  $0.00
 070            101 HAMPDEN DR.                        Reclassified Per Order Dated 5/20/09 (Docket # 3262) (ac)
 7100-00        MOUNTVILLE, PA 17554

 001317         SOLIS, JUAN                           Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            PO BOX 1534                            Disallowed per order 12-3-09
 7100-00        DOVER, NJ 07802

 001318         CASIAN, MARIA                         Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            2470 KATHRYN AVE
 7100-00        POMONA, CA 91766

 001319-B       LEWIS, ANDREW                         Unsecured          Filed 10/29/04                            $0.00             $535.21                  $0.00
 070            3137 GLENDALE ST.                      Disallowed per order 9-9-08
 7100-00        MUSKEGON HTS, MI 49444

 001320-B       DEBRA A DAVIS                         Unsecured          Filed 10/28/04                          $0.00                 $0.00              $2,303.74
 070            13408 120TH AVE                        Reclassified per Order Dated 8/26/08 (Docket #1656) Amends Claim #1131
 7100-00        GRAND HAVEN, MI 49417

 001321         HARBOUR REALTY ADVISORS    Unsecured                     Filed 10/29/04                            $0.00         $145,173.01            $145,173.01
 070            INC
 7100-00        C/O GREENBERG TRAURIG LLP
                ATTN: JACQUELINE GREENBERG
                VOGT ESQ
                200 CAMPUS DR
                FLORHAM PARK, NJ 07932

 001322         DAVIS, KERRY                          Unsecured          Filed 10/29/04                            $0.00           $6,600.00              $6,600.00
 070            3124 CEADERHURST PL.
 7100-00        CHARLOTTE, NC 28269

 001323         FISCHER PERIMAN                       Unsecured        Filed 10/29/04                              $0.00         $134,728.72                  $0.00
 070            124 MIRACLE STRIP PARKWAY              Expunged per Order dated 01/10/12 (Dkt #4262)
 7100-00        SUITE 502
                MARY ESTHER, FL 32569

 001324         GENERAL CONSTRUCTION                  Unsecured          Filed 10/29/04                            $0.00          $22,986.91             $22,986.91
 070            COMPANY
 7100-00        GENCON DEVELOPMENT, INC
                PO BOX 61738
                SANTA BARBARA, CA 93160




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                Claimed             Allowed
 001325-B       MAUREEN E CRUZ                        Unsecured          Filed 10/29/04                            $0.00                $0.00               $827.71
 070            756 W VINE ST                          Reclassified Per Order Dated 12/15/08 (Dkt # 2702 )
 7100-00        LANCASTER, PA 17603

 001326-B       AIDALIS LOPEZ                         Unsecured         Filed 10/29/04                            $0.00                 $0.00              $3,735.60
 070            1001 AYRES CT.                         Reduced and Reclassified Per Order Dated 12/22/08 (Docket # 2730) (ac)
 7100-00        LANCASTER, PA 17602

 001327-B       EMMONS ROOF SERVICE                   Unsecured          Filed 10/29/04                            $0.00          $240,104.00            $418,297.00
 070            PO BOX 1150                            Reclassified per Order dated 04/26/2011 (Dkt 4105)
 7100-00        POMONA, CA 91769

 001328         LUCY A RAPHAELPAL                     Unsecured          Filed 10/28/04                            $0.00                $0.00                  $0.00
 070            908 RHODE ISLAND STREET
 7100-00        APT A
                SAN FRANCISCO, CA 94107

 001330         UNIVERSAL PSYCHE MEDICAL              Unsecured          Filed 10/29/04                            $0.00            $8,378.00              $8,378.00
 070            GROUP
 7100-00        5211 E WASHINGTON BLVD
                LOS ANGELES, CA 90040

 001331         PACIFIC SOUTH MEDICAL GROUP Unsecured          Filed 10/29/04                            $0.00            $19,379.51                      $19,379.51
 070            5211 E WASHINGTON BLVD       Duplicated by Claim #1660. Reclassified per Order dated 03/08/2011 (Dkt #3885)
 7100-00        LOS ANGELES, CA 90040

 001332         WILBUR ANDERSON MEDIATION Unsecured                      Filed 10/29/04                            $0.00              $900.00               $900.00
 070            PA
 7100-00        PO BOX 23338
                JACKSONVILLE, FL 32241

 001333         WILBUR ANDERSON MEDIATION Unsecured                      Filed 10/29/04                            $0.00              $566.35               $566.35
 070            PA
 7100-00        P O BOX 23338
                JACKSONVILLE, FL 32241

 001334         GALARCEP, MAURICIO                    Unsecured          Filed 10/29/04                            $0.00                $0.00                  $0.00
 070            842 SW 14 AVE #1
 7100-00        MIAMI, FL 33135

 001335         MC STRAUSS COMPANY                    Unsecured          Filed 10/29/04                            $0.00            $4,675.25              $4,675.25
 070            CO PDR PROPERTY
 7100-00        MANAGEMENT
                12328 GLADSTONE AVE #2
                SYLMAR, CA 91342

 001336         JACOBSON, JAMES                       Unsecured          Filed 10/29/04                            $0.00           $60,000.00             $60,000.00
 070            5676 E. BUCKINGHAM
 7100-00        FRESNO, CA 93727

 001338         SCHROEDER, JOHN K.                    Unsecured         Filed 10/29/04                             $0.00                $0.00                  $0.00
 070            503 EDGEWATER DRIVE                    Duplicate of POC #1680
 7100-00        PENSACOLA, FL 32507




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 001341         RUFFOLO HOOPER ASSOCIATES             Unsecured          Filed 10/29/04                           $0.00             $798.00               $798.00
 070            PO BOX 918377
 7100-00        ORLANDO, FL 32891

 001342         MEJIA, JOSE ADRIAN                    Unsecured          Filed 10/29/04                           $0.00          $45,000.00            $45,000.00
 070            305 2ND ST E
 7100-00        LA HABRA, CA 90631

 001343-B       AYBAR GARAICOA                        Unsecured          Filed 10/29/04                           $0.00               $0.00               $360.00
 070            45 ROSSITER AVE                        Disallowed per order 12-9-08
 7100-00        PATERSON, NJ 07502

 001344         GALEAS, ELY                           Unsecured          Filed 10/29/04                           $0.00           $3,500.00             $3,500.00
 070            1629 ESPANOLA AVE 108
 7100-00        HOLLY HILL, FL 32117

 001345         HOLDREN INSURANCE AGENCY              Unsecured          Filed 11/01/04                           $0.00               $0.00                  $0.00
 070            171 S ANITA DR #212
 7100-00        ORANGE, CA 92868

 001346         ESPINAL, ELIAS                        Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            268 LINDEN AV
 7100-00        BELLEVILLE, NJ 07109

 001349         CARCAMO, ERICK A.                     Unsecured          Filed 10/29/04                           $0.00          $60,000.00            $60,000.00
 070            420868 PO BOX
 7100-00        MIAMI, FL 33242

 001350         SEAN LILLY ROOFING                    Unsecured          Filed 10/29/04                           $0.00           $3,798.00             $3,798.00
 070            890 SW 69TH AVENUE                     Reclassifed per Order dated 03/08/2011 (Dkt #3901)
 7100-00        MIAMI, FL 33144

 001353         JOSE RAMIREZ                          Unsecured          Filed 10/29/04                           $0.00          $20,000.00            $20,000.00
 070            3200 SOUTH 7TH STREET
 7100-00        LOT 56
                FORT PIERCE, FL 34982

 001354         FROST, LAWRENCE L.                    Unsecured         Filed 10/29/04                            $0.00           $1,391.90                  $0.00
 070            744 W. FALLBROOK, #84                  Disallowed Per Order Dated 8/25/08 (Docket #1628)
 7100-00        FALLBROOK, CA 92028

 001355-A       SUTTON TREE SERVICE                   Unsecured        Filed 10/29/04                             $0.00          $23,093.40                  $0.00
 070            2236 SOUTH SANTA FE                    Expunged per Order dated 03/14/2011 (Dkt #3937)
 7100-00        VISTA, CA 92084

 001356         MEDICAL PROFESSIONAL          Unsecured                  Filed 10/29/04                           $0.00             $167.00               $167.00
 070            AGENCY
 7100-00        dba BAPTIST BUSINESS HEALTH
                SOLUTIONS
                9400 UNIVERSITY PKWY STE 101A
                PENSACOLA, FL 32514

 001357         MEDICAL PROFESSIONAL                  Unsecured          Filed 10/29/04                           $0.00             $492.00               $492.00
 070            AGENCY
 7100-00        dba BAPTIST BUSINESS HEALTH
                SOLUTIONS



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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled               Claimed             Allowed
                9400 UNIVERSITY PKWY STE 101A
                PENSACOLA, FL 32514


 001358         LAMM CONSTRUCTION                     Unsecured          Filed 10/29/04                         $0.00               $0.00                  $0.00
 070            3222 LORRINE DR STE D                  Disallowed per order 5-17-11
 7100-00        ORLANDO, FL 32803

 001359         WIESNER, ANDREW H                     Unsecured          Filed 10/29/04                         $0.00          $32,412.00            $32,412.00
 070            1074 CHANBELEER
 7100-00        CHERRY HILL, NJ 08003

 001360-A       THE PORT AUTHORITY OF NY    Unsecured         Filed 10/28/04                           $0.00            $64,975.61                         $0.00
 070            AND NJ                       Priority Amount Reduced & Allowed per 4/19/10 Order (Dkt #3756). Unsecured Portion
 7100-00        OFFICE OF DONALD F BURKE ESQ Remains Unliquida
                ATTN: EZRA BIALIK ESQ
                225 PARK AVE S 13TH FL
                NEW YORK, NY 10003

 001361-B       GONZALES, PASQUAL                     Unsecured         Filed 10/29/04                          $0.00           $7,920.00                  $0.00
 070            415 DONNAS LANE                        Disallowed Per Order Dated 10/21/08 (Dkt # 2091) (ca)
 7100-00        HOLLISTER, CA 95023

 001362         HALL, HAROLD                          Unsecured          Filed 10/29/04                         $0.00               $0.00                  $0.00
 070            354 KERKIMER STREET                    Disallowed per order 12-7-09
 7100-00        BUFFALO, NY 14213

 001363         CLAIM NUMBER VOIDED                   Unsecured                                                 $0.00               $0.00                  $0.00
 070
 7100-00

 001364         ESPINOZA, RIGOBERTO                   Unsecured          Filed 10/29/04                         $0.00               $0.00                  $0.00
 070            11731 PUERTO REAL RD
 7100-00        FONTANA, CA 92337

 001366-B       MISSOURI DEPT OF LABOR & IND Unsecured         Filed 10/28/04                                   $0.00             $200.00               $200.00
 070            RELATIONS                     Allowed per Order dated 03/28/2011 (Dkt #4002)
 7100-00        C/O MISSOURI DIV OF EMP
                SECURITY
                P O BOX 59
                ATTN: LEGAL COUNSEL
                JEFFERSON CITY, MO 65104

 001367         MV TRANSPORTATION and those           Unsecured          Filed 10/28/04                         $0.00               $0.00                  $0.00
 070            persons
 7100-00        listed on Attachment A
                360 CAMPUS LANE
                FAIRFIELD, CA 94345

 001368         LEWIS, RICHARD                        Unsecured          Filed 10/29/04                         $0.00               $0.00                  $0.00
 070            109 SOFTWIND CIRCLE
 7100-00        BALDWINSVILLE, NY 13027




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 001369-A       BROWN, SHANE S.                       Unsecured         Filed 10/29/04                            $0.00           $2,736.00                  $0.00
 070            128 TILDENVILLE SCH. RD.               Disallowed Per Order Dated 12/22/08 (Docket #2765)
 7100-00        WINTER GARDEN, FL 34787

 001370         DIMANE CONSTRUCTION                   Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            3545 US 1 S                            Disallowed per order 4-19-11
 7100-00        ST AUGUSTINE, FL 32086

 001372         VIZCAINO-RODRIQUEZ, ROSA E.           Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            15571 1/2 BINNET ST.                   Disallowed per order 10-27-09
 7100-00        HACIENDA HTS., CA 91745

 001373         PERKINS, CAMILLE                      Unsecured         Filed 10/29/04                            $0.00             $280.36                  $0.00
 070            42 E. 138TH                            Disallowed per Order Dated 10/21/08 (Docket #2092)
 7100-00        RIVERDALE, IL 60827

 001375         DEHAVE, ALBERT                        Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            183 E. GROVE ST.                       Disallowed per order 12-3-09
 7100-00        EDWARDSVILLE, PA 18704

 001376         MARLIN, LEE B,.                       Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            1204 S OAK AVENUE                      Disallowed per order 11-9-09
 7100-00        SANFORD, FL 32771

 001378         GARCIA, HUGO                          Unsecured         Filed 10/29/04                            $0.00              $25.00                  $0.00
 070            28367 SAND CYN RD.11                   Disallowed Per Order Dated 11/3/08 (Docket #2279)
 7100-00        CANYON COUNTRY, CA 91351

 001379         DASILVA, ADILSON                      Unsecured          Filed 10/29/04                           $0.00             $289.16               $289.16
 070            77 FERGUSON ST
 7100-00        NEWARK, NJ 07105

 001381         ELLISON, DAVID C.                     Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            19571 COVELL ST                        Disallowed per order 3-10-09 (ca)
 7100-00        RIVERSIDE, CA 92508

 001382-C       SALINAS, JOSE LUIS                    Unsecured         Filed 10/29/04                            $0.00             $294.00                  $6.00
 070            3333 MARINE AVENUE                     Reduced and Reclassified Per Order Dated 11/18/08 (Docket #2424)
 7100-00        APARTMENT # 7
                GARDENA, CA 90249

 001383-A       NUNEZ PARAMO, MIRNA                   Unsecured         Filed 10/29/04                            $0.00             $157.56                  $0.00
 070            3333 MARINNE                           Reduced Per Order Dated 11/12/08 (Dkt # 2351)
 7100-00        APARTMENT #7
                GARDENA, CA 90247

 001384         ASSOCIATED REPRODUCTION               Unsecured          Filed 10/29/04                           $0.00           $2,549.83             $2,549.83
 070            SVCS
 7100-00        13925 WHITTIER BLVD
                WHITTIER, CA 90605

 001385         ASSOCIATED REPRODUCTION               Unsecured          Filed 10/29/04                           $0.00           $3,560.44             $3,560.44
 070            SVCS
 7100-00        13925 WHITTIER BLVD
                WHITTIER, CA 90605




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 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                 Claimed               Allowed
 001386         ASSOCIATED REPRODUCTION               Unsecured          Filed 10/29/04                         $0.00             $2,664.13               $2,664.13
 070            SVCS
 7100-00        13925 WHITTIER BLVD
                WHITTIER, CA 90605

 001387         JIMENEZ, GILBERTO                     Unsecured          Filed 10/29/04                         $0.00                 $0.00                   $0.00
 070            9635 BASELINE #146
 7100-00        RANCH CUCAMONGA, CA 91730

 001389         ENTERPRISE BUILDERS INC               Unsecured          Filed 10/29/04                         $0.00                 $0.00                   $0.00
 070            4025 GUASTI ROAD SUITE 409
 7100-00        ONTARIO, CA 91761

 001391         CISNEROS, LUCIA                       Unsecured          Filed 10/29/04                         $0.00                 $0.00                   $0.00
 070            161 E. FULTON
 7100-00        APT 201
                AURORA, CO 80010

 001392         MORENO JOSE LUIS                      Unsecured          Filed 10/29/04                         $0.00                 $0.00                   $0.00
 070            4348 W 179TH ST
 7100-00        TORRANCE, CA 90504

 001393         CA UNINSURED EMP BENEFIT              Unsecured        Filed 10/29/04                           $0.00          $7,480,000.00           $7,480,000.00
 070            TRUST FUND                             Amends Claim #658
 7100-00        OFC OF THE DIRECTOR - LEGAL
                UNIT
                ATTN: BANKRUPTCY UNIT
                320 W FOURTH ST STE 600
                LOS ANGELES, CA 90013

 001394         GOMEZ, RIGOBERTO                      Unsecured          Filed 10/29/04                         $0.00                 $0.00                   $0.00
 070            80 RAEMERE ST.                         Disallowed per order 1-5-09 (ca)
 7100-00        CAMARILLO, CA 93010

 001395         RODGERS, ROBERT H                     Unsecured          Filed 10/29/04                         $0.00           $100,000.00             $100,000.00
 070            31268 FRANS HALS DR
 7100-00        WINCHESTER, CA 92596

 001396         BRIAN DORMAN CONSTRUCTION Unsecured                      Filed 10/29/04                         $0.00                 $0.00                   $0.00
 070            4182 CITRUS DR.
 7100-00        FALLBROOK, CA 92028

 001399         GIBSON, DOUGLAS                       Unsecured          Filed 10/29/04                         $0.00                 $0.00                   $0.00
 070            1707 NE 42ND COURT
 7100-00        POMPANO BEACH, FL 33064

 001400-B       TANSEY, BRUCE                         Unsecured         Filed 10/29/04                          $0.00             $3,124.71                   $0.00
 070            3041 SANDPIPER BAY CIR                 Disallowed per Order Dated 2/9/10 (Docket #3739)
 7100-00        NAPLES, FL 34112

 001401-A       NAZARIO, FRANCISCA                    Unsecured          Filed 10/29/04                          $0.00              $206.46                   $0.00
 070            18 REMSEN AVE.                         Reclassified per Order Dated 12/9/08 (Docket #2661) Amends Claim #388
 7100-00        NEW BRUNSWICK, NJ 08901




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 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled               Claimed             Allowed
 001404         MARGOT ROSEBERRY                      Unsecured          Filed 10/29/04                         $0.00               $0.00                  $0.00
 070            263 BARKSDALE DR                       Disallowed per order 1-13-09 (ca)
 7100-00        CHARLESTOWN, WV 25414

 001405-C       SALINAS, JOEL                         Unsecured          Filed 10/29/04                         $0.00             $294.00                  $0.00
 070            3333 MARINE AVENUE                     Reclassified Per Order Dated 11/18/08 (Docket #2423)
 7100-00        APARTMENT # 7
                GARDENA, CA 90249

 001407         QUINTERO, VALENTE                     Unsecured          Filed 10/28/04                         $0.00          $18,153.86             $18,156.86
 070            1717 ERNIE LN
 7100-00        GRAND PRAIRIE, TX 75052

 001409         STRUCTURAL PRESTRESSED                Unsecured          Filed 10/27/04                         $0.00         $250,000.00            $250,000.00
 070            11405 NW 138TH STREET
 7100-00        MIAMI, FL 33178

 001410         STRUCTURAL PRESTRESSED                Unsecured          Filed 10/28/04                         $0.00         $250,000.00            $250,000.00
 070            11405 NW 138TH ST
 7100-00        MIAMI, FL 33178

 001411-A       STATE OF FLORIDA - DEPT OF            Unsecured        Filed 10/28/04                           $0.00             $400.00                  $0.00
 070            REVENUE                                Expunged per Order dated 05/03/2011 (Dkt 4113)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001412-B       STATE OF FLORIDA - DEPT OF            Unsecured        Filed 10/28/04                           $0.00             $150.00                  $0.00
 070            REVENUE                                Expunged per Order dated 05/03/2011 (Dkt 4113)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001413-A       STATE OF FLORIDA - DEPT OF            Unsecured        Filed 10/28/04                           $0.00             $100.00                  $0.00
 070            REVENUE                                Expunged per Order dated 05/03/2011 (Dkt 4113)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001414-B       STATE OF FLORIDA - DEPT OF            Unsecured        Filed 10/28/04                           $0.00             $150.00                  $0.00
 070            REVENUE                                Expunged per Order dated 05/03/2011 (Dkt 4113)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001415         HORSEPOWER ELECTRIC CO, INC. Unsecured                   Filed 10/28/04                         $0.00         $200,000.00            $200,000.00
 070            8105 WEST 20TH AVENUE
 7100-00        HIALEAH, FL 33014




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 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed               Allowed
 001417         TEMPORARY SERVICES                    Unsecured          Filed 10/28/04                           $0.00       $1,569,189.00            $1,569,189.00
 070            INSURANCE LTD
 7100-00        C/O KENSINGTON
                P O BOX 10027APO
                2ND FL GENESIS BLDG
                GRAND CAYMAN CAYMAN
                ISLANDS BWI

 001419         AMANDER SPARKS as guardian of         Unsecured          Filed 10/28/04                           $0.00          $55,794.46              $55,794.46
 070            AUSTIN CAPLINGER, dependent of
 7100-00        deceased
                TRAY CAPLINGER c/o PAUL D
                SRYGLEY
                1266 CEDAR CENTER DR
                TALLAHASSEE, FL 32301

 001420         AARON MALLICK                         Unsecured          Filed 10/29/04                           $0.00          $50,000.00              $50,000.00
 070            166 N FULTON
 7100-00        BRADLEY, IL 60915

 001421         MILES COPE DRYWALL                    Unsecured          Filed 10/29/04                           $0.00          $16,883.03              $16,883.03
 070            12329 MOOSE ROAD
 7100-00        JACKSONVILLE, FL 32226

 001422         ARIESKY VASQUEZ                       Unsecured          Filed 10/29/04                           $0.00          $10,000.00              $10,000.00
 070            13150 SW 17TH TERRACE
 7100-00        MIAMI, FL 33175

 001423         CHODZIN ROOFING                       Unsecured          Filed 10/29/04                           $0.00           $5,000.00               $5,000.00
 070            C/O SEAN W KELLEY PL
 7100-00        801 EATON STREET
                KEY WEST, FL 33040

 001424-A       SEARCY, GEORGE                        Unsecured         Filed 10/29/04                            $0.00           $2,711.09                   $0.00
 070            4479 PHILLIPS HWY. LOT89               Disallowed Per Order Dated 10/21/08 (Docket #2134)
 7100-00        JACKSONVILLE, FL 32207

 001425-B       JOHN L WILLIAMSON                     Unsecured         Filed 10/29/04                            $0.00           $1,428.50                   $0.00
 070            3034 DELOR DR                          Disallowed Per Order Dated 10/27/08 (Docket #2202)
 7100-00        JACKSONVILLE, FL 32234

 001426-A       JAMES RONALD JONES                    Unsecured          Filed 10/29/04                           $0.00             $883.77                 $883.77
 070            7202 SILVER LAKE TERRACE               Reclassified Per Order Dated 12/2/08 (Docket #2577) (ca)
 7100-00        JACKSONVILLE, FL 32216

 001427-B       JONES, JAMES                          Unsecured         Filed 10/29/04                            $0.00           $1,056.33                   $0.00
 070            224 E PISA PLACE                       Disallowed Per Order Dated 10/7/08 (Docket #2007)
 7100-00        ST. AUGUSTINE, FL 32084

 001428-A       PARRIS, ERNEST                        Unsecured         Filed 10/29/04                            $0.00           $1,845.04                   $0.00
 070            17347 NEW BRANDY BRANCH                Disallowed per Order Dated 10/21/08 (Docket #2106)
 7100-00        BALDWIN, FL 32234




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                 Claimed             Allowed
 001429-B       GOOD, WILLIAM                         Unsecured         Filed 10/29/04                             $0.00               $357.69                  $0.00
 070            4479 PHILIPS HWY. LOT 79               Disallowed Per Order Dated 10/7/08 (Dkt # 1983)
 7100-00        JACKSONVILLE, FL 32207

 001430-A       JONES, JAN                            Unsecured         Filed 10/29/04                             $0.00             $2,416.27                  $0.00
 070            4440 HEAVEN TREES RD.                  Disallowed Per Order Dated 10/7/08 (Docket #1635)
 7100-00        JACKSONVILLE, FL 32207

 001431-B       CARVEY, ELISA                         Unsecured         Filed 10/29/04                            $0.00              $2,091.04             $2,091.04
 070            4479 PHILLIPS HW.                      Reduced and Reclassified per Order Dated 10/7/08 (Docket #1988)
 7100-00        JACKSONVILLE, FL 32207

 001432-A       SUNTREE MOBILE HOME PARK              Unsecured          Filed 10/29/04                            $0.00             $6,331.04             $6,331.04
 070            4479 PHILLIPS HIGHWAY                  Reclassified per Order dated 04/19/2011 (Dtk #4066)
 7100-00        JACKSONVILLE, FL 32207

 001433-B       URZUA, MARILU                         Unsecured         Filed 10/29/04                             $0.00               $250.00                  $0.00
 070            2532 L ST                              Disallowed per Order Dated 1/12/10 (Docket No. 3715)
 7100-00        SAN DIEGO, CA 92102

 001434-A       URZUA MARILU                          Unsecured         Filed 10/29/04                            $0.00                $250.00               $250.00
 070            2532 L ST                              Modified and Reclassified per Order Dated 1/12/10 (Docket No. 3715)
 7100-00        SAN DIEGO, CA 92102

 001435         DUARTE, EPIGMENIA                     Unsecured          Filed 10/29/04                            $0.00                 $0.00                  $0.00
 070            793 E. 47TH STREET
 7100-00        LOS ANGELES, CA 90011

 001436         RODRIGUEZ, BENJAMIN                   Unsecured          Filed 10/29/04                            $0.00                 $0.00                  $0.00
 070            16205 KLAMATH ST.                      Disallowed per order 3-10-09
 7100-00        VALINDA, CA 91744

 001437         MILLER, SANDY                         Unsecured          Filed 10/29/04                            $0.00             $2,785.00             $2,785.00
 070            343 A SCHLEY ST.
 7100-00        APT. A 7
                NEWARK, NJ 07112

 001438         SNIPES, RONNIE                        Unsecured          Filed 10/29/04                            $0.00                 $0.00                  $0.00
 070            PO BOX 2                               Disallowed per order 3-10-09
 7100-00        BOSTWICK, FL 32007

 001439         FLORIDA TIMES UNION                   Unsecured          Filed 10/29/04                            $0.00             $3,492.38             $3,492.38
 070            POST OFFICE BOX 1949
 7100-00        ATTN: VERONICA HUOTARI
                JACKSONVILLE, FL 32231

 001440         FIRMINO, IZAQUE                       Unsecured          Filed 10/29/04                            $0.00               $343.81               $343.81
 070            77 FERGUSON ST
 7100-00        NEWARK, NJ 07105

 001441-A       HOLDEN, TANYA                         Unsecured          Filed 10/29/04                            $0.00                 $0.00               $507.00
 070            5848 NTH 7TH ST                        Reclassified Per Order Dated 12/22/08 (Docket #2750)
 7100-00        PHILADELPHIA, PA 19120




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 001442-B       BENSON, JOHN                          Unsecured          Filed 10/29/04                           $0.00               $0.00             $2,800.00
 070            1541 W. 3RD STREET                     Reclassified Per Order Dated 12/22/08 (Docket #2758)
 7100-00        SANTA ROSA, CA 98525

 001443         ROBIN SININS                          Unsecured         Filed 10/29/04                            $0.00          $18,000.00                  $0.00
 070            99 PARK AVENUE                         Disallowed Per Order Dated 10/21/08 (Dkt# 2111)
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001444         ROBIN SININS                          Unsecured         Filed 10/29/04                            $0.00          $15,400.00                  $0.00
 070            99 PARK AVE                            Disallowed Per Order Dated 10/21/08 (Dkt# 2111)
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001445         ROBIN SININS                          Unsecured         Filed 10/29/04                            $0.00           $8,000.00                  $0.00
 070            99 PARK AVE                            Disallowed per Order Dated 10/21/08 (Docket #2111)
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001446         ROBIN SININS                          Unsecured         Filed 10/29/04                            $0.00             $765.00                  $0.00
 070            99 PARK AVE                            Disallowed per Order Dated 10/21/08 (Docket #2111)
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001447         ROBIN SININS                          Unsecured         Filed 11/01/04                            $0.00             $765.00                  $0.00
 070            99 PARK AVE                            Disallowed per Order Dated 10/21/08 (Docket #2111)
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001448         CASHEN, WILLIAM G.                    Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            1561 NAPLES CIRCLE                     Disallowed per order 11-9-09
 7100-00        DELTONA, FL 32738

 001449-A       MARINO LORYN                          Unsecured         Filed 10/29/04                            $0.00          $11,900.00                  $0.00
 070            2 CHELTENHAM PLACE                     Disallowed per Order Dated 1/13/09 (Docket #2856) (ac)
 7100-00        APT 2
                SAYREVILLE, NJ 08872

 001450         EXCUS, ELITUS                         Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            719 EXECUTIVE CENTER CR.
 7100-00        APARTMENT C208
                WEST PALM BEACH, FL 33401

 001451-B       WILLIAMSON, GREGORY                   Unsecured         Filed 10/29/04                            $0.00             $338.00                  $0.00
 070            331 STIPAUL                            Disallowed Per Order Dated 10/27/08 (Docket #2203)
 7100-00        MEMPHIS, TN 38126

 001453         RIVERA, WILLIAM                       Unsecured         Filed 10/29/04                            $0.00           $1,110.00                  $0.00
 070            1671 GOSHEN RD                         Disallowed Per Order Dated 4/24/09 (Docket #3242)
 7100-00        APT E-4
                AUGUSTA, GA 30906

 001454         MONTIEL, LUZ Z.                       Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            1012 ROSEWOOD AVE
 7100-00        INGLEWOOD, CA 90302




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                 Claimed             Allowed
 001455         RAMOS, ROBERTO                        Unsecured          Filed 10/29/04                            $0.00           $4,956.64             $4,956.64
 070            442 SEVENTH STREET
 7100-00        FAIRVIEW, NJ 07022

 001457-A       CORNEJO, SERAFIN                      Unsecured         Filed 10/29/04                             $0.00           $2,000.00                  $0.00
 070            22190 DEPRAD ST                        Disallowed Per Order dated 4/21/09 (Docket #3167)
 7100-00        PERRIS, CA 92570

 001458         JACKSON, MELINDA S.                   Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            6790 GILDA CRT
 7100-00        KEYSTONE HEIGHTS, FL 32656

 001459-B       BARR, ANJEANNETTE                     Unsecured          Filed 10/29/04                            $0.00               $0.00               $242.00
 070            5731 DEWEY BLVD.                       Reclassified Per Order Dated 12/22/08 (Docket #2759) (ac)
 7100-00        APT G
                SACARAMENTO, CA 95824

 001460         DELABRUERE, CAROL JEAN                Unsecured          Filed 10/29/04                            $0.00          $25,000.00            $25,000.00
 070            426 LOCKHART
 7100-00        DAYTONA BEACH, FL 32114

 001461         VALENZUELA, RUBEN                     Unsecured          Filed 10/29/04                            $0.00           $1,287.48             $1,287.48
 070            111 S. BELMONT AVE.
 7100-00        NATIONAL CITY, CA 91950

 001462         CONWAY, SCOTT M                       Unsecured          Filed 10/29/04                            $0.00             $500.00               $500.00
 070            105 MARION STREET
 7100-00        BRIDGEPORT, CT 06605

 001463         ROBINSON, KATHRYN                     Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            3011 RALEIGH DR
 7100-00        STOCKTON, CA 95209

 001464         BAKER, FRED R.                        Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            214 LULLWATER DRIVE
 7100-00        PANAMA CITY, FL 32413

 001465         WILLIAMS, JEANNIE                     Unsecured         Filed 10/28/04                             $0.00           $1,200.00                  $0.00
 070            3731 56TH ST.                          Disallowed Per Order Dated 4/22/09 (Docket #3185)
 7100-00        SACRAMENTO, CA 95820

 001466         WILLIAMS, JEANNIE                     Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            3731 56TH ST.                          Disallowed per order 4-22-09
 7100-00        SACRAMENTO, CA 95820

 001467         BROWN, JOSHUA K.                      Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            3805 THE LORDS WAY                     Disallowed per order 10-27-09
 7100-00        NAPLES, FL 34114

 001468         BROWN, JOSHUA K.                      Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            9405 MARINO CI
 7100-00        NAPLES, FL 34114




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 001469         SAHAPOGLU, MELISSA                    Unsecured          Filed 10/29/04                          $0.00           $3,086.64              $3,086.64
 070            5891 12TH AVENUE SW
 7100-00        NAPLES, FL 34116

 001470         SAHAPOGLU, ALFRED                     Unsecured          Filed 10/29/04                          $0.00          $25,538.88             $25,538.88
 070            7380 STONEGATE DRIVE
 7100-00        NAPLES, FL 34109

 001472         BERUMEN, JOSE                         Unsecured          Filed 10/29/04                          $0.00               $0.00                  $0.00
 070            504 EAST 29TH STREET
 7100-00        SAN BERNARDINO, CA 92404

 001473         MEDICIA CORP                          Unsecured         Filed 10/29/04                           $0.00          $36,936.05                  $0.00
 070            ATTN: STACEY D PACELLI ESQ             Claim withdrawn per document dated 2/23/06
 7100-00        WINTHROP COUCHOT PC
                660 NEWPORT CENTER DR STE
                400
                NEWPORT BEACH, CA 92660

 001474         BOCCHI LABORATORIES INC               Unsecured         Filed 10/28/04                           $0.00         $172,922.77                  $0.00
 070            ATTN: STACEY D PACELLI ESQ             Claim withdrawn per document dated 2/23/06
 7100-00        WINTHROP COUCHOT PC
                660 NEWPORT CENTER DR STE
                400
                NEWPORT BEACH, CA 92660

 001475         MEDICIA CORP                          Unsecured         Filed 10/28/04                           $0.00          $36,936.05                  $0.00
 070            ATTN: STACEY D PACELLI ESQ             Claim withdrawn per document dated 2/23/06
 7100-00        WINTHROP COUCHOT PC
                660 NEWPORT CENTER DR STE
                400
                NEWPORT BEACH, CA 92660

 001476         BOCCHI LABORATORIES INC               Unsecured         Filed 10/28/04                           $0.00         $172,922.77                  $0.00
 070            ATTN: STACEY D PACELLI ESQ             Claim withdrawn per document dated 2/23/06
 7100-00        WINTHROP COUCHOT PC
                660 NEWPORT CENTER DR STE
                400
                NEWPORT BEACH, CA 92660

 001477         GONZALEZ, VIRGINIA                    Unsecured          Filed 10/25/04                          $0.00               $0.00                  $0.00
 070            20 BETHANY ST.                         Disallowed per order 9-16-08
 7100-00        1ST FLOOR
                NEW BRUNSWICK, NJ 08901

 001478         BARRY OLIVER                          Unsecured          Filed 10/29/04                          $0.00         $250,000.00            $250,000.00
 070            6457 IRVIN AVENUE
 7100-00        CALLAHAN, FL 32011

 001479-B       MORTENSON, RAYMOND                    Unsecured          Filed 10/29/04                          $0.00               $0.00              $3,200.00
 070            9 SENECA STREET                        Reclassified Per Order Dated 12/9/08 (Dkt # 2665)
 7100-00        STATEN ISLAND, NY 10310




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001480         JACKSON, DARRELL                      Unsecured          Filed 10/29/04                            $0.00             $213.32               $213.32
 070            455 FULTON STREET.
 7100-00        ELIZABETH, NJ 07206

 001481-A       STREBLOW, HEINZ                       Unsecured         Filed 10/29/04                             $0.00           $1,070.70                  $0.00
 070            3022 WELLINGTON DRIVE                  Disallowed Per Order Dated 10/21/08 (Docket #2122)
 7100-00        PALMDALE, CA 93551

 001482-B       JACKSON, FRANCES                      Unsecured          Filed 10/29/04                            $0.00               $0.00               $243.02
 070            220 64TH STREET                        Reclassified per Order Dated 12/9/08 (Docket #2655)
 7100-00        APT 12
                WEST NEW YORK, NJ 07093

 001483         ROBIN SININS                          Unsecured         Filed 10/29/04                         $0.00              $15,400.00                  $0.00
 070            99 PARK AVE                            Disallowed per Order Dated 10/21/08 (Docket #2111) Amends Claim #1501
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001484         HONEYCUTT, WILLIAM E.        Unsecured                   Filed 10/29/04                            $0.00          $17,250.00             $17,250.00
 070            33 CYPRESS LAKE TRAILER PARK
 7100-00        STATESBORO, GA 30458

 001485         ALVARADO, JOSEFINA                    Unsecured          Filed 11/01/04                            $0.00           $1,635.00              $1,635.00
 070            222 E. 22ND ST. #203
 7100-00        NATIONAL CITY, CA 91950

 001486-A       NEAL, KENNETH                         Unsecured         Filed 11/01/04                             $0.00           $5,000.00                  $0.00
 070            255 SAGE STREET                        Disallowed Per Order Dated 8/18/08 (Docket #1576)
 7100-00        VALLEJO, CA 94589

 001487         JOE VASQUEZ JR                        Unsecured          Filed 11/01/04                            $0.00         $100,000.00            $100,000.00
 070            13148 CLIFFSHIRE AVE
 7100-00        CORONA, CA 92879

 001488         MADRIGAL, MANUEL                      Unsecured          Filed 11/02/04                            $0.00               $0.00                  $0.00
 070            1615 E WASHINGTON ST
 7100-00        STOCKTON, CA 95205

 001489-A       ESTRADA, OMAR                         Unsecured         Filed 11/08/04                            $0.00              $915.75                  $0.00
 070            386 DELAVAN                            Reduced and Reclassified Per Order Dated 4/21/09 (Docket #3164)
 7100-00        NEW BRUNSWICK, NJ 08901

 001490         PARRA, JOSE                           Unsecured          Filed 11/01/04                            $0.00          $19,008.22             $19,008.22
 070            1860 S TUXEDO AVE
 7100-00        STOCKTON, CA 95204

 001491         MEDEIROS, NORMAN                      Unsecured          Filed 11/01/04                            $0.00               $0.00                  $0.00
 070            19973 AUGUST AVE.                      Disallowed per order 3-4-09
 7100-00        HILMAR, CA 95324

 001492-A       PEAV, SIM                             Unsecured         Filed 11/01/04                             $0.00           $9,494.52                  $0.00
 070            1608 WEBSTER STREET                    Disallowed Per Order Dated 8/25/08 (Dkt # 1624)
 7100-00        ALAMEDA, CA 94589




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001493         MCWILLIAMS, PATRICK                   Unsecured         Filed 11/01/04                              $0.00           $5,263.95                  $0.00
 070            PO BOX 1434                            Disallowed Per Order Dated 12/15/08 (Dkt # 2700) (ac)
 7100-00        TOPOCK, AZ 86436

 001494         DEL CARMEN BLANC, MARIA               Unsecured          Filed 11/01/04                             $0.00             $218.49               $218.49
 070            8222 SKYLINE DR.
 7100-00        SAN DIEGO, CA 92114

 001495         FUSCO, SALVATORE                      Unsecured          Filed 11/01/04                             $0.00               $0.00                  $0.00
 070            1160 HINCHEY ROAD                      Disallowed per orer 3-4-09
 7100-00        ROCHESTER, NY 14624

 001497         JOHNSON, WILLIAM                      Unsecured         Filed 11/01/04                              $0.00           $1,285.08                  $0.00
 070            607 SAINT JOSEPH ST                    Disallowed Per Order Dated 5/21/09 (Docket # 3301)
 7100-00        LANCASTER, PA 17603

 001498         PINEDA, JOSE GERARDO                  Unsecured          Filed 11/01/04                             $0.00           $6,174.48              $6,174.48
 070            44710 KING ST, #11
 7100-00        INDIO, CA 92201

 001499         ROBIN SININS                          Unsecured          Filed 10/29/04                             $0.00           $8,000.00              $8,000.00
 070            99 PARK AVE
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001500         ROBIN SININS                          Unsecured         Filed 10/29/04                              $0.00          $18,000.00                  $0.00
 070            99 PARK AVE                            Disallowed Per Order Dated 10/21/08 (Dkt# 2111)
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001501         ROBIN SININS                          Unsecured         Filed 10/29/04                              $0.00          $15,400.00                  $0.00
 070            99 PARK AVE                            Disallowed per Order Dated 10/21/08 (Docket #2111)
 7100-00        APT 2A
                HOBOKEN, NJ 07030

 001502         SANCHEZ, BONIFACIO                    Unsecured          Filed 11/01/04                             $0.00         $100,000.00            $100,000.00
 070            1234 W.CUBBON
 7100-00        SANTA ANA, CA 92703

 001503-A       SAENZ, JESSE B                        Unsecured          Filed 11/01/04                             $0.00             $660.52                  $0.00
 070            1910 EATON AVE                         Reclassified Per Order Dated 4/22/09 (Docket # 3192)
 7100-00        HEMET, CA 92545

 001504-B       BELLIDO, GIOVANNY                     Unsecured          Filed 11/01/04                             $0.00               $0.00              $1,335.44
 070            21 SOUTH SPRING ST. APT 1              Reclassified per Order Dated 10/31/08 (Docket #2269) (ac)
 7100-00        ELIZABETH, NJ 07201

 001505         BECERRA, MARIA E.                     Unsecured          Filed 11/01/04                             $0.00               $0.00                  $0.00
 070            5027 HALLDALE AVENUE
 7100-00        LOS ANGELES, CA 90062

 001506-B       MCKENZIE, DEANDRE                     Unsecured          Filed 11/01/04                             $0.00               $0.00               $350.00
 070            23 FARLEY AVE                          Reclassified Per Order Dated 12/22/08 (Docket #2736)
 7100-00        NEWARK, NJ 07103




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 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                  Claimed             Allowed
 001508-B       PROFITT, SHAUN D.                     Unsecured          Filed 11/01/04                           $0.00                $0.00             $4,500.00
 070            9168 WINCHESTER RD                     Reclassified and Allowed Per Order Dated 12/22/08 (Docket # 2737)
 7100-00        CLAY CITY, KY 40312

 001509         PROFILT, SHAWN D.                     Unsecured          Filed 11/01/04                          $0.00                 $0.00                  $0.00
 070            9168 WINCHESTER RD                     Disallowed per order 12-22-08
 7100-00        CLAY CITY, KY 40312

 001510         PROFITTS, SHAUN D.                    Unsecured          Filed 11/01/04                          $0.00                 $0.00                  $0.00
 070            9168 WINCHESTER RD                     Disallowed per order 12-22-08
 7100-00        CLAY CITY, KY 40312

 001512         MENDEZ, JAMES                         Unsecured          Filed 11/01/04                          $0.00                 $0.00                  $0.00
 070            52 ELM HILL RD
 7100-00        CLIFTON, NJ 07013

 001513         MENDEZ, JAMES                         Unsecured          Filed 10/25/04                          $0.00                 $0.00                  $0.00
 070            52 ELM HILL RD.
 7100-00        CLIFTON, NJ 07013

 001514-B       MCGEE, NIKKIYA                        Unsecured          Filed 11/01/04                          $0.00                 $0.00               $300.00
 070            23 FARLEY AVE                          Reclassified Per Order Dated 12/22/08 (Docket # 2735)
 7100-00        NEWARK, NJ 07108

 001515         SONDERS, GLORIA                       Unsecured          Filed 11/01/04                          $0.00                 $0.00                  $0.00
 070            1640 TYROL LN                          Disallowed per order 11-25-08
 7100-00        STOCKTON, CA 95207

 001516         SONDERS, GLORIA                       Unsecured          Filed 10/25/04                          $0.00                 $0.00                  $0.00
 070            1640 TYROL LN
 7100-00        STOCKTON, CA 95207

 001517         DELGADO, AIDEL                        Unsecured          Filed 11/01/04                          $0.00                 $0.00                  $0.00
 070            447 64TH STREET                        Disallowed per order 11-6-09
 7100-00        APARTMENT 9
                WEST NEW YORK, NJ 07093

 001518         DORADO, ANGEL                         Unsecured          Filed 11/01/04                          $0.00                 $0.00                  $0.00
 070            221 E. OLIVE ST                        Disallowed per order 10-27-09 (ca)
 7100-00        APT C
                SAN BERNANDINO, CA 92410

 001519         VARNADO, THELMA                       Unsecured          Filed 11/01/04                          $0.00                 $0.00                  $0.00
 070            44115 17TH ST E                        Disallowed per order 10-27-09
 7100-00        LANCASTER, CA 93535

 001523-A       NEVADA DEPARTMENT OF                  Unsecured          Filed 10/28/04                    $0.00                   $85.60                     $0.00
 070            TAXATION                               (200-1) ACCT #006-152-532 & 036-176-544/MBT 21387800 / Claim sent to claims agent
 7100-00        ATTN: BANKRUPTCY SECTION               disallowed per order 3-28-11
                555 E. WASHINGTON AVE #1300
                LAS VEGAS, NV 89101

 001525         Russel Bobb Enterprises, Inc.         Unsecured          Filed 10/29/04                          $0.00            $59,553.25            $59,553.25
 070            CREDITOR REQUESTED                     (202-1) Claim sent to claims agent
 7100-00        DELETION BUT CLAIM
                ON FILE WITH THE COURT



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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 001526         United Steel Deck                     Unsecured          Filed 10/29/04                           $0.00               $0.00                  $0.00
 070            c/o Vimal K Shah                       (203-1) Claim sent to claims agent
 7100-00        McElroy Deutsch Mulvaney &
                Carpenter
                1300 Mt Kemble Rd., PO Box 2075
                Morristown, NJ 07962

 001528         VALLEY POOL PLASTERING INC            Unsecured          Filed 11/01/04                           $0.00         $440,000.00            $440,000.00
 070            C/O LANDEGGER & BARRON
 7100-00        ATTN: MICHAEL S LAVENANT
                ESQ
                15760 VENTURA BLVD #1200
                ENCINO, CA 91436

 001530-B       STATE OF FLORIDA - DEPT OF            Unsecured        Filed 10/28/04                           $0.00               $150.00               $150.00
 070            REVENUE                                Reduced and Allowed per Order dated 05/03/2011 (Dkt #4113)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001531-A       STATE OF FLORIDA - DEPT OF            Unsecured         Filed 10/28/04                            $0.00             $400.00               $400.00
 070            REVENUE                                Allowed per Order dated 05/03/2011 (Dkt #4113)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001532         HITEC ROOFING INC            Unsecured                   Filed 11/01/04                           $0.00           $5,527.84              $5,527.84
 070            5 SANDLAKE ROAD BUILDING 980
 7100-00        HONOLULU, HI 95819

 001533-A       STATE OF FLORIDA - DEPT OF            Unsecured        Filed 11/01/04                           $0.00               $150.00               $125.00
 070            REVENUE                                Reduced and Allowed per Order dated 05/03/2011 (Dkt #4113)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 6668
                ATTN: FREDERICK F RUDZIK
                TALLAHASSEE, FL 32314

 001538-B       GONZALEZ, EDDIE A                     Unsecured         Filed 11/01/04                            $0.00              $98.67                  $0.00
 070            300 LINDEN STREET                      Disallowed Per Order dated 5/26/09 (Docket # 3298}
 7100-00        COLUMBIA, PA 17512

 001539-A       NEVADA DEPT OF TAXATION               Unsecured         Filed 11/01/04                            $0.00              $85.60                $85.60
 070            ATTN: BANKRUPTCY SECTION               Allowed per Order dated 03/28/2011 (Dkt #3999)
 7100-00        555 E WASHINGTON AVE STE
                #1300
                LAS VEGAS, NV 89101

 001540-B       RUBIO, JOSEPH J.                      Unsecured          Filed 11/01/04                           $0.00             $509.55                  $0.00
 070            1275 W. 26TH
 7100-00        SAN BERNARDINO, CA 92405




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                Claimed             Allowed
 001541         HERNANDEZ, OMAR                       Unsecured          Filed 10/28/04                          $0.00           $1,500.00             $1,500.00
 070            2040 GALENAS STREET
 7100-00        AURORA, CO 80010

 001542         HERNANDEZ, OMAR                       Unsecured          Filed 11/01/04                          $0.00           $1,500.00             $1,500.00
 070            2040 GALENAS STREET
 7100-00        AURORA, CO 80010

 001543         ALDRED, HARRY                         Unsecured          Filed 11/01/04                          $0.00             $520.00               $520.00
 070            2 ALBERT ST
 7100-00        PLAINFIELD, NJ 07063

 001544         KENNEDY, EMORY                        Unsecured          Filed 11/01/04                          $0.00               $0.00                  $0.00
 070            283 N.W. 212 TERRACE                   Disallowed per order 10-7-08
 7100-00        MIAMI, FL 33056

 001545         RIOFRIO, MARIA                        Unsecured          Filed 11/01/04                          $0.00               $0.00                  $0.00
 070            427 67TH STREET                        Disallowed per order 12-7-09
 7100-00        APT 3
                WEST NEW YORK, NJ 07093

 001546-A       COVINGTON, CLIFFORD                   Unsecured         Filed 10/28/04                           $0.00             $943.00                  $0.00
 070            34 SHERWOOD AVE, #1                    Disallowed per Order Dated 11/25/08 (Docket #2504) (ac)
 7100-00        ROCHESTER, NY 14619

 001547         FORTERE, JACQUES                      Unsecured          Filed 10/29/04                          $0.00               $0.00                  $0.00
 070            1141 PRESIDENT ST 2D                   Disallowed per order 11-6-09
 7100-00        BROOKLYN, NY 11225

 001549         SULLY, BERTONY                        Unsecured          Filed 11/01/04                          $0.00               $0.00                  $0.00
 070            1333 BUTLER ST
 7100-00        READING, PA 19601

 001550         PITTS, NATHANIEL                      Unsecured          Filed 11/01/04                          $0.00               $0.00                  $0.00
 070            2152 PAULDO ST
 7100-00        FT MYERS, FL 33916

 001551         SANTANA, MARIA                        Unsecured          Filed 11/01/04                          $0.00               $0.00                  $0.00
 070            15624 AMAR RD APT #H                   Disallowed per order 10-27-09
 7100-00        LA PUENTE, CA 91744

 001552         SANTANA, ALEJANDRO                    Unsecured          Filed 11/01/04                          $0.00               $0.00                  $0.00
 070            15624 AMAR RD APT #H                   Disallowed per order 10-27-09
 7100-00        LA PUENTE, CA 91744

 001553         LINDRES, FLORINDA                     Unsecured          Filed 11/01/04                          $0.00               $0.00                  $0.00
 070            200 E. JERSEY ST                       Disallowed per order 3-10-09 (ca)
 7100-00        APT 1E
                ELIZABETH, NJ 07206

 001554         LINDRES, FLORINDA                     Unsecured          Filed 11/03/04                          $0.00               $0.00                  $0.00
 070            200 E. JERSEY ST.
 7100-00        APT 1E
                ELIZABETH, NJ 07206




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled               Claimed             Allowed
 001555         CAROL JOHNSON                         Unsecured          Filed 11/01/04                         $0.00             $701.00               $701.00
 070            1408 LOMBARDY DR.
 7100-00        MODESTO, CA 95351

 001556         WILLIAMS, KENNON                      Unsecured          Filed 10/21/04                         $0.00               $0.00                  $0.00
 070            4585 CRUMP ROAD                        Disallowed per order 11-9-09
 7100-00        MEMPHIS, TN 38118

 001558         CORTEZ TAYDE                          Unsecured         Filed 09/29/04                          $0.00             $214.38                  $0.00
 070            50 VAN WINKLE AVE APT #3               Disallowed Per Order Dated 11/18/08 (Dkt # 2414)
 7100-00        PASSAICA, NJ 07055

 001559         CORTEX, TAYDE                         Unsecured          Filed 10/20/04                         $0.00               $0.00                  $0.00
 070            50 VAN WINKLE AVENUE                   Disallowed per order 11-18-08
 7100-00        APARTMENT #3
                PASSAIC, NJ 07055

 001560         CORTEZ, TAYDE                         Unsecured         Filed 10/20/04                          $0.00             $214.38                  $0.00
 070            50 VAN WINKLE AVE                      Disallowed Per Order Dated 11/18/08 (Dkt # 2414)
 7100-00        APARTMENT #3
                PASSAIC, NJ 07055

 001561         COLEMAN JAY C                         Unsecured          Filed 10/26/04                         $0.00          $10,000.00            $10,000.00
 070            110 NORTON STREET
 7100-00        SAVANNAH, GA 31404

 001562         DBA PAUL F PUGSLEY DC                 Unsecured          Filed 10/26/04                         $0.00           $6,308.60             $6,308.60
 070            9901 CAMPO ROAD
 7100-00        SPRING VALLEY, CA 91977

 001563         ALFRED P LUPPI MD                     Unsecured          Filed 10/26/04                         $0.00             $649.73               $649.73
 070            9903 CAMP ROAD
 7100-00        SPRING VALLEY, CA 91977

 001564         GUTIERREZ ANTONIA                     Unsecured          Filed 10/18/04                         $0.00               $0.00                  $0.00
 070            3860 CHEROKEE AVE #6
 7100-00        SAN DIEGO, CA 92104

 001565         ANTONIA GUTIERREZ                     Unsecured          Filed 10/19/04                         $0.00               $0.00                  $0.00
 070            3860 CHEROKEE AVE #6
 7100-00        SAN DIEGO, CA 92104

 001567         NASH, YVETTE                          Unsecured          Filed 10/13/04                         $0.00               $0.00                  $0.00
 070            253 MAGNOLIA AVE
 7100-00        ELIZABETH, NJ 07206

 001568         AVILA, JOSE A                         Unsecured          Filed 10/13/04                         $0.00               $0.00                  $0.00
 070            716 NORTH 12TH STREET
 7100-00        READING, PA 19604

 001569         GODISH, PETER                         Unsecured          Filed 10/15/04                         $0.00               $0.00                  $0.00
 070            430 ORCHARD STREET
 7100-00        SCRANTON, PA 18505




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                     Claimed              Allowed
 001570         RAMOS, MARIA DE SAL                   Unsecured          Filed 10/14/04                           $0.00              $100,000.00           $100,000.00
 070            4065 W. 104TH ST.
 7100-00        INGLEWOOD, CA 90304

 001571         Virginia Gonzalez                     Unsecured           Filed 04/29/04                          $0.00                $1,404.25                  $0.00
 070            20 Bethany Street                      (11-1) Claim sent to claims agent
 7100-00        New Brunswick, NJ 08901                Disallowed Per Order Dated 9/16/08 (Dkt # 1805)


 001572         GONZALEZ, VIRGINIA                    Unsecured          Filed 10/25/04                           $0.00                    $0.00                  $0.00
 070            20 BETHANY ST.
 7100-00        1ST FLOOR
                NEW BRUNSWICK, NJ 08901

 001573-B       INDIANA DEPT OF WORKFORCE             Unsecured         Filed 10/25/04                            $0.00                  $25.00                 $25.00
 070            DEVELOPMENT                            Allowed per Order dated 04/12/2011 (Dkt #4050)
 7100-00        WORKER TRAINING FUND
                ATTN: BEVERLY KOROBKIN
                10 N SENATE AVE #SE200
                INDIANAPOLIS, IN 46204

 001574         ILLINOIS DEPT OF REVENUE              Unsecured          Filed 11/09/04                          $0.00              $2,356.50                     $0.00
 070            100 W RANDOLPH #7-425                  Administrative Expense; Expunged per Order dated 05/03/2011 (Dkt #4109); Expunged
 7100-00        ATTN: BANKRUPTCY SECTION               5/5/11 (Dkt 4116)
                CHICAGO, IL 60601

 001575         OMNIGEN                               Unsecured          Filed 10/29/04                           $0.00                $3,563.92             $3,563.92
 070            ATTN: LINDA PANITZ, VP
 7100-00        c/o HANDYMAN CONNECTION
                1740 W KATELLA UNIT G
                ORANGE, CA 92867

 001576-A       MC GAVOC, PAMELA                      Unsecured         Filed 11/02/04                            $0.00                $6,000.00                  $0.00
 070            29009 DIXON ST 10                      Disallowed Per Order Dated 9/9/08 (Dkt # 1715)
 7100-00        HAYWARD, CA 94544

 001578-B       ILLINOIS DEPT OF REVENUE              Unsecured         Filed 10/29/04                           $0.00                  $578.39                $578.39
 070            100 W RANDOLPH ST #7-425               Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 7100-00        ATTN: BANKRUPTCY UNIT
                JAMES R THOMPSON CENTER
                CHICAGO, IL 60601

 001580-B       HERRERA, MARIA F                      Unsecured         Filed 11/03/04                            $0.00                  $10.00                   $0.00
 070            1207 W RICHMOND AVE.                   Disallowed Per Order Dated 9/23/08 (Dkt # 1876)
 7100-00        FORTWORTH, TX 76110

 001582-B       CARR, SHANE                           Unsecured         Filed 11/03/04                            $0.00                $1,253.39                  $5.00
 070            6525 W MAGNOLIA ST.                    Reduced and Reclassified Per Order dated 5/20/09 (Docket#3267) (ac)
 7100-00        PHOENIZ, AZ 85043

 001583-A       JIM BROCK                             Unsecured         Filed 11/01/04                            $0.00                $3,000.00             $3,000.00
 070            3312 KEITHSHIRE WAY, APT 2             Reduced and Reclassified per Consent Order Dated 1/6/09 (Docket #2836) (ac)
 7100-00        LEXINGTON, KY 40503




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                     Claimed             Allowed
 001584         HOLLINGSWORTH, JUSTIN W.              Unsecured          Filed 11/05/04                           $0.00                 $240.00               $240.00
 070            237 IRWINVILLE RD. APT.#23             Reclassified Per Order Dated 12/22/08 (Docket #2751)
 7100-00        ABBEVILLE, GA 31001

 001585         YELVERTON, KEVIN                      Unsecured          Filed 11/08/04                           $0.00              $17,754.43            $17,754.43
 070            746 SHOEMAKER DRIVE
 7100-00        DEFUNIAK SPRINGS, FL 32435

 001587         ROSIER, ANTHONY                       Unsecured          Filed 11/03/04                           $0.00                   $0.00                  $0.00
 070            321 N. CAHOON RD.                      Disallowed per order 10-27-09
 7100-00        JACKSONVILLE, FL 32220

 001588         COVERALL NORTH AMERICA,      Unsecured                   Filed 11/03/04                           $0.00                 $149.00               $149.00
 070            INC./LEGAL DEPT.
 7100-00        500 WEST CYPRESS CREEK ROAD,
                SUITE 580
                FORT LAUDERDALE, FL 33309

 001589-A       ROLDAN, GUADALUPE                     Unsecured         Filed 11/01/04                            $0.00                 $595.00                  $0.00
 070            444 N. IRVING ST.                      Reduced and Reclassified Per Order Dated 4/22/09 (Docket #3180) (ca)
 7100-00        SCRANTON, PA 18505

 001590         CHERYL L GAITHER                      Unsecured          Filed 11/03/04                           $0.00                 $621.00               $621.00
 070            242 CHURCH AVE
 7100-00        OAKDALE, CA 95361

 001591         BOLAND, DEBORAH                       Unsecured          Filed 11/08/04                           $0.00               $6,867.00             $6,867.00
 070            7404 FLORAL RIDGE DRIVE
 7100-00        JACKSONVILLE, FL 32277

 001593         ANDERSON, DORIS E                     Unsecured          Filed 11/03/04                           $0.00                   $0.00                  $0.00
 070            4975 INTERNATIONAL AV.
 7100-00        MIMS, FL 32754

 001594         STEELE, LAKISHA                       Unsecured          Filed 11/03/04                           $0.00               $3,000.00             $3,000.00
 070            392 MADISON ST
 7100-00        WILKES BARRE, PA 18705

 001595         IWANIEC, THOMAS                       Unsecured          Filed 11/03/04                           $0.00               $1,549.69             $1,549.69
 070            9051 N KATHLEEN TER.
 7100-00        DUNNELLON, FL 34433

 001596         PATEL, NAVNEET K                      Unsecured          Filed 11/03/04                           $0.00                   $0.00                  $0.00
 070            616 WYNDHAM CT                         Disallowed per order 4-7-09 (ac)
 7100-00        ORANGE PARK, FL 32073

 001597         POULOS, ALLISON            Unsecured          Filed 11/03/04                                      $0.00                   $0.00                  $0.00
 070            32448 CROWN VALLEY PKWY APT Disallowed per order 11-6-09
 7100-00        103
                DANA POINT, CA 92629

 001598         MARIA (Illegible)                     Unsecured          Filed 11/03/04                           $0.00                   $0.00                  $0.00
 070            ORANGE, NJ 07080
 7100-00




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                Claimed             Allowed
 001599         WILLINGHAM, ELNORA                    Unsecured          Filed 11/03/04                            $0.00            $1,000.00              $1,000.00
 070            283 W. BURDOCK                         Reclassified per Order Dated 10/7/08 (Docket #1998)
 7100-00        MEMPHIS, TN 38109

 001600         JOHNSON, BOBBY                        Unsecured         Filed 11/03/04                             $0.00            $1,200.00                  $0.00
 070            1295 LATHAM ST                         Disallowed per Order Dated 12/9/08 (Docket #2666)
 7100-00        MEMPHIS, TN 38106

 001601         CENCAL ROOFING INC                    Unsecured          Filed 11/08/04                            $0.00          $119,661.05            $119,661.05
 070            2030 MAIN STREET                       Reclassified per Order dated 03/08/2011 (Dkt #3895)
 7100-00        MORROBAY, CA 93442

 001602         WRIGHT, KAREN                         Unsecured          Filed 11/04/04                            $0.00                $0.00                  $0.00
 070            110 S MARE AVE                         Disallowed per order 10-27-08
 7100-00        HOWEY IN HLS, FL 34737

 001603-A       MURRAY, ODELIER                       Unsecured         Filed 11/01/04                            $0.00             $1,250.00              $1,250.00
 070            5955 LISKA LN, APT 201                 Reduced and Reclassified Per Order Dated 10/7/08 (Dkt # 1985) (ac)
 7100-00        SAN JOSE, CA 95119

 001604-B       VALLE, DOMITILIA                      Unsecured          Filed 11/01/04                            $0.00                $0.00               $640.00
 070            500 SOUTH EATON ST                     Reclassified per Order Dated 12/15/08 (Docket #2704)
 7100-00        BALTIMORE, MD 21205

 001605-B       VARGAS, MOISES                        Unsecured          Filed 11/04/04                            $0.00                $0.00              $3,500.00
 070            19055 ENVOY AVE                        Reclassified Per Order Dated 12/22/08 (Docket #2762)
 7100-00        CORONA, CA 92881

 001606         HAVEY, JAMES D.                       Unsecured         Filed 11/04/04                             $0.00               $56.80                  $0.00
 070            RR 3                                   Disallowed Per Order Dated 10/7/08 (Docket #1995)
 7100-00        SUSQUEHANNA, PA 18847

 001607         BRICKMASTERS INC                      Unsecured          Filed 11/08/04                            $0.00           $24,105.34             $24,105.34
 070            2611 ARLEX DRIVE WEST
 7100-00        JACKSONVILLE, FL 32211

 001608         WEBBER, BETTY                         Unsecured          Filed 11/08/04                            $0.00                $0.00                  $0.00
 070            7121 EASTONDALE AV
 7100-00        LONG BEACH, CA 90805

 001610         DAVIS, TED L.                         Unsecured          Filed 11/03/04                            $0.00                $0.00                  $0.00
 070            5515 118TH STREET                      Disallowed per order 8-26-08
 7100-00        LOT #175
                JACKSONVILLE, FL 32244

 001613         TOWERS, TAWANA                        Unsecured          Filed 11/03/04                            $0.00                $0.00                  $0.00
 070            2154 DUBLIN                            Disallowed per order 3-10-09
 7100-00        MEMPHIS, TN 38114

 001614         DANIELS PAULA                         Unsecured          Filed 11/03/04                            $0.00                $0.00                  $0.00
 070            8 MIDWAY COURT
 7100-00        DALY CITY, CA 94014




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                 Claimed             Allowed
 001615         TENNISON, DAVID                       Unsecured          Filed 11/03/04                            $0.00               $0.00                  $0.00
 070            10914 KELSO CT,                        Disallowed per order 4-7-09 (ac)
 7100-00        SONORA, CA 95370

 001616         COVARRABIAS, LINA                     Unsecured          Filed 11/03/04                            $0.00               $0.00                  $0.00
 070            17581 SHAMROCK                         Disallowed per order 10-27-09
 7100-00        FONTANA, CA 92336

 001617         CONYERS, TYRONE L                     Unsecured          Filed 11/08/04                            $0.00               $0.00                  $0.00
 070            724 SOUTH QUEEN STREET                 Disallowed per order 3-30-09
 7100-00        LANCASTER, PA 17602

 001618-B       OMNIGEN                     Unsecured          Filed 10/29/04                                      $0.00              $80.77                  $0.00
 070            1740 W.KATELLA AVENUE STE G  Disallowed per order 6-22-09
 7100-00        ORANGE, CA 92867

 001619-A       OMNIGEN                               Unsecured          Filed 10/29/04                            $0.00              $80.77                  $0.00
 070            1740 W.KATELLA AVENUE                  Disallowed per order 6-22-09
 7100-00        STE G
                ORANGE, CA 92867

 001620         SUNSHINE FOOD MART 98                 Unsecured          Filed 11/03/04                            $0.00           $6,443.54              $6,443.54
 070            402 HIGH POINT DRIVE
 7100-00        COCOA, FL 32922

 001621         VALADEZ, JAIME                        Unsecured          Filed 11/04/04                            $0.00             $950.08               $950.08
 070            2204 WOODRALE AVE                      Duplicate claimant as Claim #1622
 7100-00        READING, PA 19606

 001622         VALADEZ, JAIME                        Unsecured          Filed 11/04/04                            $0.00               $0.00                  $0.00
 070            2204 WOODRALE AVE                      Duplicate claimant as 1621, Disallowed per order 11-25-08
 7100-00        READING, PA 19606

 001623         RODOLFO COLMENERO                     Unsecured          Filed 11/03/04                            $0.00         $100,000.00            $100,000.00
 070            1015 RICHLAND ST APT G
 7100-00        UPLAND, CA 91786

 001624-A       STATE OF GEORGIA DEPT OF              Unsecured         Filed 11/03/04                             $0.00           $1,467.37               $730.91
 070            REVENUE                                Reduced per Order dated 04/19/2011 (Dkt #4069)
 7100-00        PO BOX 161108
                ATLANTA, GA 30321

 001625         RAMIREZ, GUILLERMO P.                 Unsecured          Filed 11/04/04                            $0.00               $0.00                  $0.00
 070            15853 LOS CEDROS
 7100-00        FONTANA, CA 92336

 001626         RAMIREZ, GUILLERMO P.                 Unsecured          Filed 11/03/04                            $0.00               $0.00                  $0.00
 070            15853 LOS CEDROS                       Disallowed per order 10-27-09
 7100-00        FONTANA, CA 92336

 001627         MEREDITH, LESTER                      Unsecured          Filed 11/03/04                            $0.00               $0.00                  $0.00
 070            2505 ACTION ST.                        Disallowed per order 10-27-09
 7100-00        BERKLEY, CA 94702




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                   Scheduled               Claimed             Allowed
 001628         MEREDITH LESTER                       Unsecured          Filed 11/03/04               $0.00               $0.00                  $0.00
 070            2505 ACTION ST
 7100-00        BERKLEY, CA 94702

 001629         MEREDITH, LESTER                      Unsecured          Filed 11/03/04               $0.00               $0.00                  $0.00
 070            2505 ACTION ST.
 7100-00        BERKELEY, CA 94702

 001630         MEREDITH, LESTER                      Unsecured          Filed 11/03/04               $0.00               $0.00                  $0.00
 070            2505 ACTION ST
 7100-00        BERKLEY, CA 94702

 001631         RODOLFO COLMENERO                     Unsecured          Filed 11/03/04               $0.00         $100,000.00            $100,000.00
 070            1015 RICHLAND ST APT G
 7100-00        UPLAND, CA 91786

 001633         BATTS, LARESA                         Unsecured          Filed 11/03/04               $0.00             $600.00               $600.00
 070            3956 CAMELOT LANE
 7100-00        #3
                MEMPHIS, TN 38118

 001634         MIRANDA, VIRGINIA                     Unsecured         Filed 11/03/04                $0.00               $0.00                  $0.00
 070            73 W GARRISON ST APT A                 Disallowed perorder 9-9-08
 7100-00        BETHLEHEM, PA 18108

 001635         MIRANDA VIRGINIA                      Unsecured          Filed 11/03/04               $0.00               $0.00                  $0.00
 070            73 W GARRISON ST APT A                 Disallowed per order 9-9-08
 7100-00        BETHLEHEM, PA 18108

 001636         MIRANDA, VIRGINIA                     Unsecured          Filed 11/03/04               $0.00               $0.00                  $0.00
 070            73 W GARRISON ST APT A
 7100-00        BETHLEHEM, PA 18108

 001637         MIRANDA VIRGINIA                      Unsecured          Filed 11/03/04               $0.00               $0.00                  $0.00
 070            73 W GARRISON ST APT A
 7100-00        BETHLEHEM, PA 18108

 001638         RAY, JONATHON                         Unsecured          Filed 11/01/04               $0.00               $0.00                  $0.00
 070            8540 TAYLORFIELD RD.
 7100-00        JACKSONVILLE, FL 32244

 001639         RAY, JONATHON                         Unsecured          Filed 11/01/04               $0.00          $19,618.49             $19,618.49
 070            8540 TAYLORFIELD RD.
 7100-00        JACKSONVILLE, FL 32244

 001640-A       STATE OF DELAWARE DIVISION Unsecured         Filed 11/10/04                           $0.00              $30.00                  $0.00
 070            OF REVENUE                   Expunged per Order dated 03/28/2011 (Dkt #3996)
 7100-00        ATTN RANDY R WELLER - MS #25
                820 N FRENCH ST 8TH FL
                WILMINGTON, DE 19801

 001641         MILLER, CINDY                         Unsecured          Filed 11/03/04               $0.00               $0.00                  $0.00
 070            115 CHERRY                             Disallowed per order 3-10-09
 7100-00        GREEN VALLEY, IL 61534




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 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 001642         MILLER, CINDY                         Unsecured          Filed 11/05/04                           $0.00               $0.00                  $0.00
 070            115 CHERRY
 7100-00        GREEN VALLEY, IL 61534

 001643         MIDFLORIDA ORTHOPAEDICS PA Unsecured                     Filed 11/05/04                           $0.00               $0.00                  $0.00
 070            441 MAITLAND AVENUE
 7100-00        ALTAMONTE SPRINGS, FL 32701

 001644         MIDFLORIDA ORTHOPAEDICS PA Unsecured                     Filed 11/05/04                           $0.00          $10,967.84            $10,967.84
 070            441 MAITLAND AVENUE
 7100-00        ALTAMONTE SPRINGS, FL 32701

 001645-B       PASTOR, MARIA G.                      Unsecured          Filed 11/04/04                           $0.00               $0.00               $500.00
 070            2706 PARKWAY DR                        Reclassified Per Order Dated 12/9/08 ( Dkt # 2657)
 7100-00        EL MONTE, CA 91732

 001646         PASTOR, MARIA G.                      Unsecured          Filed 11/01/04                           $0.00               $0.00                  $0.00
 070            3905 PEN MAR
 7100-00        EL MONTE, CA 91732

 001647         ILLINOIS - DEPT OF REVENUE            Unsecured         Filed 11/09/04                          $0.00             $2,356.50                  $0.00
 070            ATTN: BANKRUPTCY SECTION               Administrative Expense; Expunged 05/03/2011 (Dkt #4109); Expunged 5/5/11 (Dkt
 7100-00        100 W RANDOLPH #7-425                  4116)
                CHICAGO, IL 60601

 001648         ALVARO JARA                           Unsecured          Filed 11/02/04                           $0.00           $1,162.80             $1,162.80
 070            20 W 14 ST #A5
 7100-00        HIALEAH, FL 33010

 001650         APOLLO CREDIT AGENCY INC              Unsecured          Filed 11/10/04                           $0.00             $100.41               $100.41
 070            3501 S TELLER ST
 7100-00        LAKEWOOD, CO 80235

 001651         RIECKE, MICHAEL W.                    Unsecured          Filed 11/09/04                           $0.00               $0.00                  $0.00
 070            1618 SUMMIT LAKE RD.                   Disallowed per order 11-6-09
 7100-00        CLARKS SUMMIT, PA 18411

 001653-B       DE LA HOZ, MAYRA                      Unsecured          Filed 11/10/04                           $0.00               $0.00               $223.00
 070            8173 ROBINWOOD DR.                     Reclassified per Order Dated 1/5/09 (Docket #2831) (ca)
 7100-00        TOBYHANNA, PA 18466

 001655         GARRIDO, JOSE                         Unsecured          Filed 11/10/04                           $0.00               $0.00                  $0.00
 070            300 W. LOS ANGELES DR.
 7100-00        APT. J7
                VISTA, CA 92083

 001657         MOORE, ERIC                           Unsecured          Filed 11/12/04                           $0.00               $0.00                  $0.00
 070            1650 S CAMPUS AVE 69                   Disallowed per order 12-7-09
 7100-00        ONTARIO, CA 91761

 001658         SISTOSO GEORGE                        Unsecured          Filed 11/15/04                           $0.00               $0.00                  $0.00
 070            3860 SPRINGFIELD CMN                   Disallowed per order 9-16-08
 7100-00        FREMONT, CA 95121




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001659-B       JACKSON, CHARLES                      Unsecured          Filed 11/15/04                            $0.00             $500.00               $500.00
 070            25 WEST ROLLINS                        Reclassified per Order Dated 9/23/08 (Docket #1890)
 7100-00        MEMPHIS, TN 38115

 001660         PACIFIC SOUTH MEDICAL GROUP Unsecured          Filed 11/09/04                          $0.00                      $19,379.51                  $0.00
 070            5211 E WASHINGTON BLVD       Duplicates Claim #1331. Expunged per Order dated 03/08/2011 (Dkt #3885)
 7100-00        LOS ANGELES, CA 90040

 001661         DE LA HOZ, MAYRA                      Unsecured          Filed 11/10/04                            $0.00             $349.00               $349.00
 070            8788 POCONO COUNTRY
 7100-00        PLACE DR
                TOBYHANNA, PA 18466

 001662-A       STATE OF FLORIDA - DEPT OF            Unsecured         Filed 11/01/04                             $0.00             $100.00               $100.00
 070            REVENUE                                 Allowed per Order dated 05/03/2011 (Dkt #4113)
 7100-00        ATTN: FREDERICK F RUDZIK
                BANKRUPTCY SECTION
                P O BOX 6668
                TALLAHASSEE, FL 32314

 001663         HANDYMAN CONN OF                      Unsecured          Filed 11/10/04                            $0.00               $0.00                  $0.00
 070            SACRAMENTO                             Allowed per order 4-19-11
 7100-00        8341 FAIR OAKS BLVD.
                CARMICHAEL, CA 95608

 001665         CARTER GEORGIA                        Unsecured        Filed 11/12/04                              $0.00               $0.00                  $0.00
 070            1608 GABAY                             Amends Claim #601
 7100-00        MEMPHIS, TN 38106

 001669-B       VIRGINIA DEPT OF TAXATION             Unsecured         Filed 11/12/04                             $0.00              $93.33                $93.33
 070            P O BOX 2156                           Allowed per Order dated 06/29/2011 (Dkt #4167)
 7100-00        ATTN: ANGELA THOMPSON
                RICHMOND, VA 23218

 001671         WILLINGHAM ELNORA                     Unsecured         Filed 11/03/04                             $0.00           $1,000.00                  $0.00
 070            283 W BURDOCK                          Disallowed per Order Dated 10/7/08 (Docket #1998)
 7100-00        MEMPHIS, TN 38109

 001674         ROBERT MOSTELLER                      Unsecured         Filed 10/29/04                             $0.00         $108,950.46                  $0.00
 070            (DECEASED)                             Disallowed per Order Dated 1/12/09 (Docket #2852)
 7100-00        1823 MOREHEAD AVENUE
                ORLANDO, FL 32826

 001675         NE OCCUPATIONAL MEDICINE              Unsecured          Filed 10/29/04                            $0.00               $0.00                  $0.00
 070            REHAB
 7100-00        769 KEYSTONE INDUST PARK
                DUNMORE, PA 18512

 001676         ESCOBEDO LIDUVINA                     Unsecured          Filed 11/01/04                            $0.00               $0.00                  $0.00
 070            2727 WHITTER BLVD
 7100-00        LOS ANGELES, CA 90023

 001677         SANCHEZ, BONIFACIO                    Unsecured          Filed 11/01/04                            $0.00         $100,000.00            $100,000.00
 070            1234 W.CUBBON
 7100-00        SANTA ANA, CA 92703




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 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 001678         JACOBSON, JAMES                       Unsecured          Filed 10/29/04                           $0.00          $50,000.00            $50,000.00
 070            5676 E. BUCKINGHAM
 7100-00        FRESNO, CA 93727

 001679         LUTZ CHRIS                            Unsecured          Filed 10/29/04                           $0.00             $611.14               $611.14
 070            2144 OAK HOLLOW DRIVE
 7100-00        APT 2
                COLUMBIA, PA 17512

 001680         SCHROEDER, JOHN K.                    Unsecured         Filed 10/29/04                            $0.00          $16,266.87            $16,266.87
 070            503 EDGEWATER DRIVE                    Duplicate of POC#1338
 7100-00        PENSACOLA, FL 32507

 001681         MRS DEBORAH MOSTELLER     Unsecured         Filed 10/29/04                                        $0.00         $108,950.46                  $0.00
 070            WIDOW OF ROBERT MOSTELLER  Disallowed per Order Dated 1/12/09 (Docket #2852)
 7100-00        18082 HOLLISTER ROAD
                ORLANDO, FL 32820

 001682         NEIRA, LUZ ESTELLA                    Unsecured          Filed 10/25/04                           $0.00             $350.00               $350.00
 070            36 ELLIOT STREET
 7100-00        DOVER, NJ 07801

 001683-B       NEIRA LUZ ESTRELLA                    Unsecured          Filed 10/25/04                           $0.00               $0.00             $2,841.00
 070            36 ELLIOT ST                           Reclassified Per Order Dated 8/18/08 (Dkt # 1574)
 7100-00        DOVER, NJ 07801

 001684         LEWEY GREGG                           Unsecured         Filed 10/04/04                            $0.00             $320.00                  $0.00
 070            16444 GERMAIN STREET                   Disallowed Per Order Dated 11/25/08 (Docket #2526)
 7100-00        GRANADA HILLS, CA 91344

 001685         FINGER LAKES FAM            Unsecured                    Filed 09/29/04                           $0.00             $611.63               $611.63
 070            CHIROPRACTIC
 7100-00        1625 RTE 332 FRMBRK OFF PRK
                FARMINGTON, NY 14425

 001686         CORONADO ELSA P                       Unsecured          Filed 10/14/04                           $0.00             $327.76               $327.76
 070            710 E. SAN YSIDRO BLVD.
 7100-00        #2856
                SAN YSIDRO, CA 92173

 001687         MEJIA IVONNE                          Unsecured          Filed 10/08/04                           $0.00             $850.00               $850.00
 070            23 CHESTER STREET
 7100-00        LANCASTER, PA 17602

 001688         CONTRERAS, VICTOR                     Unsecured          Filed 10/06/04                           $0.00               $0.00                  $0.00
 070            209 7TH AVE.
 7100-00        PATERSON, NJ 07514

 001689         ALCAUTER, CRISTINA                    Unsecured          Filed 10/12/04                           $0.00               $0.00                  $0.00
 070            424 GREENTREE LN.
 7100-00        BOLINGBROOK, IL 60440

 001690         EAST COAST ORTHOPAEDICS               Unsecured          Filed 10/12/04                           $0.00           $7,486.00             $7,486.00
 070            STEVEN NAIDE MD
 7100-00        1201 EAST SAMPLE ROA
                POMPANO BEACH, FL 33064



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 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 001691         DOMINGUEZ CAROLINA                    Unsecured          Filed 10/18/04                           $0.00         $100,000.00            $100,000.00
 070            135 CHRYSTAL W
 7100-00        DOVER, NJ 07801

 001692         GIORDANO, JOSEPH                      Unsecured          Filed 10/18/04                           $0.00           $2,791.80              $2,791.80
 070            703 CENTER ST
 7100-00        DUNMORE, PA 18512

 001693         KDR INC                               Unsecured        Filed 10/18/04                             $0.00           $2,134.97                  $0.00
 070            559 SOUTH ATCHINSON STREET             Expunged per Order dated 04/06/2011(Dkt #4027)
 7100-00        ANAHEIM, CA 92805

 001694         GONZALEZ, GILELA                      Unsecured          Filed 10/18/04                           $0.00               $0.00                  $0.00
 070            #7 UNION HILL LINE
 7100-00        CARSON, CA 90745

 001695         TONY CARTER                           Unsecured          Filed 10/18/04                           $0.00               $0.00                  $0.00
 070            914 ARMSTRONG BLVD. NORTH              Disallowed per order 12/2/08 (ca)
 7100-00        APT 2
                ST. JAMES, MN 56081

 001696         CORTEZ JESUS                          Unsecured         Filed 10/18/04                            $0.00             $283.40                  $0.00
 070            145 BERGOLD ST                         Disallowed Per Order Dated 11/18/08 (Docket #2415)
 7100-00        BRENTWOOD, NY 11717

 001697         CORTEZ, JESUS                         Unsecured         Filed 10/19/04                            $0.00             $283.40                  $0.00
 070            145 BERGOLD ST                         Disallowed Per Order Dated 11/18/08 (Docket #2415)
 7100-00        BRENTWOOD, NY 11717

 001698         CORTEZ JESUS                          Unsecured         Filed 10/19/04                            $0.00             $283.40                  $0.00
 070            145 BERGOLD ST                         Disallowed Per Order Dated 11/18/08 (Docket #2415)
 7100-00        BRENTWOOD, NY 11717

 001699         HERNANDEZ BERENICE                    Unsecured          Filed 10/19/04                           $0.00               $0.00                  $0.00
 070            3134 W 145TH STREET
 7100-00        APARTMENT #6
                GARDENA, CA 90249

 001700-A       POLANCO VALDEZ ELSA                   Unsecured         Filed 10/21/04                            $0.00             $164.80                  $0.00
 070            1700 NY AVENUE APT 1                   Disallowed per Order Dated 9/9/08 (Docket #1705)
 7100-00        UNION CITY, NJ 07087

 001701         POLANCO VALDEZ ELSA                   Unsecured          Filed 10/21/04                           $0.00               $0.00                  $0.00
 070            1700 NEW YORK AVENUE
 7100-00        APARTMENT 1
                UNION CITY, NJ 07087

 001702         ALVAREZ MARIA                         Unsecured          Filed 10/22/04                           $0.00             $277.00               $277.00
 070            396 WASHINGTON ST
 7100-00        PERTH AMBOY, NJ 08861

 001703         SANCHEZ, BALVINO                      Unsecured         Filed 10/27/04                            $0.00             $560.00                  $0.00
 070            317 SEAMAN ST                          Disallowed per Order Dated 11/3/08 (Docket #2303)
 7100-00        APT 2B
                NEW BRUNSWICK, NJ 08901




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001704         GIBSON, WALTER I                      Unsecured          Filed 10/29/04                            $0.00             $710.00               $710.00
 070            32 N. SUSSEX ST.
 7100-00        DOPVER, NJ 07801

 001705-B       MONSALVE JUAN CARLOS                  Unsecured          Filed 10/29/04                            $0.00               $0.00              $1,371.02
 070            74 MYRTLE AVE                          Reclassified Per Order Dated 9/23/08 (Docket #1882)
 7100-00        DOVER, NJ 07801

 001706         OLMO RUTH N                           Unsecured         Filed 10/28/04                             $0.00           $2,400.00                  $0.00
 070            PO BOX 2985                            Disallowed Per Order Dated 10/27/08 ( Dkt # 2197)
 7100-00        CAROLINA, PR 00984

 001707         CLAIM NUMBER VOIDED                   Unsecured                                                    $0.00               $0.00                  $0.00
 070
 7100-00

 001708         MORRIS, TYRONE                        Unsecured          Filed 10/28/04                            $0.00               $0.00                  $0.00
 070            2833 MARKET STREET                     Disallowed per order 3-10-09
 7100-00        OAKLAND, CA 94602

 001709         OLIVERA, SUSANA C.                    Unsecured          Filed 10/12/04                            $0.00           $2,720.00              $2,720.00
 070            22 TERRY LANE
 7100-00        APARTMENT 210
                MONTICELLO, NY 12701

 001710         SOCORRO MARTINEZ                      Unsecured          Filed 10/27/04                            $0.00         $620,000.00            $620,000.00
 070            13441 BERG STREET
 7100-00        SYLMAR, CA 91342

 001711         TREJO ODILON S                        Unsecured          Filed 10/12/04                            $0.00           $1,070.90              $1,070.90
 070            1955 BELLS FERR ROAD
 7100-00        APT #4222
                MARIETTA, GA 30066

 001712         TAPIA, HECTOR                         Unsecured          Filed 10/12/04                            $0.00               $0.00                  $0.00
 070            275 CHESTNUT ST APT 404
 7100-00        SPRINGFIELD, MA 01104

 001713         SOUTHSIDE MEDICAL IMAGING             Unsecured          Filed 10/12/04                            $0.00           $2,790.00              $2,790.00
 070            PO BOX 691907
 7100-00        CINNCINNATI, OH 45269

 001714         MOEDANO, PABLO                        Unsecured          Filed 10/05/04                            $0.00             $280.80               $280.80
 070            219 AVENIDA DE LA PLAZA
 7100-00        VISTA, CA 92083

 001715         QUARTZ HILL INDUSTRIAL MED            Unsecured          Filed 10/08/04                            $0.00             $674.00               $674.00
 070            42357 50TH ST WEST 104
 7100-00        QUARTZ HILL, CA 93536

 001716         HERNANDEZ ABIUD                       Unsecured          Filed 10/19/04                            $0.00               $0.00                  $0.00
 070            3134 W 145TH STREET
 7100-00        APARTMENT #6
                GARDENA, CA 90249




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001717         RAMOS MARIA DE SAL                    Unsecured          Filed 10/22/04                            $0.00         $100,000.00            $100,000.00
 070            4065 W 104 ST
 7100-00        INGLEWOOD, CA 90304

 001718         HERIBERTO AVILA                       Unsecured          Filed 10/21/04                            $0.00               $0.00                  $0.00
 070            ATTN DON HARVEY ESQ
 7100-00        253 N. ORLANDO AVE. SUITE 204
                MAITLAND FL 32751

 001719         NEIRA LUZ ESTELLA                     Unsecured          Filed 10/25/04                            $0.00             $350.00               $350.00
 070            36 ELLIOT ST
 7100-00        DOVER, NJ 07801

 001721-B       STATE OF DELAWARE DIV OF    Unsecured         Filed 10/21/04                                       $0.00              $30.00                $30.00
 070            REVENUE                      Allowed per Order dated 03/28/2011 (Dkt #3996)
 7100-00        820 N FRENCH ST 8TH FL
                ATTN: RANDY R WELLER MS #25
                WILMINGTON, DE 19801

 001722         WHITE, ROBERT                         Unsecured          Filed 10/03/04                            $0.00               $0.00                  $0.00
 070            577 PRUDENCE RD B                      Disallowed per order 4-7-09
 7100-00        PITTSVIEW, AL 36871

 001723-A       MISSISSIPPI STATE TAX                 Unsecured        Filed 12/02/04                              $0.00               $6.25                  $0.00
 070            COMMISSION                             Expunged per Order dated 06/29/2011 (Dkt #4169)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 23338
                JACKSON, MS 39225

 001726         MONSTERCOM                            Unsecured          Filed 11/16/04                            $0.00           $3,290.00              $3,290.00
 070            CUST MC410161
 7100-00        PO BOX 34649
                NEWARK, NJ 07189

 001727         KHG MEDIATIONS PA                     Unsecured          Filed 11/29/04                            $0.00             $850.00               $850.00
 070            NORTHWOOD PROFESSIONAL
 7100-00        CENTER
                840 C S R 434 NORTH
                ALTAMONTE SPRINGS, FL 32714

 001728-B       INDIANA DEPT OF WORKFORCE             Unsecured          Filed 11/29/04                            $0.00               $0.00                $25.00
 070            DEV WORKER                             Reclassified per Order dated 04/12/2011 (Dkt #4050)
 7100-00        TRAINING FUND
                ATTN: BEVERLY KOROBKIN
                10 N SENATE AVE #STE200
                INDIANAPOLIS, IN 46204

 001729-B       INDIANA DEPT OF WORKFORCE             Unsecured         Filed 11/29/04                             $0.00              $25.00                $25.00
 070            DEV WORKER                             Allowed per Order dated 04/12/2011 (Dkt #4050)
 7100-00        TRAINING FUND
                ATTN: BEVERLY KOROBKIN
                10 N SENATE AVE #SE200
                INDIANAPOLIS, IN 46204




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class    Notes                                Scheduled                Claimed              Allowed
 001731         ASSOCIATED REPRODUCTION               Unsecured         Filed 11/22/04                            $0.00            $1,991.25              $1,991.25
 070            SVCS
 7100-00        13925 WHITTIER BLVD
                WHITTIER, CA 90605

 001732-A       MISSISSIPPI STATE TAX                 Unsecured         Filed 11/19/04                            $0.00                $6.25                   $6.25
 070            COMMISSION                             Allowed per Order dated 06/29/2011 (Dkt #4169)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 23338
                JACKSON, MS 39225

 001733         ARCE INTERPRETING                     Unsecured         Filed 12/06/04                            $0.00            $3,729.50              $3,729.50
 070            4045 BONITA ROAD
 7100-00        SUITE 310
                BONITA, CA 91902

 001734         AIRGAS SAFETY                         Unsecured         Filed 12/07/04                            $0.00            $3,778.45              $3,778.45
 070            W3645 AIRGAS SAFETY
 7100-00        PO BOX 7777
                PHILADELPHIA, PA 19175

 001735         UNITED PARCEL SERVICE                 Unsecured         Filed 12/06/04                            $0.00           $11,913.94             $11,913.94
 070            C/O D&B/RMS BANKRUPTCY
 7100-00        SERVICES
                P O BOX 4396
                TIMONIUM, MD 21094

 001737-B       ALCALA, ALFREDO                       Unsecured         Filed 11/17/04                            $0.00              $329.79                   $0.00
 070            9716 CEDAR ST                          Disallowed per Order Dated 8/13/08 (Docket #1531)
 7100-00        BELLFLOWER, CA 90706

 001738         CHASE, ROY                            Unsecured         Filed 11/19/04                            $0.00                $0.00                   $0.00
 070            2072 PRAIRIE VIEW LN
 7100-00        LINCOLN, CA 95648

 001741         FRIDAY, CURTIS                        Unsecured         Filed 11/24/04                            $0.00           $10,000.00                   $0.00
 070            475 FRANKLIN STREET                    Disallowed per Order Dated 12/15/08 (Docket #2699)
 7100-00        APARTMENT 2
                WILKES BARRE, PA 18702

 001742         EYEMED VISION CARE                    Unsecured         Filed 11/22/04                            $0.00                $0.00                   $0.00
 070            FIDELITY SECURITY LIFE INS
 7100-00        9638776
                ATTN: JULIE CARMACK 3RD FL
                4000 LUXOTTICA PL
                MASON, OH 45040

 001743         ROBERTSON, CARLOS                     Unsecured         Filed 11/23/04                            $0.00            $1,920.00              $1,920.00
 070            6095 PEBBLE BEACH
 7100-00        MEMPHIS, TN 38115

 001744-A       MISSOURI DEPT OF REVENUE              Unsecured         Filed 12/09/04                           $0.00                $126.20               $126.20
 070            BOX 475                                Allowed 03/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Allowed 05/03/11 (Dkt
 7100-00        JEFFERSON CITY, MO 65105               4122)




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 Code #           Creditor Name & Address               Claim Class     Notes                                 Scheduled               Claimed             Allowed
 001746-B       MISSOURI DEPT OF REVENUE              Unsecured         Filed 12/09/04                          $0.00                 $19.00                 $19.00
 070            BOX 475                                Reduced & Allowed 3/28/11 (Dkt 4002); Order Vacated 5/3/11 (Dkt 4122); Allowed
 7100-00        JEFFERSON CITY, MO 65105               05/03/11 (Dkt 4122)


 001747-B       COLORADO DEPT OF REVENUE              Unsecured         Filed 12/08/04                            $0.00                $0.00                $924.47
 070            ATTN: BANKRUPTCY UNIT                  Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3998) See Claim #1654
 7100-00        1375 SHERMAN ST RM 504
                DENVER, CO 80261

 001748         TORRES, CARMEN                        Unsecured         Filed 11/16/04                              $0.00           $6,240.00                  $0.00
 070            608 E. ONTARIO ST.                     Disallowed per Order Dated 10/27/08 (Docket #2208)
 7100-00        PHILADELPHIA, PA 19134

 001749         TORRES CARMEN                         Unsecured          Filed 11/16/04                             $0.00               $0.00                  $0.00
 070            608 E ONTARIO ST                       Disallowed per order 10-27-08
 7100-00        PHILADELPHIA, PA 19134

 001750         NEIRA LUZ ESTELLA                     Unsecured          Filed 10/25/04                             $0.00             $350.00               $350.00
 070            36 ELLIOT STREET
 7100-00        DOVER, NJ 07801

 001752         BICKLEY, HENRY                        Unsecured          Filed 09/27/04                             $0.00               $0.00                  $0.00
 070            1699 HIGHLAND STREET                   Duplicate of Claim #1763
 7100-00        SEASIDE, CA 93955

 001754-B       ILLINOIS DEPT OF EMPLOYMENT Unsecured         Filed 11/19/04                           $0.00                  $50.00                         $50.00
 070            SECURITY                     Reduced and allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 7100-00        ATTY GENERAL SECTION 9TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001755-A       ILLINOIS DEPT OF EMPLOYMENT Unsecured         Filed 11/19/04                           $0.00                          $150.00               $150.00
 070            SECURITY                     Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 7100-00        BANKRUPTCY UNIT 10 TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001756-B       ILLINOIS DEPT OF EMPLOYMENT Unsecured        Filed 11/19/04                           $0.00                   $70.00                         $70.00
 070            SECURITY                     Reduced and Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 7100-00        BANKRUPTCY UNIT 10TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001757-A       ILLINOIS DEPT OF EMPLOYMENT Unsecured        Filed 11/19/04                           $0.00                 $170.00                         $170.00
 070            SECURITY                     Reduced and Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 7100-00        BANKRUPTCY UNIT 10TH FL
                33 S STATE ST
                CHICAGO, IL 60603

 001758         FOWLER, RONALD S                      Unsecured         Filed 10/03/04                              $0.00           $8,274.66                  $0.00
 070            7808 TWIN LAKES RD                     Disallowed Per Order Dated 8/26/08 (Dkt # 1655) (ca)
 7100-00        KEYSTONE, FL 32656




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                 Claimed               Allowed
 001759         GUARDIAN                              Unsecured          Filed 11/09/04                          $0.00           $178,193.36             $178,193.36
 070            PO BOX 26010
 7100-00        LEHIGH, PA 18022

 001760         ROSS L KIRK                           Unsecured          Filed 11/09/04                          $0.00         $1,500,000.00            $1,500,000.00
 070            8219 OSWEGO ST                         Duplicated by Claim #1768
 7100-00        SUNLAND, CA 91040

 001763         BICKLEY, HENRY                        Unsecured          Filed 09/27/04                          $0.00                 $0.00                   $0.00
 070            1699 HIGHLAND STREET                   Duplicate with Claim #1752
 7100-00        SEASIDE, CA 93955

 001764         SANCHEZ, AMERICA                      Unsecured         Filed 10/04/04                           $0.00               $107.03                   $0.00
 070            127 FRENCH ST.                         Disallowed per Order Dated 12/9/08 (Docket #2656)
 7100-00        NEW BRUNSWICK, NJ 08901

 001765-A       INDIANA DEPT OF WORKFORCE             Unsecured        Filed 09/01/04                            $0.00                $75.74                   $0.00
 070            DEVELOPMENT                            Expunged per Order dated 4/12/2011 (Dkt #4050)
 7100-00        ATTN BEVERLY KOROBKIN
                10 N SENATE AVE #SE200
                INDIANAPOLIS, IN 46204

 001766-B       INDIANA DEPT OF WORKFORCE             Unsecured         Filed 09/01/04                           $0.00                $25.00                  $25.00
 070            DEV WORKER TRA                         Allowed per Order dated 04/12/2011 (Dkt #4050)
 7100-00        ATTN BEVERLY KOROBKIN
                10 N SENATE AVE #SE200
                INDIANAPOLIS, IN 46204

 001767         PAVILION PHARMACY LANE                Unsecured          Filed 09/28/04                          $0.00                 $0.00                   $0.00
 070            810 LANE AVE SOUTH
 7100-00        JACKSONVILLE, FL 32205

 001768         KIRK, ROSS                            Unsecured          Filed 10/24/04                          $0.00         $1,500,000.00                   $0.00
 070            8219 OSWEGO STREET                     Duplicates Claim #1760
 7100-00        SUNLAND, CA 91040

 001770-B       NEW MEXICO DEPT OF LABOR              Unsecured        Filed 12/20/04                            $0.00               $175.00                 $175.00
 070            EMPLOYMENT SECURITY                    Amends Claim #1199
 7100-00        DIVISION
                ATTN: JASON LEWIS LEGAL
                SECTION
                PO BOX 1928
                ALBUQUERQUE, NM 87103

 001772-B       TEXAS WORKFORCE                       Unsecured          Filed 12/20/04                           $0.00                $0.00                  $94.24
 070            COMMISSION                             Reclassified per Order dated 04/12/2011 (Dkt #4052) See Claim #53
 7100-00        ATTN STEVE WHITE
                TWC BLDG
                AUSTIN, TX 78778

 001773-B       DEPT OF LABOR & INDUSTRIAL            Unsecured         Filed 12/20/04                          $0.00                 $60.73                  $60.73
 070            RELATIONS                              Allowed per Order dated 05/24/2011 (Dkt #4138) Amends Claim #719
 7100-00        PO BOX 700
                HONOLULU, HI 96809




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001774-A       PEGNATO & PEGNATO BLDG                Unsecured          Filed 12/14/04                          $0.00           $440,880.00            $501,294.48
 070            SYSTEMS INC                            Reclassified per Order dated 04/19/2011 (Dkt #4071) Amends Claim #132
 7100-00        C/O HAHN & BOLSON LLP
                1000 WILSHIRE BLVD STE 1600
                LOS ANGELES, CA 90017

 001776-B       STATE OF COLORADO DEPT OF  Unsecured         Filed 12/10/04                            $0.00                           $0.00                $10.00
 070            LABOR & EMPLOY              Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3998)
 7100-00        DIVISION OF EMPLOYMENT AND
                TRAINING
                PO BOX 8789
                DENVER, CO 80201

 001777-B       SHEPARD, NEKIMA                       Unsecured          Filed 12/20/04                            $0.00               $0.00               $620.00
 070            2793 BREWER                            Reclassified Per Order Dated 9/23/08 (Dkt #1885)
 7100-00        MEMPHIS, TN 38114

 001778         EMPLOYMENT SECURITY                   Unsecured          Filed 12/17/04                            $0.00              $96.30                $96.30
 070            COMMISSION OF NC
 7100-00        700 WADE AVE.
                RALEIGH, NC 27605

 001780-B       INDIANA DEPT OF WORKFORCE             Unsecured         Filed 12/17/04                             $0.00              $25.00                $25.00
 070            DEV                                    Allowed per Order dated 04/12/2011 (Dkt #4050)
 7100-00        WORKERS TRAINING FUND
                ATTN BEVERLY KOROBKIN
                10 NORTH SENATE AVE #SE200
                INDIANAPOLIS, IN 46204

 001782         STATE OF CA DEPT OF                   Unsecured          Filed 11/01/03                            $0.00               $0.00                  $0.00
 070            INDUSTRIAL RELATIONS
 7100-00        1401 S BROOKHURST RD
                FULLERTON, CA 92833

 001783-B       SOUTH CAROLINA EMPLOYMENT Unsecured          Filed 01/03/05                                        $0.00               $0.00                  $1.74
 070            SECURITY COMM              Reclassified per Order dated 03/28/2011 (Dkt #3997)
 7100-00        ATTN LEGAL DEPT
                SOUTH CAROLINA EMPLOYMENT
                SECURITY COMM
                PO BOX 995
                COLUMBIA, SC 29202

 001785         STATE OF CA DEPT OF                   Unsecured          Filed 12/04/07                            $0.00               $0.00                  $0.00
 070            INDUSTRIAL RELATIONS
 7100-00        CA

 001786-B       STATE OF DELAWARE DEPT OF   Unsecured          Filed 12/13/04                                      $0.00               $0.00                $17.25
 070            LABOR                        Reclassified per Order dated 03/28/2011 (Dkt #3996)
 7100-00        ATTN DIV OF UNEMPLYMENT INS
                PO BOX 9953
                WILMINGTON, DE 19809

 001787-B       STATE OF DELAWARE DEPT OF             Unsecured          Filed 12/13/04                            $0.00               $0.00                $17.25
 070            LABOR                                  Reclassified per Order dated 03/28/2011 (Dkt #3996)
 7100-00        ATTN DIV OF UNEMPLOYMENT
                INS


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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                  Claimed             Allowed
                PO BOX 9953
                WILMINGTON, DE 19809


 001795         SBC                                   Unsecured          Filed 12/28/04                            $0.00              $2,505.06             $2,505.06
 070            ATTN BANKRUPTCY RECOVERY
 7100-00        CTR
                PO BOX 981268
                WEST SACRAMENTO, CA 95851

 001796-A       HOLT TACIANA                          Unsecured          Filed 12/27/04                            $0.00              $1,600.00                  $0.00
 070            2510 AUSTIN SMITH COURT                Reclassified Per Order Dated 8/18/08 (Docket #1579)
 7100-00        N. FORT MEYERS, FL 33917

 001797-B       SEATON, MARK                          Unsecured           Filed 01/03/05                           $0.00                  $0.00             $2,634.16
 070            35 MARQUESTTE LANE                     Reclassified per order 12-15-08
 7100-00        KANKAKEE, IL 60901

 001800         MONTEIRO KAREN                        Unsecured          Filed 12/23/04                            $0.00                  $0.00                  $0.00
 070            18 3RD ST                              Disallowed per order 4-7-09
 7100-00        SAYREVILLE, NJ 08872

 001801-B       DELIGNE, JUDY                         Unsecured         Filed 12/27/04                             $0.00              $3,998.64                  $0.00
 070            411 BRENNAN CT.                        Allowed Per Order dated 11/25/08 (Docket # 2514) (ac)
 7100-00        S. PLAINFIELD, NJ 07080

 001802-B       SOUTH CAROLINA EMPLOYMENT Unsecured          Filed 12/20/04                                        $0.00                  $0.00                  $2.19
 070            COMMISSION                 Reclassified per Order dated 03/28/2011 (Dkt #3997)
 7100-00        ATTN LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001804-B       SOUTH CAROLINA EMPLOYMENT Unsecured           Filed 12/20/04                           $0.00                              $0.00                $13.45
 070            SECURITY COMM              Reclassified and allowed per Order dated 03/28/2011 (Dkt #3997)
 7100-00        ATTN LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001806-B       SENESAC, PAULA                        Unsecured         Filed 01/03/05                             $0.00              $3,598.32                  $0.00
 070            38 JORDAN DRIVE                        Disallowed Per Order Dated 11/18/08 (Dkt # 2419)
 7100-00        BOURBONNAIS, IL 60914

 001807         LOPEZ, MARYLEE                        Unsecured          Filed 01/03/05                            $0.00                  $0.00                  $0.00
 070            45 SO LINCOLN AVE APT 103              Disallowed per order 11-9-09
 7100-00        AURORA, IL 60505

 001808-A       PALMERO, SONIA                        Unsecured         Filed 01/03/05                             $0.00              $1,305.00                  $0.00
 070            345 49TH ST.                           Disallowed Per Order Dated 12/2/08 (Dkt #2583) (ac)
 7100-00        BROOKLYN, NY 11220

 001809-B       PAREDES, CARLOS                       Unsecured         Filed 01/03/05                            $0.00               $3,500.00                  $0.00
 070            27 WEST 7TH ST.                        Reduced and Reclassified Per Order Dated 4/21/09 (Docket #3160) (ac)
 7100-00        PLAINFIELD, NJ 07060




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                  Claimed             Allowed
 001810         CRISCIO, ANTHONY                      Unsecured          Filed 12/27/04                            $0.00              $2,307.00             $2,307.00
 070            457 WEST AVENUE
 7100-00        SEWAREN, NJ 07077

 001815-B       OKLAHOMA TAX COMMISSION               Unsecured         Filed 12/27/04                          $0.00                    $10.95                $10.95
 070            LEGAL DIVISION                         Allowed per Order dated 04/12/2011 (Dkt #4053) Amends Claim #301
 7100-00        120 N ROBINSON SUITE 2000W
                OKLAHOMA CITY, OK 73102

 001823-BCO COLORADO DEPT OF LABOR &                  Unsecured          Filed 12/14/04                            $0.00                  $0.00                $10.00
 070        EMPLOYMENT                                 Reclassified per Order dated 03/28/2011 (Dkt #3998)
 7100-00    UNEMPLOYMENT INSURANCE
            TAX ADMIN
            PO BOX 8789
            DENVER, CO 80201

 001828-B       MASSACHUSETTS DEPT OF                 Unsecured         Filed 12/28/04                          $0.00                    $11.25                $11.25
 070            REVENUE                                Allowed per Order dated 04/12/2011 (Dkt #4051) Amends Claim #227
 7100-00        LITIGATION BUREAU
                BANKRUPTCY UNIT
                P O BOX 9564
                ATTN: ANNE CHAN
                BOSTON, MA 02114

 001829-A       MASSACHUSETTS DEPT OF                 Unsecured        Filed 12/28/04                          $0.00                    $794.68                  $0.00
 070            REVENUE                                Expunged per Order dated 04/12/2011 (Dkt #4051) Amends Claim #226
 7100-00        LITIGATION BUREAU
                BANKRUPTCY UNIT
                P O BOX 9564
                ATTN: ANNE CHAN
                BOSTON, MA 02114

 001830-A       AVILES, LISA                          Unsecured         Filed 12/30/04                            $0.00               $1,548.00                  $0.00
 070            378 MONMOUTH RD                        Reduced and Reclassified Per Order Dated 8/18/08 (docket #1566) (ac)
 7100-00        ELIZABETH, NJ 07208

 001831         Lisa Aviles                           Unsecured           Filed 04/28/04                           $0.00                  $0.00                  $0.00
 070            378 Monmouth Rd.                       (10-1) see claim
 7100-00        Elizabeth, NJ 07208                    (10-1) Claim sent to claims agent


 001833         MILLER, MARY S.                       Unsecured          Filed 01/10/05                            $0.00                  $0.00                  $0.00
 070            1220 SAGER ROAD
 7100-00        DANDRIDGE, TN 37725

 001834         STAFFCO INC                           Unsecured          Filed 01/06/05                            $0.00             $37,462.44            $37,462.44
 070            ATTN: JACK CURTIS ESQ
 7100-00        1370 ONTARIO ST STE 520
                CLEVELAND, OH 44113

 001836         JONES WOODS & GENTRY, INC.            Unsecured          Filed 01/06/05                            $0.00                  $0.00                  $0.00
 070            C/O CHARLES R. STEPTER, JR.,
 7100-00        ESQUIRE
                FISHBACK LAW FIRM
                170 E. WASHINGTON STREET
                ORLANDO, FL 32801


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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001837         JONES WOODS & GENTRY INC.    Unsecured                   Filed 01/06/05                            $0.00               $0.00                  $0.00
 070            C/O CHARLES R STEPTER JR ESQ
 7100-00        FISHBACK LAW FIRM
                170 E WASHINGTON ST
                ORLANDO, FL 32801

 001838-B       PADUA, NORMA                          Unsecured         Filed 01/18/05                             $0.00           $2,520.00                  $0.00
 070            539 RIDGEWAY AVENUE                    Disallowed per Order Dated 8/26/08 (Docket #2527)
 7100-00        SOUTH AMBOY, NJ 08879

 001840-B       NOEL, MANDI                           Unsecured          Filed 01/13/05                            $0.00               $0.00             $2,233.86
 070            1212 WILD TURKEY DRIVE                 Reclassified Per Order Dated 8/25/08 (Dkt #1625)
 7100-00        DERBY, KS 67037

 001841         DELUNA, FRANCISCO                     Unsecured          Filed 01/11/05                            $0.00           $1,404.00             $1,404.00
 070            15394 RIDGECREST DR
 7100-00        FONTANA, CA 92337

 001845         NYS DEPT OF TAXATION &                Unsecured         Filed 01/10/05                           $0.00             $1,000.00                  $0.00
 070            FINANCE                                Administrative Expense; Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN: BANKRUPTCY SECTION
                P O BOX 5300
                ALBANY, NY 12205

 001848         PADILLA, TANYA                        Unsecured          Filed 01/10/05                            $0.00               $0.00                  $0.00
 070            4711 NATICK AVE. #331                  Disallowed per order 11-9-09
 7100-00        SHERMAN OAKS, CA 91403

 001849-A       MELENDEZ, JOSE FRANCISCO              Unsecured          Filed 01/07/05                            $0.00           $5,000.00                $75.00
 070            4046 KIMBALL AVENUE                    Reclassified Per Order Dated 4/22/09 (Docket #3181)
 7100-00        MEMPHIS, TN 38111

 001850-A       SIGNORILE, PATRICIA                   Unsecured          Filed 01/06/05                            $0.00          $13,555.80            $13,555.80
 070            18 4TH STREET
 7100-00        SAYERVILLE, NJ 08872

 001851-A       ORTIZ, WILMER J.                      Unsecured          Filed 01/11/05                            $0.00             $260.00                  $0.00
 070            1142 ONION STREET                      Reclassified Per Order Dated 4/22/09 (Docket #3194)
 7100-00        ALLENTOWN, PA 18102

 001852-B       OLIVA, KENNETH                        Unsecured          Filed 01/07/05                            $0.00               $0.00             $3,656.39
 070            8 HALE COURT                           Reclassified Per Order Dated 9/9/08 (Docket # 1701)
 7100-00        BASKING RIDGE, NJ 07920

 001853-B       ANTAO, ROSALINA                       Unsecured         Filed 01/12/05                          $0.00              $5,662.96                  $0.00
 070            422 CHESTNUT ST 2                      Disallowed per Order Dated 8/18/08 (Docket 31568); Amends Calim #400
 7100-00        KEARNY, NJ 07032

 001854-A       ARMAND, DENISE                        Unsecured         Filed 01/05/05                         $0.00               $1,776.96             $1,776.96
 070            180 ROBERT PLACE                       Allowed per Order Dated 12/2/08 (Docket #2590) Amends Claim #386
 7100-00        SO PLAINFIELD, NJ 07080

 001855         RAINBOW MEDICAL GROUP INC             Unsecured          Filed 01/11/05                            $0.00          $11,430.50            $11,430.50
 070            1809 EAST DYER RD 311
 7100-00        SANTA ANA, CA 92705




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                            Scheduled                     Claimed             Allowed
 001856-B       OFFICE OF UNEMPLOYMENT                Unsecured          Filed 01/06/05                          $0.00                   $0.00               $500.00
 070            COMP TAX SERVICES                      Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171) See Claim #1817
 7100-00        COMMONWEALTH OF PA
                DEPT OF LABOR & INDUSTRY
                1171 S CAMERON ST, RM 312
                HARRISBURG, PA 17104

 001857-B       OFC OF UNEMPLOYMENT                   Unsecured          Filed 12/27/04                          $0.00                   $0.00               $728.16
 070            COMPENSATION TAX SVC                   Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171) See Claim #1816
 7100-00        ATTN: HARRISBURG
                COMPLIANCE & BANKRUPTCY
                COMMONWEALTH OF PA DEPT
                OF LABOR & IND
                1171 S. CAMERON ST. RM 312
                HARRISBURG, PA 17104

 001858         The New York Times Co.                Unsecured          Filed 01/19/05                          $0.00             $1,056.00               $1,056.00
 070            Attn: Jerome F. O'Brien, Esq.          (207-1) Claim sent to claims agent
 7100-00        PO Box 505
                West Caldwell, NJ 07007

 001859         NYS DEPT OF TAXATION &                Unsecured         Filed 01/18/05                           $0.00             $1,000.00                    $0.00
 070            FINANCE                                Administrative Expense; Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001860         NYS DEPT OF TAXATION &                Unsecured         Filed 01/18/05                           $0.00            $10,000.00                    $0.00
 070            FINANCE                                Administrative Expense; Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001861-B       NATIONS SURGERY CENTERS LP Unsecured          Filed 01/18/05                                     $0.00                   $0.00            $40,699.29
 070            PO BOX 515338               Reclassified per Order dated 02/06/2012 (Dkt 4289).
 7100-00        LOS ANGELES, CA 90051

 001862-B       STATE OF NEVADA DEPT OF     Unsecured          Filed 01/18/05                                    $0.00                   $0.00                  $5.30
 070            EMPLOYMENT                   Reclassified per Order dated 03/28/2011 (Dkt #3999)
 7100-00        TRAINING AND REHABILITATION
                EMPLOYMENT SECURITY DIV
                500 EAST THIRD ST
                CARSON CITY, NV 89713

 001863         PITNEY BOWES CREDIT CORP              Unsecured          Filed 01/18/05                          $0.00             $3,147.29               $3,147.29
 070            ATTN RECOVERY DEPT
 7100-00        27 WATERVIEW DR
                SHELTON, CT 06484

 001864         JOSE L MORENO                         Unsecured          Filed 01/12/05                          $0.00                 $409.59               $409.59
 070            4048 W 179TH ST
 7100-00        TORRANCE, CA 90504




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled                Claimed             Allowed
 001865-A       SPAULDING, DELORES                    Unsecured         Filed 01/14/05                            $0.00            $1,512.00                  $0.00
 070            2428 POWDERLY AVENUE                   Allowed per Order Dated 9/16/08 (Docket $1776)
 7100-00        BIRMINGHAM, AL 35211

 001866         DURON CARLOS                          Unsecured          Filed 01/14/05                           $0.00           $30,000.00            $30,000.00
 070            1318 NW 6 ST #2
 7100-00        MIAMI, FL 33125

 001868         SKYLAR, TODD                          Unsecured          Filed 01/24/05                           $0.00                $0.00                  $0.00
 070            5790 FOX HOLLOW DR
 7100-00        BOCA RATON, FL 33486

 001871-B       BRIGHT, KIEREN                        Unsecured         Filed 01/10/05                            $0.00            $1,082.60                  $0.00
 070            33 VALERIE AVE                         Disallowed Per Order Dated 10/27/08 (Docket #2198)
 7100-00        EPHRATA, PA 17522

 001872         SHULT, ROCIO                          Unsecured          Filed 01/10/05                           $0.00                $0.00                  $0.00
 070            106 51 OAKBEND DR                      Disallowed per order 11-18-08
 7100-00        SAN DIEGO, CA 92131

 001873         MORENO JOSE LUIS                      Unsecured          Filed 01/14/05                           $0.00               $32.62                $32.62
 070            4048 W 179TH ST
 7100-00        TORRANCE, CA 90504

 001874-A       HERNANDEZ, JORGE                      Unsecured         Filed 01/14/05                            $0.00            $4,000.00                  $0.00
 070            26 BERGEN STREET                       Disallowed Per Order Dated 8/26/08 (Docket #1651)
 7100-00        GARFIELD, NJ 07026

 001875         BACHMANN, DOREEN                      Unsecured          Filed 01/11/05                           $0.00                $0.00                  $0.00
 070            33 GIBSON AVENUE
 7100-00        HUNTINGTON, NY 11743

 001877-B       ALDAVE, EDDIE                         Unsecured         Filed 01/25/05                            $0.00            $5,827.26                  $0.00
 070            6072 CRESENT AV                        Reduced and Reclassified per Order Dated 12/15/08 (Docket #2703)
 7100-00        BUENA PARK, CA 90620

 001879-B       GEORGIA DEPT OF LABOR      Unsecured          Filed 01/24/05                                      $0.00                $0.00                $32.82
 070            148 ANDREW YOUNG INT'L BLVD Reclassified per Order dated 04/19/2011 (Dtk #4069)
 7100-00        STE 826
                ATLANTA, GA 30303

 001880-B       SHELTON, JOSEPH                       Unsecured         Filed 01/25/05                            $0.00            $9,538.40                  $0.00
 070            721 HONEYSUCKLE LN                     Disallowed Per Order Dated 10/27/08 (Docket #2192)
 7100-00        MIDLAND, NC 28107

 001883-B       RODRIGUEZ, JACLYN                     Unsecured          Filed 01/24/05                           $0.00                $0.00               $970.40
 070            4123 TYSON AVE                         Reclassified Per Order Dated 12/15/08 (Docket # 2706)
 7100-00        PHILADELPHIA, PA 19135

 001884-B       ZIENKIEWICZ, LEONA                    Unsecured          Filed 01/24/05                           $0.00                $0.00               $361.60
 070            460 RIVER RD                           Reclassified and Allowed Per Order Dated 10/21/08 (Docket # 2113)
 7100-00        NUTLEY, NJ 07110




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                  Claimed              Allowed
 001889-B       MELENDEZ, TANYA                       Unsecured         Filed 01/21/05                            $0.00                $2,388.32             $2,388.32
 070            17 HERITAGE GREEN DR.                  Reduced and Reclassified Per Order Dated 12/9/08 (Dkt # 2650) (ac)
 7100-00        APT 209
                FISKDALE, MA 01518

 001892-B       STATE OF IOWA              Unsecured        Filed 01/31/05                                         $0.00                $280.82                   $0.00
 070            IOWA DEPT OF REVENUE ACCTS  Expunged per Order dated 03/28/2011 (Dkt #4003)
 7100-00        RECEIVABLE
                HOOVER STATE OFFICE BLDG
                DES MOINES, IA 50319

 001893-A       SHEROUSE, ALMA                        Unsecured          Filed 01/20/05                            $0.00               $3,868.11             $3,868.11
 070            701 SO STAMFIELD RD APT 168
 7100-00        TROY, OH 45373

 001896-B       SLOAN, LEELANNEE                      Unsecured          Filed 01/21/05                           $0.00                   $0.00              $1,875.00
 070            10 OVERLOOK RD                         Reclassified and Allwed Per Order Dated 10/21/08 (Docket #2090) (ac)
 7100-00        SUSSEX, NJ 07461

 001897-B       KANSAS DEPT OF REVENUE                Unsecured          Filed 01/26/05                           $0.00                   $0.00                $456.15
 070            CIVIL TAX ENFORCEMENT                  Reclassified and Allowed per Order dated 07/21/2011 (Dkt #4183 ) and Dkt #4186
 7100-00        PO BOX 12005                           07/24/2011
                TOPEKA, KS 66612

 001898-B       KANSAS DEPT OF REVENUE                Unsecured          Filed 01/26/05                           $0.00                   $0.00                 $52.05
 070            CIVIL TAX ENFORCEMENT                  Reclassified and Allowed per Order dated 07/21/2011 (Dkt #4183) and Dkt #4186
 7100-00        PO BOX 12005                           07/24/2011
                TOPEKA, KS 66612

 001899-B       ALBANKIS, TRACEY                      Unsecured          Filed 01/24/05                          $0.00                    $0.00              $7,540.60
 070            146 WEST 9TH AVENUE                    Reclassified per Order Dated 11/25/08 (Docket #2525) Amends Claim #50
 7100-00        ROSELLE, NJ 07203

 001900-B       CHURNEY, DERYA                        Unsecured         Filed 01/24/05                          $0.00                  $1,040.00                  $0.00
 070            20 Goodwin Drive                       Disallowed per Order Dated 12/2/08 (Docket #2581) Amends Claim #566
 7100-00        NORTH BRUNSWICK, NJ 08902

 001903         GONZALEZ, SONIA                       Unsecured          Filed 01/27/05                            $0.00                  $0.00                   $0.00
 070            41 ALDON RD
 7100-00        MONTGOMERY, IL 60538

 001904         FELICIANO, MARIBEL                    Unsecured          Filed 01/31/05                            $0.00               $1,260.00                  $0.00
 070            PO Box 4056                            (148-1) Claim sent to claims agent
 7100-00        Scranton, PA 18505                     disallowed per order 5-20-09 (ac)


 001905-B       TAVARES, JOE                          Unsecured          Filed 01/28/05                            $0.00                  $0.00              $4,382.40
 070            86 HUTCHINSON PLACE                    Reclassified Per Order Dated 12/9/08 (Docket #2658)
 7100-00        CLARK, NJ 07066

 001906-B       ST LEDGER, BRIAN                      Unsecured         Filed 01/28/05                             $0.00             $15,000.00                   $0.00
 070            113 LIVINGSTON AVE.                    Disallowed per Order Dated 12/15/08 (Docket #2696) (ca)
 7100-00        LYNDHURST, NJ 07071




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                     Claimed             Allowed
 001907-C       ST LEDGER, BRIAN                      Unsecured         Filed 01/28/05                            $0.00                    $0.00            $82,551.43
 070            113 LIVINGSTON AVE.                    Reduced and Reclassified per Order Dated 12/15/08 (Docket #2696) (ca)
 7100-00        LYNDHURST, NJ 07071

 001908         BUTLER, NICOLE                        Unsecured          Filed 01/28/05                            $0.00               $1,923.06             $1,923.06
 070            7521 SILVER VIEW LANE
 7100-00        RALEIGH, NC 27613

 001909-A       STATE OF IOWA                         Unsecured         Filed 01/19/05                             $0.00                 $281.92               $280.82
 070            IOWA DEPT OF REVENUE                   Allowed per Order dated 03/28/2011 (Dkt #4003)
 7100-00        ATTN: ACCOUNTS RECEIVABLE
                HOOVER STATE OFC BLDG
                DES MOINES, IA 50319

 001910-A       BUSTILLOS, OMAR                       Unsecured          Filed 01/28/05                            $0.00               $7,808.00             $2,883.00
 070            5893 VISTA SAN GUADALUPE               Reclassified Per Order Dated 4/22/09 (Docket # 3190) (ca)
 7100-00        SAN DIEGO, CA 92154

 001912-C       NYS DEPT OF TAXATION &                Unsecured       Filed 01/27/05                           $0.00           $51,122.01                         $0.00
 070            FINANCE                                Amended by #2387; Expunged per Order dated 11/17/2011 (Dkt #4227) Amends Claim
 7100-00        ATTN: BANKRUPTCY SECTION               #704
                P O BOX 5300
                ALBANY, NY 12205

 001914-A       DANIELS, MINDY                        Unsecured          Filed 01/31/05                            $0.00               $1,230.00                  $0.00
 070            919 SHOEMAKER AVE.                     Reclassified Per Order Dated 5/20/09 (Docket # 3268) (ac)
 7100-00        WEST WYOMING, PA 18644

 001916-B       WASHINGTON, LATOYA                    Unsecured          Filed 01/28/05                            $0.00               $1,248.00                  $0.00
 070            12799 S. 177TH LANE                    Reclassified Per Order Dated 12/2/08 (Docket #2578) (ca)
 7100-00        GOODYEAR, AZ 85338

 001917-A       GONZALEZ, MARIA                       Unsecured          Filed 01/28/05                            $0.00               $1,352.00                  $0.00
 070            10212 SUSAN AVE                        Reclassified Per Order Dated 5/20/09 (Docket # 3270) (ca)
 7100-00        HESPERIA, CA 92345

 001918         MCHUGH, LANCE                         Unsecured         Filed 02/03/05                             $0.00               $1,483.01                  $0.00
 070            936 CORTEZ RD                          Disallowed Per Order Dated 9/9/08 (Docket # 1717)
 7100-00        LAKE ARIEL, PA 18436

 001919-A       ROBB, GAIL                            Unsecured         Filed 01/31/05                             $0.00               $2,924.00                  $0.00
 070            1924 LOGANBERRY LANE                   Disallowed per Order Dated 9/23/08 (Docket #1888)
 7100-00        CROWN POINT, IN 46307

 001920         ROBB, GAIL                            Unsecured          Filed 01/31/05                            $0.00                   $0.00                  $0.00
 070            1924 LOGANBERRY LANE
 7100-00        CROWN POINT, IN 46307

 001921-B       PORTER, REBECCA                       Unsecured         Filed 01/28/05                            $0.00                $3,137.67                  $0.00
 070            133 CLOISTER LN                        Reduced and Reclassified Per Order Dated 10/7/08 (Dkt # 1984)
 7100-00        MOORESVILLE, NC 28117

 001922         BARCHMANN, DOREEN                     Unsecured          Filed 02/09/05                            $0.00                   $0.00                  $0.00
 070            33 GIBSON AVENUE
 7100-00        HUNTINGTON, NY 11743




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled                Claimed             Allowed
 001924-B       LOUISIANA DEPT OF REVENUE             Unsecured         Filed 02/17/05                            $0.00            $1,501.00             $1,501.00
 070            PO BOX 66658                           Allowed per Order dated 05/03/2011 (Dkt #4119)
 7100-00        BATON ROUGE, LA 70896

 001925         HERNANDEZ, JORGE                      Unsecured          Filed 02/03/05                           $0.00                $0.00                  $0.00
 070            26 BERGEN STREET
 7100-00        GARFIELD, NJ 07026

 001926-B       COACHMAN, STEVEN                      Unsecured          Filed 02/15/05                           $0.00                $0.00             $8,500.00
 070            215 E. NEW YORK                        Reclassified Per Order Dated 10/21/08 (Dkt # 2088)
 7100-00        AURORA, IL 60505

 001927         COACHMAN, STEVEN                      Unsecured          Filed 02/15/05                           $0.00                $0.00                  $0.00
 070            215 E. NEW YORK
 7100-00        AURORA, IL 60505

 001928-B       NYS DEPT OF TAXATION &                Unsecured         Filed 02/10/05                            $0.00            $8,468.15             $8,468.15
 070            FINANCE                                Allowed per Order dated 11/17/2011 (Dkt #4227)
 7100-00        ATTN BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001929-A       NYS DEPT OF TAXATION &                Unsecured        Filed 02/22/05                          $0.00              $49,410.15                  $0.00
 070            FINANCE                                Expunged per Order dated 11/17/2011 (Dkt #4227) Amends Claim #914
 7100-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001930-B       NYS DEPT OF TAXATION &                Unsecured         Filed 02/24/05                          $0.00              $1,134.62             $1,134.62
 070            FINANCE                                Allowed per Order dated 11/17/2011 (Dkt #4227) Amends Claim #1141
 7100-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 001932         DELL FINANCIAL SERVICES    Unsecured                     Filed 03/14/05                           $0.00           $19,392.50            $19,392.50
 070            ATTN WILLIAM P FREEMAN ESQ
 7100-00        WELLMAN WEINBERG & REIS CO
                LPA
                325 CHESTNUT ST STE 501
                PHILADELPHIA, PA 19106

 001934-B       KEVIN E WILKINSON                     Unsecured        Filed 03/14/05                           $0.00                $558.00                  $0.00
 070            RD 2 P4-15                             Reduced and Allowed Per Order Dated 11/03/08 (Docket #2301)
 7100-00        HAZLETON, PA 18202

 001937-B       GEORGIA DEPT OF LABOR      Unsecured          Filed 03/22/05                                      $0.00                $0.00                $23.35
 070            148 ANDREW YOUNG INTL BLVD  Reclassified per Order dated 04/19/2011 (Dtk #4069)
 7100-00        STE 826
                ATLANTA, GA 30303

 001938         LAZER APTHEKER ROSELLA &              Unsecured          Filed 02/22/05                           $0.00            $8,925.96             $8,925.96
 070            YEDID PC
 7100-00        225 OLD COUNTRY RD
                MELVILLE, NY 11747




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                 Claimed             Allowed
 001942-B       INDIANA DEPT OF WORKFORCE             Unsecured         Filed 03/14/05                           $0.00                $75.75                $75.74
 070            DEVELOPMENT                            Allowed per Order dated 04/12/2011 (Dkt #4050) See Claim #1765
 7100-00        ATTN BEVERLY KOROBKIN
                10 NORTH SENATE AVENUE #
                SF200
                INDIANAPOLIS, IN 46204

 001947         PRATCHER, URSELA                      Unsecured          Filed 04/06/05                           $0.00                $0.00                  $0.00
 070            914 COOKS LANE                         Disallowed per order 3-10-09 (ca)
 7100-00        BALTIMORE, MD 21229

 001949         STATE OF MICHIGAN DEPT OF   Unsecured         Filed 04/11/05                                      $0.00              $143.02               $143.02
 070            TREASURY                     Allowed per Order dated 10/05/2011 (Dkt #4216)
 7100-00        ATTN: STEVEN B. FLANCHER
                G. MENNEN WILLIAMS BLDG 2nd
                FL
                525 W OTTAWA ST
                LANSING, MI 48933

 001951         GONZALEZ, JOSE                        Unsecured          Filed 04/25/05                           $0.00                $0.00                  $0.00
 070            831 E CHEVY CHASE DRIVE
 7100-00        APT C
                GLENDALE, CA 91206

 001952-B       THE OHIO DEPT OF JOB & FAMILY Unsecured          Filed 04/26/05                          $0.00                $139.04                      $139.04
 070            SERVICES                       Allowed 4/12/11; (Dkt 4048).Vacated 4/14/11(Dkt 4062); Allowed 5/23/11 (Dkt 4141)
 7100-00        PO BOX 182404
                COLUMBUS, OH 43218

 001953-A       STATE OF MARYLAND             Unsecured         Filed 04/28/05                                    $0.00               $74.00                $74.00
 070            COMPTROLLER OF TREASURY        Allowed per Order dated 06/13/2011 (Dkt #4158)
 7100-00        RM 409, STATE OFFICE BUILDING
                301 WEST PRESTON ST
                BALTIMORE, MD 21201

 001955         MORENO JOSE L                         Unsecured          Filed 05/09/05                           $0.00               $80.00                $80.00
 070            4348 W 179TH ST
 7100-00        TORRANCE, CA 90504

 001958-B       S C EMPLOYMENT SECURITY               Unsecured           Filed 06/10/05                           $0.00               $0.00                $37.99
 070            COMMISSION                             Reclassified and allowed per Order dated 03/28/2011 (Dkt #3997)
 7100-00        LEGAL DEPT
                PO BOX 995
                COLUMBIA, SC 29202

 001959         STRONG AVE THRIFTWAY                  Unsecured          Filed 06/13/05                           $0.00            $1,655.81             $1,655.81
 070            HEATHER GARRETSON
 7100-00        BERKOWITZ OLIVER WILLIAMS
                SHAW ET AL
                2600 GRAND BLVD
                SUITE 1200
                KANSAS CITY, MO 64108




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed               Allowed
 001960         MR TIMOTHY D HOFFMAN                  Unsecured          Filed 05/17/05                            $0.00      $15,000,000.00        $15,000,000.00
 070            1410 FLORAL LANE
 7100-00        MERRITT ISLAND, FL 32952

 001961-B       COLORADO DEPT OF LABOR &              Unsecured          Filed 05/19/05                            $0.00               $0.00                  $20.00
 070            EMPLOYMENT                             Reclassified per Order dated 03/28/2011 (Dkt #3998)
 7100-00        UNEMPLOYMENT INSURANCE
                TAX ADMINISTRATIO
                PO BOX 8789
                DENVER, CA 80201

 001962-A       Dept of Finance & Admin Cabinet       Unsecured          Filed 07/01/05                            $0.00               $0.00                 $252.57
 070            Kentucky Revenue Cabinet               (209-1) Claim sent to claims agent
 7100-00        100 Fair Oaks 5th Fl, PO Box 491       Reduced and reclassified per Order dated 04/12/2011 (Dkt #4047)
                Frankfort ,Kentucky 40602-0491

 001963-B       VIRGINIA DEPARTMENT OF                Unsecured        Filed 07/01/05                           $0.00                $202.73                 $122.73
 070            TAXATION                               Reduced & Allowed per Order dated 06/29/2011 (Dkt #4167)
 7100-00        PO BOX 2156
                ATTN: DONNIE WALKER
                RICHMOND, VA 23218

 001964-B       MISSISSIPPI DEPT OF         Unsecured          Filed 06/27/05                                      $0.00               $0.00                  $17.52
 070            EMPLOYMENT SECURITY          Reclassified per Order dated 06/29/2011 (Dkt #4169)
 7100-00        ATTN CONTRIBUTIONS & STATUS
                DEPT
                PO BOX 22781
                JACKSON, MS 39225

 001965-B       ILLINOIS DEPT OF EMPLOYMENT Unsecured         Filed 06/13/05                           $0.00                  $50.00                          $50.00
 070            SECURITY                     Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11 See Claim #1756
 7100-00        ATTN: BANKRUPTCY UNIT - 1OTH
                FL
                33 S STATE ST
                CHICAGO, IL 60603

 001969-B       ILLINOIS DEPT OF EMPLOYMENT Unsecured        Filed 07/11/05                           $0.00               $1,365.00                        $1,365.00
 070            SECURITY                     Reduced and Allowed per Order dated 05/03/2011 (Dkt 4109); and (Dkt 4116) 5/5/11
 7100-00        ATTY GENERAL SECTION 9TH
                FLOOR
                33 S STATE ST
                CHICAGO, IL 60603

 001971-B       STATE OF IOWA                         Unsecured        Filed 01/04/06                              $0.00             $150.00                   $0.00
 070            IOWA DEPT OF REVENUE                   Expunged per Order dated 03/28/2011 (Dkt #4003)
 7100-00        ACCOUNTS RECEIVABLE
                HOOVER STATE OFFICE BLDG
                DES MOINES, IA 50319

 001973         RICHARD S JORDAN                      Unsecured          Filed 09/23/05                            $0.00       $1,207,642.00            $1,207,642.00
 070            C/O BYRON E TOWNSEND ESQ
 7100-00        2503 WEST SWANN AVE
                TAMPA, FL 33609




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 001974-B       STATE OF NEVADA DEPT OF               Unsecured          Filed 10/25/05                            $0.00               $0.00                $39.37
 070            EMPLOYMENT                             Reclassified per Order dated 03/28/2011 (Dkt #3999)
 7100-00        TRAINING & REHABILITATION
                EMPLOYMENT SEC
                500 EAST THIRD ST
                CARSON CITY, NV 89713

 001975-B       STATE OF NEVADA DEPT OF               Unsecured          Filed 10/25/05                            $0.00               $0.00                $18.02
 070            EMPLOYMENT                             Reclassified per Order dated 03/28/2011 (Dkt #3999)
 7100-00        TRAINING & REHABILITATION
                EMPLOYMENT SEC
                500 EAST THIRD ST
                CARSON CITY, NV 89713

 001976         GOOD SAMARITAN MEDICAL                Unsecured          Filed 11/09/05                            $0.00           $2,389.60             $2,389.60
 070            CENTER
 7100-00        RAINA WALPOLE
                TENET HEALTH CARE
                13737 NOEL ROAD
                DALLAS, TX 75240

 001978         MARTIN                                Unsecured          Filed 09/08/05                            $0.00               $0.00                  $0.00
 070            BROTHERS/MARCOWALL INC                 Disallowed per order 12-22-08
 7100-00        17104 SOUTH FIGUEROA ST
                GARDENA, CA 90248

 001979         BOCCHI LABORATORIES INC               Unsecured          Filed 02/24/06                            $0.00          $50,000.00            $50,000.00
 070            EDWARD T ATTANASIO ESQ
 7100-00        KLEE TUCHIN BOGDANOFF &
                STERN LLP
                2121 AVENUE OF THE STARS
                33RD FLOOR
                LOS ANGELES, CA 90067

 001989         STATE OF NEW JERSEY DEPT OF           Unsecured        Filed 02/09/06                              $0.00           $7,446.35                  $0.00
 070            TREASURY                               Expunged per Order dated 09/07/11 (Docket #4203)
 7100-00        DIVISION OF TAXATION
                PO BOX 245
                TRENTON, NJ 08695

 001991-B       INDIANA DEPT OF REVENUE               Unsecured         Filed 02/06/06                             $0.00             $506.93               $506.93
 070            BANKRUPTCY SECTION ROOM                Allowed per Order dated 04/12/2011 (Dkt #4050)
 7100-00        N203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 001992-A       INDIANA DEPT OF REVENUE               Unsecured         Filed 02/06/06                           $0.00                $15.64                  $0.00
 070            BANKRUPTCY SECTION ROOM                Reduced and Reclassified per Order dated 04/12/2011 (Dkt #4050)
 7100-00        N203
                100 NORTH SENATE AVE
                INDIANAPOLIS, IN 46204

 001996-A       Indiana Department of Revenue         Unsecured          Filed 05/30/06                            $0.00           $3,468.47             $3,468.47
 070            Bankruptcy Section, Room N-203         (213-1) Claim sent to claims agent
 7100-00        100 North Senate Avenue                Allowed per Order dated 04/12/2011 (Dkt #4050)
                Indianapolis, IN 46204


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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                            Scheduled               Claimed             Allowed
 001998-A       Elaine L. Chao, Secretary of Labor   Unsecured          Filed 10/29/04                         $0.00              $54.08                $54.08
 070            Patricia M. Rodenhausen Reg Solicitor (201-1) Claim sent to claims agent
 7100-00        U.S. Department of Labor              Allowed per Order dated 06/13/2011 (Dkt #4156)
                201 Varick Street, Room 983
                New York, New York 10014

 001999         QUEEN, ROBERT                         Unsecured          Filed 01/02/08                        $0.00               $0.00                  $0.00
 070            3031 GRAYSON ST                        Disallowed per order 9-9-08
 7100-00        BALTIMORE, MD 21216

 002001-B       AIRPORT GATEWAY PLAZA, LLC            Unsecured        Filed 01/02/08                          $0.00          $15,908.69                  $0.00
 070            638 LINDERO CANYON ROAD,               Expunged per Order dated 04/06/2011 (Dkt #4026)
 7100-00        #508
                (fka Marian C. Aden Trust)
                OAK PARK, CA 91377

 002002-A       AIRPORT GATEWAY PLAZA, LLC            Unsecured        Filed 01/02/08                          $0.00          $15,908.69                  $0.00
 070            638 LINDERO CANYON ROAD,               Expunged per Order dated 04/06/2011 (Dkt #4026)
 7100-00        #508
                (fka Marian C. Aden Trust)
                OAK PARK, CA 91377

 002003-B       AIRPORT GATEWAY PLAZA, LLC            Unsecured        Filed 01/02/08                          $0.00          $15,908.69                  $0.00
 070            638 LINDERO CANYON ROAD,               Expunged per Order dated 04/06/2011 (Dkt #4026)
 7100-00        #508
                (fks Marian C. Aden Trust)
                OAK PARK, CA 91377

 002004         BAUMLER, CRAIG                        Unsecured          Filed 01/03/08                        $0.00               $0.00                  $0.00
 070            14766 LUCINDA DR
 7100-00        WHITTIER, CA 90604

 002006         SCHULZ, DIANNE                        Unsecured          Filed 01/03/08                        $0.00               $0.00                  $0.00
 070            1015 COPENHAVER ROAD                   Disallowed per order 11-6-09
 7100-00        FORT PIERCE, FL 34945

 002007         HALEY, LAQUETTE                       Unsecured          Filed 01/03/08                        $0.00               $0.00                  $0.00
 070            P.O. BOX 1762
 7100-00        HAWAIIAN GATEWAY, CA 90716

 002008         AREVALO, ALICE                        Unsecured          Filed 01/03/08                        $0.00               $0.00                  $0.00
 070            335 W CYPRESS STREET
 7100-00        APT D
                GLENDALE, CA 90065

 002009         GALINDO, ROBIN L.                     Unsecured          Filed 01/03/08                        $0.00               $0.00                  $0.00
 070            11 MARY STREET                         Disallowed per order 3-4-09
 7100-00        PORT JERVIS, NY 12771

 002010         CHRISTINA ARANA ASSOCIATES Unsecured                     Filed 01/04/08                        $0.00           $2,793.00             $2,793.00
 070            INC
 7100-00        ALL LANGUAGE INTERPRETING
                SERVICE
                11420 VENTURA BLVD
                STUDIO CITY, CA 91604




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 002012         HESTER, JAY                           Unsecured          Filed 01/04/08                          $0.00               $0.00                  $0.00
 070            16608 SHARRIS STREET                   Disallowed per order 11-6-09
 7100-00        COMPTON, CA 90222

 002013         MCCORNEY, MICHAEL                     Unsecured          Filed 01/04/08                          $0.00               $0.00                  $0.00
 070            9320 1/2 EAST RAMONA                   Disallowed per ordr 3-4-09
 7100-00        BELLFLOWER, CA 90706

 002014         KAGAN JUGAN ASSOCIATES PA             Unsecured          Filed 01/04/08                          $0.00             $459.75               $459.75
 070            2745 SWAMP CABBAGE COURT
 7100-00        STE 30
                FORT MYERS, FL 33901

 002015         MOTLEY, TOMAS                         Unsecured          Filed 01/04/08                          $0.00               $0.00                  $0.00
 070            317 EAST JERSEY STREET                 Disallowed per order 11-6-09
 7100-00        ELIZABETH, NJ 07206

 002016         ROSENBLATT, BETTY                     Unsecured          Filed 01/04/08                          $0.00               $0.00                  $0.00
 070            82 HERMAN DRIVE                        Disallowed per order 10-27-08
 7100-00        SPOTSWOOD, NJ 08884

 002017         MILLER JR., ROBERT                    Unsecured          Filed 01/04/08                          $0.00               $0.00                  $0.00
 070            4890 STRATO PLACE
 7100-00        JACKSONVILLE, FL 32210

 002018         SPERRY, COLLEEN                       Unsecured          Filed 01/04/08                          $0.00               $0.00                  $0.00
 070            4966 ALBART DRIVE                      Disallowed per order 3-4-09
 7100-00        SYRACUSE, NY 13215

 002022         PEARSON, ROBERT                       Unsecured         Filed 01/07/08                           $0.00           $5,000.00                  $0.00
 070            139 SMITH STREET                       Disallowed Per Order Dated 11/12/08 (Dkt # 2352)
 7100-00        ELIZABETH, NJ 07206

 002025         ANDES, DONALD E.                      Unsecured        Filed 01/08/08                            $0.00           $2,428.66                  $0.00
 070            593 VALLEY RD                          Expunged per Order dated 04/19/2011 (Dkt #4073)
 7100-00        DANVILLE, PA 17821

 002026         DBA PAUL F PUGSLEY DC                 Unsecured          Filed 01/08/08                          $0.00           $6,308.60             $6,308.60
 070            10024 DOLORES ST #1
 7100-00        SPRING VALLEY, CA 91977

 002027-A       GALANTE, MERRLLYN                     Unsecured         Filed 01/08/08                           $0.00           $3,162.31                  $0.00
 070            3999 OLD TOWN AVE APT D1               Disallowed per Order Dated 9/18/08 (Docket #1778)
 7100-00        SAN DIEGO, CA 92110

 002028-B       MERRILYN H GALANTE                    Unsecured         Filed 01/08/08                           $0.00           $3,162.31                  $0.00
 070            3999 OLD TOWN AVE D#1                  Disallowed per Order Dated 9/18/08 (Docket #1778)
 7100-00        SAN DIEGO, CA 92110

 002029-A       ALFONSO ORTIZ                         Unsecured           Filed 01/08/08                         $0.00             $813.67                  $0.00
 070            2203 E. EL SEGUNDO BLVD. #1            Reclassified and allowe per order 8-13-08
 7100-00        COMPTON, CA 90222




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 002030-A       MAZZARELLA, LINDA                     Unsecured         Filed 01/08/08                             $0.00             $772.30                  $0.00
 070            649 BOW LINE DRIVE                     Disallowed per Order dated 1/12/10 (Docket No. 3722)
 7100-00        NAPLES, FL 34103

 002032         BARNES, ERIC                          Unsecured          Filed 01/08/08                            $0.00               $0.00                  $0.00
 070            3333 N GRATZ ST
 7100-00        PHILADELPHIA, PA 19140

 002033         KIRKHAM, KEVIN                        Unsecured          Filed 01/08/08                            $0.00               $0.00                  $0.00
 070            2551 N. HANOVER
 7100-00        FRESNO, CA 93723

 002034         BROADWAY, PAULA                       Unsecured          Filed 01/09/08                            $0.00               $0.00                  $0.00
 070            110 BEST ST                            Disallowed per order 11-9-09
 7100-00        BELLS, TN 38006

 002035-B       TORRES-MARTINEZ, LUIS                 Unsecured         Filed 01/09/08                             $0.00             $267.82                  $0.00
 070            25 GARDEN COURT APT 4                  Allowed Per Order Dated 10/27/08 (Dkt #2207)
 7100-00        LANCASTER, PA 17602

 002036         FIX, ERIC V.                          Unsecured          Filed 01/09/08                            $0.00               $0.00                  $0.00
 070            2354 CHESTNUT AVENUE                   Disallowed per order 3-4-09
 7100-00        BUENA VISA, VA 24416

 002037         THE NEWS AND OBSERVER                 Unsecured          Filed 01/09/08                            $0.00              $53.80                $53.80
 070            PO BOX 2222
 7100-00        RALEIGH, NC 27602

 002038         EL CLASIFICADO                        Unsecured          Filed 01/09/08                            $0.00           $1,120.00             $1,120.00
 070            1125 GOODRICH BLVD
 7100-00        LOS ANGELES, CA 90022

 002039         ANDRADE, RICHARD                      Unsecured          Filed 01/09/08                            $0.00               $0.00                  $0.00
 070            1641 NW 82 AVE
 7100-00        PLANTATION, FL 33322

 002040-A       FOWLER, RONALD S.                     Unsecured          Filed 01/09/08                            $0.00           $1,520.59             $6,445.59
 070            7808 TWIN LAKES ROAD                   Reclassified Per Order Dated 8/26/08 (Dkt # 1655)
 7100-00        KEYSTONE, FL 32656

 002041         SANTOS, YOLANDA I.                    Unsecured          Filed 01/09/08                            $0.00               $0.00                  $0.00
 070            21 ESTHER ST
 7100-00        NEWARK, NJ 07105

 002042         HUERTA, J. LUIE                       Unsecured          Filed 01/09/08                            $0.00               $0.00                  $0.00
 070            JUAN LUIS HERTA AKA LOUIE J.
 7100-00        HUERTA ETC.
                4910 WIMMER AVE.
                BALDWIN PARK, CA 91706

 002044-B       AAL CONSTRUCTION CO., INC.            Unsecured          Filed 01/09/08                            $0.00               $0.00             $2,224.74
 070            13252 SERENITY TRAILS                  Reclassified per Order dated 04/19/2011 (Dkt #4074)
 7100-00        CHINO, CA 91710




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 002045         BROWN, MICHAEL G                      Unsecured          Filed 01/09/08                          $0.00               $0.00                  $0.00
 070            17424 MANOR LANE
 7100-00        FOUNTAIN, FL 32438

 002046         WERNER ARTHUR R.                      Unsecured          Filed 01/09/08                          $0.00               $0.00                  $0.00
 070            675 INDIAN ROCKS RD. NORTH             Disallowed per order 3-4-09
 7100-00        APT. 210D
                BELLEAIR BLUFFS, FL 33770

 002047         JOSEPH RAY HALL                       Unsecured          Filed 01/09/08                          $0.00          $20,000.00            $20,000.00
 070            3127 ATLANTIC BLVD
 7100-00        JACKSONVILLE, FL 32207

 002048         MENDEZ JAMES                          Unsecured          Filed 01/09/08                          $0.00               $0.00                  $0.00
 070            52 ELM HILL RD
 7100-00        CLIFTON, NJ 07013

 002050         GETTAN, RUTH                          Unsecured          Filed 01/09/08                          $0.00               $0.00                  $0.00
 070            7866 DWYER DRIVE                       Disallowed per order 9-16-08
 7100-00        JACKSONVILLE, FL 32244

 002051         WONG, YUK LAN T                       Unsecured         Filed 01/09/08                           $0.00           $4,000.00                  $0.00
 070            433 IRVINGTON STREET                   Disallowed Per Order dated 6/2/09 (Docket # 3326)
 7100-00        DALY CITY, CA 94014

 002052-A       DEPT. OF REVENUE                      Unsecured         Filed 01/09/08                           $0.00             $422.98               $422.98
 070            PO BOX 8946                            Allowed per Order dated 05/03/2011 (Dkt #4110)
 7100-00        MILWAUKEE, WI 53293

 002053-B       DEPT. OF REVENUE                      Unsecured         Filed 01/09/08                           $0.00           $1,490.64             $1,490.64
 070            PO BOX 93208                           Allowed per Order dated 05/03/2011 (Dkt #4110)
 7100-00        MILWAUKEE, WI 53293

 002054-A       DEPT. OF REVENUE                      Unsecured         Filed 01/09/08                           $0.00             $550.61               $550.61
 070            PO BOX 8901                            Reduced and allowed per Order dated 05/03/2011 (Dkt #4110)
 7100-00        MILWAUKEE, WI 53708

 002055-B       KIEREN L BRIGHT                       Unsecured         Filed 01/09/08                           $0.00           $1,082.60                  $0.00
 070            33 VALERIE AVE                         Disallowed Per Order Dated 10/27/08 ( Docket #2198)
 7100-00        EPHARATA, PA 17522

 002056-A       BRIGHT, KIEREN                        Unsecured         Filed 01/09/08                           $0.00           $1,082.60                  $0.00
 070            33 VALERIE AVE                         Disallowed Per Order Dated 10/27/08 (Docket#2198)
 7100-00        EPHRATA, PA 17522

 002057         VILLAMAR, RAUL                        Unsecured          Filed 01/10/08                          $0.00               $0.00                  $0.00
 070            P O BOX 56803
 7100-00        RIVERSIDE, CA 92517

 002058         MINUTEMAN PRESS                       Unsecured          Filed 01/10/08                          $0.00             $295.88               $295.88
 070            1577 RIDGE ROAD WEST
 7100-00        ROCHESTER, NY 14615




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 002059         DELEO, ROBERT                         Unsecured          Filed 01/10/08                           $0.00               $0.00                  $0.00
 070            2274 ROUTES 5 AND 20                   Disallowed per order 11-9-09
 7100-00        STANLEY, NY 14561

 002061         BOND, KENNETH                         Unsecured          Filed 01/14/08                           $0.00             $400.00               $400.00
 070            20 HONEY BEAR DRIVE
 7100-00        JACKSON, TN 38305

 002062         ROJAS, FLAVIO                         Unsecured          Filed 01/14/08                           $0.00               $0.00                  $0.00
 070            1713 SHELLY DR.
 7100-00        SANTA ROSA, CA 95401

 002063         GALINDO, IZANAMI                      Unsecured          Filed 01/14/08                           $0.00               $0.00                  $0.00
 070            11 MARY STREET                         Disallowed per order 3-4-09
 7100-00        PORT JERVIS, NY 12771

 002065         PIONEER PEST SVCS                     Unsecured          Filed 01/14/08                           $0.00          $57,481.40            $57,481.40
 070            C/O RICHARD HALL JR
 7100-00        2270 TROPICAL TERRACE
                DELAND, FL 32724

 002066-A       ANDREA WEBB                           Unsecured         Filed 01/14/08                            $0.00          $27,000.00                  $0.00
 070            828 WINDSOR PERRINEVILLE               Disallowed per Order Dated 10/21/08 (Docket #2115)
 7100-00        E WINDSOR, NJ 08520

 002067         JOSEPH TOLER                          Unsecured          Filed 01/14/08                           $0.00               $0.00                  $0.00
 070            C/O SANDRA L MCAULEY ESQ               Disallowed per order 10-27-08
 7100-00        FINDLER & FINDLER PA
                3 HARVARD CIRCLE STE 100
                WEST PALM BEACH, FL 33409

 002068         JOSEPH TOLER                          Unsecured          Filed 01/14/08                           $0.00               $0.00                  $0.00
 070            C/O SANDRA L MCAULEY ESQ               Disallowed per order 10-27-08
 7100-00        FINDLER & FINDLER PA
                3 HARVARD CIRCLE STE 100
                WEST PALM BEACH, FL 33409

 002069         SYLVIA VEGA                           Unsecured         Filed 01/14/08                            $0.00           $2,400.00                  $0.00
 070            PO BOX 360559                          Disallowed Per Order Dated 11/12/08 (Dkt # 2289)
 7100-00        SAN JUAN, PR 00936

 002070-B       DEPT. OF                              Unsecured         Filed 01/14/08                            $0.00               $0.00                $50.00
 070            LABOR-UNEMPLOYMENT                     Allowed per Order dated 06/29/2011 (Dkt #4168)
 7100-00        NE WORKFORCE
                DEVELOPMENT-LABOR
                OFFICE OF LEGAL COUNSEL
                PO BOX 94600
                LINCOLN, NE 68509

 002071         CASTRO, JOSE D                        Unsecured          Filed 01/14/08                           $0.00               $0.00                  $0.00
 070            1200 CENTRAL AVE
 7100-00        PLAINFIELD, NJ 07060




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 002072         GARCIA, TELMO                         Unsecured          Filed 01/14/08                            $0.00         $570,000.00            $570,000.00
 070            12107 EMBER LAKE
 7100-00        HOUSTON, TX 77066

 002073         GARCIA, TELMO                         Unsecured          Filed 01/14/08                            $0.00         $570,000.00            $570,000.00
 070            12107 EMBER LAKE RD
 7100-00        HOUSTON, TX 77066

 002075         AYALA JOSE                            Unsecured          Filed 01/15/08                            $0.00               $0.00                  $0.00
 070            2256 PARKSIDE AVE #201                 Disallowed per order 3-14-11
 7100-00        LOS ANGELES, CA 90031

 002076         INFO QUEST INC                        Unsecured          Filed 01/15/08                            $0.00          $19,124.00             $19,124.00
 070            PO BOX 15521
 7100-00        SURFSIDE BEACH, SC 29587

 002077         DOTSON, KIM                           Unsecured          Filed 01/15/08                            $0.00               $0.00                  $0.00
 070            2020 RIVERSIDE
 7100-00        MEMPHIS, TN 38109

 002078         WATSON, JERRY                         Unsecured          Filed 01/15/08                            $0.00          $10,000.00             $10,000.00
 070            401 S CHILLINGWORTH DR
 7100-00        WEST PALM BEACH, FL 33409

 002080-B       PACIFIC SOUTH MEDICAL GROUP Unsecured          Filed 01/15/08                                      $0.00               $0.00              $6,282.77
 070            5211 E WASHINGTON BLVD       Reclassified per Order dated 03/08/2011 (Dkt #3885)
 7100-00        LOS ANGELES, CA 90040

 002081         HERIBERTO AVILA                       Unsecured          Filed 01/15/08                            $0.00          $24,633.66             $24,633.66
 070            C/O DON HARVEY ESQ
 7100-00        253 N. ORLANDO AVE.
                STE. 204
                MAITLAND, FL 32751

 002082         DON HARVEY ESQ                        Unsecured          Filed 01/15/08                            $0.00          $28,027.64             $28,027.64
 070            253 N. ORLANDO AVE.
 7100-00        STE 204
                MAITLAND, FL 32751

 002083-A       ROSALES, RAUL                         Unsecured         Filed 01/15/08                             $0.00             $750.00                  $0.00
 070            8382 DURRA LANE                        Disallowed Per Order Dated 9/16/08 (Dkt # 1800)
 7100-00        FONTANA, CA 92335

 002084         HAYMORE, IRA                          Unsecured          Filed 01/15/08                            $0.00           $4,925.00              $4,925.00
 070            934 N. PULASKI                         Reclassified Per Order Dated 4/22/09 (Docket #3178)
 7100-00        CHICAGO, IL 60651

 002085         WOLFER, GREGORY                       Unsecured          Filed 01/15/08                            $0.00               $0.00                  $0.00
 070            7353 HICKMAN STREET                    Disallowed per order 10-27-08
 7100-00        CINCINNATI, OH 45231

 002086         JONES, SHANQUWIL                      Unsecured          Filed 01/15/08                            $0.00               $0.00                  $0.00
 070            19 ELMWOOD DR.                         Disallowed per order 8-18-08
 7100-00        KANKAKEE, IL 60901




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  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 002087         VARNELL, POLEY                        Unsecured          Filed 01/15/08                            $0.00               $0.00                  $0.00
 070            RT. 2 BOX 2203
 7100-00        WHEATLAND, MO 65779

 002088-A       AMISON, LADELLE                       Unsecured          Filed 01/16/08                            $0.00           $2,558.00             $2,558.00
 070            1136 BEAVER AVE.                       Reclassified Per Order Dated 8/18/08 (Docket #1575)
 7100-00        BIRMINGHAM, AL 35214

 002089         SALLEY, ANGELA                        Unsecured          Filed 01/16/08                            $0.00               $0.00                  $0.00
 070            2609 MURA ST
 7100-00        BALTIMORE, MD 21213

 002090         DIALLO, MAMADOU                       Unsecured          Filed 01/16/08                            $0.00           $1,500.00             $1,500.00
 070            16692 PO BOX
 7100-00        MEMPHIS, TN 38186

 002091         SAM, RIJU                             Unsecured          Filed 01/10/08                            $0.00               $0.00                  $0.00
 070            248-23 89TH AVE                        Disallowed per order 12-2-08
 7100-00        BELLEROSE, NY 11426

 002093         EUSEBIO VILLETA                       Unsecured          Filed 01/10/08                            $0.00               $0.00                  $0.00
 070            735 E HILTON ST
 7100-00        PHILADELPHIA, PA 19134

 002094         ADVANCED VISION INSTITURE PA Unsecured                   Filed 01/15/08                            $0.00             $702.00               $702.00
 070            2100 WEST STATE ROAD
 7100-00        LONGWOOD, FL 32779

 002096-B       FROST, LAWRENCE L.                    Unsecured          Filed 01/14/08                           $0.00                $0.00               $275.00
 070            7844 W. FALLBROOK #84                  Reclassified and Allowed Per Order Dated 8/25/08 ( Docket #1628)
 7100-00        FALLBROOK, CA 92028

 002097-B       WYOMING UNEMPLOYMENT TAX Unsecured         Filed 01/07/08                            $0.00                             $0.00                $20.00
 070            DIVISION                  Reduced and Reclassified per Order dated 03/28/2011 (Dkt #3995)
 7100-00        WY UNEMPLOYMENT TAX DIV
                PO BOX 2760
                CASPER, WY 82602

 002099         LA VOZ LATINA MENSUAL                 Unsecured          Filed 01/02/08                            $0.00             $330.00               $330.00
 070            PO BOX 219
 7100-00        SCRANTON, PA 18504

 002100         R B MEDICAL MANAGEMENT                Unsecured          Filed 01/07/08                            $0.00           $4,769.50             $4,769.50
 070            100 EAST LEHIGH AVENUE
 7100-00        PHILADELPHIA, PA 19125

 002101-A       HENNING, LINDA                        Unsecured          Filed 01/02/08                            $0.00           $6,100.00             $6,100.00
 070            3326 WALL ROAD                         Reclassified Per Order Dated 8/18/08 (Docket# 1564)
 7100-00        GREEN COVE SPRINGS, FL 32043

 002106         ROBINSON, MICHAEL                     Unsecured          Filed 01/14/08                            $0.00               $0.00                  $0.00
 070            6073 PEORIA DRIVE
 7100-00        CITRUS HEIGHTS, CA 95621




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 002107-B       AMBROSE, BRUCE                        Unsecured         Filed 01/17/08                           $0.00          $50,000.00                  $0.00
 070            720 N. 66TH ST.                        Disallowed per Order Dated 12/2/08 (Docket #2589)
 7100-00        PHILADELPHIA, PA 19151

 002108-A       TOOR, HARDI                           Unsecured         Filed 01/17/08                           $0.00           $1,000.00                  $0.00
 070            4182 51ST ST.                          Disallowed Per Order Dated 4/24/09 (Docket #3241)
 7100-00        SAN DIEGO, CA 92105

 002109         BONE, STEPHEN A.                      Unsecured          Filed 01/10/08                          $0.00               $0.00                  $0.00
 070            1729 SW 45TH STRET                     Disallowed per order 4-19-11
 7100-00        CAPE CORAL, FL 33914

 002110         DANIELS, RAMONA                       Unsecured          Filed 01/07/08                          $0.00               $0.00                  $0.00
 070            9907 WHITE AVE                         Disallowed per order 3-4-09
 7100-00        NORTHRIDGE, CA 91325

 002111-B       SIMON, DIANE                          Unsecured         Filed 01/07/08                           $0.00           $1,549.60                  $0.00
 070            5820 SUNGLO AVE                        Disallowed per Order Dated 9/16/08 (Docket #1784)
 7100-00        PORT RICHEY, FL 34653

 002112         HERNANDEZ, HEIDY                      Unsecured          Filed 01/07/08                          $0.00               $0.00                  $0.00
 070            634 WEST 113TH STREE
 7100-00        LOS ANGELES, CA 90044

 002113         AREVALO ALICE                         Unsecured          Filed 01/02/08                          $0.00               $0.00                  $0.00
 070            335 W CYPRESS ST APT D
 7100-00        GLENDALE, CA 91204

 002114         CASWELL JR. HARRY                     Unsecured          Filed 01/02/08                          $0.00               $0.00                  $0.00
 070            621 R ALDER STREET                     Disallowed per order 4-22-09
 7100-00        SCRANTON, PA 18505

 002115         WARD, MICHELLE                        Unsecured          Filed 01/14/08                          $0.00               $0.00                  $0.00
 070            128 PARK AVE.                          Disallowed per order 10-21-08
 7100-00        PATERSON, NJ 07501

 002116         RAMIREZ, HENRY                        Unsecured          Filed 01/02/08                          $0.00               $0.00                  $0.00
 070            14832 DARTMOOR AVENUE
 7100-00        NORWALK, CA 90650

 002117         GUILEN MONTANO MARIA D                Unsecured          Filed 01/11/08                          $0.00               $0.00                  $0.00
 070            10729 CONDON AVE APT #209              Disallowed per order 10-27-09
 7100-00        INGLEWOOD, CA 90304

 002119         NAYLOR, JUDY A.                       Unsecured          Filed 01/07/08                          $0.00               $0.00                  $0.00
 070            301 CASCADE MANOR
 7100-00        SCRANTON, PA 18505

 002126         REYES, GERARDO                        Unsecured          Filed 01/18/08                          $0.00               $0.00                  $0.00
 070            1531 MEYLERT STREET                    Disallowed per order 11-6-09
 7100-00        SCRANTON, PA 18509

 002127-B       CAROLYN HIGGERSON                     Unsecured         Filed 01/18/08                           $0.00           $2,800.00                  $0.00
 070            2223 DEL MAR SCENIC PKWY               Disallowed per Order Dated 11/3/08 (Docket #2299)
 7100-00        DEL MAR, CA 92014




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 002128         MENDEZ, LYDIA                         Unsecured          Filed 01/18/08                          $0.00               $0.00                  $0.00
 070            5807 EAST PINE DR.
 7100-00        RIVERDALE, MD 22073

 002129-A       THOM, SHANA                           Unsecured           Filed 01/22/08                         $0.00          $10,671.61                  $0.00
 070            11715 GOSHEN AVE                       (45-1) Claim sent to claims agent
 7100-00        LOS ANGELES, CA 90049                  Disallowed Per Order Dated 11/25/08 (Dkt # 2524 )


 002130         WATKINS, ROBERT E.                    Unsecured         Filed 01/22/08                           $0.00             $500.00               $500.00
 070            598 MARY STREET                        Allowed Per Order Dated 4/22/09 (Docket #3182)
 7100-00        SCRANTON, PA 18508

 002131         TUTTLE, AMY L.                        Unsecured          Filed 01/22/08                          $0.00               $0.00                  $0.00
 070            1290 RIDGEWAY                          Disallowed per order 11-25-08 (ca)
 7100-00        CANTONMENT, FL 32533

 002132         JORDAN, FREDERICK                     Unsecured          Filed 01/22/08                          $0.00               $0.00                  $0.00
 070            2416 S. MAIN ST.                       Disallowed per order 3-4-09
 7100-00        SANTA ANA, CA 92702

 002133         MARTIN, JAMES L.                      Unsecured          Filed 01/22/08                          $0.00               $0.00                  $0.00
 070            5425 BARCELONA ST                      Disallowed per order 3-4-09
 7100-00        PACE, FL 32571

 002135         GOOD SAMARITAN MEDICAL                Unsecured          Filed 01/22/08                          $0.00           $2,389.60             $2,389.60
 070            CENTER
 7100-00        RAINA WALPOLE
                TENET HEALTH CARE
                13737 NOEL ROAD
                DALLAS, TX 75240

 002137         CONNER, BOB                           Unsecured          Filed 01/22/08                          $0.00               $0.00                  $0.00
 070            P.O.BOX 246601
 7100-00        SACRAMENTO, CA 95824

 002139         SCHNEIDER, MICHAEL N.                 Unsecured          Filed 01/23/08                          $0.00               $0.00                  $0.00
 070            PO BOX 280044                          Disallowed per order 3-4-09
 7100-00        TAMPA, FL 33682

 002140         ROBERTS, BRUCE W.                     Unsecured          Filed 01/23/08                          $0.00               $0.00                  $0.00
 070            30700 WEKIVA RIVER RD #426             Disallowed per order 4-22-09
 7100-00        SORRENTO, FL 32776

 002141         GILBERTO MADERO             Unsecured                    Filed 01/23/08                          $0.00               $0.00                  $0.00
 070            LAW OFFICE OF WILLIAM WOLFF
 7100-00        1818 NILES ST
                BAKERSFIELD, CA 93305

 002142         BREWSTER, GRACE                       Unsecured          Filed 01/23/08                          $0.00               $0.00                  $0.00
 070            68 BRADLEY ST                          Disallowed per order 3-4-09
 7100-00        BRENTWOOD, NY 11717




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 002143         LEAHY PROSTHETICS AND                 Unsecured          Filed 01/23/08                            $0.00             $266.00               $266.00
 070            ORTHOTICSINC
 7100-00        630 FREDERICK ST
                SANTA CRUZ, CA 95062

 002144         JAIME PEREZ MD                        Unsecured          Filed 01/24/08                            $0.00           $7,245.00             $7,245.00
 070            800 W MARTIN LUTHER KING
 7100-00        TAMPA, FL 33603

 002145         MATHIS, BRIAN                         Unsecured          Filed 01/25/08                            $0.00               $0.00                  $0.00
 070            412 EAST 1 ST AVE                      Disallowed per order 3-4-09
 7100-00        ROSELLE, NJ 07206

 002147         Jersey Central Power & Light          Unsecured          Filed 01/23/08                            $0.00             $786.89               $786.89
 070            331 Newman Springs Rd                  (218-1) Claim sent to claims agent
 7100-00        Building 3
                Red Bank, NJ 07701

 002148-B       Kentucky Department of Revenue        Unsecured          Filed 01/23/08                            $0.00              $82.06               $350.55
 070            Legal Branch-Bankruptcy Section        (217-1) Claim sent to claims agent
 7100-00        Attn: Leanne Warren                    Reclassified per Order dated 04/12/2011 (Dkt #4047)
                PO Box 5222
                Frankfort,KY 40602

 002149         SEAN LILLY ROOFING                    Unsecured        Filed 01/28/08                              $0.00           $3,798.00                  $0.00
 070            890 SW 69TH AVENUE                     Expunged per Order dated 03/08/2011 (Dkt #3901)
 7100-00        MIAMI, FL 33144

 002150         GENERAL ELECTRIC CAPITAL              Unsecured          Filed 01/28/08                            $0.00          $81,443.72            $81,443.72
 070            CORPORATION
 7100-00        ATTN TONY SHEBEK
                1010 THOMAS EDISON BLVD SW
                CEDAR RAPIDS, IA 52404

 002151         GENERAL ELECTRIC CAPITAL              Unsecured          Filed 01/28/08                            $0.00          $29,024.94            $29,024.94
 070            CORPORATION
 7100-00        ATTN TONY SHEBEK
                1010 THOMAS EDISON BLVD SW
                CEDAR RAPIDS, IA 52404

 002152-A       FERRARO, JACQUELINE                   Unsecured         Filed 01/28/08                             $0.00           $4,925.00                  $0.00
 070            3 SANCHA COURT                         Disallowed Per Order Dated 9/23/08 (Docket #1881) (ca)
 7100-00        FLANDERS, NJ 07836

 002153         KRSNA CORPORATION                     Unsecured        Filed 01/29/08                              $0.00          $21,806.00                  $0.00
 070            5406 TIMUQUAN ROAD                     Expunged per Order dated 04/19/2011 (Dkt #4064)
 7100-00        JACKSONVILLE, FL 32210

 002154         KRSNA CORPORATION                     Unsecured          Filed 01/29/08                            $0.00          $21,806.00            $21,806.00
 070            5406 TIMUQUANA ROAD                    Reclassified per Order dated 4/19/2011 (Dkt #4064)
 7100-00        JACKSONVILLE, FL 32210

 002156         RAMOS, ARTURO                         Unsecured          Filed 01/29/08                            $0.00               $0.00                  $0.00
 070            31162 RAWHIDE CT
 7100-00        MENIFEE, CA 92584




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 002157         MCKISSICK, YVONNE                     Unsecured          Filed 01/29/08                          $0.00               $0.00                  $0.00
 070            622 DIAMOND COURT                      Disallowed per order 3-9-09
 7100-00        APARTMENT #3
                UPLAND, CA 91786

 002158         ABDOU, NASER                          Unsecured          Filed 01/29/08                          $0.00               $0.00                  $0.00
 070            707 WICKLOW PLACE                      Disallowed per order 3-4-09
 7100-00        DAYTON, OH 45406

 002159         MARC IRWIN SHARFMAN MD PA Unsecured                      Filed 01/29/08                          $0.00           $2,770.00             $2,770.00
 070            DBA
 7100-00        HEADACHE AND NEUROLOGICAL
                TREATMENT INST
                1936 LEE RD
                STE 137
                WINTER PARK, FL 32789

 002161         ELSA P CORONADO PLACENCIA Unsecured            Filed 01/23/08                                    $0.00             $327.76                  $0.00
 070            4114 CAMINO DE LA PLZ APT 25F Disallowed per Order Dated 9/16/08 (Docket #1779)
 7100-00        SAN YSIDRO, CA 92173

 002162         MARTINEZ, RAUL                        Unsecured          Filed 01/30/08                          $0.00               $0.00                  $0.00
 070            1118 W 56 ST                           Disallowed per order 3-4-09
 7100-00        LOS ANGELES, CA 90037

 002163         SANJUAN, BEATRIZ                      Unsecured          Filed 01/31/08                          $0.00             $200.00               $200.00
 070            211 20TH AVE.
 7100-00        APT. 1301
                PATERSON, NJ 07501

 002164-A       JORGE HERNANDEZ                       Unsecured         Filed 01/31/08                           $0.00           $4,000.00                  $0.00
 070            26 BERGEN STREET                       Disallowed Per Order Dated 8/26/08 (Docket #1651)
 7100-00        GARFIELD, NJ 07026

 002165-B       JORGE HERNANDEZ JR                    Unsecured         Filed 01/31/08                           $0.00           $4,000.00                  $0.00
 070            26 BERGEN ST                           Disallowed Per Order Dated 8/26/08 (Docket #1651)
 7100-00        GARFIELD, NJ 07026

 002166-A       ELIAS, WILLIAM                        Unsecured          Filed 02/01/08                          $0.00             $800.00               $800.00
 070            425 HIGH ST 4                          Reclassified Per Order Dated 9/9/08 (Dkt # 1718)
 7100-00        CHESTERTOWN, MD 21620

 002167         PATTI K ELLISON, EXEC.                Unsecured          Filed 02/01/08                          $0.00               $0.00                  $0.00
 070            ESTATE OF HAROLD ELLISON               Disallowed per order 3-10-09
 7100-00        201 REBECCA LANE
                NEWTON, AL 36352

 002168         IVONNE MEJIA                          Unsecured          Filed 02/01/08                          $0.00               $0.00                  $0.00
 070            23 CHESTER STREET
 7100-00        LANDCASTER, PA 17602

 002169         LOPEZ, JAVIER                         Unsecured          Filed 02/04/08                          $0.00               $0.00                  $0.00
 070            120A ROCKWOOD AVE
 7100-00        PMB 45067
                CALEXICO, CA 92231




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled               Claimed             Allowed
 002170-A       ALEXANDER, GABRIEL                    Unsecured           Filed 02/04/08                         $0.00             $500.00                  $0.00
 070            3557 SHANNON DRIVE                     Reclassified and allowed per order 8-18-08 (ca)
 7100-00        BALTIMORE, MD 21213

 002171         ELMORE, DONNIE                        Unsecured           Filed 02/04/08                         $0.00               $0.00                  $0.00
 070            3630 VOLTMIRE
 7100-00        MEMPHIS, TN 38128

 002173         UGI PENN NATURAL GAS                  Unsecured           Filed 02/04/08                         $0.00             $207.38               $207.38
 070            ONE UGI CENTER
 7100-00        WILKES BARRE, PA 18711

 002174         MELIM, SCOTT                          Unsecured          Filed 02/04/08                          $0.00               $0.00                  $0.00
 070            3381 BHARMONT DR                       Disallowed per order 3-4-09
 7100-00        JACKSONVILLE, FL 32209

 002175         CAMPBELL, TASHEY A                    Unsecured          Filed 02/04/08                          $0.00               $0.00                  $0.00
 070            40 DELAMERE ST.                        Disallowed per order 12-7-09 (ca)
 7100-00        HUNTINGTON, NY 17743

 002176         ANDINO, ALEJANDRO                     Unsecured         Filed 02/04/08                           $0.00           $2,400.00                  $0.00
 070            323 GUATIER BENITEZ ST                 Disallowed per Order dated 1/12/10 (Docket No. 3718)
 7100-00        SAN JUAN, PR 00915

 002177         HERNANDEZ, ANA L                      Unsecured         Filed 02/05/08                           $0.00           $3,500.00                  $0.00
 070            414 EAST IMPERIAL HWY                  Disallowed per Order Dated 8/20/08 (Docket #1587)
 7100-00        APARTMENT #3
                LOS ANGELES, CA 90061

 002178         WATSON, NONIE DENISE                  Unsecured          Filed 02/05/08                          $0.00               $0.00                  $0.00
 070            12660 IVANHOE ROAD                     Disallowed per order 10-7-08
 7100-00        LUCERNE VALLEY, CA 92356

 002179         CRISTIAN F HERNANDEZ                  Unsecured         Filed 02/05/08                           $0.00           $4,925.00                  $0.00
 070            414 EAST IMPERIAL HWY                  Disallowed per Order Dated 9/23/08 (Docket #1897)
 7100-00        APARTMENT #3
                LOS ANGELES, CA 90061

 002181         HENANDEZ, ANA L                       Unsecured         Filed 02/05/08                           $0.00           $3,500.00                  $0.00
 070            414 EAST IMPERIAL HWY                  Disallowed per Order Dated 8/20/08 (Docket #1587)
 7100-00        APARTMENT #3
                LOS ANGELES, CA 90061

 002182         EAST COUNTY URGENT CARE               Unsecured           Filed 02/05/08                         $0.00             $279.91               $279.91
 070            1625 E MAIN ST
 7100-00        EL CAJON, CA 92021

 002183         GILL, KEVIN J.                        Unsecured          Filed 02/05/08                          $0.00               $0.00                  $0.00
 070            1612 PROSPECT AVE                      Disallowed per order 11-6-09
 7100-00        SCRANTON, PA 18505

 002184-A       WILLIAM WU CHIROPRACTIC               Unsecured         Filed 02/05/08                           $0.00         $500,000.00                  $0.00
 070            1666 GARNET AVENUE                     Disallowed per Order dated 1/12/10 (Docket No. 3721)
 7100-00        PMB 220
                SAN DIEGO, CA 92109




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 002185         HOLT TACIANA                          Unsecured          Filed 02/05/08                           $0.00               $0.00                  $0.00
 070            2510 AUSTIN SMITH COURT                Disallowed per order 8-18-08
 7100-00        N FORT MEYERS, FL 33917

 002186-B       SANFORD, DAVID C                      Unsecured         Filed 02/05/08                            $0.00          $79,953.60                  $0.00
 070            6807 MARISOL DR                        Disallowed per Order Dated 9/23/08 (Docket #1896)
 7100-00        HOUSTON, TX 77083

 002187         WILLIAM, BARBARA                      Unsecured          Filed 02/06/08                           $0.00          $12,000.00             $12,000.00
 070            607 14TH ST #A
 7100-00        WEST PALM BEACH, FL 33401

 002189         VASQUEZ, ANGEL                        Unsecured          Filed 02/08/08                           $0.00               $0.00                  $0.00
 070            323 NORTH MORGAN CIRCLE
 7100-00        LEHIGH ACRES, FL 33936

 002190         SANGHAVI, KRISHANG                    Unsecured         Filed 02/08/08                            $0.00             $779.69                  $0.00
 070            76 JEFFERSON STREET                    Disallowed Per Order Dated 9/16/08 (Docket #1794)
 7100-00        METUCHEN, NJ 08840

 002191         MACIAS, REMIGIO                       Unsecured          Filed 02/08/08                           $0.00         $117,751.25            $117,751.25
 070            517 AMADOR AVE
 7100-00        MODESTO, CA 95358

 002192         MCFARLAND, CLIFTON                    Unsecured          Filed 02/11/08                           $0.00               $0.00                  $0.00
 070            2115 102ND AVENUE
 7100-00        OAKLAND, CA 94541

 002193         SHAPPELL, ROBIN                       Unsecured          Filed 02/11/08                           $0.00               $0.00                  $0.00
 070            452 1/2 21ST STREET
 7100-00        PATERSON, NJ 07513

 002194         CROCKER, MARIO                        Unsecured          Filed 02/12/08                           $0.00               $0.00                  $0.00
 070            13583 CINFIELD AVE.                    Disallowed per order 3-4-09
 7100-00        SYLMAR, CA 91342

 002195         DRS MORI BEAN BROOKS PA               Unsecured          Filed 02/12/08                           $0.00               $0.00                  $0.00
 070            P O BOX 17093
 7100-00        JACKSONVILLE, FL 32245

 002196         SAINT CLARES CORPEMPHEALTH Unsecured                     Filed 02/12/08                           $0.00           $1,651.97              $1,651.97
 070            SRV
 7100-00        400 WEST BLACKWELL STREET
                DOVER, NJ 07801

 002197-A       MCHUGH LANCE                          Unsecured          Filed 02/12/08                           $0.00           $1,920.00                  $0.00
 070            936 CORTEZ RD                          Reclassified Per Order Dated 9/9/08 (Docket #1717)
 7100-00        LAKE ARIEL, PA 18436

 002198         GRISSETT, ISSAC                       Unsecured          Filed 02/12/08                           $0.00               $0.00                  $0.00
 070            165 NW 15TH STREET                     Disallowed per order 3-4-09
 7100-00        POMPANO, FL 33060




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 Code #           Creditor Name & Address               Claim Class     Notes                              Scheduled                Claimed             Allowed
 002199         BOWERS, TIMOTHY                       Unsecured          Filed 02/13/08                           $0.00               $0.00                  $0.00
 070            P.O. BOX 1861
 7100-00        COARSEGOLD, CA 93614

 002200         CLAIM NUMBER VOIDED                   Unsecured                                                   $0.00               $0.00                  $0.00
 070
 7100-00

 002203         FRANCIS, LAWRENCE                     Unsecured          Filed 01/25/08                           $0.00               $0.00                  $0.00
 070            3 BEVERLY DRIVE                        Disallowed per order 11-6-09
 7100-00        EDWARDSVILLE, PA 18704

 002204         NAVARRETE, KELLY                      Unsecured          Filed 02/04/08                           $0.00               $0.00                  $0.00
 070            403 EDGECREST DR
 7100-00        HOMEWOOD, AL 35209

 002205         BRADT, KEVIN                          Unsecured          Filed 01/31/08                           $0.00               $0.00                  $0.00
 070            PO BOX 4613                            Disallowed per order 3-4-09
 7100-00        SCHENECTADY, NY 12304

 002206         VIRGINIA GONZALEZ                     Unsecured         Filed 01/23/08                            $0.00           $1,404.25                  $0.00
 070            20 BETHWAY ST                          Disallowed Per Order Dated 9/16/08 (Dkt # 1805)
 7100-00        NEW BRUNSWICK, NJ 08901

 002207         ROCIO SCHULT                          Unsecured         Filed 01/23/08                            $0.00           $1,800.00                  $0.00
 070            10651 OAK BEND                         Disallowed Per Order Dated 11/18/08 ( Dkt # 2428) (ac)
 7100-00        SAN DIEGO, CA 92131

 002208-A       SCHREINER, BRADLEY D.                 Unsecured          Filed 02/20/08                           $0.00           $1,216.00             $1,216.00
 070            306 EDGAR ST                           Reclassified per Order Dated 9/23/08 (Docket #1891) (ac)
 7100-00        OLYPHANT, PA 18447

 002209         MARGARET PECK                         Unsecured          Filed 02/20/08                           $0.00               $0.00                  $0.00
 070            2818 190th ST.                         Disallowed per order 12-31-08 (ac)
 7100-00        WITHROP, IA 50682

 002210         ZAVALA, EDER                          Unsecured          Filed 02/20/08                           $0.00               $0.00                  $0.00
 070            1700 ROOSEVELT                         Disallowed per order 11-6-09
 7100-00        KENNER, LA 70062

 002211         ZAVALA, ALFREDO                       Unsecured          Filed 02/20/08                           $0.00               $0.00                  $0.00
 070            1700 ROOSEVELT BOUL.                   Disallowed per order 11-6-09
 7100-00        KENNER, LA 70067

 002212         ZAVALA, RIGOBERTO                     Unsecured          Filed 02/20/08                           $0.00               $0.00                  $0.00
 070            1700 ROOSEVELT BOULEVARD               Disallowed per order 11-6-09
 7100-00        KENNER, LA 70062

 002213         ZAVALA, BALTAZAR                      Unsecured          Filed 02/20/08                           $0.00               $0.00                  $0.00
 070            1700 ROOSEVELT BOULEVARD               Disallowed per order 10-27-09
 7100-00        KENNER, LA 70065

 002215-A       OLASKOWITZ, STAN                      Unsecured         Filed 02/20/08                            $0.00           $1,654.00                  $0.00
 070            51 LEO AVENUE                          Allowed Per Order Dated 8/18/08 (Dkt # 1572)
 7100-00        STANHOPE, NJ 07874




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 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 002217         CHAVEZ, EDUARDO                       Unsecured          Filed 01/22/08                            $0.00               $0.00                  $0.00
 070            120 A ROCKWOOD AVE.
 7100-00        #46-432
                CALEXICO, CA 92231

 002218         ABULL HAY, MARIA                      Unsecured          Filed 02/11/08                            $0.00               $0.00                  $0.00
 070            504 NORTH QUEEN ST.                    Disallowed per order 9-23-08 (ac)
 7100-00        APT 2
                LANCASTER, PA 17603

 002219         PRONAB KR BHATTACHARYYA               Unsecured          Filed 02/08/08                            $0.00          $84,087.31             $84,087.31
 070            71-07 31ST AVE
 7100-00        JACKSON HEIGHTS, NY 11370

 002221-C       ERNESTO MOLORA                        Unsecured         Filed 02/04/08                            $0.00              $199.82                  $0.00
 070            683 W FRONT ST                         Reduced and Reclassified per Order Dated 12/2/08 (Docket #2585)
 7100-00        PLAINFIELD, NJ 07060

 002222         MARCOS, MARIA A.                      Unsecured          Filed 01/18/08                            $0.00               $0.00                  $0.00
 070            18 VT ROUTE 30
 7100-00        JAMAICA, VT 05343

 002223         VALLEY POOL PLASTERING INC            Unsecured          Filed 01/22/08                            $0.00         $300,000.00            $300,000.00
 070            C/O H TY KHARAZI ESQ
 7100-00        1145 E SHAW AVE
                FRESNO, CA 93710

 002224         HUERTO, PLUTARRCO                     Unsecured          Filed 01/28/08                            $0.00               $0.00                  $0.00
 070            10691 AQUAVISTA LANE
 7100-00        NORTH FT. MYERS, FL 33917

 002225         GORDON, DARRELL                       Unsecured        Filed 01/28/08                              $0.00           $2,500.00                  $0.00
 070            3948 WARBLER DRIVE                     Expunged per Order dated 04/06/2011 (Dkt #4033)
 7100-00        ANTIOCH, CA 94509

 002226         OSS, WILLIAM                          Unsecured          Filed 01/28/08                            $0.00               $0.00                  $0.00
 070            2101 ROSEDALE TERR                     Disallowed per order 11-9-09
 7100-00        DOTHAN, AL 36303

 002227         MENCIAS, ORLANY                       Unsecured          Filed 02/20/08                            $0.00               $0.00                  $0.00
 070            6936 EASTMAN
 7100-00        SAN DIEGO, CA 92111

 002228         HEISLER & BRAY ATTORNEYS AT Unsecured                    Filed 02/20/08                            $0.00               $0.00                  $0.00
 070            LAW
 7100-00        6351 OWENSMOUTH AVE STE 100
                WOODLAND HILLS, CA 91367

 002229         JEANETTE K MALONEY                    Unsecured          Filed 02/20/08                            $0.00               $0.00                  $0.00
 070            PO BOX 1157                            Disallowed per ordre 10-29-09
 7100-00        LABELLE, FL 33975

 002230-C       SC DEPARTMENT OF REVENUE              Unsecured          Filed 02/19/08                            $0.00               $0.00              $1,411.00
 070            PO BOX 12265                           Reclassified per Order dated 03/28/2011 (Dkt #3997)
 7100-00        COLUMBIA, SC 29211




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 002231         SCUDIERI SR, RAYMOND J                Unsecured          Filed 02/21/08                            $0.00           $2,400.00              $2,400.00
 070            120 ORCHARD ROAD
 7100-00        SIDE DOOR
                MAPLEWOOD, NJ 07040

 002232-A       MALIBU BILLING SERVICESINC            Unsecured          Filed 02/27/08                            $0.00           $8,012.75              $8,012.75
 070            23852 PACIFIC COAST HIGHWAY            Reclassified per Order dated 03/08/2011 (Dkt #3888)
 7100-00        MALIBU, CA 90265

 002233-B       STAR SKY PT                           Unsecured          Filed 02/27/08                            $0.00           $5,144.60              $5,144.60
 070            23852 PACIFIC COAST HWY 310            Reclassified per Order dated 03/08/2011 (Dkt #3889)
 7100-00        MALIBU, CA 90265

 002234-A       ATAMIAN CHIROPRACTIC                  Unsecured          Filed 02/27/08                            $0.00           $2,515.10              $2,515.10
 070            23852 PACIFIC COAST HWY                Reclassified per Order dated 03/08/2011 (Dkt #3907)
 7100-00        MALIBU, CA 90265

 002235-B       ORTHOPEDIC MEDICAL GROUP              Unsecured          Filed 02/27/08                            $0.00           $3,882.29              $3,882.29
 070            23852 PACIFIC COAST HWY 310            Reclassified per Order dated 03/08/2011 (Dkt #3892)
 7100-00        MALIBU, CA 90265

 002236-A       MELISSA MALLOY                        Unsecured        Filed 02/27/08                              $0.00             $654.86                  $0.00
 070            154 PLUMERIA ST                        Expunged per Order dated 04/06/2011
 7100-00        SANTA RITA, GU 96915

 002237-A       VELAZQUEZ, VICTOR M                   Unsecured          Filed 02/27/08                            $0.00             $359.79                  $0.00
 070            16619 SOUTH MENLO AENUE                Reclassified Per Order Dated 4/22/09 (Docket#3193)
 7100-00        APARTMENT # 111
                GARDENA, CA 90247

 002238         MASETTI, ALBERT                       Unsecured          Filed 02/27/08                            $0.00               $0.00                  $0.00
 070            508 BEEBE RD                           (ac)
 7100-00        HARRINGTON DE 19952

 002239         HAWKINS, SAMUEL                       Unsecured          Filed 02/27/08                            $0.00               $0.00                  $0.00
 070            3584 LYNCHBURG ST                      Disallowed per order 10-27-09
 7100-00        MEMPHIS, TN 38134

 002241         SANDERS, SCOT                         Unsecured          Filed 02/29/08                            $0.00               $0.00                  $0.00
 070            252 GOMPERS STREET                     Disallowed per order 10-27-09
 7100-00        CENTRAILIA, IL 62801

 002243         CINDY MILLER                          Unsecured          Filed 02/29/08                            $0.00               $0.00                  $0.00
 070            115 CHERRY                             Disallowed per order 3-10-09
 7100-00        GREEN VALLEY, IL 61534

 002244         TIMOTHY D. HOFFMAN                    Unsecured        Filed 02/29/08                              $0.00      $23,000,000.00                  $0.00
 070            1410 FLORAL LANE                       Claim Withdrawn per Docket #3768
 7100-00        MERRITT ISLAND, FL 32952

 002248         DURON, CARLOS                         Unsecured          Filed 03/10/08                            $0.00         $175,000.00            $175,000.00
 070            19602 NW 30TH PL
 7100-00        CAROL CITY, FL 33056




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 002249         CROFTEN, ANITA                        Unsecured          Filed 03/11/08                            $0.00               $0.00                  $0.00
 070            968 WEST SPRINGFIELD                   Disallowed per order 10-27-09
 7100-00        APARTMENT D
                UPLAND, CA 91786

 002250-B       MIKE HOGAN TAX COLLECTOR              Unsecured          Filed 03/11/08                            $0.00               $0.00               $395.60
 070            C/O EDWARD C TANNEN ASST               Reclassified per Order dated 01/10/12 (Dkts #4265).
 7100-00        GEN COUNSEL
                117 W DUVAL ST 480 CITY HALL
                JACKSONVILLE, FL 32202

 002251         POST, GARY                            Unsecured          Filed 03/12/08                            $0.00           $8,201.73             $8,201.73
 070            24689 E LAKE WINDERMERE RD
 7100-00        TREMONT, IL 61568

 002252-A       KOLLER COATINGS                       Unsecured          Filed 03/04/08                            $0.00          $45,911.87            $97,636.13
 070            CORPORATION                            Reclassified per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002253-B       KOLLER COATINGS                       Unsecured        Filed 03/04/08                              $0.00          $45,911.87                  $0.00
 070            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002254-A       KOLLER COATINGS                       Unsecured        Filed 03/04/08                              $0.00          $45,911.87                  $0.00
 070            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAY 2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002255-B       KOLLER COATINGS                       Unsecured        Filed 03/04/08                              $0.00          $45,911.87                  $0.00
 070            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002256-A       KOLLER COATINGS                       Unsecured        Filed 03/04/08                              $0.00          $45,911.87                  $0.00
 070            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAY2
                SUITE 200
                NEWPORT BEACH, CA 92663

 002257-B       KOLLER COATINGS                       Unsecured        Filed 03/04/08                              $0.00          $45,911.87                  $0.00
 070            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAY
                NEWPORT BEACH, CA 92663

 002258-A       KOLLER COATINGS                       Unsecured        Filed 03/04/08                              $0.00          $45,911.87                  $0.00
 070            CORPORATION                            Expunged per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAYS2
                SUITE 200
                NEWPORT BEACH, CA 92663




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled                 Claimed              Allowed
 002259-B       KOLLER COATINGS             Unsecured        Filed 03/04/08                                        $0.00            $45,911.87                   $0.00
 070            CORPORATION                  Expunged per Order dated 10/07/2008 (Dkt #2005)
 7100-00        2901 WEST COAST HIGHWAY STE
                200
                NEWPORT BEACH, CA 92663

 002260         CARLOS DURON                          Unsecured          Filed 03/06/08                            $0.00           $175,000.00            $175,000.00
 070            19602 NW 30TH PL
 7100-00        CAROL CITY, FL 33056

 002261         FINICLE, WILLIAM                      Unsecured          Filed 02/28/08                            $0.00               $354.44                $354.44
 070            118 CROMLEY RD
 7100-00        DANVILLE, PA 17821

 002264         PEREZ, ARTURO                         Unsecured          Filed 03/14/08                            $0.00                 $0.00                   $0.00
 070            1801 KEOKEE ST
 7100-00        APT 204
                HYATTSVILLE, MD 20783

 002265-B       PETER GODISH                          Unsecured        Filed 03/14/08                            $0.00               $2,300.00              $2,300.00
 070            430 ORCHARD ST                         Reduced & Reclassified per Order Dated 11/12/08 (Docket #2350)
 7100-00        SCRANTON, PA 18505

 002266         JEFFERY, WILLIAM R.                   Unsecured          Filed 03/14/08                            $0.00                 $0.00                   $0.00
 070            9543 LUPINE AVENUE                     Disallowed per order 3-4-09
 7100-00        ORLANDO, FL 32824

 002267-B       WILLIAMS, BILL G.                     Unsecured          Filed 03/18/08                            $0.00                 $0.00              $1,380.00
 070            3200 SYLVANER CIRCLE                   Reclassified per Order dated 03/14/2011 (Dkt #3946)
 7100-00        SANTA CRUZ, CA 95062

 002268         RAMOS, BRUNILDA                       Unsecured          Filed 03/18/08                            $0.00                 $0.00                   $0.00
 070            HC 02 4571
 7100-00        LUQUILLO, PR 00773

 002269-B       STATE OF CONNECTICUT DEPT             Unsecured         Filed 03/18/08                            $0.00                   $0.00                $50.00
 070            OF REVENUE SVC                         Reduced and Reclassified per Order dated 05/03/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 7100-00        COLLECTIN & ENFORCEMENT
                DIVISION
                BANKRUPTCY SECTION
                25 SIGOURNEY STREET
                HARTFORD, CT 06106

 002270-B       STATE OF CONNECTICUT DEPT             Unsecured         Filed 03/18/08                            $0.00                   $0.00                $50.00
 070            OF REVENUE SVC                         Reduced and Reclassified per Order dated 05/03/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 7100-00        COLLECTION & ENFORCEMENT
                DIVISION
                BANKRUPTCY SECTION
                25 SIGOURNEY STREET
                HARTFORD, CT 06106

 002271-B       STATE OF CONNECTICUT DEPT             Unsecured         Filed 03/18/08                            $0.00                   $0.00                $50.00
 070            OF REVENUE SVC                         Reduced and Reclassified per Order dated 05/03/2011 (Dkt #4118); and (Dkt 4111) 5/3/11
 7100-00        COLLECTION & ENFORCEMENT
                DIVISION
                BANKRUPTCY SECTION



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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                 Claimed             Allowed
                25 SIGOURNEY STREET
                HARTFORD, CT 06106


 002272         DELABRUERE, CAROL JEAN                Unsecured          Filed 03/18/08                          $0.00           $75,000.00            $75,000.00
 070            426 LOCKHART
 7100-00        DAYTONA BEACH, FL 32114

 002274         CRAYTON, ANTHONY                      Unsecured          Filed 03/18/08                          $0.00                $0.00                  $0.00
 070            2505 CLINTON AVE
 7100-00        RICHMOND, CA 94804

 002275         PEREZ, LUISA                          Unsecured          Filed 03/18/08                          $0.00                $0.00                  $0.00
 070            1801 KEOKEE ST
 7100-00        APT 204
                HYATTSVILLE, MD 20783

 002276         KAMP, RODNEY                          Unsecured          Filed 03/18/08                          $0.00                $0.00                  $0.00
 070            317 PLEASANT ST
 7100-00        APT D
                ROSEVILLE, CA 95678

 002277         BECHTEL, ANDY                         Unsecured          Filed 03/18/08                          $0.00              $100.00               $100.00
 070            909 W GROVE PKWY
 7100-00        APT 3054
                TEMPE, AZ 85283

 002278-B       SHELTON, JOSEPH                       Unsecured          Filed 03/19/08                          $0.00                $0.00             $8,320.00
 070            723 HONEYSUCKLE LN                     Reclassified Per Order Dated 10/27/08 (Docket #2192)
 7100-00        MIDLAND, NC 28107

 002280         WICKKISER, JANETTE                    Unsecured          Filed 03/13/08                          $0.00                $0.00                  $0.00
 070            2305 WINFIELD AV                       Disallowed per order 10-27-08
 7100-00        SCRANTON, PA 18505

 002281         JOHNSON, SANDRA                       Unsecured          Filed 03/25/08                          $0.00                $0.00                  $0.00
 070            PO BOX 66118                           Disallowed per order 10-27-09
 7100-00        STOCKTON, CA 95206

 002282         MARTINEZ, ROSARIO                     Unsecured          Filed 03/25/08                          $0.00                $0.00                  $0.00
 070            219 N ST LOUIS ST                      Disallowed per order 3-4-09
 7100-00        APT 6
                LOS ANGELES, CA 90033

 002283         BROWN, LEAH                           Unsecured          Filed 03/25/08                          $0.00               $92.00                $92.00
 070            219 E KLEINHANS ST A
 7100-00        EASTON, PA 18042

 002287-B       THORSON, CHRISTOPHER                  Unsecured         Filed 04/01/08                            $0.00             $270.82                  $0.00
 070            100 S.WATER STREET                     Reduced and Reclassified per Order Dated 10/27/08 (Docket #2191)
 7100-00        QUASQUETON, IA 52326

 002288         DACEY, TIMOTHY                        Unsecured          Filed 04/01/08                          $0.00            $3,474.84             $3,474.84
 070            5 DON WAY
 7100-00        COMMACK, NY 11725




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 002289         AHERN, DANIEL                         Unsecured        Filed 04/01/08                             $0.00           $4,117.94                  $0.00
 070            425 AVENUE A                           Expunged per Order dated 9/11/2008 (Dkt #1723)
 7100-00        BAYONNE, NJ 07002

 002290-B       ROSEBERRY, MARGOT                     Unsecured          Filed 04/01/08                          $0.00                $0.00             $2,400.00
 070            263 BARKSDALE DR.                      Modified and allowed per Order Dated 1/13/09 (Docket #2855) (ac)
 7100-00        CHARLESTOWN, WV 25414

 002291         SAUL A. SANCHEZ                       Unsecured          Filed 04/01/08                           $0.00           $6,757.00             $6,757.00
 070            22-30 STANLEY ST
 7100-00        UNION, NJ 07083

 002292         CANNADY, GREGORY                      Unsecured          Filed 04/01/08                           $0.00               $0.00                  $0.00
 070            514 MORSE ST.                          Disallowed per order 3-4-09
 7100-00        APT. 5
                OCEANSIDE, CA 92054

 002293         HAMLIN, GARY L                        Unsecured          Filed 04/02/08                           $0.00               $0.00                  $0.00
 070            P.O. BOX 650
 7100-00        ALTHA, FL 32421

 002294         GRIFFIN, THOMAS                       Unsecured          Filed 04/02/08                           $0.00          $20,000.00            $20,000.00
 070            4471 SW 54TH COURT
 7100-00        DANIA BEACH, FL 33314

 002295-A       ALBANESE, LAURIE                      Unsecured         Filed 04/03/08                            $0.00           $2,000.00                  $0.00
 070            77 SPRUCE STREET                       Disallowed Per Order Dated 8/18/08 (Docket # 1570)
 7100-00        EDISON, NJ 08837

 002296         AMERISURE INSURANCE                   Unsecured          Filed 04/03/08                           $0.00          $86,800.00            $86,800.00
 070            WALTON LANTAFF ET AL ATTN:
 7100-00        GREGG MARGRE
                1700 PALM BEACH LAKES BLVD.
                SUITE 700
                WEST PALM BEACH, FL 33401

 002297         BROWN, NATALIE                        Unsecured          Filed 04/03/08                           $0.00               $0.00                  $0.00
 070            3901 AGUA VISTA
 7100-00        OAKLAND, CA 94601

 002298-A       LEWIS ANDREW                          Unsecured         Filed 03/17/08                            $0.00             $535.21                  $0.00
 070            3029 GLENDALE ST                       Disallowed per Order Dated 12/9/08 (Docket #2653)
 7100-00        APT 2
                MUSKEGON HTS, MI 49444

 002301-B       TENNESSEE DEPARTMENT OF               Unsecured         Filed 03/24/08                           $0.00              $125.00               $125.00
 070            REVENUE                                Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 7100-00        C/O ATTORNEY GENERAL
                PO BOX 20207
                NASHVILLE, TN 37202

 002307-B       STEVE MANNING                         Unsecured          Filed 04/04/08                           $0.00           $3,273.75             $3,273.75
 070            1308 SE 31ST STREET                    Reclassified per Order dated 01/10/12 (Dkt #4259)
 7100-00        CAPE CORAL, FL 33904




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  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed               Allowed
 002309-B       BRINKWORTH, CHRIS M                   Unsecured        Filed 03/31/08                             $0.00          $39,406.84                   $0.00
 070            179 FLORY AVE                          Expunged per Order dated 03/14/2011 (Dkt #3941)
 7100-00        MOORPARK, CA 93021

 002310-A       BRINKWORTH CHRIS M                    Unsecured        Filed 03/31/08                             $0.00          $39,406.84                   $0.00
 070            179 FLORY AVE                          Expunged per Order dated 03/14/2011 (Dkt #3941)
 7100-00        MOORPARK, CA 93021

 002311         NEAL, KENNETH                         Unsecured         Filed 03/24/08                            $0.00           $1,352.00                   $0.00
 070            255 SAGE STREET                        Disallowed Per Order Dated 8/18/08 ( Docket #1576)
 7100-00        VALLEJO, CA 94589

 002312         QWEST CORPORATION                     Unsecured          Filed 03/24/08                           $0.00             $171.67                 $171.67
 070            ATTN JANE FRAY
 7100-00        1801 CALIFORNIA ST RM 900
                DENVER, CO 80202

 002313         RIDENOUR COMPANY                      Unsecured          Filed 04/04/08                           $0.00          $15,067.90              $15,067.90
 070            43 STARVIEW WAY
 7100-00        SAN FRANCISCO, CA 94131

 002318         TED DAVIS                             Unsecured          Filed 04/07/08                           $0.00               $0.00                   $0.00
 070            2795 EDISON AVE                        Disallowed per order 8-26-08
 7100-00        JACKSONVILLE, FL 32254

 002319         GOLEBOCK EISEMAN ASSOR      Unsecured                    Filed 04/07/08                           $0.00          $13,609.93              $13,609.93
 070            BELL & PESKOE LLP
 7100-00        ATTN ADAM C SILVERSTEIN ESQ
                437 MADISON AVE
                NEW YORK, NY 10022

 002320         BOGGY CREEK AIRBOAT RIDES             Unsecured          Filed 04/07/08                           $0.00               $0.00                   $0.00
 070            3702 BIG BASS ROAD                     Disallowed per order 3-14-11
 7100-00        KISSIMEE, FL 34744

 002321         LONG, MARGARET                        Unsecured          Filed 04/07/08                           $0.00               $0.00                   $0.00
 070            1425 RIVERA DRIVE                      Disallowed per order 3-14-11
 7100-00        KISSIMMEE, FL 34744

 002322         LONG, CHRISTOPHER                     Unsecured          Filed 04/07/08                           $0.00               $0.00                   $0.00
 070            1425 RIVERA DRIVE                      Disallowed per order 3-14-11
 7100-00        KISSIMMEE, FL 34744

 002323         RED BULL NORTH AMERICA INC            Unsecured          Filed 04/07/08                           $0.00         $308,039.00             $308,039.00
 070            CHRISTOPHER E PRINCE ESQ
 7100-00        SONNENSCHEIN NATH &
                ROSENTHAL LLP
                601 S FIGUEROA ST STE 2500
                LOS ANGELES, CA 90017

 002324         CENCAL ROOFING INC                    Unsecured          Filed 04/07/08                           $0.00       $1,000,000.00            $1,000,000.00
 070            CENCAL ENTERPRISES INC
 7100-00        2030 MAIN STREET
                MORROBAY, CA 93442




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                 Claimed             Allowed
 002325-A       CAMPANELLA, MARIA                     Unsecured        Filed 04/07/08                             $0.00           $1,840.00                  $0.00
 070            432 TOURNAMENT DRIVE #8                Reduced & Reclassified per Order dated 8/25/08 (Docket #1826)
 7100-00        UNION, NJ 07083

 002326-B       TUCKER, MICHELE                       Unsecured         Filed 04/07/08                            $0.00           $4,246.15                  $0.00
 070            66 PARKSIDE ROAD                       Reduced and Reclassified Per Order Dated 10/2/08 (Dkt # 1964)
 7100-00        PLAINFIELD, NJ 07060

 002327         COMPUTROL TECHNOLOGIES                Unsecured          Filed 04/07/08                          $0.00          $187,142.31            $187,142.31
 070            ATTN RON WEISS
 7100-00        2131 WANTAGH AVE
                WANTAGH, NY 11793

 002328         RON WEISS                             Unsecured          Filed 04/07/08                          $0.00          $187,142.31            $187,142.31
 070            2080 WANTAGH AVE.
 7100-00        WANTAGH, NY 11793

 002329         COMPUTROL TECHNOLOGIES INC Unsecured                     Filed 04/07/08                          $0.00          $187,142.31            $187,142.31
 070            2131 WANTAGH AVENUE
 7100-00        WANTAGH, NY 11793

 002330         FOX ROTHSCHILD, LLP                   Unsecured          Filed 04/07/08                          $0.00          $187,142.31            $187,142.31
 070            ATTN: HAL L. BAUME, ESQ.
 7100-00        PRINCETON PIKE CORPORATE
                CENTER
                997 LENOX DR., BLDG 3
                LAWRENCEVILLE, NJ 08648

 002331         MELERO, CHRISTOPHER                   Unsecured          Filed 04/07/08                          $0.00                $0.00                  $0.00
 070            3867 LOMA ALTA DR                      Disallowed per order 10-27-09
 7100-00        SAN DIEGO, CA 92115

 002332-A       NYS DEPT OF TAXATION &                Unsecured        Filed 01/25/08                            $0.00          $101,464.90                  $0.00
 070            FINANCE                                Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 002333-B       INDIANA DEPT OF WORKFORCE             Unsecured         Filed 02/27/08                           $0.00              $522.62               $522.62
 070            DEVELOPMENT                            Allowed per Order dated 04/12/2011 (Dkt #4050)
 7100-00        BEVERLY A KOROBKIN
                COLLECTION ENFORCEMENT
                UNIT
                10 N SENATE AVE
                INDIANAPOLIS, IN 46204

 002334-B       INDIANA DEPT OF WORKFORCE             Unsecured         Filed 02/27/08                           $0.00               $51.68                $51.68
 070            DEVELOPMENT                            Allowed per Order dated 04/12/2011 (Dkt #4050)
 7100-00        BEVERLY A KOROBKIN
                COLLECTION ENFORCEMENT
                UNIT
                10 N SENATE AVE
                INDIANAPOLIS, IN 46204




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                             Scheduled                     Claimed              Allowed
 002335         Verizon - Bankruptcy Department       Unsecured          Filed 03/04/08                          $0.00                $15,408.70            $15,408.70
 070            3900 Washington St.                    (221-1) Claim sent to claims agent
 7100-00        Wilmington, DE 19802

 002342-B       TN DEPT OF LABOR &                    Unsecured        Filed 04/08/08                           $0.00                    $30.00                   $0.00
 070            WORKFORCE DEVELOPMENT                  Expunged per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 7100-00        C/O TN ATTY GENERAL
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002347-B       TN DEPT OF LABOR &                    Unsecured          Filed 04/09/08                           $0.00                    $0.00                $20.00
 070            WORKFORCE DEVELOPMENT                  Reclassified and Allowed per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191
 7100-00        C/O TN ATTY GENERAL                    07/28/2011
                BANKRUPTCY DIV
                PO BOX 20207
                NASHVILLE, TN 37202

 002354-B       DEPT OF LABOR AND                     Unsecured          Filed 04/04/08                           $0.00                    $0.00                $30.00
 070            WORKFORCE DEVELOPMENT                  Reclassified per Order dated 07/26/2011 (Dkt #4190) and Dkt 4191 07/28/2011
 7100-00        EMPLOYMENT SECURITY
                DIVISION
                BUREAU OF UNEMPLOYMENT
                INSURANCE
                PO BOX 20207
                NASHVILLE, TN 37202

 002360         MINTON, ROY                           Unsecured        Filed 04/07/08                            $0.00                 $5,204.17                  $0.00
 070            2545 QUAILFARM RD SW                   Expunged per Order dated 04/19/2011 (Dkt #4075)
 7100-00        THOMSON, GA 30824

 002361         KEMPER INSURANCE COMPANIES Unsecured           Filed 04/04/08                                    $0.00                     $0.00                  $0.00
 070            SHERRI L PATTERSON          Disallowed per stip & order 4-21-11 (Dkt#4104)
 7100-00        MANAGED ACCOUNTS
                13NW0343 ONE KEMPER DR
                LONG GROVE, IL 60049

 002367-B       STATE OF MD, COMPTROLLER OF Unsecured          Filed 04/25/08                                    $0.00                     $0.00             $3,660.00
 070            THE TREASURY                 Reclassified per Order dated 06/13/2011 (Dkt #4158)
 7100-00        ATTN: MARY T CARR
                ROOM 409, STATE OFFICE
                BUILDING
                301 WEST PRESTON STREET
                BALTIMORE, MD 21201

 002369-B       CITY OF PHILADELPHIA      Unsecured          Filed 05/07/08                          $0.00                                 $0.00            $19,875.52
 070            C/O ASHELY M CHAN ESQUIRE  Reclassified & Allowed per Order dated 06/29/2011 (Dkt #4171)
 7100-00        HANGLEY ARONCHICK SEGAL &
                PUDLIN
                ONE LOGAN SQUARE 27TH
                FLOOR
                PHILADELPHIA, PA 19103




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  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
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 Code #           Creditor Name & Address               Claim Class     Notes                            Scheduled               Claimed             Allowed
 002383-B       MISSISSIPPI STATE TAX                 Unsecured         Filed 08/26/09                         $0.00           $3,449.68             $3,449.68
 070            COMMISSION                             Allowed per Order dated 06/29/2011 (Dkt #4169)
 7100-00        BANKRUPTCY SEC-MISSISSIPPI
                STATE TAX COM
                PO BOX 22808
                JACKSON, MS 39225

 002384-A       MARYLAND DEP OF LABOR,                Unsecured         Filed 09/08/09                         $0.00              $15.00                  $0.00
 070            LICENSING AND REG                      Allowed per Order dated 06/13/2011 (Dkt 4158)
 7100-00        OFFICE OF UNEMPLOYMENT
                INSURANCE
                1100 NORTH EUTAW ST, RM 401
                BALTIMORE, MD 21201

 002386         CLAIM NUMBER VOIDED                   Unsecured                                                $0.00               $0.00                  $0.00
 070
 7100-00

 002387-A       NYS DEPARTMENT OF TAXATION Unsecured         Filed 09/29/05                            $0.00             $52,059.51                 $52,059.51
 070            AND FINANCE                 Amends #s 511, 557, 563, 704, & 1912.Reclassified per Order dated 11/17/2011 (Dkt
 7100-00        BANKRUPTCY SECTION          #4227)
                P O BOX 5300
                ALBANY, NY 12205

 002388         Structural Prestressed                Unsecured          Filed 01/23/07                        $0.00          $50,000.00            $50,000.00
 070            11405 NW 138th Street                  (215-1) Claim sent to claims agent
 7100-00        Miami, Florida 33178                   Amends Claim dated 10/28/04.


 002389-A       MARIAN C ADEN TRUST                   Unsecured        Filed 07/06/04                          $0.00          $15,908.69                  $0.00
 070            2899 AGOURA ROAD #590                  Expunged per Order dated 06/13/2011 (Dkt #4157)
 7100-00        WESTLAKE VILLAGE, CA 91361

 002390-A       NYS DEPARTMENT OF TAXATION Unsecured        Filed 10/25/05                                     $0.00          $54,918.90                  $0.00
 070            AND FINANCE                 Expunged per Order dated 11/17/2011 (Dkt #4227)
 7100-00        BANKRUPTCY SECTION
                PO BOX 5300
                ALBANY, NY 12205

 002391         STRUCTURAL PRESTRESSED                Unsecured          Filed 01/23/07                        $0.00               $0.00                  $0.00
 070            11405 NW 138TH STREET
 7100-00        MIAMI, FL 33178

 002392         CLAIM NUMBER VOIDED                   Unsecured                                                $0.00               $0.00                  $0.00
 070
 7100-00

 002393         Federal Express Corp                  Unsecured          Filed 05/14/04                        $0.00             $901.22               $901.22
 070            Attn: Revenue Recovery/Bankruptcy      (113-1) Claim sent to claims agent
 7100-00        2005 Corporate Ave 2nd fl
                Memphis TN 38132

 002398         ST LUKE'S HOSPITAL                    Unsecured          Filed 03/13/06                        $0.00           $6,099.50             $6,099.50
 070            PO BOX 60182
 7100-00        FT MYERS, FL 33906




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                                                                            EXHIBIT C
 Page 269                                                                                                                                         Date: April 28, 2015
                                                                     ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                     Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address                  Claim Class     Notes                               Scheduled               Claimed              Allowed
 002400-B       MARYLAND DEPT OF LABOR,                  Unsecured         Filed 09/13/06                            $0.00                $0.00               $107.57
 070            LICENSING                                 Reduced and Reclassified per Order dated 06/13/2011 (Dkt #4158)
 7100-00        AND REGULATION
                1100 NORTH EUTAW STREET,
                ROOM 401
                BALTIMORE, MD 21201

 002401-B       MASSACHUSETTS DEPARTMENT Unsecured         Filed 08/31/05                                            $0.00             $308.68                $261.66
 070            OF REVENUE                Reduced per Order dated 04/12/2011 (Dkt #4051)
 7100-00        LITIGATION BUREAU,
                BANKRUPTCY UNIT
                100 CAMBRIDGE STREET, 7TH
                FLOOR
                BOSTON, MA 02114

 002407-B       FRANCHISE TAX BOARD                      Unsecured        Filed 05/13/11                           $0.00                  $0.00                $69.24
 070            BANKRUPTCY SECTIO MS A340                 Reduced and Allowed per Order dated 07/21/2011 (Dkt #4185) and (Dkt 4188
 7100-00        PO BOX 2952                               07/24/2011)
                SACARAMENTO, CA 95812

 002411-A       NYS Dept of Taxation & Finance           Unsecured          Filed 06/13/11                           $0.00           $54,918.90            $54,918.90
 070            Attn: Bankruptcy Section                  (210-1) Claim sent to claims agent
 7100-00        PO Box 5300                               Allowed per Order dated 11/17/2011 (Dkt #4227)
                Albany, NY 12205-0300

 002412         STATE OF MICHIGAN          Unsecured         Filed 08/17/11                                          $0.00             $932.41                $932.41
 070            DEPARTMENT OF TREASURY      Allowed per Order dated 10/05/2011 (Dkt #4216)
 7100-00        ATTN: CHRISTOPHER M
                JACOBSON
                ASSISTANT ATTORNEY GENERAL
                CADILLAC PLACE STE 10-200
                3030 W GRAND BLVD
                DETROIT, MI 48202

                             Subtotal for Priority 070                                                               $0.00     $105,649,748.77         $67,738,510.66
 002336         FERNANDEZ ILIANA                         Priority           Filed 04/08/08                           $0.00            $1,185.25                  $0.00
 080            337 EAST LINCOLN AVE                       Disallowed Per Order Dated 10/7/08 (Docket #2004)
 5300-00        ROSELLE, NJ 07204

 002337         PORTER REBECCA                           Unsecured         Filed 04/08/08                            $0.00            $3,500.00                  $0.00
 080            133 CLOIS LN                              Disallowed Per Order Dated 10/7/08 (Dkt # 1984)
 7200-00        MOORESVILLE, NC 28117

 002338         TAYLOR, MATTHEW                          Priority           Filed 04/08/08                           $0.00             $379.16                   $0.00
 080            12245 ALLISON RD                           Disallowed Per Order Dated 11/12/08 (Dkt # 2353 )
 5300-00        LONDON TWP, MI 48160

 002339         PATINO, GLORIA E.                        Unsecured          Filed 04/08/08                           $0.00                $0.00                  $0.00
 080            15919 WINDING DRIVE                       Disallowed per order 10-21-08
 7200-00        TAMPA, FL 33624

 002344         MARTINEZ, RAYMOND                        Secured           Filed 04/08/08                            $0.00            $4,925.00                  $0.00
 080            256 ALICE ST.                             Disallowed Per Order Dated 9/9/08 (Dkt #1709)
 4220-00        DINUBA, CA 93618




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                                                                  ANALYSIS OF CLAIMS REGISTER

  Case Number: 04-22316RG                                                 Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                                Scheduled               Claimed             Allowed
 002345         OGLESBY, DESHUN                       Unsecured          Filed 04/08/08                            $0.00               $0.00                  $0.00
 080            3167 ASHWOOD ST                        Disallowed per order 9-23-08
 7200-00        #2
                MEMPHIS, TN 38118

 002346         ELLIS, GAYLE                          Unsecured          Filed 04/08/08                            $0.00               $0.00                  $0.00
 080            43421 ALEP STREET                      Disallowed per order 8-26-08
 7200-00        LANCASTER, CA 91401

 002348-A       GERONDAKIS, PHILLIP                   Priority          Filed 04/09/08                             $0.00          $50,000.00                  $0.00
 080            3810 TOBOGGEN RD                        Expunged per Order dated 03/14/2011 (Dkt #3943)
 5200-00        POLLOCK PINES, CA 95726

 002348-B       GERONDAKIS, PHILLIP                   Unsecured        Filed 04/09/08                              $0.00          $50,000.00                  $0.00
 080            3810 TOBOGGEN RD                       Expunged per Order dated 03/14/2011 (Dkt #3943)
 7200-00        POLLOCK PINES, CA 95726

 002357         CUYA MARIA                            Unsecured         Filed 04/10/08                             $0.00           $3,120.00                  $0.00
 080            42 BANK ST FIRST FLOOR                 Disallowed per Order Dated 8/25/08 (Docket #1626)
 7200-00        ELIZABETH, NJ 07201

 002358         BEDOYA, CARLOS                        Unsecured          Filed 04/10/08                            $0.00             $144.00               $144.00
 080            39 MASE AVE.                           Allowed per order 11-12-08
 7200-00        DOVER, NJ 07801

 002359         ERNESTO SOCARRAS                      Priority           Filed 04/09/08                            $0.00           $3,153.00                  $0.00
 080            1350 NW 28TH ST                         Disallowed per Order Dated 10/21/08 (Docket #2098)
 5300-00        MIAMI, FL 33142

 002362         DESCOVICH, RENE A                     Unsecured          Filed 04/15/08                            $0.00               $0.00                  $0.00
 080            118 FREMONT CT
 7200-00        HERCULES, CA 94547

 002363-A       RALPH COLLINS                         Unsecured         Filed 04/15/08                             $0.00           $4,000.00                  $0.00
 080            6052 WESTGATE DR                       Disallowed Per Order Dated 10/21/08 (Dkt #2089)
 7200-00        ORLANDO, FL 32835

 002363-B       RALPH COLLINS                         Priority           Filed 04/15/08                            $0.00           $4,000.00                  $0.00
 080            6052 WESTGATE DR                        Disallowed Per Order Dated 10/21/08 (Dkt #2089)
 5300-00        ORLANDO, FL 32835

 002365         WHITTAKER, JAMES                      Priority           Filed 04/23/08                            $0.00           $1,750.00                  $0.00
 080            820 W 9TH ST                            Disallowed Per Order Dated 10/27/08 (Docket # 2205)
 5300-00        COOKEVILLE, TN 38501

 002366         HARDY, CHARLIE                        Unsecured          Filed 04/14/08                            $0.00               $0.00                  $0.00
 080            195 W. MARKET ST                       Disallowed per order 9-23-08
 7200-00        NEWARK, NJ 07102

 002368         CHOICE, CHANCHUA                      Unsecured          Filed 04/17/08                            $0.00               $0.00                  $0.00
 080            2945 CORTLAND                          Disallowed per order 9-23-08
 7200-00        DETROIT, MI 48206




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  Case Number: 04-22316RG                                                  Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #           Creditor Name & Address               Claim Class     Notes                               Scheduled               Claimed             Allowed
 002370-A       GRIFFIN, KIONNA D.                    Priority           Filed 05/14/08                           $0.00           $2,300.00                  $0.00
 080            4530 S. CHURCHILL DR.                   Disallowed Per Order dated 4/21/09 (Docket #3169)
 5300-00        RICHTON PARK, IL 60471

 002370-B       GRIFFIN, KIONNA D.                    Unsecured         Filed 05/14/08                            $0.00           $2,300.00                  $0.00
 080            4530 S. CHURCHILL DR.                  Disallowed Per Order dated 4/21/09 (Docket #3169)
 7200-00        RICHTON PARK, IL 60471

 002371         STUBBS, ANNETTE                       Unsecured          Filed 05/15/08                           $0.00               $0.00                  $0.00
 080            2310 CAROLTON ROAD                     Disallowed per order 3-4-09
 7200-00        MAITLAND, FL 32751

 002372         STUBBS, CAL                           Unsecured          Filed 05/15/08                           $0.00               $0.00                  $0.00
 080            2310 CAROLTON ROAD                     Disallowed per order 3-4-09
 7200-00        MAITLAND, FL 32751

 002375-A       ROMERO, BRAULIO                       Secured           Filed 05/28/08                            $0.00       $6,500,000.00                  $0.00
 080            14810 BLUEBRIAR ST                     Disallowed per Order Dated 9/23/08 (Docket #1884)
 4220-00        MORENO VALLEY, CA 92553

 002375-B       ROMERO, BRAULIO                       Unsecured         Filed 05/28/08                            $0.00       $1,000,000.00                  $0.00
 080            14810 BLUEBRIAR ST                     Disallowed per Order Dated 9/23/08 (Docket #1884)
 7200-00        MORENO VALLEY, CA 92553

 002375-C       ROMERO, BRAULIO                       Priority           Filed 05/28/08                           $0.00         $500,000.00                  $0.00
 080            14810 BLUEBRIAR ST                      Disallowed per Order Dated 9/23/08 (Docket #1884)
 5300-00        MORENO VALLEY, CA 92553

 002376         ROMERO, BRAULIO                       Unsecured          Filed 05/28/08                           $0.00               $0.00                  $0.00
 080            14810 BLUEBRIAR ST
 7200-00        MORENO VALLEY, CA 92553

 002377         PAUL, ROLLIE FRED                     Unsecured          Filed 06/28/08                           $0.00               $0.00                  $0.00
 080            3515 W. MAIN ST.                       Disallowed per order 2-8-11
 7200-00        MIMS, FL 32754

 002378         ALFONSO ORTIZ                         Unsecured          Filed 06/24/08                           $0.00             $813.67               $813.67
 080            2203 E EL SEGUNDO #1
 7200-00        COMPTON, CA 90222

 002379         WILLIAMS, JEANNIE                     Unsecured          Filed 07/31/08                           $0.00               $0.00                  $0.00
 080            3731 56TH ST                           Disallowed per order 3-8-11
 7200-00        SACRAMENTO, CA 95820

 002380-A       DONS FRAMING                          Unsecured         Filed 03/17/09                            $0.00         $136,273.31                  $0.00
 080            5814 SUNGLO AVE                        Disallowed Per Order dated 6/2/09 (Docket #3325)
 7200-00        PORT RICHEY, FL 34668

 002380-B       DONS FRAMING                          Priority           Filed 03/17/09                           $0.00         $136,273.31                  $0.00
 080            5814 SUNGLO AVE                         Disallowed Per Order dated 6/2/09 (Docket #3325)
 5200-00        PORT RICHEY, FL 34668

 002382         LAWRENCE, LILLY                       Unsecured          Filed 07/20/09                           $0.00               $0.00                  $0.00
 080            185 W FORREST APT 2D
 7200-00        HARLEM, GA 30814




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  Case Number: 04-22316RG                                                       Priority Sequence
  Debtor Name: OMNE STAFFING, INC. CHAPTER 7
  Claims Bar Date: 04/07/08

 Code #            Creditor Name & Address                   Claim Class     Notes                   Scheduled               Claimed             Allowed
 002385          Albert Masetti                            Unsecured          Filed 12/08/09               $0.00          $15,372.72            $15,372.72
 080             Attn: Christopher M Hermrick               (224-1) Claim sent to claims agent
 7200-00         Connell Foley LLP
                 85 Livingston Ave
                 Roseland NJ 07068

                               Subtotal for Priority 080                                                   $0.00       $8,419,489.42            $16,330.39

                     Case Totals:                                                                          $0.00     $148,482,252.11        $77,836,402.52
          Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                            TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                        Exhibit D

     Case No.: 04-22316RG CMG
     Case Name: OMNE STAFFING, INC. CHAPTER 7
     Trustee Name: CHARLES M. FORMAN, TRUSTEE
                         Balance on hand                                               $            1,155,029.96

               Claims of secured creditors will be paid as follows:

                                                               Allowed           Interim
                                                               Amount of         Payment to      Proposed
      Claim No. Claimant                        Claim Asserted Claim             Date            Payment
                      General Electric
                      Capital Corp.
                      1010 Thomas
                      Edison Blvd. S.W.
                      Cedar Rapids, IA
      000483          52404                    $       577.16 $            0.00 $          0.00 $           0.00
               Great American
               Insurance Company
               Michael J. Conolly
               Esq
               PO Box 1980
               Morristown, NJ
      000492-A 07962              $ 1,193,760.00 $                         0.00 $          0.00 $           0.00
                      Lumbermens Mutual
                      Casualty Co
                      & affiliates
                      American Protection
                      Ins
                      Cole, Schotz,
                      Meisel, Forman &
                      Leonard
                      Crt Plz N, 25 Main
                      Street
                      P.O. Box 800
                      Hackensack, NJ
      000556          07602-0800          $              0.00 $            0.00 $          0.00 $           0.00




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                                                            Allowed           Interim
                                                            Amount of         Payment to     Proposed
      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
                      General Electric
                      Capital Corp.
                      1010 Thomas
                      Edison Blvd. S.W.
                      Cedar Rapids, IA
      000505          52404                 $     1,445.47 $            0.00 $         0.00 $           0.00
               NYS Dept of
               Taxation & Finance
               Attn: Bankruptcy
               Section
               PO Box 5300
               Albany NY 12205-
      000704-A 0300               $                 266.01 $            0.00 $         0.00 $           0.00
               Lumbermens Mutual
               Casualty Co & its
               affiliates incl
               American Protection
               Ins
               c/o Cole Schotz et al
               Attn:Gerald Gline
               Court Plz N, 25
               Main Street
               P.O. Box 800
               Hackensack, NJ
      001527-A 07602-0800            $ 3,000,000.00 $                   0.00 $         0.00 $           0.00
                      TN Dept. of Labor
                      & Workforce Dev.
                      Unemployment
                      Insur.
                      c/o TN Atty
                      General, Bankruptcy
                      Div.
                      PO Box 20207
                      Nashville, TN
      002340          37207-0207          $      21,395.68 $            0.00 $         0.00 $           0.00




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                                                            Allowed           Interim
                                                            Amount of         Payment to     Proposed
      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
                      BIGONGER &
                      BIGONGER
                      ATTN: JEFFREY
                      R. BIGONGER,
                      ESQ.
                      4897 MAIN
                      STREET
                      YORBA LINDA,
      000015          CA 92886              $   250,000.00 $            0.00 $         0.00 $           0.00
                      BIGONGER &
                      BIGONGER AND
                      TERRY FORNEY
                      BIGONGER &
                      BIGONGER
                      JEFFREY R
                      BIGONGER ESQ
                      4897 MAIN ST
                      YORBA LINDA,
      000027          CA 92886              $   250,000.00 $            0.00 $         0.00 $           0.00
                      SAMUEL, MONI
                      248-23-89-AVE
                      BELLROSE, NY
      000064          11426                 $       706.82 $            0.00 $         0.00 $           0.00
               AGUILAR,
               MAURILIO
               530 NORTH
               STREET
               MIDDLETOWN,
      000076-B NY 10940                     $        95.77 $            0.00 $         0.00 $           0.00
               RODRIGUEZ,
               GILBERTO
               1616 1/2 E. SAN
               VICENTE
               COMPTON, CA
      000077-A 90221                        $         5.00 $            0.00 $         0.00 $           0.00




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                                                            Allowed           Interim
                                                            Amount of         Payment to     Proposed
      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
                      TN DEPT OF
                      LABOR &
                      WORKFORCE
                      DEVELOPMENT-
                      UNEMPLOYMENT
                      INS
                      A/O TN ATTY
                      GENERAL,
                      BANKRUPTCY
                      DIV
                      PO BOX 20207
                      NASHVILLE, TN
      000127          37202         $            20,379.54 $            0.00 $         0.00 $           0.00
               CASWELL JR,
               HARRY
               621 R ALDER
               STREET
               SCRANTON, PA
      000137-B 18505                        $       230.80 $            0.00 $         0.00 $           0.00
                      EUSEBIO
                      VILLETA
                      1345 S. PAXON ST.
                      PHILADELPHIA,
      000140          PA 19143          $           251.27 $            0.00 $         0.00 $           0.00
               CORONADO,
               ELSA P.
               4114 CAMINO
               DEL PLAZA #25
               SAN YSIDRO, CA
      000145-B 92173          $                       5.00 $            0.00 $         0.00 $           0.00
               GUZMAN, OSCAR
               5 FAIRFIELD
               CIRCLE
               APT 1A
               BRENTWOOD, NY
      000148-A 11717         $                    3,500.00 $            0.00 $         0.00 $           0.00




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                                                            Allowed           Interim
                                                            Amount of         Payment to     Proposed
      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               NORTHBAY
               OCCUPATIONAL
               HEALTH
               PO BOX 39000
               DEPT 33404
               SAN FRANCISCO,
      000156-A CA 94139       $                   1,219.70 $            0.00 $         0.00 $           0.00
               RUVALCABA,
               JOSE
               1725 BON AIR
               STOCKTON, CA
      000157-C 95210                        $       800.00 $            0.00 $         0.00 $           0.00
                      SAMUEL, MONI
                      248-23-89-AVE
                      BELLROSE, NY
      000161          11426                 $       706.82 $            0.00 $         0.00 $           0.00
               CERRA JR.,
               WILLIAM J.
               400 BEDFORD ST,
               APT 507
               CLARKS
               SUMMIT, PA
      000169-A 18411           $                    580.00 $            0.00 $         0.00 $           0.00
                      SANTOS-SILVA,
                      ANA PAULA
                      317 15TH STREET
                      #1
                      SCRANTON, PA
      000184          18504           $             232.13 $            0.00 $         0.00 $           0.00
               MARTINEZ, JOSE
               12530 ROSCOE
               BLVD.
               APT. # 11
               SUN VALLEY, CA
      000189-A 91352          $                     220.12 $            0.00 $         0.00 $           0.00




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                                                            Allowed           Interim
                                                            Amount of         Payment to     Proposed
      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               SANDERS,
               LAMONT
               1310 E. 32ND
               STREET
               SAVANNAH, GA
      000208-B 31404                        $       384.00 $            0.00 $         0.00 $           0.00
                      PITTMAN,
                      SHANNON
                      116 FOUNTAIN
                      OAKS CIRCLE
                      APT 219
                      SACRAMENTO,
      000246          CA 94831              $     3,000.00 $            0.00 $         0.00 $           0.00
               PHILLIPS, JUSTIN
               4425 RODNEY
               MEMPHIS, TN
      000251-B 38116            $                   200.00 $            0.00 $         0.00 $           0.00
               INDIANA DEPT
               OF REVENUE
               BANKRUPTCY
               SECTION ROOM
               N-203
               100 NORTH
               SENATE AVE
               INDIANAPOLIS,
      000285-B IN 46204                     $       495.01 $            0.00 $         0.00 $           0.00
               CECILIA DE LA
               ROSA
               2003 NEW YORK
               AVE.
               APT. 1B
               UNION CITY, NJ
      000296-B 07087                        $       339.66 $            0.00 $         0.00 $           0.00
               CALIF LATINO
               CLINIC
               2700 N MAIN ST
               STE 1060
               SANTA ANA, CA
      000304-A 92705          $                  19,689.00 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               CHIRAG N AMIN
               MD
               6820 INDIANA
               AVE
               SUITE 100
               RIVERSIDE, CA
      000305-A 92506         $                   14,984.40 $            0.00 $         0.00 $           0.00
               SHEIN, U
               3245 EAST CALLE
               BAJA
               AVENUE
               WEST COVINA,
      000315-A CA 91792        $                  1,500.00 $            0.00 $         0.00 $           0.00
               MORALES, LILIA
               LORENA
               933 SUPERIOR ST
      000347-A AURORA, IL 60505 $                   221.36 $            0.00 $         0.00 $           0.00
               GAMBOA, LIZ
               YADIRA
               933 SUPERIOR
      000361-A AURORA, IL 60505 $                   221.36 $            0.00 $         0.00 $           0.00
               MORALES, IRMA
               933 SUPERIOR
      000362-A AURORA, IL 60505 $                   221.36 $            0.00 $         0.00 $           0.00
               ELSA CORONADO
               PLACENCIZ
               4114 CZIMINO DE
               LA PLAZA #25-1
               SAN YSIDRO, CA
      000445-B 92173           $                      5.00 $            0.00 $         0.00 $           0.00
               NYS DEPT OF
               TAXATION &
               FINANCE
               ATTN:
               BANKRUPTCY
               SECTION
               P O BOX 5300
               ALBANY, NY
      000511-B 12205                        $       266.01 $            0.00 $         0.00 $           0.00




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                                                            Amount of         Payment to     Proposed
      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               SADITH ZAVALA
               55 NEWPORT AVE
               SOMERSET, NJ
      000525-B 08873          $                     800.00 $            0.00 $         0.00 $           0.00
               JORGE
               HERNANDEZ JR
               26 BERGEN ST
               GARFIELD, NJ
      000530-B 07026                        $     2,293.20 $            0.00 $         0.00 $           0.00
               NYS DEPT OF
               TAXATION &
               FINANCE
               ATTN:
               BANKRUPTCY
               SECTION
               PO BOX 5300
               ALBANY, NY
      000557-C 12205                        $       266.01 $            0.00 $         0.00 $           0.00
               NYS DEPT OF
               TAXATION &
               FINANCE
               ATTN:
               BANKRUPTCY
               SECTION
               P O BOX 5300
               ALBANY, NY
      000563-C 12205                        $       266.01 $            0.00 $         0.00 $           0.00
               GLADYS PEREZ
               32 PARK PLACE
               NORTH
               PLAINFIELD, NJ
      000568-C 07060                        $       456.00 $            0.00 $         0.00 $           0.00
               MILTON L
               DELGADO
               RR6 BOX 6066A
               MOSCOW, PA
      000573-C 18444                        $     3,132.23 $            0.00 $         0.00 $           0.00




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                                                            Amount of         Payment to     Proposed
      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               TORRES, ALICIA
               107 PAULISON
               AVENUE
               PASSAIC, NJ
      000579-A 07055          $                     468.58 $            0.00 $         0.00 $           0.00
               CARTER, TONY
               914 ARMSTRONG
               BLVD. NORTH
               APT 2
               ST JAMES, MN
      000580-B 56081         $                      672.00 $            0.00 $         0.00 $           0.00
               GUTIERREZ,
               ANTONIA
               3860 CHEROKEE
               AVE. #6
               SAN DIEGO, CA
      000582-A 92104                        $       270.00 $            0.00 $         0.00 $           0.00
               REOME, THOMAS
               W.
               1025 GREGORY
               PLACE #3
               SCRANTON, PA
      000593-A 18504         $                      145.52 $            0.00 $         0.00 $           0.00
               BLANDINO,
               MARCOS
               PO BOX 1260
               PATERSON, NJ
      000613-C 07509                        $     1,937.00 $            0.00 $         0.00 $           0.00
                      MEDICIA
                      CORPORATION
                      POST OFFICE
                      BOX 1015
                      DAYTON, NJ
      000623          08810                 $    26,936.05 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               POLANCO-
               VALDEZ, ELSA
               1700 NEW YORK
               AVENUE
               APARTMENT 1
               UNION CITY, NJ
      000626-B 07087                        $        41.20 $            0.00 $         0.00 $           0.00
               FERNANDEZ,
               YULISSA
               583 CHARLES ST
               PERTH AMBOY,
      000656-A NJ 08861       $                     160.06 $            0.00 $         0.00 $           0.00
               QUINTANA,
               MARICRUZ
               813 EAST ELM
               STREET
               COMPTON, CA
      000660-B 90221                        $       310.16 $            0.00 $         0.00 $           0.00
               GEORGIA DEPT
               OF LABOR
               148 ANDREW
               YOUNG INTL
               BLVD
               STE 826
               ATLANTA, GA
      000662-A 30303                        $     1,800.71 $            0.00 $         0.00 $           0.00
               SUAREZ, FELIX
               609 LIBERTY
               AVENUE
               APT #1
               NORTH BERGEN,
      000672-B NJ 07047      $                      360.00 $            0.00 $         0.00 $           0.00
               PATINO, EFREN
               4 WESTERN AVE
               APT. 5
               HIGHTSTOWN, NJ
      000673-A 08520          $                     810.00 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               IRBY, CLEOPHAS
               3566 ROYAL
               ARMS DRIVE
               MEMPHIS, TN
      000686-B 38115          $                   2,300.00 $            0.00 $         0.00 $           0.00
               GENERAL
               ELECTRIC
               CAPITAL CORP
               1010 THOMAS
               EDISON BLVD SW
               CEDAR RAPIDS,
      000747-A IA 52404       $                     577.16 $            0.00 $         0.00 $           0.00
               WILLIAMS,
               DAMEON
               2358 LAROSE
               MEMPHIS, TN
      000757-B 38114                        $        72.03 $            0.00 $         0.00 $           0.00
                      GENERAL
                      ELECTRIC
                      CAPITAL CORP
                      1010 THOMAS
                      EDISON BLVD SW
                      CEDAR RAPIDS,
      000763          IA 52404       $            1,445.47 $            0.00 $         0.00 $           0.00
               ORR, PAUL
               302 10TH AVE
               SCRANTON, PA
      000770-B 18504                        $        64.37 $            0.00 $         0.00 $           0.00
               AMADOR, EMMA
               328 DEL RIO WAY
      000776-B VISTA, CA 92083 $                    553.90 $            0.00 $         0.00 $           0.00
               BRACY,
               TIMONTHY
               637 MAGONILA
               AVE
               ELIZABETH, NJ
      000778-B 07206                        $        68.00 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               CRUZADO,
               HIPOLITO
               138 PORT
               AVENUE
               ELIZABETH, NJ
      000784-A 07206                        $       640.00 $            0.00 $         0.00 $           0.00
               RAMIREZ, JULIO
               13177 1/2
               BROWONT
               SYLMAR, CA
      000796-B 91342          $                     273.00 $            0.00 $         0.00 $           0.00
               INDIANA DEPT
               OF REVENUE
               ATTN
               BANKRUPTCY
               SECTION ROOM
               N203
               100 N SENATE
               AVE
               INDIANAPOLIS,
      000912-C IN 46204                     $       192.22 $            0.00 $         0.00 $           0.00
               PENNSYLVANIA
               DEPT OF
               REVENUE
               COMMONWEALT
               H OF
               PENNSYLVANIA
               BANKRUPTCY
               DIVISION
               DEPARTMENT
               280946
               HARRISBURG, PA
      001036-C 17128          $                 122,062.83 $            0.00 $         0.00 $           0.00
                      ELAINE M SININS
                      35 SINCLAIR TER
                      SHORT HILLS, NJ
      001146          07078           $           1,655.54 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                    Claim Asserted Claim             Date           Payment
               VILLAHERMOSA,
               JERRY
               1740 BRILL ST
               PHILADELPHIA,
      001155-A PA 19124      $                     257.90 $            0.00 $         0.00 $           0.00
                      DYNAMIC
                      IMPROVEMENT
                      INC
                      1305 SIMPSON
                      WAY SUITE K
                      ESCONDIDO, CA
      001156          92029         $           16,415.36 $            0.00 $         0.00 $           0.00
                      AEROSOL
                      SERVICES INC.
                      C/O PAUL
                      HASTINGS
                      JANOFSKY &
                      WALKER LLP
                      ATTN: AYESHA
                      KHAN & LESLIE
                      PLASKON ESQS
                      1055
                      WASHINGTON
                      BLVD
                      STAMFORD, CT
      001201          06901         $           50,459.68 $            0.00 $         0.00 $           0.00
                      ACUPAC
                      PACKAGING, INC.
                      C/O PAUL
                      HASTINGS
                      JANOFSKY &
                      WALKER LLP
                      ATTN: AYESHA
                      KHAN & LESLIE
                      PLASKON ESQS
                      1055
                      WASHINGTON
                      BLVD
                      STAMFORD, CT
      001202          06901           $         20,131.66 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                    Claim Asserted Claim             Date           Payment
                      KOLMAR
                      LABORATORIES,
                      INC.
                      C/O PAUL
                      HASTINGS
                      JANOFSKY &
                      WALKER LLP
                      ATTN: AYESHA
                      KHAN & LESLIE
                      PLASKON, ESQS
                      1055
                      WASHINGTON
                      BLVD
                      STAMFORD, CT
      001203          06901         $           77,064.00 $            0.00 $         0.00 $           0.00
               CUEVAS,
               VERONICA
               678 DEL ROSA PL
               APT. D
               POMONA, CA
      001215-B 91768           $                   294.95 $            0.00 $         0.00 $           0.00
                      OUTSOURCING
                      SERVICES GROUP
                      INC
                      C/O PAUL
                      HASTINGS
                      JANOFSKY &
                      WALKER LLP
                      ATTN AYESHA
                      KHAN & LESLIE
                      PLASKON ESQS
                      1055
                      WASHINGTON
                      BLVD
                      STAMFORD, CT
      001219          06901          $         147,655.71 $            0.00 $         0.00 $           0.00
                      SORIDFORCE
                      TRANSPORTATIO
                      N INC
                      444 W 55TH
                      PLAINFIELD, NJ
      001231          07060          $          25,000.00 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
                      ERNESTO
                      SOCARRAS
                      1350 NW 28TH
      001291          MIAMI, FL 33142       $     3,153.00 $            0.00 $         0.00 $           0.00
               TOLEDO, EDWIN
               D
               41 1D CROWN
               CIRCLE
               SCRANTON, PA
      001298-C 18550         $                    1,578.73 $            0.00 $         0.00 $           0.00
               SALINAS, JOSE
               LUIS
               3333 MARINE
               AVENUE
               APARTMENT # 7
               GARDENA, CA
      001382-B 90249                        $       597.02 $            0.00 $         0.00 $           0.00
               NUNEZ PARAMO,
               MIRNA
               3333 MARINNE
               APARTMENT #7
               GARDENA, CA
      001383-B 90247         $                      237.48 $            0.00 $         0.00 $           0.00
               SALINAS, JOEL
               3333 MARINE
               AVENUE
               APARTMENT # 7
               GARDENA, CA
      001405-B 90249                        $       476.90 $            0.00 $         0.00 $           0.00
               URZUA, MARILU
               2532 L ST
               SAN DIEGO, CA
      001433-A 92102         $                    5,050.00 $            0.00 $         0.00 $           0.00
               URZUA MARILU
               2532 L ST
               SAN DIEGO, CA
      001434-B 92102         $                      250.00 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               STREBLOW,
               HEINZ
               3022
               WELLINGTON
               DRIVE
               PALMDALE, CA
      001481-C 93551                        $     1,070.70 $            0.00 $         0.00 $           0.00
               GONZALEZ, LUZ
               ELENA
               13632 SOUTH
               BERENDO
               GARDENA, CA
      001496-B 90247         $                      623.94 $            0.00 $         0.00 $           0.00
               ANABELA I
               RAMIREZ
               17 MARVIN AVE
               UNIONDALE, NY
      001557-A 11553         $                    1,312.00 $            0.00 $         0.00 $           0.00
                      GUTIERREZ
                      ANTONIA
                      3860 CHEROKEE
                      AVE #6
                      SAN DIEGO, CA
      001566          92104                 $       270.00 $            0.00 $         0.00 $           0.00
               MC GAVOC,
               PAMELA
               29009 DIXON ST
               10
               HAYWARD, CA
      001576-B 94544                        $     6,000.00 $            0.00 $         0.00 $           0.00
               HERRERA,
               MARIA F
               1207 W
               RICHMOND AVE.
               FORTWORTH, TX
      001580-A 76110         $                       10.00 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                    Claim Asserted Claim             Date           Payment
               OMNIGEN
               1740 W.KATELLA
               AVENUE
               STE G
               ORANGE, CA
      001619-C 92867          $                  2,923.98 $            0.00 $         0.00 $           0.00
               PASTOR, MARIA
               G.
               2706 PARKWAY
               DR
               EL MONTE, CA
      001645-A 91732         $                     500.00 $            0.00 $         0.00 $           0.00
               ROSE, MARJORIE
               5739 ENGLE RD
               APT D
               CARMICHAEL,
      001649-B CA 95608       $                 11,500.00 $            0.00 $         0.00 $           0.00
                      COLORADO DEPT
                      OF REVENUE
                      BANKRUPTCY
                      UNIT
                      1375 SHERMAN
                      ST
                      ATTN: NOEL D
                      HASSELGREN
                      BKCY
                      SUPERVISOR
                      DENVER, CO
      001654          80261         $            6,666.99 $            0.00 $         0.00 $           0.00
               MENDEZ,
               MATILDE
               460 N TWIN OAKS
               VALLEY R APT G
               SAN MARCOS, CA
      001673-B 92069           $                   334.30 $            0.00 $         0.00 $           0.00
               NEIRA LUZ
               ESTRELLA
               36 ELLIOT ST
      001683-A DOVER, NJ 07801 $                 2,841.00 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
                      NEIRA LUZ
                      ESTELLA
                      36 ELLIOT ST
      001720          DOVER, NJ 07801 $           2,841.00 $            0.00 $         0.00 $           0.00
               COLORADO DEPT
               OF REVENUE
               ATTN:
               BANKRUPTCY
               UNIT
               1375 SHERMAN
               ST RM 504
               DENVER, CO
      001747-A 80261         $                   10,758.91 $            0.00 $         0.00 $           0.00
                      NEIRA LUZ
                      ESTELLA
                      36 ELLIOT ST
      001751          DOVER, NJ 07801 $           2,841.00 $            0.00 $         0.00 $           0.00
               STATE OF NY
               DEPT OF LABOR
               UNEMPLOYMENT
               INS DIVISION
               GOV W AVERELL
               HARRIMAN
               STATE OFF BLDG
               BLDG 12 RM 256
               ALBANY, NY
      001762-B 12240          $                   4,215.94 $            0.00 $         0.00 $           0.00
               SHEPARD,
               NEKIMA
               2793 BREWER
               MEMPHIS, TN
      001777-A 38114                        $       620.00 $            0.00 $         0.00 $           0.00
               NATIONS
               SURGERY
               CENTERS LP
               PO BOX 515338
               LOS ANGELES,
      001861-A CA 90051                     $    40,699.29 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               ST LEDGER,
               BRIAN
               113 LIVINGSTON
               AVE.
               LYNDHURST, NJ
      001907-B 07071          $                  86,000.00 $            0.00 $         0.00 $           0.00
               NYS DEPT OF
               TAXATION &
               FINANCE
               ATTN:
               BANKRUPTCY
               SECTION
               P O BOX 5300
               ALBANY, NY
      001912-B 12205                        $       266.01 $            0.00 $         0.00 $           0.00
               WASHINGTON,
               LATOYA
               12799 S. 177 LANE
               GOODYEAR, AZ
      001916-A 85338             $                1,248.00 $            0.00 $         0.00 $           0.00
               INDIANA DEPT
               OF REVENUE
               BANKRUPTCY
               SECTION ROOM
               N203
               100 NORTH
               SENATE AVE
               INDIANAPOLIS,
      001992-C IN 46204                     $       192.22 $            0.00 $         0.00 $           0.00
               INDIANA DEPT
               OF REVENUE
               BANKRUPTY
               SECTION ROOM
               N203
               100 NORTH
               SENATE AVE
               INDIANAPOLIS,
      001993-A IN 46204                     $       495.01 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               ROSALES, RAUL
               8382 DURRA
               LANE
               FONTANA, CA
      002083-C 92335         $                      350.00 $            0.00 $         0.00 $           0.00
               WYOMING
               UNEMPLOYMENT
               TAX DIVISION
               WY
               UNEMPLOYMENT
               TAX DIV
               PO BOX 2760
               CASPER, WY
      002097-A 82602        $                       997.34 $            0.00 $         0.00 $           0.00
               DEPT OF
               INDUSTRIAL
               RELATIONS
               STATE OF
               ALABAMA
               649 MONROE ST
               MONTGOMERY,
      002102-A AL 36131                     $     2,546.50 $            0.00 $         0.00 $           0.00
                      GONZALEZ,
                      CARLOS PAZ
                      2270 LOGAN ST.
                      POMONA, CA
      002104          91767                 $     3,150.00 $            0.00 $         0.00 $           0.00
               AMBROSE,
               BRUCE
               720 N. 66TH ST.
               PHILADELPHIA,
      002107-A PA 19151                     $    50,000.00 $            0.00 $         0.00 $           0.00
                      PALLADINO,
                      VINCENT
                      1712 N WILLOW
                      ANAHEIM, CA
      002118          92807                 $       176.00 $            0.00 $         0.00 $           0.00




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               ELIAS, WILLIAM
               425 HIGH ST 4
               CHESTERTOWN,
      002166-C MD 21620       $                     800.00 $            0.00 $         0.00 $           0.00
               VALLECILLO,
               ROSA
               1400 NEW YORK
               AVE.
               PAT #1
               UNION CITY, NJ
      002180-A 07087                        $       373.04 $            0.00 $         0.00 $           0.00
               ERNESTO
               MOLORA
               683 W FRONT ST
               PLAINFIELD, NJ
      002221-B 07060          $                      35.00 $            0.00 $         0.00 $           0.00
               SC DEPARTMENT
               OF REVENUE
               PO BOX 12265
               COLUMBIA, SC
      002230-A 29211         $                    1,411.32 $            0.00 $         0.00 $           0.00
               MALDONADO,
               ALFONSO
               5133 S
               ARLINGTON
               LOS ANGELES,
      002246-B CA 90043                     $     1,780.00 $            0.00 $         0.00 $           0.00
               MIKE HOGAN
               TAX COLLECTOR
               C/O EDWARD C
               TANNEN ASST
               GEN COUNSEL
               117 W DUVAL ST
               480 CITY HALL
               JACKSONVILLE,
      002250-A FL 32202       $                     395.60 $            0.00 $         0.00 $           0.00




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      Claim No. Claimant                     Claim Asserted Claim             Date           Payment
               STEVE MANNING
               1308 SE 31ST
               STREET
               CAPE CORAL, FL
      002307-A 33904          $                   3,273.75 $            0.00 $         0.00 $           0.00
                      MARTINEZ,
                      RAYMOND
                      256 ALICE ST.
                      DINUBA, CA
      002344          93618                 $     4,925.00 $            0.00 $         0.00 $           0.00
               TN DEPT OF
               LABOR &
               WORKFORCE
               DEVELOPMENT
               C/O TN ATTY
               GENERAL
               BANKRUPTCY
               DIV
               PO BOX 20207
               NASHVILLE, TN
      002347-A 37202                        $    21,395.68 $            0.00 $         0.00 $           0.00
                      STATE OF
                      TENNESSEE
                      DEPT OF LABOR
                      & WORKFORCE
                      DEVELOPMENT
                      NASHVILLE, TN
      002350          37245         $            21,395.68 $            0.00 $         0.00 $           0.00
               ROMERO,
               BRAULIO
               14810 BLUEBRIAR
               ST
               MORENO
               VALLEY, CA
      002375-A 92553           $ 6,500,000.00 $                         0.00 $         0.00 $           0.00




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                                                           Allowed              Interim
                                                           Amount of            Payment to         Proposed
      Claim No. Claimant                    Claim Asserted Claim                Date               Payment
               NYS
               DEPARTMENT OF
               TAXATION AND
               FINANCE
               BANKRUPTCY
               SECTION
               P O BOX 5300
               ALBANY, NY
      002387-C 12205         $                      266.01 $              0.00 $           0.00 $             0.00
               NYS DEPT OF
               LABOR
               UNEMPLOYMENT
               INSURANCE DIV
               HARRIMAN
               STATE OFC BLDG
               CAMPUS
               BLDG 12, RM 256
               ALBANY, NY
      000176-B 12240           $                 28,793.42 $              0.00 $           0.00 $             0.00
               State of New Jersey
               Division of
               Employer Accounts
               PO Box 379
               Trenton, NJ 08625-
      000509-A 0379                $ 1,390,727.42 $                       0.00 $           0.00 $             0.00
                Total to be paid to secured creditors                                 $                       0.00
                Remaining Balance                                                     $             1,155,029.96


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                           Interim Payments Proposed
                         Reason/Applicant               Total Requested    to Date          Payment
      Trustee Fees: CHARLES M. FORMAN,
      TRUSTEE                                           $    232,636.86 $                 0.00 $      232,636.86
      Trustee Expenses: CHARLES M.
      FORMAN, TRUSTEE                                   $       2,413.46 $                0.00 $         2,413.46




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                                                                             Interim Payments Proposed
                         Reason/Applicant             Total Requested        to Date          Payment
      Attorney for Trustee Fees: FORMAN
      HOLT ELIADES & YOUNGMAN                         $      755,771.00 $         635,069.00 $      120,702.00
      Attorney for Trustee Expenses: FORMAN
      HOLT ELIADES & YOUNGMAN                         $       17,201.30 $          14,059.77 $         3,141.53
      Accountant for Trustee Fees: BEDERSON
      & COMPANY                                       $      221,108.75 $         194,767.25 $        26,341.50
      Accountant for Trustee Expenses:
      BEDERSON & COMPANY                              $        1,536.55 $           1,255.91 $           280.64
      Charges: CLERK, US BANKRTUPCY
      COURT                                           $        9,250.00 $           9,250.00 $               0.00
                Total to be paid for chapter 7 administrative expenses                 $            385,515.99
                Remaining Balance                                                      $            769,513.97


               Applications for prior chapter fees and administrative expenses have been filed as follows:

                                                                         Interim Payments
                         Reason/Applicant            Total Requested     to Date          Proposed Payment
      Attorney for Fees: FORMAN HOLT
      ELIADES & RAVIN LLC                            $       492,600.00 $         492,600.00 $               0.00
      Other: BROADSPIRE SERVICES INC                 $              0.00 $                 0.00 $            0.00
      Other: CHARLES M FORMAN,
      CHAPTER 11 TRUSTEE                             $       267,063.66 $         169,980.00 $        97,083.66
      Other: CHARLES M FORMAN,
      CHAPTER 11 TRUSTEE                             $           423.00 $                  0.00 $        423.00
      Other: FORMAN HOLT ELIADES &
      RAVIN LLC                                      $        11,135.70 $          11,135.70 $               0.00
                Total to be paid for prior chapter administrative expenses             $              97,506.66
                Remaining Balance                                                      $            672,007.31




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              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 8,070,421.19 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          NYS Dept ofTaxation &
                          Finance
                          Attn: Bankruptcy Section
                          PO BOX 5300
     000563-B             Albany, NY 12205-0300      $         0.00 $              0.00 $              0.00
                          Shana K Thom
                          11715 Goshen Ave
                          Los Angeles CA 90049-
     000514-B             6101                       $     4,925.00 $          4,925.00 $              0.00
                          Derya Churney
                          20 Goodwin Drive
                          North Brunswick, NJ
     000566-A             08902                      $     1,040.00 $          1,040.00 $              0.00
                          PATEL, SANDEEP
                          789 West Side Ave
     000567-A             Jersey City, NJ 07306      $     1,710.00 $          1,710.00 $              0.00
                          Gladys Perez
                          32 Park Place
     000568-A             North Plainfield, NJ 07060 $       456.00 $            456.00 $              0.00
                          Kris Kamath
                          1188 Rahway Avenue
     000569-A             Avenel, NJ 07001           $     2,794.31 $          2,794.31 $              0.00
                          OLIVA, KENNETH
                          8 Hale Court
     001852-A             Basking Ridge, NJ 07920    $     4,925.00 $          4,925.00 $              0.00
                          Carolina Ramirez
                          267 Handy Street
     000572-A             New Brunswick, NJ 08901 $          411.78 $            411.78 $              0.00
                          Milton L. Delgado
                          RR6 Box 6066A
     000573-A             Moscow, PA 18444           $     1,788.88 $          1,788.88 $              0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          Munir A Rizwani
                          2200 N. Central Road
                          Apt. 15N
     000396-A             Fort Lee, NJ 07024        $       887.05 $           887.05 $            0.00
                          Kris Kamath
                          1188 Rahway Avenue
     000398               Avenel, NJ 07001          $         0.00 $              0.00 $           0.00
                          Kenneth P. Oliva
                          8 Hale Court
     000520               Basking Ridge, NJ 07920   $         0.00 $              0.00 $           0.00
                          Dulal Pal
                          680 Lakeside Dr
     000402               Baldwin, NY 11510         $     3,391.00 $          3,391.00 $           0.00
                          Andrew J. Boland
                          111 Bentley Avenue
     000403               Old Bridge, NJ 08857      $     3,580.82 $          3,580.82 $           0.00
                          Jay J. Brown
                          528 Cook Avenue
     000522-A             Middlesex, NJ 08846       $     1,794.87 $          1,794.87 $           0.00
                          Migdalia Vega
                          2 Calle Arenas
     000404               Vega Baja, PR 00693-6102 $      1,160.00 $          1,160.00 $           0.00
                          Tennessee Department of
                          Revenue
                          C/O Attorney General
                          PO Box 20207
     000405               Nashville,TN 37202        $         0.00 $              0.00 $           0.00
                          Isidro Samia
                          57 Fulton St
     000523               East Orange,NJ 07017      $     1,222.00 $          1,222.00 $           0.00
                          Galina Tilipman
                          3 Beacon Avenue
     000524               Livingston, NJ 07039      $         0.00 $              0.00 $           0.00
                          Mary Evans
                          210 E. Elm Street
                          1st Floor
     000384               Linden, NJ 07036          $     1,128.00 $          1,128.00 $           0.00




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                                                      Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                    of Claim           to Date          Payment
                          Helaine Guerino
                          12 Trenton Place
     000385               Newton, NJ 07860           $          0.00 $              0.00 $           0.00
                          Denise Armand
                          180 Robert Pl.
     000386               South Plainfield, NJ 07080 $          0.00 $              0.00 $           0.00
                          Sadith Zavala
                          55 Newport Ave.
     000525-A             Somerset, NJ 08873         $          0.00 $              0.00 $           0.00
                          Sonia Lopez Simpson
                          707 Hory St.
     000387-A             Cranford, NJ 07016         $      4,925.00 $          4,925.00 $           0.00
                          Francisca Nazario
                          18 Remsen Ave.
     000388               New Brunswick, NJ 08901 $             0.00 $              0.00 $           0.00
                          Eugenia Gutierrez
                          211 Westfield Ave., 3rd Fl.
     000529               Elizabeth,NJ 07208          $        31.49 $            31.49 $            0.00
                          Melissa Russitano
                          18 No. Wickom Dr
     000389               Westfeild NJ 07090         $        120.00 $           120.00 $            0.00
                          Vanessa Beneciuk
                          1511 Winans Ave
     000390-A             Linden, NJ 07036           $      1,872.00 $          1,872.00 $           0.00
                          Deanna K. Renninger
                          246 E North St
     000532-A             Bethlehem, PA 18018        $      3,267.28 $          3,267.28 $           0.00
                          Susan L. Scrudato
                          178 Raab Ave.
     000391               Bloomfield, NJ 07003       $      2,537.92 $          2,537.92 $           0.00
                          Juan Ramirez
                          372 1st Avenue
                          Elizabeth, New Jersey
     000513               07206                      $        148.07 $           148.07 $            0.00
                          Philip Lembo
                          8165 E. Hayden Court
     000393-A             Anaheim Hills, CA 92808    $      4,925.00 $          4,925.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          Reinaldo Rodriguez
                          1308 E. Main St. Apt. 3
     000533               Rochester, NY 14609       $     1,440.00 $          1,440.00 $           0.00
                          Katherine Hemingway
                          1892 Saint Paul Street
     000534               Rochester, NY 14621       $     1,748.00 $          1,748.00 $           0.00
                          Alan Martinez
                          67 Revere Ave
     000430               Union, NJ 07083-4236      $         0.00 $              0.00 $           0.00
                          Heubert Rivera
                          6 Amfen Ct.
                          Bay Shore, NY 11706-
     000535-A             3313                      $     1,828.00 $          1,828.00 $           0.00
                          Beth Wilklow
                          152 English Rd.
     000536               Rochester, NY 14619       $     1,932.00 $          1,932.00 $           0.00
                          Andrea Murray
                          192 Drum Cliff Way
     000537               Rochester, NY 14612       $     4,176.80 $          4,176.80 $           0.00
                          Jesus Colon
                          136 Giles Ave.
     000432-B             Middlesex, NJ 08846       $     4,925.00 $          4,925.00 $           0.00
                          Vishakha Kamath
                          PO Box 7942
     000538               Princeton, NJ 08543       $     1,287.00 $          1,287.00 $           0.00
                          Garden State Check
                          Cashing Service, Inc.
                          359 Long Ave.
     000433               Hillside, NJ 07205        $     2,768.38 $          2,768.38 $           0.00
                          Thaddeus Kucharyk
                          1 Michael Ct.
     000435-A             Pompton Plains, NJ 07444 $      4,925.00 $          4,925.00 $           0.00
                          John Sherwood
                          Lowenstein Sandler
                          65 Livington Ave.
     000437-A             Roseland NJ 07068         $         0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          Diana Roby
                          1110 Columbus Ave.
     000539-A             Westfield,NJ 07090        $     2,884.00 $          2,884.00 $           0.00
                          SHPITAL, ALEXANDRA
                          3206 Appleton Way
     000540               Whippany, NJ 07981 $            1,747.20 $          1,747.20 $           0.00
                          Gladys Galarza
                          1316 N. Randolph St.
     000439-A             Philadelphia. PA 19122    $        20.00 $            20.00 $            0.00
                          JIMENEZ, JORGE
                          620 N Church Ave.
     000494               Rialto, CA 92376          $         0.00 $              0.00 $           0.00
                          Ana Torrado Nguyen
                          33 Milton Rd.
     000542-A             Sparta, NJ 07871          $     1,899.98 $          1,899.98 $           0.00
                          Eucario Velasquez
                          4200 Sunnyview Rd.
                          NE Apt. 224
     000495               Salem, OR 97305-2576      $         0.00 $              0.00 $           0.00
                          Jose Vargas
                          10740 Fracar
     000496               Lynwood, CA 90262         $       639.94 $           639.94 $            0.00
                          Antonio Torres
                          1245 Daisy St, # 1
     000497               Long Beach, CA 90806      $         0.00 $              0.00 $           0.00
                          Jiaro Suarez
                          1345 Cedar Ave
     000498               Long Beach, CA 90813      $       358.04 $           358.04 $            0.00
                          Israel Vallejo Sosa
                          543 W Maitland St
     000499               Ontario, CA 91762         $       420.35 $           420.35 $            0.00
                          Humberto J Silva
                          1437 S Mc Donnell ave
     000500               Commerce, CA 90040        $     1,372.26 $          1,372.26 $           0.00
                          Isaias Sacristan
                          1869 Harbor Avenue, # 3
     000501               Long Beach, CA 90810      $       704.64 $           704.64 $            0.00




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                                                      Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                    of Claim           to Date          Payment
                          RODRIGUEZ,
                          GILBERTO
                          1616 1/2 E San Vicente St
     000077-B             Compton, CA 90221           $       746.10 $           746.10 $            0.00
                          Florencio Rivera
                          1519 E 10th St, # 5
     000503               Long Beach, CA 90805        $         0.00 $              0.00 $           0.00
                          Oscar Ramirez
                          1467 E Elm Court, # B
     000504               Ontario, CA 91761           $       394.48 $           394.48 $            0.00
                          Hipolito Ramirez
                          1467 E Elma Ct
     000452               Ontario, CA 91764           $         0.00 $              0.00 $           0.00
                          Oscar Perez
                          1031 1/2 Pacific Avenue
     000453               Long Beach, CA 90813        $       343.67 $           343.67 $            0.00
                          Juan Peralta
                          9973 Central Ave.
     000454               Montclair, CA 91763-3202 $          213.74 $           213.74 $            0.00
                          Juan Manuel Paz
                          6746 Gage Avenue
     000455               Bell Gardens, CA 90201      $       351.00 $           351.00 $            0.00
                          Alfonso Ortiz
                          2209 E El Segundo, # 7
     000456               Compton, CA 90222           $         0.00 $              0.00 $           0.00
                          Alejo Orosco
                          12424 Breezewood Dr, Apt
                          11
     000457               Whittier, CA 90604       $          232.44 $           232.44 $            0.00
                          Sergio Orejel
                          9222 Dorothy Avenue
     000458-A             South Gate, CA 90280        $       242.13 $           242.13 $            0.00
                          Jose Orejel
                          9222 Dorothy Avenue
     000459               South Gate, CA 90280        $       330.25 $           330.25 $            0.00




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                                                      Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                    of Claim           to Date          Payment
                          Martin Mendoza
                          15704 Orange Avenue, Apt
                          142
     000460               Paramount, CA 90723      $          246.15 $           246.15 $            0.00
                          Jorge Magana
                          1718 E Flora St, # B
     000461-A             Ontario, CA 91764           $       659.27 $           659.27 $            0.00
                          ALberto Luna
                          1432 Nocta St, # C
     000462               Ontario, CA 91764           $       233.40 $           233.40 $            0.00
                          Mauro Lopez
                          3238 Pontiac Ave
     000463               Riverside, CA 92509         $       508.04 $           508.04 $            0.00
                          Arturo Lopez
                          1016 E. Deodar St, Apt. 5
     000464               Ontario, CA 91764           $       376.35 $           376.35 $            0.00
                          Javier Hernandez
                          7622 9th St, Apt B
     000465               Evena Park, CA 90621        $       196.93 $           196.93 $            0.00
                          Daniel Garcia
                          417 E 118th St
     000466               Los Angeles, CA 90061       $       453.93 $           453.93 $            0.00
                          Jose Godinez
                          1900 Campus Ave
     000467               Ontario, CA 91761           $         0.00 $              0.00 $           0.00
                          Jose Sanchez Cruz
                          7005 Watcher St
     000468               Commerce, CA 90040          $       376.89 $           376.89 $            0.00
                          Jose Cruz
                          14632 San Jose Ave
     000469               Paramount, CA 90723         $       337.11 $           337.11 $            0.00
                          Enrique Colin
                          6840 Bear Ave
     000470               Bell, CA 90201              $         0.00 $              0.00 $           0.00
                          Salvador Chavez
                          1267 N Marin Avenue
     000471               Wilmington, CA 90744        $       376.81 $           376.81 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          Carmelo Cardenas
                          8550 Rose St
     000472               Bell Flower, CA 90706     $       345.53 $           345.53 $            0.00
                          Gabriel Arenivar
                          627 W 5th Street
     000473               Long Beach, CA 90813      $       216.95 $           216.95 $            0.00
                          Jose Aranda
                          6746 Gage Avenue
     000474               Bell Gardens, CA 90201    $       434.81 $           434.81 $            0.00
                          Andres Aranda
                          6746 Gage Ave
     000475               Bell Gardens, CA 90201    $       713.74 $           713.74 $            0.00
                          Genaro Gonzalez Aparicia
                          625 N Island
     000493               Wilmington, CA 90745     $        453.93 $           453.93 $            0.00
                          Alfredo Alcala
                          9716 Cedar St
                          Bellflower, CA 90706-
     000440               6620                      $       329.79 $           329.79 $            0.00
                          Rosalino Adame
                          1467 E Elma- #B
     000441               Ontario, CA 91764         $       356.37 $           356.37 $            0.00
                          Carrie Porvaznik
                          103 Crown Ave
     000444-A             Scranton, PA 18505-2002   $     2,161.00 $          2,161.00 $           0.00
                          Rocio Schult
                          10651 Oakbend
     000543-A             San Diego, CA 92131       $     1,760.00 $          1,760.00 $           0.00
                          Tennessee Department of
                          Revenue
                          C/O Attorney General
                          PO Box 20207
     000519               Nashville,TN 37202        $         0.00 $              0.00 $           0.00
                          Lisa Aviles
                          153 Race Street
     000544               Elizabeth, NJ 07202       $         0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          Jennifer Denmead
                          12753 Indian Trail Rd.
     000394-A             Poway, CA 92064           $     4,925.00 $          4,925.00 $           0.00
                          Jeffrey Winders
                          370 W. 33rd Ave.
     000395-A             Marion,IA 52302           $     4,925.00 $          4,925.00 $           0.00
                          Kathy A. Custer
                          13 Maplewood Ave.
     000447               Fairfield, NJ 07004       $       649.21 $           649.21 $            0.00
                          Judy Deligne-Ramos
                          411 Brennan Ct.
     000546               S. Plainfield, NJ 07080   $         0.00 $              0.00 $           0.00
                          Monica H Lazorchak
                          270 McFarlane Rd. Apt
                          159
     000382-A             Colonia , NJ 07067        $     1,576.95 $          1,576.95 $           0.00
                          State of New York-Dept of
                          Labor/UI Div
                          Governor W. Averell
                          Harriman State Offic
                          Building 12 Room 256
     000510               Albany, NY 12240          $         0.00 $              0.00 $           0.00
                          Anne Rush
                          115 Gales Drive
                          Apt. D4
     000418-A             New Providence, NJ 07974 $      2,652.00 $          2,652.00 $           0.00
                          Jaime Cervantes
                          6323 Clyde Street
     000548-A             San Diego, CA 92139       $       373.59 $           373.59 $            0.00
                          Ricardo Elizondo
                          3770 Sunset Lane
     000419               San Ysidro, CA 92173      $       223.08 $           223.08 $            0.00
                          Carolyn Higgerson
                          2223 Del Mar Scenic
                          Parkway
     000420               Del Mar, CA 92014         $     2,375.57 $          2,375.57 $           0.00




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                                                      Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                    of Claim           to Date          Payment
                          Katherine Hemingway
                          1892 Saint Paul Street
     000421               Rochester, NY 14621         $       264.25 $           264.25 $            0.00
                          Airport Gateway Plaza,
                          LLC
                          (fka Marian C. Aden Trust)
                          638 Lindero Canyon Road,
                          #508
     000551-B             Oak Park, CA 91377         $          0.00 $              0.00 $           0.00
                          State of New Jersey
                          Division of Employer
                          Accounts
                          PO Box 379
     000509-B             Trenton, NJ 08625-0379      $    12,774.84 $              0.00 $       1,136.40
                          Lawrence J. Macaro
                          35 Ackerman Ave.
     000552-A             Milltown, NJ 08850          $     4,925.00 $          4,925.00 $           0.00
                          Paul Marion
                          2618 Lloyd Lane
     000422-A             Norristown, PA 19403        $     4,625.06 $          4,625.06 $           0.00
                          Hernando Soto
                          54 Dekart Pl
     000423-A             Elizabeth, NJ 07202         $       426.92 $           426.92 $            0.00
                          Select Personnel Services
                          Attn Stephanie Schaefer
                          3820 State Street
     000426               Santa Barbara, Ca. 93105    $         0.00 $              0.00 $           0.00
                          Lori-Beth Williams
                          169 Youngs Ave.
     000427               Rochester, NY 14606-3845 $          173.29 $           173.29 $            0.00
                          Margaret J Hancock
                          1052 Cherbourg Ave E
     000429-A             Jacksonville FL 32205       $     4,925.00 $          4,925.00 $           0.00
                          Geoffrey M Stiles, MD
                          7910 Frost St., Suite 430
     000512-A             San Diego, CA 92123-2795 $            0.00 $              0.00 $           0.00




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                                                     Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                   of Claim             to Date          Payment
                          Monica Garcia
                          140 Palm Ave
     000553               National City CA 91950    $       4,524.00 $           4,524.00 $           0.00
                          Xiomara Ceballos
                          PO Box 7254
                          North Brunswick, NJ
     000413               08902                     $           0.00 $               0.00 $           0.00
                          Department of the Treasury
                          IRS
                          POB 9112
                          JFK Bldg Stop 20800
     001037-A             Boston, MA 02203           $   1,663,299.64 $              0.00 $     147,960.61
                          Office of Unemployment
                          Comp Tax Services
                          Commonwealth of PA
                          Dept of Labor & Industry
                          1171 S. Cameron St, Rm
                          312
     001856-A             Harrisburg, PA 17104-2513 $     230,617.56 $               0.00 $      20,514.83
                          General Electric Capital
                          Corp.
                          1010 Thomas Edison Blvd.
                          S.W.
     000484               Cedar Rapids, IA 52404   $            0.00 $               0.00 $           0.00
                          Robert Seaman
                          P.O. Box 2107
     000478-A             Pocono Summit, PA 18346 $         2,856.74 $           2,856.74 $           0.00
                          General Electric Capital
                          Corp.
                          1010 Thomas Edison Blvd.
                          S.W.
     000481               Cedar Rapids, IA 52404   $            0.00 $               0.00 $           0.00
                          Commonwealth of KY
                          Revenue Cabinet
                          100 Fair Oaks 5th Fl
                          PO Box 491
                          Attn: Wendy L. Stephens
                          Frankfort ,Kentucky
     000326               40602-0491                $           0.00 $               0.00 $           0.00




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                                                      Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                    of Claim           to Date          Payment
                          NYS Dept of Taxation &
                          Finance
                          Attn: Bankruptcy Section
                          PO BOX 5300
     000557-A             Albany, NY 12205-0300       $         0.00 $              0.00 $            0.00
                          Dept of Revenue, State of
                          Oregon
                          Attn: Gloria Carter,
                          Bankruptcy Tech
                          Revenue Bldg, 955 Center
                          Street NE
     000558-A             Salem, OR 87301-2555        $       287.07 $              0.00 $           25.54
                          Ohio Dept of Taxation
                          c/o Ohio Attorney General
                          Collection Enforcement
                          150 E Gay St, 21st Fl
     000574-A             Columbus Ohio 43215       $         540.80 $              0.00 $           48.11
                          State of Louisiana
                          Dept. of Revenue
                          P.O. Box 66658
                          Baton Rouge, LA 70896-
     000703               6658                        $         0.00 $              0.00 $            0.00
                          NEVADA DEPARTMENT
                          OF TAXATION
                          ATTN: BANKRUPTCY
                          SECTION
                          555 E. WASHINGTON
                          AVE #1300
     001523-B             LAS VEGAS, NV 89101 $                 0.00 $              0.00 $            0.00
                          Elaine L. Chao, Secretary
                          of Labor
                          Patricia M. Rodenhausen
                          Reg Solicitor
                          U.S. Department of Labor
                          201 Varick Street, Room
                          983
                          New York, New York
     001998-B             10014                       $    21,688.10 $         21,688.10 $            0.00




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          Lumbermens Mutual
                          Casualty Co
                          & its affilates American
                          Protection Ins
                          c/o Cole Schotz et al
                          Attn:Gerald Gline
                          Court Plz N, 25 Main
                          Street
                          P.O. Box 800
                          Hackensack, NJ 07602-
     001527-B             0800                       $         0.00 $              0.00 $             0.00
                          Indiana Dept. of Workforce
                          Development
                          Worker Training Fund
                          Attn: Beverly Korobkin
                          10 North Senate Ave.
                          Indianapolis, IN 46204-
     001573-A             2277                       $       692.43 $              0.00 $            61.60
                          State of New York-Dept of
                          Labor/UI Div
                          Governor W. Averell
                          Harriman State Offic
                          Building 12 Room 256
     001762-A             Albany, NY 12240          $    147,820.66 $              0.00 $      13,149.55
                          South Carolina
                          Employment Security
                          Commission
                          Legal Department
                          PO Box 995
                          Columbia, South Carolina
     001956               29202                      $         0.00 $              0.00 $             0.00
                          Dept of Finance & Admin
                          Cabinet
                          Kentucky Revenue Cabinet
                          100 Fair Oaks 5th Fl, PO
                          Box 491
                          Frankfort ,Kentucky
     001962-B             40602-0491               $       3,096.43 $              0.00 $           275.45




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          NYS Dept of Taxation &
                          Finance
                          Attn: Bankruptcy Section
                          PO Box 5300
     002411-B             Albany, NY 12205-0300      $   215,191.33 $              0.00 $      19,142.58
                          State of Iowa
                          Iowa Dept. of Revenue
                          Accounts Receivable
                          Hoover Stat Office Bldg.
     001971-A             Des Moines, IA 50319       $         0.00 $              0.00 $             0.00
                          Iowa Department of
                          Revenue
                          Accounts Receivable
                          Hoover State Office
                          Building
     001995               Des Moines, IA 50319       $       809.97 $              0.00 $            72.05
                          Maryland Dept. of Labor,
                          Licensing and Regulation
                          1100 North Eutaw Street
                          Room 401
     000008               Baltimore, MD 21201        $         0.00 $              0.00 $             0.00
                          Kentucky Department of
                          Revenue
                          Legal Branch-Bankruptcy
                          Section
                          Attn: Leanne Warren
                          PO Box 5222
     002148-A             Frankfort,KY 40602         $     4,806.04 $              0.00 $           427.53
                          Indiana Dept. of Workforce
                          Dev.
                          c/o Collection Enforcement
                          Unit
                          Attn:Beverly A. Korobkin
                          10 N. Senate Ave.
                          Indianapolis, IN 46204-
     002334-A             2277                       $       749.30 $              0.00 $            66.65




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          Indiana Dept. of Workforce
                          Dev.
                          c/o Collection Enforcement
                          Unit
                          Attn:Beverly A. Korobkin
                          10 N. Senate Ave.
                          Indianapolis, IN 46204-
     002333-A             2277                       $     7,578.00 $              0.00 $           674.10
                          City of Philadelphia
                          c/o Ashely M. Chan,
                          Esquire
                          Hangley Aronchick Segal
                          & Pudlin
                          One Logan Square, 27th
                          Floor
     002369-A             Philadelphia, PA 19103    $     39,241.02 $              0.00 $       3,490.73
                          SCOTT MCCULLOCH
                          226 TIMBER DR
                          BERKLEY HEIGHTS, NJ
     000002               07922               $            1,912.54 $          1,912.54 $             0.00
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          ATTN BANKRUPTCY
                          DIVISION
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          DEPT 280946
     000007-B             HARRISBURG, PA 17128 $               0.00 $              0.00 $             0.00
                          MARYLAND DEPT OF
                          LABOR LIC &
                          REGULATION
                          1100 N EUTAW ST RM
                          401
     000009               BALTIMORE, MD 21201 $                0.00 $              0.00 $             0.00
                          MARYLAND DEPT OF
                          LABOR LIC &
                          REGULATION
                          1100 N EUTAW ST RM
                          401
     000010               BALTIMORE, MD 21201 $                0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MARYLAND DEPT OF
                          LABOR, LICENSING &
                          REG
                          1100 NORTH EUTAW
                          ST, RM 401
     000011-A             BALTIMORE, MD 21201 $             738.98 $              0.00 $           65.74
                          MARYLAND DEPT OF
                          LABOR, LICENSING &
                          REG
                          1100 NORTH EUTAW
                          ST, RM 401
     000012               BALTIMORE, MD 21201 $               0.00 $              0.00 $            0.00
                          TAMMY J. KROUSE
                          1512 WATERSIDE DR. N
     000016-A             CHESAPEAKE, VA 23320 $          4,925.00 $          4,925.00 $            0.00
                          MARCY L TSCHIDA
                          5127 PRAIRIE GRASS LN
                          COLORADO SPRINGS,
     000021-B             CO 80922              $           960.00 $           960.00 $             0.00
                          JERRI T WISE
                          882 CRYSTAL WATER
                          COURT
                          LAWRENCEVILLE, GA
     000022-A             30045                    $      1,730.76 $          1,730.76 $            0.00
                          KAREN C PERIERA
                          1284 WHITE ST
     000046               HILLSIDE, NJ 07205       $      4,337.60 $          4,337.60 $            0.00
                          MOZO, AMANDA
                          4736 32nd ST #D
     000049               SAN DIEGO, CA 92116      $      2,000.00 $          2,000.00 $            0.00
                          TRACEY ALBANKIS
                          146 W 9TH ST
     000050               ROSELLE, NJ 07203        $          0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          OHIO BUREAU OF
                          WORKERS
                          COMPENSATION
                          LAW SECTION
                          BANKRUPTCY UNIT
                          30 W SPRING ST
                          PO BOX 15567
     000051-A             COLUMBUS, OH 43215       $      1,381.81 $              0.00 $           122.92
                          TEXAS WORKFORCE
                          COMMISSION
                          TAX & LABOR LAW
                          DEPT
                          ATTN: STEVE WHITE
                          TWC BUILDING
     000053               AUSTIN, TX 78778         $          0.00 $              0.00 $             0.00
                          STATE OF NEW JERSEY
                          DEPARTMENT OF
                          TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     000054               TRENTON, NJ 08695   $         154,722.70 $              0.00 $      13,763.52
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     000055               TRENTON, NJ 08695   $               0.00 $              0.00 $             0.00
                          STATE OF NEW JERSEY
                          DEPARTMENT OF
                          TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     000056               TRENTON, NJ 08695   $               0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NEW JERSEY
                          DEPARTMENT OF
                          TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     000057               TRENTON, NJ 08695   $               0.00 $              0.00 $             0.00
                          STATE OF MARYLAND
                          ATTN: MARY T CARR,
                          COMPTROLLER OF MD
                          RM 409, STATE OFFICE
                          BUILDING
                          301 W PRESTON ST
     000058-A             BALTIMORE, MD 21201 $          11,161.00 $              0.00 $           992.84
                          STATE OF MARYLAND
                          ATTN: MARY T CARR,
                          COMPTROLLER OF MD
                          RM 409, STATE OFFICE
                          BUILDING
                          301 W PRESTON ST
     000059-B             BALTIMORE, MD 21201 $               0.00 $              0.00 $             0.00
                          VIQUES, ANA ROSA
                          155 BROADWAY
                          STREET
     000060               ELIZABETH, NJ 07206      $          0.00 $              0.00 $             0.00
                          STATE OF NY DEPT OF
                          LABOR
                          UNEMPLOYMENT
                          INSURANCE DIV
                          HARRIMAN STATE
                          OFFICE BLDG CAMPUS
                          BUILDING 12, ROOM
                          256
     000061               ALBANY, NY 12240    $           2,440.53 $              0.00 $           217.10
                          SAM, RIJU
                          248-23, 89th AVE
     000066-A             BELLEROSE, NY 11426      $          0.00 $              0.00 $             0.00
                          WILLIAMS, DEIDRA
                          4876 APPLESTONE
     000069-A             MEMPHIS, TN 38109        $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          VERGARA, ROSA
                          POST OFFICE BOX 86
     000071-A             STANHOPE, NJ 07874       $          0.00 $              0.00 $           0.00
                          PANUSKY, PAUL
                          249 S. KEYSER AVE. #R
                          OLD FORGE, PA 18518-
     000073               1150                  $             0.00 $              0.00 $           0.00
                          AGUILAR, MAURILIO
                          530 NORTH STREET
                          MIDDLETOWN, NY
     000076-A             10940                    $         95.77 $            95.77 $            0.00
                          RAMOS JR, FELIX
                          4 FROGTOWN ROAD
     000079               PEQUEA, PA 17545         $        830.00 $           830.00 $            0.00
                          CLINTON, V. NANCY
                          1915 ALFA DRIVE
     000084-B             LANCASTER, PA 17601      $          0.00 $              0.00 $           0.00
                          TURLEY, JEROME
                          4389 39TH ST. #7
     000091-A             SAN DIEGO, CA 92105      $          0.00 $              0.00 $           0.00
                          THOMAS, DERRICK
                          1961 NEPTUNE DR
     000092               AUGUSTA, GA 30906        $      1,050.00 $          1,050.00 $           0.00
                          BRIONES, MARLENE
                          21 AMITY ST
     000099-B             ELIZABETH, NJ 07202      $          0.00 $              0.00 $           0.00
                          URIBE, ORLANDO
                          24969 WALNUT ST.#106
     000104-A             NEWHALL, CA 91321    $            246.15 $           246.15 $            0.00
                          ATLANTIC SERVICE
                          401 ROUTE 10
     000105-A             WHIPPANY, NJ 07054       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE BOARD OF
                          EQUALIZATION
                          SPECIAL PROCEDURES
                          SECTION, MIC 55
                          PO BOX 942879
                          SACRAMENTO, CA
     000106               94279              $           11,184.24 $              0.00 $           994.91
                          HANACARE REHAB
                          SERVICES
                          1771 EDGEWOOD AVE.
                          W.
                          JACKSONVILLE, FL
     000108               32208                    $          0.00 $              0.00 $             0.00
                          UTAH STATE TAX
                          COMMISSION
                          210 NORTH 1950 WEST
                          SALT LAKE CITY, UT
     000109-A             84134                    $      1,300.00 $              0.00 $           115.64
                          RODRIGUEZ ESPINAL,
                          JOSE J
                          35-61 92ND STREET
                          APARTMENT 2G
                          JACKSON HEIGHTS, NY
     000110               11372               $               0.00 $              0.00 $             0.00
                          ROBIN HARRISON
                          9203 ESTACIA STREET
                          RANCHO
     000111               CUCAMONGA, CA 91730 $               0.00 $              0.00 $             0.00
                          PABRINKIS LYNNE
                          58 MARLBANK DRIVE
     000112-A             ROCHESTER, NY 14612      $          0.00 $              0.00 $             0.00
                          HARDY, CHARLIE
                          195W. MARKET ST #4F
     000115-A             NEWARK, NJ 07103         $          0.00 $              0.00 $             0.00
                          PATEL, SANDEEP
                          789 WEST SIDE
                          AVENUE
     000116               JERSEY CITY, NJ 07306    $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DE LA CRUZ, ERIN
                          185 OLD TURNPIKE
                          ROAD
                          PORT MURRAY, NJ
     000119-B             07865                    $          0.00 $              0.00 $           0.00
                          TORRES, CARMEN E
                          407 EAST NEW STREET
     000125               MOUNTVILLE, PA 17554 $            258.84 $           258.84 $            0.00
                          BLOEM, RANDALL
                          251 SIMMELL ROAD
                          CLARKS SUMMIT, PA
     000126-A             18411                    $          0.00 $              0.00 $           0.00
                          MERRILYN H GALANTE
                          3999 OLD TOWN AVE
                          D#1
     000129-B             SAN DIEGO, CA 92110 $           3,162.81 $          3,162.81 $           0.00
                          PEGNATO & PEGNATO
                          BUILDING SYSTEMS
                          INC
                          ATTN: JEFFREY T
                          BOLSON
                          HAHN & BOLSON LLP
                          1000 WILSHIRE BLVD,
                          STE 1600
                          LOS ANGELES, CA
     000132-B             90017               $               0.00 $              0.00 $           0.00
                          PATRICIA L JARRETT
                          608 SE SHILOH DR
                          LEES SUMMET, MO
     000133-A             64063                    $      2,888.89 $          2,888.89 $           0.00
                          BRIONES, MARLENE
                          21 AMITY ST
     000135-B             ELIZABETH, NJ 07202      $          0.00 $              0.00 $           0.00
                          CASWELL JR, HARRY
                          621 R ALDER STREET
     000137-A             SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WOJCIECHOWSKI,
                          WILLIAM J
                          983 MOESSNER
                          AVENUE
     000139               UNION, NJ 07083          $          0.00 $              0.00 $           0.00
                          LEWEY, GREGG
                          16444 GERMAIN
                          STREET
                          GRANADA HILLS, CA
     000143               91344                    $          0.00 $              0.00 $           0.00
                          GUZMAN, OSCAR
                          5 FAIRFIELD CIRCLE
                          APT 1A
     000148-B             BRENTWOOD, NY 11717 $               0.00 $              0.00 $           0.00
                          AGUILA RAM,
                          ROBERTO
                          457 S CHATERTON
                          AVENUE
     000150-A             LA PUENTA, CA 91744      $          0.00 $              0.00 $           0.00
                          RUVALCABA, JOSE
                          1725 BON AIR
     000157-B             STOCKTON, CA 95210       $          0.00 $              0.00 $           0.00
                          FICHTNER, LAURIE R
                          1313 FRONT STREET
     000162               LITITZ, PA 17543         $        481.36 $           481.36 $            0.00
                          CAPALDO, MICHELE
                          566 GENESEE AVENUE
                          STATEN ISLAND, NY
     000165               10312                    $      1,600.00 $          1,600.00 $           0.00
                          CHAROWSKY,
                          RICHARD M
                          512 SOUTH MILL
                          STREET
     000166-A             SAINT CLAIR, PA 17970 $             0.00 $              0.00 $           0.00
                          JEFFREY L FIELDS
                          35 S FRANKLIN ST
                          WILKES-BARRE, PA
     000167               18701                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          COGDELL, DARYLL
                          510 BROAD ST
     000172-A             NEWARK, NJ 07102         $          0.00 $              0.00 $           0.00
                          NYS DEPT OF LABOR
                          UNEMPLOYMENT
                          INSURANCE DIV
                          HARRIMAN STATE OFC
                          BLDG CAMPUS
                          BLDG 12, RM 256
     000176-A             ALBANY, NY 12240   $           28,793.62 $              0.00 $       2,561.37
                          STATE OF NEW JERSEY
                          DIVISION OF
                          EMPLOYER ACCOUNTS
                          PO BOX 379
     000177               TRENTON, NJ 08625   $               0.00 $              0.00 $           0.00
                          STATE OF MISSOURI
                          DEPARTMENT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     000178-A             65105                    $          0.00 $              0.00 $           0.00
                          STATE OF MISSOURI
                          DEPARTMENT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     000179               65105                    $          0.00 $              0.00 $           0.00
                          STATE OF MISSOURI
                          DEPARTMENT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     000180-A             65105                    $          0.00 $              0.00 $           0.00
                          STATE OF WISCONSIN
                          DEPT OF REVENUE
                          2135 RIMROCK RD
     000181-B             MADISON, WI 53713        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF WISCONSIN
                          DEPT OF REVENUE
                          2135 RIMROCK RD
     000182-A             MADISON, WI 53713        $          0.00 $              0.00 $             0.00
                          STATE OF WISCONSIN
                          DEPT OF REVENUE
                          2135 RIMROCK RD
     000183-B             MADISON, WI 53713        $          0.00 $              0.00 $             0.00
                          FORD, OLIVER
                          3532 LARKIN ROAD
     000186               DEARING, GA 30808        $      1,275.00 $          1,275.00 $             0.00
                          RUIZ, MARIA
                          400 RIVER DRIVE, APT
                          2L
     000187               PASSAIC, NJ 07055        $        309.00 $           309.00 $              0.00
                          STATE OF HAWAII -
                          DEPT OF TAXATION
                          ATTN: HAWAII STATE
                          TAX COLLECTOR
                          P O BOX 259
     000191               HONOLULU, HI 96809       $      1,723.14 $              0.00 $           153.28
                          STATE OF IOWA
                          IOWA DEPT OF
                          REVENUE
                          ACCOUNTS
                          RECEIVABLE
                          HOOVER STATE
                          OFFICE BUILDING
     000193               DES MOINES, IA 50319     $          0.00 $              0.00 $             0.00
                          BARRON, MATILDE
                          202 WOODLAWN
     000194               AURORA, IL 60505         $        398.68 $           398.68 $              0.00
                          BOYD JR, PAUL L
                          12 STRASBURG PIKE
                          APT E
     000195               LANCASTER, PA 17602      $        211.59 $           211.59 $              0.00
                          SANDERS, LAMONT
                          1310 E. 32ND STREET
     000208-C             SAVANNAH, GA 31404       $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KELLOUGH, REGINALD
                          4389 39TH ST. #7
     000210-A             SAN DIEGO, CA 92105 $               0.00 $              0.00 $           0.00
                          GEIGER, LEO V
                          204 FAIRFAX DRIVE
     000214-B             LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          ALEXANDER, GABRIEL
                          3557 SHANNON DR
     000219-B             BALTIMORE, MD 21213 $               0.00 $              0.00 $           0.00
                          JESSICA M ZAYAS
                          126 MADISON AVE
                          PERTH AMBOY, NJ
     000223-B             08861                    $      1,855.52 $          1,855.52 $           0.00
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU,
                          BANKRUPTCY UNIT
                          ATTN ANNE CHAN
                          PO BOX 9564
     000226-B             BOSTON, MA 02114         $          0.00 $              0.00 $           0.00
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          ATTN: LITIGATION
                          BUREAU,
                          BANKRUPTCY UNIT
                          PO BOX 9564
     000227-A             BOSTON, MA 02114         $          0.00 $              0.00 $           0.00
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU,
                          BANKRUPTCY UNIT
                          ATTN ANNE CHAN
                          PO BOX 9564
     000228-B             BOSTON, MA 02114         $          0.00 $              0.00 $           0.00
                          SKELTON, RICHARD
                          1936 SR 16 WEST
                          GREEN COVE SPRINGS,
     000230-B             FL 32043            $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SANCHEZ, AMERICA
                          127 FRENCH ST.
                          NEW BRUNSWICK, NJ
     000233               08901                    $          0.00 $              0.00 $           0.00
                          RODRIGUEZ,
                          ESPERANZA
                          10380 VERNON
                          AVENUE
                          APARTMENT #2
     000234               MONTCLAIR, CA 91763      $        452.12 $           452.12 $            0.00
                          BONHAM, BRIAN
                          2625 S WEST ST #72
     000237-B             WICHITA, KS 67217        $          0.00 $              0.00 $           0.00
                          SHENEBERGER, GARRY
                          218 SOUTH THIRD
                          STREET
     000248               COLUMBIA, PA 17512 $              494.00 $           494.00 $            0.00
                          PHILLIPS, JUSTIN
                          4425 RODNEY
     000251-A             MEMPHIS, TN 38116        $          0.00 $              0.00 $           0.00
                          FOK, HENRY
                          5515 SPRINGHOUSE
                          DRIVE
                          #34
     000262               PLEASONTON, CA 94588 $              0.00 $              0.00 $           0.00
                          A AND F TRAILER MFG
                          INC
                          1155 BELLS FERRY
                          ROAD
     000264               MARIETTA, GA 30066  $               0.00 $              0.00 $           0.00
                          SANGHAVI, KRISHANG
                          76 JEFFERSON STREET
     000266-B             METUCHEN, NJ 08840  $               0.00 $              0.00 $           0.00
                          MARTINEZ, SALVADOR
                          1310 JEFFERSON ST
     000270               CALEXICO, CA 92231 $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TRANSPORTATION, T &
                          M
                          820 WEST 115TH ST.
                          LOS ANGELES, CA
     000271-A             90044               $               0.00 $              0.00 $           0.00
                          JIMENEZ, ANA ROSA
                          909 MAIN STREET
     000272               PATERSON, NJ 07503       $        272.66 $           272.66 $            0.00
                          CAPITAL CLEANING
                          CONTRACTORS INC
                          CUST 59650
                          PO BOX 3063
                          HUNTINGTON
     000280-B             STATION, NY 11746        $          0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION ROOM N-203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     000285-C             46204                    $          0.00 $              0.00 $           0.00
                          WSA SECURITY INC
                          10311 S LA CIENGA
                          BLVD
                          LOS ANGELES, CA
     000286-A             90045                    $          0.00 $              0.00 $           0.00
                          BALL, ROLANDO
                          59 WEST RED FOX CT
     000288               MIDWAY, GA 31320         $        852.13 $           852.13 $            0.00
                          A AND F TRAILER MFG
                          INC
                          1155 BELLS FERRY
                          ROAD
     000290               MARETTA, GA 30066   $               0.00 $              0.00 $           0.00
                          CECILIA DE LA ROSA
                          2003 NEW YORK AVE.
                          APT. 1B
     000296-C             UNION CITY, NJ 07087     $        159.83 $           159.83 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOHN C CRICK MD
                          2549 PARK STREET
                          JACKSONVILLE, FL
     000297-A             32204                    $          0.00 $              0.00 $             0.00
                          JOHN C CRICK MD
                          2549 PARK STREET
                          JACKSONVILLE, FL
     000298-B             32204                    $          0.00 $              0.00 $             0.00
                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON STE
                          2000W
                          OKLAHOMA CITY, OK
     000300-A             73102                    $      1,061.07 $              0.00 $            94.39
                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON SUITE
                          2000W
                          OKLAHOMA CITY, OK
     000301-B             73152                $              0.00 $              0.00 $             0.00
                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON SUITE
                          2000W
                          OKLAHOMA CITY, OK
     000302-A             73102                $          5,113.42 $              0.00 $           454.87
                          SHEIN, U
                          3245 EAST CALLE BAJA
                          AVENUE
                          WEST COVINA, CA
     000315-B             91792                $              0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION
                          100 NORTH SENATE
                          AVE
                          ROOM N203
                          INDIANAPOLIS, IN
     000325-B             46204                    $          0.00 $              0.00 $            0.00
                          LOUISIANA DEPT OF
                          REVENUE
                          ATTN: DANICE SIMS
                          PO BOX 66658
                          BATON ROUGE, LA
     000327-A             70896                    $          0.00 $              0.00 $            0.00
                          LOUISIANA DEPT OF
                          REVENUE
                          ATTN: DANICE SIMS
                          PO BOX 66658
                          BATON ROUGE, LA
     000328-B             70896                    $        443.74 $              0.00 $           39.47
                          STATE OF LOUISIANA
                          DEPARTMENT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     000329-A             70896                    $        783.01 $              0.00 $           69.65
                          STATE OF LOUISIANA
                          DEPARTMENT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     000330-B             70896                    $        191.52 $              0.00 $           17.04
                          STATE OF LOUISIANA
                          DEPARTMENT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     000331-A             70896                    $        202.71 $              0.00 $           18.03




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          LOUISIANA DEPT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     000332               70896                    $          0.00 $              0.00 $           0.00
                          STATE OF OREGON
                          DEPARTMENT OF
                          REVENUE
                          REVENUE BUILDING
                          955 CENTER STREET NE
     000333-A             SALEM, OR 97301      $              0.00 $              0.00 $           0.00
                          WASHINGTON, GARRY
                          6604 ENGLISH OAKS RD
                          APT B
     000339               PARKVILLE, MD 21234 $               0.00 $              0.00 $           0.00
                          ROSA, REINALDO
                          713 WEST GORDON
                          STREET
     000341               ALLENTOWN, PA 18102 $             198.00 $           198.00 $            0.00
                          MILLS, AUDLEY D
                          14604 KINDERHOOK
                          TERRACE
                          BURTONSVILLE, MD
     000343-B             20866                    $        801.57 $           801.57 $            0.00
                          MARTINEZ, JENRY
                          335 SOUTH PRINCE
                          STREET
                          APARTMENT 3
     000344               LANCASTER, PA 17603      $        432.72 $           432.72 $            0.00
                          LORES, EMMA
                          335 SOUTH PRINCE
                          STREET
                          APARTMENT 3
     000345               LANCASTER, PA 17603      $        412.72 $           412.72 $            0.00
                          MATTHEWS, RACHEL
                          18 MASSA LANE
                          APARTMENT C7
     000346-A             EDGEWATER, NJ 07020      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HUERECA, HUGO
                          15018 GREVILLEA
                          STREET
     000350               LAWNDALE, CA 90260       $        404.70 $           404.70 $            0.00
                          CHAPMAN, DARRYL
                          471 EDGEWOOD
     000351               AKRON, OH 44307          $          0.00 $              0.00 $           0.00
                          LOPEZ, ASTRID
                          4760 N WEST 24 COURT
                          APARTMENT B 216
                          LAUDERDALE LAJES,
     000354               FL 33313             $          1,020.90 $          1,020.90 $           0.00
                          NEWSON, SIDNEY
                          793 NANCY LANE
     000358               LANCASTER, PA 17602      $          0.00 $              0.00 $           0.00
                          KNELLER, SHERRY
                          ANN
                          138 HOWARD STREET
     000360               OLD FORGE, PA 18518      $        372.71 $           372.71 $            0.00
                          KDR INC
                          559 SOUTH ATCHINSON
                          STREET
     000366-A             ANAHEIM, CA 92805   $               0.00 $              0.00 $           0.00
                          GONZALEZ, GISELA
                          7 UNION HILL LINE
     000367               CARSON, CA 90745         $          0.00 $              0.00 $           0.00
                          JEFFRIES, MARY
                          PO BOX 1028
     000369               MEMPHIS, TN 38101        $      1,048.14 $          1,048.14 $           0.00
                          CORTES, JUAN
                          2914 E ST.
     000373               SAN DIEGO, CA 92102      $        676.43 $           676.43 $            0.00
                          SALAS, MANUEL
                          3734 EAST 52ND
                          STREET
                          APARTMENT #B
     000374-A             MAYWOOD, CA 90270        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                  of Claim            to Date          Payment
                          FERREIRA, SILVIA
                          233 FAIRVIEW LANE
                          SCHERERVILLE, IN
     000375-A             46375                    $        438.96 $            438.96 $            0.00
                          RODRIGUEZ, AMARIS I
                          35 PARK VIEW DRIVE
                          WILLOW STREET, PA
     000377-B             17584               $               0.00 $               0.00 $           0.00
                          ANDREA WEBB
                          828 WINDSOR
                          PERRINEVILLE
     000399-B             E WINDSOR, NJ 08520      $          0.00 $               0.00 $           0.00
                          ROSALINA G ANTAO
                          422 CHESTNUT ST
     000400-B             KEARNY, NJ 07032         $          0.00 $               0.00 $           0.00
                          DEPT OF TREASURY-
                          IRS
                          PO BOX 9112, JFK BLDG
                          STOP 20800
     000415-A             BOSTON, MA 02203      $      1,728,339.95 $              0.00 $     153,746.33
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          BANKRUPTCY
                          DIVISION
                          DEPT 280946
     000416-B             HAMSBURG, PA 17128       $     75,993.78 $               0.00 $       6,760.11
                          GILBERTO RODRIGUEZ
                          1616 1/2 E SAN
                          VINCENTS ST
     000502               COMPTON, CA 90221  $                0.00 $               0.00 $           0.00
                          COMMONWEALTH OF
                          KY REVENUE CABINET
                          100 FAIR OAKS, 5TH FL
                          PO BOX 491
                          ATTN: WENDY L.
                          STEPHENS
     000508               FRANKFORT, KY 40602 $               0.00 $               0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000511-A             ALBANY, NY 12205   $                0.00 $              0.00 $             0.00
                          KENNETH P OLIVA
                          8 HALE COURT
                          BASKING RIDGE, NJ
     000521               07920                    $          0.00 $              0.00 $             0.00
                          VEYSMAN, MARINA
                          45 MEDICI DR
     000545-B             SOMERSET, NJ 08873       $          0.00 $              0.00 $             0.00
                          CAROLYN SORGE
                          3626 HAMPTON GLEN
                          PLACE
                          JACKSONVILLE, FL
     000550-B             32257                    $          0.00 $              0.00 $             0.00
                          SHANA K THOM
                          11715 GOSHEN AVE
                          LOS ANGELES, CA
     000564-A             90094                    $          0.00 $              0.00 $             0.00
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 8914
     000577-A             MADISON, WI 53708        $      1,206.56 $              0.00 $           107.33
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 8914
     000578-A             MADISON, WI 53708        $        552.32 $              0.00 $            49.13
                          CARTER, TONY
                          914 ARMSTRONG
                          BLVD. NORTH
                          APT 2
     000580-C             ST JAMES, MN 56081       $          0.00 $              0.00 $             0.00
                          MARTINEZ, ALAN
                          MARCOS
                          67 REVERE AVE
     000591-A             UNION NJ 07083           $      2,321.64 $          2,321.64 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KAUFMANN, JOSEPH
                          51 SIMONSON AVENUE
                          STATEN ISLAND, NY
     000592-A             10303              $                0.00 $              0.00 $           0.00
                          REYES, DORIS N
                          117 N THIRD STREET
     000594               COLUMBIA, PA 17512       $        843.42 $           843.42 $            0.00
                          GARCIA, JOSE
                          702 EAST COCOA
                          STREET
     000596               COMPTON, CA 90221        $        226.95 $           226.95 $            0.00
                          NARVAEZ, VIVIANA
                          8215 SHADOW OAKS
                          DR
                          APT 42123
     000597               CHARLOTTE, NC 28269      $          0.00 $              0.00 $           0.00
                          NARVAEZ, NELSON
                          8215 SHADOW OAKS
                          DR
                          APT 421
     000598               CHARLOTTE, NC 28269      $        293.42 $           293.42 $            0.00
                          TORRES-MARTINEZ,
                          LUIS
                          25 GARDEN COURT APT
                          4
     000599-A             LANCASTER, PA 17602 $               0.00 $              0.00 $           0.00
                          CABRERA, JUAN
                          19126 DELIGHT STREET
                          CANYON COUNTRY,
     000600               CA 91351             $            200.13 $           200.13 $            0.00
                          CARTER, GEORGIA
                          1608 GABAY
     000601               MEMPHIS, TN 38106        $          0.00 $              0.00 $           0.00
                          LODOS, VIRGINIA
                          2118 INGALLS AVE
     000602               LINDEN, NJ 07036         $        126.95 $           126.95 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          BONE, STEPHEN A.
                          1729 SW 45TH STREET
     000603-A             CAPE CORAL, FL 33914 $              0.00 $              0.00 $           0.00
                          AGRAWAL, JYOTI
                          KUMAR
                          63 BULGER AVENUE
                          NEW MILFORD, NJ
     000605-B             07646                    $      4,762.00 $          4,762.00 $           0.00
                          ESQUERRA-BORRELL,
                          AMILKAR L
                          737 E MADISON ST
     000606               LANCASTER, PA 17602      $        247.61 $           247.61 $            0.00
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION, ROOM N-203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     000607-A             46204                    $          0.00 $              0.00 $           0.00
                          STATE OF MINNESOTA,
                          DEPT OF REVENUE
                          COLLECTION DIVISION
                          BANKRUPTCY
                          SECTION
                          PO BOX 64447
     000608               SAINT PAUL, MN 55164 $         41,056.44 $              0.00 $       3,652.22
                          FONT, PABLO
                          412 MANOR STREET
     000610               LANCASTER, PA 17603      $        330.00 $           330.00 $            0.00
                          BLANDINO, MARCOS
                          PO BOX 1260
     000613-B             PATERSON, NJ 07509       $      1,162.50 $          1,162.50 $           0.00
                          RIVERA, WILFREDO
                          531 DAUPHIN STREET
     000620-B             LANCASTER, PA 17602      $        590.32 $           590.32 $            0.00
                          SANTOS, ANTONIO
                          14 BRISTOL COOURT
     000622-B             LIVINGSTON, NJ 07039     $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          CORTEZ, TAYDE
                          50 VAN WINKLE
                          AVENUE
                          APARTMENT #3
     000625-A             PASSAIC, NJ 07055        $        204.38 $           204.38 $             0.00
                          POLANCO-VALDEZ,
                          ELSA
                          1700 NEW YORK
                          AVENUE
                          APARTMENT 1
     000626-C             UNION CITY, NJ 07087     $          0.00 $              0.00 $            0.00
                          CADILLO, LUIS E
                          556 EAST FREDERICK
                          STREET
     000627               LANCASTER, PA 17602      $        394.12 $           394.12 $             0.00
                          MORGAN, DENNIS A
                          3A FOAL COURT
     000632-B             LANCASTER, PA 17602      $          0.00 $              0.00 $            0.00
                          SMITH, TYRONE
                          1209 NW 63 ST
     000645-A             MIAMI, FL 33147          $          0.00 $              0.00 $            0.00
                          JUAREZ, ELIZABETH
                          1970 E. HICKORY
     000646               KANKAKEE, IL 60901       $        204.76 $           204.76 $             0.00
                          QUINTANA, MARICRUZ
                          813 EAST ELM STREET
     000660-C             COMPTON, CA 90221   $             302.16 $           302.16 $             0.00
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INTL BLVD
                          STE 826
     000663               ATLANTA, GA 30303        $        789.57 $              0.00 $           70.24




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN: CAROL
                          LUSHELL
                          BANKRUPTCY
                          SECTION
                          100 N SENATE AVE RM
                          N203
                          INDIANAPOLIS, IN
     000666-B             46204               $               0.00 $              0.00 $            0.00
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN: CAROL
                          LUSHELL
                          BANKRUPTCY
                          SECTION
                          100 N SENATE AVE RM
                          N203
                          INDIANAPOLIS, IN
     000667-A             46204               $               0.00 $              0.00 $            0.00
                          TAX ADMINISTRATOR -
                          DIV OF INCOME TAX
                          50 W GAY ST 4TH FL
     000668-B             COLUMBUS, OH 43215 $              804.67 $              0.00 $           71.58
                          MARINO, ANETTE M.
                          1202 BERGENLINE AVE.
                          APARTMENT 9
     000669               UNION CITY, NJ 07087 $            511.12 $           511.12 $             0.00
                          SUAREZ, FELIX
                          609 LIBERTY AVENUE
                          APT #1
                          NORTH BERGEN, NJ
     000672-A             07047                    $          0.00 $              0.00 $            0.00
                          PATINO, EFRREN
                          4 WESTERN AVE.
                          APT. 5
     000673-B             HIGHTSTOWN, NJ 08520 $              0.00 $              0.00 $            0.00
                          HURTADO, PEDRO
                          PO. BOX.1002
     000682-A             HOLBROOK, NY 11741       $          0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          IRBY, CLEOPHAS
                          3566 ROYAL ARMS
                          DRIVE
     000686-A             MEMPHIS, TN 38115        $          0.00 $              0.00 $           0.00
                          MANNING, HUBERT
                          4628 EAGLEWAY
     000689-A             CRESTVIEW, FL 32539      $          0.00 $              0.00 $           0.00
                          DORALKIS, ARIAS
                          414 MANOR STREET
     000690               LANCASTER, PA 17602      $        198.00 $           198.00 $            0.00
                          AHERN, DANIEL
                          425 AVENUE A
     000693-B             BAYONNE, NJ 07002        $      1,288.00 $          1,288.00 $           0.00
                          TAX COMMISSIONER -
                          STATE OF OHIO
                          30 E BROAD ST
     000699-B             COLUMBUS, OH 43215       $     16,093.60 $              0.00 $       1,431.62
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000704-B             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          GARCIA, ALBA
                          2070 SW 68TH WAY
     000705               MIRAMAR, FL 33023        $      1,020.90 $          1,020.90 $           0.00
                          FRANCO, VICTOR
                          2070 SW 68TH WAY
     000706               MIRAMAR, FL 33023        $      1,328.00 $          1,328.00 $           0.00
                          CASTILLO, FRANSISCO
                          E.
                          229 EAST 24 TH STREET
     000710-A             PATERSON, NJ 07514    $             0.00 $              0.00 $           0.00
                          PRICE, MARTIN D.
                          909 R ALBRIGHT AVE
     000712               SCRANTON, PA 18508       $        412.20 $           412.20 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          BRUCE TANSEY
                          BRUCE TANSEY
                          CUSTOM CARPENTRY
                          1635 AVION PLACE
     000717-B             NAPLES, FL 34104         $          0.00 $              0.00 $           0.00
                          DEPT. OF LABOR &
                          INDUSTRIAL
                          RELATIONS
                          PO BOX 700
     000719-B             HONOLULU, HI 96809       $          0.00 $              0.00 $           0.00
                          GINZBURG, DASHA
                          4525 HENRY HUDSON
                          PKWY
                          APT 612
     000722-A             RIVERDALE, NY 10471      $      3,328.00 $          3,328.00 $           0.00
                          HUTCHINSON, ALBERT
                          3944 UNIVERSITY ST.
     000728-B             MEMPHIS, TN 38127   $               0.00 $              0.00 $           0.00
                          PURISCH JONAS
                          8415 BELLONA LN APT
                          913
     000729-A             BALTIMORE, MD 21204 $               0.00 $              0.00 $           0.00
                          TAPIA, CARMEN
                          301 HEIGHTS LANE
                          APT 3C
     000731               SISTERVILLE, PA 19053 $           233.18 $           233.18 $            0.00
                          TAPIA, MARIA
                          2709 N. MASCHER ST.
                          PHILADELPHIA, PA
     000732               19133                    $        233.18 $           233.18 $            0.00
                          ABULL HAY MARIA
                          504 N QUEEN ST
                          APT 2
     000734-B             LANCASTER, PA 17603      $        255.24 $           255.24 $            0.00
                          THORSON,
                          CHRISTOPHER
                          100 S.WATER STREET
     000735               QUASQUETON, IA 52326 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WORKERS
                          COMPENSATION
                          COMMISSION
                          ATTN: MARYE L
                          WRIGHT
                          WCC LEGAL SERVICES
                          DIV
                          P O BOX 2027
                          CHARLESTON, WV
     000738-A             25327              $                0.00 $              0.00 $            0.00
                          GARCIA, BERENICE
                          11138 CITRUS AVENUE
     000741               FONTANA, CA 92337   $             197.44 $           197.44 $             0.00
                          VERMONT DEPT OF
                          TAXES
                          P O BOX 429
     000744-A             MONTPELIER, VT 05601 $            158.89 $              0.00 $           14.13
                          ESTEBAN, YEYLER
                          3213 LEMMAN DR.
                          LOUISVILLE, KY 40216-
     000745               1223                  $           216.83 $           216.83 $             0.00
                          GENERAL ELECTRIC
                          CAPITAL CORP
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     000748               52404                    $          0.00 $              0.00 $            0.00
                          GENERAL ELECTRIC
                          CAPITAL CORP
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     000749-A             52404                    $          0.00 $              0.00 $            0.00
                          AGUIRRE, ISMAEL
                          417 LIBERTS
     000750               AURORA, IL 60505         $        262.94 $           262.94 $             0.00
                          JOHNSON, HAROLD L.
                          P O BOX 3582
     000751               EL CENTRO, CA 92244      $        210.46 $           210.46 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          RICHARDSON,
                          DELORIS
                          264 ACADEMY STREET
                          WILKES BARRE, PA
     000752               18702              $              201.33 $           201.33 $            0.00
                          LUSK, GLEN T.
                          4464 CASTLE HEIGHTS
     000766-B             MEMPHIS, TN 38141        $          0.00 $              0.00 $           0.00
                          ZAYAS, ZULEIMA
                          76 KENNEDY BLVD #76
     000769-B             SCRANTON, PA 18504  $               0.00 $              0.00 $           0.00
                          ORR, PAUL
                          302 10TH AVE
     000770-A             SCRANTON, PA 18504       $          0.00 $              0.00 $           0.00
                          PACHECO-SANCHEZ,
                          MARCUS
                          1137 CAPOSE AVE
     000773-B             SCRANTON, PA 18509       $      1,920.00 $          1,920.00 $           0.00
                          ARREDONDO,
                          GUADALUPE
                          833 N GLADSTONE
                          AVENUE
                          APT 9
     000774-A             AURORA, IL 60506         $          0.00 $              0.00 $           0.00
                          AMADOR, EMMA
                          328 DEL RIO WAY
     000776-A             VISTA, CA 92083          $        366.51 $           366.51 $            0.00
                          BRACY, TIMONTHY
                          637 MAGONILA AVE
     000778-C             ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          GATHRIGHT,
                          JEREMAINE
                          4530 ERNIE DRIVE
     000785-A             MEMPHIS, TN 38116        $          0.00 $              0.00 $           0.00
                          MAZZARELLA, LINDA
                          649 BOW LINE DRIVE
     000786-B             NAPLES, FL 34103         $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TIRADO, WILLIAM
                          CARR 341
                          BUZON 6072
                          BARRIO MANI
     000787-A             MAYAGUEZ, PR 00680       $          0.00 $              0.00 $           0.00
                          ABULL HAY, MARIA
                          504 NORTH QUEEN
                          STREET
                          APARTMENT 1
     000789-B             LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          CALDERON, JOHN
                          10656 PEARL BERRY
                          LOOP
                          LAND O LAKES, FL
     000791               34638                    $      2,000.00 $          2,000.00 $           0.00
                          ELLIS, AURELIA
                          332 SOUTH BACKTON
                          AVENUE
     000792               LA PUENTE, CA 91744      $        272.63 $           272.63 $            0.00
                          HOLMES, ARNETTE
                          525 N. MAIN AVENUE
                          2ND FLOOR
     000793               SCRANTON, PA 18504       $        400.00 $           400.00 $            0.00
                          RAMIREZ, JULIO
                          13177 1/2 BROWONT
     000796-A             SYLMAR, CA 91342         $        273.00 $           273.00 $            0.00
                          JACKSON, OLIVIA
                          508 LINCOLN CIRCLE
                          WASHINGTON, GA
     000797-A             30673                    $          0.00 $              0.00 $           0.00
                          BOUSY, MARIE A.
                          6550 N WOODSTOCK ST
                          PHILADELPHIA, PA
     000798               19138               $               0.00 $              0.00 $           0.00
                          EUCARIO VELASQUEZ
                          4200 SUNNYVIEW RD
                          NE APT 224
     000807               SALEM, OR 97305          $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOSE VARGAS
                          10740 FRACAR
     000808               LYNWOOD, CA 90262        $          0.00 $              0.00 $           0.00
                          ANTONIO TORRES
                          1245 DAISY ST #1
     000809               LONG BEACH, CA 90806 $              0.00 $              0.00 $           0.00
                          JIARO SUAREZ
                          1345 CEDAR AVENUE
     000810               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          ISRAEL VALLEJO SOSA
                          543 W MAITLAND ST
     000811               ONTARIO, CA 91762   $               0.00 $              0.00 $           0.00
                          HUMBERTO J SILVA
                          1437 S MCDONNELL
                          AVE
     000812               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          ISAIAS SACRISTAN
                          1869 HARBOR AVENUE
                          #3
     000813               LONG BEACH, CA 90810 $              0.00 $              0.00 $           0.00
                          GILBERTO RODRIGUEZ
                          1616 1/2 E SAN
                          VINCENTS ST
     000814               COMPTON, CA 90221  $                0.00 $              0.00 $           0.00
                          FLORENCIO RIVERA
                          1519 E 10TH ST #5
     000815               LONG BEACH, CA 90805 $              0.00 $              0.00 $           0.00
                          OSCAR RAMIREZ
                          1467 E ELM COURT #B
     000816               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          HIPOLITO RAMIREZ
                          1467 E ELMA CT
     000817               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          OSCAR PEREZ
                          1031 1/2 PACIFIC AVE
     000818               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JUAN PERALTA
                          9973 CENTRAL AVE
     000819               MONCLAIR, CA 91763       $          0.00 $              0.00 $           0.00
                          JUAN MANUEL PAZ
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000820               90201                    $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2209 E EL SEGUNDO #7
     000821               COMPTON, CA 90222    $              0.00 $              0.00 $           0.00
                          ALEJO OROSCO
                          12424 GREENGOOD DR
                          APT #11
     000822               WHITTIER, CA 90604 $                0.00 $              0.00 $           0.00
                          SERGIO OREJEL
                          9222 DOROTHY
                          AVENUE
     000823               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          JOSE OREJEL
                          9222 DOROTHY AVE
     000824               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          MARTIN MENDOZA
                          15704 ORANGE AVE
                          APT 142
     000825               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          JORGE MAGANA
                          1718 E FLORA ST #B
     000826               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          ALBERTO LUNA
                          1432 NOCTA ST #C
     000827               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          MAURO LOPEZ
                          3238 PONTIAC AVE
     000828               RIVERSIDE, CA 92509      $          0.00 $              0.00 $           0.00
                          ARTURO LOPEZ
                          1811 ROSEWOOD
     000829               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JAVIER HERNANDEZ
                          7622 9TH ST APT B
     000830               BUENA PARK, CA 90621 $              0.00 $              0.00 $           0.00
                          DANIEL GARCIA
                          417 E 118TH ST
                          LOS ANGELES, CA
     000831               90061                    $          0.00 $              0.00 $           0.00
                          JOSE GODINEZ
                          1900 CAMPUS AVE
     000832               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          JOSE SANCHEZ CRUZ
                          7005 WATCHER ST
     000833               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          JOSE CRUZ
                          14632 SAN JOSE AVE
     000834               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          ENRIQUE COLIN
                          6840 BEAR AVE.
                          BELL GARDENS, CA
     000835               90201                    $          0.00 $              0.00 $           0.00
                          SALVADOR CHAVEZ
                          1267 N MARIN AVENUE
                          WILMINGTON, CA
     000836               90744               $               0.00 $              0.00 $           0.00
                          CARMELO CARDENAS
                          8550 ROSE ST
     000837               BELLFOWER, CA 90706 $               0.00 $              0.00 $           0.00
                          GABRIEL ARENIVAR
                          627 W 5TH ST
     000838               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          JOSE ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000839               90201                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ANDRES ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000840               90201                    $          0.00 $              0.00 $           0.00
                          GENARO GONZALEZ
                          APARICIA
                          625 N ISLAND
                          WILMINGTON, CA
     000841               90745                    $          0.00 $              0.00 $           0.00
                          ALFREDO ALCALA
                          9716 CEDAR ST
                          BELLFLOWER, CA
     000842               90706                    $          0.00 $              0.00 $           0.00
                          EUCARIO VELASQUEZ
                          4200 SUNNYVIEW RD.
                          NE APT. 224
     000843               SALEM, OR 97305          $          0.00 $              0.00 $           0.00
                          JOSE VARGAS
                          10740 FRACAR
     000844               LYNWOOD, CA 90262        $          0.00 $              0.00 $           0.00
                          ANTONIO TORRES
                          1245 DAISY ST #1
     000845               LONG BEACH, CA 90806 $              0.00 $              0.00 $           0.00
                          JIARO SUAREZ
                          1345 CEDAR AVE
     000846               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          ISRAEL VALLEJO SOSA
                          543 W MAITLAND ST
     000847               ONTARIO, CA 91762   $               0.00 $              0.00 $           0.00
                          HUMBERTO J SILVA
                          1437 S MCDONNELL
                          AVE
     000848               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          ISAIAS SACRISTAN
                          1869 HARBOR AVE #3
     000849               LONG BEACH, CA 90810 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GILBERTO RODRIGUEZ
                          1616 1/2 E SAN
                          VINCENTE ST
     000850               COMPTON, CA 90221  $                0.00 $              0.00 $           0.00
                          FLORENCIO RIVERA
                          1519 E 10TH ST #5
     000851               LONG BEACH, CA 90805 $              0.00 $              0.00 $           0.00
                          OSCAR RAMIREZ
                          1467 E ELM COURT #B
     000852               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          HIPOLITO RAMIREZ
                          1467 E ELMA CT
     000853               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          OSCAR PEREZ
                          1031 1/2 PACIFIC AVE
     000854               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          JUAN PERALTA
                          9973 CENTRAL AVE
     000855               MONTCLAIR, CA 91763      $          0.00 $              0.00 $           0.00
                          JUAN MANUEL PAZ
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000856               90201                    $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2209 E EL SEGUNDO #7
     000857               COMPTON, CA 90222    $              0.00 $              0.00 $           0.00
                          ALEJO OROSCO
                          12424 GREENGOOD
     000858               WHITTIER, CA 90604       $          0.00 $              0.00 $           0.00
                          SERGIO OREJEL
                          9222 DOROTHY AVE
     000859               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          JOSE OREJEL
                          9222 DOROTHY AVE
     000860               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          MARTIN MENDOZA
                          15704 ORANGE AVE
                          APT 142
     000861               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          JORGE MAGANA
                          1718 E FLORA ST #B
     000862               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          ALBERTO LUNA
                          1432 NOCTA ST #C
     000863               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          MAURO LOPEZ
                          3238 PONTIAC AVE
     000864               RIVERSIDE, CA 92509      $          0.00 $              0.00 $           0.00
                          ARTURO LOPEZ
                          1811 ROSEWOOD
     000865               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          JAVIER HERNANDEZ
                          7622 9TH ST APT B
     000866               BUENA PARK, CA 90621 $              0.00 $              0.00 $           0.00
                          DANIEL GARCIA
                          417 E 118TH ST
                          LOS ANGELES, CA
     000867               90061                    $          0.00 $              0.00 $           0.00
                          JOSE GODINEZ
                          1900 CAMPUS AVE
     000868               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          JOSE SANCHEZ CRUZ
                          7005 WATCHER ST
     000869               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          JOSE CRUZ
                          14632 SAN JOSE AVE
     000870               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          ENRIQUE COLIN
                          6840 BEAR AVE.
                          BELL GARDENS, CA
     000871               90201                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SALVADOR CHAVEZ
                          1267 N MARIN AVENUE
                          WILMINGTON, CA
     000872               90744               $               0.00 $              0.00 $           0.00
                          CARMELO CARDENAS
                          8550 ROSE ST
     000873               BELLFOWER, CA 90706 $               0.00 $              0.00 $           0.00
                          GABRIEL ARENIVAR
                          627 W 5TH ST
     000874               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          JOSE ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000875               90201                    $          0.00 $              0.00 $           0.00
                          ANDRES ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000876               90201                    $          0.00 $              0.00 $           0.00
                          GENARO GONZALEZ
                          APARICIA
                          625 N ISLAND
                          WILMINGTON, CA
     000877               90745                    $          0.00 $              0.00 $           0.00
                          ALFREDO ALCALA
                          9716 CEDAR ST
                          BELLFLOWER, CA
     000878               90706                    $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN: STEVEN B
                          FLANCHER AAG
                          P O BOX 30754
     000879               LANSING, MI 48909        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          P O BOX 30754
                          ATTN: STEVEN B
                          FLANCHER AAG
     000880               LANSING, MI 48909        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NJ DEPT OF
                          TREASURY
                          ATTN DIVISION OF
                          TAXATION
                          PO BOX 245
     000882               TRENTON, NJ 08695        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN STEVEN B
                          FLANCHER
                          PO BOX 30754
     000883               LANSING, MI 48909        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN STEVEN B
                          FLANCHER AAG
                          PO BOX 30754
     000884               LANSING, MI 48909        $          0.00 $              0.00 $           0.00
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIV OF TAXATION
                          P O BOX 245
     000886               TRENTON, NJ 08695   $               0.00 $              0.00 $           0.00
                          STATE OF NEW JERSEY
                          DEPT OF LABOR - DIV
                          OF EMPLOYER ACCTS
                          P O BOX 379
                          ATTN: STANLEY DAVIS
     000888               TRENTON, NJ 08625   $               0.00 $              0.00 $           0.00
                          ROSALINO ADAME
                          1467 E ELMA #B
     000889               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          EMPLOYMENT
                          DEVELOPMENT DEPT
                          ATTN: BANKRUPTCY
                          GROUP MIC 92E
                          P O BOX 826880
                          SACRAMENTO, CA
     000890-A             94280                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEPT OF THE
                          TREASURY IRS
                          PO BOX 9112
                          JFK BLDG STOP 20800
     000891-B             BOSTON, MA 02203         $     88,379.17 $              0.00 $       7,861.86
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PA BANKRUPTCY DIV
                          DEPT 280946
     000892-A             HARRISBURG, PA 17128 $          2,753.55 $              0.00 $           244.95
                          TENNESSEE DEPT OF
                          REVENUE
                          ATTN ATTY GENERAL
                          PO BOX 20207
     000895-B             NASHVILLE, TN 37202      $          0.00 $              0.00 $             0.00
                          JENNIFER M VALDEZ
                          10400 ARROW RTE
                          APT Q-4
                          RANCHO
     000896               CUCAMONGA, CA 91730 $           4,623.56 $          4,623.56 $             0.00
                          ROSALINO ADAME
                          1467 E ELMA #B
     000906               ONTARIO, CA 91764        $          0.00 $              0.00 $             0.00
                          DEPT OF THE
                          TREASURY IRS
                          PO BOX 9112 JFK BLDG
                          STOP 20800
     000907-A             BOSTON, MA 02203     $         40,928.67 $              0.00 $       3,640.85
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PA BANKRUPTCY DIV
                          DEPT 280946
     000908-B             HARRISBURG, PA 17128 $        152,010.81 $              0.00 $      13,522.28




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          INDIANA DEPT OF
                          REVENUE
                          ATTN BANKRUPTCY
                          SECTION ROOM N203
                          100 N SENATE AVE
                          INDIANAPOLIS, IN
     000912-B             46204                    $          0.00 $              0.00 $            0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN BANKRUPTCY
                          SECTION
                          PO BOX 5300
     000914-A             ALBANY, NY 12205   $                0.00 $              0.00 $            0.00
                          STATE OF LOUISANA
                          DEPT OF REVENUE
                          PO BOX 66658
                          ATTN: DANICE SIMS,
                          REV COLLECTIONS
                          AUDIT
                          BATON ROUGE, LA
     000915               70896                    $          0.00 $              0.00 $            0.00
                          TAX COMMISSIONER
                          STATE OF OHIO
                          3O E BROAD ST 23RD
                          FL
                          ATTN: REBECCA L
                          DAUM, ATTORNEY
                          BANKRUPTCY DIV
     000916-A             COLUMBUS, OH 43215       $        729.12 $              0.00 $           64.86
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000917-B             ALBANY, NY 12205   $                0.00 $              0.00 $            0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000918-A             ALBANY, NY 12205   $                0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ALFREDO ALCALA
                          9716 CEDAR ST.
                          BELLFLOWER, CA
     000920               90706                    $          0.00 $              0.00 $           0.00
                          GENARO GONZALEZ
                          APARICIA
                          625 N ISLAND
                          WILMINGTON, CA
     000921               90745                    $          0.00 $              0.00 $           0.00
                          ANDRES ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000922               90201                    $          0.00 $              0.00 $           0.00
                          JOSE ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000923               90201                    $          0.00 $              0.00 $           0.00
                          GABRIEL ARENIVAR
                          627 W 5TH ST
                          LOMNG BEACH, CA
     000924               90813                    $          0.00 $              0.00 $           0.00
                          CARMELO CARDENAS
                          8550 ROSE ST
     000925               BELL FOWER, CA 90706 $              0.00 $              0.00 $           0.00
                          SALVADOR CHAVEZ
                          1267 N MARIN AVENUE
                          WILMINGTON, CA
     000926               90744               $               0.00 $              0.00 $           0.00
                          ENRIQUE COLIN
                          6840 BEAR AVE
                          BELL GARDENS, CA
     000927               90201                    $          0.00 $              0.00 $           0.00
                          JOSE CRUZ
                          14632 SAN JOSE AVE.
     000928               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          JOSE SANCHEZ CRUZ
                          7005 WATCHER ST.
     000929               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOSE GODINEZ
                          1900 CAMPUS AVE.
     000930               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          DANIEL GARCIA
                          417 E 118TH ST.
                          LOS ANGELES, CA
     000931               90061                    $          0.00 $              0.00 $           0.00
                          JAVIER HERNANDEZ
                          7622 9THST APT. B
     000932               BUENA PARK, CA 90821 $              0.00 $              0.00 $           0.00
                          BENJAMIN J.
                          TIBERGHIEN
                          5130 S. CUSTER
     000933               WICHITA, KS 67217        $         93.88 $            93.88 $            0.00
                          HUMBERTO J. SILVA
                          1437 S. MCDONNELL
                          AVE
     000935               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          MR. DEANE J. DRABIK
                          6844 TOBIK TRL
     000936-A             PARMA, OH 44130          $      2,226.08 $          2,226.08 $           0.00
                          MAURO LOPEZ
                          3238 PONTIAC AVE
     000938               RIVERSIDE, CA 92509      $          0.00 $              0.00 $           0.00
                          ALBERTO LUNA
                          1432 NOCTA ST #C
     000939               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          JORGE MAGANA
                          1718 E FLORA ST #B
     000940               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          MARTIN MENDOZA
                          15704 ORANGE AVE
                          APT 142
     000941               PARMOUNT, CA 90723       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOSE OREJEL
                          9222 DOROTHY
                          AVENUE
     000942               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          SERGIO OREJEL
                          9222 DOROTHY
                          AVENUE
     000943               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          ALEJO OROSCO
                          12424 GREENGOOD,
                          APT#11
     000944               WHITTIER, CA 90604       $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2209 E. ELSEQUNDO- #7
     000945               COMPTON, CA 90222     $             0.00 $              0.00 $           0.00
                          JUAN MANUEL PAZ
                          6746 GAGE AVENUE
                          BELL GARDENS, CA
     000946               90201                    $          0.00 $              0.00 $           0.00
                          JUAN PERALTA
                          9973 CENTRAL AVE.
     000947               MONTCLAIR, CA 91763      $          0.00 $              0.00 $           0.00
                          OSCAR PEREZ
                          1031 1/2 PACIFIC
                          AVENUE
     000948               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          ROSALINO ADAME
                          1467 E ELMA #B
     000949               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          ISRAEL VALLEJO SOSA
                          543 W MAITLAND ST
     000950               ONTARIO, CA 91762   $               0.00 $              0.00 $           0.00
                          JIARO SUAREZ
                          1345 CEDAR AVE
     000951               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ANTONIO TORRES
                          1245 DAISY ST. #1
     000952               LONG BEACH, CA 90806 $              0.00 $              0.00 $           0.00
                          JOSE VARGAS
                          10740 FRACAR
     000953               LYNWOOD, CA 90262        $          0.00 $              0.00 $           0.00
                          EUCARIO VELASQUEZ
                          4200 SUNNYVIEW
                          ROAD
                          NE APT. 224
     000954               SALEM, OR 97305          $          0.00 $              0.00 $           0.00
                          ANNETTE PALMATEER
                          130 WATER ST
                          WADSWORTH, OH
     000955               44281             $                 0.00 $              0.00 $           0.00
                          HUEY P. WALKER, JR.
                          38 SURREY LANE
     000956-A             TARRYTOWN, GA 30470 $           1,440.00 $          1,440.00 $           0.00
                          PAULA J SENESOC
                          38 JORDAN DR
                          BOWRBONNAIS, IL
     000958-B             60914                    $      3,598.32 $          3,598.32 $           0.00
                          PAULA J SENESOC
                          38 JORDAN DR
                          BOWRBONNAIS, IL
     000959-A             60914                    $          0.00 $              0.00 $           0.00
                          HIPOLITO RAMIREZ
                          1467 E ELMA CT
     000960               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          OSCAR RAMIREZ
                          1467 E ELM CT #B
     000961               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          FLORENCIO RIVERA
                          1519 E 10TH ST. #5
     000962               LONG BEACH, CA 90805 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GILBERTO RODRIGUEZ
                          1616 1/2 E. SAN
                          VINCENTS ST.
     000963               COMPTON, CA 90221  $                0.00 $              0.00 $           0.00
                          ISAIAS SACRISTAN
                          1869 HARBOR AVENUE
                          #3
     000964               LONG BEACH, CA 90810 $              0.00 $              0.00 $           0.00
                          KARLA M CARTER
                          5505 KELLY ANNE WAY
     000967-B             NOBLESVILLE, IN 46062 $         1,002.00 $          1,002.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE.
                          GRAND HAVEN, MI
     000969-B             49417                    $          0.00 $              0.00 $           0.00
                          KEVIN M BLOCHOWSKI
                          480 PLUM CREEK
                          COURT #1
                          BOURBONNAIS, IL
     000970               60914              $            2,003.92 $          2,003.92 $           0.00
                          SCOTT E PRAIRIE
                          3618 N VICENNES
                          TRAIL
     000971-A             MOMENCE, IL 60954        $      1,694.72 $          1,694.72 $           0.00
                          ROSALINO ADAME
                          1467 E. ELMA #B
     000972               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          ALFREDO ALCALA
                          9716 CEDAR ST.
                          BELLFLOWER, CA
     000973               90106                    $          0.00 $              0.00 $           0.00
                          GENARO GONZALEZ
                          ANARICIA
                          625 N ISLAND
                          WILMINGTON, CA
     000974               90745                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ANDRES ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     000975               90201                    $          0.00 $              0.00 $           0.00
                          JOSE ARANDA
                          6746 GAGE AVENUE
                          BELL GARDENS, CA
     000976               90201                    $          0.00 $              0.00 $           0.00
                          GABRIEL ARENIVAR
                          627 W. 5TH STREET
     000977               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          CARMELO CARDENAS
                          8550 ROSE ST
     000978               BELLFOWER, CA 90706 $               0.00 $              0.00 $           0.00
                          SALVADOR CHAVEZ
                          1267 N. MARIN AVE
                          WILMINGTON, CA
     000979               90744                    $          0.00 $              0.00 $           0.00
                          ENRIQUE COLIN
                          6840 BEAR AVE.
     000980               BELL, CA 90201           $          0.00 $              0.00 $           0.00
                          JUAN PERALTA
                          9973 CENTRAL AVE.
     000982               MONTCLAIR, CA 91763      $          0.00 $              0.00 $           0.00
                          OSCAR PEREZ
                          103 1/2 PACIFIC AVE
     000983               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          HIPOLITO RAMIREZ
                          1467 E ELMA CT
     000984               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          OSCAR RAMIREZ
                          1467 E ELM CT #B
     000985               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          FLORENCIO RIVERA
                          1519 E 10TH ST #5
     000986               LONG BEACH, CA 90805 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                  of Claim            to Date          Payment
                          GILBERTO RODRIGUEZ
                          1616 1/2 E. SAN
                          VINCENTS ST
     000987               COMPTON, CA 90221  $                0.00 $               0.00 $            0.00
                          ISAIAS SACRISTAN
                          1869 HARBOR AVENUE
                          #3
     000988               LONG BEACH, CA 90810 $              0.00 $               0.00 $            0.00
                          SUSAN D. HALL
                          1216 STANLEY STREET
                          BURNS HARBOR, IN
     000989-A             46304               $           2,861.28 $           2,861.28 $            0.00
                          JEFFREY S. WHITE
                          226 COUNTRY CLUB DR
     000990-A             DURHAM, NC 27712    $           4,925.00 $           4,925.00 $            0.00
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          BANKRUPTCY
                          DIVISION
                          DEPARTMENT 280948
     000993-B             HARRISBURG, PA 17128 $            203.03 $               0.00 $           18.06
                          DEPARTMENT OF
                          LABOR-TENNESSEE
                          ATTN: ANDREW
                          JOHNSON TOWER-8TH
                          FLOOR
                          710 JAMES ROBERTSON
                          PARKWAY
     000994               NASHVILLE, TN 37243 $               0.00 $               0.00 $            0.00
                          DEPT OF THE
                          TREASURY - IRS
                          PO BOX 9112
                          JFK BUILDING
                          STOP 20800
     000995-A             BOSTON, MA 02203         $   1,722,151.12 $              0.00 $     153,195.80
                          JOSE OREJEL
                          9222 DOROTHY AVE
     000996               SOUTH GATE, CA 90280 $              0.00 $               0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TENNESSEE DEPT OF
                          REVENUE
                          ATTN ATTY GENERAL
                          PO BOX 20207
     000997               NASHVILLE, TN 37202      $          0.00 $              0.00 $           0.00
                          JOSE CRUZ
                          14632 SAN JOSE AVE
     000998               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          JOSE SANCHEZ CRUZ
                          7005 WATCHER ST
     000999               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          JOSE GODINEZ
                          1900 CAMPUS AVE
     001000               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          DANIEL GARCIA
                          417 E 118TH ST
                          LOS ANGELES, CA
     001001               90061                    $          0.00 $              0.00 $           0.00
                          JAVIER HERNANDEZ
                          7622 9TH ST APT. B
     001002               BUENA PARK, CA 90621 $              0.00 $              0.00 $           0.00
                          ARTURO LOPEZ
                          1811 ROSEWOOD
     001003               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          MAURO LOPEZ
                          3238 PONTIAC AVE
     001004               RIVERSIDE, CA 92509      $          0.00 $              0.00 $           0.00
                          ALBERTO LUNA
                          1432 NOCTA ST. #C
     001005               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          JORGE MAGANA
                          1718 E. FLORA ST. #B
     001006               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          MARTIN MENDOZA
                          15704 ORANGE AE APT
                          142
     001007               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SERGIO OREJEL
                          9222 DOROTHY
                          AVENUE
     001008               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          ALEJO OROSCO
                          12424 GREENWOOD
     001009               WHITTIER, CA 90604       $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2209 E EL SEGUNDO #7
     001010               COMPTON, CA 90222    $              0.00 $              0.00 $           0.00
                          JUAN MANUEL PAZ
                          6747 GAGE AVENUE
                          BELL GARDENS, CA
     001011               90201                    $          0.00 $              0.00 $           0.00
                          HUMBERTO J SILVA
                          1437 S MCDONNELL
                          AVE
     001012               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          ISRAEL VALLEJO SOSA
                          543 W MAITLAND ST
     001013               ONTARIO, CA 91762   $               0.00 $              0.00 $           0.00
                          JIARO SUAREZ
                          1345 CEDAR AVE
     001014               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          ANTONIO TORRES
                          1245 DAISY ST #1
     001015               LONG BEACH, CA 90806 $              0.00 $              0.00 $           0.00
                          JOSE VARGAS
                          10740 FRACAR
     001016               LYNWOOD, CA 90262        $          0.00 $              0.00 $           0.00
                          EUCARIO VELASQUEZ
                          4200 SUNNYVIEW RD
                          NE APT 224
     001017               SALEM, OR 97305          $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MICHAEL HOWIE
                          135 TIFFANY CT
                          LOCUST GROVE, GA
     001018-A             30248                    $      4,925.00 $          4,925.00 $           0.00
                          STATE OF NJ DEPT OF
                          LABOR
                          ATTN DIVISION OF
                          EMPLOYER ACCTS
                          PO BOX 379
     001020               TRENTON, NJ 08625        $          0.00 $              0.00 $           0.00
                          STATE OF NJ DEPT OF
                          TREASURY
                          ATTN DIVISION OF
                          TAXATION
                          PO BOX 245
     001021               TRENTON, NJ 08695        $          0.00 $              0.00 $           0.00
                          STATE OF NJ DIVISION
                          OF EMPLOYER ACCTS
                          PO BOX 379
     001023               TRENTON, NJ 08625    $         14,723.64 $              0.00 $       1,309.76
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          PO BOX 30754
                          ATTN: STEVEN B
                          FLANCHER AAG
     001024               LANSING, MI 48909        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          PO BOX 30754
                          ATTN: STEVEN B
                          FLANCHER AAG
     001026               LANSING, MI 48909        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          PO BOX 30754
                          ATTN: STEVEN B
                          FLANCHER AAG
     001027               LANSING, MI 48909        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          PO BOX 30754
                          ATTN: STEVEN B
                          FLANCHER AAG
     001028               LANSING, MI 48909        $          0.00 $              0.00 $            0.00
                          STATE OF NJ DEPT OF
                          TREASURY
                          ATTN DIVISION OF
                          TAXATION
                          PO BOX 245
     001031               TRENTON, NJ 08695        $          0.00 $              0.00 $            0.00
                          MAURO LOPEZ
                          3238 PONTIAC AVE
     001032               RIVERSIDE, CA 92509      $          0.00 $              0.00 $            0.00
                          ALBERTO LUNA
                          1432 NOCTA ST. #C
     001033               ONTARIO, CA 91764        $          0.00 $              0.00 $            0.00
                          JORGE MAGANA
                          1718 E. FLORA ST #B
     001034               ONTARIO, CA 91764        $          0.00 $              0.00 $            0.00
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          BANKRUPTCY
                          DIVISION
                          DEPARTMENT 280946
     001036-B             HARRISBURG, PA 17128 $          1,039.65 $              0.00 $           92.48
                          ALVARO JARA
                          ATTN DAVID A
                          SYNDER PA
                          2340 S DIXIE HIGHWAY
     001038               MIAMI, FL 33133      $              0.00 $              0.00 $            0.00
                          ALVARO JARA
                          ATTN DAVID A
                          SNYDER PA
                          2340 S DIXIE HIGHWAY
     001039               MIAMI, FL 33133      $              0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ROSALINO ADAME
                          1467 E ELMA #B
     001040               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          ALFREDO ALCALA
                          9716 CEDAR ST
                          BELLFLOWER, CA
     001041               90706                    $          0.00 $              0.00 $           0.00
                          GENARO GONZALEZ
                          APARACIA
                          625 N ISLAND
                          WILMINGTON, CA
     001042               90745                    $          0.00 $              0.00 $           0.00
                          ANDRES ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     001043               90201                    $          0.00 $              0.00 $           0.00
                          JOSE ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     001044               90201                    $          0.00 $              0.00 $           0.00
                          GABRIEL ARENIVAR
                          627 W 5TH ST
     001045               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          CARMELO CARDENAS
                          8550 ROSE ST
                          BELLFLOWER, CA
     001046               90706                    $          0.00 $              0.00 $           0.00
                          SALVADOR CHAVEZ
                          1267 N MARIN AVE
                          WILMINGTON, CA
     001047               90744                    $          0.00 $              0.00 $           0.00
                          ENRIQUE COLIN
                          6840 BEAR AVE
     001048               BELL, CA 90201           $          0.00 $              0.00 $           0.00
                          JOSE CRUZ
                          14632 SAN JOSE AVE
     001049               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOSE SANCHEZ CRUZ
                          7005 WATCHER ST
     001050               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          JOSE GODINEZ
                          1900 CAMPUS AVE
     001051               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          DANIEL GARCIA
                          417 E 118TH ST
                          LOS ANGELES, CA
     001052               90061                    $          0.00 $              0.00 $           0.00
                          JAVIER HERNANDEZ
                          7622 9TH ST. APT. B
     001053               BUENA PARK, CA 90621 $              0.00 $              0.00 $           0.00
                          ARTURO LOPEZ
                          1811 ROSEWOOD
     001054               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2209 E. EL SEGUNDO #7
     001056               COMPTON, CA 90222     $             0.00 $              0.00 $           0.00
                          JUAN MANUEL PAZ
                          6746 GAGE AVENUE
                          BELL GARDENS, CA
     001057               90201                    $          0.00 $              0.00 $           0.00
                          JUAN PERALTA
                          9973 CENTRAL AVE
     001058               MONTCLAIR, CA 91763      $          0.00 $              0.00 $           0.00
                          OSCAR PEREZ
                          103 1/2 PACIFIC AVE
     001059               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          HIPOLITO RAMIREZ
                          1467 E ELMA CT
     001060               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          OSCAR RAMIREZ
                          1467 E ELM CT #B
     001061               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          FLORENCIO RIVERA
                          1519 E 10TH ST. #5
     001062               LONG BEACH, CA 90805 $              0.00 $              0.00 $           0.00
                          GILBERTO RODRIGUEZ
                          1616 1/2 E VINCENTS ST
     001063               COMPTON, CA 90221      $            0.00 $              0.00 $           0.00
                          ISAIAS SACRISTAN
                          1869 HARBOR AVENUE
                          #3
     001064               LONG BEACH, CA 90810 $              0.00 $              0.00 $           0.00
                          HUMBERTO J. SILVA
                          1437 S. MCDONNELL
                          AVE
     001065               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          ISRAEL VALLEJO SOSA
                          543 W. MAITLAND ST.
     001066               ONTARIO, CA 91762   $               0.00 $              0.00 $           0.00
                          JIARO SUAREZ
                          1345 CEDAR AVE
     001067               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          ANTONIO TORRES
                          1245 DAISY ST #1
     001068               LONG BEACH, CA 90806 $              0.00 $              0.00 $           0.00
                          JOSE VARGAS
                          10740 FRACAR
     001069               LYNWOOD, CA 90262        $          0.00 $              0.00 $           0.00
                          EUCARIO VELASQUEZ
                          4200 SUNNYVIEW RD
                          NE APT 224
     001070               SALEM, OR 97305          $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2209 E EL SEGUNDO #7
     001071               COMPTON, CA 90222    $              0.00 $              0.00 $           0.00
                          JUAN MANUEL PAZ
                          6746 GAGE AVENUE
                          BELL GARDENS, CA
     001072               90201                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JUAN PERALTA
                          9973 CENTRAL AVE
     001073               MONTCLAIR, CA 91763      $          0.00 $              0.00 $           0.00
                          OSCAR PEREZ
                          1031 1/2 PACIFIC AVE
     001074               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          HIPOLITO RAMIREZ
                          1467 E. ELMA CT
     001075               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          OSCAR RAMIREZ
                          1467 E. ELM COURT #B
     001076               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          FLORENCIO RIVERA
                          1519 E. 10TH ST. #5
     001077               LONG BEACH, CA 90805 $              0.00 $              0.00 $           0.00
                          GILBERTO RODRIGUEZ
                          1616 1/2 E. SAN
                          VINCENTS ST.
     001078               COMPTON, CA 90221  $                0.00 $              0.00 $           0.00
                          ISAIAS SACRISTAN
                          1869 HARBOR AVE #3
     001079               LONG BEACH, CA 90810 $              0.00 $              0.00 $           0.00
                          HUMBERTO J. SILVA
                          1437 S MCDONNELL
                          AVE
     001080               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          ISRAEL VALLEJO SOSA
                          543 W. MAITLAND ST.
     001081               ONTARIO, CA 91762   $               0.00 $              0.00 $           0.00
                          MARTIN MENDOZA
                          15704 ORANGE AVE
                          APT 142
     001082               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          JOSE OREJEL
                          9222 DOROTHY AVE
     001083               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SERGIO OREJEL
                          9222 DOROTHY AVE
     001084               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          ALEJO OROSCO
                          12424 BREEZEWOOD
                          DR APT 11
     001085               WHITTIER, CA 90604       $          0.00 $              0.00 $           0.00
                          SALVADOR CHAVEZ
                          1267 N MARIN AVENUE
                          WILMINGTON, CA
     001086               90744               $               0.00 $              0.00 $           0.00
                          ENRIQUE COLIN
                          6840 BEAR AVE
     001087               BELL, CA 90201           $          0.00 $              0.00 $           0.00
                          JOSE CRUZ
                          14632 SAN JOSE AVE
     001088               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          JOSE SANCHEZ CRUZ
                          7005 WATCHER ST
     001089               COMMERCE, CA 90040       $          0.00 $              0.00 $           0.00
                          JOSE GODINEZ
                          1900 CAMPUS AVE
     001090               ONTARIO, CA 91761        $          0.00 $              0.00 $           0.00
                          DANIEL GARCIA
                          417 E 118TH STD
                          LOS ANGELES, CA
     001091               90061                    $          0.00 $              0.00 $           0.00
                          JAVIER HERNANDEZ
                          7622 9TH ST APT B
     001092               BUENE PARK, GA 90621 $              0.00 $              0.00 $           0.00
                          ARTURO LOPEZ
                          1811 ROSEWOOD
     001093               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          MAURO LOPEZ
                          3238 PONTIAC AVE
     001094               RIVERSIDE, CA 92509      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ALBERTO LUNA
                          1432 NOCTA ST #C
     001095               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          JORGE MAGANA
                          1718 E FLORA ST #B
     001096               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          MARTIN MENDOZA
                          15704 ORANGE AVE
                          APT 142
     001097               PARAMOUNT, CA 90723 $               0.00 $              0.00 $           0.00
                          JOSE OREJEL
                          9222 DOROTHY
                          AVENUE
     001098               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          SERGIO OREJEL
                          9222 DOROTHY AVE
     001099               SOUTH GATE, CA 90280 $              0.00 $              0.00 $           0.00
                          ALEJO OROSCO
                          12424 BREEZEGOOD DR
                          APT 11
     001100               WHITTIER, CA 90604  $               0.00 $              0.00 $           0.00
                          DEPT OF THE
                          TREASURY IRS
                          PO BOX 9112 JFK BLDG
                          STOP 20800
     001102               BOSTON, MA 02203     $        374,910.48 $              0.00 $      33,350.56
                          KIMBERLY A ALLEN
                          5995 N WILDWOOD #233
     001103               WESTWOOD, MI 48185 $            1,120.00 $          1,120.00 $           0.00
                          JIARO SUAREZ
                          1345 CEDAR AVE
     001104               LONG BEACH, CA 90813 $              0.00 $              0.00 $           0.00
                          ANTONIO TORRES
                          1245 DAISY ST #1
     001105               LONG BEACH, CA 90806 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOSE VARGAS
                          10740 FRACAR
     001106               LYNWOOD, CA 90262        $          0.00 $              0.00 $             0.00
                          EUCARIO VELASQUEZ
                          4200 SUNNYVIEW RD.
                          NE APT. 224
     001107               SALEM, OR 97305          $          0.00 $              0.00 $             0.00
                          DEPT OF TREASURY-
                          INTERNAL REVENUE
                          SVC
                          PO BOX 9112
                          JFK BUILDING
                          STOP 20800
     001109-B             BOSTON, MA 02203         $      2,465.42 $              0.00 $           219.32
                          ROSALINO ADAME
                          1467 E. ELMA #B
     001110               ONTARIO, CA 91764        $          0.00 $              0.00 $             0.00
                          ALFREDO ALCALA
                          9716 CEDAR ST
                          BELLFLOWER, CA
     001111               90706                    $          0.00 $              0.00 $             0.00
                          GENARO GONZALEZ
                          APARICIA
                          625 N ISLAND
                          WILMINGTON, CA
     001112               90745                    $          0.00 $              0.00 $             0.00
                          ANDRES ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     001113               90201                    $          0.00 $              0.00 $             0.00
                          JOSE ARANDA
                          6746 GAGE AVE
                          BELL GARDENS, CA
     001114               90201                    $          0.00 $              0.00 $             0.00
                          GABRIEL ARENIVAR
                          627 W 5TH ST
     001115               LONG BEACH, CA 90813 $              0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CARMELO CARDENAS
                          8550 ROSE ST
                          BELLFLOWER, CA
     001116               90706                    $          0.00 $              0.00 $           0.00
                          MICHAEL SCHWED
                          901 FRANKLIN AVE
     001117               OCEAN, NJ 07124          $          0.00 $              0.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE.
                          GRAND HAVEN, MI
     001119-A             49417                    $          0.00 $              0.00 $           0.00
                          JAMIE DOLE
                          513 FAIRVIEW
     001120               SALINA, KS 67401         $        193.68 $           193.68 $            0.00
                          PAUL PRAIRIE
                          3618 N VINCENNES
                          TRAIL
     001121-A             MOMENCE, IL 60954        $          0.00 $              0.00 $           0.00
                          EICK/SWEENY DANI
                          560 HEMLOCK ST.
     001122               RAWAY, NJ 07065          $      2,070.00 $          2,070.00 $           0.00
                          FRANCES ANTHONY
                          SUMMEY
                          PO BOX 837
     001123               STANLEY, NC 28164        $      2,312.96 $          2,312.96 $           0.00
                          MAURA MESSINA
                          291 SEDGEWICK DR.
     001124-A             MAGNOLIA, DE 19962       $      1,446.70 $          1,446.70 $           0.00
                          BYRON A BUITENDORP
                          13408 120TH AVE
                          GRAND HAVEN, MI
     001126               49417              $              371.97 $           371.97 $            0.00
                          DEREK M. DENOYER
                          1149 COBB BLVD
     001127-A             KANKAKEE, FL 60901       $      4,925.00 $          4,925.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TODD SKLAR
                          5790 FOX HOLLOW DR.
     001128-B             BOCA RATON, FL 33486 $              0.00 $              0.00 $           0.00
                          DERRICK THOMAS
                          1961 NEPTUNE DRIVE
     001129-A             AUGUSTA, GA 30906        $          0.00 $              0.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE
                          GRAND HAVEN, MI
     001131-B             49417                    $          0.00 $              0.00 $           0.00
                          AMBER R GOOSTREE
                          10002 LYDIA CT
     001132               WICHITA, KS 67209        $        976.50 $           976.50 $            0.00
                          BELINDA BALSAUO
                          935 S 8TH AVENUE
     001133-A             KAUKAKEE, FL 60901       $      4,375.70 $          4,375.70 $           0.00
                          MAGGIE MORONEY
                          2818 190TH ST.
     001135               WINTHROP, IA 50682       $      1,442.30 $          1,442.30 $           0.00
                          NOEL, MANDI
                          1212 WILD TURKEY DR
     001136               DERBY, KS 67037     $               0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SERVICES
                          PO BOX 5300
     001137-A             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          THE STATE OF NEW
                          JERSEY
                          DIVISION OF
                          EMPLOYER ACCOUNTS
                          PO BOX 379
     001138               TRENTON, NJ 08625 $            42,057.91 $              0.00 $       3,741.31




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                                                    Allowed Amount     Interim Payments Proposed
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                          STATE OF NY DEPT OF
                          LABOR
                          ATTN:
                          UNEMPLOYMENT
                          INSURANCE DIVISION
                          BUILDING 12, ROOM
                          256
     001139               ALBANY, NY 12240    $               0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001140-A             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001141-B             ALBANY, NY 12205   $               16.93 $              0.00 $           1.51
                          CERTA PRO PAINTERS
                          9011 MIRA MESA
                          BOULEVARD #203
     001144-B             SAN DIEGO, CA 92126      $          0.00 $              0.00 $           0.00
                          GILBERT COLON
                          125 S CURLEY ST
     001153               BALTIMORE, MD 21224 $           4,650.00 $          4,650.00 $           0.00
                          VALLEY INDUSTRIAL
                          FAMILY MEDICAL
                          6011 N FRESNO ST 115
     001158-A             FRESNO, CA 93710         $          0.00 $              0.00 $           0.00
                          MONARCH TREE
                          SERVICE
                          7290 EQUUS LANE
     001159-A             VACAVILLE, CA 95688      $          0.00 $              0.00 $           0.00
                          OLASKOWITZ, STAN
                          51 LEO AVENUE
     001161-B             STANHOPE, NJ 07874       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ELAINE M SININS
                          35 SINCLAIR TER
     001163               SHORT HILLS, NJ 07078 $             0.00 $              0.00 $           0.00
                          LUIS J FERNANDEZ
                          517 MOUNTAINVIEW
                          AVE.
                          VALLEY COTTAGE, NY
     001164-A             10989              $                0.00 $              0.00 $           0.00
                          RODRIGUEZ, MAXIEL
                          6408 POLK ST., APT 1
     001171               WEST NY, NJ 07093        $        400.00 $           400.00 $            0.00
                          MACHAEL, THOMAS
                          5132 GLORIA ST
     001175               WAYNE, MI 48184          $        327.60 $           327.60 $            0.00
                          RIZZOLO, R LEE
                          2564 AUDREY TERACE
     001178-A             UNION, NJ 07083          $      1,891.45 $          1,891.45 $           0.00
                          ELAINE M SININS
                          35 SINCLAIR TER
     001181               SHORT HILLS, NJ 07078 $             0.00 $              0.00 $           0.00
                          ELAINE M SININS
                          35 SINCLAIR TER
     001182               SHORT HILLS, NJ 07078 $             0.00 $              0.00 $           0.00
                          BARRY M SININS
                          2304 TRIDENT MAPLE
                          ST
     001183               LAS VEGAS, NV 89117      $          0.00 $              0.00 $           0.00
                          BARRY M SININS
                          2304 TRIDENT MAPLE
                          ST
     001184               LAS VEGAS, NV 89117      $          0.00 $              0.00 $           0.00
                          MONARCH TREE
                          SERVICE
                          7290 EQUUS LANE
     001186-A             VACAVILLE, CA 95688      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ST AUGUSTINE
                          ALLIGATOR FARM INC
                          999 ANATASIA BLVD
                          ST AUGUSTINE, FL
     001188-A             32080              $                0.00 $              0.00 $            0.00
                          THOMAS, ELMER L
                          POST OFFICE BOX 13
     001191-A             ATLANTIC, VA 23302       $          0.00 $              0.00 $            0.00
                          CARFRE INC DBA
                          HANDYMAN
                          110 S. ROSEMEAD
                          BLVD SUITE G
     001192-A             PASADENA, CA 91107       $          0.00 $              0.00 $            0.00
                          COOPER, PAMELA M
                          916 NORTH DUKE ST.
     001195-A             LANCASTER, PA 17602      $        320.00 $           320.00 $             0.00
                          SANDOVAL, MIGUEL
                          1355 ARTHUR BURCH
                          DR
                          LOT F 5
                          BOURBONNAIS, IL
     001196               60914                    $         46.17 $            46.17 $             0.00
                          MARTINEZ, AMANDA
                          1070 S. OSBORN
     001197               KANKAKEE, IL 60901       $        191.74 $           191.74 $             0.00
                          NEW MEXICO DEPT OF
                          LABOR
                          EMPLOYMENT
                          SECURITY DIVISION
                          PO BOX 1928
                          ALBUQUERQUE, NM
     001199-B             87103              $              705.83 $              0.00 $           62.79
                          PLATA, MARIA
                          PO BOX 1435
                          CENTRAL ISLIP, NY
     001200               11722                    $        154.49 $           154.49 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WILSON, ROSALINA U
                          768 MARIETTA AVE.,
                          APT. B
     001204-A             LANCASTER, PA 17603      $          0.00 $              0.00 $            0.00
                          WILSON, ROSALINA U
                          768 MARIETTA AVE.,
                          APT B
     001207-B             LANCASTER, PA 17603      $        465.00 $           465.00 $             0.00
                          NAPLES CENTER FOR
                          HAND
                          1409 KINGSLEY AVE
                          STE 6B
                          ORANGE PARK, FL
     001209-B             32073                    $          0.00 $              0.00 $            0.00
                          KNISLEY, SCOTT W
                          37 DUFFIELD DRIVE
     001210               LITITZ, PA 17543         $        588.68 $           588.68 $             0.00
                          OFC OF
                          UNEMPLOYMENT
                          COMPENSATION TAX
                          SVC
                          ATTN: HARRISBURG
                          COMPLIANCE & BKCY
                          COMMONWEALTH OF
                          PA, DEPT OF LABOR &
                          IND.
                          1171 S. CAMERON ST,
                          RM 312
     001211               HARRISBURG, PA 17104 $            140.26 $              0.00 $           12.47
                          OFC OF
                          UNEMPLOYMENT
                          COMPENSATION TAX
                          SVC
                          ATTN: HARRISBURG
                          COMPLIANCE & BKCY
                          COMMONWEALTH OF
                          PA - DEPT OF LABOR &
                          IND
                          1171 S CAMERON ST
                          RM 312
     001212               HARRISBURG, PA 17104 $              0.00 $              0.00 $            0.00




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                          OFC OF
                          UNEMPLOYMENT
                          COMPENSATION TAX
                          SVC
                          ATTN: HARRISBURG
                          BKCY & COMPLIANCE
                          OFC
                          COMMONWEALTH OF
                          PA - DEPT OF LABOR &
                          IND
                          1171 S CAMERON ST
                          RM 312
     001213               HARRISBURG, PA 17104 $              0.00 $              0.00 $             0.00
                          OFC OF
                          UNEMPLOYMENT
                          COMPENSATION TAX
                          SVC
                          ATTN: HARRISBURG
                          BKCY & COMPLIANCE
                          OFC
                          COMMONWEALTH OF
                          PA - DEPT OF LABOR &
                          IND
                          1171 S CAMERON ST
                          RM 312
     001214-A             HARRISBURG, PA 17104 $          1,130.16 $              0.00 $           100.53
                          CUEVAS, VERONICA
                          678 DEL ROSA PL
                          APT. D
     001215-A             POMONA, CA 91768         $        211.76 $           211.76 $              0.00
                          KIEREN L BRIGHT
                          33 VALERIE AVE
     001216-B             EPHRATA, PA 17522        $      4,839.60 $          4,839.60 $             0.00
                          CORNERSTONE
                          PLASTERING
                          4352 CORDERO DRIVE
                          EL DORADO HILLS, CA
     001220-A             95762               $               0.00 $              0.00 $             0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          ZURITA, JESUS
                          430 E. ORANGE ST. APT.
                          2
     001221               LANCASTER, PA 17602 $             660.00 $           660.00 $            0.00
                          BINDRA, BALJEET
                          1315 APPLE AVE
     001223               HAYWARD, CA 94541        $        948.20 $           948.20 $            0.00
                          SINGH, TAPINDER
                          1315 APPLIE AVE
                          #1345
     001224               HAYWARD, CA 94541        $          0.00 $              0.00 $           0.00
                          CORNERSTONE
                          PLASTERING
                          4352 CORDERO DRIVE
                          EL DORADOHILLS, CA
     001226-B             95762                    $          0.00 $              0.00 $           0.00
                          HARVEY, KRIS
                          241 MAIN STREET
     001230               EYNON, PA 18403          $        147.00 $           147.00 $            0.00
                          VERDON, JASON
                          1695 RIVER ST
     001233               SANTA CRUZ, CA 95060 $          1,153.33 $          1,153.33 $           0.00
                          HEIDI J SUROCK
                          9303 BELLBECK RD
     001234-A             BALTIMORE, MD 21234 $           4,925.00 $          4,925.00 $           0.00
                          KEVIN ABERNATHY
                          17 SUSAN CT
     001235-A             AKRON, OH 44307          $          0.00 $              0.00 $           0.00
                          HULSEY, MARK
                          1265 AVOCADO BLVD.
     001238-B             EL CAJON, CA 92020       $          0.00 $              0.00 $           0.00
                          DON'S FRAMING
                          5814 SUNGLO AVENUE
     001245-B             PORT RICHEY, FL 34668 $             0.00 $              0.00 $           0.00
                          SIMON, DIANE
                          5820 SUNGLO AVE
     001246-A             PORT RICHEY, FL 34653 $             0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SIMON, ROBERT
                          5814 SUNGLOW AVE
     001247-B             PORT RICHEY, FL 34668 $             0.00 $              0.00 $           0.00
                          SIMON, JAMES T
                          5814 SUNGLOW AVE
     001248-A             PORT RICHEY, FL 34668 $             0.00 $              0.00 $           0.00
                          PEREZ, CARMELO
                          136 36TH STREET
                          APT 2
     001251               UNION CITY, NJ 07087     $      2,700.00 $          2,700.00 $           0.00
                          LAWRENCE MACARO
                          104 PERSIMMON LN
     001252               HAMPSTEAD, NC 28443 $               0.00 $              0.00 $           0.00
                          LAWRENCE MACARO
                          104 PERSIMMON LN
                          ATTN: LAWRENCE
                          MACARO
     001253               HAMPSTEAD, NC 28443 $               0.00 $              0.00 $           0.00
                          LAWRENCE MACARO
                          104 PERSIMMON LANE
     001254               HAMPSTEAD, NC 28443 $               0.00 $              0.00 $           0.00
                          PETER, ZOLITAN M.
                          80 LAFAYETTE LANE
     001259-A             ELKHORN, WI 53121        $          0.00 $              0.00 $           0.00
                          GRACIELA MARTINEZ
                          322 1/2 E STATION ST
     001260-A             KANKAKEE, IL 60901       $      1,120.00 $          1,120.00 $           0.00
                          MONARCH TREE
                          SERVICE
                          7290 EQUUS LN
     001266-A             VACAVILLE, CA 95688      $          0.00 $              0.00 $           0.00
                          BEATTY, DAWN
                          5556 MANCHESTER RD
     001274               AKRON, OH 44319    $              338.98 $           338.98 $            0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          FRAZIER, WENDY
                          12715 METTETAL
                          STREET
     001278-B             DETROIT, MI 48227        $          0.00 $              0.00 $           0.00
                          CHRISTIANSON, JAMES
                          A.
                          10095 ARROW LEAF
                          MORENO VALLEY, CA
     001282-B             92557               $               0.00 $              0.00 $           0.00
                          DOUG LAFRANCE
                          117 KESTZEL RD.
                          MOUNTAIN TOP, PA
     001286-B             18707                    $          0.00 $              0.00 $           0.00
                          WANDLING, BRENT
                          1850 W DOWNER
                          PLACE
     001288               AURORA, IL 60506         $        341.56 $           341.56 $            0.00
                          BORGE, ARNOLD
                          1120 OAKDALE RD.
                          APT 4
     001290               MODESTO, CA 95355        $          0.00 $              0.00 $           0.00
                          ROBERT DAIGNEAULT
                          MD
                          227 N EL CAMINO REAL
                          STE 100
     001292-A             ENCINITAS, CA 92024  $              0.00 $              0.00 $           0.00
                          PULIDO, YUNEIDY
                          737 FIRST STREET
     001293               LANCASTER, PA 17603      $        184.00 $           184.00 $            0.00
                          GUNAWARDENE,
                          JAYASIN
                          3071 ROSE AVE
                          #322
     001294               SAN JOSE, CA 95127       $          0.00 $              0.00 $           0.00
                          ORIHUELA, JUAN
                          1631 MILDRED AVE.
     001296               LINDEN, NJ 07036         $        397.11 $           397.11 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          EL CAMINO MED
                          CENTER
                          227 N EL CAMINO REAL
                          SUITE 100
     001297-A             ENCINTIAS, CA 92024  $              0.00 $              0.00 $             0.00
                          TOLEDO, EDWIN D
                          41 1D CROWN CIRCLE
     001298-B             SCRANTON, PA 18505       $          0.00 $              0.00 $             0.00
                          CLAUDIA SILVA
                          6910 MARSLE DR APT
                          2C
     001299               BALTIMORE, MD 21215 $             620.00 $           620.00 $              0.00
                          STATE OF MICHIGAN -
                          DEPT OF TREASURY
                          ATTN: STEVEN B
                          FLANCHER AAG
                          P O BOX 30754
     001301               LANSING, MI 48909        $          0.00 $              0.00 $             0.00
                          STATE OF MICHIGAN -
                          DEPT OF TREASURY
                          REVENUE DIV
                          ATTN: STEVEN B
                          FLANCHER AAG
                          P O BOX 30754
     001302               LANSING, MI 48909        $      3,806.02 $              0.00 $           338.57
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY
                          NEWPORT BEACH, CA
     001305-B             92663                    $          0.00 $              0.00 $             0.00
                          ANNETTE PALMATEER
                          130 WATER ST.
                          WADSWORTH, OH
     001307-A             44281             $             1,965.69 $          1,965.69 $             0.00
                          GIBSON, WALTER I
                          32 N. SUSSEX ST.
     001309               DOPVER, NJ 07801         $         63.12 $            63.12 $              0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF MICHIGAN
                          UIA TAX OFFICE
                          POC UNIT
                          3024 W GRAND BLVD
                          STE 11-500
     001313               DETROIT, MI 48202        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          UIA TAX OFFICE
                          POC UNIT
                          3024 W GRAND BLVD
                          STE 11-500
     001314               DETROIT, MI 48202        $          0.00 $              0.00 $           0.00
                          HERNANDEZ, ZAINAT
                          101 HAMPDEN DR.
     001316-B             MOUNTVILLE, PA 17554 $            330.00 $           330.00 $            0.00
                          LEWIS, ANDREW
                          3137 GLENDALE ST.
                          MUSKEGON HTS, MI
     001319-A             49444                    $          0.00 $              0.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE
                          GRAND HAVEN, MI
     001320-A             49417                    $      2,975.25 $          2,975.25 $           0.00
                          MAUREEN E CRUZ
                          756 W VINE ST
     001325-A             LANCASTER, PA 17603      $      4,925.00 $          4,925.00 $           0.00
                          AIDALIS LOPEZ
                          1001 AYRES CT.
     001326-A             LANCASTER, PA 17602      $      2,016.31 $          2,016.31 $           0.00
                          EMMONS ROOF
                          SERVICE
                          PO BOX 1150
     001327-A             POMONA, CA 91769         $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          VAN DYK OIL
                          COMPANY INC
                          VAN DYK TANK LINES
                          INC
                          C/O 1405 W RIALTO
                          AVE
                          SAN BERNARDINO, CA
     001329               92410              $                0.00 $              0.00 $           0.00
                          LUTZ, CHRIS
                          2144 OAK HOLLOW
                          DRIVE
                          APT 2
     001337               COLUMBIA, PA 17512       $        527.43 $           527.43 $            0.00
                          ESTATE OF
                          MOSTELLER, ROBERT
                          1823 MOREHEAD
                          AVENUE
     001339               ORLANDO, FL 32826        $          0.00 $              0.00 $           0.00
                          MRS DEBORAH
                          MOSTELLER
                          WIDOW OF ROBERT
                          MOSTELLER
                          1823 MOREHEAD AVE
     001340               ORLANDO, FL 32826        $          0.00 $              0.00 $           0.00
                          AYBAR GARAICOA
                          45 ROSSITER AVE
     001343-A             PATERSON, NJ 07502       $          0.00 $              0.00 $           0.00
                          WILLSTAFF
                          WORLDWIDE
                          STAFFING
                          328 DESIARD ST
     001347               MONROE, LA 71201         $          0.00 $              0.00 $           0.00
                          MILLER, BRYCE
                          4800 MARCONI AVE
                          APT 287
                          CARMICHAEL, CA
     001348               95608                    $          0.00 $              0.00 $           0.00
                          HALL, BARABBAS
                          31 ERNST STREET
     001351               ROCHESTER, NY 14621      $        305.64 $           305.64 $            0.00




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                          SPC WILSON JACOB
                          420 KAANAPALI
     001352               BASTROP, TX 78602        $        600.00 $           600.00 $             0.00
                          SUTTON TREE SERVICE
                          2236 SOUTH SANTA FE
     001355-B             VISTA, CA 92084     $               0.00 $              0.00 $            0.00
                          THE PORT AUTHORITY
                          OF NY AND NJ
                          OFFICE OF DONALD F
                          BURKE ESQ
                          ATTN: EZRA BIALIK
                          ESQ
                          225 PARK AVE S 13TH
                          FL
     001360-B             NEW YORK, NY 10003  $          12,539.91 $         12,539.91 $            0.00
                          GONZALES, PASQUAL
                          415 DONNAS LANE
     001361-A             HOLLISTER, CA 95023      $          0.00 $              0.00 $            0.00
                          MISSOURI DEPT OF
                          LABOR & IND
                          RELATIONS
                          ATTN: MISSOURI DIV
                          OF EMP SECURITY
                          P O BOX 59
                          ATTN: LEGAL
                          COUNSEL
                          JEFFERSON CITY, MO
     001365               65104                    $         64.17 $              0.00 $            5.71
                          MISSOURI DEPT OF
                          LABOR & IND
                          RELATIONS
                          C/O MISSOURI DIV OF
                          EMP SECURITY
                          P O BOX 59
                          ATTN: LEGAL
                          COUNSEL
                          JEFFERSON CITY, MO
     001366-A             65104                    $        702.00 $              0.00 $           62.45




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                          BROWN, SHANE S.
                          128 TILDENVILLE SCH.
                          RD.
                          WINTER GARDEN, FL
     001369-B             34787                $              0.00 $              0.00 $           0.00
                          HERNANDEZ, TERESA
                          6139 OLVERA CT
     001371               CHINO, CA 91710          $        246.15 $           246.15 $            0.00
                          OBISPO LOURDES
                          190 E FIRST ST F102
     001374               CLIFTON, NJ 07011        $          0.00 $              0.00 $           0.00
                          DESINA, OSNEL
                          1139 FANSHAWE
                          STREET
                          PHILADELPHIA, PA
     001377               19111                    $         67.61 $            67.61 $            0.00
                          RICHARD J STEWART
                          22185 CENTER ST #39
                          CASTRO VALLEY, CA
     001380               94546                    $          0.00 $              0.00 $           0.00
                          SALINAS, JOSE LUIS
                          3333 MARINE AVENUE
                          APARTMENT # 7
     001382-A             GARDENA, CA 90249        $        529.26 $           529.26 $            0.00
                          NUNEZ PARAMO,
                          MIRNA
                          3333 MARINNE
                          APARTMENT #7
     001383-C             GARDENA, CA 90247        $        237.48 $           237.48 $            0.00
                          ROMINGER, EDWARD
                          1051 NORTH P. ST
     001388               LIVERMORE, CA 94551      $          0.00 $              0.00 $           0.00
                          ALFREDO YAGUALCA
                          9620 KESTER AVE
     001390               NORTH HILLS, CA 91343 $         2,892.30 $          2,892.30 $           0.00




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                          ROYSTON, ROSS
                          1937 ARDITH DRIVE
                          PLEASANT HILL, CA
     001397               94550                    $          0.00 $              0.00 $             0.00
                          LIU, JINFAR
                          3 TRINITY PLACE
                          EAST HANOVER, NJ
     001398               07936                    $      1,545.18 $          1,545.18 $             0.00
                          TANSEY, BRUCE
                          3041 SANDPIPER BAY
                          CIR
     001400-A             NAPLES, FL 34112         $          0.00 $              0.00 $             0.00
                          SMITH, CYNTHIA
                          PO BOX 154
     001402               PLYMOUTH, PA 19851       $        329.38 $           329.38 $              0.00
                          L & J ORDONEZ BROS
                          INC
                          138 S MAIN ST
     001403               HIGHTSTOWN, NJ 08520 $            875.74 $           875.74 $              0.00
                          SALINAS, JOEL
                          3333 MARINE AVENUE
                          APARTMENT # 7
     001405-A             GARDENA, CA 90249        $        476.90 $           476.90 $              0.00
                          WALLACE, JASON
                          215 WEST MAINT
                          STREET
     001406               PORT JERVIS, NY 12771 $           700.00 $              0.00 $           700.00
                          BRADLEY GOLD
                          DESIGNS INC
                          ATTN: BRADLEY
                          WEINHOLTZ
                          22142 SALCEDO
                          MISSION VIEJO, CA
     001408               92691                    $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001411-B             32314                    $          0.00 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001412-A             32314                    $          0.00 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001413-B             32314                    $          0.00 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001414-A             32314                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PRATT INDUSTRIES
                          (USA)
                          ATTN: JERRY SEVY
                          ESQ
                          1800 C SARASOTA
                          PARKWAY
     001416               CONYERS, GA 30013        $          0.00 $              0.00 $           0.00
                          MABEL VEGA
                          13 FLEMING AVE #3 FL
     001418               NEWARK, NJ 07105     $            205.60 $           205.60 $            0.00
                          SEARCY, GEORGE
                          4479 PHILLIPS HWY.
                          LOT89
                          JACKSONVILLE, FL
     001424-B             32207                    $          0.00 $              0.00 $           0.00
                          JOHN L WILLIAMSON
                          3034 DELOR DR
                          JACKSONVILLE, FL
     001425-A             32234                    $          0.00 $              0.00 $           0.00
                          JAMES RONALD JONES
                          7202 SILVER LAKE
                          TERRACE
                          JACKSONVILLE, FL
     001426-B             32216              $                0.00 $              0.00 $           0.00
                          JONES, JAMES
                          224 E PISA PLACE
                          ST. AUGUSTINE, FL
     001427-A             32084                    $          0.00 $              0.00 $           0.00
                          PARRIS, ERNEST
                          17347 NEW BRANDY
                          BRANCH
     001428-B             BALDWIN, FL 32234        $          0.00 $              0.00 $           0.00
                          GOOD, WILLIAM
                          4479 PHILIPS HWY. LOT
                          79
                          JACKSONVILLE, FL
     001429-A             32207                 $             0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JONES, JAN
                          4440 HEAVEN TREES
                          RD.
                          JACKSONVILLE, FL
     001430-B             32207                    $          0.00 $              0.00 $           0.00
                          CARVEY, ELISA
                          4479 PHILLIPS HW.
                          JACKSONVILLE, FL
     001431-A             32207                    $          0.00 $              0.00 $           0.00
                          SUNTREE MOBILE
                          HOME PARK
                          4479 PHILLIPS
                          HIGHWAY
                          JACKSONVILLE, FL
     001432-B             32207                    $          0.00 $              0.00 $           0.00
                          BENSON, JOHN
                          1541 W. 3RD STREET
     001442-A             SANTA ROSA, CA 98525 $              0.00 $              0.00 $           0.00
                          MARINO LORYN
                          2 CHELTENHAM PLACE
                          APT 2
     001449-B             SAYREVILLE, NJ 08872 $              0.00 $              0.00 $           0.00
                          WILLIAMSON,
                          GREGORY
                          331 STIPAUL
     001451-A             MEMPHIS, TN 38126        $          0.00 $              0.00 $           0.00
                          YORK, WILLIE L.
                          505 LINDEN ST
     001452               SCRANTON, PA 18509       $        180.00 $           180.00 $            0.00
                          CORNEJO, SERAFIN
                          22190 DEPRAD ST
     001457-B             PERRIS, CA 92570         $          0.00 $              0.00 $           0.00
                          BARR, ANJEANNETTE
                          5731 DEWEY BLVD
                          APT G
                          SACRAMENTO, CA
     001459-A             95824                    $          0.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          BETANCUR,
                          ALEXANDER
                          319 25TH STREET
                          APARTMENT 1
     001471               UNION CITY, NJ 07093     $      2,608.00 $          2,608.00 $           0.00
                          MORTENSON,
                          RAYMOND
                          9 SENECA STREET
                          STATEN ISLAND, NY
     001479-A             10310                    $          0.00 $              0.00 $           0.00
                          STREBLOW, HEINZ
                          3022 WELLINGTON
                          DRIVE
     001481-B             PALMDALE, CA 93551       $          0.00 $              0.00 $           0.00
                          JACKSON, FRANCES
                          220 64TH STREET
                          APT 12
                          WEST NEW YORK, NJ
     001482-A             07093                    $          0.00 $              0.00 $           0.00
                          NEAL, KENNETH
                          255 SAGE STREET
     001486-B             VALLEJO, CA 94589        $          0.00 $              0.00 $           0.00
                          ESTRADA, OMAR
                          386 DELAVAN
                          NEW BRUNSWICK, NJ
     001489-B             08901                    $        915.75 $           915.75 $            0.00
                          PEAV, SIM
                          1608 WEBSTER STREET
     001492-B             ALAMEDA, CA 94589   $               0.00 $              0.00 $           0.00
                          GONZALEZ, LUZ
                          ELENA
                          13632 SOUTH BERENDO
     001496-A             GARDENA, CA 90247   $             623.94 $           623.94 $            0.00
                          BELLIDO, GIOVANNY
                          21 SOUTH SPRING ST.
                          APT 1
     001504-A             ELIZABETH, NJ 07201      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MCKENZIE, DEANDRE
                          23 FARLEY AVE
     001506-A             NEWARK, NJ 07103         $          0.00 $              0.00 $            0.00
                          PROFITT, SHAUN D.
                          9168 WINCHESTER RD
     001508-A             CLAY CITY, KY 40312      $          0.00 $              0.00 $            0.00
                          SPENCE, ALAN
                          534 ST. MARY ST
     001511               BALTIMORE, MD 21201 $             349.79 $           349.79 $             0.00
                          MCGEE, NIKKIYA
                          23 FARLEY AVE.
     001514-A             NEWARK, NJ 07108         $          0.00 $              0.00 $            0.00
                          ALLEN, LESLIE
                          PO BOX 591
     001520               MEMPHIS, TN 38101        $      1,661.57 $          1,661.57 $            0.00
                          TRUDELL, PAULA
                          3767 VINEYARD AVE
                          APT 56
     001521               PLEASANTO, CA 94566      $          0.00 $              0.00 $            0.00
                          HAMMONTREE, TINA
                          3767 VINEYARD AVE
                          APT 56
     001522               PLEASANTON, CA 94566 $              0.00 $              0.00 $            0.00
                          RIVERA, EMERITA
                          53 WRIGHT PLACE
                          NEW BRUNSWICK, NJ
     001529               08901                    $        955.50 $           955.50 $             0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001530-A             32314                    $        560.28 $              0.00 $           49.84




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001531-B             32314                    $      1,083.96 $              0.00 $           96.42
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001533-B             32314                    $        124.09 $              0.00 $           11.04
                          SIMMONS, RONALD L
                          410 CHESTNUT ST
     001534               BELLEFONTE, PA 16823 $            300.00 $           300.00 $             0.00
                          KLEINFELD, ANNETT
                          2152 39TH AVE NW
                          COCONUT CREEK, FL
     001535               33066                    $          0.00 $              0.00 $            0.00
                          KAHLON, MANJINDER
                          P O BOX 1051
     001536               PLEASANTON, CA 94566 $              0.00 $              0.00 $            0.00
                          MOHAMMAD,
                          ISHMAEL
                          6173 BELLE FORREST
                          DR
     001537               MEMPHIS, TN 38115        $        204.75 $           204.75 $             0.00
                          GONZALEZ, EDDIE A
                          300 LINDEN STREET
     001538-A             COLUMBIA, PA 17512       $          0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NEVADA DEPT OF
                          TAXATION
                          ATTN: BANKRUPTCY
                          SECTION
                          555 E WASHINGTON
                          AVE STE #1300
     001539-B             LAS VEGAS, NV 89101      $      1,147.36 $              0.00 $           102.06
                          RUBIO, JOSEPH J.
                          1275 W. 26TH
                          SAN BERNARDINO, CA
     001540-A             92405              $              509.55 $           509.55 $              0.00
                          COVINGTON,
                          CLIFFORD
                          34 SHERWOOD AVE, #1
     001546-B             ROCHESTER, NY 14619 $               0.00 $              0.00 $             0.00
                          STATE OF ILLINOIS
                          DEPT OF REVENUE
                          100 W RANDOLPH ST
                          #7-425
                          ATTN: BANKRUPTCY
                          UNIT
                          JAMES R THOMPSON
                          CENTER
     001577               CHICAGO, IL 60601        $      1,552.00 $              0.00 $           138.06
                          ILLINOIS DEPT OF
                          REVENUE
                          100 W RANDOLPH ST
                          #7-425
                          ATTN: BANKRUPTCY
                          UNIT
                          JAMES R THOMPSON
                          CENTER
     001578-A             CHICAGO, IL 60601        $      4,876.54 $              0.00 $           433.80
                          WEST VIRGINIA STATE
                          TAX DIV
                          P O BOX 766
                          ATTN: CHRISSY
                          BROWN
                          CHARLESTON, WV
     001579               25323               $               0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          RODRIGUEZ, CARLOS R
                          78 COUNTRY DRIVE
     001581               LEOLA, PA 17540     $             232.80 $           232.80 $            0.00
                          CARR, SHANE
                          6525 W MAGNOLIA ST.
     001582-A             PHOENEX, AZ 85043        $      1,253.39 $          1,253.39 $           0.00
                          JIM BROCK
                          3312 KEITHSHIRE WAY,
                          APT 2
     001583-B             LEXINGTON, KY 40503 $               0.00 $              0.00 $           0.00
                          CLASS, RAFAEL
                          328 LEON AVENUE
                          1ST FLOOR
                          PERTH AMBOY, NJ
     001586               08861                    $      3,036.63 $          3,036.63 $           0.00
                          GAO, KELLY
                          444 HOWE AVE, APT 2
     001592               PASSAIC, NJ 07055        $          0.00 $              0.00 $           0.00
                          MURRAY, ODELIER
                          5955 LISKA LN, APT 201
     001603-B             SAN JOSE, CA 95119     $            0.00 $              0.00 $           0.00
                          VALLE, DOMITILIA
                          500 SOUTH EATON ST
     001604-A             BALTIMORE, MD 21205 $               0.00 $              0.00 $           0.00
                          VARGAS, MOISES
                          19055 ENVOY AVE.
     001605-A             CORONA, CA 92881         $          0.00 $              0.00 $           0.00
                          ELLIS, GAYLE
                          43421 ALEP STREET
     001609               LANCASTER, CA 93536      $          0.00 $              0.00 $           0.00
                          OMNIGEN
                          1740 W.KATELLA
                          AVENUE STE G
     001618-A             ORANGE, CA 92867         $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          OMNIGEN
                          1740 W.KATELLA
                          AVENUE
                          STE G
     001619-B             ORANGE, CA 92867         $          0.00 $              0.00 $             0.00
                          STATE OF GEORGIA
                          DEPT OF REVENUE
                          PO BOX 161108
     001624-B             ATLANTA, GA 30321        $      2,551.18 $              0.00 $           226.94
                          STATE OF NY DEPT OF
                          LABOR
                          ATTN
                          UNEMPLOYMENT
                          INSURANCE DIV
                          BLDG 12 ROOM 256
                          ATTN: LISA PEARSON
                          TAX COMPLIANCE
     001632               ALBANY, NY 12240    $               0.00 $              0.00 $             0.00
                          STATE OF DELAWARE
                          DIVISION OF REVENUE
                          ATTN RANDY R
                          WELLER - MS #25
                          820 N FRENCH ST 8TH
                          FL
     001640-B             WILMINGTON, DE 19801 $              0.00 $              0.00 $             0.00
                          ROSE, MARJORIE
                          5739 ENGLE RD APT D
                          CARMICHAEL, CA
     001649-A             95608                    $          0.00 $              0.00 $             0.00
                          STORM RAMIREZ
                          7905 KREEGER RD #104
     001652               ADELFHI, MO 20783    $          4,650.00 $          4,650.00 $             0.00
                          DE LA HOZ, MAYRA
                          8173 ROBINWOOD DR.
     001653-A             TOBYHANNA, PA 18466 $               0.00 $              0.00 $             0.00
                          RICHARD J STEWART
                          22185 CENTER ST #39
                          CASTRO VALLEY, CA
     001656               94546                    $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JACKSON, CHARLES
                          25 WEST ROLLINS
     001659-A             MEMPHIS, TN 38115        $          0.00 $              0.00 $             0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: FREDERICK F
                          RUDZIK
                          BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          TALLAHASSEE, FL
     001662-B             32314                    $      3,039.28 $              0.00 $           270.36
                          CASTILLO, FRANCISCO
                          317 WINDY LN
     001664               VISTA, CA 92083     $               0.00 $              0.00 $             0.00
                          CONNECTICUT DEPT
                          OF REVENUE SVCS
                          ATTN: C&E DIV
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY ST
     001666               HARTFORD, CT 06106       $        455.50 $              0.00 $            40.52
                          CONNECTICUT DEPT
                          OF REVENUE SERVICES
                          ATTN: C&E DIV,
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY ST
     001667               HARTFORD, CT 06106  $             873.50 $              0.00 $            77.70
                          CONNECTICUT DEPT
                          OF REVENUE SERVICES
                          ATTN: C&E DIV
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY ST
     001668               HARTFORD, CT 06106  $               0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          VIRGINIA DEPT OF
                          TAXATION
                          P O BOX 2156
                          ATTN: ANGELA
                          THOMPSON
     001669-A             RICHMOND, VA 23218       $         46.77 $              0.00 $            4.16
                          MARTINEZ, MARTIN
                          1125 N. BROADWAY
                          #D206
     001670               ESCONDIDO, CA 92026      $          0.00 $              0.00 $            0.00
                          VAN GELDER, CHERYL
                          L.
                          760 SW SEVENTH
                          STREET
     001672               NAPLES, FL 34117   $                0.00 $              0.00 $            0.00
                          MENDEZ, MATILDE
                          460 N TWIN OAKS
                          VALLEY R APT G
     001673-A             SAN MARCOS, CA 92069 $            293.24 $           293.24 $             0.00
                          POLANCO VALDEZ
                          ELSA
                          1700 NY AVENUE APT 1
     001700-B             UNION CITY, NJ 07087 $              0.00 $              0.00 $            0.00
                          MONSALVE JUAN
                          CARLOS
                          74 MYRTLE AVE
     001705-A             DOVER, NJ 07801          $          0.00 $              0.00 $            0.00
                          STATE OF DELAWARE
                          DIV OF REVENUE
                          820 N FRENCH ST 8TH
                          FL
                          ATTN: RANDY R
                          WELLER MS #25
     001721-A             WILMINGTON, DE 19801 $            123.70 $              0.00 $           11.01
                          MISSISSIPPI STATE
                          TAX COMMISSION
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 23338
     001723-B             JACKSON, MS 39225        $          0.00 $              0.00 $            0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          CORTEZ, IRENE
                          1653 RUSH
     001724               VISTA, CA 92084          $        317.93 $           317.93 $             0.00
                          PALMER ARTHUR
                          c/o MOSS & MURPHY
                          1297 B ST
     001725               HAYWARD, CA 94541        $          0.00 $              0.00 $            0.00
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          WORKER TRAINING
                          FUND
                          ATTN: BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #STE200
                          INDIANAPOLIS, IN
     001728-A             46204                    $         33.06 $              0.00 $            2.94
                          INDIANA DEPT OF
                          WORKFORCE DEV
                          WORKER
                          TRAINING FUND
                          ATTN: BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001729-A             46204                    $         71.82 $              0.00 $            6.39
                          PALMER, ARTHUR
                          C/O MOSS & MURPHY
                          1297 B STREET
     001730               HAYWARD, CA 94541        $          0.00 $              0.00 $            0.00
                          MISSISSIPPI STATE
                          TAX COMMISSION
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 23338
     001732-B             JACKSON, MS 39225        $        137.50 $              0.00 $           12.23




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                          BOARD OF CTY
                          COMMISSIONERS
                          JOHNSON CTY
                          ATTN: JOHNSON
                          COUNTY LEGAL DEPT
                          JOHNSON COUNTY
                          ADMIN BLDG
                          111 S CHERRY ST STE
                          3200
     001736               OLATHE, KS 66061         $        806.17 $              0.00 $            71.71
                          ALCALA, ALFREDO
                          9716 CEDAR ST
                          BELLFLOWER, CA
     001737-A             90706                    $          0.00 $              0.00 $             0.00
                          GRANDA, WILSON
                          85 PEAPACK RD
     001739               FAR HILLS, NJ 07931      $      3,384.00 $          3,384.00 $             0.00
                          FRIDAY, CURTIS
                          7 MATHIASEN PL
     001740               MATAWAN, NJ 07747        $          0.00 $              0.00 $             0.00
                          MISSOURI DEPT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     001744-B             65105                    $      1,499.19 $              0.00 $           133.36
                          MISSOURI DEPT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     001745               65105                    $      2,820.40 $              0.00 $           250.89
                          MISSOURI DEPT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     001746-A             65105                    $        423.35 $              0.00 $            37.66




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                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          BANKRUPTCY UNIT
                          10TH FL
                          33 S STATE ST
     001753               CHICAGO, IL 60603        $          0.00 $              0.00 $             0.00
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTY GENERAL
                          SECTION 9TH FL
                          33 S STATE ST
     001754-A             CHICAGO, IL 60603        $      5,584.58 $              0.00 $           496.78
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          BANKRUPTCY UNIT 10
                          TH FL
                          33 S STATE ST
     001755-B             CHICAGO, IL 60603  $            2,494.69 $              0.00 $           221.92
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          BANKRUPTCY UNIT
                          10TH FL
                          33 S STATE ST
     001756-A             CHICAGO, IL 60603        $      2,527.81 $              0.00 $           224.87
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          BANKRUPTCY UNIT
                          10TH FL
                          33 S STATE ST
     001757-B             CHICAGO, IL 60603        $      2,616.60 $              0.00 $           232.76




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NY DEPT OF
                          LABOR
                          UNEMPLOYMENT
                          INSURANCE DIV
                          GOV W AVERELL
                          HARRIMAN STATE OFF
                          BLDG
                          BLDG 12 RM 256
     001761               ALBANY, NY 12240    $           5,624.06 $              0.00 $           500.29
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          ATTN BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001765-B             46204                    $          0.00 $              0.00 $             0.00
                          INDIANA DEPT OF
                          WORKFORCE DEV
                          WORKER TRA
                          ATTN BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001766-A             46204                    $         53.80 $              0.00 $             4.79
                          WEST VIRGINIA STATE
                          TAX DIVISION
                          PO BOX 766
                          CHARLESTON, WV
     001769               25323               $             623.75 $              0.00 $            55.49
                          NEW MEXICO DEPT OF
                          LABOR
                          EMPLOYMENT
                          SECURITY DIVISION
                          ATTN: JASON LEWIS
                          LEGAL SECTION
                          PO BOX 1928
                          ALBUQUERQUE, NM
     001770-A             87103              $              557.36 $              0.00 $            49.58




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU,
                          BANKRUPTCY UNIT
                          PO BOX 9564
                          ATTN: ANNE CHAN
     001771               BOSTON, MA 02114         $      2,275.84 $              0.00 $           202.45
                          TEXAS WORKFORCE
                          COMMISSION
                          ATTN STEVE WHITE
                          TWC BLDG
     001772-A             AUSTIN, TX 78778         $        540.39 $              0.00 $            48.07
                          DEPT OF LABOR &
                          INDUSTRIAL
                          RELATIONS
                          PO BOX 700
     001773-A             HONOLULU, HI 96809       $      1,325.15 $              0.00 $           117.88
                          PEGNATO & PEGNATO
                          BLDG SYSTEMS INC
                          C/O HAHN & BOLSON
                          LLP
                          1000 WILSHIRE BLVD
                          STE 1600
                          LOS ANGELES, CA
     001774-B             90017              $                0.00 $              0.00 $             0.00
                          STATE OF IOWA
                          IOWA DEPT OF
                          REVENUE ACCTS
                          RECEIVABLE
                          HOOVER STATE
                          OFFICE BLDG
     001775               DES MOINES, IA 50319     $        581.43 $              0.00 $            51.72
                          STATE OF COLORADO
                          DEPT OF LABOR &
                          EMPLOY
                          DIVISION OF
                          EMPLOYMENT AND
                          TRAINING
                          PO BOX 8789
     001776-A             DENVER, CO 80201         $      1,105.49 $              0.00 $            98.34




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEPT OF LABOR &
                          TRAINING
                          1511 PONTIAC AVE
     001779               CRANSTON, RI 02920       $        727.51 $              0.00 $           64.72
                          INDIANA DEPT OF
                          WORKFORCE DEV
                          WORKERS TRAINING
                          FUND
                          ATTN BEVERLY
                          KOROBKIN
                          10 NORTH SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001780-A             46204               $              27.74 $              0.00 $            2.47
                          DEPT OF INDUSTRIAL
                          RELATIONS
                          STATE OF ALABAMA
                          649 MONROE ST
                          MONTGOMERY, AL
     001781               36131                    $        575.19 $              0.00 $           51.16
                          SOUTH CAROLINA
                          EMPLOYMENT
                          SECURITY COMM
                          ATTN LEGAL DEPT
                          PO BOX 995
     001783-A             COLUMBIA, SC 29202       $        187.35 $              0.00 $           16.67
                          STATE OF NEW
                          HAMPSHIRE DEPT OF
                          EMP SEC
                          32 S MAIN ST
     001784               CONCORD, NH 03301        $        755.26 $              0.00 $           67.18
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          ATTN DIV OF
                          UNEMPLOYMENT INS
                          PO BOX 9953
     001786-A             WILMINGTON, DE 19809 $             25.77 $              0.00 $            2.29




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          ATTN DIV OF
                          UNEMPLOYMENT INS
                          PO BOX 9953
     001787-A             WILMINGTON, DE 19809 $              4.04 $              0.00 $           0.36
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          ATTN DIV OF
                          UNEMPLOYMENT INS
                          PO BOX 9953
     001788               WILMINGTON, DE 19809 $              0.00 $              0.00 $           0.00
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          ATTN TRAINING TAX
                          FUND
                          PO BOX 9953
     001789               WILMINGTON, DE 19809 $              5.19 $              0.00 $           0.46
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          ATTN Division of
                          Unemployment Insurance
                          Training Tax Fund
                          PO BOX 9953
     001790               WILMINGTON, DE 19809 $              0.00 $              0.00 $           0.00
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          DIV OF
                          UNEMPLOYMENT INS
                          TRAINING TAX FUN
                          PO BOX 9953
     001791               WILMINGTON, DE 19809 $             12.46 $              0.00 $           1.11
                          MONTEIRO, WILSON
                          18 3RD ST
     001792               SAYREVILLE, NJ 08872     $      2,052.00 $          2,052.00 $           0.00
                          VEGA, MIGDALIA
                          12 CALLE ARENAS
     001793               VEGA BAJA, PR 00693      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          FERNANDEZ, ILIANA
                          337 EAST LINCOLN
                          AVENUE
     001794               ROSELLE, NJ 07204        $      1,185.25 $          1,185.25 $            0.00
                          SEATON, MARK
                          35 MARQUETTE LANE
     001797-A             KANKAKEE, IL 60901       $      1,149.69 $          1,149.69 $            0.00
                          HALL, SUSAN
                          1216 STANLEY STREET
                          BURNS HARBOR, IN
     001798               46304               $               0.00 $              0.00 $            0.00
                          NARVAEZ MIGUEL
                          11450 CALVERT ST
                          NORTH HOLLYWOOD,
     001799               CA 91606                 $      1,248.00 $          1,248.00 $            0.00
                          DELIGNE, JUDY
                          411 BRENNAN CT.
     001801-A             S PLAINFIELD, NJ 07080 $        3,998.64 $          3,998.64 $            0.00
                          SOUTH CAROLINA
                          EMPLOYMENT
                          SECURITY
                          COMMISSION
                          ATTN LEGAL DEPT
                          PO BOX 995
     001802-A             COLUMBIA, SC 29202       $        122.25 $              0.00 $           10.87
                          ALBANESE, LAURIE
                          77 SPRUCE STREET
     001803               EDISON, NJ 08837         $      1,840.00 $          1,840.00 $            0.00
                          SOUTH CAROLINA
                          EMPLOYMENT
                          SECURITY COMM
                          ATTN LEGAL DEPT
                          PO BOX 995
     001804-A             COLUMBIA, SC 29202       $        760.69 $              0.00 $           67.67




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF
                          WASHINGTON
                          EMPLOYMENT SEC
                          DEPT
                          ATTN U1 TAX
                          ADMINISTRATION
                          PO BOX 9046
     001805               OLYMPIA, WA 98507        $      1,150.43 $              0.00 $           102.34
                          SENESAC, PAULA
                          38 JORDAN DRIVE
                          BOURBONNAIS, IL
     001806-A             60914                    $          0.00 $              0.00 $             0.00
                          PALMERO, SONIA
                          345 49TH ST.
     001808-B             BROOKLYN, NY 11220       $          0.00 $              0.00 $             0.00
                          PAREDES, CARLOS
                          27 WEST 7TH ST.
     001809-A             PLAINFIELD, NJ 07060     $      3,500.00 $          3,500.00 $             0.00
                          DENOYER, DEREK
                          1149 COBB BLVD
     001811               KANKAKEE, IL 60901       $          0.00 $              0.00 $             0.00
                          SHPITAL, ALEXANDRA
                          3206 APPLETON WAY
     001812               WHIPPANY, NJ 07891 $                0.00 $              0.00 $             0.00
                          HARRISON, ROBIN
                          9203 ESTACIA STREET
                          RANCHO CUCAMON,
     001813               CA 91730                 $          0.00 $              0.00 $             0.00
                          MARTINEZ, SALVADOR
                          1310 JEFFERSON ST
     001814               CALEXICO, CA 92231 $            1,680.00 $          1,680.00 $             0.00
                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON SUITE
                          2000W
                          OKLAHOMA CITY, OK
     001815-A             73102                $             86.22 $              0.00 $             7.67




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          OFFICE OF
                          UNEMPLOYMENT
                          COMP TAX SERVICES
                          HARRISBURG
                          COMPLIANCE &
                          BANKRUPTCY
                          COMMONWEALTH OF
                          PA, DEPT OF LABOR &
                          IND
                          1171 S CAMERON ST,
                          RM 312
     001816               HARRISBURG, PA 17104 $              0.00 $              0.00 $            0.00
                          OFFICE OF
                          UNEMPLOYMENT
                          COMP TAX SERVICES
                          COMPLIANCE OFFICE
                          COMMONWEALTH OF
                          PA
                          DEPT OF LABOR &
                          INDUSTRY
                          1171 S CAMERON ST
                          RM 312
     001817               HARRISBURG, PA 17104 $              0.00 $              0.00 $            0.00
                          EMPLOYMENT
                          SECURITY
                          COMMISSION OF NC
                          700 WADE AVE
     001818               RALEIGH, NC 27605        $        315.13 $              0.00 $           28.03
                          EMPLOYMENT
                          SECURITY
                          COMMISSION OF NC
                          700 WADE AVE.
     001819               RALEIGH, NC 27605        $     12,309.86 $              0.00 $       1,095.04
                          STATE OF MICHIGAN
                          UIA TAX OFFICE
                          POC UNIT STE 11 500
                          3024 W GRAND BLVD
     001820               DETROIT, MI 48202        $        491.50 $              0.00 $           43.72




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF MICHIGAN
                          UIA TAX OFFICE
                          POC UNIT STE 11 500
                          3024 W GRAND BLVD
     001821               DETROIT, MI 48202        $        910.84 $              0.00 $            81.02
                          TEXAS WORKFORCE
                          COMMISSION
                          ATTN STEVE WHITE
                          TWC BLDG
     001822               AUSTIN, TX 78778         $      2,793.43 $              0.00 $           248.50
                          COLORADO DEPT OF
                          LABOR &
                          EMPLOYMENT
                          UNEMPLOYMENT
                          INSURANCE TAX
                          ADMIN
                          PO BOX 8789
     001823-A             DENVER, CO 80201         $      2,050.00 $              0.00 $           182.36
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     001826               TRENTON, NJ 08695   $               0.00 $              0.00 $             0.00
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     001827               TRENTON, NJ 08695   $               0.00 $              0.00 $             0.00
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU
                          BANKRUPTCY UNIT
                          P O BOX 9564
                          ATTN: ANNE CHAN
     001828-A             BOSTON, MA 02114         $        285.86 $              0.00 $            25.43




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU
                          BANKRUPTCY UNIT
                          P O BOX 9564
                          ATTN: ANNE CHAN
     001829-B             BOSTON, MA 02114         $          0.00 $              0.00 $            0.00
                          ALEXIS HERNANDEZ
                          223 ATLANTIC ST
     001832               ELIZABETH, NJ 07206      $      1,866.00 $          1,866.00 $            0.00
                          WELLINGS, NICOLE
                          10 MILL STREET, UNIT
                          G
     001835               MEDFORD, NJ 08065        $      1,424.81 $          1,424.81 $            0.00
                          PADUA, NORMA
                          539 RIDGEWAY
                          AVENUE
                          SOUTH AMBOY, NJ
     001838-A             08879                    $          0.00 $              0.00 $            0.00
                          ROSENBLATT, BETTY
                          82 HERMAN DRIVE
     001839               SPOTSWOOD, NJ 08884      $      1,600.00 $          1,600.00 $            0.00
                          NOEL, MANDI
                          1212 WILD TURKEY
                          DRIVE
     001840-A             DERBY, KS 67037          $      1,733.58 $          1,733.58 $            0.00
                          EMPLOYMENT
                          SECURITY
                          COMMISSION OF NC
                          700 WADE AVE.
     001842               RALEIGH, NC 27605        $        223.83 $              0.00 $           19.91
                          FINAZZO, SHARON
                          3 BARLEY SHEAF
                          ROAD
     001843               FLEMINGTON, NJ 08822 $          2,705.00 $          2,705.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEPT OF INDUSTRIAL
                          RELATIONS
                          STATE OF ALABAMA
                          659 MONROE ST
                          MONTGOMERY, AL
     001844               36131                    $          0.00 $              0.00 $             0.00
                          CASS, PHILIP
                          2626 D NO
                          WHITEWATER CLUB
                          PALM SPRINGS, CA
     001846               92262                    $      3,119.25 $          3,119.25 $             0.00
                          VEYSMAN, MARINA
                          45 MEDICI DR.
     001847               SOMERSET, NJ 08873       $          0.00 $              0.00 $             0.00
                          SIGNORILE, PATRICIA
                          18 4TH STREET
     001850-B             SAYERVILLE, NJ 08872     $      4,925.00 $          4,925.00 $             0.00
                          ANTAO, ROSALINA
                          422 CHESTNUT ST 2
     001853-A             KEARNY, NJ 07032         $          0.00 $              0.00 $             0.00
                          ARMAND, DENISE
                          180 ROBERT PLACE
                          SO PLAINFIELD, NJ
     001854-B             07080                    $      3,371.05 $          3,371.05 $             0.00
                          OFC OF
                          UNEMPLOYMENT
                          COMPENSATION TAX
                          SVC
                          ATTN: HARRISBURG
                          COMPLIANCE &
                          BANKRUPTCY
                          COMMONWEALTH OF
                          PA DEPT OF LABOR &
                          IND
                          1171 S CAMERON ST
                          RM 312
     001857-A             HARRISBURG, PA 17104 $          3,688.25 $              0.00 $           328.09




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NEVADA
                          DEPT OF
                          EMPLOYMENT,
                          TRAINING AND
                          REHABILITATION
                          EMPLOYMENT
                          SECURITY DIV
                          500 EAST THIRD ST
                          CARSON CITY, NV
     001862-A             89713                    $        666.66 $              0.00 $           59.30
                          SKLAR, TODD
                          5790 FOX HOLLOW DR
     001867               BOCA RATON, FL 33486 $          3,500.00 $          3,500.00 $            0.00
                          SHERMAN, RENE
                          322 LEOPOLE RD
     001869               NASHVILLE, TN 37211      $        640.00 $           640.00 $             0.00
                          BOLAND, ANDREW
                          111 BENTLEY AVENUE
     001870               OLD BRIDGE, NJ 08857 $              0.00 $              0.00 $            0.00
                          BRIGHT, KIEREN
                          33 VALERIE AVE
     001871-A             EPHRATA, PA 17522        $          0.00 $              0.00 $            0.00
                          HERNANDEZ, JORGE
                          26 BERGEN STREET
     001874-B             GARFIELD, NJ 07026       $          0.00 $              0.00 $            0.00
                          KANSAS DEPT OF
                          REVENUE
                          CIVIL TAX
                          ENFORCEMENT
                          PO BOX 12005
     001876               TOPEKA, KS 66612         $        694.00 $              0.00 $           61.74
                          ALDAVE, EDDIE
                          6072 CRESENT AV
     001877-A             BUENA PARK, CA 90620 $            970.21 $           970.21 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          IDAHO DEPT OF
                          COMMERCE & LABOR
                          EMPLOYER ACCTS
                          BUREAU
                          317 MAIN ST
     001878               BOISE, ID 83735          $        441.90 $              0.00 $            39.31
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INT'L BLVD STE 826
     001879-A             ATLANTA, GA 30303        $      5,949.32 $              0.00 $           529.23
                          SHELTON, JOSEPH
                          721 HONEYSUCKLE LN
     001880-A             MIDLAND, NC 28107  $                0.00 $              0.00 $             0.00
                          OKLAHOMA
                          EMPLOYMENT
                          SECURITY
                          COMMISSION
                          OESC LEGAL DEPT
                          PO BOX 53039
                          OKLAHOMA CITY, OK
     001881               73152                    $        128.32 $              0.00 $            11.41
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INT'L BLVD STE 826
     001882               ATLANTA, GA 30303        $          0.00 $              0.00 $             0.00
                          RODRIGUEZ, JACLYN
                          4123 TYSON AVE
                          PHILADELPHIA, PA
     001883-A             19135                    $      1,761.52 $          1,761.52 $             0.00
                          ZIENKIEWICZ, LEONA
                          460 RIVER RD
     001884-A             NUTLEY, NJ 07110         $      3,819.92 $          3,819.92 $             0.00
                          ALVAREZ, JEREMIAH
                          7425 BROOKDALE DR
                          104
     001885               DARIEN, IL 60561         $      1,057.68 $          1,057.68 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JIMENEZ, JORGE
                          620 NO CHURCH
                          AVENUE
     001886               RIALTO, CA 92376         $          0.00 $              0.00 $             0.00
                          VIRGINIA
                          EMPLOYMENT
                          COMMISSION
                          COLLECTIONS UNIT
                          RM 344
                          PO BOX 1358
     001887               RICHMOND, VA 23218       $      2,770.40 $              0.00 $           246.45
                          SCHWED, MICHAEL
                          901 FRANKLIN AVE
                          ASBURY PARK, NJ
     001888               07712                    $      2,600.00 $          2,600.00 $             0.00
                          MELENDEZ, TANYA
                          17 HERITAGE GREEN
                          DR.
                          APT 209
     001889-A             FISKDALE, MA 01518       $          0.00 $              0.00 $             0.00
                          EICK/SWEENEY, DANI
                          560 HEMLOCK ST.
     001890               RAHWAY, NJ 07065         $          0.00 $              0.00 $             0.00
                          ERAZO, TABATHA
                          10 HARBOR TER APT 3J
                          PERTH AMBOY, NJ
     001891               08861                $              0.00 $              0.00 $             0.00
                          STATE OF IOWA
                          IOWA DEPT OF
                          REVENUE ACCTS
                          RECEIVABLE
                          HOOVER STATE
                          OFFICE BLDG
     001892-A             DES MOINES, IA 50319     $          0.00 $              0.00 $             0.00
                          SHEROUSE, ALMA
                          701 SO STAMFIELD RD
                          APT 168
     001893-B             TROY, OH 45373           $      3,807.00 $          3,807.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DRABIK, DEANE
                          6844 TOBIK TRAIL
                          PARMA HEIGHTS, OH
     001894               44130                    $          0.00 $              0.00 $            0.00
                          SLOAN, LEELANNEE
                          10 OVERLOOK RD
     001895               SUSSEX, NJ 07461         $      2,075.00 $          2,075.00 $            0.00
                          SLOAN, LEELANNEE
                          10 OVERLOOK RD
     001896-A             SUSSEX, NJ 07461         $          0.00 $              0.00 $            0.00
                          KANSAS DEPT OF
                          REVENUE
                          CIVIL TAX
                          ENFORCEMENT
                          PO BOX 12005
     001897-A             TOPEKA, KS 66612         $        912.31 $              0.00 $           81.16
                          KANSAS DEPT OF
                          REVENUE
                          CIVIL TAX
                          ENFORCEMENT
                          PO BOX 12005
     001898-A             TOPEKA, KS 66612         $        347.00 $              0.00 $           30.87
                          ALBANKIS, TRACEY
                          146 WEST 9TH AVENUE
     001899-A             ROSELLE, NJ 07203   $               0.00 $              0.00 $            0.00
                          CHURNEY, DERYA
                          20 Goodwin Drive
                          NORTH BRUNSWICK,
     001900-A             NJ 08902                 $          0.00 $              0.00 $            0.00
                          TABATHA ERAZO
                          10 3J HARBOR TERR
                          PERTH AMBOY, NJ
     001901               08861                    $          0.00 $              0.00 $            0.00
                          GONZALEZ, SONIA
                          41 ALDON RD
                          MONTGOMERY, IL
     001902               60538                    $      1,346.16 $          1,346.16 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TAVARES, JOE
                          86 HUTCHINSON PLACE
     001905-A             CLARK, NJ 07066     $           4,925.00 $          4,925.00 $             0.00
                          ST LEDGER, BRIAN
                          113 LIVINGSTON AVE.
     001906-A             LYNDHURST, NJ 07071      $          0.00 $              0.00 $             0.00
                          ST LEDGER, BRIAN
                          113 LIVINGSTON AVE.
     001907-A             LYNDHURST, NJ 07071      $      4,925.00 $          4,925.00 $             0.00
                          STATE OF IOWA
                          IOWA DEPT OF
                          REVENUE
                          ATTN: ACCOUNTS
                          RECEIVABLE
                          HOOVER STATE OFC
                          BLDG
     001909-B             DES MOINES, IA 50319     $      2,808.29 $              0.00 $           249.81
                          FERRARO,
                          JACQUELINE
                          3 SANDRA COURT
     001911               FLANDERS, NJ 07836       $          0.00 $              0.00 $             0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     001912-A             ALBANY, NY 12205   $                0.00 $              0.00 $             0.00
                          AGUDELO, FREN
                          61 NETCONG ROAD
     001913               BUDD LAKE, NJ 07828      $      2,100.47 $          2,100.47 $             0.00
                          MORONEY, MARGARET
                          5818 190TH ST.
     001915               WINTHROP, IA 50682 $                0.00 $              0.00 $             0.00
                          ROBB, GAIL
                          1924 LOGANBERRY
                          LANE
                          CROWN POINT, IN
     001919-B             46307                    $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PORTER, REBECCA
                          133 CLOISTER LN
                          MOORESVILLE, NC
     001921-A             28117                    $      3,137.67 $          3,137.67 $             0.00
                          SHIRCLIFF, SHAWNA
                          11420 RACE RD
     001923               LOUISVILLE, KY 40291     $          0.00 $              0.00 $             0.00
                          LOUISIANA DEPT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     001924-A             70896                    $      3,089.53 $              0.00 $           274.83
                          COACHMAN, STEVEN
                          215 E. NEW YORK
     001926-A             AURORA, IL 60505         $          0.00 $              0.00 $             0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001928-A             ALBANY, NY 12205   $           10,513.02 $              0.00 $           935.20
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001929-B             ALBANY, NY 12205   $                0.00 $              0.00 $             0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001930-A             ALBANY, NY 12205   $              464.01 $              0.00 $            41.28




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NY DEPT OF
                          LABOR
                          UNEMPLOYMENT
                          INSURANCE DIV
                          GOV W A HARRIMAN
                          STATE OFC BLDG
                          CAMPUS
                          BLDG 12 RM 256
     001931               ALBANY, NY 12240    $             136.20 $              0.00 $            12.12
                          R I DIVISION OF
                          TAXATION
                          ONE CAPITAL HILL
     001933               PROVIDENCE, RI 02908     $          0.00 $              0.00 $             0.00
                          KEVIN E WILKINSON
                          RD 2 P4-15
     001934-A             HAZLETON, PA 18202       $        453.34 $           453.34 $              0.00
                          R I DIVISION OF
                          TAXATION
                          ONE CAPITAL HILL
     001935               PROVIDENCE, RI 02908     $          0.00 $              0.00 $             0.00
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INTL BLVD
                          STE 826
     001936               ATLANTA, GA 30303        $     23,435.46 $              0.00 $       2,084.72
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INTL BLVD
                          STE 826
     001937-A             ATLANTA, GA 30303        $      1,512.80 $              0.00 $           134.57
                          NEBRASKA DEPT OF
                          REVENUE
                          ATTN BANKRUPTCY
                          UNIT
                          PO BOX 94818
     001940               LINCOLN, NE 68509        $        292.32 $              0.00 $            26.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CRUZ, JENNY
                          260 SECOND AVE
     001941               BRENTWOOD, NY 11717 $             224.30 $           224.30 $              0.00
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          ATTN BEVERLY
                          KOROBKIN
                          10 NORTH SENATE
                          AVENUE # SF200
                          INDIANAPOLIS, IN
     001942-A             46204                    $        282.89 $              0.00 $            25.16
                          STATE OF NY DEPT OF
                          LABOR
                          UNEMPLOYMENT
                          INSURANCE DIVISION
                          GOV W AVERELL
                          HARRIMAN STATE
                          OFFICE
                          BLDG 12 RM 256
     001943               ALBANY, NY 12240    $           3,497.76 $              0.00 $           311.15
                          DEPARTMENT OF
                          ATTORNEY GENERAL
                          UNEMPLOYMENT
                          DIVISION
                          3030 W GRAND BLVD
                          STE 9-600
     001944               DETROIT, MI 48202        $     10,652.53 $              0.00 $           947.61
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          G. MENNEN WILLIAMS
                          BLDG 2nd FL
                          525 W OTTAWA ST
     001945               LANSING, MI 48933  $                0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          COLORADO DEPT OF
                          LABOR AND
                          EMPLOYMENT
                          UNEMPLOYMENT
                          INSURANCE TAX
                          ADMIN
                          PO BOX 8789
     001946               DENVER, CO 80201         $        894.00 $              0.00 $            79.53
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN: STEVEN B.
                          FLANCHER
                          G. MENNEN WILLIAMS
                          BLDG 2nd FL
                          525 W OTTAWA ST
     001948               LANSING, MI 48933  $                0.00 $              0.00 $             0.00
                          STATE OF NJ DEPT OF
                          LABOR & WORKFORCE
                          DEVELOPMENT
                          ATTN DIVISION OF
                          EMPLOYER ACCOUNTS
                          PO BOX 379
     001950               TRENTON, NJ 08625   $               0.00 $              0.00 $             0.00
                          THE OHIO DEPT OF JOB
                          & FAMILY SERVICES
                          PO BOX 182404
     001952-A             COLUMBUS, OH 43218 $            1,416.63 $              0.00 $           126.02
                          STATE OF MARYLAND
                          COMPTROLLER OF
                          TREASURY
                          RM 409, STATE OFFICE
                          BUILDING
                          301 WEST PRESTON ST
     001953-B             BALTIMORE, MD 21201 $             385.00 $              0.00 $            34.25
                          STATE OF MARYLAND
                          COMPTROLLER OF
                          TREASURY
                          RM 409, STATE OFFICE
                          BUILDING
                          301 WEST PRESTON ST
     001954               BALTIMORE, MD 21201 $             473.00 $              0.00 $            42.08




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          S C EMPLOYMENT
                          SECURITY
                          COMMISSION
                          LEGAL DEPT
                          PO BOX 995
     001957               COLUMBIA, SC 29202       $          0.00 $              0.00 $             0.00
                          S C EMPLOYMENT
                          SECURITY
                          COMMISSION
                          LEGAL DEPT
                          PO BOX 995
     001958-A             COLUMBIA, SC 29202       $      2,279.73 $              0.00 $           202.79
                          COLORADO DEPT OF
                          LABOR &
                          EMPLOYMENT
                          UNEMPLOYMENT
                          INSURANCE TAX
                          ADMINISTRATIO
                          PO BOX 8789
     001961-A             DENVER, CO 80201         $     14,123.52 $              0.00 $       1,256.37
                          VIRGINIA
                          DEPARTMENT OF
                          TAXATION
                          PO BOX 2156
                          ATTN: DONNIE
                          WALKER
     001963-A             RICHMOND, VA 23218       $         82.27 $              0.00 $             7.32
                          MISSISSIPPI DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTN CONTRIBUTIONS
                          & STATUS DEPT
                          PO BOX 22781
     001964-A             JACKSON, MS 39225   $             135.34 $              0.00 $            12.04
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTN: BANKRUPTCY
                          UNIT - 1OTH FL
                          33 S STATE ST
     001965-A             CHICAGO, IL 60603        $      1,853.21 $              0.00 $           164.85




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TEXASWORKFORCE
                          COMMISSION
                          ATTN JOHN MOORE,
                          REG ENFORCEMENT
                          DIV
                          TWC BUILDING
     001966               AUSTIN, TX 78778         $      3,510.21 $              0.00 $           312.25
                          NJ DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          DIVISION OF
                          EMPLOYER ACCOUNTS
                          PO BOX 379
     001967               TRENTON, NJ 08625  $            4,167.57 $              0.00 $           370.73
                          NJ DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          DIVISION OF
                          EMPLOYER ACCOUNTS
                          PO BOX 379
     001968               TRENTON, NJ 08625  $            7,966.44 $              0.00 $           708.66
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTY GENERAL
                          SECTION 9TH FLOOR
                          33 S STATE ST
     001969-A             CHICAGO, IL 60603        $    108,274.82 $              0.00 $       9,631.70
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTY GENERAL
                          SECTION 9TH FL
                          33 S STATE ST
     001970               CHICAGO, IL 60603        $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NJ DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          DIVISION OF
                          EMPLOYER ACCTS
                          STATE OF NJ
                          PO BOX 379
     001972               TRENTON, NJ 08625        $          0.00 $              0.00 $            0.00
                          STATE OF NEVADA
                          DEPT OF
                          EMPLOYMENT
                          TRAINING &
                          REHABILITATION
                          EMPLOYMENT
                          SECURITY DIVISION
                          500 EAST THIRD
                          STREET
                          CARSON CITY, NV
     001974-A             89713                    $        173.36 $              0.00 $           15.43
                          STATE OF NEVADA
                          DEPT OF
                          EMPLOYMENT
                          TRAINING &
                          REHABILITATION
                          EMPLOYMENT
                          SECURITY DIVISION
                          500 EAST THIRD
                          STREET
                          CARSON CITY, NV
     001975-A             89713                    $         65.58 $              0.00 $            5.83
                          STATE OF WISCONSIN
                          DEPT OF WORKFORCE
                          DEVELOPMENT
                          UNEMPLOYMENT
                          INSURANCE
                          DWD-UI COLLECTION
                          SECTION PO BOX 8914
     001977               MADISON, WI 53708        $        867.95 $              0.00 $           77.21




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN CAROL LUSHELL
                          BANKRUPTCY
                          SECTION 100 NORTH
                          SENATE AVE
                          ROOM N203
                          INDIANAPOLIS, IN
     001980               46204              $                0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN CAROL LUSHELL
                          BANKRUPTCY
                          SECTION 100 NORTH
                          SENATE AVE
                          ROOM N203
                          INDIANAPOLIS, IN
     001981               46204              $                0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN CAROL LUSHELL
                          BANKRUPTCY
                          SECTION 100 NORTH
                          SENATE AVE
                          ROOM N203
                          INDIANAPOLIS, IN
     001982               46204              $                0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          STATE REVENUE
                          BANKRUPTCY
                          SECTION 100 NORTH
                          SENATE AVE
                          ROOM N203
                          ATTN: CAROL
                          LUSHELL
                          INDIANAPOLIS, IN
     001983               46204                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN CAROL LUSHELL
                          BANKRUPTCY
                          SECTION 100 N SENATE
                          AVE
                          RM N203
                          INDIANAPOLIS, IN
     001984               46204                $              0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN CAROL LUSHELL
                          BANKRUPTCY
                          SECTION 100 N SENATE
                          AVE
                          RM N203
                          INDIANAPOLIS, IN
     001985               46204                $              0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          CADILLAC PLACE
                          3030 W GRAND BLVD
     001986               DETROIT, MI 48202        $          0.00 $              0.00 $           0.00
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     001987               TRENTON, NJ 08695   $          20,006.19 $              0.00 $       1,779.67
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     001988               TRENTON, NJ 08695   $               0.00 $              0.00 $           0.00
                          BELLIDO GIOVANNY
                          21 S. SPRING ST., APT 1
     001990               ELIZABETH, NJ 07201     $           0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION ROOM N203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     001991-A             46204                    $        687.04 $              0.00 $            61.12
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION ROOM N203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     001992-B             46204                    $        192.22 $              0.00 $            17.10
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTY SECTION
                          ROOM N203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     001993-B             46204                    $        658.66 $              0.00 $            58.59
                          DEPT OF TREASURY
                          REVENUE/AG
                          PO BOX 30456
     001994               LANSING, MI 48909        $      1,134.28 $              0.00 $           100.90
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION ROOM N-203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     001996-B             46204                    $     17,333.87 $              0.00 $       1,541.95




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          MARYLAND DEPT OF
                          LABOR LICENSING &
                          REG
                          1100 NORTH EUTAW ST
                          RM 401
     001997               BALTIMORE, MD 21201 $            6,471.78 $              0.00 $           575.71
                          JOHNS, JONATHAN
                          4657 FILLMORE
                          AVENUE
     002000               MILVILLE, NJ 08332        $          0.00 $              0.00 $             0.00
                          AIRPORT GATEWAY
                          PLAZA, LLC
                          638 LINDERO CANYON
                          ROAD, #508
                          (fka Marian C. Aden Trust)
     002001-A             OAK PARK, CA 91377         $         0.00 $              0.00 $             0.00
                          AIRPORT GATEWAY
                          PLAZA, LLC
                          638 LINDERO CANYON
                          ROAD, #508
                          (fka Marian C. Aden Trust)
     002002-B             OAK PARK, CA 91377         $         0.00 $              0.00 $             0.00
                          AIRPORT GATEWAY
                          PLAZA, LLC
                          638 LINDERO CANYON
                          ROAD, #508
                          (fks Marian C. Aden Trust)
     002003-A             OAK PARK, CA 91377         $         0.00 $              0.00 $             0.00
                          UNEMPLOYMENT
                          DIVISION
                          420 SOUTH ROOSEVELT
                          BOX 4730
     002005               ABERDEEN, SD 57401  $                0.00 $              0.00 $             0.00
                          IDAHO COMMERCE
                          AND LABOR
                          EMPLOYER ACCOUNTS
                          BUREAU
                          317 W MAIN ST
     002011               BOISE, ID 83735   $                  0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PADUA, NORMA
                          539 RIDGEWAY
                          AVENUE
                          SOUTH AMBOY, NJ
     002021               08879                    $      3,360.00 $          3,360.00 $           0.00
                          ROSALINA G ANTAO
                          422 CHESTNUT ST
     002023               KEARNY, NJ 07032         $      4,132.20 $          4,132.20 $           0.00
                          ANTAO, ROSALINA
                          422 CHESTNUT ST 2
     002024               KEARNY, NJ 07032         $          0.00 $              0.00 $           0.00
                          GALANTE, MERRLLYN
                          3999 OLD TOWN AVE
                          APT D1
     002027-B             SAN DIEGO, CA 92110 $               0.00 $              0.00 $           0.00
                          MERRILYN H
                          GALANTE
                          3999 OLD TOWN AVE
                          D#1
     002028-A             SAN DIEGO, CA 92110      $          0.00 $              0.00 $           0.00
                          MAZZARELLA, LINDA
                          649 BOW LINE DRIVE
     002030-B             NAPLES, FL 34103         $          0.00 $              0.00 $           0.00
                          ELDER CRUZ
                          ATTORNEY JONATHAN
                          A KELLER
                          1792 BELL TOWER
                          LANE
     002031               WESTON, FL 33326  $                 0.00 $              0.00 $           0.00
                          TORRES-MARTINEZ,
                          LUIS
                          25 GARDEN COURT APT
                          4
     002035-A             LANCASTER, PA 17602 $             267.82 $           267.82 $            0.00
                          FOWLER, RONALD S.
                          7808 TWIN LAKES
                          ROAD
     002040-B             KEYSTONE, FL 32656       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          AAL CONSTRUCTION
                          CO., INC.
                          13252 SERENITY
                          TRAILS
     002044-A             CHINO, CA 91710          $          0.00 $              0.00 $             0.00
                          NEAL, HARREL
                          22400 SOUR GRASS
                          ROAD
     002049               CORNING, CA 96021        $          0.00 $              0.00 $             0.00
                          DEPT. OF REVENUE
                          PO BOX 8946
     002052-B             MILWAUKEE, WI 53293 $             791.81 $              0.00 $            70.44
                          DEPT. OF REVENUE
                          PO BOX 93208
     002053-A             MILWAUKEE, WI 53293 $           4,510.50 $              0.00 $           401.24
                          DEPT. OF REVENUE
                          PO BOX 8901
     002054-B             MILWAUKEE, WI 53708 $             817.88 $              0.00 $            72.76
                          KIEREN L BRIGHT
                          33 VALERIE AVE
     002055-A             EPHARATA, PA 17522       $          0.00 $              0.00 $             0.00
                          BRIGHT, KIEREN
                          33 VALERIE AVE
     002056-B             EPHRATA, PA 17522        $          0.00 $              0.00 $             0.00
                          FADIL, SOUHAIL A.
                          4020 PITTMAN DRIVE
                          JACKSONVILLE, FL
     002060               32207                    $          0.00 $              0.00 $             0.00
                          BOLAND, ANDREW
                          111 BENTLEY AVENUE
     002064               OLD BRIDGE, NJ 08857 $              0.00 $              0.00 $             0.00
                          ANDREA WEBB
                          828 WINDSOR
                          PERRINEVILLE
     002066-B             E WINDSOR, NJ 08520      $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEPT. OF LABOR-
                          UNEMPLOYMENT
                          NE WORKFORCE
                          DEVELOPMENT-LABOR
                          OFFICE OF LEGAL
                          COUNSEL
                          PO BOX 94600
     002070-A             LINCOLN, NE 68509 $               119.13 $              0.00 $           10.59
                          SANCHEZ SAUCEDA,
                          CARMEN
                          1681 MARION APT C
     002074               KINGSBURG, CA 93631      $      2,168.00 $          2,168.00 $            0.00
                          PACIFIC SOUTH
                          MEDICAL GROUP
                          5211 E WASHINGTON
                          BLVD
                          LOS ANGELES, CA
     002080-A             90040                    $          0.00 $              0.00 $            0.00
                          ROSALES, RAUL
                          8382 DURRA LANE
     002083-B             FONTANA, CA 92335        $          0.00 $              0.00 $            0.00
                          AMISON, LADELLE
                          1136 BEAVER AVE.
                          BIRMINGHAM, AL
     002088-B             35214                    $          0.00 $              0.00 $            0.00
                          NEBR WORKFORCE
                          DEVELOPMENT DEPT
                          OF LABOR
                          OFFICE OF LEGAL
                          COUNSEL
                          PO BOX 94600
     002095               LINCOLN, NE 68509        $          0.00 $              0.00 $            0.00
                          FROST, LAWRENCE L.
                          744 W. FALLBROOK, #84
     002096-A             FALLBROOK, CA 92028 $           1,391.40 $          1,391.40 $            0.00
                          VIQUES, ANA ROSA
                          155 BROADWAY
                          STREET
     002098               ELIZABETH, NJ 07206      $         94.42 $            94.42 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HENNING, LINDA
                          3326 WALL ROAD
                          GREEN COVE SPRINGS,
     002101-B             FL 32043            $               0.00 $              0.00 $           0.00
                          BELL, DAVID
                          2340 WOLD DEER CT
                          PASO ROBLES, CA
     002103               93446                    $          0.00 $              0.00 $           0.00
                          PIERSCH, JONAS
                          8415 BELLONA LANE
                          APT 918
     002105               BALTIMORE, MD 21204 $               0.00 $              0.00 $           0.00
                          TOOR, HARDI
                          4182 51ST ST.
     002108-B             SAN DIEGO, CA 92105      $          0.00 $              0.00 $           0.00
                          SIMON, DIANE
                          5820 SUNGLO AVE
     002111-A             PORT RICHEY, FL 34653 $             0.00 $              0.00 $           0.00
                          PURISH, JONAS
                          8415 BELLONA LN 918
     002124               TOWSON, MD 21204         $          0.00 $              0.00 $           0.00
                          PURISCH JONAS
                          8415 BELLONA LN APT
                          913
     002125               BALTIMORE, MD 21204 $               0.00 $              0.00 $           0.00
                          CAROLYN HIGGERSON
                          2223 DEL MAR SCENIC
                          PKWY
     002127-A             DEL MAR, CA 92014   $               0.00 $              0.00 $           0.00
                          THOM, SHANA
                          11715 GOSHEN AVE
                          LOS ANGELES, CA
     002129-B             90049                    $          0.00 $              0.00 $           0.00
                          PETERSOHN,
                          KATHLEEN
                          95 MAGAW PLACE
     002134               W BABYLON, NY 11704 $             360.00 $           360.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MR DULAL PAL
                          680 LAKESIDE DR
     002136               BALDWIN, NY 11510        $          0.00 $              0.00 $            0.00
                          LOUISIANA
                          DEPARTMENT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     002138               70896                    $        234.14 $              0.00 $           20.83
                          ARENBURG, DONALD
                          52 PROSPECT STREET
                          HUMMELSTOWN, PA
     002146               17036                    $        500.00 $           500.00 $             0.00
                          FERRARO,
                          JACQUELINE
                          3 SANCHA COURT
     002152-B             FLANDERS, NJ 07836       $          0.00 $              0.00 $            0.00
                          JACOBS, CURTIS L.
                          1735 GREENRIDGE RD
     002155               TAMPA, FL 33619          $      3,750.00 $          3,750.00 $            0.00
                          ZIENKIEWICZ, LEONA
                          460 RIVER RD
     002160               NUTLEY, NJ 07110         $          0.00 $              0.00 $            0.00
                          JORGE HERNANDEZ
                          26 BERGEN STREET
     002164-B             GARFIELD, NJ 07026       $          0.00 $              0.00 $            0.00
                          JORGE HERNANDEZ JR
                          26 BERGEN ST
     002165-A             GARFIELD, NJ 07026 $                0.00 $              0.00 $            0.00
                          ELIAS, WILLIAM
                          425 HIGH ST 4
                          CHESTERTOWN, MD
     002166-B             21620                    $          0.00 $              0.00 $            0.00
                          THOMAS, ELMER L
                          POST OFFICE BOX 13
     002172               ATLANTIC, VA 23303       $          0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WILLIAM WU
                          CHIROPRACTIC
                          1666 GARNET AVENUE
                          PMB 220
     002184-B             SAN DIEGO, CA 92109 $               0.00 $              0.00 $            0.00
                          SANFORD, DAVID C
                          6807 MARISOL DR
     002186-A             HOUSTON, TX 77083        $          0.00 $              0.00 $            0.00
                          JIMENEZ, JORGE
                          620 NO CHURCH
                          AVENUE
     002188               RIALTO, CA 92376         $      2,869.76 $          2,869.76 $            0.00
                          AMADOR, IRMA
                          219 MASSACHUSTTS
                          AVE
     002201               BAY SHORE, NY 11706      $        250.00 $           250.00 $             0.00
                          DELCID, SERGIA
                          219 MASSACHUSETTS
                          AVE
     002202               BAYSHORE, NY 11706       $        280.00 $           280.00 $             0.00
                          SCHREINER, BRADLEY
                          D.
                          306 EDGAR ST.
     002208-B             OLYPHANT, PA 18447 $                0.00 $              0.00 $            0.00
                          R I DIVISION OF
                          TAXATION
                          ONE CAPITOL HILL
     002214               PROVIDENCE, RI 02908     $        113.34 $              0.00 $           10.08
                          LIU, JINFAR
                          3 TRINITY PLACE
                          EAST HANOVER, NJ
     002220               07936                    $          0.00 $              0.00 $            0.00
                          ERNESTO MOLORA
                          683 W FRONT ST
     002221-A             PLAINFIELD, NJ 07060     $        199.82 $           199.82 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SC DEPARTMENT OF
                          REVENUE
                          PO BOX 12265
     002230-B             COLUMBIA, SC 29211       $      1,235.45 $              0.00 $           109.90
                          MALIBU BILLING
                          SERVICESINC
                          23852 PACIFIC COAST
                          HIGHWAY
     002232-B             MALIBU, CA 90265         $          0.00 $              0.00 $             0.00
                          STAR SKY PT
                          23852 PACIFIC COAST
                          HWY 310
     002233-A             MALIBU, CA 90265         $          0.00 $              0.00 $             0.00
                          ATAMIAN
                          CHIROPRACTIC
                          23852 PACIFIC COAST
                          HWY
     002234-B             MALIBU, CA 90265         $          0.00 $              0.00 $             0.00
                          ORTHOPEDIC MEDICAL
                          GROUP
                          23852 PACIFIC COAST
                          HWY 310
     002235-A             MALIBU, CA 90265    $               0.00 $              0.00 $             0.00
                          MELISSA MALLOY
                          154 PLUMERIA ST
     002236-B             SANTA RITA, GU 96915 $              0.00 $              0.00 $             0.00
                          SAVINELLI, MICHAEL
                          R.
                          156 SOUTH HYDE PARK
     002240               SCRANTON, PA 18504  $             480.00 $           480.00 $              0.00
                          ALEXANDRA SHPITAL
                          3206 APPLEDON WAY
     002242               WHIPPANY, NJ 07981       $          0.00 $              0.00 $             0.00
                          FERNANDEZ, ILIANA
                          337 EAST LINCOLN
                          AVENUE
     002245               ROSELLE, NJ 07204        $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MALDONADO,
                          ALFONSO
                          5133 S ARLINGTON
                          LOS ANGELES, CA
     002246-A             90043                    $          0.00 $              0.00 $           0.00
                          GONZALEZ, ALICIA R.
                          4370 51ST ST. #2
     002247               SAN DIEGO, CA 92115      $        492.30 $           492.30 $            0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002252-B             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002253-A             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY 2 SUITE 200
                          NEWPORT BEACH, CA
     002254-B             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002255-A             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002256-B             92663                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY
                          NEWPORT BEACH, CA
     002257-A             92663                    $          0.00 $              0.00 $             0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAYS2 SUITE 200
                          NEWPORT BEACH, CA
     002258-B             92663               $               0.00 $              0.00 $             0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY STE 200
                          NEWPORT BEACH, CA
     002259-A             92663                    $          0.00 $              0.00 $             0.00
                          R I DIVISION OF
                          TAXATION
                          ONE CAPITOL HILL
     002262               PROVIDENCE, RI 02908     $      2,500.00 $              0.00 $           222.39
                          ROBIN HARRISON
                          9203 ESTACIA STREET
                          RANCHO
     002263               CUCAMONGA, CA 91730 $           2,338.41 $          2,338.41 $             0.00
                          PETER GODISH
                          430 ORCHARD ST
     002265-A             SCRANTON, PA 18505       $          0.00 $              0.00 $             0.00
                          WILLIAMS, BILL G.
                          3200 SYLVANER
                          CIRCLE
     002267-A             SANTA CRUZ, CA 95062 $              0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF
                          CONNECTICUT DEPT
                          OF REVENUE SVC
                          COLLECTION &
                          ENFORCEMENT
                          DIVISION
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY STREET
     002269-A             HARTFORD, CT 06106  $             330.00 $              0.00 $            29.35
                          STATE OF
                          CONNECTICUT DEPT
                          OF REVENUE SVC
                          COLLECTION &
                          ENFORCEMENT
                          DIVISION
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY STREET
     002270-A             HARTFORD, CT 06106  $             330.00 $              0.00 $            29.36
                          STATE OF
                          CONNECTICUT DEPT
                          OF REVENUE SVC
                          COLLECTION &
                          ENFORCEMENT
                          DIVISION
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY STREET
     002271-A             HARTFORD, CT 06106  $             330.00 $              0.00 $            29.35
                          DEPT OF REVENUE
                          SERVICES
                          C&E DIVISION
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY ST
     002273               HARTFORD, CT 06106       $      2,898.50 $              0.00 $           257.84
                          SHELTON, JOSEPH
                          723 HONEYSUCKLE LN
     002278-A             MIDLAND, NC 28107  $              800.00 $           800.00 $              0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PEREZ, EPIGMENIO
                          1496 MARGUERITE
                          AVENUE
     002279               CORNING, CA 96021        $          0.00 $              0.00 $           0.00
                          VEYSMAN, MARINA
                          45 MEDICI DR
     002284               SOMERSET, NJ 08873       $          0.00 $              0.00 $           0.00
                          THOMAS, ELMER L
                          POST OFFICE BOX 13
     002285               ATLANTIC, VA 23303       $          0.00 $              0.00 $           0.00
                          AYALA, SAMUEL
                          141 NASSAU RD
                          APT. 2E
     002286               LANCASTER, PA 17602      $        360.00 $           360.00 $            0.00
                          THORSON,
                          CHRISTOPHER
                          100 S.WATER STREET
     002287-A             QUASQUETON, IA 52326 $            270.82 $           270.82 $            0.00
                          ROSEBERRY, MARGOT
                          263 BARKSDALE DR.
                          CHARLESTOWN, WV
     002290-A             25414             $             1,796.00 $          1,796.00 $           0.00
                          ALBANESE, LAURIE
                          77 SPRUCE STREET
     002295-B             EDISON, NJ 08837         $          0.00 $              0.00 $           0.00
                          LEWIS ANDREW
                          3029 GLENDALE ST
                          APT 2
                          MUSKEGON HTS, MI
     002298-B             49444                    $          0.00 $              0.00 $           0.00
                          LEWIS, ANDREW
                          3137 GLENDALE ST
     002299               MUSKEGON, MI 49444       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TENNESSEE
                          DEPARTMENT OF
                          REVENUE
                          C/O ATTORNEY
                          GENERAL
                          PO BOX 20207
     002300               NASHVILLE, TN 37202      $        636.00 $              0.00 $            56.58
                          TENNESSEE
                          DEPARTMENT OF
                          REVENUE
                          C/O ATTORNEY
                          GENERAL
                          PO BOX 20207
     002301-A             NASHVILLE, TN 37202      $      1,177.18 $              0.00 $           104.72
                          TENNESSEE
                          DEPARTMENT OF
                          REVENUE
                          C/O ATTORNEY
                          GENERAL
                          PO BOX 20207
     002302               NASHVILLE, TN 37202      $      2,443.32 $              0.00 $           217.35
                          TENNESSEE DEPT OF
                          REVENUE
                          C/O ATTORNEY
                          GENERAL
                          PO BOX 20207
     002303               NASHVILLE, TN 37202      $          0.00 $              0.00 $             0.00
                          TENNESSEE DEPT OF
                          REVENUE
                          C/O ATTORNEY
                          GENERAL
                          PO BOX 20207
     002304               NASHVILLE, TN 37202      $          0.00 $              0.00 $             0.00
                          TENNESSEE DEPT OF
                          REVENUE
                          C/O ATTORNEY
                          GENERAL
                          PO BOX 20207
     002305               NASHVILLE, TN 37202      $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          RHOADES BRENDA
                          16234 W. RANCHO
                          VIEJO CT.
     002308               TRACY, CA 95304          $          0.00 $              0.00 $           0.00
                          BRINKWORTH, CHRIS
                          M
                          179 FLORY AVE
     002309-A             MOORPARK, CA 93021       $          0.00 $              0.00 $           0.00
                          BRINKWORTH CHRIS M
                          179 FLORY AVE
     002310-B             MOORPARK, CA 93021 $                0.00 $              0.00 $           0.00
                          MACARO, LARRY
                          104 PERSIMMON LANE
     002314               HAMPSTEAD, NC 28443 $               0.00 $              0.00 $           0.00
                          RHOADES BRENDA
                          16234 W. RANCHO
                          VIEJO CT.
     002315               TRACY, CA 95304          $          0.00 $              0.00 $           0.00
                          LAWRENCE J MACARO
                          104 PERSIMMON LN
     002316               HEMPSTEAD, NC 28443 $               0.00 $              0.00 $           0.00
                          LAWRENCE MACARO
                          104 PERSIMMON LN
     002317               HAMPSTEAD, NC 28443 $               0.00 $              0.00 $           0.00
                          CAMPANELLA, MARIA
                          432 TOURNAMENT
                          DRIVE #8
     002325-B             UNION, NJ 07083   $             1,472.00 $          1,472.00 $           0.00
                          TUCKER, MICHELE
                          66 PARKSIDE ROAD
     002326-A             PLAINFIELD, NJ 07060     $      1,298.21 $          1,298.21 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     002332-B             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          FERNANDEZ ILIANA
                          337 EAST LINCOLN AVE
     002336               ROSELLE, NJ 07204    $              0.00 $              0.00 $            0.00
                          TAYLOR, MATTHEW
                          12245 ALLISON RD
     002338               LONDON TWP, MI 48160 $              0.00 $              0.00 $            0.00
                          TN DEPT OF LABOR &
                          WORKFORCE DEV
                          UNEMPLO
                          C/O TN ATTYGENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002341               NASHVILLE, TN 37202 $             713.02 $              0.00 $           63.43
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O TN ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002342-A             NASHVILLE, TN 37202 $               0.00 $              0.00 $            0.00
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O TN ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002343               NASHVILLE, TN 37202 $          35,970.49 $              0.00 $       3,199.79
                          GERONDAKIS, PHILLIP
                          3810 TOBOGGEN RD
                          POLLOCK PINES, CA
     002348-A             95726               $               0.00 $              0.00 $            0.00
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O TN ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002351               NASHVILLE, TN 37202 $               0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEPT OF LABOR AND
                          WORKFORCE
                          DEVELOPMENT
                          EMPLOYMENT
                          SECURITY DIVISION
                          BUREAU OF
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 20207
     002352               NASHVILLE TN 37202       $          0.00 $              0.00 $            0.00
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O TN ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002353               NASHVILLE, TN 37202 $               0.00 $              0.00 $            0.00
                          DEPT OF LABOR AND
                          WORKFORCE
                          DEVELOPMENT
                          EMPLOYMENT
                          SECURITY DIVISION
                          BUREAU OF
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 20207
     002354-A             NASHVILLE, TN 37202      $        474.01 $              0.00 $           42.17
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002355               NASHVILLE, TN 37202      $          0.00 $              0.00 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEPT OF LABOR AND
                          WORKFORCE
                          DEVELOPMENT
                          EMPLOYMENT
                          SECURITY DIVISION
                          BUREAU OF
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 20207
     002356               NASHVILLE, TN 37202      $          0.00 $              0.00 $             0.00
                          ERNESTO SOCARRAS
                          1350 NW 28TH ST
     002359               MIAMI, FL 33142          $          0.00 $              0.00 $             0.00
                          RALPH COLLINS
                          6052 WESTGATE DR
     002363-B             ORLANDO, FL 32835        $          0.00 $              0.00 $             0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN: KATHLEEN A.
                          GARDINER, ASST. AG
                          CADILLAC PLACE
                          3030 W GRAND BLVD,,
                          10TH FL
     002364               DETROIT, MI 48202        $      1,147.49 $              0.00 $           102.08
                          WHITTAKER, JAMES
                          820 W 9TH ST
     002365               COOKEVILLE, TN 38501 $              0.00 $              0.00 $             0.00
                          STATE OF MD,
                          COMPTROLLER OF THE
                          TREASURY
                          ATTN MARY T CARR
                          ROOM 409, STATE
                          OFFICE BUILDING
                          301 WEST PRESTON
                          STREET
     002367-A             BALTIMORE, MD 21201 $          32,768.00 $              0.00 $       2,914.91
                          GRIFFIN, KIONNA D.
                          4530 S. CHURCHILL DR.
                          RICHTON PARK, IL
     002370-A             60471                 $             0.00 $              0.00 $             0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          MICHIGAN DEPT OF
                          TREASURY
                          ATTN: STEVEN B.
                          FLANCHER, ASST. AG
                          G. MENNEN WILLIAMS
                          BUILDING, SECOND
                          FLOO
                          525 WEST OTTOWA
                          STREET
     002373               LANSING, MI 48933  $                0.00 $              0.00 $             0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN: KATHLEEN A
                          GARDINER, ASST AG
                          CADILLAC PLACE, STE
                          10-200
                          3030 W GRAND BLVD
     002374               DETROIT, MI 48202   $               0.00 $              0.00 $             0.00
                          ROMERO, BRAULIO
                          14810 BLUEBRIAR ST
                          MORENO VALLEY, CA
     002375-C             92553                    $          0.00 $              0.00 $             0.00
                          DONS FRAMING
                          5814 SUNGLO AVE
     002380-B             PORT RICHEY, FL 34668 $             0.00 $              0.00 $             0.00
                          LAWRENCE, LILLY
                          185 W FORREST APT 2D
     002381               HARLEM, GA 30814     $            259.00 $           259.00 $              0.00
                          MISSISSIPPI STATE
                          TAX COMMISSION
                          BANKRUPTCY SEC-
                          MISSISSIPPI STATE
                          TAX COM
                          PO BOX 22808
     002383-A             JACKSON, MS 39225        $      4,590.74 $              0.00 $           408.37




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MARYLAND DEP OF
                          LABOR, LICENSING
                          AND REG
                          OFFICE OF
                          UNEMPLOYMENT
                          INSURANCE
                          1100 NORTH EUTAW
                          ST, RM 401
     002384-B             BALTIMORE, MD 21201 $           2,572.01 $              0.00 $           228.80
                          NYS DEPARTMENT OF
                          TAXATION AND
                          FINANCE
                          BANKRUPTCY
                          SECTION
                          P O BOX 5300
     002387-B             ALBANY, NY 12205         $     90,660.40 $              0.00 $       8,064.79
                          MARIAN C ADEN
                          TRUST
                          2899 AGOURA ROAD
                          #590
                          WESTLAKE VILLAGE,
     002389-B             CA 91361                 $          0.00 $              0.00 $             0.00
                          NYS DEPARTMENT OF
                          TAXATION AND
                          FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     002390-B             ALBANY, NY 12205         $          0.00 $              0.00 $             0.00
                          NORTH CAROLINA
                          DEPARTMENT OF
                          REVENUE
                          C/O COLLECTIONS
                          EXAMINATION
                          DIVISION
                          ATTN: ANGELA C
                          FOUNTAIN
                          BANKRUPTCY MGR
                          PO BOX 1168
     002394               RALEIGH, NC 27602        $     51,852.25 $              0.00 $       4,612.57




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KANSAS DEPARTMENT
                          OF REVENUE
                          C/O CIVIL TAX
                          ENFORCEMENT
                          PO BOX 12005
     002395               TOPEKA, KS 66612  $             6,038.52 $              0.00 $           537.16
                          STATE OF MICHIGAN
                          DEPARTMENT OF
                          TREASURY
                          C/O ASSISTANT
                          ATTORNEY GENERAL
                          ATTN KATHLEEN A
                          GARDINER
                          CADILLAC PLACE, STE
                          10-200
                          3030 W GRAND BLVD
     002396               DETROIT, MI 48202   $               0.00 $              0.00 $             0.00
                          MARYLAND DEPT OF
                          LABOR, LICENSING
                          AND REGULATION
                          1100 NORTH EUTAW
                          STREET, ROOM 401
     002397               BALTIMORE, MD 21201 $             301.64 $              0.00 $            26.83
                          JENNIFER M CAMACHO
                          10400 ARROW RT.
                          APT Q-4
                          RANCHO
     002399               CUCAMONGA, CA 91730 $               0.00 $              0.00 $             0.00
                          MARYLAND DEPT OF
                          LABOR, LICENSING
                          AND REGULATION
                          1100 NORTH EUTAW
                          STREET, ROOM 401
     002400-A             BALTIMORE, MD 21201 $             669.56 $              0.00 $            59.56




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          MASSACHUSETTS
                          DEPARTMENT OF
                          REVENUE
                          LITIGATION BUREAU,
                          BANKRUPTCY UNIT
                          100 CAMBRIDGE
                          STREET, 7TH FLOOR
     002401-A             BOSTON, MA 02114         $      6,039.25 $              0.00 $           537.23
                          STATE OF ILLINOIS
                          DEPARTMENT OF
                          REVENUE
                          100 WEST RANDOLPH
                          STREET LEVEL 7-425
     002402               CHICAGO, IL 60601        $     39,367.47 $              0.00 $       3,501.98
                          MARYLAND DEPT OF
                          LABOR LICENSING
                          AND REGULATION
                          1100 NORTH EUTAW
                          STREET, ROOM 401
     002403               BALTIMORE, MD 21201 $             340.27 $              0.00 $            30.27
                          STATE OF HAWAII
                          DEPARTMENT OF
                          TAXATION
                          HAWAII STATE TAX
                          COLLECTOR
                          ATTN: BANKRUPTCY
                          UNIT (EL)
                          PO BOX 259
     002404               HONOLULU, HI 96809       $        554.87 $              0.00 $            49.36
                          STATE OF CALIFORNIA
                          BANKRUPTCY
                          SECTION MS A340
                          FRANCHISE TAX
                          BOARD
                          PO BOX 2952
                          SACRAMENTO, CA
     002405               95812               $               0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF CALIFORNIA
                          BANKRUPTCY
                          SECTION MS A340
                          FRANCHISE TAX
                          BOARD
                          PO BOX 2952
                          SACRAMENTO, CA
     002406               95812               $               0.00 $              0.00 $             0.00
                          FRANCHISE TAX
                          BOARD
                          BANKRUPTCY
                          SECTION MS A340
                          PO BOX 2952
                          SACRAMENTO, CA
     002407-A             95812                    $      2,338.79 $              0.00 $           208.05
                          STATE OF NEW YORK
                          DEPT OF LABOR
                          UNEMPLOYMENT
                          INSURANCE DIVISION
                          GOV W AVERELL
                          HARRIMAN STATE
                          OFFICE
                          BUILDING CAMPUS,
                          BUILDING 12, ROOM
                          256
     002408               ALBANY, NY 12240         $     14,403.43 $              0.00 $       1,281.27
                          STATE OF NEW YORK
                          DEPARTMENT OF
                          LABOR
                          UNEMPLOYMENT
                          INSURANCE DIVISION
                          GOV W AVERELL
                          HARRIMAN STATE
                          OFFICE
                          BUILDING CAMPUS,
                          BUILDING 12, ROOM
                          256
     002409               ALBANY, NY 12240         $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF MICHIGAN
                          DEPARTMENT OF
                          TREASURY
                          C/O ASSISTANT
                          ATTORNEY GENERAL
                          ATTN: CHRISTOPHER M
                          JACOBSON
                          CADILLAC PLACE,
                          SUITE 10-200
                          3030 W GRAND BLVD
     002410               DETROIT, MI 48202   $               0.00 $              0.00 $             0.00
                          STATE OF MICHIGAN
                          DEPARTMENT OF
                          TREASURY
                          ATTN: CHRISTOPHER M
                          JACOBSON
                          ASSISTANT ATTORNEY
                          GENERAL
                          CADILLAC PLACE STE
                          10-200
                          3030 W GRAND BLVD
     002413               DETROIT, MI 48202   $           2,891.47 $              0.00 $           257.21
                          COLIN DOWDS
                          80 SUSAN STREET
     000001-B             TOMS RIVER, NJ 08753     $      4,925.00 $          4,925.00 $             0.00
                          SELA INVESTMENTS
                          LTD LLP
                          C/O HELLMUTH &
                          JOHNSON PLLC
                          10400 VIKING DR, STE
                          500
                          EDEN PRAIRIE, MN
     000028               55344                    $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          STATE OF MARYLAND
                          CENTRAL COLLECTION
                          UNT
                          MICHAEL S. FRIEDMAN
                          AAG
                          OFFICE OF THE ATTY
                          GENERAL OF
                          MARYLAND
                          300 W PRESTON ST RM
                          407
     000031-B             BALTIMORE, MD 21201 $             500.00 $              0.00 $           44.48
                          RODRIGUEZ, CAROL
                          111 GREEN PLACE
                          APT 2
     000113               SCRANTON, PA 18509       $          0.00 $              0.00 $            0.00
                          SCUDIERI SR,
                          RAYMOND J
                          120 ORCHARD ROAD
                          SIDE DOOR
     000136               MAPLEWOOD, NJ 07040 $           1,766.50 $          1,766.50 $            0.00
                          CORONADO, ELSA P.
                          4114 CAMINO DEL
                          PLAZA #25
     000145-C             SAN YSIDROS, CA 92173 $           327.76 $           327.76 $             0.00
                          YOUNG, BARBARA
                          804 W ALLEGHENY
                          AVE
                          PHILADELPHIA, PA
     000151               19133                    $          0.00 $              0.00 $            0.00
                          GATTIS, CRYSTAL
                          4220 6TH ST
     000152               BALTIMORE, MD 21220 $               0.00 $              0.00 $            0.00
                          WILLIAMS, DENISE
                          427 E. WASHINGTON
                          LANE
                          #102
                          PHILADELPHIA, PA
     000164               19144                    $          0.00 $              0.00 $            0.00




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                          WHITE, VALERY
                          3557 S HANNON
     000168               BALTIMORE, MD 21213 $               0.00 $              0.00 $           0.00
                          CERRA JR., WILLIAM J.
                          400 BEDFORD ST, APT
                          507
                          CLARKS SUMMIT, PA
     000169-B             18411                 $           580.00 $           580.00 $            0.00
                          SERRANO, CLARIBEL
                          3502 N PHILIP ST
                          PHILADELPHIA PA
     000185-B             19140                    $        243.40 $           243.40 $            0.00
                          MARTINEZ, JOSE
                          12530 ROSCOE BLVD.
                          APT. #11
     000189-B             SUN VALLEY, CA 91352 $            220.12 $           220.12 $            0.00
                          STATE OF HAWAII,
                          DEPT OF TAXATION
                          HAWAII STATE TAX
                          COLLECTOR
                          PO BOX 259
     000192               HONOLULU, HI 96809       $          0.00 $              0.00 $           0.00
                          PEREZ, EPIGMENIO
                          1496 MARGUERITE
                          AVENUE
     000196-B             CORNING, CA 96021        $        684.00 $           684.00 $            0.00
                          LOZANO, DAMARI
                          107 WEST KING STREET
     000197-B             LANCASTER, PA 17603 $             216.83 $           216.83 $            0.00
                          CALDERON, DEBBIE
                          307 ELIZABETH AVE
     000203               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          DAVIS, SHARICA
                          1861 BENNING
     000209               MEMPHIS, TN 38106        $          0.00 $              0.00 $           0.00




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                          YOUNG, YOLANDA
                          739 GARLAND ST
                          PHILADELPHIA, PA
     000218               19124                    $          0.00 $              0.00 $           0.00
                          CALDERON, HAROLD
                          307 ELIZABETH
                          AVENUE
     000220               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          GARCIA, MARILYN
                          554A. E. JERSEY ST.
                          ELIZABETHPORT, NJ
     000221               07206                    $          0.00 $              0.00 $           0.00
                          SALVATIERRA,
                          SALVADOR JR.
                          715 3RD ST.
                          SAN FERNANDO, CA
     000240               91340                    $          0.00 $              0.00 $           0.00
                          STATE OF HAWAII,
                          DEPT OF TAXATION
                          ATTN: HAWAII STATE
                          TAX COLLECTOR
                          PO BOX 259
     000257               HONOLULU, HI 96809       $          0.00 $              0.00 $           0.00
                          PEREZ, MARIA
                          443 S. 4TH
     000337-B             KANKAKEE, IL 60901       $        256.00 $           256.00 $            0.00
                          MORALES, LILIA
                          LORENA
                          933 SUPERIOR ST
     000347-B             AURORA, IL 60505         $        221.36 $           221.36 $            0.00
                          GAMBOA, LIZ YADIRA
                          933 SUPERIOR
     000361-B             AURORA, IL 60505   $              221.36 $           221.36 $            0.00
                          MORALES, IRMA
                          933 SUPERIOR
     000362-B             AURORA, IL 60505         $        221.36 $           221.36 $            0.00




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                          POBLANO, RICARDO
                          4112 E FIGUEROA ST
                          APT #1
                          LOS ANGELES, CA
     000368               90037                    $        444.16 $           444.16 $            0.00
                          PATEL, SHIVENDRA
                          145 W LAFAYETTE RD
                          APT 6
     000370               MEDINA, OH 44256         $          0.00 $              0.00 $           0.00
                          CARBAJAL, MARIA
                          4139 DWIGHT AVE
     000379               RIVERSIDE, CA 92507      $        244.15 $           244.15 $            0.00
                          MARIBEL FELICIANO
                          PO BOX 4056
     000425-B             SCRANTON, PA 18505       $      1,260.00 $          1,260.00 $           0.00
                          LISA AVILES
                          153 RACE ST
     000570               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          VIRGINIA GONZALEZ
                          20 BETHANY ST
                          NEW BRUNSWICK, NJ
     000571-B             08901                    $        403.78 $           403.78 $            0.00
                          TORRES, ALICIA
                          107 PAULISON AVENUE
     000579-C             PASSAIC, NJ 07055   $             468.58 $           468.58 $            0.00
                          GUTIERREZ, ANTONIA
                          3860 CHEROKEE AVE.
                          #6
     000582-B             SAN DIEGO, CA 92104 $             246.15 $           246.15 $            0.00
                          NASH, YVETTE
                          253 MAGNOLIA AVE
     000585               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          CORTEZ, JESUS
                          145 BERGOLD ST
     000586-B             BRENTWOOD, NY 11717 $             283.40 $           283.40 $            0.00




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                          REOME, THOMAS W.
                          1025 GREGORY PLACE
                          #3
     000593-B             SCRANTON, PA 18504       $        145.52 $           145.52 $             0.00
                          ARVAY, MERRIT
                          65-12 FLEET ST
                          FOREST HILLS, NY
     000619-B             11375                    $      2,762.75 $          2,762.75 $            0.00
                          SANDRA L MCAULEY
                          ESQ
                          FINDLER & FINDLER
                          PA
                          3 HARVARD CIRCLE,
                          STE 100
                          WEST PALM BEACH, FL
     000653               33409               $               0.00 $              0.00 $            0.00
                          FERNANDEZ, YULISSA
                          583 CHARLES ST
                          PERTH AMBOY, NJ
     000656-B             08861              $              160.06 $           160.06 $             0.00
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INTL BLVD
                          STE 826
     000662-B             ATLANTA, GA 30303        $      1,112.19 $              0.00 $           98.94
                          ALVAREZ, MARIA
                          367 WASHINGTON ST
                          PERTH AMBOY, NJ
     000724               08861                    $        277.00 $           277.00 $             0.00
                          JOHNS, JONATHAN
                          4657 FILLMORE
                          AVENUE
     000742-B             MILVILLE, NJ 08332       $      1,570.00 $          1,570.00 $            0.00
                          VARGAS, URSULA
                          150 WEST 176TH ST,
                          APT 1
     000755-B             BRONX, NY 10453          $      1,342.61 $          1,342.61 $            0.00




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                          WILLIAMS, DAMEON
                          2358 LAROSE
     000757-C             MEMPHIS, TN 38114        $         72.03 $            72.03 $            0.00
                          SANTIAGO, JORGE
                          837 SUPERIOR ST
     000762               AURORA, IL 60505         $        202.24 $           202.24 $            0.00
                          MARTINEZ, AIDA
                          722 DONNELLY ST
     000767               DURYEA, PA 18642         $        800.00 $           800.00 $            0.00
                          PAUL PRAIRIE
                          3618 N VINCENNES
                          TRAIL
     000957-B             MOMENCE, IL 60954        $      1,573.39 $          1,573.39 $           0.00
                          ROBB, GAIL R
                          1924 LOGAN BELLY
                          LANE
                          CROWN POINT, IN
     001130-B             46307                    $      2,924.00 $          2,924.00 $           0.00
                          VILLAHERMOSA,
                          JERRY
                          1740 BRILL ST
                          PHILADELPHIA, PA
     001155-B             19124                    $        257.90 $           257.90 $            0.00
                          CUYA, MARIA
                          42 BANK ST. FIRST
                          FLOOR
     001208-B             ELIZABETH, NJ 07201      $        700.00 $           700.00 $            0.00
                          OLMO RUTH N
                          P O BOX 2985
     001236-B             CAROLINA, PR 00984       $      2,400.00 $          2,400.00 $           0.00
                          RIVERA, ROSA
                          324 44TH ST. APT 42
     001265-B             UNION CITY, NJ 07087     $        195.45 $           195.45 $            0.00
                          SYLVIA, VEGA
                          P O BOX 360559
     001295-B             SAN JUAN, PR 00936       $      2,400.00 $          2,400.00 $           0.00




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                          ANDINO, ALEJANDRO
                          323 GUATIER BENITEZ
                          ST
     001312-B             SAN JUAN, PR 00915       $      2,400.00 $          2,400.00 $           0.00
                          NAZARIO, FRANCISCO
                          18 REMSEN AVE.
                          NEW BRUNSWICK, NJ
     001401-B             08901              $              206.46 $           206.46 $            0.00
                          HOLDEN, TANYA
                          5848 NTH 7TH ST
                          PHILADELPHIA, 01
     001441-B             19120                    $          0.00 $              0.00 $           0.00
                          B AND B TOWING
                          3927 ENTERPRISE
                          AVENUE
     001456               NAPLES, FL 34104         $          0.00 $              0.00 $           0.00
                          SAENZ, JESSE B
                          1910 EATON AVE
     001503-B             HEMET, CA 92545          $        660.52 $           660.52 $            0.00
                          ESCOBEDO, LIDUVINA
                          2727 WHITTER BLVD.
                          LOS ANGELES, CA
     001507               90023              $              185.11 $           185.11 $            0.00
                          ELAINE L CHAO
                          SECRETARY OF LABOR
                          ATTN: PATRICIAL M
                          RODENHAUSEN REG
                          SOL
                          US DEPT OF LABOR
                          201 VARICK ST RM 983
     001524               NEW YORK, NY 10014   $              0.00 $              0.00 $           0.00
                          RONALD FOWLER
                          7808 TWIN LAKES
                          ROAD
                          KEYSTONE HEIGHTS,
     001548               FL 32656                 $          0.00 $              0.00 $           0.00
                          ANABELA I RAMIREZ
                          17 MARVIN AVE
     001557-B             UNIONDALE, NY 11553      $        658.50 $           658.50 $            0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ROLDAN, GUADALUPE
                          444 N. IRVING ST.
     001589-B             SCRANTON, PA 18505 $              268.11 $           268.11 $              0.00
                          B M LIMITED
                          LIABILITY CO
                          5406 TIMUQUANA
                          ROAD
                          JACKSONVILLE, FL
     001611               32210                    $          0.00 $              0.00 $             0.00
                          KRSNA CORPORATION
                          5406 TIMUQUANA
                          ROAD
                          JACKSONVILLE, FL
     001612               32210             $                 0.00 $              0.00 $             0.00
                          COLORADO DEPT OF
                          REVENUE
                          ATTN: BANKRUPTCY
                          UNIT
                          1375 SHERMAN ST RM
                          504
     001747-C             DENVER, CO 80261         $      8,575.78 $              0.00 $           762.87
                          HOLT TACIANA
                          2510 AUSTIN SMITH
                          COURT
                          N. FORT MEYERS, FL
     001796-B             33917                    $      1,605.84 $          1,605.84 $             0.00
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF TAXTION
                          PO BOX 245
     001824               TRENTON, NJ 08695   $               0.00 $              0.00 $             0.00
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF TAX
                          PO BOX 245
     001825               TRENTON, NJ 08695   $               0.00 $              0.00 $             0.00
                          AVILES, LISA
                          378 MONMOUTH RD
     001830-B             ELIZABETH, NJ 07208      $      1,348.00 $          1,348.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MELENDEZ, JOSE
                          FRANCISCO
                          4046 KIMBALL AVENUE
     001849-B             MEMPHIS, TN 38111   $           4,925.00 $          4,925.00 $           0.00
                          ORTIZ, WILMER J.
                          1142 ONION STREET
     001851-B             ALLENTOWN, PA 18102 $             260.00 $           260.00 $            0.00
                          SPAULDING, DELORES
                          2428 POWDERLY
                          AVENUE
                          BIRMINGHAM, AL
     001865-B             35211              $            1,512.00 $          1,512.00 $           0.00
                          BUSTILLOS, OMAR
                          5893 VISTA SAN
                          GUADALUPE
     001910-B             SAN DIEGO, CA 92154      $      4,925.00 $          4,925.00 $           0.00
                          DANIELS, MINDY
                          919 SHOEMAKER AVE.
                          WEST WYOMING, PA
     001914-B             18644                    $      1,230.00 $          1,230.00 $           0.00
                          WASHINGTON,
                          LATOYA
                          12799 S. 177TH LANE
     001916-C             GOODYEAR, AZ 85338       $      1,248.00 $          1,248.00 $           0.00
                          GONZALEZ, MARIA
                          10212 SUSAN AVE.
     001917-B             HESPERIA, CA 92345       $      1,352.00 $          1,352.00 $           0.00
                          GORCZYK, DIANE
                          710 STORRS STREET
                          DICKSON CITY, PA
     001939               18519                    $        294.64 $           294.64 $            0.00
                          FRIAS, ALBERTO
                          205 E WESTMORELAND
                          ST
                          PHILADELPHIA, PA
     002019               19134              $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MARIN, MARIA
                          25621 HARBOR
                          VILLAGE PL
                          APT 1
                          HARBOR CITY, CA
     002020               90710                    $          0.00 $              0.00 $             0.00
                          ALFONSO ORTIZ
                          2203 E. EL SEGUNDO
                          BLV. #1
     002029-B             COMPTON, CA 90222        $        813.67 $           813.67 $              0.00
                          SCHEEL, DANIEL
                          207 ELM AVE WEST
                          MONTGOMERY, MN
     002043               56069                    $          0.00 $              0.00 $             0.00
                          EVANS, JOHN
                          875 NW 168TH DRIVE
     002079               MIAMI, FL 33169          $          0.00 $              0.00 $             0.00
                          SAMUEL MONI
                          248-23 89 AVE
     002092               BELLEROSE, NY 11426      $          0.00 $              0.00 $             0.00
                          WYOMING
                          UNEMPLOYMENT TAX
                          DIVISION
                          WY UNEMPLOYMENT
                          TAX DIV
                          PO BOX 2760
     002097-C             CASPER, WY 82602 $                179.30 $              0.00 $            15.95
                          DEPT OF INDUSTRIAL
                          RELATIONS
                          STATE OF ALABAMA
                          649 MONROE ST
                          MONTGOMERY, AL
     002102-B             36131                    $      2,546.50 $              0.00 $           226.53
                          ACTION PLUMBING
                          6013 EL CAMINO
                          AVENUE
                          BAKERSFIELD, CA
     002120               93313                    $          0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          YOHN, JAYME
                          6012 WICKS ST.
                          BAKERSFIELD, CA
     002121               93313                    $          0.00 $              0.00 $           0.00
                          WOOD, JEANNIE J
                          6013 EL CAMINO
                          BAKERSFIELD, CA
     002122               93313                    $          0.00 $              0.00 $           0.00
                          WOOD, HERSHALL L
                          6013 EL CAMINO
                          BAKERSFIELD, CA
     002123               93313                    $          0.00 $              0.00 $           0.00
                          ALEXANDER, GABRIEL
                          3557 SHANNON DR.
     002170-B             BALTIMORE, MD 21213 $             500.00 $           500.00 $            0.00
                          VALLECILLO, ROSA
                          1400 NEW YORK AVE
                          PAt #1
     002180-B             UNION CITY, NJ 07087     $        373.04 $           373.04 $            0.00
                          MCHUGH LANCE
                          936 CORTEZ RD
     002197-B             LAKE ARIEL, PA 18436     $      1,920.00 $          1,920.00 $           0.00
                          OLASKOWITZ, STAN
                          51 LEO AVENUE
     002215-B             STANHOPE, NJ 07874       $      1,654.40 $          1,654.40 $           0.00
                          HALLBACK,
                          GWENDOLYN G
                          1110 WEST LIME
                          STREET
     002216               LAKELAND, FL 33815       $          0.00 $              0.00 $           0.00
                          VELAZQUEZ, VICTOR
                          M
                          16619 SOUTH MENLO
                          AENUE
                          APARTMENT #111
     002237-B             GARDENA, CA 90247        $        359.79 $           359.79 $            0.00




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                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O TN ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002347-C             NASHVILLE, TN 37202 $               21,375.68 $              0.00 $         1,901.50
                          Xiomara Ceballos
                          PO Box 7254
                          North Brunswick, NJ
     002414               08902                          $     2,664.00 $          2,664.00 $              0.00
                Total to be paid to priority creditors                                $             672,007.31
                Remaining Balance                                                     $                    0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 67,738,510.66 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                         Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                       of Claim           to Date          Payment
                          Boise Cascade Office
                          Products
                          150 E. Pierce Road
     000562               Itasca, IL 60143               $    17,048.44 $              0.00 $              0.00
                          Shana K Thom
                          11715 Goshen Ave
                          Los Angeles, CA 90049-
     000514-A             6101                           $     4,933.03 $              0.00 $              0.00
                          Apollo Enterprises
                          P.O. Box 4739
                          San Dimas, CA 91773-
     000565               4739                           $       139.72 $              0.00 $              0.00




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          Lisa Aviles
                          378 Monmouth Rd.
     001831               Elizabeth, NJ 07208        $         0.00 $              0.00 $           0.00
                          Virginia Gonzalez
                          20 Bethany Street
     001571               New Brunswick, NJ 08901 $            0.00 $              0.00 $           0.00
                          CompuTrol Technologies
                          Attn: Ron Weiss
                          2131 Wantagh Avenue
     000397               Wantagh, NY 11793          $    98,221.27 $              0.00 $           0.00
                          Andrea Webb
                          828 Windsor Perrineville
     000399-A             E. Windsor NJ 08520        $    27,000.00 $              0.00 $           0.00
                          Rosalina G Antao
                          422 Chestnut St
     000400-A             Kearny NJ 07032            $         0.00 $              0.00 $           0.00
                          Norma Padua
                          539 Ridgeway Ave
     000401               So Amboy, NJ 08879         $         0.00 $              0.00 $           0.00
                          Ernesto Molora
                          683 W. Front St.
     000518               Plainfield, NJ 07060       $         0.00 $              0.00 $           0.00
                          Yurika La Rosa
                          12 Somerset St.
     000559               Plainfield, NJ 07060       $         0.00 $              0.00 $           0.00
                          Salvadore Velez
                          683 W. Front St.
     000517               Plainfield,NJ 09060        $       180.06 $              0.00 $           0.00
                          Saul Velez
                          683 W. Front St.
     000516               Plainfield,NJ 07060        $       193.57 $              0.00 $           0.00
                          Tanya Melendez
                          17 Heritage Green Dr., Apt
                          209
     000526               Fiskdale, MA 01518-1270 $            0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          Marcus Pacheco - Sanchez
                          1137 Capote Ave
     000527               Scranton PA 18509        $          0.00 $              0.00 $           0.00
                          Michele Tucker
                          66 Parkside Road
     000528               Plainfield, NJ 07060     $          0.00 $              0.00 $           0.00
                          Freddy Salazar
                          30 Edgewood Terr
                          South Bound Brook,NJ
     000560               08880                    $        355.19 $              0.00 $           0.00
                          Jorge Hernandez Jr.
                          26 Bergen St.
     000530-A             Garfield,NJ 07026        $          0.00 $              0.00 $           0.00
                          THOM, SHANA
                          11715 GOSHEN AVE
                          LOS ANGELES, CA
     002129-A             90049                    $          0.00 $              0.00 $           0.00
                          Winifred Roth
                          29 Peasley Dr.
     000531               Marlboro, NJ 07746       $      1,600.00 $              0.00 $           0.00
                          Gul Muhammad
                          58-05 Waldron St.
     000392               Corona,NY 11368          $      2,080.68 $              0.00 $           0.00
                          Jyotikumar S. Agrawal
                          63 Bulger Avenue
     000431               New Milford, NJ 07646    $          0.00 $              0.00 $           0.00
                          Jesus Colon
                          136 Giles Ave.
     000432-A             Middlesex, NJ 08846      $      3,160.80 $              0.00 $           0.00
                          Madeline Vazquez
                          304 Royal Ct
     000434               Somerset, NJ 08873       $      1,371.50 $              0.00 $           0.00
                          Jose Breton
                          304 Royal Ct
     000436               Somerset,NJ 08873        $      1,055.00 $              0.00 $           0.00




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          Selis and Associates, PA
                          475 South Nova Road
     000438               Ormond Beach, FL 32174     $   226,151.92 $              0.00 $           0.00
                          NYS Dept of Taxation &
                          Finance
                          Attn: Bankruptcy Section
                          PO BOX 5300
     000511-C             Albany, NY 12205-0300      $         0.00 $              0.00 $           0.00
                          Quest Diagnostics Inc
                          Attn: Mail Code CV-2635
                          1201 S. Collegeville Rd
     000541               Collegeville PA 19426      $    49,665.05 $              0.00 $           0.00
                          Federal Express Corp
                          Attn: Revenue
                          Recovery/Bankruptcy
                          2005 Corporate Ave 2nd fl
     000442               Memphis TN 38132          $      2,442.60 $              0.00 $           0.00
                          Federal Express Corp
                          Attn: Revenue
                          Recovery/Bankruptcy
                          2005 Corporate Ave 2nd fl
     002393               Memphis TN 38132          $        901.22 $              0.00 $           0.00
                          VEYSMAN, MARINA
                          45 Medici Dr.
     000545-A             Somerset, NJ 08873-6039    $     3,334.88 $              0.00 $           0.00
                          Elsa Coronado Plascenciz
                          4114 Czimino De La Plaza
                          #25-1
     000445-A             San Yoicho ,CA 92173     $           0.00 $              0.00 $           0.00
                          American Express Travel
                          Related Svcs Co Inc Corp
                          C
                          c/o Becket and Lee, LLP
                          P.O. Box 3001
     000446               Malvern, PA 19355-0701     $    18,347.08 $              0.00 $           0.00
                          RAMIREZ, ARMANDO
                          2034 E. LINCOLN AVE.
     000714               ANAHEIM, CA 92806          $       840.00 $              0.00 $           0.00




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          Feliciano Campos Mejia
                          PO Box 1287
     000449               San Marcos, CA 92079      $        374.75 $              0.00 $           0.00
                          Rosa Tobar
                          PO Box 1287
     000450               San Marcos, CA 92079      $         84.99 $              0.00 $           0.00
                          ARVAY, MERRIT
                          63-12 75th Place
     000451               Middle Village, NY 11379 $           0.00 $              0.00 $           0.00
                          William C. Donadio
                          200 Shunpike Rd
     000547               Springfield NJ 07081      $      3,000.00 $              0.00 $           0.00
                          Sinins and Bross PA
                          Attn: Rubin M Sinins
                          201 Washington Street
     000383               Newark, NJ 07102          $     67,257.73 $              0.00 $           0.00
                          Jose Daniel Pena
                          844 Firethorn St.
     000515               San Diego, CA 92154       $      4,928.78 $              0.00 $           0.00
                          Cynthia Collier
                          1604 South Irving Ave
     000549               Scranton, PA 18505        $      2,760.00 $              0.00 $           0.00
                          Carolyn Sorge
                          3626 Hampton Glen Place
     000550-A             Jacksonville, FL 32257    $      2,500.00 $              0.00 $           0.00
                          Airport Gateway Plaza,
                          LLC
                          (fka Marian C. Aden Trust)
                          638 Lindero Canyon Road,
                          #508
     000551-A             Oak Park, CA 91377         $    18,133.69 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GOLEBOCK EISEMAN
                          ASSOR BELL & PESKOE
                          LLP
                          ATTN: ADAM C
                          SILVERSTEIN ESQ
                          437 MADISON AVE
                          NEW YORK, NY 10022-
     000381               7302                $           4,359.43 $              0.00 $           0.00
                          FELICIANO, MARIBEL
                          PO Box 4056
     001904               Scranton, PA 18505       $          0.00 $              0.00 $           0.00
                          Iris Estevez
                          1404 Summit Place
     000428               Union, NJ 07083          $          0.00 $              0.00 $           0.00
                          Verizon
                          3900 Washington Street
     000406               Wilmington, DE 19802     $        792.74 $              0.00 $           0.00
                          OCALA Regional Medical
                          Center
                          c/o Hca PAS Orange Park
                          PO Box 1629
     000407               Orange Park, FL 32067   $         159.00 $              0.00 $           0.00
                          North Florida Regional
                          Medical Center
                          c/o HCA PAS Orange Park
                          PO Box 1629
     000408               Orange Park, FL 32067   $      45,995.27 $              0.00 $           0.00
                          FT Walton Beach Medical
                          Center
                          Attn HCA PAS Orange
                          Park
                          Po Box 1629
     000409               Orange, Park FL 32067   $       2,968.50 $              0.00 $           0.00
                          Orange Park Medical
                          Center
                          c/o HCA PAS Orange Park
                          PO Box 1629
     000410               Orange Park, FL 32067   $       5,136.00 $              0.00 $           0.00




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                                                      Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                    of Claim           to Date          Payment
                          Memorial Hospital
                          Jacksonville
                          Attn HCA PAS Orange
                          Park
                          PO Box 1629
     000411               Orange Park, FL 32067      $      1,098.75 $              0.00 $           0.00
                          Capital Regional Medical
                          Center
                          Attn HCA PAS Orange
                          Park
                          PO Box 1629
     000554               Orange Park, FL 32067      $     12,114.25 $              0.00 $           0.00
                          NICOR Gas
                          PO Box 549
     000412               Aurora, IL 60807           $      1,120.98 $              0.00 $           0.00
                          Infinet Marketing Services,
                          Inc.
                          8925 Sterling Street, Suite
                          150
                          Attn: Amber Hunter
     000561               Irving, TX 75063            $         0.00 $              0.00 $           0.00
                          4 Commerce Drive
                          Associates LLC
                          Attn: Larry Graphis
                          20 East Williow Street
     000575               Millburn, NJ 07041         $     78,687.00 $              0.00 $           0.00
                          Kenneth Propst, DBA
                          Propst Buy Rite
                          Buy Rite Service; Propst
                          Transportation
                          c/o Joseph Toczydlowski
                          Esq.
                          392 Main Street
     000417               Archbald, PA 18403         $     41,052.19 $              0.00 $           0.00




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                                                      Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                    of Claim           to Date          Payment
                          California Uninsured
                          Employees Benefit Trust
                          Fund
                          Office of the Director -
                          Legal Unit
                          Attn: Bankruptcy Unit
                          320 West Fourth Street
                          Suite 600
                          Los Angeles, CA 90013-
     000482               2344                        $   500,918.98 $              0.00 $           0.00
                          High Foods Services, Ltd.
                          Attn: Clayton W.
                          Davidson, Esq.
                          PO Box 1166
                          100 Pine Street
     000485               Harrisburg, PA 17108        $       370.94 $              0.00 $           0.00
                          High Employee Services
                          Ltd.
                          Attn: Clayton W.Davidson,
                          Esq.
                          Po Box 1166
                          100 Pine Street
     000486               Harrisburg, PA 17108      $       1,582.54 $              0.00 $           0.00
                          High Concrete Structures,
                          Inc.
                          Attn: Clayton W.
                          Davidson, Esq.
                          PO Box 1166
                          100 Pine Street
     000487               Harrisburg, PA 17108        $    18,228.30 $              0.00 $           0.00
                          High Employee Services
                          Ltd.
                          Attn: Clayton W.Davidson,
                          Esq.
                          Po Box 1166
                          100 Pine Street
     000488               Harrisburg, PA 17108      $      23,804.72 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MV Transportation, Inc.
                          Attn: Mark Ginalski
                          John Biard & Assoc.
                          360 Campus Ln., Ste 201
     000003               Fairfield, CA 94534       $   900,000.00 $              0.00 $           0.00
                          Continental Currency
                          Services D/B/A
                          Mobile Money & Pronto
                          Cash Express'
                          Attn: Nicole Mongeon Esq.
                          1108 East 17th St
     000489               Santa Ana, CA 92701       $     9,411.76 $              0.00 $           0.00
                          Clair Odell Group
                          Attn: Michael Robbinson
                          2 West Lafayette Street
                          Suite 400
                          Norristown, PA 19401-
     000490               1758                      $   561,358.00 $              0.00 $           0.00
                          California Uninsured
                          Employers Benefit Trust
                          Fund
                          Legal Unit - Bankruptcy
                          Unit
                          320 West Fourth Street,
                          Suite 600
     000491               Los Angeles, CA 90013     $   103,378.00 $              0.00 $           0.00
                          Labor Connection, Inc.
                          792 Meridian Way
                          Suite D
     000476               San Jose, CA 95126        $   300,000.00 $              0.00 $           0.00
                          High Employee Services
                          LTD
                          Attn: Clayon Davidson
                          Esq.
                          PO Box 1166
                          100 Pine St.
     000477               Harrisburg,PA 17108       $    25,000.00 $              0.00 $           0.00




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                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
                          Taylored Services, Inc.
                          Attn: Nisha T. Cordero,
                          Esq.
                          Ferro Labella & Zucker
                          L.L.C.
                          27 Warren Street
     000479               Hackensack, NJ 07601       $            0.00 $               0.00 $           0.00
                          Alberto Gonzalez
                          1920 N. Orange Avenue
     000480               Orlando, FL 32804          $       20,000.00 $               0.00 $           0.00
                          Suburban Plastering, Inc.
                          and Martin Bros.
                          Atkinson, Andelson, Loya,
                          Ruud & Romo
                          17871 Park Plaza Drive,
                          Suite 200
                          Cerritos, CA 90703
     000506               Attn: Helen R. Frazer     $     10,068,070.00 $              0.00 $           0.00
                          InfiNet Marketing Services,
                          Inc.
                          Attn: Rachelle Barth
                          8925 Sterling Street, Ste
                          150
     000414               Irving, TX 75063            $           0.00 $               0.00 $           0.00
                          Mandelbaum Salsburg
                          Gold Lazris
                          Discenza & Steinberg PA
                          155 Prospect Avenue
     000507               West Orange, NJ 07052      $       10,319.95 $               0.00 $           0.00
                          Southern California Edison
                          Co.
                          Attn: Credit & Payment
                          Svcs.
                          2131 Walnut Grove Ave.
     000701               Rosemead, CA 91770         $         1,539.01 $              0.00 $           0.00
                          Elizabethtown Gas Co, div
                          of NUI Corp
                          PO Box 3175
                          One Elizabethtown Plaza
     000702               Union NJ 07083-1975       $           449.22 $               0.00 $           0.00




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     Claim No.            Claimant                    of Claim           to Date          Payment
                          NEVADA DEPARTMENT
                          OF TAXATION
                          ATTN: BANKRUPTCY
                          SECTION
                          555 E. WASHINGTON
                          AVE #1300
     001523-A             LAS VEGAS, NV 89101 $                 0.00 $              0.00 $           0.00
                          Elaine L. Chao, Secretary
                          of Labor
                          Patricia M. Rodenhausen
                          Reg Solicitor
                          U.S. Department of Labor
                          201 Varick Street, Room
                          983
                          New York, New York
     001998-A             10014                       $        54.08 $              0.00 $           0.00
                          Russel Bobb Enterprises,
                          Inc.
                          CREDITOR REQUESTED
                          DELETION BUT CLAIM
                          ON FILE WITH THE
     001525               COURT                    $       59,553.25 $              0.00 $           0.00
                          United Steel Deck
                          c/o Vimal K Shah
                          McElroy Deutsch
                          Mulvaney & Carpenter
                          1300 Mt Kemble Rd., PO
                          Box 2075
     001526               Morristown, NJ 07962        $         0.00 $              0.00 $           0.00
                          The New York Times Co.
                          Attn: Jerome F. O'Brien,
                          Esq.
                          PO Box 505
     001858               West Caldwell, NJ 07007     $     1,056.00 $              0.00 $           0.00
                          Dept of Finance & Admin
                          Cabinet
                          Kentucky Revenue Cabinet
                          100 Fair Oaks 5th Fl, PO
                          Box 491
                          Frankfort ,Kentucky
     001962-A             40602-0491               $          252.57 $              0.00 $           0.00




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                                                     Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                   of Claim           to Date          Payment
                          NYS Dept of Taxation &
                          Finance
                          Attn: Bankruptcy Section
                          PO Box 5300
     002411-A             Albany, NY 12205-0300      $    54,918.90 $              0.00 $           0.00
                          Indiana Department of
                          Revenue
                          Bankruptcy Section, Room
                          N-203
                          100 North Senate Avenue
     001996-A             Indianapolis, IN 46204   $       3,468.47 $              0.00 $           0.00
                          Structural Prestressed
                          11405 NW 138th Street
     002388               Miami, Florida 33178       $    50,000.00 $              0.00 $           0.00
                          Kentucky Department of
                          Revenue
                          Legal Branch-Bankruptcy
                          Section
                          Attn: Leanne Warren
                          PO Box 5222
     002148-B             Frankfort,KY 40602         $       350.55 $              0.00 $           0.00
                          Jersey Central Power &
                          Light
                          331 Newman Springs Rd
                          Building 3
     002147               Red Bank, NJ 07701         $       786.89 $              0.00 $           0.00
                          Verizon - Bankruptcy
                          Department
                          3900 Washington St.
     002335               Wilmington, DE 19802       $    15,408.70 $              0.00 $           0.00
                          Milton L. Delgado
                          RR6 Box 6066A
     000573-B             Moscow, PA 18444           $     4,360.39 $              0.00 $           0.00
                          COLIN DOWDS
                          80 SUSAN ST.
     000001-A             TOMS RIVER, NJ 08753       $   148,217.19 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MV TRANSPORTATION
                          INC
                          ATTN MARK GINALSKI
                          JOHN BIARD &
                          ASSOCIATES
                          360 CAMPUS LANE STE
                          201
     000004               FAIRFIELD, CA 94534 $         900,000.00 $              0.00 $           0.00
                          MV TRANSPORTATION
                          INC
                          JOHN BIARD & ASSOC
                          ATTN MARK GINALSKI
                          360 CAMPUS LANE STE
                          201
     000005               FAIRFIELD, CA 94534 $         900,000.00 $              0.00 $           0.00
                          MV TRANSPORTATION
                          INC
                          ATTN MARK GINALSKI
                          JOHN BIARD &
                          ASSOCIATES
                          360 CAMPUS LANE STE
                          201
     000006               FARIFIELD, CA 94534 $         900,000.00 $              0.00 $           0.00
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          ATTN BANKRUPTCY
                          DIVISION
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          DEPT 280946
     000007-A             HARRISBURG, PA 17128 $              0.00 $              0.00 $           0.00
                          MARYLAND DEPT OF
                          LABOR, LICENSING &
                          REG
                          1100 NORTH EUTAW
                          ST, RM 401
     000011-B             BALTIMORE, MD 21201 $             135.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HERIBERTO AVILA
                          C/O DON HARVEY ESQ.
                          253 N. ORLANDO AVE.
                          STE 204
     000013               MAITLAND, FL 32751  $               0.00 $              0.00 $           0.00
                          JOHN ZITT
                          ATTN: LAW OFFICE OF
                          PEIRRE VAUGHN
                          4817 PALM AVENUE,
                          SUITE I
     000014               LA MESA, CA 91941   $          75,000.00 $              0.00 $           0.00
                          CA UNINSURED EMP
                          BENEFIT TRUST FUND
                          ATTN: OFFICE OF THE
                          DIRECTOR- LEGAL
                          UNIT
                          ATTN: BANKRUPTCY
                          UNIT
                          320 WEST FOURTH
                          STREET, SUITE 600
                          LOS ANGELES, CA
     000017               90013                    $     95,245.00 $              0.00 $           0.00
                          MARIA DEL ROCIO
                          GUILLEN
                          ATTN: LAW OFFICES
                          OF LEO H. HERNANDEZ
                          3330 PICO BLVD., #2308
                          SANTA MONICA, CA
     000018               90405                  $      300,000.00 $              0.00 $           0.00
                          JOSEPH RAY HALL
                          3127 ATLANTIC BLVD.
                          JACKSONVILLE, FL
     000019               32207                    $     20,000.00 $              0.00 $           0.00
                          RAHAIM, WATSON,
                          DEARING, BERRY &
                          MOORE,
                          ATTN: DAVID DEARING
                          3127 ATLANTIC BLVD.
                          JACKSONVILLE, FL
     000020               32207               $           3,198.42 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MARCY L TSCHIDA
                          5127 PRAIRIE GRASS LN
                          COLORADO SPRINGS,
     000021-A             CO 80922              $         1,800.00 $              0.00 $           0.00
                          JERRI T WISE
                          882 CRYSTAL WATER
                          COURT
                          LAWRENCEVILLE, GA
     000022-B             30045                    $          0.00 $              0.00 $           0.00
                          EMERITA RIVERA
                          53 WRIGHT PLACE
                          NEW BRUNSWICK, NJ
     000023               08901                    $          0.00 $              0.00 $           0.00
                          G J SULLIVAN JR. PA
                          SULLIVAN & CO
                          501 W BAY ST, STE 100
                          JACKSONVILLE, FL
     000024               32202                    $      1,750.00 $              0.00 $           0.00
                          CA UNINSURED
                          EMPLOYERS BENEFITS
                          TR FUND
                          OFFICE OF THE
                          DIRECTOR- LEGAL
                          UNIT
                          ATTN: BANKRUPTCY
                          UNIT
                          320 W FOURTH ST, STE
                          600
                          LOS ANGELES, CA
     000025               90013                $        142,017.75 $              0.00 $           0.00
                          GANSON ENGINEERING
                          INC
                          PO BOX 2907
                          LAKE HAVASU CITY,
     000026               AZ 86406           $            8,936.00 $              0.00 $           0.00
                          MARIA RIVERA
                          2302 W CYPRESS ST
     000029               COMPTON, CA 90202        $        384.15 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          CONCENTRA MEDICAL
                          CENTERS
                          JJ MAC INTYRE CO
                          PO BOX 78150
     000030               CORONA, CA 92877  $            19,163.88 $              0.00 $           0.00
                          STATE OF MARYLAND
                          CENTRAL COLLECTION
                          UNT
                          MICHAEL S. FRIEDMAN
                          AAG
                          OFFICE OF THE ATTY
                          GENERAL OF
                          MARYLAND
                          300 W PRESTON ST RM
                          407
     000031-A             BALTIMORE, MD 21201 $              85.00 $              0.00 $           0.00
                          CITIBANK USA, N.A.
                          DBA: DELL
                          PO BOX 9025
     000032               DES MOINES, IA 50368     $      8,089.61 $              0.00 $           0.00
                          INFO QUEST, INC.
                          SLATER, TENAGLIA,
                          FRITZ & HUNT, P.A.
                          301 THIRD STREET
     000033               OCEAN CITY, NJ 08226     $     25,000.00 $              0.00 $           0.00
                          CA UNINSURED EMP
                          BENEFIT TRUST FUND
                          OFFICE OF THE
                          DIRECTOR-LEGAL
                          UNIT
                          ATTN: BANKRUPTCY
                          UNIT
                          320 WEST FOURTH
                          STREET, SUITE 600
                          LOS ANGELES, CA
     000034               90013-                   $    161,930.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOHN ZITT
                          LAW OFFICE OF PIERRE
                          VAUGHN
                          4817 PALM AVE. SUITE
                          I
     000035               LA MESA, CA 91941    $         75,000.00 $              0.00 $           0.00
                          DON HARVEY ESQ
                          253 N. ORLANDO AVE.
                          STE 204
     000036               MAITLAND, FL 32751       $     28,027.64 $              0.00 $           0.00
                          G J SULLIVAN JR, PA
                          SULLIVAN &
                          COMPANY
                          501 W BAY ST
                          STE 100
                          JACKSONVILLE, FL
     000037               32202                    $      4,625.00 $              0.00 $           0.00
                          AMERICAN HOME
                          ASSURANCE CO. et al
                          c/o INT'L MARINE
                          AGENCY OF NY
                          McDonough, Korn &
                          Eichorn, P.C.
                          959 South Springfield
                          Avenue
     000038               Springfield, NJ 37081    $    400,000.00 $              0.00 $           0.00
                          RED BULL NORTH
                          AMERICA INC
                          SEYFARTH SHAW LLP
                          ALLAN S ONO (SBN
                          130763)/CAROLYN E
                          SIEVE
                          2029 CENTURY PARK
                          EAST, STE 3300
                          LOS ANGELES, CA
     000039               90067                    $    318,000.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim            to Date          Payment
                          DEL MONTE FRESH
                          PRODUCE COMPANY
                          C/O RUDY PITTALUGA
                          JR
                          HOLLAND & KNIGHT
                          LLP
                          701 BRICKELL AVE,
                          STE 3000
     000040               MIAMI, FL 33131    $         1,621,281.08 $              0.00 $           0.00
                          JOHN ZITT
                          LAW OFFICE OF PIERRE
                          VAUGHN
                          4817 PALM AVE, STE 1
     000047               LA MESA, CA 91941    $         75,000.00 $               0.00 $           0.00
                          ANTHONY CRISCIO
                          457 WEST AVE
     000048               SEWAREN, NJ 07077        $      2,307.00 $               0.00 $           0.00
                          OHIO BUREAU OF
                          WORKERS
                          COMPENSATION
                          LAW SECTION OF
                          BANKRUPTCY UNIT
                          30 W SPRING ST
                          PO BOX 15567
     000052               COLUMBUS, OH 43215       $        551.01 $               0.00 $           0.00
                          STATE OF MARYLAND
                          ATTN: MARY T CARR,
                          COMPTROLLER OF MD
                          RM 409, STATE OFFICE
                          BUILDING
                          301 W PRESTON ST
     000058-B             BALTIMORE, MD 21201 $              30.00 $               0.00 $           0.00
                          STATE OF MARYLAND
                          ATTN: MARY T CARR,
                          COMPTROLLER OF MD
                          RM 409, STATE OFFICE
                          BUILDING
                          301 W PRESTON ST
     000059-A             BALTIMORE, MD 21201 $               0.00 $               0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SAM, RIJU
                          248-23, 89th AVE.
     000066-B             BELLEROSE, NY 11426      $          0.00 $              0.00 $           0.00
                          STEVEN V SOPHER PT
                          283 LOCKHAVEN
                          STE 315
     000080               HOUSTON, TX 77073        $        258.00 $              0.00 $           0.00
                          HORSLEY, DENNIS
                          5020 76TH STREET
                          SARCRAMENTO, CA
     000082               95823                    $    500,000.00 $              0.00 $           0.00
                          PALM BEACH SPORTS
                          MEDICINE
                          4440 BEACON CIRCLE
                          WEST PALM BEACH, FL
     000083               33407               $             107.00 $              0.00 $           0.00
                          CLINTON, V. NANCY
                          1915 ALFA DRIVE
     000084-A             LANCASTER, PA 17601      $          0.00 $              0.00 $           0.00
                          ARBILL INDUSTRIES
                          INC
                          P O BOX 820542
                          PHILADELPHIA, PA
     000085               19182                    $        770.70 $              0.00 $           0.00
                          MD MEDICAL CLINICS
                          PO BOX 66012
     000086               AMAHEIM, CA 92816        $        161.86 $              0.00 $           0.00
                          MD MEDICAL CLINICS
                          PO BOX 66012
     000087               AMAHEIM, CA 92816        $        870.51 $              0.00 $           0.00
                          DAVID R CHASE PA
                          1700 E LAS OLAS BLVD
                          PH 2
                          FORT LAUDERDALE, FL
     000089               33301                $            467.50 $              0.00 $           0.00
                          TLC CABULANCE INC
                          PO BOX 110808
     000090               NAPLES, FL 34108         $        450.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PAY PLUS SOFTWARE
                          INC
                          751 AVIGNON DRIVE
                          SUITE D
     000093               RIDGELAND, MS 39157      $        510.00 $              0.00 $           0.00
                          STRATEGIC
                          ADVANCEMENT INC
                          242 OLD NEW
                          BRUNSWICK ROAD
                          SUITE 100
     000094               PISCATAWAY, NJ 08854 $            600.00 $              0.00 $           0.00
                          PAVILION PHARMACY
                          LANE
                          1325 SAN MARCO BLVD
                          STE 801
                          JACKSONVILLE, FL
     000095               32207               $           1,346.92 $              0.00 $           0.00
                          DONALD BARTLEY MD
                          1801 BARRS STREET
                          SUITE 610
                          JACKSONVILLE, FL
     000096               32204             $               915.00 $              0.00 $           0.00
                          VALLEY PAIN CARE
                          CENTERS LTD
                          PO BOX 1547
     000097               SEDALIA, MO 65302        $      1,081.89 $              0.00 $           0.00
                          ACCELERATED HAND
                          THERAPY AND REHAB
                          199 BALDWIN RD
                          SUITE 100
     000098               PARSIPPANY, NJ 07054 $            853.00 $              0.00 $           0.00
                          BRIONES, MARLENE
                          21 AMITY ST
     000099-A             ELIZABETH, NJ 07202      $          0.00 $              0.00 $           0.00
                          ULINE
                          2200 S LAKESIDE
                          DRIVE
                          CS 444346
     000100               WAUKEGAN, IL 60085       $        307.30 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          INFO QUEST INC
                          PO BOX 15521
                          SURFSIDE BEACH, SC
     000101               29587                    $     19,124.00 $              0.00 $           0.00
                          ALEX'S LIQUOR STORE
                          5939 E. SHEBY DR.
     000102-B             MEMPHIS, TN 38141   $              80.00 $              0.00 $           0.00
                          QUEST DISCOVERY
                          SERVICES
                          2025 GATEWAY PLACE
                          STE 330
     000103               SAN JOSE, CA 95110 $              209.42 $              0.00 $           0.00
                          ATLANTIC SERVICE
                          401 ROUTE 10
     000105-B             WHIPPANY, NJ 07054       $        435.66 $              0.00 $           0.00
                          THE NEWS AND
                          OBSERVER
                          PO BOX 2222
     000107               RALEIGH, NC 27602        $         86.75 $              0.00 $           0.00
                          UTAH STATE TAX
                          COMMISSION
                          210 NORTH 1950 WEST
                          SALT LAKE CITY, UT
     000109-B             84134                    $        320.00 $              0.00 $           0.00
                          MEDICAL EMERG
                          TREATMENT
                          441 RT130
     000114               HIGHTSTOWN, NJ 08520 $          1,074.00 $              0.00 $           0.00
                          METRO SOFTWARE
                          CONSULTANTS
                          6001 WEST I20
                          SUITE 215
     000117               ARLINGTON, TX 76017      $     10,700.00 $              0.00 $           0.00
                          DE LA CRUZ, ERIN
                          185 OLD TURNPIKE
                          ROAD
                          PORT MURRAY, NJ
     000119-A             07865                    $          0.00 $              0.00 $           0.00




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                          WARREN, KENNETH A
                          127 WEIDLER LANE
     000120               LITITZ, PA 17543         $        345.80 $              0.00 $           0.00
                          S B D INTRPRETING
                          SVCS INC
                          PO BOX 9033
     000121               LA JOLLA, CA 92038       $      1,894.45 $              0.00 $           0.00
                          SBD INTRPRETING
                          SVCS INC
                          PO BOX 9033
     000122               LA JOLLA, CA 92038       $      1,352.55 $              0.00 $           0.00
                          S B D INTRPRETING
                          SVCS INC
                          PO BOX 9033
     000123               LA JOLLA, CA 92038       $      1,245.60 $              0.00 $           0.00
                          S B D INTRPRETING
                          SVCS INC
                          PO BOX 9033
     000124               LA JOLLA, CA 92038       $        932.65 $              0.00 $           0.00
                          ELAINE L CHAO,
                          SECRETARY OF LABOR
                          US DEPT OF LABOR
                          OFFICE OF THE
                          SOLICITOR
                          61 FORSYTH ST, SW,
                          RM 7T10
     000128               ATLANTA, GA 30303  $            5,593.95 $              0.00 $           0.00
                          MERRILYN H GALANTE
                          3999 OLD TOWN AVE
                          D#1
     000129-A             SAN DIEGO, CA 92110 $               0.00 $              0.00 $           0.00
                          COFACE NA INC AS
                          AGENT FOR PFG
                          VENTURES/
                          PROFORMA AYR
                          GRAPHICS & PRINTING
                          ATTN: DENISE FIRELLI
                          PO BOX 2102
     000130               CRANBURY, NJ 08512   $          5,147.10 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          CHUBB GROUP
                          INSURANCE
                          C/O CISCO INC
                          1702 TOWNHURST
     000131               HOUSTON, TX 77043        $      5,193.78 $              0.00 $           0.00
                          PEGNATO & PEGNATO
                          BUILDING SYSTEMS
                          INC
                          ATTN: JEFFREY T
                          BOLSON
                          HAHN & BOLSON LLP
                          1000 WILSHIRE BLVD,
                          STE 1600
                          LOS ANGELES, CA
     000132-A             90017               $               0.00 $              0.00 $           0.00
                          S B D INTRPRETING
                          SVCS INC
                          PO BOX 9033
     000134               LA JOLLA, CA 92036       $      4,681.02 $              0.00 $           0.00
                          BRIONES, MARLENE
                          21 AMITY ST
     000135-A             ELIZABETH, NJ 07202      $          0.00 $              0.00 $           0.00
                          CENTRAL FLORIDA
                          HAND CENTER
                          200 EAST HIBISCUS
                          BLVD
     000138               MELBOURNE, FL 32901 $           1,490.00 $              0.00 $           0.00
                          WINTERS STAMP MFG
                          CO
                          PO BOX 003
     000141               ELIZABETH, NJ 07207      $         91.43 $              0.00 $           0.00
                          WINTERS STAMP MFG
                          CO
                          PO BOX 003
     000142               ELIZABETH, NJ 07207      $         56.46 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          FINGER LAKES FAM
                          CHIROPRACTIC
                          1625 RTE 332
                          FRMBRK OFF PRK
                          FARMINGTON, NY
     000144               14425                    $        284.79 $              0.00 $           0.00
                          CORONADO, ELSA P.
                          4114 CAMINO DEL
                          PLAZA #25
     000145-A             SAN YSIDRO, CA 92173 $              0.00 $              0.00 $           0.00
                          ARUBA INC
                          C/O JONATHAN J SEBEL
                          ESQ
                          1420 WALNUT ST, STE
                          1420
                          PHILADELPHIA, PA
     000149               19102                $            294.22 $              0.00 $           0.00
                          NORTHBAY
                          OCCUPATIONAL
                          HEALTH
                          PO BOX 39000
                          DEPT 33404
                          SAN FRANCISCO, CA
     000156-B             94139                    $          0.00 $              0.00 $           0.00
                          RUVALCABA, JOSE
                          1725 BON AIR
     000157-A             STOCKTON, CA 95210       $          0.00 $              0.00 $           0.00
                          RIVERA, LUIS R
                          740 SOUTH QUEEN
                          STREET
     000159               LANCASTER, PA 17603      $        760.00 $              0.00 $           0.00
                          RIVERA, LUIS R
                          740 SOUTH QUEEN
                          STREET
     000160               LANCASTER, PA 17603      $        760.00 $              0.00 $           0.00
                          CHAROWSKY,
                          RICHARD M
                          512 SOUTH MILL
                          STREET
     000166-B             SAINT CLAIR, PA 17970 $             0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          RIFE MARKET
                          RESEARCH
                          111 PARK CENTER
                          BOULEVARD
     000170               MIAMI, FL 33169          $      2,100.00 $              0.00 $           0.00
                          BRAY, CHARLES W.
                          R. 721 COURT ST.
     000173               SCRANTON, PA 18508       $        171.00 $              0.00 $           0.00
                          SMITH, LINDA M
                          1623 HERR STREET
     000175               HARRISBURG, PA 17103 $             22.35 $              0.00 $           0.00
                          STATE OF MISSOURI
                          DEPARTMENT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     000178-B             65105                    $          0.00 $              0.00 $           0.00
                          STATE OF MISSOURI
                          DEPARTMENT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     000180-B             65105                    $          0.00 $              0.00 $           0.00
                          STATE OF WISCONSIN
                          DEPT OF REVENUE
                          2135 RIMROCK RD
     000181-A             MADISON, WI 53713        $          0.00 $              0.00 $           0.00
                          STATE OF WISCONSIN
                          DEPT OF REVENUE
                          2135 RIMROCK RD
     000182-B             MADISON, WI 53713        $          0.00 $              0.00 $           0.00
                          STATE OF WISCONSIN
                          DEPT OF REVENUE
                          2135 RIMROCK RD
     000183-A             MADISON, WI 53713        $          0.00 $              0.00 $           0.00
                          SERRANO, CLARIBEL
                          3502 N PHILIP ST
                          PHILADELPHIA, PA
     000185-A             19140                    $         60.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CLEVENGER, DAVID
                          1856 W. STATION ST
     000190               KANKAKEE, IL 60901       $        424.19 $              0.00 $           0.00
                          PEREZ, EPIGMENIO
                          1496 MARGUERITE
                          AVENUE
     000196-A             CORNING, CA 96021        $          0.00 $              0.00 $           0.00
                          LOZANO, DAMARI
                          107 WEST KING STREET
     000197-A             LANCASTER, PA 17603 $               0.00 $              0.00 $           0.00
                          GONZALEZ, ALICIA R.
                          4370 51ST ST. #2
     000198               SAN DIEGO, CA 92115      $          0.00 $              0.00 $           0.00
                          MINUTEMAN PRESS
                          1577 RIDGE ROAD
                          WEST
     000199               ROCHESTER, NY 14615      $        295.98 $              0.00 $           0.00
                          MILLER, KENRICK
                          615 E. THIRD STREET
     000200               PLAINFIELD, NJ 07060     $        145.00 $              0.00 $           0.00
                          THE EMERALD
                          GARDEN
                          241 ESSEX STREET
     000201               MILLBURN, NJ 07041       $        450.47 $              0.00 $           0.00
                          VILLAPUDUA,
                          BERNARDO
                          6804 DANNY DR.
                          APT.110
     000205               STOCKTON, CA 95210       $    107,000.00 $              0.00 $           0.00
                          DIAZ, MARIA JOSE
                          297 LINCOLN AVENUE
                          APT. 3 B
     000207               ORANGE, NJ 07050         $        400.00 $              0.00 $           0.00
                          SANDERS, LAMONT
                          1310 E. 32ND STREET
     000208-A             SAVANNAH, GA 31404       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KELLOUGH, REGINALD
                          4389 39TH ST. #7
     000210-B             SAN DIEGO, CA 92105 $               0.00 $              0.00 $           0.00
                          NEAL, HARREL
                          22400 SOUR GRASS
                          ROAD
     000211               CORNING, CA 96021        $          0.00 $              0.00 $           0.00
                          COMPARAN, JOSE
                          EVERARDO
                          18136 COLIMA RD # 3
                          ROWLAND HEIGHTS,
     000212               CA 91748                 $          0.00 $              0.00 $           0.00
                          COMPARAN, JOSE
                          EVERARDO
                          18136 COLIMA RD # 3
                          ROWLAND HEIGHTS,
     000213               CA 91748                 $          0.00 $              0.00 $           0.00
                          GEIGER, LEO V
                          204 FAIRFAX DRIVE
     000214-A             LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          HAND SURGERY
                          REHABILATION
                          301 E HANOVER AVE
     000217               MORRISTOWN, NJ 07960 $            750.00 $              0.00 $           0.00
                          ALEXANDER, GABRIEL
                          3557 SHANNON DR
     000219-A             BALTIMORE, MD 21213 $               0.00 $              0.00 $           0.00
                          FRANCO, JOSEPH
                          573 CENTRAL AVENUE
                          APARTMENT 24
     000222               JERSEY CITY, NJ 07307 $       200,000.00 $              0.00 $           0.00
                          JESSICA M ZAYAS
                          126 MADISON AVE
                          PERTH AMBOY, NJ
     000223-A             08861                    $          0.00 $              0.00 $           0.00
                          MEJIA, IVONNE
                          23 CHESTER STREET
     000224               LANCASTER, PA 17602      $        850.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU,
                          BANKRUPTCY UNIT
                          ATTN ANNE CHAN
                          PO BOX 9564
     000226-A             BOSTON, MA 02114         $          0.00 $              0.00 $           0.00
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          ATTN: LITIGATION
                          BUREAU,
                          BANKRUPTCY UNIT
                          PO BOX 9564
     000227-B             BOSTON, MA 02114         $          0.00 $              0.00 $           0.00
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU,
                          BANKRUPTCY UNIT
                          ATTN ANNE CHAN
                          PO BOX 9564
     000228-A             BOSTON, MA 02114         $          0.00 $              0.00 $           0.00
                          GUTIERREZ, RAUL
                          5318 MAYWOOD AVE.
     000229               MAYWOOD, CA 90270        $     10,543.25 $              0.00 $           0.00
                          SKELTON, RICHARD
                          1936 SR 16 WEST
                          GREEN COVE SPRINGS,
     000230-A             FL 32043            $               0.00 $              0.00 $           0.00
                          SHUFF, KIMBERLY
                          606 DAUPHIN STREET
     000231               HARRISBURG, PA 17104 $            421.99 $              0.00 $           0.00
                          WILSON, ANTHONY E.
                          507 CHAPEL ST
                          GREEN COVE SPRINGS,
     000232               FL                  $           8,006.08 $              0.00 $           0.00
                          OJEDA, JUDITH
                          185 MC WHORTER
     000236               NEWARK, NJ 07105         $        131.22 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          BONHAM, BRIAN
                          2625 S WEST ST #72
     000237-A             WICHITA, KS 67217        $          0.00 $              0.00 $           0.00
                          KITTLES CLEANING CO
                          2912 NORMANDY
                          DRIVE
                          ELLICOTT CITY, MD
     000241               21043               $             545.00 $              0.00 $           0.00
                          RODRIGUEZ, HECTOR
                          159 N FULTON
     000242               BRADLEY, IL 60901        $        956.00 $              0.00 $           0.00
                          GEMSTONE LLC
                          1010 KENNEDY DR #405
     000244               KEY WEST, FL 33040   $          8,498.06 $              0.00 $           0.00
                          HALL, DAVID
                          4380 UPPERDONTON
                          ROAD
                          WEATHERFORD, TX
     000247               76085                    $          0.00 $              0.00 $           0.00
                          REYES, JOSE MIGUEL
                          637 PENN AVE
     000250               AURORA, IL 60505         $        800.00 $              0.00 $           0.00
                          REYES, MIGUEL
                          637 PENN AVE
     000252               AURORA, IL 60505         $          0.00 $              0.00 $           0.00
                          KADRIC, AVDO
                          6404 LOMAND AVENUE
                          NEW PORT RICHEY, FL
     000253               33653               $           3,300.00 $              0.00 $           0.00
                          LA VOZ LATINA
                          MENSUAL
                          PO BOX 219
     000256               SCRANTON, PA 18504       $      1,965.00 $              0.00 $           0.00
                          MARSHALL, JOHN J.
                          L43 LYRA STREET
                          ORANGE PARK, FL
     000258               32073                    $     11,988.49 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GLEN SUMMIT
                          SPRINGS WATER CO
                          INC
                          PO BOX 129
                          MOUNTAINTOP, PA
     000260               18707                    $         55.20 $              0.00 $           0.00
                          GLEN SUMMIT
                          SPRINGS WATER
                          COINC
                          PO BOX 129
                          MOUNTAINTOP, PA
     000261               18707                    $         50.70 $              0.00 $           0.00
                          ALCAUTER, CRISTINA
                          210 MILL STREAM DR.
                          BOLINGBROOK, IL
     000265               60440                    $        225.67 $              0.00 $           0.00
                          SANGHAVI, KRISHANG
                          76 JEFFERSON STREET
     000266-A             METUCHEN, NJ 08840  $               0.00 $              0.00 $           0.00
                          GONZALEZ, JORGE
                          11201 SW 55TH STREET
                          UNIT 66
     000267               MIRAMAR, FL 33025    $        200,000.00 $              0.00 $           0.00
                          QUARTZ HILL
                          INDUSTRIAL MED
                          42357 50T STREET
                          WEST 104
                          QUARTZ HILL, CA
     000268               93536                    $        233.00 $              0.00 $           0.00
                          QUARTZ HILL
                          INDUSTRIAL MED
                          42357 50T ST, WEST 104
                          QUARTZ HILL, CA
     000269               93536                  $          515.00 $              0.00 $           0.00
                          TRANSPORTATION, T &
                          M
                          820 WEST 115TH ST.
                          LOS ANGELES, CA
     000271-B             90044               $           3,850.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          THOMAS J SERGOTT
                          MD
                          11828 BERNARDO
                          PLAZA CT
     000273               SAN DIEGO, CA 92128      $      3,283.50 $              0.00 $           0.00
                          CARROLL, REBECCA B.
                          1100 MISTY PINES
                          CIRCLE, #202
     000274               NAPLES, FL 34105    $               0.00 $              0.00 $           0.00
                          BECHT, STARR L.
                          27978 CARL CIRCLE
                          BONITA SPRINGS, FL
     000275               34135                    $          0.00 $              0.00 $           0.00
                          DIAGNOSTIC IMAGING
                          SERVICES
                          PO BOX 4
     000276               STUART, FL 34995   $              124.00 $              0.00 $           0.00
                          ROGONZINSKI
                          ORTHOPEDIC CLINIC
                          PA
                          3716 UNIVERSITY
                          BLVD S
                          SUITE 3
                          JACKSONVILLE, FL
     000277               32216                    $      2,952.94 $              0.00 $           0.00
                          ADKISON TOWING
                          COMPANY,INC.
                          7405 PHILLIPS
                          HIGHWAY
                          JACKSONVILLE, FL
     000278               32256                    $     78,788.12 $              0.00 $           0.00
                          REBOUND REHAB
                          SERVICES INC
                          105 SOUTHPARK BLVD
                          B201
                          ST. AUGUSTINE, FL
     000279               32086              $            3,476.69 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          CAPITAL CLEANING
                          CONTRACTORS INC
                          CUST 59650
                          PO BOX 3063
                          HUNTINGTON
     000280-A             STATION, NY 11746        $     17,659.75 $              0.00 $           0.00
                          EAST COAST
                          ORTHOPAEDICS
                          STEVEN NAIDE MD
                          1201 EAST SAMPLE
                          ROA
                          POMPANO BEACH, FL
     000281               33064                    $      7,486.00 $              0.00 $           0.00
                          SOUTHSIDE MEDICAL
                          IMAGING
                          PO BOX 691907
     000282               CINCINNATI, OH 45269     $      2,790.00 $              0.00 $           0.00
                          SOUTHSIDE MEDICAL
                          IMAGING
                          PO BOX 691907
     000283               CINCINNATI, OH 45269     $        255.00 $              0.00 $           0.00
                          RHOADS, CHARLES
                          813 NORTH SHIPPEN
                          STREET
     000284               LANCASTER, PA 17602      $        162.35 $              0.00 $           0.00
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION ROOM N-203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     000285-A             46204                    $          0.00 $              0.00 $           0.00
                          WSA SECURITY INC
                          10311 S LA CIENGA
                          BLVD
                          LOS ANGELES, CA
     000286-B             90045                    $      3,500.01 $              0.00 $           0.00




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                          ANTONIO, JERRY
                          301 W JACKSON ST.
     000287               STOCKTON, CA 95206       $        500.00 $              0.00 $           0.00
                          TREJO, ODILON S.
                          1955 BELLS FERR ROAD
                          APT #4222
     000291               MARIETTA, GA 30066   $          1,070.90 $              0.00 $           0.00
                          DEL VILLAR, HILDA
                          4424 47ST #8
     000292               SAN DIEGO, CA 92115      $        246.16 $              0.00 $           0.00
                          TAPIA, HECTOR
                          275 CHESTNUT ST
                          APT 404
                          SPRINGFIELD, MA
     000293               01104                    $        300.00 $              0.00 $           0.00
                          CECILIA DE LA ROSA
                          2003 NEW YORK AVE
                          APT. 1B
     000296-A             UNION CITY, NJ 07087     $          0.00 $              0.00 $           0.00
                          JOHN C CRICK MD
                          2549 PARK STREET
                          JACKSONVILLE, FL
     000297-B             32204                    $      5,303.00 $              0.00 $           0.00
                          JOHN C CRICK MD
                          2549 PARK STREET
                          JACKSONVILLE, FL
     000298-A             32204                    $      1,300.00 $              0.00 $           0.00
                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON STE
                          2000W
                          OKLAHOMA CITY, OK
     000300-B             73102                    $         52.50 $              0.00 $           0.00




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                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON SUITE
                          2000W
                          OKLAHOMA CITY, OK
     000301-A             73152                $              0.00 $              0.00 $           0.00
                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON SUITE
                          2000W
                          OKLAHOMA CITY, OK
     000302-B             73102                $            500.00 $              0.00 $           0.00
                          DIAZ, YIREILY
                          61 HOWARD
                          PASSAIC PARK
     000306               PASSAIC, NJ 07055        $        270.00 $              0.00 $           0.00
                          ALDRED, JOHNNY
                          4891 HARPER
                          PATTERSO
     000313               THOMSON, GA 30824        $          0.00 $              0.00 $           0.00
                          PENA, JORGE
                          637 PENN
     000314               AURORA, IL 60505         $          0.00 $              0.00 $           0.00
                          NEXTEL OF NEW YORK
                          NEXTEL
                          COMMUNUCATIONS
                          INC.
                          ATTN: BANKRUPTCY
                          PO BOX 172408
     000319               DENVER, CO 80217   $           35,210.37 $              0.00 $           0.00
                          QUARTZ HILL
                          INDUSTRIAL MED
                          42357 50T STREET
                          WEST 104
                          QUARTZ HILL, CA
     000320               93536                    $      1,616.55 $              0.00 $           0.00




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                          QUARTZ HILL
                          INDUSTRIAL MED
                          42357 50T STREET
                          WEST 104
                          QUARTZ HILL, CA
     000321               93536                    $        200.00 $              0.00 $           0.00
                          QUARTZ HILL
                          INDUSTRIAL MED
                          42357 50T STREET
                          WEST 104
                          QUARTZ HILL, CA
     000322               93536                    $      2,424.70 $              0.00 $           0.00
                          BERMUDEZ, ANTONIO
                          1039 FENTON ST.
     000323               AURORA, IL 60505         $        220.21 $              0.00 $           0.00
                          FLAGLER COMMUNITY
                          PHARMACY
                          300 HEALTH PARK
                          BLVD S1002
                          ST. AUGUSTINE, FL
     000324               32086             $             1,877.08 $              0.00 $           0.00
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION
                          100 NORTH SENATE
                          AVE
                          ROOM N203
                          INDIANAPOLIS, IN
     000325-A             46204                    $          0.00 $              0.00 $           0.00
                          LOUISIANA DEPT OF
                          REVENUE
                          ATTN: DANICE SIMS
                          PO BOX 66658
                          BATON ROUGE, LA
     000327-B             70896                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          LOUISIANA DEPT OF
                          REVENUE
                          ATTN: DANICE SIMS
                          PO BOX 66658
                          BATON ROUGE, LA
     000328-A             70896                    $         99.50 $              0.00 $           0.00
                          STATE OF LOUISIANA
                          DEPARTMENT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     000329-B             70896                    $        364.86 $              0.00 $           0.00
                          STATE OF LOUISIANA
                          DEPARTMENT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     000330-A             70896                    $         70.22 $              0.00 $           0.00
                          STATE OF LOUISIANA
                          DEPARTMENT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     000331-B             70896                    $         60.00 $              0.00 $           0.00
                          STATE OF OREGON
                          DEPARTMENT OF
                          REVENUE
                          REVENUE BUILDING
                          955 CENTER STREET NE
     000333-B             SALEM, OR 97301      $              0.00 $              0.00 $           0.00
                          PEREZ, MARIA
                          443 S. 4TH
     000337-A             KANKAKEE, IL 60901       $          0.00 $              0.00 $           0.00
                          NASSAU COUNTY
                          BOCC
                          PO BOX 4000AB
     000340               FERN BEACH, FL 32035 $            564.50 $              0.00 $           0.00
                          HURST, SANDRA M.
                          POST OFFICE BOX 317
     000342               EMLYN, KY 40730          $        523.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MILLS, AUDLEY D
                          14604 KINDERHOOK
                          TERRACE
                          BURTONSVILLE, MD
     000343-A             20866                    $        403.53 $              0.00 $           0.00
                          MATTHEWS, RACHEL
                          18 MASSA LANE
                          APARTMENT C7
     000346-B             EDGEWATER, NJ 07020      $      2,428.80 $              0.00 $           0.00
                          JOB SOURCE
                          400 CENTRAL AVENUE
                          SUITE 308
     000348               NORTHFIELD, IL 60093 $          3,196.85 $              0.00 $           0.00
                          CRUZ, SERGIO
                          3846 VAN DYKE AVE.
                          #1
     000349               SAN DIEGO, CA 92105      $     70,000.00 $              0.00 $           0.00
                          NORTHERN
                          REHABILITATION
                          PO BOX 423
                          3266 RESOURCE
     000352               DEKALB, IL 60115         $      3,821.00 $              0.00 $           0.00
                          MENDOZA, GLADYS
                          1280 N CITRUS
                          APT 66
     000353               VISTA, CA 92084          $        220.00 $              0.00 $           0.00
                          PARKER'S TREE
                          SERVICE
                          4780 11TH AVENUE SW
     000359               NAPLES, FL 34116    $             232.00 $              0.00 $           0.00
                          JANET L ZEFF DC
                          526 SOQUEL AVE
                          STE A
     000363               SANTA CRUZ, CA 95062 $          1,695.77 $              0.00 $           0.00
                          DOMINGUEZ,
                          CAROLINA
                          135 CHRYSTAL W
     000364               DOVER, NJ 07801          $    100,000.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WILLIAM HONEYCUTT
                          33 CYPRESS LAKE MHP
     000371               STATESBORO, GA 30458 $         15,000.00 $              0.00 $           0.00
                          HURST, SANDRA M
                          POST OFFICE BOX 317
     000372               EMLYN, KY 40730          $        657.25 $              0.00 $           0.00
                          FERREIRA, SILVIA
                          233 FAIRVIEW LANE
                          SCHERERVILLE, IN
     000375-B             46375                    $          0.00 $              0.00 $           0.00
                          JERONIMO, GELVYS
                          225 E CLAY STREET
     000376               LANCASTER, PA 17602      $        528.00 $              0.00 $           0.00
                          RODRIGUEZ, AMARIS I
                          35 PARK VIEW DRIVE
                          WILLOW STREET, PA
     000377-A             17584               $               0.00 $              0.00 $           0.00
                          MARINA MC BREARTY
                          3448 SACRAMENTO ST
                          SAN FRANCISCO, CA
     000380               94118              $            4,096.80 $              0.00 $           0.00
                          MONICA H
                          LAZORCHAK
                          270 MCFARLANE RD,
                          APT 159
     000382-B             COLONIA, NJ 07067        $        736.39 $              0.00 $           0.00
                          SONIA LOPEZ SIMPSON
                          707 HORY ST
     000387-B             CRANFORD, NJ 07016  $             363.00 $              0.00 $           0.00
                          VANESSA BENECIUK
                          1511 WINANS AVE
     000390-B             LINDEN, NJ 07036         $          0.00 $              0.00 $           0.00
                          PHILIP LEMBO
                          8165 E HAYDEN CT
                          ANAHEIM HILLS, CA
     000393-B             92808                    $     54,826.93 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JENNIFER DENMEAD
                          12753 INDIAN TRAIL
                          ROAD
     000394-B             POWAY, CA 92064          $     82,218.23 $              0.00 $           0.00
                          JEFFREY WINDERS
                          370 W 33RD AVE
     000395-B             MARION, IA 52302         $     14,969.46 $              0.00 $           0.00
                          MUNIR A RIZWANI
                          2200 N CENTRAL RD
                          APT 15N
     000396-B             FORT LEE, NJ 07024       $          0.00 $              0.00 $           0.00
                          DEPT OF TREASURY-
                          IRS
                          PO BOX 9112, JFK BLDG
                          STOP 20800
     000415-B             BOSTON, MA 02203      $             0.00 $              0.00 $           0.00
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          BANKRUPTCY
                          DIVISION
                          DEPT 280946
     000416-A             HAMSBURG, PA 17128       $    101,650.04 $              0.00 $           0.00
                          ANNE RUSH
                          115 GALES DR
                          APT D4
                          NEW PROVIDENCE, NJ
     000418-B             07974                    $      2,652.00 $              0.00 $           0.00
                          PAUL MARION
                          2618 LLOYD LANE
     000422-B             NORRISTOWN, PA 19403 $          3,603.00 $              0.00 $           0.00
                          HERNANDO SOTO
                          54 DEHART
     000423-B             ELIZABETH, NJ 07202      $          0.00 $              0.00 $           0.00
                          MARIBEL FELICIANO
                          PO BOX 4056
     000425-A             SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                  of Claim            to Date          Payment
                          MARGARET J.
                          HANCOCK
                          1052 CHERBOURG
                          AVENUE, E.
                          JACKSONVILLE, FL
     000429-B             32205                    $      1,790.86 $               0.00 $           0.00
                          JOHN K SHERWOOD
                          LOWENSTEIN
                          SANDLER
                          65 LIVINGSTON AVE
     000437-B             ROSELAND, NJ 07068       $          0.00 $               0.00 $           0.00
                          GLADYS GALARZA
                          1316 N RANDOLPH ST
                          PHILADELPHIA, PA
     000439-B             19122                    $        345.00 $               0.00 $           0.00
                          CARRIE A PORVAZNIK
                          103 CROWN AVE
     000444-B             SCRANTON, PA 18505 $            1,443.00 $               0.00 $           0.00
                          ARMANDO RAMIREZ
                          PO BOX 5161
     000448               SANTA ANA, CA 92704      $        840.00 $               0.00 $           0.00
                          SERGIO OREJEL
                          9222 DOROTHY AVE
     000458-B             SOUTH GATE, CA 90280 $              5.00 $               0.00 $           0.00
                          JORGE MAGANA
                          1718 E FLORA ST #B
     000461-B             ONTARIO, CA 91764        $          5.00 $               0.00 $           0.00
                          ROBERT SEAMAN
                          PO BOX 2107
                          POCONO SUMMIT, PA
     000478-B             18346                    $        105.00 $               0.00 $           0.00
                          STATE OF NEW JERSEY
                          DIV OF EMPLOYER
                          ACCOUNTS
                          P O BOX 379
     000509-C             TRENTON, NJ 08625   $        1,377,952.58 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GEOFFREY M STILES
                          MD
                          8010 FROST ST
                          #604
     000512-B             SAN DIEGO, CA 92123      $      1,476.00 $              0.00 $           0.00
                          JAY J BROWN
                          528 COOK AVE
     000522-B             MIDDLESEX, NJ 08846      $          0.00 $              0.00 $           0.00
                          DEANNA K RENNIGER
                          246 E NORTH ST
     000532-B             BETHLEHEM, PA 18018      $          0.00 $              0.00 $           0.00
                          HEUBERT RIVERA
                          6 AMFEN CT
     000535-B             BAY SHORE, NY 11706      $          0.00 $              0.00 $           0.00
                          DIANA ROBY
                          1110 COLUMBUS AVE
     000539-B             WESTFIELD, NJ 07090      $          0.00 $              0.00 $           0.00
                          ANA TORRADO
                          NGUYEN
                          33 MILTON RD
     000542-B             SPARTA, NJ 07871         $          0.00 $              0.00 $           0.00
                          ROCIO SCHULT
                          10651 OAKBEND
     000543-B             SAN DIEGO, CA 92131      $          0.00 $              0.00 $           0.00
                          JAMIE CERVANTES
                          6323 CLYDE ST
     000548-B             SAN DIEGO, CA 92139      $          0.00 $              0.00 $           0.00
                          LAWRENCE J MACARO
                          35 ACKERMAN AVE
     000552-B             MILLTOWN, NJ 08850 $           12,551.48 $              0.00 $           0.00
                          MV TRANSPORTATION
                          INC
                          JOHN BIARD &
                          ASSOCIATES
                          ATTN: MARK GINALSKI
                          360 CAMPUS LN, STE
                          201
     000555               FAIRFIELD, CA 94534 $         900,000.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          PO BOX 5300
     000557-B             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          DEPT OF REVENUE,
                          STATE OF OREGON
                          ATTN: GLORIA
                          CARTER,
                          BANKRUPTCY TECH
                          REVENUE BLDG, 955
                          CENTER ST NE
     000558-B             SALEM, OR 87301          $         14.19 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000563-A             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          SHANA K THOM
                          11715 GOSHEN AVE
                          LOS ANGELES, CA
     000564-B             90094                    $          0.00 $              0.00 $           0.00
                          DERYA CHURNEY
                          20 Goodwin Drive
                          NORTH BRUNSWICK,
     000566-B             NJ 08902                 $          0.00 $              0.00 $           0.00
                          PATEL, SANDEEP
                          789 WEST SIDE AVE
     000567-B             JERSEY CITY, NJ 07306    $        800.00 $              0.00 $           0.00
                          GLADYS PEREZ
                          32 PARK PLACE
                          NORTH PLAINFIELD, NJ
     000568-B             07060                $              0.00 $              0.00 $           0.00
                          KRIS KAMATH
                          1188 RAHWAY AVE
     000569-B             AVENEL, NJ 07001         $        920.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          VIRGINIA GONZALEZ
                          20 BETHANY ST
                          NEW BRUNSWICK, NJ
     000571-A             08901                    $          0.00 $              0.00 $           0.00
                          CAROLINA RAMIREZ
                          267 HANDY ST
                          NEW BRUNSWICK, NJ
     000572-B             08901                    $          0.00 $              0.00 $           0.00
                          OHIO DEPT OF
                          TAXATION
                          C/O OHIO ATTORNEY
                          GENERAL
                          COLLECTION
                          ENFORCEMENT
                          150 E GAY ST 21ST FL
     000574-B             COLUMBUS, OH 43215       $         77.90 $              0.00 $           0.00
                          TORRES, ALICIA
                          107 PAULISON AVENUE
     000579-B             PASSAIC, NJ 07055   $               0.00 $              0.00 $           0.00
                          CARTER, TONY
                          914 ARMSTRONG
                          BLVD. NORTH
                          APT 2
     000580-A             ST JAMES, MN 56081       $          0.00 $              0.00 $           0.00
                          AVILA, JOSE A
                          716 NORTH 12TH
                          STREET
     000584               READING, PA 19604        $        356.21 $              0.00 $           0.00
                          CORTEZ, JESUS
                          145 BERGOLD ST
     000586-A             BRENTWOOD, NY 11717 $               0.00 $              0.00 $           0.00
                          HERNANDEZ, ABIUD
                          3134 W. 145TH STREET
                          APARTMENT #6
     000588               GARDENA, CA 90249        $        427.73 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HERNANDEZ,
                          BERENICE
                          3134 W. 145TH STREET
                          APARTMENT #6
     000589               GARDENA, CA 90249        $        135.00 $              0.00 $           0.00
                          RAMOS, MARIA DE SAL
                          4065 W. 104TH ST.
     000590               INGLEWOOD, CA 90304 $         100,000.00 $              0.00 $           0.00
                          VELASQUEZ, EUCARIO
                          4200 SUNNYVIEW RD
                          NE APT 224
     000595               SALEM, OR 97305    $                0.00 $              0.00 $           0.00
                          TORRES-MARTINEZ,
                          LUIS
                          25 GARDEN COURT APT
                          4
     000599-B             LANCASTER, PA 17602 $               0.00 $              0.00 $           0.00
                          BONE, STEPHEN A.
                          1729 SW 45TH STREET
     000603-B             CAPE CORAL, FL 33914 $              0.00 $              0.00 $           0.00
                          ADVANCED PT REHAB
                          INC
                          2337 SOUTH US HWY 1
     000604               FORT PIERCE, FL 34982 $         8,835.00 $              0.00 $           0.00
                          AGRAWAL, JYOTI
                          KUMAR
                          63 BULGER AVENUE
                          NEW MILFORD, NJ
     000605-A             07646                    $          0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION, ROOM N-203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     000607-B             46204                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ARTEAGA, LUIS
                          3767 1/2 MAPLE AVE.
                          LOS ANGELES, CA
     000609               90011                    $        468.04 $              0.00 $           0.00
                          HERIBERTO AVILA
                          C/O DON HARVEY ESQ
                          253 N. ORLANDO AVE.
                          STE 204
     000612               MAITLAND, FL 32751  $          15,655.13 $              0.00 $           0.00
                          BLANDINO, MARCOS
                          PO BOX 1260
     000613-A             PATERSON, NJ 07509       $        774.50 $              0.00 $           0.00
                          IDENTIFICATION DATA
                          IMAGING LLC
                          26 HARBOR PARK
                          DRIVE
                          PORT WASHINGTON,
     000614               NY 11050            $             784.50 $              0.00 $           0.00
                          THE KANKAKEE DAILY
                          JOURNAL
                          ATTN: CREDITORS
                          COLLECTION BUREAU
                          P O BOX 63
     000615               KANKAKEE, IL 60901 $              452.92 $              0.00 $           0.00
                          WASTE
                          MANAGEMENT- RMC
                          2421 W PEORIA AVE
                          STE 110
     000616               PHOENIX, AZ 85029        $        138.73 $              0.00 $           0.00
                          CONSUMERS ENERGY
                          COMPANY
                          ATTN: MICHAEL G
                          WILSON (P33263)
                          ONE ENERGY PLAZA
     000617               JACKSON, MI 49201        $        355.52 $              0.00 $           0.00
                          OAKS, ANDREW
                          170 JEFFERSON AVE.
                          EAST
                          ORANGE PARK, FL
     000618               32065                    $     35,000.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ARVAY, MERRIT
                          65-12 FLEET ST
                          FOREST HILLS, NY
     000619-A             11375                    $      1,000.00 $              0.00 $           0.00
                          RIVERA, WILFREDO
                          531 DAUPHIN STREET
     000620-A             LANCASTER, PA 17602      $          0.00 $              0.00 $           0.00
                          MONTES, LETICIA
                          8006 CROCKET BLVD
                          LOS ANGELES, CA
     000621               90001                    $        239.92 $              0.00 $           0.00
                          SANTOS, ANTONIO
                          14 BRISTOL COOURT
     000622-A             LIVINGSTON, NJ 07039     $          0.00 $              0.00 $           0.00
                          NEIRA, LUZ ESTELLA
                          36 ELLIOT STREET
     000624               DOVER, NJ 07801          $        350.00 $              0.00 $           0.00
                          POLANCO-VALDEZ,
                          ELSA
                          1700 NEW YORK
                          AVENUE
                          APARTMENT 1
     000626-A             UNION CITY, NJ 07087     $        164.80 $              0.00 $           0.00
                          DIAZ, JOSE A
                          1025 SOUTH
                          RESERVOIR ST
     000629               POMONA, CA 91766         $          0.00 $              0.00 $           0.00
                          SCHULTZ FLORAL
                          SHOP
                          2204 N CALUMET
     000630               VALPARAISO, IN 46383 $            100.00 $              0.00 $           0.00
                          LWB ENT INC / DBA
                          POSTAL EMPORIUM
                          209 S BROADWAY
     000631               BALTIMORE, MD 21231 $             337.56 $              0.00 $           0.00
                          MORGAN, DENNIS A
                          3A FOAL COURT
     000632-A             LANCASTER, PA 17602      $          0.00 $              0.00 $           0.00




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                          HOWARD SCHEINER PA
                          PMB 109
                          6671 W INDIANTOWN
                          RD
     000633               JUPITER, FL 33458  $            1,625.00 $              0.00 $           0.00
                          CW SHULTZ SON INC
                          PO BOX 231
                          WILKES-BARRE, PA
     000634               18703                    $        357.71 $              0.00 $           0.00
                          SAN JOSE
                          CHIROPRACTIC
                          3880 S BASCOM
                          AVENUE
     000635               SAN JOSE, CA 95124       $      5,955.14 $              0.00 $           0.00
                          GARCIA, TELMO
                          12107 EMBER LAKE RD
     000643               HOUSTON, TX 77066   $         570,000.00 $              0.00 $           0.00
                          DSATHIS WEEK
                          600 MILLER STREET
     000652               HICKSVILLE, NY 11801     $        387.60 $              0.00 $           0.00
                          BELLSOUTH
                          TELECOMMUNICATION
                          S INC
                          REGIONAL
                          BANKRUPTCY CENTER
                          29EF1-301 W BAY ST
                          JACKSONVILLE, FL
     000655               32202              $            7,641.03 $              0.00 $           0.00
                          SANTOS, HENRIGUE
                          1401 TOWNHOUSE
                          BLVD
     000657               SCRANTON, PA 18508       $        871.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          CA UNINSURED
                          EMPLOYERS BENEFITS
                          TR FUND
                          OFFICE OF THE
                          DIRECTOR-LEGAL
                          UNIT
                          ATTN: BANKRUPTCY
                          UNIT
                          320 WEST FOURTH ST
                          STE 600
                          LOS ANGELES, CA
     000658               90013              $                0.00 $              0.00 $           0.00
                          RAMOS, MIRIAM
                          519 E. FAIRFIELD CT.
     000659               ONTARIO, CA 91761        $        246.15 $              0.00 $           0.00
                          QUINTANA, MARICRUZ
                          813 EAST ELM STREET
     000660-A             COMPTON, CA 90221   $               0.00 $              0.00 $           0.00
                          NOVATIME
                          TECHNOLOGY INC
                          1255 CORPORATE
                          CENTER DRIVE
                          307
                          MONTEREY PARK, CA
     000664               91754                    $     30,346.20 $              0.00 $           0.00
                          THE COMMERCIAL
                          APPEAL
                          PO BOX 1729
                          ATTN: DEBBIE WRIGHT
                          495 UNION
     000665               MEMPHIS, TN 38101   $             812.08 $              0.00 $           0.00
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN: CAROL
                          LUSHELL
                          BANKRUPTCY
                          SECTION
                          100 N SENATE AVE RM
                          N203
                          INDIANAPOLIS, IN
     000666-A             46204               $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          INDIANA DEPT OF
                          STATE REVENUE
                          ATTN: CAROL
                          LUSHELL
                          BANKRUPTCY
                          SECTION
                          100 N SENATE AVE RM
                          N203
                          INDIANAPOLIS, IN
     000667-B             46204               $               0.00 $              0.00 $           0.00
                          TAX ADMINISTRATOR -
                          DIV OF INCOME TAX
                          50 W GAY ST 4TH FL
     000668-A             COLUMBUS, OH 43215 $              546.63 $              0.00 $           0.00
                          RODRIGUEZ, CLAUDIA
                          24851 WALNUT STREET
                          #106
     000671               NEWHALL, CA 91321   $           1,086.00 $              0.00 $           0.00
                          PATINO, EFREN
                          4 WESTERN AVE.
                          APT. 5
     000673-C             HIGHTSTOWN, NJ 08520 $              0.00 $              0.00 $           0.00
                          ALONZO, ERNESTO
                          4270 51ST ST.
     000675               SAN DIEGO, CA 92115      $         89.24 $              0.00 $           0.00
                          ALONZO, ERNESTO
                          4270 51ST ST.
     000676               SAN DIEGO, CA 92115      $         89.24 $              0.00 $           0.00
                          IRBY, CLEOPHAS
                          3566 ROYAL ARMS
                          DRIVE
     000686-C             MEMPHIS, TN 38115        $          0.00 $              0.00 $           0.00
                          IRBY, CLEOPHAS
                          5485 APPLE BLOSSM
     000687               MEMPHIS, TN 38115        $      2,300.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          AMADOU,
                          MASSAOUDU
                          206 SOULLI 13TH ST
                          1ST FL REAR SIDE
     000691               HARRISBURG, PA 17104 $              0.00 $              0.00 $           0.00
                          AHERN, DANIEL
                          425 AVENUE A
     000693-A             BAYONNE, NJ 07002        $          0.00 $              0.00 $           0.00
                          BALDEZ, ISABELA
                          414 N COLLINGTON ST
     000695               BALTIMORE, MD 21231 $              70.00 $              0.00 $           0.00
                          BALDEZ, ISABELA
                          414 N COLLINGTON ST
     000696               BALTIMORE, MD 21231 $              70.00 $              0.00 $           0.00
                          TAX COMMISSIONER -
                          STATE OF OHIO
                          30 E BROAD ST
     000699-A             COLUMBUS, OH 43215       $      8,000.00 $              0.00 $           0.00
                          ARRIAGA, FERNANDO
                          32 LETTUCE STREET
     000700               HEBER, CA 92249          $        282.59 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000704-C             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          GLASS, JOHN
                          411 LIBERTY STREET
     000707               AURORA, IL 60505         $      1,162.00 $              0.00 $           0.00
                          PUBLIC SERVICE CO OF
                          COLORADO
                          ATTN DENNIS A
                          SCHIPPER
                          550 15 ST
     000708               DENVER, CO 80202     $            271.34 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          RAMOS MARIA DE SAL
                          4065 W 104TH ST
     000709               INGLEWOOD, CA 90304 $         100,000.00 $              0.00 $           0.00
                          GARCIA, JESUS-
                          MARTIN
                          11569 CRANSTON AVE
                          LAKE VIEW TERR, CA
     000711               91342                    $    250,000.00 $              0.00 $           0.00
                          STAFFCO INC
                          ATTN JACK CURTIS
                          ESQ
                          1370 ONTARIO ST STE
                          520
     000716               CLEVELAND, OH 44113 $          37,462.44 $              0.00 $           0.00
                          BRUCE TANSEY
                          BRUCE TANSEY
                          CUSTOM CARPENTRY
                          1635 AVION PLACE
     000717-A             NAPLES, FL 34104         $          0.00 $              0.00 $           0.00
                          SOUTHERN
                          CALIFORNIA GAS CO
                          ATTN: CREDIT &
                          REVENUE
                          COLLECTIONS
                          THE GAS CO
                          P O BOX 30337
                          LOS ANAGELES, CA
     000718               90030                    $        171.50 $              0.00 $           0.00
                          DEPT. OF LABOR &
                          INDUSTRIAL
                          RELATIONS
                          PO BOX 700
     000719-A             HONOLULU, HI 96809       $          0.00 $              0.00 $           0.00
                          GINZBURG, DASHA
                          4525 HENRY HUDSON
                          PKWY
                          APT 612
     000722-B             RIVERDALE, NY 10471      $          0.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          CT CORPORATION
                          SYSTEM
                          PO BOX 4349
                          CAROL STREAM, IL
     000725               60197                    $      9,361.25 $              0.00 $           0.00
                          LABWORKS
                          OCCUPATIONAL
                          11105 MAIN STREET NE
     000727               AURORA, CO 97002     $            357.00 $              0.00 $           0.00
                          HUTCHINSON, ALBERT
                          3944 UNIVERSITY ST.
     000728-A             MEMPHIS, TN 38127   $             231.00 $              0.00 $           0.00
                          PURISCH JONAS
                          8415 BELLONA LN APT
                          913
     000729-B             BALTIMORE, MD 21204 $               0.00 $              0.00 $           0.00
                          CORTEZ, BEATRIZ
                          50 VAN WINKLE
                          AVENUE
                          APARTMENT #3
     000730               PASSAIC, NJ 07055        $          0.00 $              0.00 $           0.00
                          BONATO, LUZIA
                          1056 PEAR ST #6-A
     000733               SCRANTON, PA 18505       $        332.12 $              0.00 $           0.00
                          ABULL HAY MARIA
                          504 N QUEEN ST
                          APT 2
     000734-A             LANCASTER, PA 17603      $        612.26 $              0.00 $           0.00
                          WORKERS
                          COMPENSATION
                          COMMISSION
                          ATTN: MARYE L
                          WRIGHT
                          WCC LEGAL SERVICES
                          DIV
                          P O BOX 2027
                          CHARLESTON, WV
     000738-B             25327              $                0.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          CLARK, JOHN M
                          6840 BEAR AVE APT
     000740               BELL, CA 90201           $     85,000.00 $              0.00 $           0.00
                          JOHNS, JONATHAN
                          4657 FILLMORE
                          AVENUE
     000742-A             MILVILLE, NJ 08332       $          0.00 $              0.00 $           0.00
                          SBC
                          COMMUNICATIONS
                          INC
                          SBC MIDWEST
                          P O BOX 981268
                          WEST SACRAMENTO,
     000743               CA 95798                 $      2,705.44 $              0.00 $           0.00
                          GOMEZ, MARIA DEL C.
                          2705 FIGUEROA AVE.
     000746               SAN DIEGO, CA 92119 $             606.61 $              0.00 $           0.00
                          VARGAS, URSULA
                          150 WEST 176TH ST,
                          APT 1
     000755-A             BRONX, NY 10453          $        725.12 $              0.00 $           0.00
                          GENERAL ELECTRIC
                          CAPITAL CORP
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     000756               52404                    $          0.00 $              0.00 $           0.00
                          WILLIAMS, DAMEON
                          2358 LAROSE
     000757-A             MEMPHIS, TN 38114        $          0.00 $              0.00 $           0.00
                          MOTES CARR PA
                          9951 ATLANTIC BLVD
                          SUITE 414
                          JACKSONVILLE, FL
     000759               32225                    $     22,191.62 $              0.00 $           0.00




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                          GENERAL ELECTRIC
                          CAPITAL CORP
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     000760               52404                    $     13,035.93 $              0.00 $           0.00
                          REVELES, IGNACIO
                          202 WOODLAWN
     000765               AURORA, IL 60505         $        173.87 $              0.00 $           0.00
                          LUSK, GLEN T.
                          4464 CASTLE HEIGHTS
     000766-A             MEMPHIS, TN 38141        $      2,600.00 $              0.00 $           0.00
                          LOPEZ, ENRIQUE
                          100 E 67TH WAY
     000768               LONG BEACH, CA 90805 $          1,000.00 $              0.00 $           0.00
                          ZAYAS, ZULEIMA
                          76 KENNEDY BLVD #76
     000769-A             SCRANTON, PA 18504  $               0.00 $              0.00 $           0.00
                          ORR, PAUL
                          302 10TH AVE
     000770-C             SCRANTON, PA 18504       $          0.00 $              0.00 $           0.00
                          PACHECO-SANCHEZ,
                          MARCUS
                          1137 CAPOSE AVE
     000773-A             SCRANTON, PA 18509       $          0.00 $              0.00 $           0.00
                          AMADOR, EMMA
                          328 DEL RIO WAY
     000776-C             VISTA, CA 92083          $          0.00 $              0.00 $           0.00
                          BRACY, TIMONTHY
                          637 MAGONILA AVE
     000778-A             ELIZABETH, NJ 07206      $        568.00 $              0.00 $           0.00
                          EGGLESTON, DERRICK
                          2351 DOUGLAS
                          AVENUE
     000779               MEMPHIS, TN 38114  $              250.00 $              0.00 $           0.00




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                          GATHRIGHT,
                          JEREMAINE
                          4530 ERNIE DRIVE
     000785-B             MEMPHIS, TN 38116        $        500.00 $              0.00 $           0.00
                          MAZZARELLA, LINDA
                          649 BOW LINE DRIVE
     000786-A             NAPLES, FL 34103         $          0.00 $              0.00 $           0.00
                          TIRADO, WILLIAM
                          CARR 341
                          BUZON 6072
                          BARRIO MANI
     000787-B             MAYAGUEZ, PR 00680       $      1,500.00 $              0.00 $           0.00
                          ABULL HAY, MARIA
                          504 NORTH QUEEN
                          STREET
                          APARTMENT 1
     000789-A             LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          RAMIREZ, JULIO
                          13177 1/2 BROWONT
     000796-C             SYLMAR, CA 91342         $          0.00 $              0.00 $           0.00
                          BOUSY, MARIE A.
                          6550 N. WOODSTOCK
                          ST.
                          PHILADELPHIA, PA
     000799               19138                    $        234.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN STEVEN B
                          FLANCHER
                          PO BOX 30754
     000881               LANSING, MI 48909        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN STEVEN B
                          FLANCHER
                          PO BOX 30754
     000885               LANSING, MI 48909        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIV OF TAXATION
                          P O BOX 245
     000887               TRENTON, NJ 08695   $               0.00 $              0.00 $           0.00
                          EMPLOYMENT
                          DEVELOPMENT DEPT
                          ATTN: BANKRUPTCY
                          GROUP MIC 92E
                          P O BOX 826880
                          SACRAMENTO, CA
     000890-B             94280                    $          0.00 $              0.00 $           0.00
                          DEPT OF THE
                          TREASURY IRS
                          PO BOX 9112
                          JFK BLDG STOP 20800
     000891-A             BOSTON, MA 02203         $          0.00 $              0.00 $           0.00
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PA BANKRUPTCY DIV
                          DEPT 280946
     000892-B             HARRISBURG, PA 17128 $              8.00 $              0.00 $           0.00
                          TAYLORED SERVICES
                          INC
                          ATTN NISHA T
                          CORDERO ESQ
                          FERRO LABELLA &
                          ZUCKER LLC
                          27 WARREN ST
     000893               HACKENSACK, NJ 07601 $              0.00 $              0.00 $           0.00
                          APOLLO ENTERPRISES
                          PO BOX 4739
     000894               SAN DUMAS, CA 91773 $             377.65 $              0.00 $           0.00
                          TENNESSEE DEPT OF
                          REVENUE
                          ATTN ATTY GENERAL
                          PO BOX 20207
     000895-A             NASHVILLE, TN 37202      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SELIS & ASSOCIATES
                          PA
                          475 SOUTH NOVA RD
                          ORMOND BEACH, FL
     000897               32174                    $    226,151.92 $              0.00 $           0.00
                          APOLLO ENTERPRISES
                          PO BOX 4739
     000898               SAN DUMAS, CA 91773 $           1,265.02 $              0.00 $           0.00
                          APOLLO ENTERPRISES
                          PO BOX 4739
     000900               SAN DUMAS, CA 91773 $           1,163.81 $              0.00 $           0.00
                          APOLLO ENTERPRISES
                          PO BOX 4739
     000901               SAN DUMAS, CA 91773 $              68.29 $              0.00 $           0.00
                          APOLLO ENTERPRISES
                          PO BOX 4739
     000902               SAN DUMAS, CA 91773 $             723.26 $              0.00 $           0.00
                          APOLLO ENTERPRISES
                          PO BOX 4739
     000903               SAN DUMAS, CA 91773 $              18.99 $              0.00 $           0.00
                          APOLLO ENTERPRISES
                          PO BOX 4739
     000904               SAN DUMAS, CA 91773 $              36.77 $              0.00 $           0.00
                          SELIS & ASSOCIATES
                          PA
                          475 SOUTH NOVA RD
                          ORMOND BEACH, FL
     000905               32174                    $    226,151.92 $              0.00 $           0.00
                          DEPT OF THE
                          TREASURY IRS
                          PO BOX 9112 JFK BLDG
                          STOP 20800
     000907-B             BOSTON, MA 02203     $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PA BANKRUPTCY DIV
                          DEPT 280946
     000908-A             HARRISBURG, PA 17128 $          9,022.52 $              0.00 $           0.00
                          DEACY & DEACY LLP
                          ATTN DANIEL E
                          HAMANN
                          920 MAIN ST STE 1900
                          KANSAS CITY, MO
     000909               64105                    $      4,179.67 $              0.00 $           0.00
                          CONTINENTAL
                          CURRENCY SERVICES
                          D/B/A MOBILE MONEY
                          & PRONTO CASH
                          EXPRESS
                          ATTN NICOLE
                          MONGEON ESQ
                          1108 E 17TH ST
     000910               SANTA ANA, CA 92701 $             229.92 $              0.00 $           0.00
                          TAYLORED SERVICES
                          INC
                          ATTN NISHA T
                          CORDERO ESQ
                          FERRO LABELLA &
                          ZUCKER LLC
                          27 WARREN ST
     000911               HACKENSACK, NJ 07601 $              0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          REVENUE
                          ATTN BANKRUPTCY
                          SECTION ROOM N203
                          100 N SENATE AVE
                          INDIANAPOLIS, IN
     000912-A             46204                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN BANKRUPTCY
                          SECTION
                          PO BOX 5300
     000914-B             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          TAX COMMISSIONER
                          STATE OF OHIO
                          3O E BROAD ST 23RD
                          FL
                          ATTN: REBECCA L
                          DAUM, ATTORNEY
                          BANKRUPTCY DIV
     000916-B             COLUMBUS, OH 43215       $          0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000917-A             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     000918-B             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          LEWIS BRISBOIS
                          BISGAARD & SMITH
                          LLP
                          ATTN: LES SULLIVAN
                          221 N FIGUEROA ST
                          STE 1200
                          LOS ANGELES, CA
     000919               90012                    $    174,352.78 $              0.00 $           0.00




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                          MV TRANSPORATION,
                          INC.
                          JOHN BIARD &
                          ASSOCIATES
                          ATTN: MARK GINALSKI
                          360 CAMPUS LANE,
                          SUITE 201
     000934               FAIRFIELD, CA 94534 $         900,000.00 $              0.00 $           0.00
                          ARTURO LOPEZ
                          1811 ROSEWOOD
     000937               ONTARIO, CA 91764        $          0.00 $              0.00 $           0.00
                          HUEY P. WALKER, JR.
                          38 SURREY LANE
     000956-B             TARRYTOWN, GA 30470 $           7,055.00 $              0.00 $           0.00
                          PAUL PRAIRIE
                          3618 N VINCENNES
                          TRAIL
     000957-A             MOMENCE, IL 60954        $        613.00 $              0.00 $           0.00
                          PAULA J SENESOC
                          38 JORDAN DR
                          BOWRBONNAIS, IL
     000958-A             60914                    $          0.00 $              0.00 $           0.00
                          PAULA J SENESOC
                          38 JORDAN DR
                          BOWRBONNAIS, IL
     000959-B             60914                    $          0.00 $              0.00 $           0.00
                          ANNA MARIE ALGER
                          15255 DAVID
                          GRAND HAVEN, MI
     000965               49417                    $          0.00 $              0.00 $           0.00
                          KARLA M CARTER
                          5505 KELLY ANNE WAY
     000967-A             NOBLESVILLE, IN 46062 $         1,503.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          WESTCOTT
                          MANAGEMENT LP
                          ATTN WILLIAM HUNT
                          & ASSOCIATE
                          155 POLIFLY RD STE
                          200
     000968               HACKENSACK, NJ 07601 $        800,000.00 $              0.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE.
                          GRAND HAVEN, MI
     000969-A             49417                    $          0.00 $              0.00 $           0.00
                          SCOTT E PRAIRIE
                          3618 N VICENNES
                          TRAIL
     000971-B             MOMENCE, IL 60954        $     30,000.00 $              0.00 $           0.00
                          SALES AND
                          ASSOCIATES, PA
                          475 SOUTH NOVA RD
                          ORMOND BEACH, FL
     000981               32174                    $    226,151.92 $              0.00 $           0.00
                          JEFFREY S. WHITE
                          226 COUNTRY CLUB DR
     000990-B             DURHAM, NC 27712    $           8,117.84 $              0.00 $           0.00
                          THE MCMANIGLE
                          COMPANY
                          ATTN: DREW
                          MCMANIGLE
                          26 OAK KNOLL DRIVE
     000991               MALAWAN, NJ 07747        $      7,680.00 $              0.00 $           0.00
                          TAYLORED SERVICES
                          INC
                          NISHA T CORDERO,
                          ESQ.
                          GERRO LABELLA &
                          ZUCKER LLC
                          27 WARREN ST
     000992               HACKENSACK, NJ 07601 $              0.00 $              0.00 $           0.00




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                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          BANKRUPTCY
                          DIVISION
                          DEPARTMENT 280948
     000993-A             HARRISBURG, PA 17128 $          5,436.69 $              0.00 $           0.00
                          DEPT OF THE
                          TREASURY - IRS
                          PO BOX 9112
                          JFK BUILDING
                          STOP 20800
     000995-B             BOSTON, MA 02203         $          0.00 $              0.00 $           0.00
                          MICHAEL HOWIE
                          135 TIFFANY CT
                          LOCUST GROVE, GA
     001018-B             30248                    $      2,655.00 $              0.00 $           0.00
                          SELIS & ASSOCIATES
                          PA
                          475 SOUTH NOVA RD
                          ORMOND BEACH, FL
     001019               32174                    $    226,151.92 $              0.00 $           0.00
                          STATE OF NJ DEPT OF
                          TREASURY
                          ATTN DIVISION OF
                          TAXATION
                          PO BOX 245
     001022               TRENTON, NJ 08695        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          PO BOX 30754
                          ATTN: STEVEN B
                          FLANCHER AAG
     001025               LANSING, MI 48909        $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          PO BOX 30754
                          ATTN: STEVEN B
                          FLANCHER AAG
     001029               LANSING, MI 30754        $          0.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NJ DEPT OF
                          TREASURY
                          ATTN DIVISION OF
                          TAXATION
                          PO BOX 245
     001030               TRENTON, NJ 08695        $          0.00 $              0.00 $           0.00
                          TAYLORED SERVICES,
                          INC
                          ATTN: NISHA T
                          CORDERO, ESQ.
                          FERRO LABELLA &
                          ZUCKER LLC
                          27 WARREN STREET
     001035               HACKENSACK, NJ 07601 $              0.00 $              0.00 $           0.00
                          PENNSYLVANIA DEPT
                          OF REVENUE
                          COMMONWEALTH OF
                          PENNSYLVANIA
                          BANKRUPTCY
                          DIVISION
                          DEPARTMENT 280946
     001036-A             HARRISBURG, PA 17128 $            108.55 $              0.00 $           0.00
                          DEPT OF THE
                          TREASURY - IRS
                          PO BOX 9112 JFK BLDG
                          STOP 20800
     001037-B             BOSTON, MA 02203     $              0.00 $              0.00 $           0.00
                          SELIS AND
                          ASSOCIATES, PA
                          475 SOUTH NOVA RD
                          ORMOND BEACH, NJ
     001055               32174                    $    226,151.92 $              0.00 $           0.00
                          SELIS AND
                          ASSOCIATES, PA
                          425 SOUTH NOVA RD
                          ORMOND BEACH, FL
     001101               32174                    $    226,151.92 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MV TRANSPORTATION
                          INC
                          ATTN: MARK GINALSKI
                          JOHN BIARD &
                          ASSOCIATES
                          360 CAMPUS LANE,
                          SUITE 201
     001108               FAIRFIELD, CA 94534 $         900,000.00 $              0.00 $           0.00
                          DEPT OF TREASURY-
                          INTERNAL REVENUE
                          SVC
                          PO BOX 9112
                          JFK BUILDING
                          STOP 20800
     001109-A             BOSTON, MA 02203         $          0.00 $              0.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE.
                          GRAND HAVEN, MI
     001119-B             49417                    $          0.00 $              0.00 $           0.00
                          PAUL PRAIRIE
                          3618 N VINCENNES
                          TRAIL
     001121-B             MOMENCE, IL 60954        $     32,640.78 $              0.00 $           0.00
                          MAURA MESSINA
                          291 SEDGEWICK DR.
     001124-B             MAGNOLIA, DE 19962       $          0.00 $              0.00 $           0.00
                          SPAULDING, DELORES
                          2428 POWDERLY AVE
     001125               BIRMINGHAM, SC 35211 $              0.00 $              0.00 $           0.00
                          DEREK M. DENOYER
                          1149 COBB BLVD
     001127-B             KANKAKEE, FL 60901       $      5,081.69 $              0.00 $           0.00
                          TODD SKLAR
                          5790 FOX HOLLOW DR.
     001128-A             BOCA RATON, FL 33486 $              0.00 $              0.00 $           0.00
                          DERRICK THOMAS
                          1961 NEPTUNE DRIVE
     001129-B             AUGUSTA, GA 30906        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ROBB, GAIL R
                          1924 LOGAN BELLY
                          LANE
                          CROWN POINT, IN
     001130-A             46307                    $          0.00 $              0.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE
                          GRAND HAVEN, MI
     001131-A             49417                    $          0.00 $              0.00 $           0.00
                          BELINDA BALSAUO
                          935 S 8TH AVENUE
     001133-B             KAUKAKEE, FL 60901       $          0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SERVICES
                          PO BOX 5300
     001137-B             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001140-B             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001141-A             ALBANY, NY 12205   $            1,134.62 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001143               ALBANY, NY 12205   $            1,000.00 $              0.00 $           0.00
                          CERTA PRO PAINTERS
                          9011 MIRA MESA
                          BOULEVARD #203
     001144-A             SAN DIEGO, CA 92126      $      5,483.01 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SONDRA R SININS
                          39 FARBROOK DRIVE
     001145               SHORT HILLS, NJ 07078 $           402.21 $              0.00 $           0.00
                          ELAINE M SININS
                          35 SINCLAIR TER
     001147               SHORT HILLS, NJ 07078 $         1,600.00 $              0.00 $           0.00
                          ELAINE M SININS
                          35 SINCLAIR TER
     001148               SHORT HILLS, NJ 07078 $           735.00 $              0.00 $           0.00
                          PIONEER PEST SVCS
                          C/O RICHARD HALL JR
                          2270 TROPICAL
                          TERRACE
     001150               DELAND, FL 32724    $          57,481.40 $              0.00 $           0.00
                          RAMOS, NORMA
                          56 JAMES STREET
     001152               DOVER, NJ 07801          $      4,500.00 $              0.00 $           0.00
                          EL-HAMADANY,
                          MOHAMED A
                          850 CARSONIA
                          AVENUE
     001154               READING, PA 19606        $        421.10 $              0.00 $           0.00
                          VALLEY INDUSTRIAL
                          FAMILY MEDICAL
                          6011 N FRESNO ST 115
     001158-B             FRESNO, CA 93710         $        708.51 $              0.00 $           0.00
                          COASTAL
                          ANESTHESIOLOGY
                          MEDICAL ASSOC
                          P O BOX 6406
                          SANTA MARIA, CA
     001160               93456                    $      1,190.00 $              0.00 $           0.00
                          OLASKOWITZ, STAN
                          51 LEO AVENUE
     001161-A             STANHOPE, NJ 07874       $          0.00 $              0.00 $           0.00
                          SONDRA R SININS
                          39 FARBROOK DR
     001162               SHORT HILLS, NJ 07078 $         1,695.99 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          LUIS J FERNANDEZ
                          517 MOUNTAINVIEW
                          AVE.
                          VALLEY COTTAGE, N
     001164-B             10989                    $          0.00 $              0.00 $           0.00
                          LIMA, ANTONIO T.
                          36 CROWN CIRCLE
                          APT # 1A
     001165               SCRANTON, PA 18505       $      2,500.00 $              0.00 $           0.00
                          HAMLIN, GARY L
                          P.O. BOX 650
     001166               ALTHA, FL 32421          $     21,600.00 $              0.00 $           0.00
                          ALVAREZ, HUGO
                          PO BOX 830961
     001167               MIAMI, FL 33283          $      1,000.00 $              0.00 $           0.00
                          FIGUEROA, LOURDES
                          483 STATE ST
                          APT 2A
                          PERTH AMBOY, NJ
     001168               08861                    $        169.00 $              0.00 $           0.00
                          SONDRA R SININS
                          39 FARBROOK DR
     001170               SHORT HILLS, NJ 07078 $             0.00 $              0.00 $           0.00
                          DAUGHERTY, JOHN
                          2537 GROVE STREET
     001174               SARASOTA, FL 34239       $     50,000.00 $              0.00 $           0.00
                          RIZZOLO, R LEE
                          2564 AUDREY TERACE
     001178-B             UNION, NJ 07083          $      4,197.11 $              0.00 $           0.00
                          SONDRA R SININS
                          39 FARBROOK DR
     001179               SHORT HILLS, NJ 07078 $             0.00 $              0.00 $           0.00
                          SONDRA R SININS
                          39 FARBROOK DR
     001180               SHORT HILLS, NJ 07078 $             0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SANCHEZ, BALVINO
                          317 SEAMAN ST.
                          APT 2B
                          NEW BRUNSWICK, NJ
     001185               08901                    $          0.00 $              0.00 $           0.00
                          COMPUTROL
                          TECHNOLOGIES INC
                          2131 WANTAGH
                          AVENUE
     001189               WANTAGH, NY 11793        $     98,221.27 $              0.00 $           0.00
                          COOPER, PAMELA M
                          916 NORTH DUKE ST.
     001195-B             LANCASTER, PA 17602      $        212.00 $              0.00 $           0.00
                          TIMOTHY W HOOD
                          C/O G J SULLIVAN, JR.
                          P.A.
                          501 WEST BAY ST. STE.
                          100
                          JACKSONVILLE, FL
     001198               32202                 $             0.00 $              0.00 $           0.00
                          NEW MEXICO DEPT OF
                          LABOR
                          EMPLOYMENT
                          SECURITY DIVISION
                          PO BOX 1928
                          ALBUQUERQUE, NM
     001199-A             87103              $              227.44 $              0.00 $           0.00
                          WILSON, ROSALINA U
                          768 MARIETTA AVE.,
                          APT. B
     001204-B             LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          WILSON, ROSALINA U
                          768 MARIETTA AVE.,
                          APT B
     001207-A             LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          CUYA, MARIA
                          42 BANK ST. FIRST
                          FLOOR
     001208-A             ELIZABETH, NJ 07201      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NAPLES CENTER FOR
                          HAND
                          1409 KINGSLEY AVE
                          STE 6B
                          ORANGE PARK, FL
     001209-A             32073                    $        646.30 $              0.00 $           0.00
                          CUEVAS, VERONICA
                          678 DEL ROSA PL
                          APT. D
     001215-C             POMONA, CA 91768         $          0.00 $              0.00 $           0.00
                          KIEREN L BRIGHT
                          33 VALERIE AVE
     001216-A             EPHRATA, PA 17522        $      1,082.60 $              0.00 $           0.00
                          RANERI AND LONG
                          ROOFING INC
                          13881 HIGHWAY 8
                          BUSINESS
     001217               EL CAJON, CA 92021       $      2,387.50 $              0.00 $           0.00
                          BOYD, WILLIAM
                          42119 CLAY GULLEY
                          ROAD
                          MYAKKA CITY, FL
     001218               34251                    $      4,461.92 $              0.00 $           0.00
                          CORNERSTONE
                          PLASTERING
                          4352 CORDERO DRIVE
                          EL DORADO HILLS, CA
     001220-B             95762               $               0.00 $              0.00 $           0.00
                          CRUZ, ASIA
                          508 EAST 26TH STREET
     001225               PATERSON, NJ 07514   $            314.23 $              0.00 $           0.00
                          CORNERSTONE
                          PLASTERING
                          4352 CORDERO DRIVE
                          EL DORADOHILLS, CA
     001226-A             95762                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CHRISTINA COLE
                          TRUCKING INC
                          6447 33RD STREET
                          EAST
     001227               SARASOTA, FL 34243       $      4,461.92 $              0.00 $           0.00
                          AMBROSE, BRUCE
                          720 N. 66TH ST.
                          PHILADELPHIA, PA
     001232               19151                    $          0.00 $              0.00 $           0.00
                          KEVIN ABERNATHY
                          17 SUSAN CT
     001235-B             AKRON, OH 44307          $          0.00 $              0.00 $           0.00
                          OLMO RUTH N
                          P O BOX 2985
     001236-A             CAROLINA, PR 00984       $          0.00 $              0.00 $           0.00
                          VEGA, SYLVIA
                          POST OFFICE BOX
                          360559
     001237               SAN JUAN, PR 00936       $          0.00 $              0.00 $           0.00
                          HULSEY, MARK
                          1265 AVOCADO BLVD.
     001238-A             EL CAJON, CA 92020       $          0.00 $              0.00 $           0.00
                          VEGA SYLVIA
                          P O BOX 360559
     001239               SAN JUAN, PR 00936       $          0.00 $              0.00 $           0.00
                          HERNANDEZ,
                          CATALINA
                          C/O LAW OFFICES OF
                          ODION L OKOJIE
                          880 W 1ST ST STE 313
                          LOS ANGELES, CA
     001240               90012                    $    120,000.00 $              0.00 $           0.00
                          MAGANA, NICOLAS C
                          205 ROY AVENUE
     001243               ROCHELLE, IL 61068       $        260.00 $              0.00 $           0.00
                          GILES, DWAYNE
                          1119 E 24TH STREET
     001244               OAKLAND, CA 94606        $     10,000.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DON'S FRAMING
                          5814 SUNGLO AVENUE
     001245-A             PORT RICHEY, FL 34668 $             0.00 $              0.00 $           0.00
                          SIMON, DIANE
                          5820 SUNGLO AVE
     001246-B             PORT RICHEY, FL 34653 $         1,549.60 $              0.00 $           0.00
                          SIMON, ROBERT
                          5814 SUNGLOW AVE
     001247-A             PORT RICHEY, FL 34668 $             0.00 $              0.00 $           0.00
                          SIMON, JAMES T
                          5814 SUNGLOW AVE
     001248-B             PORT RICHEY, FL 34668 $             0.00 $              0.00 $           0.00
                          NIETO, MARTHA
                          240 NEVADA AVE 17
     001250               VISTA, CA 92084          $        450.00 $              0.00 $           0.00
                          MEJIA, AGUSTINA
                          658 1/2 COLUMBIA
                          AVENUE
     001256               LANCASTER, PA 17603      $        265.19 $              0.00 $           0.00
                          HIDALGO, JUAN C
                          658 1/2 COLUMBIA
                          AVENUE
     001258               LANCASTER, PA 17603      $        530.38 $              0.00 $           0.00
                          CANTER, VERONICA
                          85 E. SHIELDS
     001263               FRESNO, CA 93704         $     13,000.00 $              0.00 $           0.00
                          RIVERA, ROSA
                          324 44TH ST. APT 42
     001265-A             UNION CITY, NJ 07087     $          0.00 $              0.00 $           0.00
                          EMERGENCY CARE
                          HEALTH ORGANI
                          6545 RELIABLE
                          PARKWAY
     001267               CHICAGO, IL 60686        $      5,643.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DERRICKS ROOFING
                          650 WARD DRIVE #F
                          SANTA BARBARA, CA
     001268               93111                    $     50,739.46 $              0.00 $           0.00
                          DERRICKS ROOFING
                          650 WARD DR #F
                          SANTA BARBARA, CA
     001269               93111                    $     50,739.46 $              0.00 $           0.00
                          SONDRA R SININS
                          39 FARBROOK DR
     001270               SHORT HILLS, NJ 07078 $           954.00 $              0.00 $           0.00
                          MANUEL MARTINEZ
                          MEZA dba ONARGA
                          MARTINEZ
                          348 E STATION ST
     001271               KANKAKEE, IL 60901       $     13,223.20 $              0.00 $           0.00
                          TAMAYO, CELIA
                          5915 S MOZART
     001273               CHICAGO, IL 60629        $        485.44 $              0.00 $           0.00
                          WALDRON, MARION
                          33 RIVEREDGE ROAD
                          LINCOLN PARK, NJ
     001275               07035                    $      1,106.35 $              0.00 $           0.00
                          CHARLECE CAPLINGER
                          DEPENDENT OF
                          DECEASED TROY
                          CAPLINGER
                          57 FALLWOOD LANE
                          CRAWFORDVILLE, FL
     001276               32327              $           48,542.30 $              0.00 $           0.00
                          FRAZIER, WENDY
                          12715 METTETAL
                          STREET
     001278-A             DETROIT, MI 48227        $          0.00 $              0.00 $           0.00
                          BERMUDE, FRANCISCO
                          1039 FENTON
     001280               AURORA, IL 60505   $              319.30 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CHRISTIANSON, JAMES
                          A.
                          10095 ARROW LEAF
                          MORENO VALLEY, CA
     001282-A             92557               $               0.00 $              0.00 $           0.00
                          ALFRED P LUPPI MD
                          9903 CAMP ROAD
                          SPRING VALLEY, CA
     001283               91977                    $        649.73 $              0.00 $           0.00
                          DBA PAUL F PUGSLEY
                          DC
                          9901 CAMPO ROAD
                          SPRING VALLEY, CA
     001284               91977                    $      6,308.60 $              0.00 $           0.00
                          DOUG LAFRANCE
                          117 KESTZEL RD.
                          MOUNTAIN TOP, PA
     001286-A             18707                    $          0.00 $              0.00 $           0.00
                          CEGUEDA, MARIO
                          1139 31ST ST
     001287               SAN DIEGO, CA 92102      $        692.50 $              0.00 $           0.00
                          SMITH, WILLIAM
                          7350 PUTMAN ROAD
     001289               VACAVILLE, CA 95688      $      1,809.21 $              0.00 $           0.00
                          ROBERT DAIGNEAULT
                          MD
                          227 N EL CAMINO REAL
                          STE 100
     001292-B             ENCINITAS, CA 92024  $         20,407.70 $              0.00 $           0.00
                          SYLVIA, VEGA
                          P O BOX 360559
     001295-A             SAN JUAN, PR 00936       $          0.00 $              0.00 $           0.00
                          EL CAMINO MED
                          CENTER
                          227 N EL CAMINO REAL
                          SUITE 100
     001297-B             ENCINTIAS, CA 92024  $          1,342.43 $              0.00 $           0.00




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                          TOLEDO, EDWIN D
                          41 1D CROWN CIRCLE
     001298-A             SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00
                          STATE OF MICHIGAN -
                          DEPT OF TREASURY
                          REVENUE DIV
                          ATTN: STEVEN B
                          FLANCHER AAG
                          P O BOX 30754
     001303               LANSING, MI 48909        $        236.76 $              0.00 $           0.00
                          THOMAS GRIFFIN
                          C/O PAUL D
                          GOLDSTEIN ESQ
                          11900 BISCAYNE BLVD
                          STE 501
     001304               MIAMI, FL 33181     $          20,000.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY
                          NEWPORT BEACH, CA
     001305-A             92663                    $          0.00 $              0.00 $           0.00
                          ZITT, JON R.
                          c/o LAW OFFICE OF
                          PIERRE VAUGHN
                          4817 PALM AVE STE I
     001306               LA MESA, CA 91941        $    100,000.00 $              0.00 $           0.00
                          OLMO, RUTH N
                          POST OFFICE BOX 2985
     001311               CAROLINA, PR 00984   $              0.00 $              0.00 $           0.00
                          ANDINO, ALEJANDRO
                          323 GUATIER BENITEZ
                          ST
     001312-A             SAN JUAN, PR 00915       $          0.00 $              0.00 $           0.00
                          NE OCCUPATIONAL
                          MEDICINE REHAB
                          769 KEYSTONE INDUST
                          PARK
     001315               DUNMORE, PA 18512   $           4,991.80 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HERNANDEZ, ZAINAT
                          101 HAMPDEN DR.
     001316-A             MOUNTVILLE, PA 17554 $              0.00 $              0.00 $           0.00
                          LEWIS, ANDREW
                          3137 GLENDALE ST.
                          MUSKEGON HTS, MI
     001319-B             49444                    $          0.00 $              0.00 $           0.00
                          HARBOUR REALTY
                          ADVISORS INC
                          C/O GREENBERG
                          TRAURIG LLP
                          ATTN: JACQUELINE
                          GREENBERG VOGT ESQ
                          200 CAMPUS DR
                          FLORHAM PARK, NJ
     001321               07932              $          145,173.01 $              0.00 $           0.00
                          DAVIS, KERRY
                          3124 CEADERHURST PL.
     001322               CHARLOTTE, NC 28269 $           6,600.00 $              0.00 $           0.00
                          FISCHER PERIMAN
                          124 MIRACLE STRIP
                          PARKWAY SUITE 502
                          MARY ESTHER, FL
     001323               32569                    $          0.00 $              0.00 $           0.00
                          GENERAL
                          CONSTRUCTION
                          COMPANY
                          GENCON
                          DEVELOPMENT, INC
                          PO BOX 61738
                          SANTA BARBARA, CA
     001324               93160                    $     22,986.91 $              0.00 $           0.00
                          EMMONS ROOF
                          SERVICE
                          PO BOX 1150
     001327-B             POMONA, CA 91769         $    418,297.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          UNIVERSAL PSYCHE
                          MEDICAL GROUP
                          5211 E WASHINGTON
                          BLVD
                          LOS ANGELES, CA
     001330               90040                    $      8,378.00 $              0.00 $           0.00
                          PACIFIC SOUTH
                          MEDICAL GROUP
                          5211 E WASHINGTON
                          BLVD
                          LOS ANGELES, CA
     001331               90040                    $     19,379.51 $              0.00 $           0.00
                          WILBUR ANDERSON
                          MEDIATION PA
                          PO BOX 23338
                          JACKSONVILLE, FL
     001332               32241                    $        900.00 $              0.00 $           0.00
                          WILBUR ANDERSON
                          MEDIATION PA
                          P O BOX 23338
                          JACKSONVILLE, FL
     001333               32241                    $        566.35 $              0.00 $           0.00
                          MC STRAUSS
                          COMPANY
                          CO PDR PROPERTY
                          MANAGEMENT
                          12328 GLADSTONE AVE
                          #2
     001335               SYLMAR, CA 91342    $           4,675.25 $              0.00 $           0.00
                          JACOBSON, JAMES
                          5676 E. BUCKINGHAM
     001336               FRESNO, CA 93727         $     60,000.00 $              0.00 $           0.00
                          RUFFOLO HOOPER
                          ASSOCIATES
                          PO BOX 918377
     001341               ORLANDO, FL 32891        $        798.00 $              0.00 $           0.00
                          MEJIA, JOSE ADRIAN
                          305 2ND ST E
     001342               LA HABRA, CA 90631       $     45,000.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GALEAS, ELY
                          1629 ESPANOLA AVE
                          108
     001344               HOLLY HILL, FL 32117     $      3,500.00 $              0.00 $           0.00
                          CARCAMO, ERICK A.
                          420868 PO BOX
     001349               MIAMI, FL 33242          $     60,000.00 $              0.00 $           0.00
                          SEAN LILLY ROOFING
                          890 SW 69TH AVENUE
     001350               MIAMI, FL 33144          $      3,798.00 $              0.00 $           0.00
                          JOSE RAMIREZ
                          3200 SOUTH 7TH
                          STREET
                          LOT 56
     001353               FORT PIERCE, FL 34982 $        20,000.00 $              0.00 $           0.00
                          FROST, LAWRENCE L.
                          744 W. FALLBROOK, #84
     001354               FALLBROOK, CA 92028 $               0.00 $              0.00 $           0.00
                          SUTTON TREE SERVICE
                          2236 SOUTH SANTA FE
     001355-A             VISTA, CA 92084     $               0.00 $              0.00 $           0.00
                          MEDICAL
                          PROFESSIONAL
                          AGENCY
                          dba BAPTIST BUSINESS
                          HEALTH SOLUTIONS
                          9400 UNIVERSITY
                          PKWY STE 101A
     001356               PENSACOLA, FL 32514 $             167.00 $              0.00 $           0.00
                          MEDICAL
                          PROFESSIONAL
                          AGENCY
                          dba BAPTIST BUSINESS
                          HEALTH SOLUTIONS
                          9400 UNIVERSITY
                          PKWY STE 101A
     001357               PENSACOLA, FL 32514 $             492.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WIESNER, ANDREW H
                          1074 CHANBELEER
     001359               CHERRY HILL, NJ 08003 $        32,412.00 $              0.00 $           0.00
                          THE PORT AUTHORITY
                          OF NY AND NJ
                          OFFICE OF DONALD F
                          BURKE ESQ
                          ATTN: EZRA BIALIK
                          ESQ
                          225 PARK AVE S 13TH
                          FL
     001360-A             NEW YORK, NY 10003  $               0.00 $              0.00 $           0.00
                          GONZALES, PASQUAL
                          415 DONNAS LANE
     001361-B             HOLLISTER, CA 95023      $          0.00 $              0.00 $           0.00
                          MISSOURI DEPT OF
                          LABOR & IND
                          RELATIONS
                          C/O MISSOURI DIV OF
                          EMP SECURITY
                          P O BOX 59
                          ATTN: LEGAL
                          COUNSEL
                          JEFFERSON CITY, MO
     001366-B             65104                    $        200.00 $              0.00 $           0.00
                          BROWN, SHANE S.
                          128 TILDENVILLE SCH.
                          RD.
                          WINTER GARDEN, FL
     001369-A             34787                $              0.00 $              0.00 $           0.00
                          PERKINS, CAMILLE
                          42 E. 138TH
     001373               RIVERDALE, IL 60827      $          0.00 $              0.00 $           0.00
                          GARCIA, HUGO
                          28367 SAND CYN RD.11
                          CANYON COUNTRY,
     001378               CA 91351             $              0.00 $              0.00 $           0.00
                          DASILVA, ADILSON
                          77 FERGUSON ST
     001379               NEWARK, NJ 07105         $        289.16 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                  of Claim            to Date          Payment
                          SALINAS, JOSE LUIS
                          3333 MARINE AVENUE
                          APARTMENT # 7
     001382-C             GARDENA, CA 90249        $          6.00 $               0.00 $           0.00
                          NUNEZ PARAMO,
                          MIRNA
                          3333 MARINNE
                          APARTMENT #7
     001383-A             GARDENA, CA 90247        $          0.00 $               0.00 $           0.00
                          ASSOCIATED
                          REPRODUCTION SVCS
                          13925 WHITTIER BLVD
     001384               WHITTIER, CA 90605       $      2,549.83 $               0.00 $           0.00
                          ASSOCIATED
                          REPRODUCTION SVCS
                          13925 WHITTIER BLVD
     001385               WHITTIER, CA 90605       $      3,560.44 $               0.00 $           0.00
                          ASSOCIATED
                          REPRODUCTION SVCS
                          13925 WHITTIER BLVD
     001386               WHITTIER, CA 90605       $      2,664.13 $               0.00 $           0.00
                          CA UNINSURED EMP
                          BENEFIT TRUST FUND
                          OFC OF THE DIRECTOR
                          - LEGAL UNIT
                          ATTN: BANKRUPTCY
                          UNIT
                          320 W FOURTH ST STE
                          600
                          LOS ANGELES, CA
     001393               90013               $        7,480,000.00 $              0.00 $           0.00
                          RODGERS, ROBERT H
                          31268 FRANS HALS DR
     001395               WINCHESTER, CA 92596 $        100,000.00 $               0.00 $           0.00
                          TANSEY, BRUCE
                          3041 SANDPIPER BAY
                          CIR
     001400-B             NAPLES, FL 34112         $          0.00 $               0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NAZARIO, FRANCISCA
                          18 REMSEN AVE.
                          NEW BRUNSWICK, NJ
     001401-A             08901              $                0.00 $              0.00 $           0.00
                          SALINAS, JOEL
                          3333 MARINE AVENUE
                          APARTMENT # 7
     001405-C             GARDENA, CA 90249        $          0.00 $              0.00 $           0.00
                          QUINTERO, VALENTE
                          1717 ERNIE LN
                          GRAND PRAIRIE, TX
     001407               75052                    $     18,156.86 $              0.00 $           0.00
                          STRUCTURAL
                          PRESTRESSED
                          11405 NW 138TH
                          STREET
     001409               MIAMI, FL 33178          $    250,000.00 $              0.00 $           0.00
                          STRUCTURAL
                          PRESTRESSED
                          11405 NW 138TH ST
     001410               MIAMI, FL 33178          $    250,000.00 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001411-A             32314                    $          0.00 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001412-B             32314                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                  of Claim            to Date          Payment
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001413-A             32314                    $          0.00 $               0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001414-B             32314                    $          0.00 $               0.00 $           0.00
                          HORSEPOWER
                          ELECTRIC CO, INC.
                          8105 WEST 20TH
                          AVENUE
     001415               HIALEAH, FL 33014        $    200,000.00 $               0.00 $           0.00
                          TEMPORARY SERVICES
                          INSURANCE LTD
                          C/O KENSINGTON
                          P O BOX 10027APO
                          2ND FL GENESIS BLDG
                          GRAND CAYMAN
     001417               CAYMAN ISLANDS BWI $         1,569,189.00 $              0.00 $           0.00
                          AMANDER SPARKS as
                          guardian of
                          AUSTIN CAPLINGER,
                          dependent of deceased
                          TRAY CAPLINGER c/o
                          PAUL D SRYGLEY
                          1266 CEDAR CENTER
                          DR
                          TALLAHASSEE, FL
     001419               32301                    $     55,794.46 $               0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          AARON MALLICK
                          166 N FULTON
     001420               BRADLEY, IL 60915        $     50,000.00 $              0.00 $           0.00
                          MILES COPE DRYWALL
                          12329 MOOSE ROAD
                          JACKSONVILLE, FL
     001421               32226              $           16,883.03 $              0.00 $           0.00
                          ARIESKY VASQUEZ
                          13150 SW 17TH
                          TERRACE
     001422               MIAMI, FL 33175          $     10,000.00 $              0.00 $           0.00
                          CHODZIN ROOFING
                          C/O SEAN W KELLEY
                          PL
                          801 EATON STREET
     001423               KEY WEST, FL 33040       $      5,000.00 $              0.00 $           0.00
                          SEARCY, GEORGE
                          4479 PHILLIPS HWY.
                          LOT89
                          JACKSONVILLE, FL
     001424-A             32207                    $          0.00 $              0.00 $           0.00
                          JOHN L WILLIAMSON
                          3034 DELOR DR
                          JACKSONVILLE, FL
     001425-B             32234                    $          0.00 $              0.00 $           0.00
                          JAMES RONALD JONES
                          7202 SILVER LAKE
                          TERRACE
                          JACKSONVILLE, FL
     001426-A             32216              $              883.77 $              0.00 $           0.00
                          JONES, JAMES
                          224 E PISA PLACE
                          ST. AUGUSTINE, FL
     001427-B             32084                    $          0.00 $              0.00 $           0.00
                          PARRIS, ERNEST
                          17347 NEW BRANDY
                          BRANCH
     001428-A             BALDWIN, FL 32234        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GOOD, WILLIAM
                          4479 PHILIPS HWY. LOT
                          79
                          JACKSONVILLE, FL
     001429-B             32207                 $             0.00 $              0.00 $           0.00
                          JONES, JAN
                          4440 HEAVEN TREES
                          RD.
                          JACKSONVILLE, FL
     001430-A             32207                    $          0.00 $              0.00 $           0.00
                          CARVEY, ELISA
                          4479 PHILLIPS HW.
                          JACKSONVILLE, FL
     001431-B             32207                    $      2,091.04 $              0.00 $           0.00
                          SUNTREE MOBILE
                          HOME PARK
                          4479 PHILLIPS
                          HIGHWAY
                          JACKSONVILLE, FL
     001432-A             32207                    $      6,331.04 $              0.00 $           0.00
                          URZUA, MARILU
                          2532 L ST
     001433-B             SAN DIEGO, CA 92102      $          0.00 $              0.00 $           0.00
                          URZUA MARILU
                          2532 L ST
     001434-A             SAN DIEGO, CA 92102      $        250.00 $              0.00 $           0.00
                          MILLER, SANDY
                          343 A SCHLEY ST.
                          APT. A 7
     001437               NEWARK, NJ 07112         $      2,785.00 $              0.00 $           0.00
                          FLORIDA TIMES UNION
                          POST OFFICE BOX 1949
                          ATTN: VERONICA
                          HUOTARI
                          JACKSONVILLE, FL
     001439               32231                $          3,492.38 $              0.00 $           0.00
                          FIRMINO, IZAQUE
                          77 FERGUSON ST
     001440               NEWARK, NJ 07105         $        343.81 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HOLDEN, TANYA
                          5848 NTH 7TH ST
                          PHILADELPHIA, PA
     001441-A             19120                    $        507.00 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVENUE
                          APT 2A
     001443               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001444               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001445               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001446               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001447               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          MARINO LORYN
                          2 CHELTENHAM PLACE
                          APT 2
     001449-A             SAYREVILLE, NJ 08872 $              0.00 $              0.00 $           0.00
                          WILLIAMSON,
                          GREGORY
                          331 STIPAUL
     001451-B             MEMPHIS, TN 38126        $          0.00 $              0.00 $           0.00
                          RIVERA, WILLIAM
                          1671 GOSHEN RD
                          APT E-4
     001453               AUGUSTA, GA 30906        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          RAMOS, ROBERTO
                          442 SEVENTH STREET
     001455               FAIRVIEW, NJ 07022       $      4,956.64 $              0.00 $           0.00
                          CORNEJO, SERAFIN
                          22190 DEPRAD ST
     001457-A             PERRIS, CA 92570         $          0.00 $              0.00 $           0.00
                          DELABRUERE, CAROL
                          JEAN
                          426 LOCKHART
                          DAYTONA BEACH, FL
     001460               32114                    $     25,000.00 $              0.00 $           0.00
                          VALENZUELA, RUBEN
                          111 S. BELMONT AVE.
                          NATIONAL CITY, CA
     001461               91950                    $      1,287.48 $              0.00 $           0.00
                          CONWAY, SCOTT M
                          105 MARION STREET
     001462               BRIDGEPORT, CT 06605 $            500.00 $              0.00 $           0.00
                          WILLIAMS, JEANNIE
                          3731 56TH ST.
                          SACRAMENTO, CA
     001465               95820                    $          0.00 $              0.00 $           0.00
                          SAHAPOGLU, MELISSA
                          5891 12TH AVENUE SW
     001469               NAPLES, FL 34116    $           3,086.64 $              0.00 $           0.00
                          SAHAPOGLU, ALFRED
                          7380 STONEGATE
                          DRIVE
     001470               NAPLES, FL 34109         $     25,538.88 $              0.00 $           0.00
                          MEDICIA CORP
                          ATTN: STACEY D
                          PACELLI ESQ
                          WINTHROP COUCHOT
                          PC
                          660 NEWPORT CENTER
                          DR STE 400
                          NEWPORT BEACH, CA
     001473               92660              $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          BOCCHI
                          LABORATORIES INC
                          ATTN: STACEY D
                          PACELLI ESQ
                          WINTHROP COUCHOT
                          PC
                          660 NEWPORT CENTER
                          DR STE 400
                          NEWPORT BEACH, CA
     001474               92660              $                0.00 $              0.00 $           0.00
                          MEDICIA CORP
                          ATTN: STACEY D
                          PACELLI ESQ
                          WINTHROP COUCHOT
                          PC
                          660 NEWPORT CENTER
                          DR STE 400
                          NEWPORT BEACH, CA
     001475               92660              $                0.00 $              0.00 $           0.00
                          BOCCHI
                          LABORATORIES INC
                          ATTN: STACEY D
                          PACELLI ESQ
                          WINTHROP COUCHOT
                          PC
                          660 NEWPORT CENTER
                          DR STE 400
                          NEWPORT BEACH, CA
     001476               92660              $                0.00 $              0.00 $           0.00
                          BARRY OLIVER
                          6457 IRVIN AVENUE
     001478               CALLAHAN, FL 32011       $    250,000.00 $              0.00 $           0.00
                          JACKSON, DARRELL
                          455 FULTON STREET.
     001480               ELIZABETH, NJ 07206      $        213.32 $              0.00 $           0.00
                          STREBLOW, HEINZ
                          3022 WELLINGTON
                          DRIVE
     001481-A             PALMDALE, CA 93551       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001483               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          HONEYCUTT, WILLIAM
                          E.
                          33 CYPRESS LAKE
                          TRAILER PARK
     001484               STATESBORO, GA 30458 $         17,250.00 $              0.00 $           0.00
                          ALVARADO, JOSEFINA
                          222 E. 22ND ST. #203
                          NATIONAL CITY, CA
     001485               91950                $          1,635.00 $              0.00 $           0.00
                          NEAL, KENNETH
                          255 SAGE STREET
     001486-A             VALLEJO, CA 94589        $          0.00 $              0.00 $           0.00
                          JOE VASQUEZ JR
                          13148 CLIFFSHIRE AVE
     001487               CORONA, CA 92879     $        100,000.00 $              0.00 $           0.00
                          ESTRADA, OMAR
                          386 DELAVAN
                          NEW BRUNSWICK, NJ
     001489-A             08901                    $          0.00 $              0.00 $           0.00
                          PARRA, JOSE
                          1860 S TUXEDO AVE
     001490               STOCKTON, CA 95204       $     19,008.22 $              0.00 $           0.00
                          PEAV, SIM
                          1608 WEBSTER STREET
     001492-A             ALAMEDA, CA 94589   $               0.00 $              0.00 $           0.00
                          MCWILLIAMS,
                          PATRICK
                          PO BOX 1434
     001493               TOPOCK, AZ 86436         $          0.00 $              0.00 $           0.00
                          DEL CARMEN BLANC,
                          MARIA
                          8222 SKYLINE DR.
     001494               SAN DIEGO, CA 92114      $        218.49 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOHNSON, WILLIAM
                          607 SAINT JOSEPH ST
     001497               LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          PINEDA, JOSE
                          GERARDO
                          44710 KING ST, #11
     001498               INDIO, CA 92201          $      6,174.48 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001499               HOBOKEN, NJ 07030        $      8,000.00 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001500               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          ROBIN SININS
                          99 PARK AVE
                          APT 2A
     001501               HOBOKEN, NJ 07030        $          0.00 $              0.00 $           0.00
                          SANCHEZ, BONIFACIO
                          1234 W.CUBBON
     001502               SANTA ANA, CA 92703      $    100,000.00 $              0.00 $           0.00
                          SAENZ, JESSE B
                          1910 EATON AVE
     001503-A             HEMET, CA 92545          $          0.00 $              0.00 $           0.00
                          VALLEY POOL
                          PLASTERING INC
                          C/O LANDEGGER &
                          BARRON
                          ATTN: MICHAEL S
                          LAVENANT ESQ
                          15760 VENTURA BLVD
                          #1200
     001528               ENCINO, CA 91436         $    440,000.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001530-B             32314                    $        150.00 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001531-A             32314                    $        400.00 $              0.00 $           0.00
                          HITEC ROOFING INC
                          5 SANDLAKE ROAD
                          BUILDING 980
     001532               HONOLULU, HI 95819       $      5,527.84 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          ATTN: FREDERICK F
                          RUDZIK
                          TALLAHASSEE, FL
     001533-A             32314                    $        125.00 $              0.00 $           0.00
                          GONZALEZ, EDDIE A
                          300 LINDEN STREET
     001538-B             COLUMBIA, PA 17512       $          0.00 $              0.00 $           0.00
                          NEVADA DEPT OF
                          TAXATION
                          ATTN: BANKRUPTCY
                          SECTION
                          555 E WASHINGTON
                          AVE STE #1300
     001539-A             LAS VEGAS, NV 89101      $         85.60 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          RUBIO, JOSEPH J.
                          1275 W. 26TH
                          SAN BERNARDINO, CA
     001540-B             92405              $                0.00 $              0.00 $           0.00
                          HERNANDEZ, OMAR
                          2040 GALENAS STREET
     001541               AURORA, CO 80010    $           1,500.00 $              0.00 $           0.00
                          HERNANDEZ, OMAR
                          2040 GALENAS STREET
     001542               AURORA, CO 80010    $           1,500.00 $              0.00 $           0.00
                          ALDRED, HARRY
                          2 ALBERT ST
     001543               PLAINFIELD, NJ 07063     $        520.00 $              0.00 $           0.00
                          COVINGTON,
                          CLIFFORD
                          34 SHERWOOD AVE, #1
     001546-A             ROCHESTER, NY 14619 $               0.00 $              0.00 $           0.00
                          CAROL JOHNSON
                          1408 LOMBARDY DR.
     001555               MODESTO, CA 95351        $        701.00 $              0.00 $           0.00
                          CORTEZ TAYDE
                          50 VAN WINKLE AVE
                          APT #3
     001558               PASSAICA, NJ 07055       $          0.00 $              0.00 $           0.00
                          CORTEZ, TAYDE
                          50 VAN WINKLE AVE
                          APARTMENT #3
     001560               PASSAIC, NJ 07055        $          0.00 $              0.00 $           0.00
                          COLEMAN JAY C
                          110 NORTON STREET
     001561               SAVANNAH, GA 31404       $     10,000.00 $              0.00 $           0.00
                          DBA PAUL F PUGSLEY
                          DC
                          9901 CAMPO ROAD
                          SPRING VALLEY, CA
     001562               91977                    $      6,308.60 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          ALFRED P LUPPI MD
                          9903 CAMP ROAD
                          SPRING VALLEY, CA
     001563               91977                    $        649.73 $              0.00 $           0.00
                          RAMOS, MARIA DE SAL
                          4065 W. 104TH ST.
     001570               INGLEWOOD, CA 90304 $         100,000.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          WORKER TRAINING
                          FUND
                          ATTN: BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001573-B             46204                    $         25.00 $              0.00 $           0.00
                          ILLINOIS DEPT OF
                          REVENUE
                          100 W RANDOLPH #7-
                          425
                          ATTN: BANKRUPTCY
                          SECTION
     001574               CHICAGO, IL 60601        $          0.00 $              0.00 $           0.00
                          OMNIGEN
                          ATTN: LINDA PANITZ,
                          VP
                          c/o HANDYMAN
                          CONNECTION
                          1740 W KATELLA UNIT
                          G
     001575               ORANGE, CA 92867    $           3,563.92 $              0.00 $           0.00
                          MC GAVOC, PAMELA
                          29009 DIXON ST 10
     001576-A             HAYWARD, CA 94544        $          0.00 $              0.00 $           0.00




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                          ILLINOIS DEPT OF
                          REVENUE
                          100 W RANDOLPH ST
                          #7-425
                          ATTN: BANKRUPTCY
                          UNIT
                          JAMES R THOMPSON
                          CENTER
     001578-B             CHICAGO, IL 60601        $        578.39 $              0.00 $           0.00
                          HERRERA, MARIA F
                          1207 W RICHMOND
                          AVE.
     001580-B             FORTWORTH, TX 76110 $               0.00 $              0.00 $           0.00
                          CARR, SHANE
                          6525 W MAGNOLIA ST.
     001582-B             PHOENIZ, AZ 85043        $          5.00 $              0.00 $           0.00
                          JIM BROCK
                          3312 KEITHSHIRE WAY,
                          APT 2
     001583-A             LEXINGTON, KY 40503 $           3,000.00 $              0.00 $           0.00
                          HOLLINGSWORTH,
                          JUSTIN W.
                          237 IRWINVILLE RD.
                          APT.#23
     001584               ABBEVILLE, GA 31001      $        240.00 $              0.00 $           0.00
                          YELVERTON, KEVIN
                          746 SHOEMAKER
                          DRIVE
                          DEFUNIAK SPRINGS, FL
     001585               32435                $         17,754.43 $              0.00 $           0.00
                          COVERALL NORTH
                          AMERICA, INC./LEGAL
                          DEPT.
                          500 WEST CYPRESS
                          CREEK ROAD, SUITE
                          580
                          FORT LAUDERDALE, FL
     001588               33309               $             149.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          ROLDAN, GUADALUPE
                          444 N. IRVING ST.
     001589-A             SCRANTON, PA 18505 $                0.00 $              0.00 $           0.00
                          CHERYL L GAITHER
                          242 CHURCH AVE
     001590               OAKDALE, CA 95361        $        621.00 $              0.00 $           0.00
                          BOLAND, DEBORAH
                          7404 FLORAL RIDGE
                          DRIVE
                          JACKSONVILLE, FL
     001591               32277                    $      6,867.00 $              0.00 $           0.00
                          STEELE, LAKISHA
                          392 MADISON ST
                          WILKES BARRE, PA
     001594               18705                    $      3,000.00 $              0.00 $           0.00
                          IWANIEC, THOMAS
                          9051 N KATHLEEN TER.
     001595               DUNNELLON, FL 34433 $           1,549.69 $              0.00 $           0.00
                          WILLINGHAM, ELNORA
                          283 W. BURDOCK
     001599               MEMPHIS, TN 38109  $            1,000.00 $              0.00 $           0.00
                          JOHNSON, BOBBY
                          1295 LATHAM ST
     001600               MEMPHIS, TN 38106        $          0.00 $              0.00 $           0.00
                          CENCAL ROOFING INC
                          2030 MAIN STREET
     001601               MORROBAY, CA 93442 $          119,661.05 $              0.00 $           0.00
                          MURRAY, ODELIER
                          5955 LISKA LN, APT 201
     001603-A             SAN JOSE, CA 95119     $        1,250.00 $              0.00 $           0.00
                          HAVEY, JAMES D.
                          RR 3
                          SUSQUEHANNA, PA
     001606               18847                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          BRICKMASTERS INC
                          2611 ARLEX DRIVE
                          WEST
                          JACKSONVILLE, FL
     001607               32211                    $     24,105.34 $              0.00 $           0.00
                          OMNIGEN
                          1740 W.KATELLA
                          AVENUE STE G
     001618-B             ORANGE, CA 92867         $          0.00 $              0.00 $           0.00
                          OMNIGEN
                          1740 W.KATELLA
                          AVENUE
                          STE G
     001619-A             ORANGE, CA 92867         $          0.00 $              0.00 $           0.00
                          SUNSHINE FOOD MART
                          98
                          402 HIGH POINT DRIVE
     001620               COCOA, FL 32922      $          6,443.54 $              0.00 $           0.00
                          VALADEZ, JAIME
                          2204 WOODRALE AVE
     001621               READING, PA 19606        $        950.08 $              0.00 $           0.00
                          RODOLFO COLMENERO
                          1015 RICHLAND ST APT
                          G
     001623               UPLAND, CA 91786     $        100,000.00 $              0.00 $           0.00
                          STATE OF GEORGIA
                          DEPT OF REVENUE
                          PO BOX 161108
     001624-A             ATLANTA, GA 30321        $        730.91 $              0.00 $           0.00
                          RODOLFO COLMENERO
                          1015 RICHLAND ST APT
                          G
     001631               UPLAND, CA 91786     $        100,000.00 $              0.00 $           0.00
                          BATTS, LARESA
                          3956 CAMELOT LANE
                          #3
     001633               MEMPHIS, TN 38118        $        600.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          RAY, JONATHON
                          8540 TAYLORFIELD RD.
                          JACKSONVILLE, FL
     001639               32244                $         19,618.49 $              0.00 $           0.00
                          STATE OF DELAWARE
                          DIVISION OF REVENUE
                          ATTN RANDY R
                          WELLER - MS #25
                          820 N FRENCH ST 8TH
                          FL
     001640-A             WILMINGTON, DE 19801 $              0.00 $              0.00 $           0.00
                          MIDFLORIDA
                          ORTHOPAEDICS PA
                          441 MAITLAND
                          AVENUE
                          ALTAMONTE SPRINGS,
     001644               FL 32701           $           10,967.84 $              0.00 $           0.00
                          ILLINOIS - DEPT OF
                          REVENUE
                          ATTN: BANKRUPTCY
                          SECTION
                          100 W RANDOLPH #7-
                          425
     001647               CHICAGO, IL 60601        $          0.00 $              0.00 $           0.00
                          ALVARO JARA
                          20 W 14 ST #A5
     001648               HIALEAH, FL 33010        $      1,162.80 $              0.00 $           0.00
                          APOLLO CREDIT
                          AGENCY INC
                          3501 S TELLER ST
     001650               LAKEWOOD, CO 80235       $        100.41 $              0.00 $           0.00
                          JACKSON, CHARLES
                          25 WEST ROLLINS
     001659-B             MEMPHIS, TN 38115        $        500.00 $              0.00 $           0.00
                          PACIFIC SOUTH
                          MEDICAL GROUP
                          5211 E WASHINGTON
                          BLVD
                          LOS ANGELES, CA
     001660               90040                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DE LA HOZ, MAYRA
                          8788 POCONO
                          COUNTRY
                          PLACE DR
     001661               TOBYHANNA, PA 18466 $             349.00 $              0.00 $           0.00
                          STATE OF FLORIDA -
                          DEPT OF REVENUE
                          ATTN: FREDERICK F
                          RUDZIK
                          BANKRUPTCY
                          SECTION
                          P O BOX 6668
                          TALLAHASSEE, FL
     001662-A             32314                    $        100.00 $              0.00 $           0.00
                          VIRGINIA DEPT OF
                          TAXATION
                          P O BOX 2156
                          ATTN: ANGELA
                          THOMPSON
     001669-B             RICHMOND, VA 23218       $         93.33 $              0.00 $           0.00
                          WILLINGHAM ELNORA
                          283 W BURDOCK
     001671               MEMPHIS, TN 38109 $                 0.00 $              0.00 $           0.00
                          ROBERT MOSTELLER
                          (DECEASED)
                          1823 MOREHEAD
                          AVENUE
     001674               ORLANDO, FL 32826        $          0.00 $              0.00 $           0.00
                          SANCHEZ, BONIFACIO
                          1234 W.CUBBON
     001677               SANTA ANA, CA 92703      $    100,000.00 $              0.00 $           0.00
                          JACOBSON, JAMES
                          5676 E. BUCKINGHAM
     001678               FRESNO, CA 93727         $     50,000.00 $              0.00 $           0.00
                          LUTZ CHRIS
                          2144 OAK HOLLOW
                          DRIVE
                          APT 2
     001679               COLUMBIA, PA 17512       $        611.14 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          SCHROEDER, JOHN K.
                          503 EDGEWATER
                          DRIVE
     001680               PENSACOLA, FL 32507      $     16,266.87 $              0.00 $           0.00
                          MRS DEBORAH
                          MOSTELLER
                          WIDOW OF ROBERT
                          MOSTELLER
                          18082 HOLLISTER
                          ROAD
     001681               ORLANDO, FL 32820        $          0.00 $              0.00 $           0.00
                          NEIRA, LUZ ESTELLA
                          36 ELLIOT STREET
     001682               DOVER, NJ 07801          $        350.00 $              0.00 $           0.00
                          LEWEY GREGG
                          16444 GERMAIN
                          STREET
                          GRANADA HILLS, CA
     001684               91344                    $          0.00 $              0.00 $           0.00
                          FINGER LAKES FAM
                          CHIROPRACTIC
                          1625 RTE 332
                          FRMBRK OFF PRK
                          FARMINGTON, NY
     001685               14425                    $        611.63 $              0.00 $           0.00
                          CORONADO ELSA P
                          710 E. SAN YSIDRO
                          BLVD.
                          #2856
     001686               SAN YSIDRO, CA 92173 $            327.76 $              0.00 $           0.00
                          MEJIA IVONNE
                          23 CHESTER STREET
     001687               LANCASTER, PA 17602      $        850.00 $              0.00 $           0.00
                          EAST COAST
                          ORTHOPAEDICS
                          STEVEN NAIDE MD
                          1201 EAST SAMPLE
                          ROA
                          POMPANO BEACH, FL
     001690               33064                    $      7,486.00 $              0.00 $           0.00




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                          DOMINGUEZ
                          CAROLINA
                          135 CHRYSTAL W
     001691               DOVER, NJ 07801          $    100,000.00 $              0.00 $           0.00
                          GIORDANO, JOSEPH
                          703 CENTER ST
     001692               DUNMORE, PA 18512        $      2,791.80 $              0.00 $           0.00
                          KDR INC
                          559 SOUTH ATCHINSON
                          STREET
     001693               ANAHEIM, CA 92805   $               0.00 $              0.00 $           0.00
                          CORTEZ JESUS
                          145 BERGOLD ST
     001696               BRENTWOOD, NY 11717 $               0.00 $              0.00 $           0.00
                          CORTEZ, JESUS
                          145 BERGOLD ST
     001697               BRENTWOOD, NY 11717 $               0.00 $              0.00 $           0.00
                          CORTEZ JESUS
                          145 BERGOLD ST
     001698               BRENTWOOD, NY 11717 $               0.00 $              0.00 $           0.00
                          POLANCO VALDEZ
                          ELSA
                          1700 NY AVENUE APT 1
     001700-A             UNION CITY, NJ 07087 $              0.00 $              0.00 $           0.00
                          ALVAREZ MARIA
                          396 WASHINGTON ST
                          PERTH AMBOY, NJ
     001702               08861                    $        277.00 $              0.00 $           0.00
                          SANCHEZ, BALVINO
                          317 SEAMAN ST
                          APT 2B
                          NEW BRUNSWICK, NJ
     001703               08901                    $          0.00 $              0.00 $           0.00
                          GIBSON, WALTER I
                          32 N. SUSSEX ST.
     001704               DOPVER, NJ 07801         $        710.00 $              0.00 $           0.00




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                          OLMO RUTH N
                          PO BOX 2985
     001706               CAROLINA, PR 00984       $          0.00 $              0.00 $           0.00
                          OLIVERA, SUSANA C.
                          22 TERRY LANE
                          APARTMENT 210
     001709               MONTICELLO, NY 12701 $          2,720.00 $              0.00 $           0.00
                          SOCORRO MARTINEZ
                          13441 BERG STREET
     001710               SYLMAR, CA 91342         $    620,000.00 $              0.00 $           0.00
                          TREJO ODILON S
                          1955 BELLS FERR ROAD
                          APT #4222
     001711               MARIETTA, GA 30066   $          1,070.90 $              0.00 $           0.00
                          SOUTHSIDE MEDICAL
                          IMAGING
                          PO BOX 691907
                          CINNCINNATI, OH
     001713               45269                    $      2,790.00 $              0.00 $           0.00
                          MOEDANO, PABLO
                          219 AVENIDA DE LA
                          PLAZA
     001714               VISTA, CA 92083          $        280.80 $              0.00 $           0.00
                          QUARTZ HILL
                          INDUSTRIAL MED
                          42357 50TH ST WEST
                          104
                          QUARTZ HILL, CA
     001715               93536                    $        674.00 $              0.00 $           0.00
                          RAMOS MARIA DE SAL
                          4065 W 104 ST
     001717               INGLEWOOD, CA 90304 $         100,000.00 $              0.00 $           0.00
                          NEIRA LUZ ESTELLA
                          36 ELLIOT ST
     001719               DOVER, NJ 07801          $        350.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          STATE OF DELAWARE
                          DIV OF REVENUE
                          820 N FRENCH ST 8TH
                          FL
                          ATTN: RANDY R
                          WELLER MS #25
     001721-B             WILMINGTON, DE 19801 $             30.00 $              0.00 $           0.00
                          MISSISSIPPI STATE
                          TAX COMMISSION
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 23338
     001723-A             JACKSON, MS 39225        $          0.00 $              0.00 $           0.00
                          MONSTERCOM
                          CUST MC410161
                          PO BOX 34649
     001726               NEWARK, NJ 07189         $      3,290.00 $              0.00 $           0.00
                          KHG MEDIATIONS PA
                          NORTHWOOD
                          PROFESSIONAL
                          CENTER
                          840 C S R 434 NORTH
                          ALTAMONTE SPRINGS,
     001727               FL 32714            $             850.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE DEV
                          WORKER
                          TRAINING FUND
                          ATTN: BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001729-B             46204                    $         25.00 $              0.00 $           0.00
                          ASSOCIATED
                          REPRODUCTION SVCS
                          13925 WHITTIER BLVD
     001731               WHITTIER, CA 90605       $      1,991.25 $              0.00 $           0.00




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                          MISSISSIPPI STATE
                          TAX COMMISSION
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 23338
     001732-A             JACKSON, MS 39225        $          6.25 $              0.00 $           0.00
                          ARCE INTERPRETING
                          4045 BONITA ROAD
                          SUITE 310
     001733               BONITA, CA 91902         $      3,729.50 $              0.00 $           0.00
                          AIRGAS SAFETY
                          W3645 AIRGAS SAFETY
                          PO BOX 7777
                          PHILADELPHIA, PA
     001734               19175               $           3,778.45 $              0.00 $           0.00
                          UNITED PARCEL
                          SERVICE
                          C/O D&B/RMS
                          BANKRUPTCY
                          SERVICES
                          P O BOX 4396
     001735               TIMONIUM, MD 21094       $     11,913.94 $              0.00 $           0.00
                          ALCALA, ALFREDO
                          9716 CEDAR ST
                          BELLFLOWER, CA
     001737-B             90706                    $          0.00 $              0.00 $           0.00
                          FRIDAY, CURTIS
                          475 FRANKLIN STREET
                          APARTMENT 2
                          WILKES BARRE, PA
     001741               18702               $               0.00 $              0.00 $           0.00
                          ROBERTSON, CARLOS
                          6095 PEBBLE BEACH
     001743               MEMPHIS, TN 38115        $      1,920.00 $              0.00 $           0.00
                          MISSOURI DEPT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     001744-A             65105                    $        126.20 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          MISSOURI DEPT OF
                          REVENUE
                          BOX 475
                          JEFFERSON CITY, MO
     001746-B             65105                    $         19.00 $              0.00 $           0.00
                          TORRES, CARMEN
                          608 E. ONTARIO ST.
                          PHILADELPHIA, PA
     001748               19134                    $          0.00 $              0.00 $           0.00
                          NEIRA LUZ ESTELLA
                          36 ELLIOT STREET
     001750               DOVER, NJ 07801          $        350.00 $              0.00 $           0.00
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTY GENERAL
                          SECTION 9TH FL
                          33 S STATE ST
     001754-B             CHICAGO, IL 60603        $         50.00 $              0.00 $           0.00
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          BANKRUPTCY UNIT 10
                          TH FL
                          33 S STATE ST
     001755-A             CHICAGO, IL 60603  $              150.00 $              0.00 $           0.00
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          BANKRUPTCY UNIT
                          10TH FL
                          33 S STATE ST
     001756-B             CHICAGO, IL 60603        $         70.00 $              0.00 $           0.00
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          BANKRUPTCY UNIT
                          10TH FL
                          33 S STATE ST
     001757-A             CHICAGO, IL 60603        $        170.00 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                  of Claim            to Date          Payment
                          FOWLER, RONALD S
                          7808 TWIN LAKES RD
     001758               KEYSTONE, FL 32656       $          0.00 $               0.00 $           0.00
                          GUARDIAN
                          PO BOX 26010
     001759               LEHIGH, PA 18022         $    178,193.36 $               0.00 $           0.00
                          ROSS L KIRK
                          8219 OSWEGO ST
     001760               SUNLAND, CA 91040        $   1,500,000.00 $              0.00 $           0.00
                          SANCHEZ, AMERICA
                          127 FRENCH ST.
                          NEW BRUNSWICK, NJ
     001764               08901                    $          0.00 $               0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          ATTN BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001765-A             46204                    $          0.00 $               0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE DEV
                          WORKER TRA
                          ATTN BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001766-B             46204                    $         25.00 $               0.00 $           0.00
                          KIRK, ROSS
                          8219 OSWEGO STREET
     001768               SUNLAND, CA 91040        $          0.00 $               0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NEW MEXICO DEPT OF
                          LABOR
                          EMPLOYMENT
                          SECURITY DIVISION
                          ATTN: JASON LEWIS
                          LEGAL SECTION
                          PO BOX 1928
                          ALBUQUERQUE, NM
     001770-B             87103              $              175.00 $              0.00 $           0.00
                          DEPT OF LABOR &
                          INDUSTRIAL
                          RELATIONS
                          PO BOX 700
     001773-B             HONOLULU, HI 96809       $         60.73 $              0.00 $           0.00
                          PEGNATO & PEGNATO
                          BLDG SYSTEMS INC
                          C/O HAHN & BOLSON
                          LLP
                          1000 WILSHIRE BLVD
                          STE 1600
                          LOS ANGELES, CA
     001774-A             90017              $          501,294.48 $              0.00 $           0.00
                          EMPLOYMENT
                          SECURITY
                          COMMISSION OF NC
                          700 WADE AVE.
     001778               RALEIGH, NC 27605        $         96.30 $              0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE DEV
                          WORKERS TRAINING
                          FUND
                          ATTN BEVERLY
                          KOROBKIN
                          10 NORTH SENATE AVE
                          #SE200
                          INDIANAPOLIS, IN
     001780-B             46204               $              25.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SBC
                          ATTN BANKRUPTCY
                          RECOVERY CTR
                          PO BOX 981268
                          WEST SACRAMENTO,
     001795               CA 95851                 $      2,505.06 $              0.00 $           0.00
                          HOLT TACIANA
                          2510 AUSTIN SMITH
                          COURT
                          N. FORT MEYERS, FL
     001796-A             33917                    $          0.00 $              0.00 $           0.00
                          DELIGNE, JUDY
                          411 BRENNAN CT.
     001801-B             S. PLAINFIELD, NJ 07080 $           0.00 $              0.00 $           0.00
                          SENESAC, PAULA
                          38 JORDAN DRIVE
                          BOURBONNAIS, IL
     001806-B             60914                    $          0.00 $              0.00 $           0.00
                          PALMERO, SONIA
                          345 49TH ST.
     001808-A             BROOKLYN, NY 11220       $          0.00 $              0.00 $           0.00
                          PAREDES, CARLOS
                          27 WEST 7TH ST.
     001809-B             PLAINFIELD, NJ 07060     $          0.00 $              0.00 $           0.00
                          CRISCIO, ANTHONY
                          457 WEST AVENUE
     001810               SEWAREN, NJ 07077        $      2,307.00 $              0.00 $           0.00
                          OKLAHOMA TAX
                          COMMISSION
                          LEGAL DIVISION
                          120 N ROBINSON SUITE
                          2000W
                          OKLAHOMA CITY, OK
     001815-B             73102                $             10.95 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU
                          BANKRUPTCY UNIT
                          P O BOX 9564
                          ATTN: ANNE CHAN
     001828-B             BOSTON, MA 02114         $         11.25 $              0.00 $           0.00
                          MASSACHUSETTS
                          DEPT OF REVENUE
                          LITIGATION BUREAU
                          BANKRUPTCY UNIT
                          P O BOX 9564
                          ATTN: ANNE CHAN
     001829-A             BOSTON, MA 02114         $          0.00 $              0.00 $           0.00
                          AVILES, LISA
                          378 MONMOUTH RD
     001830-A             ELIZABETH, NJ 07208      $          0.00 $              0.00 $           0.00
                          STAFFCO INC
                          ATTN: JACK CURTIS
                          ESQ
                          1370 ONTARIO ST STE
                          520
     001834               CLEVELAND, OH 44113 $          37,462.44 $              0.00 $           0.00
                          PADUA, NORMA
                          539 RIDGEWAY
                          AVENUE
                          SOUTH AMBOY, NJ
     001838-B             08879                    $          0.00 $              0.00 $           0.00
                          DELUNA, FRANCISCO
                          15394 RIDGECREST DR
     001841               FONTANA, CA 92337        $      1,404.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     001845               ALBANY, NY 12205   $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MELENDEZ, JOSE
                          FRANCISCO
                          4046 KIMBALL AVENUE
     001849-A             MEMPHIS, TN 38111   $              75.00 $              0.00 $           0.00
                          SIGNORILE, PATRICIA
                          18 4TH STREET
     001850-A             SAYERVILLE, NJ 08872     $     13,555.80 $              0.00 $           0.00
                          ORTIZ, WILMER J.
                          1142 ONION STREET
     001851-A             ALLENTOWN, PA 18102 $               0.00 $              0.00 $           0.00
                          OLIVA, KENNETH
                          8 HALE COURT
                          BASKING RIDGE, NJ
     001852-B             07920                    $      3,656.39 $              0.00 $           0.00
                          ANTAO, ROSALINA
                          422 CHESTNUT ST 2
     001853-B             KEARNY, NJ 07032         $          0.00 $              0.00 $           0.00
                          ARMAND, DENISE
                          180 ROBERT PLACE
                          SO PLAINFIELD, NJ
     001854-A             07080                    $      1,776.96 $              0.00 $           0.00
                          RAINBOW MEDICAL
                          GROUP INC
                          1809 EAST DYER RD 311
     001855               SANTA ANA, CA 92705 $          11,430.50 $              0.00 $           0.00
                          OFFICE OF
                          UNEMPLOYMENT
                          COMP TAX SERVICES
                          COMMONWEALTH OF
                          PA
                          DEPT OF LABOR &
                          INDUSTRY
                          1171 S CAMERON ST,
                          RM 312
     001856-B             HARRISBURG, PA 17104 $            500.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001859               ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001860               ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          PITNEY BOWES CREDIT
                          CORP
                          ATTN RECOVERY DEPT
                          27 WATERVIEW DR
     001863               SHELTON, CT 06484   $           3,147.29 $              0.00 $           0.00
                          JOSE L MORENO
                          4048 W 179TH ST
     001864               TORRANCE, CA 90504       $        409.59 $              0.00 $           0.00
                          SPAULDING, DELORES
                          2428 POWDERLY
                          AVENUE
                          BIRMINGHAM, AL
     001865-A             35211              $                0.00 $              0.00 $           0.00
                          DURON CARLOS
                          1318 NW 6 ST #2
     001866               MIAMI, FL 33125          $     30,000.00 $              0.00 $           0.00
                          BRIGHT, KIEREN
                          33 VALERIE AVE
     001871-B             EPHRATA, PA 17522        $          0.00 $              0.00 $           0.00
                          MORENO JOSE LUIS
                          4048 W 179TH ST
     001873               TORRANCE, CA 90504       $         32.62 $              0.00 $           0.00
                          HERNANDEZ, JORGE
                          26 BERGEN STREET
     001874-A             GARFIELD, NJ 07026       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ALDAVE, EDDIE
                          6072 CRESENT AV
     001877-B             BUENA PARK, CA 90620 $              0.00 $              0.00 $           0.00
                          SHELTON, JOSEPH
                          721 HONEYSUCKLE LN
     001880-B             MIDLAND, NC 28107  $                0.00 $              0.00 $           0.00
                          MELENDEZ, TANYA
                          17 HERITAGE GREEN
                          DR.
                          APT 209
     001889-B             FISKDALE, MA 01518       $      2,388.32 $              0.00 $           0.00
                          STATE OF IOWA
                          IOWA DEPT OF
                          REVENUE ACCTS
                          RECEIVABLE
                          HOOVER STATE
                          OFFICE BLDG
     001892-B             DES MOINES, IA 50319     $          0.00 $              0.00 $           0.00
                          SHEROUSE, ALMA
                          701 SO STAMFIELD RD
                          APT 168
     001893-A             TROY, OH 45373           $      3,868.11 $              0.00 $           0.00
                          CHURNEY, DERYA
                          20 Goodwin Drive
                          NORTH BRUNSWICK,
     001900-B             NJ 08902                 $          0.00 $              0.00 $           0.00
                          ST LEDGER, BRIAN
                          113 LIVINGSTON AVE.
     001906-B             LYNDHURST, NJ 07071      $          0.00 $              0.00 $           0.00
                          BUTLER, NICOLE
                          7521 SILVER VIEW
                          LANE
     001908               RALEIGH, NC 27613        $      1,923.06 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF IOWA
                          IOWA DEPT OF
                          REVENUE
                          ATTN: ACCOUNTS
                          RECEIVABLE
                          HOOVER STATE OFC
                          BLDG
     001909-A             DES MOINES, IA 50319     $        280.82 $              0.00 $           0.00
                          BUSTILLOS, OMAR
                          5893 VISTA SAN
                          GUADALUPE
     001910-A             SAN DIEGO, CA 92154      $      2,883.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN: BANKRUPTCY
                          SECTION
                          P O BOX 5300
     001912-C             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          DANIELS, MINDY
                          919 SHOEMAKER AVE.
                          WEST WYOMING, PA
     001914-A             18644                    $          0.00 $              0.00 $           0.00
                          WASHINGTON,
                          LATOYA
                          12799 S. 177TH LANE
     001916-B             GOODYEAR, AZ 85338       $          0.00 $              0.00 $           0.00
                          GONZALEZ, MARIA
                          10212 SUSAN AVE
     001917-A             HESPERIA, CA 92345       $          0.00 $              0.00 $           0.00
                          MCHUGH, LANCE
                          936 CORTEZ RD
     001918               LAKE ARIEL, PA 18436     $          0.00 $              0.00 $           0.00
                          ROBB, GAIL
                          1924 LOGANBERRY
                          LANE
                          CROWN POINT, IN
     001919-A             46307                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PORTER, REBECCA
                          133 CLOISTER LN
                          MOORESVILLE, NC
     001921-B             28117                    $          0.00 $              0.00 $           0.00
                          LOUISIANA DEPT OF
                          REVENUE
                          PO BOX 66658
                          BATON ROUGE, LA
     001924-B             70896                    $      1,501.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          ATTN BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001928-B             ALBANY, NY 12205   $            8,468.15 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001929-A             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     001930-B             ALBANY, NY 12205   $            1,134.62 $              0.00 $           0.00
                          DELL FINANCIAL
                          SERVICES
                          ATTN WILLIAM P
                          FREEMAN ESQ
                          WELLMAN WEINBERG
                          & REIS CO LPA
                          325 CHESTNUT ST STE
                          501
                          PHILADELPHIA, PA
     001932               19106               $          19,392.50 $              0.00 $           0.00
                          KEVIN E WILKINSON
                          RD 2 P4-15
     001934-B             HAZLETON, PA 18202       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          LAZER APTHEKER
                          ROSELLA & YEDID PC
                          225 OLD COUNTRY RD
     001938               MELVILLE, NY 11747       $      8,925.96 $              0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          ATTN BEVERLY
                          KOROBKIN
                          10 NORTH SENATE
                          AVENUE # SF200
                          INDIANAPOLIS, IN
     001942-B             46204                    $         75.74 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPT OF TREASURY
                          ATTN: STEVEN B.
                          FLANCHER
                          G. MENNEN WILLIAMS
                          BLDG 2nd FL
                          525 W OTTAWA ST
     001949               LANSING, MI 48933  $              143.02 $              0.00 $           0.00
                          THE OHIO DEPT OF JOB
                          & FAMILY SERVICES
                          PO BOX 182404
     001952-B             COLUMBUS, OH 43218 $              139.04 $              0.00 $           0.00
                          STATE OF MARYLAND
                          COMPTROLLER OF
                          TREASURY
                          RM 409, STATE OFFICE
                          BUILDING
                          301 WEST PRESTON ST
     001953-A             BALTIMORE, MD 21201 $              74.00 $              0.00 $           0.00
                          MORENO JOSE L
                          4348 W 179TH ST
     001955               TORRANCE, CA 90504       $         80.00 $              0.00 $           0.00




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                                                    Allowed Amount       Interim Payments Proposed
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                          STRONG AVE
                          THRIFTWAY
                          HEATHER GARRETSON
                          BERKOWITZ OLIVER
                          WILLIAMS SHAW ET
                          AL
                          2600 GRAND BLVD
                          SUITE 1200
                          KANSAS CITY, MO
     001959               64108             $               1,655.81 $              0.00 $           0.00
                          MR TIMOTHY D
                          HOFFMAN
                          1410 FLORAL LANE
                          MERRITT ISLAND, FL
     001960               32952                    $   15,000,000.00 $              0.00 $           0.00
                          VIRGINIA
                          DEPARTMENT OF
                          TAXATION
                          PO BOX 2156
                          ATTN: DONNIE
                          WALKER
     001963-B             RICHMOND, VA 23218       $         122.73 $               0.00 $           0.00
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTN: BANKRUPTCY
                          UNIT - 1OTH FL
                          33 S STATE ST
     001965-B             CHICAGO, IL 60603        $          50.00 $               0.00 $           0.00
                          ILLINOIS DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTY GENERAL
                          SECTION 9TH FLOOR
                          33 S STATE ST
     001969-B             CHICAGO, IL 60603        $        1,365.00 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
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                          STATE OF IOWA
                          IOWA DEPT OF
                          REVENUE
                          ACCOUNTS
                          RECEIVABLE
                          HOOVER STATE
                          OFFICE BLDG
     001971-B             DES MOINES, IA 50319     $          0.00 $               0.00 $           0.00
                          RICHARD S JORDAN
                          C/O BYRON E
                          TOWNSEND ESQ
                          2503 WEST SWANN AVE
     001973               TAMPA, FL 33609     $        1,207,642.00 $              0.00 $           0.00
                          GOOD SAMARITAN
                          MEDICAL CENTER
                          RAINA WALPOLE
                          TENET HEALTH CARE
                          13737 NOEL ROAD
     001976               DALLAS, TX 75240         $      2,389.60 $               0.00 $           0.00
                          BOCCHI
                          LABORATORIES INC
                          EDWARD T
                          ATTANASIO ESQ
                          KLEE TUCHIN
                          BOGDANOFF & STERN
                          LLP
                          2121 AVENUE OF THE
                          STARS 33RD FLOOR
                          LOS ANGELES, CA
     001979               90067                    $     50,000.00 $               0.00 $           0.00
                          STATE OF NEW JERSEY
                          DEPT OF TREASURY
                          DIVISION OF
                          TAXATION
                          PO BOX 245
     001989               TRENTON, NJ 08695   $               0.00 $               0.00 $           0.00




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                                                     Allowed Amount     Interim Payments Proposed
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                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION ROOM N203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     001991-B             46204                     $        506.93 $              0.00 $           0.00
                          INDIANA DEPT OF
                          REVENUE
                          BANKRUPTCY
                          SECTION ROOM N203
                          100 NORTH SENATE
                          AVE
                          INDIANAPOLIS, IN
     001992-A             46204                     $          0.00 $              0.00 $           0.00
                          AIRPORT GATEWAY
                          PLAZA, LLC
                          638 LINDERO CANYON
                          ROAD, #508
                          (fka Marian C. Aden Trust)
     002001-B             OAK PARK, CA 91377         $         0.00 $              0.00 $           0.00
                          AIRPORT GATEWAY
                          PLAZA, LLC
                          638 LINDERO CANYON
                          ROAD, #508
                          (fka Marian C. Aden Trust)
     002002-A             OAK PARK, CA 91377         $         0.00 $              0.00 $           0.00
                          AIRPORT GATEWAY
                          PLAZA, LLC
                          638 LINDERO CANYON
                          ROAD, #508
                          (fks Marian C. Aden Trust)
     002003-B             OAK PARK, CA 91377         $         0.00 $              0.00 $           0.00
                          CHRISTINA ARANA
                          ASSOCIATES INC
                          ALL LANGUAGE
                          INTERPRETING
                          SERVICE
                          11420 VENTURA BLVD
     002010               STUDIO CITY, CA 91604 $          2,793.00 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          KAGAN JUGAN
                          ASSOCIATES PA
                          2745 SWAMP CABBAGE
                          COURT STE 30
     002014               FORT MYERS, FL 33901 $            459.75 $              0.00 $           0.00
                          PEARSON, ROBERT
                          139 SMITH STREET
     002022               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          ANDES, DONALD E.
                          593 VALLEY RD
     002025               DANVILLE, PA 17821       $          0.00 $              0.00 $           0.00
                          DBA PAUL F PUGSLEY
                          DC
                          10024 DOLORES ST #1
                          SPRING VALLEY, CA
     002026               91977                    $      6,308.60 $              0.00 $           0.00
                          GALANTE, MERRLLYN
                          3999 OLD TOWN AVE
                          APT D1
     002027-A             SAN DIEGO, CA 92110 $               0.00 $              0.00 $           0.00
                          MERRILYN H
                          GALANTE
                          3999 OLD TOWN AVE
                          D#1
     002028-B             SAN DIEGO, CA 92110      $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2203 E. EL SEGUNDO
                          BLVD. #1
     002029-A             COMPTON, CA 90222        $          0.00 $              0.00 $           0.00
                          MAZZARELLA, LINDA
                          649 BOW LINE DRIVE
     002030-A             NAPLES, FL 34103         $          0.00 $              0.00 $           0.00
                          TORRES-MARTINEZ,
                          LUIS
                          25 GARDEN COURT APT
                          4
     002035-B             LANCASTER, PA 17602 $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          THE NEWS AND
                          OBSERVER
                          PO BOX 2222
     002037               RALEIGH, NC 27602        $         53.80 $              0.00 $           0.00
                          EL CLASIFICADO
                          1125 GOODRICH BLVD
                          LOS ANGELES, CA
     002038               90022                    $      1,120.00 $              0.00 $           0.00
                          FOWLER, RONALD S.
                          7808 TWIN LAKES
                          ROAD
     002040-A             KEYSTONE, FL 32656       $      6,445.59 $              0.00 $           0.00
                          JOSEPH RAY HALL
                          3127 ATLANTIC BLVD
                          JACKSONVILLE, FL
     002047               32207                    $     20,000.00 $              0.00 $           0.00
                          WONG, YUK LAN T
                          433 IRVINGTON
                          STREET
     002051               DALY CITY, CA 94014      $          0.00 $              0.00 $           0.00
                          DEPT. OF REVENUE
                          PO BOX 8946
     002052-A             MILWAUKEE, WI 53293 $             422.98 $              0.00 $           0.00
                          DEPT. OF REVENUE
                          PO BOX 93208
     002053-B             MILWAUKEE, WI 53293 $           1,490.64 $              0.00 $           0.00
                          DEPT. OF REVENUE
                          PO BOX 8901
     002054-A             MILWAUKEE, WI 53708 $             550.61 $              0.00 $           0.00
                          KIEREN L BRIGHT
                          33 VALERIE AVE
     002055-B             EPHARATA, PA 17522       $          0.00 $              0.00 $           0.00
                          BRIGHT, KIEREN
                          33 VALERIE AVE
     002056-A             EPHRATA, PA 17522        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MINUTEMAN PRESS
                          1577 RIDGE ROAD
                          WEST
     002058               ROCHESTER, NY 14615      $        295.88 $              0.00 $           0.00
                          BOND, KENNETH
                          20 HONEY BEAR DRIVE
     002061               JACKSON, TN 38305   $             400.00 $              0.00 $           0.00
                          PIONEER PEST SVCS
                          C/O RICHARD HALL JR
                          2270 TROPICAL
                          TERRACE
     002065               DELAND, FL 32724    $          57,481.40 $              0.00 $           0.00
                          ANDREA WEBB
                          828 WINDSOR
                          PERRINEVILLE
     002066-A             E WINDSOR, NJ 08520      $          0.00 $              0.00 $           0.00
                          SYLVIA VEGA
                          PO BOX 360559
     002069               SAN JUAN, PR 00936       $          0.00 $              0.00 $           0.00
                          GARCIA, TELMO
                          12107 EMBER LAKE
     002072               HOUSTON, TX 77066        $    570,000.00 $              0.00 $           0.00
                          GARCIA, TELMO
                          12107 EMBER LAKE RD
     002073               HOUSTON, TX 77066   $         570,000.00 $              0.00 $           0.00
                          INFO QUEST INC
                          PO BOX 15521
                          SURFSIDE BEACH, SC
     002076               29587                    $     19,124.00 $              0.00 $           0.00
                          WATSON, JERRY
                          401 S CHILLINGWORTH
                          DR
                          WEST PALM BEACH, FL
     002078               33409               $          10,000.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HERIBERTO AVILA
                          C/O DON HARVEY ESQ
                          253 N. ORLANDO AVE.
                          STE. 204
     002081               MAITLAND, FL 32751  $          24,633.66 $              0.00 $           0.00
                          DON HARVEY ESQ
                          253 N. ORLANDO AVE.
                          STE 204
     002082               MAITLAND, FL 32751       $     28,027.64 $              0.00 $           0.00
                          ROSALES, RAUL
                          8382 DURRA LANE
     002083-A             FONTANA, CA 92335        $          0.00 $              0.00 $           0.00
                          HAYMORE, IRA
                          934 N. PULASKI
     002084               CHICAGO, IL 60651        $      4,925.00 $              0.00 $           0.00
                          AMISON, LADELLE
                          1136 BEAVER AVE.
                          BIRMINGHAM, AL
     002088-A             35214                    $      2,558.00 $              0.00 $           0.00
                          DIALLO, MAMADOU
                          16692 PO BOX
     002090               MEMPHIS, TN 38186        $      1,500.00 $              0.00 $           0.00
                          ADVANCED VISION
                          INSTITURE PA
                          2100 WEST STATE
                          ROAD
     002094               LONGWOOD, FL 32779       $        702.00 $              0.00 $           0.00
                          LA VOZ LATINA
                          MENSUAL
                          PO BOX 219
     002099               SCRANTON, PA 18504       $        330.00 $              0.00 $           0.00
                          R B MEDICAL
                          MANAGEMENT
                          100 EAST LEHIGH
                          AVENUE
                          PHILADELPHIA, PA
     002100               19125                    $      4,769.50 $              0.00 $           0.00




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     Claim No.            Claimant                  of Claim           to Date          Payment
                          HENNING, LINDA
                          3326 WALL ROAD
                          GREEN COVE SPRINGS,
     002101-A             FL 32043            $           6,100.00 $              0.00 $           0.00
                          AMBROSE, BRUCE
                          720 N. 66TH ST.
                          PHILADELPHIA, PA
     002107-B             19151                    $          0.00 $              0.00 $           0.00
                          TOOR, HARDI
                          4182 51ST ST.
     002108-A             SAN DIEGO, CA 92105      $          0.00 $              0.00 $           0.00
                          SIMON, DIANE
                          5820 SUNGLO AVE
     002111-B             PORT RICHEY, FL 34653 $             0.00 $              0.00 $           0.00
                          CAROLYN HIGGERSON
                          2223 DEL MAR SCENIC
                          PKWY
     002127-B             DEL MAR, CA 92014   $               0.00 $              0.00 $           0.00
                          WATKINS, ROBERT E.
                          598 MARY STREET
     002130               SCRANTON, PA 18508       $        500.00 $              0.00 $           0.00
                          GOOD SAMARITAN
                          MEDICAL CENTER
                          RAINA WALPOLE
                          TENET HEALTH CARE
                          13737 NOEL ROAD
     002135               DALLAS, TX 75240         $      2,389.60 $              0.00 $           0.00
                          LEAHY PROSTHETICS
                          AND ORTHOTICSINC
                          630 FREDERICK ST
     002143               SANTA CRUZ, CA 95062 $            266.00 $              0.00 $           0.00
                          JAIME PEREZ MD
                          800 W MARTIN LUTHER
                          KING
     002144               TAMPA, FL 33603     $           7,245.00 $              0.00 $           0.00
                          SEAN LILLY ROOFING
                          890 SW 69TH AVENUE
     002149               MIAMI, FL 33144          $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GENERAL ELECTRIC
                          CAPITAL
                          CORPORATION
                          ATTN TONY SHEBEK
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     002150               52404                    $     81,443.72 $              0.00 $           0.00
                          GENERAL ELECTRIC
                          CAPITAL
                          CORPORATION
                          ATTN TONY SHEBEK
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     002151               52404                    $     29,024.94 $              0.00 $           0.00
                          FERRARO,
                          JACQUELINE
                          3 SANCHA COURT
     002152-A             FLANDERS, NJ 07836       $          0.00 $              0.00 $           0.00
                          KRSNA CORPORATION
                          5406 TIMUQUAN ROAD
                          JACKSONVILLE, FL
     002153               32210              $                0.00 $              0.00 $           0.00
                          KRSNA CORPORATION
                          5406 TIMUQUANA
                          ROAD
                          JACKSONVILLE, FL
     002154               32210             $            21,806.00 $              0.00 $           0.00
                          MARC IRWIN
                          SHARFMAN MD PA
                          DBA
                          HEADACHE AND
                          NEUROLOGICAL
                          TREATMENT INST
                          1936 LEE RD
                          STE 137
                          WINTER PARK, FL
     002159               32789                    $      2,770.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ELSA P CORONADO
                          PLACENCIA
                          4114 CAMINO DE LA
                          PLZ APT 25F
     002161               SAN YSIDRO, CA 92173 $              0.00 $              0.00 $           0.00
                          SANJUAN, BEATRIZ
                          211 20TH AVE.
                          APT. 1301
     002163               PATERSON, NJ 07501       $        200.00 $              0.00 $           0.00
                          JORGE HERNANDEZ
                          26 BERGEN STREET
     002164-A             GARFIELD, NJ 07026       $          0.00 $              0.00 $           0.00
                          JORGE HERNANDEZ JR
                          26 BERGEN ST
     002165-B             GARFIELD, NJ 07026 $                0.00 $              0.00 $           0.00
                          ELIAS, WILLIAM
                          425 HIGH ST 4
                          CHESTERTOWN, MD
     002166-A             21620                    $        800.00 $              0.00 $           0.00
                          ALEXANDER, GABRIEL
                          3557 SHANNON DRIVE
     002170-A             BALTIMORE, MD 21213 $               0.00 $              0.00 $           0.00
                          UGI PENN NATURAL
                          GAS
                          ONE UGI CENTER
                          WILKES BARRE, PA
     002173               18711                    $        207.38 $              0.00 $           0.00
                          ANDINO, ALEJANDRO
                          323 GUATIER BENITEZ
                          ST
     002176               SAN JUAN, PR 00915       $          0.00 $              0.00 $           0.00
                          HERNANDEZ, ANA L
                          414 EAST IMPERIAL
                          HWY
                          APARTMENT #3
                          LOS ANGELES, CA
     002177               90061                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CRISTIAN F
                          HERNANDEZ
                          414 EAST IMPERIAL
                          HWY
                          APARTMENT #3
                          LOS ANGELES, CA
     002179               90061                    $          0.00 $              0.00 $           0.00
                          HENANDEZ, ANA L
                          414 EAST IMPERIAL
                          HWY
                          APARTMENT #3
                          LOS ANGELES, CA
     002181               90061                    $          0.00 $              0.00 $           0.00
                          EAST COUNTY
                          URGENT CARE
                          1625 E MAIN ST
     002182               EL CAJON, CA 92021       $        279.91 $              0.00 $           0.00
                          WILLIAM WU
                          CHIROPRACTIC
                          1666 GARNET AVENUE
                          PMB 220
     002184-A             SAN DIEGO, CA 92109 $               0.00 $              0.00 $           0.00
                          SANFORD, DAVID C
                          6807 MARISOL DR
     002186-B             HOUSTON, TX 77083        $          0.00 $              0.00 $           0.00
                          WILLIAM, BARBARA
                          607 14TH ST #A
                          WEST PALM BEACH, FL
     002187               33401               $          12,000.00 $              0.00 $           0.00
                          SANGHAVI, KRISHANG
                          76 JEFFERSON STREET
     002190               METUCHEN, NJ 08840  $               0.00 $              0.00 $           0.00
                          MACIAS, REMIGIO
                          517 AMADOR AVE
     002191               MODESTO, CA 95358        $    117,751.25 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SAINT CLARES
                          CORPEMPHEALTH SRV
                          400 WEST BLACKWELL
                          STREET
     002196               DOVER, NJ 07801    $            1,651.97 $              0.00 $           0.00
                          MCHUGH LANCE
                          936 CORTEZ RD
     002197-A             LAKE ARIEL, PA 18436     $          0.00 $              0.00 $           0.00
                          VIRGINIA GONZALEZ
                          20 BETHWAY ST
                          NEW BRUNSWICK, NJ
     002206               08901                    $          0.00 $              0.00 $           0.00
                          ROCIO SCHULT
                          10651 OAK BEND
     002207               SAN DIEGO, CA 92131      $          0.00 $              0.00 $           0.00
                          SCHREINER, BRADLEY
                          D.
                          306 EDGAR ST
     002208-A             OLYPHANT, PA 18447 $            1,216.00 $              0.00 $           0.00
                          OLASKOWITZ, STAN
                          51 LEO AVENUE
     002215-A             STANHOPE, NJ 07874       $          0.00 $              0.00 $           0.00
                          PRONAB KR
                          BHATTACHARYYA
                          71-07 31ST AVE
                          JACKSON HEIGHTS, NY
     002219               11370               $          84,087.31 $              0.00 $           0.00
                          ERNESTO MOLORA
                          683 W FRONT ST
     002221-C             PLAINFIELD, NJ 07060     $          0.00 $              0.00 $           0.00
                          VALLEY POOL
                          PLASTERING INC
                          C/O H TY KHARAZI ESQ
                          1145 E SHAW AVE
     002223               FRESNO, CA 93710     $        300,000.00 $              0.00 $           0.00
                          GORDON, DARRELL
                          3948 WARBLER DRIVE
     002225               ANTIOCH, CA 94509        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SCUDIERI SR,
                          RAYMOND J
                          120 ORCHARD ROAD
                          SIDE DOOR
     002231               MAPLEWOOD, NJ 07040 $           2,400.00 $              0.00 $           0.00
                          MALIBU BILLING
                          SERVICESINC
                          23852 PACIFIC COAST
                          HIGHWAY
     002232-A             MALIBU, CA 90265         $      8,012.75 $              0.00 $           0.00
                          STAR SKY PT
                          23852 PACIFIC COAST
                          HWY 310
     002233-B             MALIBU, CA 90265         $      5,144.60 $              0.00 $           0.00
                          ATAMIAN
                          CHIROPRACTIC
                          23852 PACIFIC COAST
                          HWY
     002234-A             MALIBU, CA 90265         $      2,515.10 $              0.00 $           0.00
                          ORTHOPEDIC MEDICAL
                          GROUP
                          23852 PACIFIC COAST
                          HWY 310
     002235-B             MALIBU, CA 90265    $           3,882.29 $              0.00 $           0.00
                          MELISSA MALLOY
                          154 PLUMERIA ST
     002236-A             SANTA RITA, GU 96915 $              0.00 $              0.00 $           0.00
                          VELAZQUEZ, VICTOR
                          M
                          16619 SOUTH MENLO
                          AENUE
                          APARTMENT # 111
     002237-A             GARDENA, CA 90247        $          0.00 $              0.00 $           0.00
                          TIMOTHY D. HOFFMAN
                          1410 FLORAL LANE
                          MERRITT ISLAND, FL
     002244               32952              $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          DURON, CARLOS
                          19602 NW 30TH PL
     002248               CAROL CITY, FL 33056     $    175,000.00 $              0.00 $           0.00
                          POST, GARY
                          24689 E LAKE
                          WINDERMERE RD
     002251               TREMONT, IL 61568        $      8,201.73 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002252-A             92663                    $     97,636.13 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002253-B             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY 2 SUITE 200
                          NEWPORT BEACH, CA
     002254-A             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002255-B             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY2 SUITE 200
                          NEWPORT BEACH, CA
     002256-A             92663                    $          0.00 $              0.00 $           0.00




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                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY
                          NEWPORT BEACH, CA
     002257-B             92663                    $          0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAYS2 SUITE 200
                          NEWPORT BEACH, CA
     002258-A             92663               $               0.00 $              0.00 $           0.00
                          KOLLER COATINGS
                          CORPORATION
                          2901 WEST COAST
                          HIGHWAY STE 200
                          NEWPORT BEACH, CA
     002259-B             92663                    $          0.00 $              0.00 $           0.00
                          CARLOS DURON
                          19602 NW 30TH PL
     002260               CAROL CITY, FL 33056     $    175,000.00 $              0.00 $           0.00
                          FINICLE, WILLIAM
                          118 CROMLEY RD
     002261               DANVILLE, PA 17821       $        354.44 $              0.00 $           0.00
                          PETER GODISH
                          430 ORCHARD ST
     002265-B             SCRANTON, PA 18505       $      2,300.00 $              0.00 $           0.00
                          DELABRUERE, CAROL
                          JEAN
                          426 LOCKHART
                          DAYTONA BEACH, FL
     002272               32114                    $     75,000.00 $              0.00 $           0.00
                          BECHTEL, ANDY
                          909 W GROVE PKWY
                          APT 3054
     002277               TEMPE, AZ 85283          $        100.00 $              0.00 $           0.00
                          BROWN, LEAH
                          219 E KLEINHANS ST A
     002283               EASTON, PA 18042     $             92.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
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                          THORSON,
                          CHRISTOPHER
                          100 S.WATER STREET
     002287-B             QUASQUETON, IA 52326 $              0.00 $              0.00 $           0.00
                          DACEY, TIMOTHY
                          5 DON WAY
     002288               COMMACK, NY 11725        $      3,474.84 $              0.00 $           0.00
                          AHERN, DANIEL
                          425 AVENUE A
     002289               BAYONNE, NJ 07002        $          0.00 $              0.00 $           0.00
                          SAUL A. SANCHEZ
                          22-30 STANLEY ST
     002291               UNION, NJ 07083          $      6,757.00 $              0.00 $           0.00
                          GRIFFIN, THOMAS
                          4471 SW 54TH COURT
                          DANIA BEACH, FL
     002294               33314                    $     20,000.00 $              0.00 $           0.00
                          ALBANESE, LAURIE
                          77 SPRUCE STREET
     002295-A             EDISON, NJ 08837         $          0.00 $              0.00 $           0.00
                          AMERISURE
                          INSURANCE
                          WALTON LANTAFF ET
                          AL ATTN: GREGG
                          MARGRE
                          1700 PALM BEACH
                          LAKES BLVD.
                          SUITE 700
                          WEST PALM BEACH, FL
     002296               33401               $          86,800.00 $              0.00 $           0.00
                          LEWIS ANDREW
                          3029 GLENDALE ST
                          APT 2
                          MUSKEGON HTS, MI
     002298-A             49444                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          TENNESSEE
                          DEPARTMENT OF
                          REVENUE
                          C/O ATTORNEY
                          GENERAL
                          PO BOX 20207
     002301-B             NASHVILLE, TN 37202      $        125.00 $              0.00 $           0.00
                          STEVE MANNING
                          1308 SE 31ST STREET
     002307-B             CAPE CORAL, FL 33904 $          3,273.75 $              0.00 $           0.00
                          BRINKWORTH, CHRIS
                          M
                          179 FLORY AVE
     002309-B             MOORPARK, CA 93021       $          0.00 $              0.00 $           0.00
                          BRINKWORTH CHRIS M
                          179 FLORY AVE
     002310-A             MOORPARK, CA 93021 $                0.00 $              0.00 $           0.00
                          NEAL, KENNETH
                          255 SAGE STREET
     002311               VALLEJO, CA 94589        $          0.00 $              0.00 $           0.00
                          QWEST CORPORATION
                          ATTN JANE FRAY
                          1801 CALIFORNIA ST
                          RM 900
     002312               DENVER, CO 80202   $              171.67 $              0.00 $           0.00
                          RIDENOUR COMPANY
                          43 STARVIEW WAY
                          SAN FRANCISCO, CA
     002313               94131                    $     15,067.90 $              0.00 $           0.00
                          GOLEBOCK EISEMAN
                          ASSOR BELL & PESKOE
                          LLP
                          ATTN ADAM C
                          SILVERSTEIN ESQ
                          437 MADISON AVE
     002319               NEW YORK, NY 10022  $          13,609.93 $              0.00 $           0.00




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                                                    Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                  of Claim            to Date          Payment
                          RED BULL NORTH
                          AMERICA INC
                          CHRISTOPHER E
                          PRINCE ESQ
                          SONNENSCHEIN NATH
                          & ROSENTHAL LLP
                          601 S FIGUEROA ST STE
                          2500
                          LOS ANGELES, CA
     002323               90017                 $       308,039.00 $               0.00 $           0.00
                          CENCAL ROOFING INC
                          CENCAL ENTERPRISES
                          INC
                          2030 MAIN STREET
     002324               MORROBAY, CA 93442 $         1,000,000.00 $              0.00 $           0.00
                          CAMPANELLA, MARIA
                          432 TOURNAMENT
                          DRIVE #8
     002325-A             UNION, NJ 07083   $                 0.00 $               0.00 $           0.00
                          TUCKER, MICHELE
                          66 PARKSIDE ROAD
     002326-B             PLAINFIELD, NJ 07060     $          0.00 $               0.00 $           0.00
                          COMPUTROL
                          TECHNOLOGIES
                          ATTN RON WEISS
                          2131 WANTAGH AVE
     002327               WANTAGH, NY 11793        $    187,142.31 $               0.00 $           0.00
                          RON WEISS
                          2080 WANTAGH AVE.
     002328               WANTAGH, NY 11793        $    187,142.31 $               0.00 $           0.00
                          COMPUTROL
                          TECHNOLOGIES INC
                          2131 WANTAGH
                          AVENUE
     002329               WANTAGH, NY 11793        $    187,142.31 $               0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          FOX ROTHSCHILD, LLP
                          ATTN: HAL L. BAUME,
                          ESQ.
                          PRINCETON PIKE
                          CORPORATE CENTER
                          997 LENOX DR., BLDG 3
                          LAWRENCEVILLE, NJ
     002330               08648                 $       187,142.31 $              0.00 $           0.00
                          NYS DEPT OF
                          TAXATION & FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     002332-A             ALBANY, NY 12205   $                0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          BEVERLY A KOROBKIN
                          COLLECTION
                          ENFORCEMENT UNIT
                          10 N SENATE AVE
                          INDIANAPOLIS, IN
     002333-B             46204              $              522.62 $              0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE
                          DEVELOPMENT
                          BEVERLY A KOROBKIN
                          COLLECTION
                          ENFORCEMENT UNIT
                          10 N SENATE AVE
                          INDIANAPOLIS, IN
     002334-B             46204              $               51.68 $              0.00 $           0.00
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O TN ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002342-B             NASHVILLE, TN 37202 $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MINTON, ROY
                          2545 QUAILFARM RD
                          SW
     002360               THOMSON, GA 30824        $          0.00 $              0.00 $           0.00
                          CITY OF
                          PHILADELPHIA
                          C/O ASHELY M CHAN
                          ESQUIRE
                          HANGLEY ARONCHICK
                          SEGAL & PUDLIN
                          ONE LOGAN SQUARE
                          27TH FLOOR
                          PHILADELPHIA, PA
     002369-B             19103             $            19,875.52 $              0.00 $           0.00
                          MISSISSIPPI STATE
                          TAX COMMISSION
                          BANKRUPTCY SEC-
                          MISSISSIPPI STATE
                          TAX COM
                          PO BOX 22808
     002383-B             JACKSON, MS 39225        $      3,449.68 $              0.00 $           0.00
                          MARYLAND DEP OF
                          LABOR, LICENSING
                          AND REG
                          OFFICE OF
                          UNEMPLOYMENT
                          INSURANCE
                          1100 NORTH EUTAW
                          ST, RM 401
     002384-A             BALTIMORE, MD 21201 $               0.00 $              0.00 $           0.00
                          NYS DEPARTMENT OF
                          TAXATION AND
                          FINANCE
                          BANKRUPTCY
                          SECTION
                          P O BOX 5300
     002387-A             ALBANY, NY 12205         $     52,059.51 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MARIAN C ADEN
                          TRUST
                          2899 AGOURA ROAD
                          #590
                          WESTLAKE VILLAGE,
     002389-A             CA 91361                 $          0.00 $              0.00 $           0.00
                          NYS DEPARTMENT OF
                          TAXATION AND
                          FINANCE
                          BANKRUPTCY
                          SECTION
                          PO BOX 5300
     002390-A             ALBANY, NY 12205         $          0.00 $              0.00 $           0.00
                          ST LUKE'S HOSPITAL
                          PO BOX 60182
     002398               FT MYERS, FL 33906       $      6,099.50 $              0.00 $           0.00
                          MASSACHUSETTS
                          DEPARTMENT OF
                          REVENUE
                          LITIGATION BUREAU,
                          BANKRUPTCY UNIT
                          100 CAMBRIDGE
                          STREET, 7TH FLOOR
     002401-B             BOSTON, MA 02114         $        261.66 $              0.00 $           0.00
                          STATE OF MICHIGAN
                          DEPARTMENT OF
                          TREASURY
                          ATTN: CHRISTOPHER M
                          JACOBSON
                          ASSISTANT ATTORNEY
                          GENERAL
                          CADILLAC PLACE STE
                          10-200
                          3030 W GRAND BLVD
     002412               DETROIT, MI 48202   $             932.41 $              0.00 $           0.00
                          TAMMY J. KROUSE
                          1512 WATERSIDE DR. N
     000016-B             CHESAPEAKE, VA 23320 $         17,808.67 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEL MONTE FRESH
                          PRODUCE COMPANY
                          C/O RUDY PITTALUGA
                          JR
                          HOLLAND & KNIGHT
                          LLP
                          701 BRICKELL AVE,
                          STE 3000
     000041               MIAMI, FL 33131    $                0.00 $              0.00 $           0.00
                          DEL MONTE FRESH
                          PRODUCE COMPANY
                          C/O RUDY PITTALUGA
                          JR
                          HOLLAND & KNIGHT
                          LLP
                          701 BRICKELL AVE,
                          STE 3000
     000042               MIAMI, FL 33131    $                0.00 $              0.00 $           0.00
                          DEL MONTE FRESH
                          PRODUCE COMPANY
                          C/O RUDY PITTALUGA
                          JR
                          HOLLAND & KNIGHT
                          LLP
                          701 BRICKELL AVE,
                          STE 3000
     000043               MIAMI, FL 33131    $                0.00 $              0.00 $           0.00
                          DEL MONTE FRESH
                          PRODUCE COMPANY
                          C/O RUDY PITTALUGA
                          JR
                          HOLLAND & KNIGHT
                          LLP
                          701 BRICKELL AVE,
                          STE 3000
     000044               MIAMI, FL 33131    $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEL MONTE FRESH
                          PRODUCE COMPANY
                          C/O RUDY PITTALUGA
                          JR
                          HOLLAND & KNIGHT
                          LLP
                          701 BRICKELL AVE,
                          STE 3000
     000045               MIAMI, FL 33131    $                0.00 $              0.00 $           0.00
                          OHIO BUREAU OF
                          WORKERS
                          COMPENSATION
                          LAW SECTION
                          BANKRUPTCY UNIT
                          30 W SPRING ST
                          PO BOX 15567
     000051-B             COLUMBUS, OH 43215       $        258.06 $              0.00 $           0.00
                          QUIROZ MERCEDES
                          99 LINCOLN ST
     000062               JERSEY CITY, NJ 07307    $          0.00 $              0.00 $           0.00
                          QUIROZ, MERCEDES
                          99 LINCOLN ST
     000063               JERSEY CITY, NJ 07307    $          0.00 $              0.00 $           0.00
                          SAMUEL, MONI
                          248-23-89-AVE
     000065               BELLROSE, NY 11426       $          0.00 $              0.00 $           0.00
                          JACKSON, SHERRY
                          2316 BRASHEARS
                          STREET
                          BATON ROUGE, LA
     000067               70807                    $          0.00 $              0.00 $           0.00
                          CODY, TIMOTHY A.
                          116 GRAY STONE WAY
     000068               NEWPORT, TN 37821  $                0.00 $              0.00 $           0.00
                          WILLIAMS, DEIDRA
                          4876 APPLESTONE
     000069-B             MEMPHIS, TN 38109        $        300.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MARTINEZ, HILDA
                          5050 W. 12TH LANE
     000070               HIALEAH, FL 33012        $          0.00 $              0.00 $           0.00
                          VERGARA, ROSA
                          POST OFFICE BOX 86
     000071-B             STANHOPE, NJ 07874       $        272.33 $              0.00 $           0.00
                          JOSHUA YURFEST
                          PO BOX 495
     000072               PITTSFIELD MA 01202      $          0.00 $              0.00 $           0.00
                          OBENG, ISSAC
                          136 N. 18TH ST
                          WHEATLEY HEIGHTS,
     000074               NY 11798                 $          0.00 $              0.00 $           0.00
                          HAMM, EARNEST
                          1028 S. GRANDEE
                          AVENUE
                          APARTMENT #3
     000075               COMPTON, CA 90220        $          0.00 $              0.00 $           0.00
                          TAMPA DRIVE
                          SERVICE III
                          406 RIO STREET SUITE
                          140
     000078               TAMPA, FL 33609          $          0.00 $              0.00 $           0.00
                          GUILEN-MONTANO,
                          MARIA D.
                          10729 CONDON AVE
                          APT #209
     000081               INGLEWOOD, CA 90304 $               0.00 $              0.00 $           0.00
                          GUTIERREZ, MARINA
                          8613 LOCUST
     000088               FONTANA, CA 92335        $          0.00 $              0.00 $           0.00
                          TURLEY, JEROME
                          4389 39TH ST. #7
     000091-B             SAN DIEGO, CA 92105      $      2,500.00 $              0.00 $           0.00
                          URIBE, ORLANDO
                          24969 WALNUT ST. #106
     000104-B             NEWHALL, CA 91321     $             0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PABRINKIS LYNNE
                          58 MARLBANK DRIVE
     000112-B             ROCHESTER, NY 14612      $        832.00 $              0.00 $           0.00
                          HARDY, CHARLIE
                          195W. MARKET ST #4F
     000115-B             NEWARK, NJ 07103         $        420.00 $              0.00 $           0.00
                          SALINAS, MARIA E
                          1 HURD STREET
     000118               MINE HILL, NJ 07803      $          0.00 $              0.00 $           0.00
                          BLOEM, RANDALL
                          251 SIMMELL ROAD
                          CLARKS SUMMIT, PA
     000126-B             18411                    $        760.00 $              0.00 $           0.00
                          PATRICIA L JARRETT
                          608 SE SHILOH DR
                          LEES SUMMET, MO
     000133-B             64063                    $      2,076.96 $              0.00 $           0.00
                          MOEDANO, PABLO
                          219 AVENIDA DE LA
                          PLAZA
     000146               VISTA, CA 92083          $          0.00 $              0.00 $           0.00
                          REDICARE PHYSICIANS
                          2461 NAZARETH ROAD
     000147               ESTON, PA 18045     $               0.00 $              0.00 $           0.00
                          AGUILA RAM,
                          ROBERTO
                          457 S CHATERTON
                          AVENUE
     000150-B             LA PUENTA, CA 91744      $      1,080.00 $              0.00 $           0.00
                          SMITH, RUBY
                          631 E. HICKORY
     000153               KANKAKEE, IL 60901       $          0.00 $              0.00 $           0.00
                          IRIZARRY, YVETTE
                          317 S. PRINCE ST.
     000154               LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          LYONS, THOMAS G.
                          1823 RATTAN PALM
                          DR.
     000155               NICEVILLE, FL 32578      $          0.00 $              0.00 $           0.00
                          NICOLETTI, THOMAS
                          58 PLEASANT STREET
                          HUNTINGTON, NY
     000158               11743                    $          0.00 $              0.00 $           0.00
                          MAAX-KSD
                          CORPORATION
                          KEYSTONE ROAD
                          SOUTHAMPTON, PA
     000163               18966                    $          0.00 $              0.00 $           0.00
                          RUIZ, ANA L.
                          318 N. SUMNER AVE.
     000171               SCRANTON, PA 18504       $          0.00 $              0.00 $           0.00
                          COGDELL, DARYLL
                          510 BROAD STREET
     000172-B             NEWARK, NJ 07102         $         40.00 $              0.00 $           0.00
                          CALDARO, AMANDA
                          7726 NAVARRE PKWY
                          APT. 718
     000174               NAVARRE, FL 32566        $          0.00 $              0.00 $           0.00
                          VAZQUEZ, RAFEAL
                          907 92ND AVENUE
     000188               OAKLAND, CA 94109        $          0.00 $              0.00 $           0.00
                          SCI, GARY
                          C/O ROBERT ELLIS ESQ
                          ANDERSON & HOWELL
                          2029 N THIRD SWT
                          JACKSONVILLE
     000202               BEACH, FL 32250      $              0.00 $              0.00 $           0.00
                          DUCLAYAN, MISTY
                          91-1029 APAA ST
     000204               EWA BEACH, HI 96706      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SMITH, CATHERINE
                          PO BOX 72526
                          LOS ANGELES, CA
     000206               90002                    $        900.00 $              0.00 $           0.00
                          RICH, SELINA
                          10316 MEDIA STREET
                          JACKSONVILLE, FL
     000215               32219                    $          0.00 $              0.00 $           0.00
                          HADDON, TAMMY T.
                          10316 MEDIA ST.
                          JACKSONVILLE, FL
     000216               32219                    $          0.00 $              0.00 $           0.00
                          CONTRERAS, VICTOR
                          209 7TH AVE.
     000225               PATERSON, NJ 07514       $          0.00 $              0.00 $           0.00
                          CONKLIN, FAITH
                          245 STONY FORD RD
                          MIDDLETOWN, NY
     000235               10941                    $          0.00 $              0.00 $           0.00
                          DECKER, MARY B.
                          17 MINISINK AVE.
     000238               PORT JERVIS, NY 12771 $             0.00 $              0.00 $           0.00
                          CLEARY, MONA
                          17 MINISINK AVE.
                          APARTMENT 7
     000239               PORT JERVIS, NY 12771 $             0.00 $              0.00 $           0.00
                          C. CATHERINE
                          JANNARONE, ESQ.
                          935 HIGHWAY 34 SUITE
                          2C
     000243               MATAWAN, NJ 07747    $              0.00 $              0.00 $           0.00
                          EVERHART,
                          SHAUNETTE
                          647 CREEKSTONE
                          CIRCLE
     000245               MEMPHIS, TN 38127        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ERAZO, ENNA
                          8912 VAN NUYS BLV.
                          APT. 10
                          PARONAMA CITY, CA
     000249               91402                    $          0.00 $              0.00 $           0.00
                          PHILLIPS, JUSTIN
                          4425 RODNEY
     000251-C             MEMPHIS, TN 38116        $        225.00 $              0.00 $           0.00
                          ERAZO, ENNA
                          8912 VAN NUYS BLVD.
                          APT. 10
                          PARONAMA CITY, CA
     000254               91402               $               0.00 $              0.00 $           0.00
                          BILBAO, JESUS J.
                          PO BOX 1893
                          NEW BRUNSWICK, NJ
     000255               08901                    $          0.00 $              0.00 $           0.00
                          CALHOUN,
                          CHARMAGNE
                          354 E. CHARLES
     000259               KANKAKEE, IL 60901       $          0.00 $              0.00 $           0.00
                          OLIVERA, SUSANA C.
                          22 TERRY LANE
                          APARTMENT 210
     000263               MONTICELLO, NY 12701 $              0.00 $              0.00 $           0.00
                          PAYNE, JOHN
                          5155 S.W. SHORES
                          AVENUE
     000289               ARCADIA, FL 34266        $          0.00 $              0.00 $           0.00
                          QUINTERO, JOEL
                          2055 NORTH F ST
                          SAN BERNARDINO, CA
     000294               92411              $                0.00 $              0.00 $           0.00
                          QUINTERO, ALVARO
                          2055 NORTH F STREET
                          SAN BERNARDINO, CA
     000295               92411               $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HEATHER, BRUCE
                          43348 NORTH
                          APT 111
     000299               LANCASTER, CA 93534      $          0.00 $              0.00 $           0.00
                          NOFFSINGER, SHAWN
                          E.
                          801 BROADHAG DRIVE
                          PUNTA GORDA, FL
     000303               33950              $                0.00 $              0.00 $           0.00
                          CALIF LATINO CLINIC
                          2700 N MAIN ST
                          STE 1060
     000304-B             SANTA ANA, CA 92705      $     19,689.00 $              0.00 $           0.00
                          CHIRAG N AMIN MD
                          6820 INDIANA AVE
                          SUITE 100
     000305-B             RIVERSIDE, CA 92506      $     14,984.40 $              0.00 $           0.00
                          AYALA, JOSE
                          2256 PARKSIDE AVE.
                          #201
                          LOS ANGELES, CA
     000307               90031                    $          0.00 $              0.00 $           0.00
                          AYALA, JOSE
                          2256 PARKSIDE AVE.
                          #201
                          LOS ANGELES, CA
     000308               90031                    $          0.00 $              0.00 $           0.00
                          QUEEN, ROBERT
                          3031 GRAYSON ST
     000309               BALTIMORE, MD 21216 $               0.00 $              0.00 $           0.00
                          QUEEN, ROBERT
                          3031 GRAYSON ST
     000310               BALTIMORE, MD 21216 $               0.00 $              0.00 $           0.00
                          MILLS, STANLEY
                          408 RIVER RIDGE
                          CIRCLE
     000311               BYHALIA, MS 38611        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WESTBROOK,
                          CHRISTOPHER
                          4712 CRENSHAW
                          BOULEVARD
                          LOS ANGELES, CA
     000312               90043                    $          0.00 $              0.00 $           0.00
                          GOMEZ, JOSE S
                          566 WEST 10TH STREET
                          APARTMENT #21
     000316               SAN PEDRO, CA 90731 $               0.00 $              0.00 $           0.00
                          GOMEZ, JOSE S
                          566 WEST 10TH STREET
                          APARTMENT #21
     000317               SAN PEDRO, CA 90731 $               0.00 $              0.00 $           0.00
                          GOMEZ, JOSE S
                          566 WEST 10TH STREET
                          APARTMENT #21
     000318               SAN PEDRO, CA 90731 $               0.00 $              0.00 $           0.00
                          ARTEAGA, DAVID
                          16266 VALLEYVALE
                          DRIVE
     000334               FONTANA, CA 92337        $          0.00 $              0.00 $           0.00
                          ARTEAGA, DAVID
                          16266 VALLEYVALE
                          DRIVE
     000335               FONTANA, CA 92337        $          0.00 $              0.00 $           0.00
                          LOPEZ, SAMUEL 8248
                          529 S. CHICAGO
     000336               KANKAKEE, IL 60901       $          0.00 $              0.00 $           0.00
                          MARTELL RODRIQUEZ
                          C/O 16250 VENTURA
                          BLVD
                          STE 230
     000355               ENCINO, CA 91436  $                 0.00 $              0.00 $           0.00
                          MARTELL RODRIGUEZ
                          C/O 167250 VENTURA
                          BLVD
                          STE 230
     000356               ENCINO, CA 91436   $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KEESHA NELSON
                          584 CAREY AVE. #3
                          WILKES-BARRE, PA
     000357               18702                    $          0.00 $              0.00 $           0.00
                          GIORDANO, JOSEPH
                          703 CENTER ST
     000365               DUNMORE, PA 18512        $          0.00 $              0.00 $           0.00
                          KDR INC
                          559 SOUTH ATCHINSON
                          STREET
     000366-B             ANAHEIM, CA 92805   $           2,134.97 $              0.00 $           0.00
                          SALAS, MANUEL
                          3734 EAST 52ND
                          STREET
                          APARTMENT #B
     000374-B             MAYWOOD, CA 90270        $        575.00 $              0.00 $           0.00
                          GRIMSLEY, KATHY
                          301 SOUTH LOPEZ
                          STREET
     000378               CLEWISTON, FL 33440      $          0.00 $              0.00 $           0.00
                          THADDEUS
                          KUCHARYK
                          1 MICHAEL CT
                          POMPTON PLAINS, NJ
     000435-B             07444                    $      2,175.00 $              0.00 $           0.00
                          CLAIM NUMBER
     000443               VOIDED                   $          0.00 $              0.00 $           0.00
                          GREAT AMERICAN
                          INSURANCE COMPANY
                          MICHAEL J CONOLLY
                          ESQ
                          PO BOX 1980
     000492-B             MORRISTOWN, NJ 07962 $        335,760.00 $              0.00 $           0.00
                          MILLER, DON
                          6894 TIKI DR
     000576               CYPRESS, CA 90630        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 8914
     000577-B             MADISON, WI 53708        $         65.00 $              0.00 $           0.00
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 8914
     000578-B             MADISON, WI 53708        $         25.00 $              0.00 $           0.00
                          MANCIAS, ROBERTO C.
                          7021 AVENUE E
     000581               HOUSTON, TX 77011   $               0.00 $              0.00 $           0.00
                          GODISH, PETER
                          430 ORCHARD STREET
     000583               SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00
                          BROWN, SHARON
                          592 WALNUT STREET
     000587               ELIZABETH, NJ 07201      $          0.00 $              0.00 $           0.00
                          MARTINEZ, ALAN
                          MARCOS
                          67 REVERE AVE
     000591-B             UNION, NJ 07083          $        950.88 $              0.00 $           0.00
                          KAUFMANN, JOSEPH
                          51 SIMONSON AVENUE
                          STATEN ISLAND, NY
     000592-B             10303              $              421.08 $              0.00 $           0.00
                          BOGUE, ROGER A.
                          735 N. CASWELL
     000611               POMONA, CA 91767         $          0.00 $              0.00 $           0.00
                          CORTEZ, TAYDE
                          50 VAN WINKLE
                          AVENUE
                          APARTMENT #3
     000625-B             PASSAIC, NJ 07055        $          0.00 $              0.00 $           0.00
                          BERG, VALJEAN
                          1709 HAMILTON ST SW
                          CEDAR RAPIDS, IA
     000628               52404               $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MARTELL RODRIGUEA
                          C/O 16250 VENTURA
                          BLVD
                          STE 230
     000636               ENCINO, CA 91436  $                 0.00 $              0.00 $           0.00
                          EVANS, MITTIE
                          3724 WICHITA WAY
     000637               MODESTO, CA 95350        $          0.00 $              0.00 $           0.00
                          GONZALES, ALICIA
                          PO BOX 44225
                          LOS ANGELES, CA
     000638               90044                    $          0.00 $              0.00 $           0.00
                          MARTELL RODRIGUEZ
                          C/O 16250 VENTURA
                          BLVD
                          STE 230
     000639               ENCINO, CA 91436  $                 0.00 $              0.00 $           0.00
                          MARTELL RODRIGUEZ
                          C/O 17250 VENTURA
                          BLVD
                          STE 230
     000640               ENCINO, CA 91436  $                 0.00 $              0.00 $           0.00
                          MARTELL RODRIGUEZ
                          C/O 16250 VENTURA
                          BLVD
                          STE 230
     000641               ENCINO, CA 91436  $                 0.00 $              0.00 $           0.00
                          MARTELL RODRIGUEZ
                          C/O 16250 VENTURA
                          BLVD
                          STE 230
     000642               ENCINO, CA 91436  $                 0.00 $              0.00 $           0.00
                          BROWN, MICHAEL G.
                          17424 MANOR LAND
     000644               FOUNTAIN, FL 32438       $          0.00 $              0.00 $           0.00
                          SMITH, TYRONE
                          1209 NW 63 ST
     000645-B             MIAMI ,FL 33147          $        350.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STAR FRAMING INC.
                          RE: JORGE GUERRERO
                          POST OFFICE BOX 626
                          BIG BEAR CITY, CA
     000647               92314                    $          0.00 $              0.00 $           0.00
                          BALDEMAR PEREZ
                          STAR FRAMING INC
                          PO BOX 626
                          BIG BEAR CITY, CA
     000648               92314                    $          0.00 $              0.00 $           0.00
                          JUAN R GARCIA
                          STAR FRAMING INC
                          PO BOX 626
                          BIG BEAR CITY, CA
     000649               92314                    $          0.00 $              0.00 $           0.00
                          DELFINO HERNANDEZ
                          STAR FRAMING INC.
                          PO BOX 626
                          BIG BEAR CITY, CA
     000650               92314             $                 0.00 $              0.00 $           0.00
                          GUADALUPE JACINTO
                          CID
                          STAR FRAMING INC
                          PO BOX 626
                          BIG BEAR CITY, CA
     000651               92314                    $          0.00 $              0.00 $           0.00
                          JOSEPH TOLER
                          C/O SANDRA L
                          MCAULEY ESQ
                          FINDLER & FINDLER
                          PA
                          3 HARVARD CIRCLE,
                          STE 100
                          WEST PALM BEACH, FL
     000654               33409               $               0.00 $              0.00 $           0.00
                          OSORIO RAMOS,
                          IRINEO ANGEL
                          3362 COMER AVE
     000661               RIVERSIDE, CA 92507      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CALDERON, CARLOS
                          57 SANDFORD AVE
     000670               PLAINFIELD, NJ 07060     $          0.00 $              0.00 $           0.00
                          SUAREZ, FELIX
                          609 LIBERTY AVENUE
                          APT #1
                          NORTH BERGEN, NJ
     000672-C             07047                    $        840.00 $              0.00 $           0.00
                          OLUTOLA, ADEBOLA
                          75 LENOX AVE.
                          EAST ORANGE, NJ
     000674               07018                    $          0.00 $              0.00 $           0.00
                          ROMO, WILLIAM E
                          3010 MONTEREY
                          HIGHWAY
                          SPC 33
                          SAN JOSE, CA 95111-
     000677               3214                     $          0.00 $              0.00 $           0.00
                          SOOKDEO,
                          CHANDRADEO
                          385 OAKLAND AVENUE
                          CENTRAL ISLIP, NY
     000678               11722              $                0.00 $              0.00 $           0.00
                          DUKES, MARY
                          6848 TITIAN DRIVE
                          APARTMENT #18
                          BATON ROUGE, LA
     000679               70806                    $          0.00 $              0.00 $           0.00
                          ROBERTS, MELLIE
                          4141 DEEP CREEK
                          ROAD
     000680               FREMONT, CA 94555        $          0.00 $              0.00 $           0.00
                          LASTER, DENNIS
                          631 E. HICKORY
     000681               KANKAKEE, IL 60901       $          0.00 $              0.00 $           0.00
                          HURTADO, PEDRO
                          PO BOX 1002
     000682-B             HOLBROOK, NY 11741       $      1,600.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SISTOSO, GEORGE
                          3860 SPRINGFIELD CMN
     000683               FREMONT, CA 95121    $              0.00 $              0.00 $           0.00
                          CHICO, AMANDA
                          51 MIDLAND
     000684               MUNDELEIN, IL 60060      $          0.00 $              0.00 $           0.00
                          JONES, SHANQUWIL
                          19 ELMWOOD DR.
     000685               KANKAKEE, IL 60901       $          0.00 $              0.00 $           0.00
                          ANGELIS, JAMIE N.
                          5732 NW 47TH COURT
                          CORAL SPRINGS, FL
     000688               33067                    $          0.00 $              0.00 $           0.00
                          MANNING, HUBERT
                          4628 EAGLEWAY
     000689-B             CRESTVIEW, FL 32539      $      3,980.00 $              0.00 $           0.00
                          BENNETT, JAMES
                          114 BELLES CHASE CT
                          ST AUGUSTINE, FL
     000692               32086                    $          0.00 $              0.00 $           0.00
                          GOLEY, SHAMICA
                          26110 W 12 MILE RD
                          APT 250
     000694               SOUTHFIELD, MI 48034 $              0.00 $              0.00 $           0.00
                          BALDEZ, ISABELA
                          414 N COLLINGTON ST
     000697               BALTIMORE, MD 21231 $               0.00 $              0.00 $           0.00
                          BALDEZ, ISABELA
                          414 N COLLINGTON ST
     000698               BALTIMORE, MD 21231 $               0.00 $              0.00 $           0.00
                          CASTILLO, FRANSISCO
                          E.
                          229 EAST 24TH STREET
     000710-B             PATERSON, NJ 07514   $          2,123.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SUNSHINE AIR AND
                          ARC INC
                          PO BOX 245174
                          PEMBROKE PINES, FL
     000713               33024                    $          0.00 $              0.00 $           0.00
                          RHOADES, BRENDA
                          16234 W RANCHO VIEJO
                          COURT
     000715               TRACY, CA 95304      $              0.00 $              0.00 $           0.00
                          JORDAN RICHARD S
                          5303 GROVE HILL RD
     000721               TAMPA, FL 33617          $          0.00 $              0.00 $           0.00
                          CANALAS, HENRY J.
                          15165 WASHINGTON
                          DRIVE
     000723               FONTANA, CA 92335        $          0.00 $              0.00 $           0.00
                          SMITH, RUSSELL
                          3105 JACKSON PL
     000726               ANTIOCH, CA 94509        $          0.00 $              0.00 $           0.00
                          CAPETILLO, VICTOR
                          543 COLONIA DE LOS
                          CEDRO
                          BLDG 65
                          LOS ANGELES, CA
     000736               90022                    $          0.00 $              0.00 $           0.00
                          KB TOYS
                          100 WEST ST
                          ATTN: ACCT PAYABLE
     000737               PITTSFIELD, MA 01201 $              0.00 $              0.00 $           0.00
                          HUDSON, JAMES K
                          36024 GODDARD RD
     000739               ROMULUS, MI 48174        $          0.00 $              0.00 $           0.00
                          VERMONT DEPT OF
                          TAXES
                          PO BOX 429
     000744-B             MONTPELIER, VT 05601 $              3.42 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GENERAL ELECTRIC
                          CAPITAL CORP
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     000747-B             52404                    $        577.16 $              0.00 $           0.00
                          GENERAL ELECTRIC
                          CAPITAL CORP
                          1010 THOMAS EDISON
                          BLVD SW
                          CEDAR RAPIDS, IA
     000749-B             52404                    $      1,731.48 $              0.00 $           0.00
                          BLANCHARD, RUSSELL
                          S
                          PO BOX 401351
     000753               HESPERIA, CA 92340 $                0.00 $              0.00 $           0.00
                          AMERISURE
                          INSURANCE
                          ATTN: GREE MARGRE
                          EWQ
                          1700 PALM BEACH
                          LAKES BLVD
                          STE 70
                          WEST PALM BEACH, FL
     000754               33401               $               0.00 $              0.00 $           0.00
                          LIVERNOIS, MARIANNE
                          408 LAKEHURST ROAD
     000758               LAS VEGAS, NV 89145 $               0.00 $              0.00 $           0.00
                          MORENO, JOSE LUIS
                          4348 W. 179TH ST,
     000761               TORRANCE, CA 90504       $          0.00 $              0.00 $           0.00
                          WILSON MONTERO JR
                          18 3RD ST
     000764               SAYREVILLE, NJ 08872     $          0.00 $              0.00 $           0.00
                          CHILDERS, JOHNNY
                          5332 LAKE WORTON RD
                          WO. C2
                          GREEN ACRES, FL
     000771               33463               $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CORREA, FRANK
                          7737 ULMERTON ROAD
                          #101
     000772               LARGO, FL 33771    $                0.00 $              0.00 $           0.00
                          ARREDONDO,
                          GUADALUPE
                          833 N. GLADSTONE
                          AVE
                          APT 9
     000774-B             AURORA, IL 60506         $        138.53 $              0.00 $           0.00
                          GELZIER, DWAYNE
                          400 RACE STREET
                          CHARLESTOWN, SC
     000775               29403                    $          0.00 $              0.00 $           0.00
                          AMADOR, EMMA
                          328 DEL RIOWAY
     000777               VISTA, CA 92083          $          0.00 $              0.00 $           0.00
                          TOLES, JERALD M.
                          4455 LAIRD
     000780               MEMPHIS, TN 38141        $          0.00 $              0.00 $           0.00
                          ENTERPRISE
                          INTERIORS INC
                          ATTN: MAURICE
                          WAINER
                          SNIPPER WAINER &
                          MARKOFF
                          270 N CANON DR
                          PENTHOUSE
                          BEVERLY HILLS, CA
     000781               90210                    $          0.00 $              0.00 $           0.00
                          CRISP, MARIE
                          4064 E DWIGHT WAY
                          #101
     000782               FRESNO, CA 93702         $          0.00 $              0.00 $           0.00
                          CRISP, MARIE
                          4064 E DWIGHT WAY
                          #101
     000783               FRESNO, CA 93702         $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CRUZADO, HIPOLITO
                          138 PORT AVENUE
     000784-B             ELIZABETH, NJ 07206      $        640.00 $              0.00 $           0.00
                          TIRADO, WILLIAM
                          CARR 341
                          BUZON 6072
                          BARRIO MANI
     000788               MAYAGUEZ, PR 00680       $          0.00 $              0.00 $           0.00
                          MAGERA, JAMES
                          315 LONGNECK STREET
     000790               BUFFALO, NY 14206   $               0.00 $              0.00 $           0.00
                          ROBERTS, ANDREW
                          106 STEPHENSON
                          DONALDSON
                          CRAWFORDVILLE, FL
     000794               32327                    $          0.00 $              0.00 $           0.00
                          ROBERTS, ANDREW
                          106 STEPHENSON
                          DONALDSON
                          CRAWFORDVILLE, FL
     000795               32327                    $          0.00 $              0.00 $           0.00
                          JACKSON, OLIVIA
                          508 LINCOLN CIRCLE
                          WASHINGTON, GA
     000797-B             30673                    $        500.00 $              0.00 $           0.00
                          MARROQUIN, FANNY
                          10460 SULTANA AVE.
     000800               FONTANA, CA 92337        $          0.00 $              0.00 $           0.00
                          BENNETT JAMES
                          114 BELLES CHASE CT
                          ST AUGUSTINE, FL
     000801               32086                    $          0.00 $              0.00 $           0.00
                          BENNETT JAMES
                          114 BELLES CHASE CT
                          ST AUGUSTINE, FL
     000802               32086                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          BENNETT JAMES
                          114 BELLES CHASE CT
                          ST AUGUSTINE, FL
     000803               32086                    $          0.00 $              0.00 $           0.00
                          BENNETT JAMES
                          114 BELLES CHASE CT
                          ST AUGUSTINE, FL
     000804               32086                    $          0.00 $              0.00 $           0.00
                          TRI-STATE TREE
                          SERVICE
                          PO BOX 36220
     000805               PENSACOLA, FL 32516      $          0.00 $              0.00 $           0.00
                          ENGLAND, BEN D.
                          514 BENJULYN RD
                          CANTON MENT, FL
     000806               32533                    $          0.00 $              0.00 $           0.00
                          CLAIM NUMBER
     000899               VOIDED                   $          0.00 $              0.00 $           0.00
                          CLAIM NUMBER
     000913               VOIDED                   $          0.00 $              0.00 $           0.00
                          MR. DEANE J. DRABIK
                          6844 TOBIK TRL
     000936-B             PARMA, OH 44130          $      3,120.82 $              0.00 $           0.00
                          HEIDI S. GOMEZ
                          560 S. LASALLE ST
     000966               AURORA, IL 60508         $          0.00 $              0.00 $           0.00
                          SUSAN D. HALL
                          1216 STANLEY STREET
                          BURNS HARBOR, IN
     000989-B             46304               $           3,178.40 $              0.00 $           0.00
                          CLAIM NUMBER
     001118               VOIDED                   $          0.00 $              0.00 $           0.00
                          JAMELLA PALMER
                          678 MCKINLEY
                          AVENUE
     001134               AKRON, OH 44306          $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DOUG LAFRANCE
                          117 KESTIEL RD
                          MOUNTAIN TOP, PA
     001142               18707                    $          0.00 $              0.00 $           0.00
                          KAREN A MONTERRO
                          18 THIRD ST
     001149               SAYREVILLE, NJ 08872     $          0.00 $              0.00 $           0.00
                          HOSKINS, MARILYN
                          225 ARCADE BLVD.
                          SACRAMENTO, CA
     001151               95815                    $          0.00 $              0.00 $           0.00
                          DAVILA, MARITZA
                          8936 GUAVA COURT
     001157               FONTANA, CA 92335        $          0.00 $              0.00 $           0.00
                          MONARCH TREE
                          SERVICE
                          7290 EQUUS LANE
     001159-B             VACAVILLE, CA 95688      $     27,626.00 $              0.00 $           0.00
                          CEPEDA, ELIZABETH
                          165 BUTLER STREET
     001172               PATERSON, NJ 07524       $          0.00 $              0.00 $           0.00
                          CEPEDA, ELIZABETH
                          165 BUTLER STREET
     001173               PATERSON, NJ 07524       $          0.00 $              0.00 $           0.00
                          GREEN, RENESSA
                          PO BOX 6415
     001176               SAN PABLO, CA 94610      $          0.00 $              0.00 $           0.00
                          GREEN, RENESSA
                          PO BOX 6415
     001177               SAN PABLO, CA 94610      $          0.00 $              0.00 $           0.00
                          MONARCH TREE
                          SERVICE
                          7290 EQUUS LANE
     001186-B             VACAVILLE, CA 95688      $     19,743.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HEISLER & BRAY
                          ATTORNEYS AT LAW
                          6351 OWENSMOUTH
                          AVE STE 100
                          WOODLAND HILLS, CA
     001187               91367              $                0.00 $              0.00 $           0.00
                          ST AUGUSTINE
                          ALLIGATOR FARM INC
                          999 ANATASIA BLVD
                          ST AUGUSTINE, FL
     001188-B             32080              $            5,427.60 $              0.00 $           0.00
                          CHANCELLOR,
                          SANDRA E
                          3451 MAIKAI DR
     001190               PENSACOLA, FL 32526      $          0.00 $              0.00 $           0.00
                          THOMAS, ELMER L
                          POST OFFICE BOX 13
     001191-B             ATLANTIC, VA 23302       $      2,121.28 $              0.00 $           0.00
                          CARFE INC DBA
                          HANDYMAN
                          110 S. ROSEMEAD
                          BLVD SUITE G
     001192-B             PASADENA, CA 91107       $      4,680.05 $              0.00 $           0.00
                          WILLIAMS, DARRELL
                          D.
                          413 S MYRTLE AVENUE
     001193               SANFORD, FL 32771   $               0.00 $              0.00 $           0.00
                          HERNANDEZ, ALMA
                          3528 W 57TH PLACE
     001194               CHICAGO, IL 60632        $          0.00 $              0.00 $           0.00
                          BENJAMIN, ADAM
                          4153 IDAHO ST
     001205               SAN DIEGO, CA 92104      $          0.00 $              0.00 $           0.00
                          SEABERRY, MICHAEL
                          6300-C SHANDA DR.
     001206               RALEIGH, NC 27609        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          OFC OF
                          UNEMPLOYMENT
                          COMPENSATION TAX
                          SVC
                          ATTN: HARRISBURG
                          BKCY & COMPLIANCE
                          OFC
                          COMMONWEALTH OF
                          PA - DEPT OF LABOR &
                          IND
                          1171 S CAMERSON ST
                          RM 312
     001214-B             HARRISBURG, PA 17104 $            106.70 $              0.00 $           0.00
                          MORENO, JOSE LUIS
                          4348 W 179 TH ST
     001222               TORRANCE, CA 90504       $          0.00 $              0.00 $           0.00
                          MURRAY,
                          MACARTHUR
                          3352 NW 53ST
     001228               MIAMI, FL 33142          $          0.00 $              0.00 $           0.00
                          MURRAY,
                          MACARTHUR
                          3352 NW 53 ST
     001229               MIAMI, FL 33142          $          0.00 $              0.00 $           0.00
                          HEIDI J SUROCK
                          9303 BELLBECK RD
     001234-B             BALTIMORE, MD 21234 $             902.00 $              0.00 $           0.00
                          MORRIS, TYRONE
                          2833 MARKET STREET
     001241               OAKLAND, CA 94602        $          0.00 $              0.00 $           0.00
                          ARCINIEGA,
                          HERMELINDA
                          471 WEST 21ST STREET
                          SAN BERNARDINO, CA
     001242               92405                $              0.00 $              0.00 $           0.00
                          NIETO, MARTHA
                          240 NEVADA AVE 17
     001249               VISTA, CA 92084          $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MEJIA, AGUSTINA
                          658 1/2 COLUMBIA
                          AVENUE
     001255               LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          HIDALGO, JUAN C
                          658 1/2 COLUMBIA
                          AVENUE
     001257               LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          PETER, ZOLITAN M.
                          80 LAFAYETTE LANE
     001259-B             ELKHORN, WI 53121        $        500.00 $              0.00 $           0.00
                          GRACIELA MARTINEZ
                          322 1/2 E STATION ST
     001260-B             KANDAKEE, IL 60901       $        896.00 $              0.00 $           0.00
                          ANDERSON, CHRIS E.
                          1041 WALNUT ST.
                          JACKSONVILLE, FL
     001261               32206                    $          0.00 $              0.00 $           0.00
                          DUMONT,
                          CHRISTOPHER J.
                          1248 SUNNYVALE
                          SARATOGA
                          APT #2
     001262               SUNNYVALE, CA 94087 $               0.00 $              0.00 $           0.00
                          CONWAY, JOSEPH E.
                          5034 SW 8TH PLACE
     001264               CAPE CORAL, FL 33901 $              0.00 $              0.00 $           0.00
                          MONARCH TREE
                          SERVICE
                          7290 EQUUS LN
     001266-B             VACAVILLE, CA 95688      $      2,062.00 $              0.00 $           0.00
                          PIEL, L. REGINALD
                          5109 ROWE TRAIL
     001272               PACE, FL 32571           $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HEISLER & BRAY
                          ATTORNEYS AT LAW
                          6351 OWENSMOUTH
                          AVE STE 100
                          WOODLAND HILLS, CA
     001277               91367              $                0.00 $              0.00 $           0.00
                          BUDDS, JASON
                          12376 ANTLER HILL
                          LANE
                          JACKSONVILLE, FL
     001279               32224                    $          0.00 $              0.00 $           0.00
                          MOSS, LOUIS
                          1509 RAINBOW RD
     001281               CHARLESTON, SC 29412 $              0.00 $              0.00 $           0.00
                          COLEMAN, JAY C.
                          110 NORTON STREET
     001285               SAVANNAH, GA 31404       $          0.00 $              0.00 $           0.00
                          HENRIQUEZ, PORFIRIO
                          A.
                          8603 WYSTONE AVE.
     001300               NORTHRIDGE, CA 91324 $              0.00 $              0.00 $           0.00
                          ANNETTE PALMATEER
                          130 WATER ST.
                          WADSWORTH, OH
     001307-B             44281             $             1,113.64 $              0.00 $           0.00
                          MARTIN
                          BROTHERS/MARCOWA
                          LL INC
                          17104 SOUTH FIGEROA
                          STREET
     001308               GARDENA, CA 90248   $               0.00 $              0.00 $           0.00
                          MONSALVE, JUAN
                          CARLOS
                          74 MYRTLE AVE
     001310               DOVER, NJ 07801          $          0.00 $              0.00 $           0.00
                          SOLIS, JUAN
                          PO BOX 1534
     001317               DOVER, NJ 07802          $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CASIAN, MARIA
                          2470 KATHRYN AVE
     001318               POMONA, CA 91766         $          0.00 $              0.00 $           0.00
                          DEBRA A DAVIS
                          13408 120TH AVE
                          GRAND HAVEN, MI
     001320-B             49417                    $      2,303.74 $              0.00 $           0.00
                          MAUREEN E CRUZ
                          756 W VINE ST
     001325-B             LANCASTER, PA 17603      $        827.71 $              0.00 $           0.00
                          AIDALIS LOPEZ
                          1001 AYRES CT.
     001326-B             LANCASTER, PA 17602      $      3,735.60 $              0.00 $           0.00
                          LUCY A RAPHAELPAL
                          908 RHODE ISLAND
                          STREET
                          APT A
                          SAN FRANCISCO, CA
     001328               94107                    $          0.00 $              0.00 $           0.00
                          GALARCEP, MAURICIO
                          842 SW 14 AVE #1
     001334               MIAMI, FL 33135    $                0.00 $              0.00 $           0.00
                          SCHROEDER, JOHN K.
                          503 EDGEWATER
                          DRIVE
     001338               PENSACOLA, FL 32507      $          0.00 $              0.00 $           0.00
                          AYBAR GARAICOA
                          45 ROSSITER AVE
     001343-B             PATERSON, NJ 07502       $        360.00 $              0.00 $           0.00
                          HOLDREN INSURANCE
                          AGENCY
                          171 S ANITA DR #212
     001345               ORANGE, CA 92868    $               0.00 $              0.00 $           0.00
                          ESPINAL, ELIAS
                          268 LINDEN AV
     001346               BELLEVILLE, NJ 07109     $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          LAMM CONSTRUCTION
                          3222 LORRINE DR STE
                          D
     001358               ORLANDO, FL 32803   $               0.00 $              0.00 $           0.00
                          HALL, HAROLD
                          354 KERKIMER STREET
     001362               BUFFALO, NY 14213   $               0.00 $              0.00 $           0.00
                          CLAIM NUMBER
     001363               VOIDED                   $          0.00 $              0.00 $           0.00
                          ESPINOZA, RIGOBERTO
                          11731 PUERTO REAL RD
     001364               FONTANA, CA 92337    $              0.00 $              0.00 $           0.00
                          MV TRANSPORTATION
                          and those persons
                          listed on Attachment A
                          360 CAMPUS LANE
     001367               FAIRFIELD, CA 94345    $            0.00 $              0.00 $           0.00
                          LEWIS, RICHARD
                          109 SOFTWIND CIRCLE
                          BALDWINSVILLE, NY
     001368               13027               $               0.00 $              0.00 $           0.00
                          DIMANE
                          CONSTRUCTION
                          3545 US 1 S
                          ST AUGUSTINE, FL
     001370               32086                    $          0.00 $              0.00 $           0.00
                          VIZCAINO-RODRIQUEZ,
                          ROSA E.
                          15571 1/2 BINNET ST.
                          HACIENDA HTS., CA
     001372               91745                $              0.00 $              0.00 $           0.00
                          DEHAVE, ALBERT
                          183 E. GROVE ST.
                          EDWARDSVILLE, PA
     001375               18704                    $          0.00 $              0.00 $           0.00
                          MARLIN, LEE B,.
                          1204 S OAK AVENUE
     001376               SANFORD, FL 32771        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          ELLISON, DAVID C.
                          19571 COVELL ST
     001381               RIVERSIDE, CA 92508      $          0.00 $              0.00 $           0.00
                          JIMENEZ, GILBERTO
                          9635 BASELINE #146
                          RANCH CUCAMONGA,
     001387               CA 91730                 $          0.00 $              0.00 $           0.00
                          ENTERPRISE BUILDERS
                          INC
                          4025 GUASTI ROAD
                          SUITE 409
     001389               ONTARIO, CA 91761   $               0.00 $              0.00 $           0.00
                          CISNEROS, LUCIA
                          161 E. FULTON
                          APT 201
     001391               AURORA, CO 80010         $          0.00 $              0.00 $           0.00
                          MORENO JOSE LUIS
                          4348 W 179TH ST
     001392               TORRANCE, CA 90504       $          0.00 $              0.00 $           0.00
                          GOMEZ, RIGOBERTO
                          80 RAEMERE ST.
     001394               CAMARILLO, CA 93010      $          0.00 $              0.00 $           0.00
                          BRIAN DORMAN
                          CONSTRUCTION
                          4182 CITRUS DR.
     001396               FALLBROOK, CA 92028 $               0.00 $              0.00 $           0.00
                          GIBSON, DOUGLAS
                          1707 NE 42ND COURT
                          POMPANO BEACH, FL
     001399               33064                    $          0.00 $              0.00 $           0.00
                          MARGOT ROSEBERRY
                          263 BARKSDALE DR
                          CHARLESTOWN, WV
     001404               25414                    $          0.00 $              0.00 $           0.00
                          DUARTE, EPIGMENIA
                          793 E. 47TH STREET
                          LOS ANGELES, CA
     001435               90011                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          RODRIGUEZ,
                          BENJAMIN
                          16205 KLAMATH ST.
     001436               VALINDA, CA 91744        $          0.00 $              0.00 $           0.00
                          SNIPES, RONNIE
                          PO BOX 2
     001438               BOSTWICK, FL 32007       $          0.00 $              0.00 $           0.00
                          BENSON, JOHN
                          1541 W. 3RD STREET
     001442-B             SANTA ROSA, CA 98525 $          2,800.00 $              0.00 $           0.00
                          CASHEN, WILLIAM G.
                          1561 NAPLES CIRCLE
     001448               DELTONA, FL 32738        $          0.00 $              0.00 $           0.00
                          EXCUS, ELITUS
                          719 EXECUTIVE
                          CENTER CR.
                          APARTMENT C208
                          WEST PALM BEACH, FL
     001450               33401               $               0.00 $              0.00 $           0.00
                          MONTIEL, LUZ Z.
                          1012 ROSEWOOD AVE
     001454               INGLEWOOD, CA 90302 $               0.00 $              0.00 $           0.00
                          JACKSON, MELINDA S.
                          6790 GILDA CRT
                          KEYSTONE HEIGHTS,
     001458               FL 32656            $               0.00 $              0.00 $           0.00
                          BARR, ANJEANNETTE
                          5731 DEWEY BLVD.
                          APT G
                          SACARAMENTO, CA
     001459-B             95824                    $        242.00 $              0.00 $           0.00
                          ROBINSON, KATHRYN
                          3011 RALEIGH DR
     001463               STOCKTON, CA 95209       $          0.00 $              0.00 $           0.00
                          BAKER, FRED R.
                          214 LULLWATER DRIVE
                          PANAMA CITY, FL
     001464               32413               $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          WILLIAMS, JEANNIE
                          3731 56TH ST.
                          SACRAMENTO, CA
     001466               95820                    $          0.00 $              0.00 $           0.00
                          BROWN, JOSHUA K.
                          3805 THE LORDS WAY
     001467               NAPLES, FL 34114         $          0.00 $              0.00 $           0.00
                          BROWN, JOSHUA K.
                          9405 MARINO CI
     001468               NAPLES, FL 34114         $          0.00 $              0.00 $           0.00
                          BERUMEN, JOSE
                          504 EAST 29TH STREET
                          SAN BERNARDINO, CA
     001472               92404                $              0.00 $              0.00 $           0.00
                          GONZALEZ, VIRGINIA
                          20 BETHANY ST.
                          1ST FLOOR
                          NEW BRUNSWICK, NJ
     001477               08901                    $          0.00 $              0.00 $           0.00
                          MORTENSON,
                          RAYMOND
                          9 SENECA STREET
                          STATEN ISLAND, NY
     001479-B             10310                    $      3,200.00 $              0.00 $           0.00
                          JACKSON, FRANCES
                          220 64TH STREET
                          APT 12
                          WEST NEW YORK, NJ
     001482-B             07093                    $        243.02 $              0.00 $           0.00
                          MADRIGAL, MANUEL
                          1615 E WASHINGTON
                          ST
     001488               STOCKTON, CA 95205       $          0.00 $              0.00 $           0.00
                          MEDEIROS, NORMAN
                          19973 AUGUST AVE.
     001491               HILMAR, CA 95324         $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          FUSCO, SALVATORE
                          1160 HINCHEY ROAD
     001495               ROCHESTER, NY 14624      $          0.00 $              0.00 $           0.00
                          BELLIDO, GIOVANNY
                          21 SOUTH SPRING ST.
                          APT 1
     001504-B             ELIZABETH, NJ 07201      $      1,335.44 $              0.00 $           0.00
                          BECERRA, MARIA E.
                          5027 HALLDALE
                          AVENUE
                          LOS ANGELES, CA
     001505               90062                    $          0.00 $              0.00 $           0.00
                          MCKENZIE, DEANDRE
                          23 FARLEY AVE
     001506-B             NEWARK, NJ 07103         $        350.00 $              0.00 $           0.00
                          PROFITT, SHAUN D.
                          9168 WINCHESTER RD
     001508-B             CLAY CITY, KY 40312      $      4,500.00 $              0.00 $           0.00
                          PROFILT, SHAWN D.
                          9168 WINCHESTER RD
     001509               CLAY CITY, KY 40312      $          0.00 $              0.00 $           0.00
                          PROFITTS, SHAUN D.
                          9168 WINCHESTER RD
     001510               CLAY CITY, KY 40312      $          0.00 $              0.00 $           0.00
                          MENDEZ, JAMES
                          52 ELM HILL RD
     001512               CLIFTON, NJ 07013        $          0.00 $              0.00 $           0.00
                          MENDEZ, JAMES
                          52 ELM HILL RD.
     001513               CLIFTON, NJ 07013        $          0.00 $              0.00 $           0.00
                          MCGEE, NIKKIYA
                          23 FARLEY AVE
     001514-B             NEWARK, NJ 07108         $        300.00 $              0.00 $           0.00
                          SONDERS, GLORIA
                          1640 TYROL LN
     001515               STOCKTON, CA 95207       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SONDERS, GLORIA
                          1640 TYROL LN
     001516               STOCKTON, CA 95207       $          0.00 $              0.00 $           0.00
                          DELGADO, AIDEL
                          447 64TH STREET
                          APARTMENT 9
                          WEST NEW YORK, NJ
     001517               07093                    $          0.00 $              0.00 $           0.00
                          DORADO, ANGEL
                          221 E. OLIVE ST
                          APT C
                          SAN BERNANDINO, CA
     001518               92410              $                0.00 $              0.00 $           0.00
                          VARNADO, THELMA
                          44115 17TH ST E
     001519               LANCASTER, CA 93535      $          0.00 $              0.00 $           0.00
                          KENNEDY, EMORY
                          283 N.W. 212 TERRACE
     001544               MIAMI, FL 33056          $          0.00 $              0.00 $           0.00
                          RIOFRIO, MARIA
                          427 67TH STREET
                          APT 3
                          WEST NEW YORK, NJ
     001545               07093                    $          0.00 $              0.00 $           0.00
                          FORTERE, JACQUES
                          1141 PRESIDENT ST 2D
     001547               BROOKLYN, NY 11225       $          0.00 $              0.00 $           0.00
                          SULLY, BERTONY
                          1333 BUTLER ST
     001549               READING, PA 19601        $          0.00 $              0.00 $           0.00
                          PITTS, NATHANIEL
                          2152 PAULDO ST
     001550               FT MYERS, FL 33916       $          0.00 $              0.00 $           0.00
                          SANTANA, MARIA
                          15624 AMAR RD APT #H
     001551               LA PUENTE, CA 91744  $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SANTANA, ALEJANDRO
                          15624 AMAR RD APT #H
     001552               LA PUENTE, CA 91744  $              0.00 $              0.00 $           0.00
                          LINDRES, FLORINDA
                          200 E. JERSEY ST
                          APT 1E
     001553               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          LINDRES, FLORINDA
                          200 E. JERSEY ST.
                          APT 1E
     001554               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          WILLIAMS, KENNON
                          4585 CRUMP ROAD
     001556               MEMPHIS, TN 38118        $          0.00 $              0.00 $           0.00
                          CORTEX, TAYDE
                          50 VAN WINKLE
                          AVENUE
                          APARTMENT #3
     001559               PASSAIC, NJ 07055        $          0.00 $              0.00 $           0.00
                          GUTIERREZ ANTONIA
                          3860 CHEROKEE AVE #6
     001564               SAN DIEGO, CA 92104  $              0.00 $              0.00 $           0.00
                          ANTONIA GUTIERREZ
                          3860 CHEROKEE AVE #6
     001565               SAN DIEGO, CA 92104  $              0.00 $              0.00 $           0.00
                          NASH, YVETTE
                          253 MAGNOLIA AVE
     001567               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          AVILA, JOSE A
                          716 NORTH 12TH
                          STREET
     001568               READING, PA 19604        $          0.00 $              0.00 $           0.00
                          GODISH, PETER
                          430 ORCHARD STREET
     001569               SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GONZALEZ, VIRGINIA
                          20 BETHANY ST.
                          1ST FLOOR
                          NEW BRUNSWICK, NJ
     001572               08901                    $          0.00 $              0.00 $           0.00
                          ROSIER, ANTHONY
                          321 N. CAHOON RD.
                          JACKSONVILLE, FL
     001587               32220                    $          0.00 $              0.00 $           0.00
                          ANDERSON, DORIS E
                          4975 INTERNATIONAL
                          AV.
     001593               MIMS, FL 32754           $          0.00 $              0.00 $           0.00
                          PATEL, NAVNEET K
                          616 WYNDHAM CT
                          ORANGE PARK, FL
     001596               32073                    $          0.00 $              0.00 $           0.00
                          POULOS, ALLISON
                          32448 CROWN VALLEY
                          PKWY APT 103
     001597               DANA POINT, CA 92629 $              0.00 $              0.00 $           0.00
                          MARIA (Illegible)
     001598               ORANGE, NJ 07080         $          0.00 $              0.00 $           0.00
                          WRIGHT, KAREN
                          110 S MARE AVE
                          HOWEY IN HLS, FL
     001602               34737                    $          0.00 $              0.00 $           0.00
                          VALLE, DOMITILIA
                          500 SOUTH EATON ST
     001604-B             BALTIMORE, MD 21205 $             640.00 $              0.00 $           0.00
                          VARGAS, MOISES
                          19055 ENVOY AVE
     001605-B             CORONA, CA 92881         $      3,500.00 $              0.00 $           0.00
                          WEBBER, BETTY
                          7121 EASTONDALE AV
     001608               LONG BEACH, CA 90805 $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DAVIS, TED L.
                          5515 118TH STREET
                          LOT #175
                          JACKSONVILLE, FL
     001610               32244                    $          0.00 $              0.00 $           0.00
                          TOWERS, TAWANA
                          2154 DUBLIN
     001613               MEMPHIS, TN 38114        $          0.00 $              0.00 $           0.00
                          DANIELS PAULA
                          8 MIDWAY COURT
     001614               DALY CITY, CA 94014      $          0.00 $              0.00 $           0.00
                          TENNISON, DAVID
                          10914 KELSO CT,
     001615               SONORA, CA 95370         $          0.00 $              0.00 $           0.00
                          COVARRABIAS, LINA
                          17581 SHAMROCK
     001616               FONTANA, CA 92336        $          0.00 $              0.00 $           0.00
                          CONYERS, TYRONE L
                          724 SOUTH QUEEN
                          STREET
     001617               LANCASTER, PA 17602      $          0.00 $              0.00 $           0.00
                          VALADEZ, JAIME
                          2204 WOODRALE AVE
     001622               READING, PA 19606        $          0.00 $              0.00 $           0.00
                          RAMIREZ, GUILLERMO
                          P.
                          15853 LOS CEDROS
     001625               FONTANA, CA 92336  $                0.00 $              0.00 $           0.00
                          RAMIREZ, GUILLERMO
                          P.
                          15853 LOS CEDROS
     001626               FONTANA, CA 92336  $                0.00 $              0.00 $           0.00
                          MEREDITH, LESTER
                          2505 ACTION ST.
     001627               BERKLEY, CA 94702        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MEREDITH LESTER
                          2505 ACTION ST
     001628               BERKLEY, CA 94702        $          0.00 $              0.00 $           0.00
                          MEREDITH, LESTER
                          2505 ACTION ST.
     001629               BERKELEY, CA 94702       $          0.00 $              0.00 $           0.00
                          MEREDITH, LESTER
                          2505 ACTION ST
     001630               BERKLEY, CA 94702        $          0.00 $              0.00 $           0.00
                          MIRANDA, VIRGINIA
                          73 W GARRISON ST APT
                          A
     001634               BETHLEHEM, PA 18108 $               0.00 $              0.00 $           0.00
                          MIRANDA VIRGINIA
                          73 W GARRISON ST APT
                          A
     001635               BETHLEHEM, PA 18108 $               0.00 $              0.00 $           0.00
                          MIRANDA, VIRGINIA
                          73 W GARRISON ST APT
                          A
     001636               BETHLEHEM, PA 18108 $               0.00 $              0.00 $           0.00
                          MIRANDA VIRGINIA
                          73 W GARRISON ST APT
                          A
     001637               BETHLEHEM, PA 18108 $               0.00 $              0.00 $           0.00
                          RAY, JONATHON
                          8540 TAYLORFIELD RD.
                          JACKSONVILLE, FL
     001638               32244                $              0.00 $              0.00 $           0.00
                          MILLER, CINDY
                          115 CHERRY
                          GREEN VALLEY, IL
     001641               61534                    $          0.00 $              0.00 $           0.00
                          MILLER, CINDY
                          115 CHERRY
                          GREEN VALLEY, IL
     001642               61534                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MIDFLORIDA
                          ORTHOPAEDICS PA
                          441 MAITLAND
                          AVENUE
                          ALTAMONTE SPRINGS,
     001643               FL 32701           $                0.00 $              0.00 $           0.00
                          PASTOR, MARIA G.
                          2706 PARKWAY DR
     001645-B             EL MONTE, CA 91732       $        500.00 $              0.00 $           0.00
                          PASTOR, MARIA G.
                          3905 PEN MAR
     001646               EL MONTE, CA 91732       $          0.00 $              0.00 $           0.00
                          RIECKE, MICHAEL W.
                          1618 SUMMIT LAKE RD.
                          CLARKS SUMMIT, PA
     001651               18411                $              0.00 $              0.00 $           0.00
                          DE LA HOZ, MAYRA
                          8173 ROBINWOOD DR.
     001653-B             TOBYHANNA, PA 18466 $             223.00 $              0.00 $           0.00
                          GARRIDO, JOSE
                          300 W. LOS ANGELES
                          DR.
                          APT. J7
     001655               VISTA, CA 92083          $          0.00 $              0.00 $           0.00
                          MOORE, ERIC
                          1650 S CAMPUS AVE 69
     001657               ONTARIO, CA 91761    $              0.00 $              0.00 $           0.00
                          SISTOSO GEORGE
                          3860 SPRINGFIELD CMN
     001658               FREMONT, CA 95121    $              0.00 $              0.00 $           0.00
                          HANDYMAN CONN OF
                          SACRAMENTO
                          8341 FAIR OAKS BLVD.
                          CARMICHAEL, CA
     001663               95608                $              0.00 $              0.00 $           0.00
                          CARTER GEORGIA
                          1608 GABAY
     001665               MEMPHIS, TN 38106        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          NE OCCUPATIONAL
                          MEDICINE REHAB
                          769 KEYSTONE INDUST
                          PARK
     001675               DUNMORE, PA 18512   $               0.00 $              0.00 $           0.00
                          ESCOBEDO LIDUVINA
                          2727 WHITTER BLVD
                          LOS ANGELES, CA
     001676               90023                    $          0.00 $              0.00 $           0.00
                          NEIRA LUZ ESTRELLA
                          36 ELLIOT ST
     001683-B             DOVER, NJ 07801          $      2,841.00 $              0.00 $           0.00
                          GONZALEZ, GILELA
                          #7 UNION HILL LINE
     001694               CARSON, CA 90745         $          0.00 $              0.00 $           0.00
                          TONY CARTER
                          914 ARMSTRONG
                          BLVD. NORTH
                          APT 2
     001695               ST. JAMES, MN 56081      $          0.00 $              0.00 $           0.00
                          HERNANDEZ
                          BERENICE
                          3134 W 145TH STREET
                          APARTMENT #6
     001699               GARDENA, CA 90249        $          0.00 $              0.00 $           0.00
                          POLANCO VALDEZ
                          ELSA
                          1700 NEW YORK
                          AVENUE
                          APARTMENT 1
     001701               UNION CITY, NJ 07087     $          0.00 $              0.00 $           0.00
                          MONSALVE JUAN
                          CARLOS
                          74 MYRTLE AVE
     001705-B             DOVER, NJ 07801          $      1,371.02 $              0.00 $           0.00
                          CLAIM NUMBER
     001707               VOIDED                   $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MORRIS, TYRONE
                          2833 MARKET STREET
     001708               OAKLAND, CA 94602        $          0.00 $              0.00 $           0.00
                          TAPIA, HECTOR
                          275 CHESTNUT ST APT
                          404
                          SPRINGFIELD, MA
     001712               01104                    $          0.00 $              0.00 $           0.00
                          HERNANDEZ ABIUD
                          3134 W 145TH STREET
                          APARTMENT #6
     001716               GARDENA, CA 90249        $          0.00 $              0.00 $           0.00
                          HERIBERTO AVILA
                          ATTN DON HARVEY
                          ESQ
                          253 N. ORLANDO AVE.
                          SUITE 204
     001718               MAITLAND FL 32751        $          0.00 $              0.00 $           0.00
                          WHITE, ROBERT
                          577 PRUDENCE RD B
     001722               PITTSVIEW, AL 36871      $          0.00 $              0.00 $           0.00
                          INDIANA DEPT OF
                          WORKFORCE DEV
                          WORKER
                          TRAINING FUND
                          ATTN: BEVERLY
                          KOROBKIN
                          10 N SENATE AVE
                          #STE200
                          INDIANAPOLIS, IN
     001728-B             46204                    $         25.00 $              0.00 $           0.00
                          CHASE, ROY
                          2072 PRAIRIE VIEW LN
     001738               LINCOLN, CA 95648        $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          EYEMED VISION CARE
                          FIDELITY SECURITY
                          LIFE INS 9638776
                          ATTN: JULIE CARMACK
                          3RD FL
                          4000 LUXOTTICA PL
     001742               MASON, OH 45040     $               0.00 $              0.00 $           0.00
                          COLORADO DEPT OF
                          REVENUE
                          ATTN: BANKRUPTCY
                          UNIT
                          1375 SHERMAN ST RM
                          504
     001747-B             DENVER, CO 80261         $        924.47 $              0.00 $           0.00
                          TORRES CARMEN
                          608 E ONTARIO ST
                          PHILADELPHIA, PA
     001749               19134                    $          0.00 $              0.00 $           0.00
                          BICKLEY, HENRY
                          1699 HIGHLAND
                          STREET
     001752               SEASIDE, CA 93955        $          0.00 $              0.00 $           0.00
                          BICKLEY, HENRY
                          1699 HIGHLAND
                          STREET
     001763               SEASIDE, CA 93955        $          0.00 $              0.00 $           0.00
                          PAVILION PHARMACY
                          LANE
                          810 LANE AVE SOUTH
                          JACKSONVILLE, FL
     001767               32205              $                0.00 $              0.00 $           0.00
                          TEXAS WORKFORCE
                          COMMISSION
                          ATTN STEVE WHITE
                          TWC BLDG
     001772-B             AUSTIN, TX 78778         $         94.24 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF COLORADO
                          DEPT OF LABOR &
                          EMPLOY
                          DIVISION OF
                          EMPLOYMENT AND
                          TRAINING
                          PO BOX 8789
     001776-B             DENVER, CO 80201         $         10.00 $              0.00 $           0.00
                          SHEPARD, NEKIMA
                          2793 BREWER
     001777-B             MEMPHIS, TN 38114        $        620.00 $              0.00 $           0.00
                          STATE OF CA DEPT OF
                          INDUSTRIAL
                          RELATIONS
                          1401 S BROOKHURST
                          RD
     001782               FULLERTON, CA 92833      $          0.00 $              0.00 $           0.00
                          SOUTH CAROLINA
                          EMPLOYMENT
                          SECURITY COMM
                          ATTN LEGAL DEPT
                          SOUTH CAROLINA
                          EMPLOYMENT
                          SECURITY COMM
                          PO BOX 995
     001783-B             COLUMBIA, SC 29202       $          1.74 $              0.00 $           0.00
                          STATE OF CA DEPT OF
                          INDUSTRIAL
                          RELATIONS
     001785               CA                       $          0.00 $              0.00 $           0.00
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          ATTN DIV OF
                          UNEMPLYMENT INS
                          PO BOX 9953
     001786-B             WILMINGTON, DE 19809 $             17.25 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF DELAWARE
                          DEPT OF LABOR
                          ATTN DIV OF
                          UNEMPLOYMENT INS
                          PO BOX 9953
     001787-B             WILMINGTON, DE 19809 $             17.25 $              0.00 $           0.00
                          SEATON, MARK
                          35 MARQUESTTE LANE
     001797-B             KANKAKEE, IL 60901 $            2,634.16 $              0.00 $           0.00
                          MONTEIRO KAREN
                          18 3RD ST
     001800               SAYREVILLE, NJ 08872     $          0.00 $              0.00 $           0.00
                          SOUTH CAROLINA
                          EMPLOYMENT
                          COMMISSION
                          ATTN LEGAL DEPT
                          PO BOX 995
     001802-B             COLUMBIA, SC 29202       $          2.19 $              0.00 $           0.00
                          SOUTH CAROLINA
                          EMPLOYMENT
                          SECURITY COMM
                          ATTN LEGAL DEPT
                          PO BOX 995
     001804-B             COLUMBIA, SC 29202       $         13.45 $              0.00 $           0.00
                          LOPEZ, MARYLEE
                          45 SO LINCOLN AVE
                          APT 103
     001807               AURORA, IL 60505         $          0.00 $              0.00 $           0.00
                          COLORADO DEPT OF
                          LABOR &
                          EMPLOYMENT
                          UNEMPLOYMENT
                          INSURANCE TAX
                          ADMIN
                          PO BOX 8789
     001823-BCO           DENVER, CO 80201         $         10.00 $              0.00 $           0.00
                          MILLER, MARY S.
                          1220 SAGER ROAD
     001833               DANDRIDGE, TN 37725      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JONES WOODS &
                          GENTRY, INC.
                          C/O CHARLES R.
                          STEPTER, JR., ESQUIRE
                          FISHBACK LAW FIRM
                          170 E. WASHINGTON
                          STREET
     001836               ORLANDO, FL 32801     $             0.00 $              0.00 $           0.00
                          JONES WOODS &
                          GENTRY INC.
                          C/O CHARLES R
                          STEPTER JR ESQ
                          FISHBACK LAW FIRM
                          170 E WASHINGTON ST
     001837               ORLANDO, FL 32801   $               0.00 $              0.00 $           0.00
                          NOEL, MANDI
                          1212 WILD TURKEY
                          DRIVE
     001840-B             DERBY, KS 67037          $      2,233.86 $              0.00 $           0.00
                          PADILLA, TANYA
                          4711 NATICK AVE. #331
                          SHERMAN OAKS, CA
     001848               91403                 $             0.00 $              0.00 $           0.00
                          OFC OF
                          UNEMPLOYMENT
                          COMPENSATION TAX
                          SVC
                          ATTN: HARRISBURG
                          COMPLIANCE &
                          BANKRUPTCY
                          COMMONWEALTH OF
                          PA DEPT OF LABOR &
                          IND
                          1171 S. CAMERON ST.
                          RM 312
     001857-B             HARRISBURG, PA 17104 $            728.16 $              0.00 $           0.00
                          NATIONS SURGERY
                          CENTERS LP
                          PO BOX 515338
                          LOS ANGELES, CA
     001861-B             90051                    $     40,699.29 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF NEVADA
                          DEPT OF
                          EMPLOYMENT
                          TRAINING AND
                          REHABILITATION
                          EMPLOYMENT
                          SECURITY DIV
                          500 EAST THIRD ST
                          CARSON CITY, NV
     001862-B             89713                    $          5.30 $              0.00 $           0.00
                          SKYLAR, TODD
                          5790 FOX HOLLOW DR
     001868               BOCA RATON, FL 33486 $              0.00 $              0.00 $           0.00
                          SHULT, ROCIO
                          106 51 OAKBEND DR
     001872               SAN DIEGO, CA 92131      $          0.00 $              0.00 $           0.00
                          BACHMANN, DOREEN
                          33 GIBSON AVENUE
                          HUNTINGTON, NY
     001875               11743                    $          0.00 $              0.00 $           0.00
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INT'L BLVD STE 826
     001879-B             ATLANTA, GA 30303        $         32.82 $              0.00 $           0.00
                          RODRIGUEZ, JACLYN
                          4123 TYSON AVE
                          PHILADELPHIA, PA
     001883-B             19135                    $        970.40 $              0.00 $           0.00
                          ZIENKIEWICZ, LEONA
                          460 RIVER RD
     001884-B             NUTLEY, NJ 07110         $        361.60 $              0.00 $           0.00
                          SLOAN, LEELANNEE
                          10 OVERLOOK RD
     001896-B             SUSSEX, NJ 07461         $      1,875.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KANSAS DEPT OF
                          REVENUE
                          CIVIL TAX
                          ENFORCEMENT
                          PO BOX 12005
     001897-B             TOPEKA, KS 66612         $        456.15 $              0.00 $           0.00
                          KANSAS DEPT OF
                          REVENUE
                          CIVIL TAX
                          ENFORCEMENT
                          PO BOX 12005
     001898-B             TOPEKA, KS 66612         $         52.05 $              0.00 $           0.00
                          ALBANKIS, TRACEY
                          146 WEST 9TH AVENUE
     001899-B             ROSELLE, NJ 07203   $           7,540.60 $              0.00 $           0.00
                          GONZALEZ, SONIA
                          41 ALDON RD
                          MONTGOMERY, IL
     001903               60538                    $          0.00 $              0.00 $           0.00
                          TAVARES, JOE
                          86 HUTCHINSON PLACE
     001905-B             CLARK, NJ 07066     $           4,382.40 $              0.00 $           0.00
                          ST LEDGER, BRIAN
                          113 LIVINGSTON AVE.
     001907-C             LYNDHURST, NJ 07071      $     82,551.43 $              0.00 $           0.00
                          ROBB, GAIL
                          1924 LOGANBERRY
                          LANE
                          CROWN POINT, IN
     001920               46307                    $          0.00 $              0.00 $           0.00
                          BARCHMANN, DOREEN
                          33 GIBSON AVENUE
                          HUNTINGTON, NY
     001922               11743             $                 0.00 $              0.00 $           0.00
                          HERNANDEZ, JORGE
                          26 BERGEN STREET
     001925               GARFIELD, NJ 07026       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          COACHMAN, STEVEN
                          215 E. NEW YORK
     001926-B             AURORA, IL 60505         $      8,500.00 $              0.00 $           0.00
                          COACHMAN, STEVEN
                          215 E. NEW YORK
     001927               AURORA, IL 60505         $          0.00 $              0.00 $           0.00
                          GEORGIA DEPT OF
                          LABOR
                          148 ANDREW YOUNG
                          INTL BLVD
                          STE 826
     001937-B             ATLANTA, GA 30303        $         23.35 $              0.00 $           0.00
                          PRATCHER, URSELA
                          914 COOKS LANE
     001947               BALTIMORE, MD 21229 $               0.00 $              0.00 $           0.00
                          GONZALEZ, JOSE
                          831 E CHEVY CHASE
                          DRIVE
                          APT C
     001951               GLENDALE, CA 91206       $          0.00 $              0.00 $           0.00
                          S C EMPLOYMENT
                          SECURITY
                          COMMISSION
                          LEGAL DEPT
                          PO BOX 995
     001958-B             COLUMBIA, SC 29202       $         37.99 $              0.00 $           0.00
                          COLORADO DEPT OF
                          LABOR &
                          EMPLOYMENT
                          UNEMPLOYMENT
                          INSURANCE TAX
                          ADMINISTRATIO
                          PO BOX 8789
     001961-B             DENVER, CA 80201         $         20.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MISSISSIPPI DEPT OF
                          EMPLOYMENT
                          SECURITY
                          ATTN CONTRIBUTIONS
                          & STATUS DEPT
                          PO BOX 22781
     001964-B             JACKSON, MS 39225   $              17.52 $              0.00 $           0.00
                          STATE OF NEVADA
                          DEPT OF
                          EMPLOYMENT
                          TRAINING &
                          REHABILITATION
                          EMPLOYMENT SEC
                          500 EAST THIRD ST
                          CARSON CITY, NV
     001974-B             89713                    $         39.37 $              0.00 $           0.00
                          STATE OF NEVADA
                          DEPT OF
                          EMPLOYMENT
                          TRAINING &
                          REHABILITATION
                          EMPLOYMENT SEC
                          500 EAST THIRD ST
                          CARSON CITY, NV
     001975-B             89713                    $         18.02 $              0.00 $           0.00
                          MARTIN
                          BROTHERS/MARCOWA
                          LL INC
                          17104 SOUTH
                          FIGUEROA ST
     001978               GARDENA, CA 90248 $                 0.00 $              0.00 $           0.00
                          QUEEN, ROBERT
                          3031 GRAYSON ST
     001999               BALTIMORE, MD 21216 $               0.00 $              0.00 $           0.00
                          BAUMLER, CRAIG
                          14766 LUCINDA DR
     002004               WHITTIER, CA 90604       $          0.00 $              0.00 $           0.00
                          SCHULZ, DIANNE
                          1015 COPENHAVER
                          ROAD
     002006               FORT PIERCE, FL 34945 $             0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          HALEY, LAQUETTE
                          P.O. BOX 1762
                          HAWAIIAN GATEWAY,
     002007               CA 90716          $                 0.00 $              0.00 $           0.00
                          AREVALO, ALICE
                          335 W CYPRESS STREET
                          APT D
     002008               GLENDALE, CA 90065   $              0.00 $              0.00 $           0.00
                          GALINDO, ROBIN L.
                          11 MARY STREET
     002009               PORT JERVIS, NY 12771 $             0.00 $              0.00 $           0.00
                          HESTER, JAY
                          16608 SHARRIS STREET
     002012               COMPTON, CA 90222    $              0.00 $              0.00 $           0.00
                          MCCORNEY, MICHAEL
                          9320 1/2 EAST RAMONA
                          BELLFLOWER, CA
     002013               90706                $              0.00 $              0.00 $           0.00
                          MOTLEY, TOMAS
                          317 EAST JERSEY
                          STREET
     002015               ELIZABETH, NJ 07206      $          0.00 $              0.00 $           0.00
                          ROSENBLATT, BETTY
                          82 HERMAN DRIVE
     002016               SPOTSWOOD, NJ 08884      $          0.00 $              0.00 $           0.00
                          MILLER JR., ROBERT
                          4890 STRATO PLACE
                          JACKSONVILLE, FL
     002017               32210                    $          0.00 $              0.00 $           0.00
                          SPERRY, COLLEEN
                          4966 ALBART DRIVE
     002018               SYRACUSE, NY 13215       $          0.00 $              0.00 $           0.00
                          BARNES, ERIC
                          3333 N GRATZ ST
                          PHILADELPHIA, PA
     002032               19140                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          KIRKHAM, KEVIN
                          2551 N. HANOVER
     002033               FRESNO, CA 93723         $          0.00 $              0.00 $           0.00
                          BROADWAY, PAULA
                          110 BEST ST
     002034               BELLS, TN 38006          $          0.00 $              0.00 $           0.00
                          FIX, ERIC V.
                          2354 CHESTNUT
                          AVENUE
     002036               BUENA VISA, VA 24416 $              0.00 $              0.00 $           0.00
                          ANDRADE, RICHARD
                          1641 NW 82 AVE
     002039               PLANTATION, FL 33322 $              0.00 $              0.00 $           0.00
                          SANTOS, YOLANDA I.
                          21 ESTHER ST
     002041               NEWARK, NJ 07105         $          0.00 $              0.00 $           0.00
                          HUERTA, J. LUIE
                          JUAN LUIS HERTA AKA
                          LOUIE J. HUERTA ETC.
                          4910 WIMMER AVE.
                          BALDWIN PARK, CA
     002042               91706                $              0.00 $              0.00 $           0.00
                          AAL CONSTRUCTION
                          CO., INC.
                          13252 SERENITY
                          TRAILS
     002044-B             CHINO, CA 91710          $      2,224.74 $              0.00 $           0.00
                          BROWN, MICHAEL G
                          17424 MANOR LANE
     002045               FOUNTAIN, FL 32438       $          0.00 $              0.00 $           0.00
                          WERNER ARTHUR R.
                          675 INDIAN ROCKS RD.
                          NORTH
                          APT. 210D
                          BELLEAIR BLUFFS, FL
     002046               33770                $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MENDEZ JAMES
                          52 ELM HILL RD
     002048               CLIFTON, NJ 07013        $          0.00 $              0.00 $           0.00
                          GETTAN, RUTH
                          7866 DWYER DRIVE
                          JACKSONVILLE, FL
     002050               32244                    $          0.00 $              0.00 $           0.00
                          VILLAMAR, RAUL
                          P O BOX 56803
     002057               RIVERSIDE, CA 92517      $          0.00 $              0.00 $           0.00
                          DELEO, ROBERT
                          2274 ROUTES 5 AND 20
     002059               STANLEY, NY 14561        $          0.00 $              0.00 $           0.00
                          ROJAS, FLAVIO
                          1713 SHELLY DR.
     002062               SANTA ROSA, CA 95401 $              0.00 $              0.00 $           0.00
                          GALINDO, IZANAMI
                          11 MARY STREET
     002063               PORT JERVIS, NY 12771 $             0.00 $              0.00 $           0.00
                          JOSEPH TOLER
                          C/O SANDRA L
                          MCAULEY ESQ
                          FINDLER & FINDLER
                          PA
                          3 HARVARD CIRCLE
                          STE 100
                          WEST PALM BEACH, FL
     002067               33409               $               0.00 $              0.00 $           0.00
                          JOSEPH TOLER
                          C/O SANDRA L
                          MCAULEY ESQ
                          FINDLER & FINDLER
                          PA
                          3 HARVARD CIRCLE
                          STE 100
                          WEST PALM BEACH, FL
     002068               33409               $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          DEPT. OF LABOR-
                          UNEMPLOYMENT
                          NE WORKFORCE
                          DEVELOPMENT-LABOR
                          OFFICE OF LEGAL
                          COUNSEL
                          PO BOX 94600
     002070-B             LINCOLN, NE 68509 $                50.00 $              0.00 $           0.00
                          CASTRO, JOSE D
                          1200 CENTRAL AVE
     002071               PLAINFIELD, NJ 07060     $          0.00 $              0.00 $           0.00
                          AYALA JOSE
                          2256 PARKSIDE AVE
                          #201
                          LOS ANGELES, CA
     002075               90031                    $          0.00 $              0.00 $           0.00
                          DOTSON, KIM
                          2020 RIVERSIDE
     002077               MEMPHIS, TN 38109        $          0.00 $              0.00 $           0.00
                          PACIFIC SOUTH
                          MEDICAL GROUP
                          5211 E WASHINGTON
                          BLVD
                          LOS ANGELES, CA
     002080-B             90040                    $      6,282.77 $              0.00 $           0.00
                          WOLFER, GREGORY
                          7353 HICKMAN STREET
     002085               CINCINNATI, OH 45231 $              0.00 $              0.00 $           0.00
                          JONES, SHANQUWIL
                          19 ELMWOOD DR.
     002086               KANKAKEE, IL 60901       $          0.00 $              0.00 $           0.00
                          VARNELL, POLEY
                          RT. 2 BOX 2203
                          WHEATLAND, MO
     002087               65779                    $          0.00 $              0.00 $           0.00
                          SALLEY, ANGELA
                          2609 MURA ST
     002089               BALTIMORE, MD 21213 $               0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          SAM, RIJU
                          248-23 89TH AVE
     002091               BELLEROSE, NY 11426      $          0.00 $              0.00 $           0.00
                          EUSEBIO VILLETA
                          735 E HILTON ST
                          PHILADELPHIA, PA
     002093               19134                    $          0.00 $              0.00 $           0.00
                          FROST, LAWRENCE L.
                          7844 W. FALLBROOK
                          #84
     002096-B             FALLBROOK, CA 92028 $             275.00 $              0.00 $           0.00
                          WYOMING
                          UNEMPLOYMENT TAX
                          DIVISION
                          WY UNEMPLOYMENT
                          TAX DIV
                          PO BOX 2760
     002097-B             CASPER, WY 82602 $                 20.00 $              0.00 $           0.00
                          ROBINSON, MICHAEL
                          6073 PEORIA DRIVE
                          CITRUS HEIGHTS, CA
     002106               95621                    $          0.00 $              0.00 $           0.00
                          BONE, STEPHEN A.
                          1729 SW 45TH STRET
     002109               CAPE CORAL, FL 33914 $              0.00 $              0.00 $           0.00
                          DANIELS, RAMONA
                          9907 WHITE AVE
     002110               NORTHRIDGE, CA 91325 $              0.00 $              0.00 $           0.00
                          HERNANDEZ, HEIDY
                          634 WEST 113TH STREE
                          LOS ANGELES, CA
     002112               90044                $              0.00 $              0.00 $           0.00
                          AREVALO ALICE
                          335 W CYPRESS ST APT
                          D
     002113               GLENDALE, CA 91204   $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CASWELL JR. HARRY
                          621 R ALDER STREET
     002114               SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00
                          WARD, MICHELLE
                          128 PARK AVE.
     002115               PATERSON, NJ 07501       $          0.00 $              0.00 $           0.00
                          RAMIREZ, HENRY
                          14832 DARTMOOR
                          AVENUE
     002116               NORWALK, CA 90650        $          0.00 $              0.00 $           0.00
                          GUILEN MONTANO
                          MARIA D
                          10729 CONDON AVE
                          APT #209
     002117               INGLEWOOD, CA 90304 $               0.00 $              0.00 $           0.00
                          NAYLOR, JUDY A.
                          301 CASCADE MANOR
     002119               SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00
                          REYES, GERARDO
                          1531 MEYLERT STREET
     002126               SCRANTON, PA 18509  $               0.00 $              0.00 $           0.00
                          MENDEZ, LYDIA
                          5807 EAST PINE DR.
     002128               RIVERDALE, MD 22073      $          0.00 $              0.00 $           0.00
                          TUTTLE, AMY L.
                          1290 RIDGEWAY
                          CANTONMENT, FL
     002131               32533                    $          0.00 $              0.00 $           0.00
                          JORDAN, FREDERICK
                          2416 S. MAIN ST.
     002132               SANTA ANA, CA 92702      $          0.00 $              0.00 $           0.00
                          MARTIN, JAMES L.
                          5425 BARCELONA ST
     002133               PACE, FL 32571           $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          CONNER, BOB
                          P.O.BOX 246601
                          SACRAMENTO, CA
     002137               95824                    $          0.00 $              0.00 $           0.00
                          SCHNEIDER, MICHAEL
                          N.
                          PO BOX 280044
     002139               TAMPA, FL 33682    $                0.00 $              0.00 $           0.00
                          ROBERTS, BRUCE W.
                          30700 WEKIVA RIVER
                          RD #426
     002140               SORRENTO, FL 32776       $          0.00 $              0.00 $           0.00
                          GILBERTO MADERO
                          LAW OFFICE OF
                          WILLIAM WOLFF
                          1818 NILES ST
                          BAKERSFIELD, CA
     002141               93305                    $          0.00 $              0.00 $           0.00
                          BREWSTER, GRACE
                          68 BRADLEY ST
     002142               BRENTWOOD, NY 11717 $               0.00 $              0.00 $           0.00
                          MATHIS, BRIAN
                          412 EAST 1 ST AVE
     002145               ROSELLE, NJ 07206        $          0.00 $              0.00 $           0.00
                          RAMOS, ARTURO
                          31162 RAWHIDE CT
     002156               MENIFEE, CA 92584        $          0.00 $              0.00 $           0.00
                          MCKISSICK, YVONNE
                          622 DIAMOND COURT
                          APARTMENT #3
     002157               UPLAND, CA 91786         $          0.00 $              0.00 $           0.00
                          ABDOU, NASER
                          707 WICKLOW PLACE
     002158               DAYTON, OH 45406         $          0.00 $              0.00 $           0.00
                          MARTINEZ, RAUL
                          1118 W 56 ST
                          LOS ANGELES, CA
     002162               90037                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          PATTI K ELLISON,
                          EXEC.
                          ESTATE OF HAROLD
                          ELLISON
                          201 REBECCA LANE
     002167               NEWTON, AL 36352         $          0.00 $              0.00 $           0.00
                          IVONNE MEJIA
                          23 CHESTER STREET
     002168               LANDCASTER, PA 17602 $              0.00 $              0.00 $           0.00
                          LOPEZ, JAVIER
                          120A ROCKWOOD AVE
                          PMB 45067
     002169               CALEXICO, CA 92231 $                0.00 $              0.00 $           0.00
                          ELMORE, DONNIE
                          3630 VOLTMIRE
     002171               MEMPHIS, TN 38128        $          0.00 $              0.00 $           0.00
                          MELIM, SCOTT
                          3381 BHARMONT DR
                          JACKSONVILLE, FL
     002174               32209                    $          0.00 $              0.00 $           0.00
                          CAMPBELL, TASHEY A
                          40 DELAMERE ST.
                          HUNTINGTON, NY
     002175               17743              $                0.00 $              0.00 $           0.00
                          WATSON, NONIE
                          DENISE
                          12660 IVANHOE ROAD
                          LUCERNE VALLEY, CA
     002178               92356              $                0.00 $              0.00 $           0.00
                          GILL, KEVIN J.
                          1612 PROSPECT AVE
     002183               SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00
                          HOLT TACIANA
                          2510 AUSTIN SMITH
                          COURT
                          N FORT MEYERS, FL
     002185               33917                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          VASQUEZ, ANGEL
                          323 NORTH MORGAN
                          CIRCLE
                          LEHIGH ACRES, FL
     002189               33936                    $          0.00 $              0.00 $           0.00
                          MCFARLAND, CLIFTON
                          2115 102ND AVENUE
     002192               OAKLAND, CA 94541  $                0.00 $              0.00 $           0.00
                          SHAPPELL, ROBIN
                          452 1/2 21ST STREET
     002193               PATERSON, NJ 07513       $          0.00 $              0.00 $           0.00
                          CROCKER, MARIO
                          13583 CINFIELD AVE.
     002194               SYLMAR, CA 91342         $          0.00 $              0.00 $           0.00
                          DRS MORI BEAN
                          BROOKS PA
                          P O BOX 17093
                          JACKSONVILLE, FL
     002195               32245                    $          0.00 $              0.00 $           0.00
                          GRISSETT, ISSAC
                          165 NW 15TH STREET
     002198               POMPANO, FL 33060        $          0.00 $              0.00 $           0.00
                          BOWERS, TIMOTHY
                          P.O. BOX 1861
                          COARSEGOLD, CA
     002199               93614                    $          0.00 $              0.00 $           0.00
                          CLAIM NUMBER
     002200               VOIDED                   $          0.00 $              0.00 $           0.00
                          FRANCIS, LAWRENCE
                          3 BEVERLY DRIVE
                          EDWARDSVILLE, PA
     002203               18704                    $          0.00 $              0.00 $           0.00
                          NAVARRETE, KELLY
                          403 EDGECREST DR
     002204               HOMEWOOD, AL 35209 $                0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          BRADT, KEVIN
                          PO BOX 4613
                          SCHENECTADY, NY
     002205               12304                    $          0.00 $              0.00 $           0.00
                          MARGARET PECK
                          2818 190th ST.
     002209               WITHROP, IA 50682        $          0.00 $              0.00 $           0.00
                          ZAVALA, EDER
                          1700 ROOSEVELT
     002210               KENNER, LA 70062         $          0.00 $              0.00 $           0.00
                          ZAVALA, ALFREDO
                          1700 ROOSEVELT
                          BOUL.
     002211               KENNER, LA 70067         $          0.00 $              0.00 $           0.00
                          ZAVALA, RIGOBERTO
                          1700 ROOSEVELT
                          BOULEVARD
     002212               KENNER, LA 70062         $          0.00 $              0.00 $           0.00
                          ZAVALA, BALTAZAR
                          1700 ROOSEVELT
                          BOULEVARD
     002213               KENNER, LA 70065         $          0.00 $              0.00 $           0.00
                          CHAVEZ, EDUARDO
                          120 A ROCKWOOD AVE.
                          #46-432
     002217               CALEXICO, CA 92231  $               0.00 $              0.00 $           0.00
                          ABULL HAY, MARIA
                          504 NORTH QUEEN ST.
                          APT 2
     002218               LANCASTER, PA 17603      $          0.00 $              0.00 $           0.00
                          MARCOS, MARIA A.
                          18 VT ROUTE 30
     002222               JAMAICA, VT 05343        $          0.00 $              0.00 $           0.00
                          HUERTO, PLUTARRCO
                          10691 AQUAVISTA
                          LANE
                          NORTH FT. MYERS, FL
     002224               33917                    $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          OSS, WILLIAM
                          2101 ROSEDALE TERR
     002226               DOTHAN, AL 36303         $          0.00 $              0.00 $           0.00
                          MENCIAS, ORLANY
                          6936 EASTMAN
     002227               SAN DIEGO, CA 92111      $          0.00 $              0.00 $           0.00
                          HEISLER & BRAY
                          ATTORNEYS AT LAW
                          6351 OWENSMOUTH
                          AVE STE 100
                          WOODLAND HILLS, CA
     002228               91367              $                0.00 $              0.00 $           0.00
                          JEANETTE K MALONEY
                          PO BOX 1157
     002229               LABELLE, FL 33975  $                0.00 $              0.00 $           0.00
                          SC DEPARTMENT OF
                          REVENUE
                          PO BOX 12265
     002230-C             COLUMBIA, SC 29211       $      1,411.00 $              0.00 $           0.00
                          MASETTI, ALBERT
                          508 BEEBE RD
     002238               HARRINGTON DE 19952 $               0.00 $              0.00 $           0.00
                          HAWKINS, SAMUEL
                          3584 LYNCHBURG ST
     002239               MEMPHIS, TN 38134        $          0.00 $              0.00 $           0.00
                          SANDERS, SCOT
                          252 GOMPERS STREET
     002241               CENTRAILIA, IL 62801     $          0.00 $              0.00 $           0.00
                          CINDY MILLER
                          115 CHERRY
                          GREEN VALLEY, IL
     002243               61534                    $          0.00 $              0.00 $           0.00
                          CROFTEN, ANITA
                          968 WEST SPRINGFIELD
                          APARTMENT D
     002249               UPLAND, CA 91786     $              0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MIKE HOGAN TAX
                          COLLECTOR
                          C/O EDWARD C
                          TANNEN ASST GEN
                          COUNSEL
                          117 W DUVAL ST 480
                          CITY HALL
                          JACKSONVILLE, FL
     002250-B             32202                    $        395.60 $              0.00 $           0.00
                          PEREZ, ARTURO
                          1801 KEOKEE ST
                          APT 204
                          HYATTSVILLE, MD
     002264               20783                    $          0.00 $              0.00 $           0.00
                          JEFFERY, WILLIAM R.
                          9543 LUPINE AVENUE
     002266               ORLANDO, FL 32824        $          0.00 $              0.00 $           0.00
                          WILLIAMS, BILL G.
                          3200 SYLVANER
                          CIRCLE
     002267-B             SANTA CRUZ, CA 95062 $          1,380.00 $              0.00 $           0.00
                          RAMOS, BRUNILDA
                          HC 02 4571
     002268               LUQUILLO, PR 00773       $          0.00 $              0.00 $           0.00
                          STATE OF
                          CONNECTICUT DEPT
                          OF REVENUE SVC
                          COLLECTIN &
                          ENFORCEMENT
                          DIVISION
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY STREET
     002269-B             HARTFORD, CT 06106  $              50.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STATE OF
                          CONNECTICUT DEPT
                          OF REVENUE SVC
                          COLLECTION &
                          ENFORCEMENT
                          DIVISION
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY STREET
     002270-B             HARTFORD, CT 06106  $              50.00 $              0.00 $           0.00
                          STATE OF
                          CONNECTICUT DEPT
                          OF REVENUE SVC
                          COLLECTION &
                          ENFORCEMENT
                          DIVISION
                          BANKRUPTCY
                          SECTION
                          25 SIGOURNEY STREET
     002271-B             HARTFORD, CT 06106  $              50.00 $              0.00 $           0.00
                          CRAYTON, ANTHONY
                          2505 CLINTON AVE
     002274               RICHMOND, CA 94804       $          0.00 $              0.00 $           0.00
                          PEREZ, LUISA
                          1801 KEOKEE ST
                          APT 204
                          HYATTSVILLE, MD
     002275               20783                    $          0.00 $              0.00 $           0.00
                          KAMP, RODNEY
                          317 PLEASANT ST
                          APT D
     002276               ROSEVILLE, CA 95678      $          0.00 $              0.00 $           0.00
                          SHELTON, JOSEPH
                          723 HONEYSUCKLE LN
     002278-B             MIDLAND, NC 28107  $            8,320.00 $              0.00 $           0.00
                          WICKKISER, JANETTE
                          2305 WINFIELD AV
     002280               SCRANTON, PA 18505       $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          JOHNSON, SANDRA
                          PO BOX 66118
     002281               STOCKTON, CA 95206       $          0.00 $              0.00 $           0.00
                          MARTINEZ, ROSARIO
                          219 N ST LOUIS ST
                          APT 6
                          LOS ANGELES, CA
     002282               90033                    $          0.00 $              0.00 $           0.00
                          ROSEBERRY, MARGOT
                          263 BARKSDALE DR.
                          CHARLESTOWN, WV
     002290-B             25414             $             2,400.00 $              0.00 $           0.00
                          CANNADY, GREGORY
                          514 MORSE ST.
                          APT. 5
     002292               OCEANSIDE, CA 92054      $          0.00 $              0.00 $           0.00
                          HAMLIN, GARY L
                          P.O. BOX 650
     002293               ALTHA, FL 32421          $          0.00 $              0.00 $           0.00
                          BROWN, NATALIE
                          3901 AGUA VISTA
     002297               OAKLAND, CA 94601        $          0.00 $              0.00 $           0.00
                          TED DAVIS
                          2795 EDISON AVE
                          JACKSONVILLE, FL
     002318               32254                    $          0.00 $              0.00 $           0.00
                          BOGGY CREEK
                          AIRBOAT RIDES
                          3702 BIG BASS ROAD
     002320               KISSIMEE, FL 34744       $          0.00 $              0.00 $           0.00
                          LONG, MARGARET
                          1425 RIVERA DRIVE
     002321               KISSIMMEE, FL 34744      $          0.00 $              0.00 $           0.00
                          LONG, CHRISTOPHER
                          1425 RIVERA DRIVE
     002322               KISSIMMEE, FL 34744      $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          MELERO,
                          CHRISTOPHER
                          3867 LOMA ALTA DR
     002331               SAN DIEGO, CA 92115      $          0.00 $              0.00 $           0.00
                          TN DEPT OF LABOR &
                          WORKFORCE
                          DEVELOPMENT
                          C/O TN ATTY GENERAL
                          BANKRUPTCY DIV
                          PO BOX 20207
     002347-B             NASHVILLE, TN 37202 $              20.00 $              0.00 $           0.00
                          DEPT OF LABOR AND
                          WORKFORCE
                          DEVELOPMENT
                          EMPLOYMENT
                          SECURITY DIVISION
                          BUREAU OF
                          UNEMPLOYMENT
                          INSURANCE
                          PO BOX 20207
     002354-B             NASHVILLE, TN 37202      $         30.00 $              0.00 $           0.00
                          KEMPER INSURANCE
                          COMPANIES
                          SHERRI L PATTERSON
                          MANAGED ACCOUNTS
                          13NW0343 ONE
                          KEMPER DR
     002361               LONG GROVE, IL 60049 $              0.00 $              0.00 $           0.00
                          STATE OF MD,
                          COMPTROLLER OF THE
                          TREASURY
                          ATTN: MARY T CARR
                          ROOM 409, STATE
                          OFFICE BUILDING
                          301 WEST PRESTON
                          STREET
     002367-B             BALTIMORE, MD 21201 $           3,660.00 $              0.00 $           0.00
                          CLAIM NUMBER
     002386               VOIDED                   $          0.00 $              0.00 $           0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          STRUCTURAL
                          PRESTRESSED
                          11405 NW 138TH
                          STREET
     002391               MIAMI, FL 33178          $          0.00 $              0.00 $           0.00
                          CLAIM NUMBER
     002392               VOIDED                   $          0.00 $              0.00 $           0.00
                          MARYLAND DEPT OF
                          LABOR, LICENSING
                          AND REGULATION
                          1100 NORTH EUTAW
                          STREET, ROOM 401
     002400-B             BALTIMORE, MD 21201 $             107.57 $              0.00 $           0.00
                          CONTRERAS, VICTOR
                          209 7TH AVE.
     001688               PATERSON, NJ 07514       $          0.00 $              0.00 $           0.00
                          ALCAUTER, CRISTINA
                          424 GREENTREE LN.
                          BOLINGBROOK, IL
     001689               60440                    $          0.00 $              0.00 $           0.00
                          ELDER CRUZ
                          ATTORNEY JONATHAN
                          A KELLER
                          1011 SOUTH FEDERAL
                          H
     000720               HOLLYWOOD, FL 33020 $               0.00 $              0.00 $           0.00
                          MASETTI, ALBERT
                          508 BEEBE RD.
     001169               HARRINGTON, DE 19952 $              0.00 $              0.00 $           0.00
                          FRANCHISE TAX
                          BOARD
                          BANKRUPTCY SECTIO
                          MS A340
                          PO BOX 2952
                          SACARAMENTO, CA
     002407-B             95812                    $         69.24 $              0.00 $           0.00
                          PORTILLO, SONIA
                          19 MECHANIC ST.
     000338               PORT JERVIS, NY 12771 $             0.00 $              0.00 $           0.00




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                Total to be paid to timely general unsecured creditors                $                   0.00
                Remaining Balance                                                     $                   0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 16,330.39 have been allowed and
     will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
     claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:

                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
                          Albert Masetti
                          Attn: Christopher M
                          Hermrick
                          Connell Foley LLP
                          85 Livingston Ave
     002385               Roseland NJ 07068          $       15,372.72 $               0.00 $             0.00
                          PORTER REBECCA
                          133 CLOIS LN
                          MOORESVILLE, NC
     002337               28117                      $             0.00 $              0.00 $             0.00
                          GERONDAKIS, PHILLIP
                          3810 TOBOGGEN RD
                          POLLOCK PINES, CA
     002348-B             95726               $                    0.00 $              0.00 $             0.00
                          CUYA MARIA
                          42 BANK ST FIRST
                          FLOOR
     002357               ELIZABETH, NJ 07201        $             0.00 $              0.00 $             0.00
                          BEDOYA, CARLOS
                          39 MASE AVE.
     002358               DOVER, NJ 07801            $           144.00 $              0.00 $             0.00
                          RALPH COLLINS
                          6052 WESTGATE DR
     002363-A             ORLANDO, FL 32835          $             0.00 $              0.00 $             0.00




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                                                    Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                  of Claim           to Date          Payment
                          GRIFFIN, KIONNA D.
                          4530 S. CHURCHILL DR.
                          RICHTON PARK, IL
     002370-B             60471                 $             0.00 $              0.00 $           0.00
                          ROMERO, BRAULIO
                          14810 BLUEBRIAR ST
                          MORENO VALLEY, CA
     002375-B             92553                    $          0.00 $              0.00 $           0.00
                          ALFONSO ORTIZ
                          2203 E EL SEGUNDO #1
     002378               COMPTON, CA 90222    $            813.67 $              0.00 $           0.00
                          DONS FRAMING
                          5814 SUNGLO AVE
     002380-A             PORT RICHEY, FL 34668 $             0.00 $              0.00 $           0.00
                          PATINO, GLORIA E.
                          15919 WINDING DRIVE
     002339               TAMPA, FL 33624          $          0.00 $              0.00 $           0.00
                          OGLESBY, DESHUN
                          3167 ASHWOOD ST
                          #2
     002345               MEMPHIS, TN 38118        $          0.00 $              0.00 $           0.00
                          ELLIS, GAYLE
                          43421 ALEP STREET
     002346               LANCASTER, CA 91401      $          0.00 $              0.00 $           0.00
                          DESCOVICH, RENE A
                          118 FREMONT CT
     002362               HERCULES, CA 94547       $          0.00 $              0.00 $           0.00
                          HARDY, CHARLIE
                          195 W. MARKET ST
     002366               NEWARK, NJ 07102         $          0.00 $              0.00 $           0.00
                          CHOICE, CHANCHUA
                          2945 CORTLAND
     002368               DETROIT, MI 48206        $          0.00 $              0.00 $           0.00
                          STUBBS, ANNETTE
                          2310 CAROLTON ROAD
     002371               MAITLAND, FL 32751 $                0.00 $              0.00 $           0.00




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                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
                          STUBBS, CAL
                          2310 CAROLTON ROAD
     002372               MAITLAND, FL 32751 $                     0.00 $              0.00 $            0.00
                          ROMERO, BRAULIO
                          14810 BLUEBRIAR ST
                          MORENO VALLEY, CA
     002376               92553                      $             0.00 $              0.00 $            0.00
                          PAUL, ROLLIE FRED
                          3515 W. MAIN ST.
     002377               MIMS, FL 32754             $             0.00 $              0.00 $            0.00
                          WILLIAMS, JEANNIE
                          3731 56TH ST
                          SACRAMENTO, CA
     002379               95820                      $             0.00 $              0.00 $            0.00
                          LAWRENCE, LILLY
                          185 W FORREST APT 2D
     002382               HARLEM, GA 30814     $                   0.00 $              0.00 $            0.00
                Total to be paid to tardy general unsecured creditors                 $                  0.00
                Remaining Balance                                                     $                  0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE




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